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                                 No. 24-1365


               In the United States Court of Appeals
                for the District of Columbia Circuit

          DOCTORS FOR DRUG POLICY REFORM; BRYON ADINOFF, DR.,

                                                                     Petitioners

                                      v.

    DRUG ENFORCEMENT ADMINISTRATION; ANNE MILGRAM, IN HER OFFICIAL
   CAPACITY AS ADMINISTRATOR OF THE UNITED STATES DRUG ENFORCEMENT
                           ADMINISTRATION,


                                                                    Respondents


    On Petition for Review of Orders of the Drug Enforcement Administration
                        (Oct. 28, 2024 and Nov. 25, 2024)


                        PETITIONERS’ APPENDIX
                              VOLUME 1 OF 6
                             APP.1 to APP.497


                                    Austin T. Brumbaugh
                                    D.C. Circuit Bar No. 65727
                                    Yetter Coleman LLP
                                    811 Main Street, Suite 4100
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  2024-11-25   Suzanne Sisley, M.D. Rejection Letter                      App.1652



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  DATE         DESCRIPTION                                              PAGE

  2024-11-25   T. Christopher Wright Rejection Letter                   App.1653

  2024-11-25   The Equity Trade Network Rejection Letter                App.1654

  2024-11-25   The Plant Counsel Rejection Letter                       App.1655

  2024-11-25   The Veterans Action Council Rejection Letter             App.1656

  2024-11-25   Thomas J. Tobin Rejection Letter                         App.1657

  2024-11-25   Training Marbles, Inc. Rejection Letter                  App.1658

  2024-11-25   United Empowerment Party Rejection Letter                App.1659

  2024-11-25   United States Cannabis Coalition Rejection Letter        App.1660

  2024-11-25   Veterans Action Council Rejection Letter                 App.1661

  2024-11-25   Veterans Action Council Rejection Letter                 App.1662

  2024-11-25   Veterans Action Council Rejection Letter                 App.1663

  2024-11-25   Vicente LLP on behalf of Sensible Colorado Rejection App.1664
               Letter

  2024-11-25   Vicente LLP Rejection Letter                             App.1665

               University of California San Diego’s Center for App.1666
               Medicinal Cannabis Rejection Letter

  2024-11-27   Draft letters document listing by Heather E. Achbach     App.1667




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 Dated: February 17, 2025         Respectfully submitted,

                                  /s/Austin T. Brumbaugh
                                  Austin T. Brumbaugh
                                  D.C. Circuit Bar No. 65727
                                  Yetter Coleman LLP
                                  811 Main Street, Suite 4100
                                  Houston, Texas 77002
                                  713-457-3099

                                  Attorney for Petitioners




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                       UNITED STATES DEPARTMENT OF JUSTICE

                                  Drug Enforcement Administration



  In the Matter of

  Schedules of Controlled Substances:                       DEA Docket No. 1362
  Proposed Rescheduling of Marijuana                        Hearing Docket No. 24-44



           ORDER DENYING MOTION TO STAY HEARING PROCEEDINGS
       On December 4, 2024, Doctors for Drug Policy Reform and Bryon Adinoff (collectively,
D4DPR), an entity that is not a party to these proceedings, filed a motion seeking an indefinite
stay of proceedings (Motion to Stay or MTS) so that it can pursue relief in the United States
Court of Appeals for the District of Columbia (the Circuit Court). See Attachment 1 (M. Zorn,
Petitioner); MTS at 1.
       By way of procedural background, these are formal hearing proceedings being conducted
in connection with a notice of proposed rulemaking (NPRM) issued by the United States
Department of Justice (the Department) on May 21, 2024. Schedules of Controlled Substances:
Rescheduling of Marijuana, 89 Fed. Reg. 44597, 44597 (2024). The NPRM proposes the
transfer marijuana from Schedule I of the Controlled Substances Act (CSA) to Schedule III. Id.
Following the publication of the NPRM in the Federal Register by the Department, in
accordance with the Attorney General’s direction therein, the DEA Administrator determined
that in-person hearing proceedings would be appropriate and issued a General Notice of Hearing
(GNoH) which, inter alia, set an early December commencement date. Schedules of Controlled
Substances: Rescheduling of Marijuana, 89 Fed. Reg. 70148, 70148-49 (2024). Subsequently,
based on correspondence filed with the Agency (but not furnished to this tribunal) the
Administrator designated a subset of twenty-five (25) individuals and organizations (evidently
culled from a larger group of requestors) to participate in the hearing (Designated Participants or
DPs). The DPs were evidently each notified of their participation status by a separate email
either before or simultaneous with the GNoH (also not furnished to the tribunal) MTS at 4.
D4DPR was apparently not among those receiving invitations from the Administrator to
participate in the hearing. Id.



                                                                                           App.1
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        Simultaneously with the Administrator’s identification of the twenty-five (25) DPs, I was
designated by the Administrator1 to preside over the hearing proceedings, but was not involved
in or apprised of the process utilized to render her DP selection. In an order dated November 19,
2024 (the Standing Order), based on submissions by the DPs, I made determinations regarding
standing and inclusion in these proceedings by applying the statutory and regulatory guideposts
supplied by Congress and the CSA and its implementing regulations. In the Standing Order, the
overwhelming majority of DPs maintained their status as hearing participants, but standing
assessments were reached regarding a future discretionary decision as to the potential weight to
be assigned in the recommended decision. Standing Ord. at 7.
        On November 13, 2024, D4DPR, a filed a motion with this tribunal bearing the caption
“Non-Party D4DPR’s Motion to Intervene and Request for Final Appealable Determination”
(Motion to Intervene or MTI) seeking a written final order memorializing the decision that
caused its lack of its own invitational email from the Administrator, as well as an order from this
tribunal authorizing its inclusion among the DPs notwithstanding her decision. MTI at 4-5.
        In an order (MTI Denial Order or MTIDO), dated November 21, 2024, this tribunal
denied D4DPR’s Motion to Intervene based on a lack of jurisdiction to review, modify, or
reverse the Administrator’s inclusion/exclusion decisions. MTIDO at 2-3. The MTIDO also
explained that, notwithstanding D4DPR’s expressed frustration with the lack of a written denial
by the Administrator explaining her action (addressed, infra), that organization’s lengthy
recitation of how this formal rulemaking process would benefit from its input, the value of the
organization or its potential witnesses does not circumscribe the entire universe of permissible
considerations available to the Administrator.2 City of San Antonio v. Civil Aeronautics Board,
374 F.2d 326, 329 (D.C. Cir. 1967) (“No principle [of] administrative law is more firmly
established than that of agency control of its own calendar.”). The Agency is endowed with the
right to place reasonable limits on the number of participants in a given Administrative
Procedure Act (APA) hearing. Id. As discussed, supra, this tribunal does not possess the
requests by, or even the number of, persons who sought hearing participation. However large or
small that number is, it would be illogical to expect any agency to blithely admit all comers from



1
 21 C.F.R. § 1316.52.
2
 Contrary to D4DPR’s contention in its Motion to Stay (MTS at 5), the MTIDO did not purport to adjudicate the
Administrator’s determination as “reasonable” or otherwise. MTIDO at 2.

                                                       2



                                                                                                       App.2
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everywhere. Proceedings would theoretically never reach a resolution. This tribunal has neither
the authority nor the inclination to review or reverse the Administrator’s attendance
determinations, but the conclusion that she must have authority to discern who among the vast
population of the United States can participate is inescapable. To be sure, thousands upon
thousands of individuals and entities across the country could add value to the issues to be
decided here, but they cannot all be included, and someone (in this case the Agency) must make
that determination.
         As discussed, supra, D4DPR has petitioned the Circuit Court to review the
Administrator’s election to dis-include the organization from the group of Designated
Participants. MTS at 1; Attachment 1. Interestingly, the Motion to Stay represents that on
November 25, 2024, D4DPR was served with a one-page document from the Agency explaining
(albeit briefly) the decision to decline to extend an invitation to the hearing proceedings.3 MTS
at 5.
         As explained in the MTIDO, the Administrative Procedure Act and the CSA’s
implementing regulations (the Regulations) are unsupportive of D4DPR’s request that I issue an
order including what the Agency head excluded. As discussed, in the MTIDO, DEA
administrative law judges (ALJs) are designated4 to handle a case by the Administrator. 21
C.F.R. § 1316.52. The ALJ’s “functions … commence upon his designation and terminate upon
the certification of the record to the Administrator.” Id. Thus, the time the DPs were selected
preceded my authority to act on the case. Even more importantly, in the APA, Congress decreed
that “[o]n appeal from or review of the [ALJ’s recommended decision] the agency has all the
powers which it would have in making the [recommended decision] … except as it may limit the
issues on notice or by rule.” 5 U.S.C. § 557(b). Appeals flow from the ALJ to the Administrator,
not the other way around. I have not been designated to review the Administrator’s prehearing


3
  This document was also not forwarded to this tribunal by the Agency.
4
  Designation for a case is not synonymous with the appointment of the ALJ. To that end, the APA and the DEA
regulations authorize the identification, recognition and inclusion of material facts in the administrative record by
the taking of official notice. 5 U.S.C. § 556(e); Attorney General’s Manual on the Administrative Procedure Act §
7(d) (1947); 21 C.F.R. § 1316.59(e). Official notice is herein taken of the following: (1) the undersigned was
initially appointed as an ALJ on November 21, 2001, at and by the Social Security Administration; (2) on March 9,
2009, the undersigned was appointed as an ALJ by the then-DEA Administrator, Michele Leonhart; and (3) on
October 25, 2018, under Attorney General Order 4315-2018, then-Attorney General Jefferson B. Sessions ratified
and approved the DEA Administrator’s prior ALJ appointment of the undersigned. To the extent any DP seeks to
challenge the factual predicate of the official notice taken in this matter that party may file an appropriate motion no
later than fifteen (15) days from the issuance of this order.

                                                           3



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actions on this matter or the manner in which her DP decisions were reached, issued, or not
issued.5 The Administrator exercised her discretion to fix the number of DPs to be included, and
to expand that number would effectively overrule her decision and exceed the proper and logical
role of the ALJ under the APA and the CSA.6 Accordingly, no action was (or could be) taken
regarding the D4DPR’s Motion to Intervene, and for similar reasons, the same is true of this
Motion to Stay.7

5
  See SEC v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The grounds upon which an administrative order must be
judged are those upon which the record discloses that its action was based.”). As I have discussed in other orders,
while the decision to include or exclude a party arguably bears the hallmarks of a final agency action (5 U.S.C. §
702; 21 U.S.C. § 877), the Court of Appeals for the Sixth Circuit is not altogether convinced that anything is really
final and reviewable until the whole adjudication has run its course. Miami-Luken, Inc. v. DEA, 900 F.3d 738, 743
(6th Cir. 2018) (The court held that a subpoena decision is not rendered final merely because the agency’s highest
authority issued the decision prior to an ultimate disposition of the case.). Under this view of things, there is nothing
particularly troubling about the Administrator issuing her justification letter after the determination so long as it
happens before the final (court-reviewable) order.
6
  Admittedly, had the standing determination been deferred to await the action of the ALJ, matters would have been
procedurally different and the Administrator could have exercised her unquestioned authority to review my ruling on
the matter. But that is not the way the matter progressed.
7
  Even assuming arguendo that the Motion to Stay was evaluated on the merits by this tribunal, it would likely
produce a similarly unfruitful result. In its evaluations of motions to stay administrative proceedings, the Agency
has adopted the following factors set forth in Nken v. Holder (the Nken Factors), to wit:
         (1) whether the stay applicant has made a strong showing that he is likely to succeed on
         the merits; (2) whether the [stay] applicant will be irreparably injured absent a stay; (3)
         whether issuance of the stay will substantially injure the other parties interested in the
         proceeding; and (4) where the public interest lies.
556 U.S. 418, 434 (2009); Jennifer L. St. Croix, M.D., 86 Fed. Reg. 30494, 30495 (2021). Utilizing the Nken
Factors here would not likely move the needle in D4DPR’s direction for the relief it seeks. Regarding Nken Factor
One (success on the merits), D4DPR’s argument depends on acceptance of the fact that the Administrator’s
determination was ultra vires and/or arbitrary and capricious. MTS at 7-11. There is no indication in the NPRM
that the Attorney General intended to contravene existing regulations by a definitive sub silentio determination to
curtail the Administrator’s delegated authority. Such a draconian interpretation cannot be made lightly. The United
States District Court case cited by D4DPR (MTS at 7-8) merely upholds the authority of the Attorney General to
appoint a special prosecutor and cabin the appointee’s authority within the bounds of the appointing instrument.
United States v. Libby, 429 F.Supp.2d 27, 40-43 (D.D.C. 2006). It would be unreasonable to conclude that the
language in the NPRM was drafted as a deliberate pull-back of authority long ago delegated by regulation, and the
Libby case does not support the broad reading of the Attorney General’s intent urged by D4DPR here. Further, even
D4DPR’s own assessment of its advocacy objective is not within the scope of the NPRM to move marijuana to
Schedule III, but rather seeks to move it so some other, less restrictive schedule. MTS at 14-15; MTI at 1. It is thus
beyond the scope of NPRM. Neither does Nken Factor Two (irreparable injury) provide assistance to D4DPR’s
cause here. To the extent that D4DPR’s alleged harm to itself stems from its inability to present its views to the
Agency, it is helpful to remember there was an extensive comment submission period set forth in the NPRM where
that could have been done. 89 Fed. Reg. at 44597-98. Irreparable injury, even under the authority cited by D4DPR
(MTS at 18-19) in support of the relief it seeks, requires, in no uncertain terms that “the injury must be both certain
and great [and] actual and not theoretical.” Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985). To
the extent that it complains that the irreparable nature of its harm stems from a decision that was issued after the
Administrator has made a final decision, or as the MTS put it, after “the cake has been baked” (MTS at 19), not only
did D4DPR have the opportunity to submit comments that must be analyzed and incorporated into the final rule, but
the DPs who are participating in the hearing are likely provide no shortage of highly-qualified expert opinions.
Further, as discussed, supra, at least one court has determined that decisions rendered by an agency head during the

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         Accordingly, no action can or will be taken on the petition of this non-Designated
Participant for a stay of proceedings.8
Dated: December 5, 2024                                                                        Digitally signed by
                                                                     JOHN      JOHN MULROONEY
                                                                     MULROONEY Date: 2024.12.05
                                                                     __________________________
                                                                               16:58:37 -05'00'
                                                                     JOHN J. MULROONEY, II
                                                                     Chief Administrative Law Judge



                                        CERTIFICATE OF SERVICE
       This is to certify that the undersigned, on December 5, 2024 caused a copy of the
foregoing to be delivered to the following recipients: (1) Julie L. Hamilton, Esq., Counsel for the
Government, via email at Julie.L.Hamilton@dea.gov; James J. Schwartz, Esq., Counsel for the
Government, via email at james.j.schwartz@dea.gov; Jarrett T. Lonich, Esq., Counsel for the
Government, via email at jarrett.t.lonich@dea.gov; and S. Taylor Johnston, Esq., Counsel for the
Government, via email at stephen.t.johnston@dea.gov; (2) the DEA Government Mailbox, via
email at dea.registration.litigation@dea.gov; (3) Shane Pennington, Esq., Counsel for Village
Farms International, via email at spennington@porterwright.com; and Tristan Cavanaugh, Esq.,
Counsel for Village Farms International, via email at tcavanaugh@porterwright.com; (4) Nikolas
S. Komyati, Esq., Counsel for National Cannabis Industry Association, via email at
nkomyati@foxrothschild.com; William Bogot, Esq., Counsel for National Cannabis Industry


pendency of APA proceedings may be interlocutory. Miami-Luken, 900 F.3d at 743. Importantly, a review of Nken
Factors Three (injury to other parties) and Four requires a pragmatic evaluation of the relief actually being sought
here. D4DPR seeks an indefinite stay so that the Circuit Court can review the Agency’s hearing participation
process. The APA hearing date is currently scheduled for January 21, 2025, the date that the Court of Appeals has
fixed for D4DPR’s initial submissions. Attachment 1 at 2. It is not altogether clear what D4DPR’s representations
that it “intends to take all reasonable steps to reduce the length of delay, including by seeking expedited review in
[the Circuit Court]” really does (or could) mean. MTS at 20. The Circuit Court manages a busy docket. The most
that D4DPR could hope for is a fair and timely consideration of its motion to expedite, along with similar motions
filed by a multitude of other litigants. If ultimately successful in its litigation before that court, any relief granted in
this petitioner’s favor will almost undoubtedly involve the reversal of all actions related to the designation of DPs by
the Agency and the Department. Under this success metric, the process will need to start again at square one.
Invitations for hearing and participation requests will need to be rewritten and republished in the Federal Register
with appropriate waiting times and supplemental instructions as to the status of those DPs selected in the Agency’s
initial efforts. The work of all concerned will be repeated. The Agency will certainly be called upon to review a
potentially massive number of new (and old) submissions with detailed statements of position and arguments for
standing. And all that will occur after the Circuit Court issues its decision on the process. The restarted process will
then likely commence with a lengthy APA hearing that potentially will seat even more designated participants.
After the new process is complete, the Agency will issue a final order that is then subject to appeal in the courts. To
blithely assert that the stay requested here will have no cognizable impact on the Designated Participants or the
members of the public who have long been anticipating an adjudication on these issues, may prove unpersuasive to
say the least. Thus, while this order holds that this tribunal is without authority to rule on the Motion for Stay (or
any other motion) filed by this non-DP, even if its Motion were to be considered, a thoughtful evaluation of the
relief under the Nken Factors would likely militate in favor of its denial.
8
  Naturally, any order provided by the Circuit Court will be expeditiously and scrupulously adhered to by this
tribunal.

                                                             5



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Association, via email at wbogot@foxrothschild.com; and Khurshid Khoja, Esq., Counsel for
National Cannabis Industry Association, via email at khurshid@greenbridgelaw.com; (5) John
Jones and Dante Picazo for Cannabis Bioscience International Holdings, via email at
ir@cbih.net; (6) Andrew J. Kline, Esq., Counsel for Hemp for Victory,
AKline@perkinscoie.com; and Abdul Kallon, Esq., Counsel for Hemp for Victory, via email at
and AKallon@perkinscoie.com; (7) Shanetha Lewis for Veterans Initiative 22, via email at
info@veteransinitiative22.com; (8) Kelly Fair, Esq., Counsel for The Commonwealth Project,
via email at Kelly.Fair@dentons.com; (9) Rafe Petersen, Esq., Counsel for Ari Kirshenbaum, via
email at Rafe.Petersen@hklaw.com; (10) David G. Evans, Esq., Counsel for Cannabis Industry
Victims Educating Litigators, Community Anti-Drug Coalitions of America, Phillip Drum,
Kenneth Finn, International Academy on the Science and Impacts of Cannabis, and National
Drug and Alcohol Screening Association, via email at thinkon908@aol.com; (11) Patrick
Philbin, Esq., Counsel for Smart Approaches to Marijuana, via email at
pphilbin@torridonlaw.com; and Chase Harrington, Esq., Counsel for Smart Approaches to
Marijuana, via email at charrington@torridonlaw.com; (12) Stephanie E. Masker, Esq., Counsel
for National Transportation Safety Board, via email at stephanie.masker@ntsb.gov; (13) Eric
Hamilton, Esq., Counsel for the State of Nebraska, via email at eric.hamilton@nebraska.gov; and
Zachary Viglianco, Esq., for the State of Nebraska, via email at
zachary.viglianco@nebraska.gov; (14) Gene Voegtlin for International Association of Chiefs of
Police, via email at voegtlin@theiacp.org; (15) Gregory J. Cherundolo for Drug Enforcement
Association of Federal Narcotics Agents, via email at executive.director@afna.org; (16) Reed N.
Smith, Esq., Counsel for the Tennessee Bureau of Investigation, via email at
Reed.Smith@ag.tn.gov; and Jacob Durst, Esq., Counsel for Tennessee Bureau of Investigation,
via email at Jacob.Durst@ag.tn.gov; and (17) Matthew Zorn, Esq., Counsel for OCO et al., and
Counsel for Doctors for Drug Policy Reform and Bryon Adinoff, via email at
mzorn@yettercoleman.com; abrumbaugh@yettercoleman.com.

                                                         QUINN Digitally
                                                                       QUINN FOX
                                                                                signed by

                                                                       Date: 2024.12.05
                                                         FOX           16:59:25 -05'00'
                                                         _____________________________
                                                          Quinn Fox
                                                          Staff Assistant to the Chief Judge
                                                          Office of Administrative Law Judges




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                                                                US. Department of Justice
                                                                 Dmg Enforcement Administration




        Office of the Administrator                             Springfield, VA 22152


                                                             October 28, 2024

        Hon. John J. Mulrooney, II
        Chief Administrative Law Judge
        Office of Administrative Law Judges
        8701 Morrissette Drive
        Springfield, VA 22152

        Dear Chief Judge Mulrooney,

               On May 21, 2024, the Department of Justice published a notice of proposed rulemaking
        (NPRM) to transfer marijuana from schedule I of the Controlled Substances Act (CSA) to
        schedule III of the CSA. See Schedules of Controlled Substances: Rescheduling o{Mariiuana,
        89 FR 44597 {May 21, 2024). Upon review of the requests for hearing on the NPRM, I
        authorized a hearing to be conducted in accordance with the Administrative Procedure Act
        (APA), the CSA, and the Drug Enforcement Administration (DEA) regulations. See Schedules
        of Controlled Substances: Rescheduling o(Mariiuana, 89 FR 70148 (Aug. 29, 2024).

                Pursuant to my authority under the CSA and DEA regulations, I reviewed the requests
        for a hearing under 21 CFR 1308.44(a) and 1316.47, and the requests to participate under .ll
        CFR 1308.44(b) and 1316.48, and I have determined that the following will be participants at the
        hearing:

                   1. Village Farms International Inc.
                      Shane Pennington of Porter Wright, spennington@porterwright.com

                   2. National Cannabis Industry Association
                      Aaron Smith, CEO and Co-Founder, and Michelle Rutter Friberg, Director of
                      Government Relations, aaron@thecannabisindustry.org and
                      michelle@thecannabisindustry.org

                   3. American Academy of Hospice and Palliative Medicine
                      Dr. Chad Kallas, MD, wchill@aahpm.org

                   4. Cannabis Bioscience International Holdings                                         ' ·- ~.
                                                                                                         'c . • ' .
                      John Jones, Treasurer and Director, ir@cbih.net                                    ..~.- . ......,
                                                                                                            ~   ,_



                                                                                                   -..   r'" ~' . ' .....,
                                                                                                         fJ : ·--~1




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            5. Hemp for Victory
               Robert Head, Dr. Corey Burchman, Dr. Darinia Douchi, and Victor Bohm,
               robert@b luecordfarms. com

            6. Cannabis Ombudsman, State of Connecticut
               Erin Gorman Kirk, Erin.Kirk@ct.gov

            7. Massachusetts Cannabis Advisory Board
               Ellen Brown, Research Subcommittee Chair, ellen@greenpathtraining.com

            8. Veterans Initiative 22
               Shanetha Lewis, Executive Director, info@veteransinitiative22.com

            9. The Doc App. Dba, My Florida Green
               Nicholas Garulay, President and CEO, and Jason Castro, Inhouse Counsel,
               jasoncastro@myfloridagreen.com

            10. The Commonwealth Project
                Katy Green, kag@platinumadvisors.com

            11. Saint Michael's College
                Ari Kirshenbaum, PhD, Professor of Psychology,
                mslade@cannabispublicpolicyconsulting.com

            12. National Drug and Alcohol Screening Association (NDASA)
                Jo McGuire, jomcguire@ndasa.com

            13. Smart approaches to Marijuana (SAM)
                Patrick Philbin, pphilbin@torridonlaw.com

            14. International Academy on the Science and Impact of Cannabis
                Roneet Lev, roneetlev@gmail.com

            15. Cannabis Industry Victims Educating Litigators
                David Evans, Sr. Counsel, thinkon908@aol.com

             16. Kenneth Finn, MD, kfinn@springsrehab.net

             17. National Transportation Safety Board {NTSB)
                 Jennifer Homendy, Chair, ExecutiveSecretariat@ntsb.gov and
                 correspondence@ntsb.gov

             18. Phillip Drum, Phann D, phillipdrum@comcast.net




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               19. State of Nebraska
                   Attorney General Mike Hilgers, zachary.viglianco@nebraska.gov

               20. International Association of Chiefs of Police (IACP)
                   voegtlin@theiacp.org

               21. Drug Enforcement Association of Federal Narcotics Agents (DEAFNA)
                   marshallfisher@rocketmail.com

               22. American College of Occupational and Environmental Medicine (ACOEM)
                   Natalie P. Hartenbaum, occumedix@comcast.net cc: craig@acoem.org

               23. Community Anti-Drug Coalitions of America (CADCA)
                   Sue Thau, cdoam@cadca.org

               24. Tennessee Bureau of Investigation (TBI)
                   kim.litman@tbi.to.gov

               25. National Sheriffs Association
                   sheri ffskinner@co 11 incountytx. gov and ykaraman@sheriffs.org


                Further, an Administrative Law Judge (ALJ) is now designated to preside over the
        hearing. The ALJ's functions commence upon this designation. See 21 CFR 1316.52. The
        designated ALJ will have powers necessary to conduct a fair hearing, to take all necessary action
        to avoid delay, and to maintain order. Id. The ALJ's authorities include the power to hold
        conferences to simplify or determine the issues in the hearing or to consider other matters that
        may aid in the expeditious disposition of the hearing; require parties to state their position in
        writing; sign and issue subpoenas to compel the production of documents and materials to the
        extent necessary to conduct the hearing; examine witnesses and direct witnesses to testify;
        receive, rule on, exclude, or limit evidence; rule on procedural items; and take any action
        permitted by the presiding officer under DEA's hearing procedures and the AP A. Id.




                                                                    1
                                                             Administrator




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                                                                                                        App.9
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                                                        U. S. Department of Justice
                                                        Drug Enforcement Administration
                                                         8701 Morrissette Drive
                                                         Springfield, Virginia 22152


www.dea.gov


Bryon Adinoff
812 S Gaylord St
Denver, CO 80209
mzorn@yettercoleman.com
adinoff@d4dpr.org



Dear Bryon Adinoff

        This is in response to your request, for a hearing and/or to participate in a hearing, to the
Drug Enforcement Administration (DEA) regarding the notice of proposed rulemaking (NPRM) to
transfer marijuana from schedule I of the Controlled Substances Act (CSA) to schedule III of the
CSA. See Schedules of Controlled Substances: Rescheduling of Marijuana, 89 FR 44597 (May 21,
2024) and 89 FR 70148 (Aug. 29, 2024).
        Upon review and careful consideration, DEA has determined that the request did not
sufficiently establish that you are an “interested person” under DEA regulations and/or the request
did not sufficiently state with particularity the relevant evidence on a material issue of fact that you
intended to present during the hearing. See 21 CFR 1300.01(b), 1308.44(a), 1308.44(b), 1316.47,
1316.48; see also Placement of Lorcaserin Into Schedule VI, 78 FR 26701 (May 8, 2013);
Placement of Lacosamide Into Schedule V, 74 FR 23789 (May 21, 2009); Rescheduling of the FDA
Approved Product Containing Synthetic Dronabinol From Schedule II to Schedule III, 64 FR 35928
(July 2, 1999); Placement of Pemoline in Schedule IV, 40 FR 4150 (Jan. 28, 1975). Therefore, DEA
has decided not to grant your request.


                                                             Sincerely,
                                                              THOMAS Digitally
                                                                       THOMAS
                                                                               signed by

                                                              PREVOZNI PREVOZNIK
                                                                       Date: 2024.11.25
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                                                             Thomas W. Prevoznik
                                                             Assistant Administrator
                                                             Diversion Control Division



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              DEPARTMENT OF HEALTH AND HUMAN SERVICES                                    Office of the Secretary



                                                                     Office of the Assistant Secretary for Health
                                                                                       Washington, D.C. 20201

                                                 August 29, 2023

     The Honorable Anne Milgram
     Administrator
     Drug Enforcement Administration
     U.S. Department of Justice
     8701 Morrissette Drive
     Springfield, VA 22152

      Dear Anne Milgram:

     Pursuant to the Controlled Substances Act (CSA), 21 U.S.C. 811(b) and (c), I, the Assistant Secretary
     for Health, am recommending that marijuana, referring to botanical cannabis (Cannabis sativa L.) that
     is within the definition “marihuana” or “marijuana” in the CSA, be controlled in Schedule III of the
     CSA.

     Upon consideration of the eight factors determinative of control of a substance under 21 U.S.C.
     811(c), the Food and Drug Administration (FDA) recommends that marijuana be placed in Schedule
     III of the CSA. The National Institute on Drug Abuse has reviewed the enclosed documents (which
     were prepared by FDA’s Controlled Substance Staff and are the basis for FDA’s recommendation)
     and concurs with FDA’s recommendation. Marijuana meets the findings for control in Schedule III
     set forth in 21 U.S.C. 812(b)(3).

     Based on my review of the evidence and FDA’s recommendation, it is my recommendation as the
     Assistant Secretary for Health that marijuana should be placed in Schedule III of the CSA.

      Should you have any questions regarding this recommendation, please contact FDA’s Center for Drug
      Evaluation and Research, Office of Executive Programs (cderexsec@cder.fda.gov), at (301) 796-3200.

                                                 Sincerely,



                                                 Rachel L. Levine, M.D.
                                                 ADM, USPHS
                                                 Assistant Secretary for Health

      Enclosure



______________________________________________________________________________________________
                                    U.S. Public Health Service


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                     BASIS FOR THE RECOMMENDATION TO RESCHEDULE MARIJUANA
                       INTO SCHEDULE III OF THE CONTROLLED SUBSTANCES ACT

                I.   Introduction

            Background

            On October 6, 2022, President Joseph R. Biden released a statement asking the Secretary of the
            Department of Health and Human Services (HHS) and the Attorney General “to initiate the
            administrative process to review expeditiously how marijuana is scheduled under federal law.” 1
            This Presidential request led HHS to initiate a scientific and medical evaluation for botanical
            cannabis (Cannabis sativa L.) that is within the definition “marihuana” or “marijuana” in the
            federal Controlled Substances Act (CSA), 2 currently controlled under Schedule I of the CSA. As
            with prior evaluations conducted to reconsider the control status of marijuana under the CSA, the
            Food and Drug Administration (FDA) is conducting this evaluation and providing input and a
            scheduling recommendation to the Drug Enforcement Administration (DEA) in the form of an
            Eight Factor Analysis (8FA), pursuant to paragraphs (a) through (c) of section 201 and paragraph
            (b) of section 202 of the CSA (21 U.S.C. 811 (a-c) and 21 U.S.C. 812(b)). 3

            Since 2000, HHS (through the FDA and the National Institute on Drug Abuse (NIDA)) has
            conducted four scientific and medical evaluations of marijuana for drug scheduling purposes, in
            the form of 8FAs. (The process for developing an 8FA is elaborated below under
            Considerations for Scheduling of Marijuana.) The two most recent HHS 8FAs for marijuana
            were conducted in 2015 at the request of the DEA to enable them to respond to two petitions
            requesting removal of marijuana from Schedule I and placement in another schedule of the CSA.
            After reviewing the 8FAs conducted by HHS, DEA denied both petitions and maintained
            marijuana in Schedule I of the CSA. 4

            At the conclusion of an 8FA, three findings need to be made to determine the scheduling
            recommendation for a substance: its relative abuse potential compared to other drugs, whether it
            has a currently accepted medical use (CAMU) in treatment in the United States (or a currently
            1
              Statement from President Biden on Marijuana Reform; https://www.whitehouse.gov/briefing-room/statements-
            releases/2022/10/06/statement-from-president-biden-on-marijuana-reform/.
            2
              Under 21 U.S.C. 802(16): “(16)(A) Subject to subparagraph (B), the terms “marihuana” and “marijuana” mean all
            parts of the plant Cannabis sativa L., whether growing or not; the seeds thereof; the resin extracted from any part of
            such plant; and every compound, manufacture, salt, derivative, mixture, or preparation of such plant, its seeds or
            resin.
            (B) The terms “marihuana” and “marijuana” do not include—
            (i) hemp, as defined in section 1639o of title 7; or
            (ii) the mature stalks of such plant, fiber produced from such stalks, oil or cake made from the seeds of such plant,
            any other compound, manufacture, salt, derivative, mixture, or preparation of such mature stalks (except the resin
            extracted therefrom)
            3
              We acknowledge that the DEA, acting on behalf of the Attorney General, may ultimately implement any changes
            in the federal control status of marijuana pursuant to section 201(d)(1) of the CSA (21 U.S.C. 811(d)(1)), due to the
            control of cannabis and cannabis preparations internationally in Schedule I of the Single Convention on Narcotic
            Drugs of 1961 (hereafter, the Single Convention), and the requirement for the United States to be compliant with
            control measures stipulated for drugs controlled under the Single Convention.
            4
              Denial of Petition To Initiate Proceedings To Reschedule Marijuana, 81 FR 53688 (Aug. 12, 2016); Denial of
            Petition To Initiate Proceedings To Reschedule Marijuana, 81 FR 53767 (Aug. 12, 2016).

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accepted medical use with severe restrictions (21 U.S.C. 812(b)(2)(B)), and its relative safety or
ability to produce physical dependence compared to other drugs, as provided under 21 U.S.C.
812(b). After the Presidential request in October 2022, HHS (through FDA and NIDA) applied a
two-part test to evaluate CAMU (hereinafter, “CAMU test”); this test takes into account the
current widespread medical use of marijuana under the supervision of licensed health care
practitioners (HCPs) under state-authorized programs.

Under Part 1 of the CAMU test, the Office of the Assistant Secretary for Health (OASH)
considered whether there is widespread current experience with medical use of marijuana in the
United States by licensed HCPs operating in accordance with implemented state-authorized
programs, where such medical use is recognized by entities that regulate the practice of medicine
under these state jurisdictions. Part 2 of the CAMU test, performed by the FDA, evaluated
whether there exists some credible scientific support for at least one of the medical conditions for
which the Part 1 test is satisfied.

An important difference in the present scientific and medical evaluation relative to the HHS
8FAs for marijuana from 2015 is that Congress amended the definition of “marijuana” in the
CSA in 2018. This action narrowed the scope of what is considered marijuana under the CSA by
removing “hemp” and chemical derivatives of “hemp”, as discussed below. When the CSA was
enacted in 1970, the term “marijuana” covered all varieties of Cannabis sativa L., including
chemovars and preparations with high concentrations of cannabinoid compounds with
intoxicating effects, such as delta-9-tetrahydrocannabinol (∆9-THC), as well as chemovars and
preparations with lower concentrations of ∆9-THC and other cannabinoid compounds, which
could include “industrial hemp.” Specifically, the 1970 definition of “marihuana” under section
102(16) of the CSA (21 U.S.C. 802(16)) stated that:
     The term ‘marihuana’ means all parts of the plant Cannabis sativa L., whether growing or
     not; the seeds thereof; the resin extracted from any part of such plant; and every compound,
     manufacture, salt, derivative, mixture, or preparation of such plant, its seeds or resin. Such
     term does not include the mature stalks of such plant, fiber produced from such stalks, oil
     or cake made from the seeds of such plant, any other compound, manufacture, salt,
     derivative, mixture, or preparation of such mature stalks (except the resin extracted
     therefrom), fiber, oil, or cake, or the sterilized seed of such plant which is incapable of
     germination.

In December 2018, the Agriculture Improvement Act (also known as the 2018 Farm Bill), was
signed into law, which defined “hemp” as “a plant species Cannabis sativa L. and any part of
that plant, including the seeds thereof and all derivatives, extracts, cannabinoids, isomers, acids,
salts, and salts of isomers, whether growing or not, with a total ∆9-THC concentration of not
more than 0.3 percent on a dry weight basis” (revising Section 297A of the Agricultural
Marketing Act of 1946 (specifically, 7 U.S.C. 1639o). The 2018 Farm Bill explicitly removed
“hemp” categorically from the definition of marijuana in the CSA, which removed it from
control under any drug schedule of the CSA. Based on the provisions of the 2018 Farm Bill, the
current definition of marijuana under 21 U.S.C. 802(16) is as follows:
     (16)(A) Subject to subparagraph (B), the terms “marihuana” and “marijuana” mean all
     parts of the plant Cannabis sativa L., whether growing or not; the seeds thereof; the resin




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                extracted from any part of such plant; and every compound, manufacture, salt, derivative,
                mixture, or preparation of such plant, its seeds or resin.
                (B) The terms “marihuana” and “marijuana” do not include—
                    (i) hemp, as defined in section 1639o of title 7; or
                    (ii) the mature stalks of such plant, fiber produced from such stalks, oil or cake made
                    from the seeds of such plant, any other compound, manufacture, salt, derivative,
                    mixture, or preparation of such mature stalks (except the resin extracted therefrom),
                    fiber, oil, or cake, or the sterilized seed of such plant which is incapable of germination.

          In implementing the hemp provisions from the 2018 Farm Bill, DEA clarified that the definition
          of “Tetrahydrocannabinols” under 21 CFR 1308.11(d)(31) does not include “any material,
          compound, mixture, or preparation that falls within the definition of hemp set forth in 7 U.S.C.
          1639o.” 5

          The 2018 Farm Bill additionally had the effect of decontrolling many products containing
          predominantly cannabidiol (CBD) derived from hemp and containing no more than 0.3 percent
          ∆9-THC on a dry weight basis. This included the FDA-approved product Epidiolex, which
          contains plant-derived, highly purified CBD as its active ingredient and was approved by FDA in
          June 2018, just prior to the enactment of the Farm Bill. Prior to FDA approval of Epidiolex,
          CBD was a Schedule I substance, based on its derivation from marijuana. To address the
          Epidiolex approval, DEA placed “approved cannabidiol drugs” into Schedule V of the CSA in
          September 2018, under 21 CFR 1308.15(f), 6 and asserted that the placement was necessary to
          carry out United States obligations under the Single Convention. Notably, though, FDA’s
          review of the NDA for Epidiolex, as well as the subsequent HHS 8FA, found that, “Based on the
          totality of the available scientific data, CBD does not have meaningful abuse potential. In
          support of this finding, the evidence for any abuse potential is also substantially less than that of
          all substances currently in Schedule V.” Thus, the decontrol of FDA-approved drugs that
          contain CBD derived from cannabis with no more than 0.1 percent ∆9-THC on a dry weight
          basis is scientifically supported by preclinical and clinical study data. Products containing
          predominantly plant-derived CBD or marketed with the intent of offering consumers a plant-
          derived, CBD-containing product, will not be addressed in this scientific and medical evaluation
          of marijuana. It should be noted some hemp-derived CBD products may contain ∆9-THC or
          other cannabinoids in amounts sufficient to produce drug effects more associated with marijuana,
          and may or may not be legally within the definition of marijuana. It is acknowledged that their
          widespread use may contribute to the epidemiological data on marijuana use that is discussed in
          Factors 4, 5, and 6 of this scientific and medical evaluation.

          It is important to note that, to date, FDA has not approved an NDA for a drug product containing
          botanical marijuana. However, two drug products containing ∆9-THC (as dronabinol, which is
          specifically the (-)-trans-∆9-THC stereoisomer), the primary compound in marijuana that is

          5
           85 FR 51639, 51639-51645, August 21, 2020
          6
           Under 21 CFR 1308.15(f): “Approved cannabidiol drugs. (1) A drug product in finished dosage formulation that
          has been approved by the United States Food and Drug Administration that contains cannabidiol (2-[1R-3-methyl-
          6R-(1-methylethenyl)-2-cyclohexen-1-yl]-5-pentyl-1,3-benzenediol) derived from cannabis and no more than 0.1
          percent (w/w) residual tetrahydrocannabinols.”

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responsible for its abuse potential, have received FDA approval: Marinol and Syndros.
Dronabinol is a Schedule I substance under the CSA unless it is contained in an FDA-approved
drug product, as described below.

Marinol (dronabinol) capsules, 2.5, 5, and 10 mg, received FDA approval in 1985 for the
treatment of nausea and vomiting associated with cancer chemotherapy in patients who failed to
respond adequately to conventional anti-emetic treatments. In 1992, FDA approved an
additional indication for the treatment of anorexia associated with weight loss in patients with
acquired immunodeficiency syndrome (AIDS). Following the 1985 Marinol approval, DEA
conducted a product-specific rescheduling in 1986 for “synthetic dronabinol in sesame oil and
encapsulated in soft gelatin capsules,” moving it from Schedule I into Schedule II. In 1999,
DEA rescheduled “synthetic dronabinol in sesame oil and encapsulated in soft gelatin capsules”
again, from Schedule II into Schedule III, based on low numbers of reports of abuse of Marinol
relative to marijuana.

Syndros (dronabinol) oral solution 5 mg/ml received FDA approval in 2016 for the same
indications as those approved for Marinol: nausea and vomiting associated with cancer
chemotherapy in patients who have failed to respond adequately to conventional antiemetic
treatments and anorexia associated with weight loss in patients with AIDS. Following FDA
approval, DEA conducted a product-specific rescheduling in 2017 for “FDA-approved products
containing dronabinol in an oral solution” from Schedule I into Schedule II.

Considerations for Scheduling of Marijuana

In considering the scheduling of marijuana in response to President Biden’s request, the Secretary
of HHS is required to consider in a scientific and medical evaluation eight factors determinative of
control under the CSA, pursuant to 21 U.S.C. 811(b). The eight factors are the following:

       1. Its actual or relative potential for abuse;
       2. Scientific evidence of its pharmacological effect, if known;
       3. The state of current scientific knowledge regarding the drug or other substance;
       4. Its history and current pattern of abuse;
       5. The scope, duration, and significance of abuse;
       6. What, if any, risk there is to the public health;
       7. Its psychic or physiological dependence liability; and
       8. Whether the substance is an immediate precursor of a substance already controlled.

Following consideration of the eight factors, three findings need to be made to determine the
schedule for a drug or substance under the CSA. The three required findings relate to a substance’s
abuse potential, CAMU in the United States, and safety or dependence potential (21 U.S.C.
812(b)).

In this document, the term “marijuana” will be used to refer to Cannabis sativa L., to be
responsive to language of the CSA definition of “marihuana” or “marijuana” and its listing as the
Schedule I drug class that is subject of this evaluation. The present evaluation of marijuana
discusses the scientific and medical information relative to each of the eight factors, presents




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findings in the three required areas (abuse potential, CAMU, and safety or dependence liability)
and makes a recommendation regarding the scheduling of marijuana.

It is important to note that this evaluation is necessarily limited in scope and depth to those
preclinical, clinical, and epidemiological data that are directly related to determining the abuse
potential, physical dependence, and CAMU of marijuana in response to the eight factors
described in the CSA. As such, this assessment is comprehensive, but is not exhaustive or
encyclopedic. Extensive reviews of marijuana and cannabinoids are publicly available in papers
published in the scientific and medical literature, as well as from federal entities such as NIDA
and the Congressional Research Service, from professional medical associations, and from the
National Academies of Science, Engineering and Medicine (NASEM). The current review is
largely focused on modern scientific considerations on whether marijuana has a CAMU and on
new epidemiological data related to abuse of marijuana in the years since the 2015 HHS 8FAs on
marijuana.

In the epidemiological analyses below regarding prevalence of marijuana abuse and associated
harms, evaluations included comparators such as heroin (Schedule I), fentanyl (Schedule II),
oxycodone (Schedule II), hydrocodone (Schedule II), cocaine (Schedule II), ketamine (Schedule
III), benzodiazepines (Schedule IV), zolpidem (Schedule IV), tramadol (Schedule IV), and
alcohol (FDA Office of Surveillance and Epidemiology, 2023). Each individual epidemiological
database evaluated a specific group of drugs and not every comparator was evaluated under each
database.

It should be noted that although alcohol is well known to be abused, it was explicitly exempted
from control under the CSA when it was enacted. Typically, substances that are not controlled
under the CSA are not utilized as comparator drugs for scheduling placement considerations
because they may not have been formally evaluated for abuse potential in standard preclinical
and clinical abuse-related studies. However, alcohol is included in the analyses because of its
extensive availability and use in the United States, which is also observed for nonmedical use of
marijuana (also known as recreational use of marijuana).

After assessing all available preclinical, clinical, and epidemiological data, FDA recommends
that marijuana be rescheduled from Schedule I into Schedule III of the CSA. Schedule III drugs
are classified as having a potential for abuse less than the drugs or other substances in schedules
I and II, a currently accepted medical use in treatment in the United States, and moderate or low
physical dependence or high psychological dependence that may result from their use. NIDA
concurs with this recommendation.

 II.   Evaluating Marijuana Under the Eight Factors

Pursuant to 21 U.S.C. 811(c), the eight factors pertaining to the scheduling of marijuana are
considered below.




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                     FACTOR 1. ITS ACTUAL OR RELATIVE POTENTIAL FOR ABUSE

                     Under the first factor, the Secretary must consider actual or relative potential for abuse of
                     marijuana. The CSA does not define the term “abuse.” However, the CSA’s legislative history
                     suggests using the following criteria in determining whether a particular drug or substance has a
                     potential for abuse 7:

                           a. There is evidence that individuals are taking the drug or drugs containing such a
                              substance in amounts sufficient to create a hazard to their health or to the safety of
                              other individuals or to the community.

                           b. There is a significant diversion of the drug or drugs containing such a substance from
                              legitimate drug channels.

                           c. Individuals are taking the drug or drugs containing such a substance on their own
                              initiative rather than on the basis of medical advice from a practitioner licensed by law
                              to administer such drugs in the course of his professional practice.

                           d. The drug or drugs containing such a substance so related in their action to a drug or
                              drugs already listed as having a potential for abuse to make it likely that the drug will
                              have the same potentiality for abuse as such drugs, thus making it reasonable to assume
                              that there may be significant diversions from legitimate channels, significant use
                              contrary to or without medical advice, or that it has a substantial capability of creating
                              hazards to the health of the user or to the safety of the community.

                     In the development of this scientific and medical evaluation for the purpose of scheduling, the
                     Secretary analyzed considerable data related to the abuse potential of marijuana. Determining
                     the abuse potential of a substance is complex with many dimensions, and no single test or
                     assessment provides a complete characterization. Thus, no single measure of abuse potential is
                     ideal. Scientifically, a comprehensive evaluation of the relative abuse potential of a substance
                     can include consideration of the following elements: chemistry, receptor binding, behavioral
                     effects indicating that the substance is rewarding or is similar to another substance controlled
                     under the CSA, pharmacokinetics, behavioral effects indicating that the substance produces
                     physical or psychic dependence, and epidemiological data related to abuse of the substance
                     regarding its pattern and duration of use, as well as the risk it presents to the public health.

                         a. There is evidence that individuals are taking the substance in amounts sufficient to
                            create a hazard to their health or to the safety of other individuals or to the
                            community.

                     Evidence shows that some individuals are taking marijuana in amounts sufficient to create a
                     hazard to their health and to the safety of other individuals and the community. However,

                     7
                      Comprehensive Drug Abuse Prevention and Control Act of 1970, H.R. Rep. No. 91-1444, 91st Cong., Sess. 1
                     (1970) reprinted in U.S.C.C.A.N. 4566, 4603.


                                                                                                                                   App.17
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evidence also exists showing that the vast majority of individuals who use marijuana are doing
so in a manner that does not lead to dangerous outcomes to themselves or others.

The data supportive of this conclusion are found in Factor 4 (below), “Its History and Current
Pattern of Abuse” (citing data from National Survey on Drug Use and Health (NSDUH), the
Behavioral Risk Factor Surveillance System (BRFSS), the Researched Abuse, Diversion and
Addiction-Related Surveillance (RADARS) System’s Nonmedical Use of Prescription Drugs
(NMURx) Program, Monitoring the Future (MTF), the Youth Risk Behavior Surveillance
System (YRBSS), and the International Cannabis Policy Survey (ICPS)), in Factor 5, “The
Scope, Duration, and Significance of Abuse” (citing data from National Poison Data System
(NPDS), NSDUH, the Treatment Episode Data Set (TEDS), National Addictions Vigilance
Intervention and Prevention Program (NAVIPPRO), the Nationwide Emergency Department
Sample (NEDS), and the National Inpatient Sample (NIS)), and Factor 6, “What, if any, Risk
There is to the Public Health” (citing data from NSDUH, TEDS, NEDS, NIS, ToxIC Core
Registry, FDA Adverse Event Reporting System (FAERS), FDA’s Center for Food Safety and
Applied Nutrition (CFSAN) Adverse Event Reporting System (CAERS), National Vital
Statistics System-Mortality and Drug-Involved Mortality (NVSS-M and DIM), the Drug Abuse
Warning Network (DAWN), FDA’s Sentinel Distributed Database System, and Centers for
Medicare and Medicaid Services (CMS).

To provide context, from 2015 to 2019, the prevalence of past-year use of alcohol was 5-6 times
greater than that that of past-year nonmedical use of marijuana. In contrast, the prevalence of
past-year nonmedical use of heroin, cocaine, oxycodone, hydrocodone, tramadol,
benzodiazepines, and zolpidem was 4-5 times less than that for marijuana.

In NSDUH, among people with past-year marijuana nonmedical use, approximately half of
individuals reported nonmedical marijuana use an average of less than 5 days/month while
another 30% reported nonmedical marijuana use for an average of more than 20 days/month. In
the BRFSS population of people with past-30-day marijuana use, near-daily use was more likely
if the individual was using marijuana for medical reasons. However, medical-only use of
marijuana was less common (25% for medical-only use, compared to 39% for medical and
nonmedical use, and 36% for nonmedical use only). Additionally, in NSDUH, past-year use of
marijuana was predictive of past-month use for 60-80% of respondents, similar to alcohol use
(approximately 80% of those who used alcohol in the past year also did so in the past month).

The most notable conclusion from an evaluation of various epidemiological databases of adverse
outcomes involving marijuana or comparator drugs that are used nonmedically, occurring over
2015 to 2021, is that the utilization-adjusted rate of adverse outcomes involving marijuana was
consistently lower than the respective utilization-adjusted rates of adverse outcomes involving
heroin, cocaine, and, for certain outcomes, other comparators. Also, the rank order of the
comparators in terms of adverse outcome counts typically placed alcohol or heroin in the first or
immediately subsequent positions, with marijuana in a lower place in that ranking. This pattern
was also observed for serious medical outcomes, including death, observed in Poison Center
data, where marijuana was in the lowest ranking group. This suggests consistency across
databases, across drugs, and over time, and although abuse of marijuana produces clear evidence
of harmful consequences, these appear to be relatively less common and less severe than some




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other comparator drugs. Importantly, these comparisons of prevalence of adverse outcomes were
from descriptive analyses only. Thus, underlying differences in the populations being compared
(e.g., age or pre-existing medical conditions) may have contributed to observed differences in
outcome frequency and severity, and the ranked order across comparators. In addition, because
individuals using marijuana and/or the selected comparators may have been monitored
differently, there may have been differences between the populations in outcome ascertainment.

The risks to the public health posed by marijuana are lower compared to other drugs of abuse
(e.g., heroin, oxycodone, cocaine), based on an evaluation of various epidemiological databases
for emergency department (ED) visits, hospitalizations, unintentional exposures, and most
importantly, for overdose deaths. The rank order of the comparators in terms of greatest adverse
consequences typically places heroin, benzodiazepines and/or cocaine in the first or immediately
subsequent positions, with marijuana in a lower place in the ranking, especially when a
utilization adjustment is calculated. For overdose deaths, marijuana is always in the lowest
ranking among comparator drugs. These evaluations demonstrate that there is consistency across
databases, across substances, and over time that although abuse of marijuana produces clear
evidence of a risk to public health, that risk is relatively lower than that posed by most other
comparator drugs.

   b. There is significant diversion of the substance from legitimate drug channels.

There is a lack of evidence of significant diversion of marijuana from legitimate drug channels
(i.e., marijuana that is legally marketed under United States federal law), due to the fact that an
NDA for a drug product containing botanical marijuana has not been approved for marketing in
the United States. Marijuana is used by researchers for clinical research under investigational
new drug (IND) applications, and there are multiple DEA-registrants who have applied and are
approved to produce marijuana and derived formulations for use in DEA-authorized nonclinical
and clinical research. These research and manufacturing authorizations represent the only
legitimate federally sanctioned drug channels in the United States, and there is a lack of data
indicating diversion occurring from these entities or activities. However, there are significant
additional sources of marijuana in the United States, both from illicit cultivation and production,
illicit importation from other countries, and from state programs that permit dispensing of
marijuana for medical use and, in some states, recreational adult use.

   c. Individuals are taking the substance on their own initiative rather than on the basis
      of medical advice from a practitioner licensed by law to administer such substances.

FDA has not approved an NDA for a drug product containing botanical marijuana for any
therapeutic indication. Thus, at the federal level, the only way an individual can use marijuana
on the basis of medical advice through legitimate channels under federal law is by participating
in research under an IND. However, 38 states and the District of Columbia have passed state-
level medical marijuana laws allowing for individuals to use marijuana under certain
circumstances for medical purposes. Outside of the federal- and state-sanctioned medical use of
marijuana, individuals are using marijuana on their own initiative for medical as well as
nonmedical, purposes. Epidemiological data related to nonmedical use of marijuana is detailed
in Factor 4, “Its History and Current Pattern of Abuse.”




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   d. The substance is so related in its action to a substance already listed as having a
      potential for abuse to make it likely that it will have the same potential for abuse as
      such substance, thus making it reasonable to assume that there may be significant
      diversions from legitimate channels, significant use contrary to or without medical
      advice, or that it has a substantial capability of creating hazards to the health of the
      user or to the safety of the community.

Marijuana has been a Schedule I substance under the CSA since it was enacted in 1970. The
primary compound in marijuana that is responsible for its abuse potential is ∆9-THC (also
known as dronabinol, when specifically referring to the (-)-trans-∆9-THC stereoisomer), which
has agonist activity at cannabinoid CB1 receptors. As discussed under Factor 2, there are
extensive nonclinical and clinical studies that establish that marijuana, due to the CB1 agonist
activity of its main cannabinoid constituent ∆9-THC, produces rewarding effects that would be
consistent with observed long-term patterns of nonmedical use and abuse, both before and in
years since enactment of the CSA (see Factor 4). Additionally, FDA has approved two drug
products containing dronabinol: Marinol (in 1985; Schedule III) and Syndros (in 2016; Schedule
II). When these products were being developed, they underwent a systematic evaluation of their
abuse potential based on animal and human behavioral studies, which showed that dronabinol
has abuse potential. The abuse-related studies for Marinol and Syndros confirmed the abuse
potential of ∆9-THC, the primary compound responsible for the abuse of marijuana. These
findings suggest that marijuana will continue to be used nonmedically, diverted from legitimate
channels, and trafficked in illicit channels as a potential source for continued nonmedical use in
the United States (see Factor 5).

Epidemiological data indicate that marijuana has the potential for creating hazards to the health
of the user and to the safety of the community. However, as a relative finding on abuse liability,
when comparing marijuana to heroin, oxycodone, hydrocodone, fentanyl, cocaine, ketamine,
benzodiazepines, zolpidem, tramadol, and alcohol in various epidemiological databases that
allow for some or all of these comparisons, marijuana is not typically among the substances
producing the most frequent incidence of adverse outcomes or severity of substance use disorder
(see Factors 4, 5, and 6). However, as noted above in Factor 1a, there are limitations in
comparing descriptive data on adverse outcomes across drugs.


FACTOR 2. SCIENTIFIC EVIDENCE OF ITS PHARMACOLOGICAL EFFECTS, IF KNOWN.

Under the second factor, the Secretary must consider the scientific evidence of the
pharmacological effects of marijuana, based on the effects of ∆9-THC, the primary compound
responsible for the abuse potential of marijuana. This section includes a scientific evaluation of
the neurochemistry, receptor pharmacology, animal abuse-related behavioral effects, and human
behavioral and physiological effects of marijuana. The overview presented below relies upon the
current scientific information available in the public domain.




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Neurochemistry and Receptor Pharmacology of Marijuana

Cannabis is the genus of a plant that contains numerous natural constituents, including
cannabinoids (see Factor 3, below). Marijuana samples derived from various cultivated
chemovars may vary with respect to their composition and concentration of various chemical
constituents, including whether they contain significant amounts of ∆9-THC or other
cannabinoids (Appendino et al., 2011; Smith et al., 2022). As a consequence, marijuana
products from different strains will have differing biological and pharmacological profiles.

Marijuana contains at least 560 identified natural constituents, including 125 compounds
classified as cannabinoids (Appendino et al., 2011; Elsohly & Slade, 2005; Radwan et al., 2021).
Most major cannabinoid compounds occurring naturally in Cannabis have been identified
chemically, but new and minor compounds are continuously being characterized (Pollastro et al.,
2011; Radwan et al., 2021). The chemistry of marijuana is described in more detail in Factor 3,
“The State of Current Scientific Knowledge Regarding the Drug or Other Substance.”

The two most abundant cannabinoids present in marijuana are ∆9-THC and CBD (Lewis et al.,
2018). Mechoulam and Gaoni first described the structure and function of ∆9-THC in 1965,
while Mechoulam and Shvo first described the structure of CBD in 1963 (Mechoulam & Gaoni,
1965; Mechoulam & Shvo, 1963). ∆9-THC is the major psychoactive intoxicating cannabinoid
in marijuana (Wachtel et al., 2002) and is the component of marijuana that is primarily
responsible for its abuse potential. In contrast, CBD has negligible abuse potential, as assessed
by FDA during the NDA review for Epidiolex, an FDA-approved drug product containing plant-
derived, highly-purified CBD (Epidiolex drug label, 2022) .

There are two cannabinoid receptors: CB1 and CB2. The identification and cloning of CB1
receptors from rat brain tissue (Devane et al., 1988) and then from human brain tissue (Gerard et
al., 1991) was followed by identification and cloning of CB2 receptors in the periphery (Munro et
al., 1993) .

CB1 and CB2 receptors belong to the family of G-protein-coupled receptors and present a typical
seven transmembrane-spanning domain structure. Cannabinoid receptors primarily link to an
inhibitory G-protein (Gi/o), such that adenylate cyclase activity is inhibited when a cannabinoid
ligand binds to the receptor. This, in turn, prevents the conversion of adenosine triphosphate
(ATP) to the second messenger, cyclic AMP (cAMP), which decreases cAMP levels (Eldeeb et
al., 2020; Howlett et al., 2004). Kesner et al. (Kesner & Lovinger, 2021) have summarized the
second messenger functioning in more depth, noting that G proteins also contain beta/gamma G
protein units that are also liberated following ligand binding, which then bind to and alter ion
channel function, including inhibition of voltage-gated ion channels and activation of potassium
channels. Ligand binding can also activate some subforms of phospholipase C as well as beta-
arrestin protein. All of these second messenger routes amplify the neural signal following
cannabinoid binding at CB1 and CB2 receptors.

CB1 receptors are found primarily in the central nervous system (CNS), but are also present in
peripheral tissues, such as liver, heart, and lungs (Howlett & Abood, 2017). In the brain, CB1
receptors are expressed with highest density in cortical regions, hippocampus, basal ganglia, and



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cerebellum (Herkenham et al., 1991; Howlett et al., 2004; Marsicano & Kuner, 2008) and lowest
density in brainstem and hypothalamic areas (Howlett et al., 2004; Busquets-Garcia et al., 2018).
The localization of these receptors may explain cannabinoid effects on movement coordination,
memory, and cognition. Additionally, CB1 receptors are found in glial cells (Breivogel & Sim-
Selley, 2009) as well as in the immune system (Klein et al., 2003). However, the concentration
of CB1 receptors is considerably lower in peripheral tissues than in the CNS (Herkenham, 1992;
Herkenham et al., 1990).

CB2 receptors are found primarily in the immune system (Klein et al., 2003; Mackie & Stella,
2006), including numerous leukocyte cell types (Bouaboula et al., 1993; Turcotte et al., 2016), as
well as in activated CNS microglia (Mackie, 2008). Additionally, CB2 receptors have been
localized in the brain, primarily in the cerebellum and hippocampus (Gong et al., 2006). The
distribution of CB2 receptors throughout the body is less extensive than the distribution of CB1
receptors (De Petrocellis & Di Marzo, 2009).

There are two endogenous cannabinoid receptor agonists, anandamide (identified in 1992) and
arachidonyl glycerol (2-AG; identified in 1995) (Di Marzo, 2006). At CB1 receptors,
anandamide is a partial agonist with low intrinsic efficacy (Mackie, 2008) while 2-AG is a full
agonist with high intrinsic efficacy (Gonsiorek et al., 2000). These endogenous cannabinoid
ligands are present in central as well as peripheral tissues. A combination of uptake and
hydrolysis terminate the action of anandamide and 2-AG. The endogenous cannabinoid system
is a locally active signaling system, activated “on demand” in response to changes to the local
conditions to help restore homeostasis (Medeiros et al., 2020). The endogenous cannabinoid
system, including the endogenous cannabinoids and the cannabinoid receptors, demonstrate
substantial plasticity in response to several physiological and pathological stimuli (Augustin &
Lovinger, 2018; De Petrocellis & Di Marzo, 2009). This plasticity is particularly evident in the
CNS.

∆9-THC and CBD have varying affinity and effects at the cannabinoid receptors. ∆9-THC is a
partial agonist at both CB1 (Ki = 18-218 nM) and CB2 receptors (Ki = 36-309 nM) (Tagen and
Klumpers, 2022). However, CB1 receptors are the main pharmacological site of action for ∆9-
THC, making CB1 receptors the site that is responsible for the abuse potential of marijuana
(Zimmer et al., 1999). The other CNS site where ∆9-THC may have activity is the 5HT3
receptor, where it functions as an antagonist (Barann et al., 2002; Shi et al., 2012). In contrast,
CBD has low affinity for both CB1 and CB2 receptors (McPartland et al., 2007; Mechoulam et
al., 2007) and may act as a negative allosteric modulator and/or weak antagonist at these sites
(Morales et al., 2017; Thomas et al., 2007). CBD has additional CNS effects as a serotonin
5HT1A agonist and a serotonin 5HT2A weak partial agonist (Russo et al., 2005), and well as a
serotonin 5HT3A antagonist (Yang et al., 2010).

In the past 30 years, the potency of marijuana with regard to ∆9-THC has increased dramatically.
As reported in 2021 by ElSohly et al., the concentration ∆9-THC in marijuana samples in the
United States increased from 3% in 1991 to 4.47% in 1997, from 3.4% in 1993 to 8.8% in 2008,
from 4% in 1995 to 12% in 2014, and from 8.9% in 2008 to 17.1% in 2017. These increases
were attributed by ElSohly et al. to an increase in the number of high potency samples (i.e.,
sinsemilla) in the overall samples tested. In contrast, there was a decrease initially in the



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concentration of CBD in the same samples, from 0.40% in 2009 to 0.14% in 2017, but this rose
to 0.60% in 2019. Based on an evaluation of marijuana seized by DEA, the majority of samples
contained high concentrations of ∆9-THC and low concentrations of CBD (ElSohly et al., 2021).

Animal Abuse-Related Behavioral Effects

Self-Administration

Self-administration is a method that assesses the ability of a drug to produce rewarding effects.
The presence of rewarding effects increases the likelihood of behavioral responses to obtain
additional drug. Animal self-administration of a drug is often useful in suggesting whether
humans will experience that a particular substance will have rewarding effects, which is
indicative of abuse potential. A good correlation is often observed between those drugs that
rhesus monkeys self-administer and those drugs that humans abuse (Balster & Bigelow, 2003).

Since self-administration is a methodology in which the test drug is typically administered
intravenously to rats, it is not possible to evaluate botanical marijuana through self-
administration. However, given that ∆9-THC is the primary substance that confers abuse
potential to marijuana, its ability to induce self-administration can serve as an indicator of the
abuse potential of marijuana.

For many decades, researchers had difficulty producing consistent self-administration of ∆9-
THC in animals (Harris et al., 1974; Kaymakcalan, 1973; Mansbach et al., 1994; Pickens et al.,
1973; van Ree et al., 1978). When novel training paradigms were developed, intravenous self-
administration of ∆9-THC was eventually established in a variety of animal models (Braida et
al., 2004; Justinova et al., 2005; Justinova et al., 2004; Justinova et al., 2003; Tanda et al., 2000).

In the past 20 years, investigators have continued to experiment with ∆9-THC self-
administration in animal investigations by varying the methodology, testing differences in animal
species and sex, route of administration (intravenous, oral, or inhalation of vaporized or
combusted ∆9-THC), dose of ∆9-THC, and the schedule of reinforcement (fixed ratio and/or
fixed interval). Based on the specific methods used, laboratories have had variable success in
producing self-administration of ∆9-THC.

Some studies showed successful animal self-administration of ∆9-THC following intravenous
administration (John et al., 2017; Justinova et al., 2003; Spencer et al., 2018; Stringfield &
Torregrossa, 2021) administration of inhaled vapor (Freels et al., 2020), oral administration
(Abraham et al., 2020; Nelson et al., 2019; Smoker, Hernandez, et al., 2019; Smoker, Mackie, et
al., 2019), and intracerebroventricular administration (Braida et al., 2001; Zangen et al., 2006).
The repeated self-administration in these studies show that ∆9-THC produces rewarding effects
that lead an animal to repeatedly seek out the substance, which demonstrates that ∆9-THC is
reinforcing.

In contrast, there are other recent animal studies that have not been able to produce ∆9-THC self-
administration following intravenous administration (Lefever et al., 2014; Wakeford et al., 2017)
and oral administration (Barrus et al., 2018). However, these negative data demonstrate how the



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specific methodology used in a study can limit a behavioral response, and thus do not negate the
positive results from the studies in which ∆9-THC was actively self-administered by animals.

Typically, animal self-administration is used primarily to predict whether a novel substance is
likely to be used by humans for its rewarding properties, as an indication of its abuse potential.
However, it is well-known from epidemiological data that humans self-administer substances
that contain ∆9-THC, including botanical marijuana (see Factors 4, 5, and 6), for their ability to
produce positive subjective responses, including euphoria. Thus, a comprehensive
deconstruction of which animal methodology is optimum for producing preclinical self-
administration of ∆9-THC is not necessary for an evaluation of the abuse potential of marijuana
in humans, since it is already clear that humans utilize marijuana for its rewarding properties.

Conditioned Place Preference

Conditioned place preference (CPP) is a less rigorous method than self-administration of
determining whether drugs have rewarding properties. In this behavioral test, animals are given
the opportunity to spend time in two distinct environments: one where they previously received
a drug and one where they received a placebo. If the drug has rewarding properties, animals will
choose to spend more time in the environment paired with the drug than the one paired with the
placebo, when both options are presented simultaneously.

Many attempts to produce animal CPP with ∆9-THC were unsuccessful, producing either no
CPP (Parker & Gillies, 1995; Vlachou et al., 2007) or a conditioned place aversion (where an
animal avoids the side of the cage where the drug was given, suggesting the drug was
experienced as unpleasant) (Cheer et al., 2000; Hutcheson et al., 1998; Quinn et al., 2008;
Sanudo-Pena et al., 1997; Schramm-Sapyta et al., 2007). This is similar to the experimental
difficulties reported in producing animal self-administration of ∆9-THC.

In 1995, CPP was first shown to be elicited from exposure to ∆9-THC (Lepore et al., 1995),
followed by success by other investigators in producing CPP associated with ∆9-THC (Braida et
al., 2004; Castane et al., 2003; Ghozland et al., 2002; Le Foll et al., 2006; Soria et al., 2004;
Valjent & Maldonado, 2000; Valjent et al., 2002).

The studies in which ∆9-THC successfully produced CPP occurred under very specific
experimental conditions, similar to the ∆9-THC self-administration studies in animals.
Experimental manipulations in CPP studies with ∆9-THC have included varying animal species,
sex, dose, route of administration, introduction of flavors to obscure unpleasant taste, and the
drug history of the animals tested. However, as with animal self-administration, the use of CPP
is typically to determine if a new drug produces rewarding sensations, which would suggest that
a drug has abuse potential. Since it is clear that humans self-administer substances that contain
∆9-THC, including botanical marijuana, it is not necessary to interrogate which CPP methods are
optimal for demonstrating that ∆9-THC has rewarding properties in animals.




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Drug Discrimination Studies

Drug discrimination is a method in which animals indicate whether a test drug produces
sensations similar to those produced by a training drug with a known pharmacological
mechanism of action. In this test, an animal learns to press one bar in a test cage when it
receives the training drug and another bar when it receives placebo. A challenge session with the
test drug determines which of the two bars the animal presses more often, as an indicator of
whether the test drug produces effects that are similar to the training drug. Drug discrimination
is only considered to be an abuse-related study when the training drug is a known drug of abuse
that is scheduled under the CSA and the test drug may have abusable effects similar to the
training drug, based on having a similar mechanism of action to the training drug.

∆9-THC, the primary compound in marijuana that is responsible for its abuse potential, is used
extensively as the training drug in animal drug discrimination studies to demonstrate whether a
novel compound produces cannabinoid effects. Since ∆9-THC is already considered to be the
standard for establishing if new drugs have classic marijuana-like pharmacological activity in
drug discrimination, the application of this method in evaluating the abuse potential of ∆9-THC
will not be discussed further.

Human Behavioral and Physiological Effects

Subjective Effects of ∆9-THC

The psychological, behavioral, and subjective responses to marijuana in humans have been
known and characterized since antiquity (Chaachouay et al., 2023; Russo, 2016). In the modern
period, data on the psychological, behavioral, and subjective responses to marijuana are available
from the drug label of FDA-approved drug products, from prospective human abuse potential
(HAP) studies, from accounts published in the scientific and medical literature, and from an
evaluation published in 2017 by the NASEM.

FDA-Approved Drug Products Containing ∆9-THC

Clinical scientific studies have investigated the effects of ∆9-THC, the primary compound
responsible for the abuse potential of marijuana, on humans during the drug development of the
FDA-approved drug product Marinol, which contains 2.5, 5, and 10 mg dronabinol ((−)-trans-
∆9-THC of synthetic origin in sesame seed oil). Section 6.1 (Clinical Trials Experience) of drug
labels for Marinol and Syndros (which relied on the safety data from Marinol during drug
development) lists the following AEs as occurring in controlled clinical studies during drug
development.

Incidence > 1%:
    • CNS: amnesia, anxiety/nervousness, ataxia, confusion,
       depersonalization, hallucination
    • General: asthenia
    • Cardiovascular: palpitations, tachycardia, vasodilation/facial flush




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Incidence 3% to 10%
    • CNS: euphoria, paranoid reaction, somnolence, thinking
       abnormal, dizziness
    • Gastrointestinal: Abdominal pain, nausea, vomiting

Human Abuse Potential Studies

HAP studies evaluate whether a test drug produces positive subjective responses, compared to
placebo and a known drug of abuse that is scheduled under the CSA that serves as the positive
control. If the test drug produces rewarding effects that are statistically significantly greater than
placebo, and beyond the acceptable placebo range of response, it is an indication that the drug
may have abuse potential. The relative abuse potential is suggested by the responses from the
positive control on these measures, in comparison to the test drug.

For many decades, HAP studies have been conducted with marijuana and ∆9-THC in subjects
who had nonmedical experience with cannabinoids (Fogel et al., 2017; Hunault et al., 2014;
Karschner et al., 2011; Kaufmann et al., 2010; Ramesh et al., 2013; Ranganathan et al., 2012;
Schindler et al., 2020; Spindle et al., 2021; Wachtel & de Wit, 2000; Wachtel et al., 2002). In
these studies, doses of ∆9-THC ranging from 1.79 to 69 mg were administered to subjects using
marijuana and/or isolated ∆9-THC. Most of these studies used smoking or oral administration,
with some studies using the intravenous route of administration.

There were commonalities in results among all of these HAP studies, despite the differences in
dose of ∆9-THC, the route of administration, or whether the ∆9-THC was provided in the form
of marijuana or isolated compound. Following administration of the study drug, there were
increases on such positive subjective responses as visual analog scales (VAS) for Drug Liking,
Overall Drug Liking, Good or Pleasant Drug Effects, High, Stoned, Stimulated, Enjoyment, Take
Drug Again, Want More Drug, and Willing to Pay. There were also increases on the Addiction
Research Center Inventory (ARCI) scales for Morphine Benzedrine Group (euphoria),
Marijuana, and Amphetamine. These data consistently demonstrate that ∆9-THC, in the form of
marijuana or isolated compound, when administered under controlled experimental conditions,
produces rewarding effects that are indicative of abuse potential.

Following administration of marijuana or ∆9-THC, there were also increases on subjective
responses assessing various negative drug effects and sedation, often delayed in onset from when
the positive subjective effects began. These assessments included VAS for Bad Drug Effect,
Sick, Dizzy, Hungry, Suspicious, Paranoid, Anxious, Sedated, Calm, Drowsy, Tired, Forgetful,
Impaired Memory, Dry Mouth, and Dry/Red Eyes, as well as ARCI scales for Lysergic Acid
Diethylamide (dysphoria), Benzedrine Group (stimulant), and Pentobarbital-Chlorpromazine-
Alcohol Group (sedation).

Given the wide range of doses tested in HAP studies, these positive and negative subjective
responses following administration of marijuana or ∆9-THC were often dose-dependent. There
were typically few differences between the responses between marijuana and ∆9-THC, or
between responses based on route of administration of the study drug.




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Common Responses to Marijuana in Humans

The responses to dronabinol reported during drug development and in HAP studies parallel the
common responses to marijuana that have been described by other medical scientists (Adams &
Martin, 1996; Agrawal et al., 2014; American Psychiatric Association, 2013; Earleywine, 2002;
Hollister, 1986, 1988), which include:

Positive Subjective Responses
   • Euphoria
   • Pleasurable “rush” or “buzz”
   • Merriment
   • Happiness
   • Exhilaration

Sedative Responses
   • Sedation
   • Drowsiness
   • Relaxation
   • Changes in sleep

Anxiety and Negative Responses
   • Anxiety
   • Panic attack
   • Fearfulness
   • Agitation
   • Paranoia
   • Restlessness
   • Dysphoria

Perceptual Changes
   • Hallucinations
   • Feelings seem stronger
   • Sexual enhancement
   • Spiritual enhancement
   • Changes in time perception
   • Changes in perception (sight, sound, taste, smell, touch)

Psychiatric, Social, and Cognitive Changes
   • Drug abuse
   • Illusions
   • Delusions
   • Depersonalization
   • Heightened imagination
   • Disinhibition
   • Emotional lability



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   •    Memory and concentration impairment
   •    Disorganized thinking
   •    Impaired judgment
   •    Confusion
   •    Increased sociability
   •    Talkativeness

Physiological Responses
   • Nausea
   • Tachycardia
   • Facial flushing
   • Dry mouth
   • Tremor
   • Dizziness
   • Increased appetite, especially for sweet and fatty foods
   • Reduced coordination
   • Ataxia
   • Hyperemesis

The positive changes that occur following use of marijuana are pleasurable to many humans and
are associated with drug-seeking and drug-taking. These effects are typically dose-dependent,
with higher doses and routes of administration that produce faster onset producing more intense
responses and the likelihood of more negative subjective effects (Kesner & Lovinger, 2021).

National Academies of Science, Engineering, and Medicine

In 2017, NASEM published a book-length evaluation entitled The Health Effects of Cannabis
and Cannabinoids: The Current State of Evidence and Recommendations for Research
(National Academies of Sciences & Medicine, 2017). In this evaluation, NASEM provided a
brief summary of the clinical features of marijuana intoxication, as follows:

       During acute cannabis intoxication, the user’s sociability and sensitivity to certain stimuli
       (e.g., colors, music) may be enhanced, the perception of time is altered, and the appetite for
       sweet and fatty foods is heightened. Some users report feeling relaxed or experiencing a
       pleasurable “rush” or “buzz” after smoking cannabis (Agrawal et al., 2014). These
       subjective effects are often associated with decreased short-term memory, dry mouth, and
       impaired perception and motor skills. When very high blood levels of ∆9-THC are
       attained, the person may experience panic attacks, paranoid thoughts, and hallucinations
       […] Furthermore, as legalized medical and nonmedical cannabis availability increase
       nationwide, the impairment of driving abilities during acute intoxication has become a
       public safety issue.

       In addition to ∆9-THC dosage, two main factors influence the intensity and duration of
       acute intoxication: individual differences in the rate of absorption and metabolism of ∆9-
       THC, and the loss of sensitivity to its pharmacological actions. Prolonged CB1 receptor




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     occupation as a consequence of the sustained use of cannabis can trigger a process of
     desensitization, rendering subjects tolerant to the central and peripheral effects of ∆9-THC
     and other cannabinoid agonists (Gonzalez et al., 2005). Animals exposed repeatedly to ∆9-
     THC display decreased CB1 receptor levels as well as impaired coupling between CB1 and
     its transducing G-proteins (Gonzalez et al., 2005). Similarly, in humans, imaging studies
     have shown that chronic cannabis use leads to a down-regulation of CB1 receptors in the
     cortical regions of the brain and that this effect can be reversed by abstinence (Hirvonen et
     al., 2012).

In conclusion, ∆9-THC, the substance largely responsible for the abuse potential of marijuana, is
an agonist at the cannabinoid CB1 receptor. When ∆9-THC is administered to animals, it
produces rewarding responses, as evidenced by its ability to induce self-administration and
conditioned place preference. This is consistent with the data from human studies and from
clinical observations, where administration of ∆9-THC or use of marijuana produces euphoria
and other pleasurable responses, as well as sedation and anxiety responses. Psychiatric, social,
and cognitive responses, which are often experienced as negative, are also reported, as are
physiological responses such as dry mouth, ataxia, and increased hunger. As described in Factor
4, the rewarding responses observed in humans are consistent with the prevalence of nonmedical
use of marijuana, which includes abuse of the substance. Abuse of marijuana by individuals can
lead to other negative consequences, including addiction and the need to seek medical attention
through calls to poison centers or visits to an ED, as described in Factor 5.


FACTOR 3. THE STATE OF CURRENT SCIENTIFIC KNOWLEDGE REGARDING THE DRUG OR
OTHER SUBSTANCE

Under the third factor, the Secretary must consider the state of current scientific knowledge
regarding marijuana. Thus, this section discusses the chemistry and human pharmacokinetics of
marijuana, as well as whether marijuana has a CAMU in the United States.

Chemistry

Cannabis is a genus of annual flowering plant with digitate leaves in the family Cannabaceae
Martinov (United States Department of Agriculture Natural Resources Conservation Service,
2023; WorldFloraOnline, 2023). Many scholars have studied diverse datasets and models to
estimate the origins of Cannabis. It likely originated in Central or Southeast Asia over 10,000
years ago and was first cultivated in China for fiber and seed production (Bonini et al., 2018;
Russo et al., 2008), with cultivation spreading across Asia, Africa, and Europe and eventually to
the Americas (Pisanti & Bifulco, 2019). A long-standing and significant historical debate by
botanists and taxonomists continues today regarding the number of species in the Cannabis
genus (Clarke & Watson, 2007; Hillig, 2005; Russo, 2004; Schultes et al., 1974; Small &
Cronquist, 1976). It is generally treated as a single, highly polymorphic species known as
Cannabis sativa L., with the other two previously reported species listed as Cannabis indica
Lam. and Cannabis ruderalis Janisch (United States Department of Agriculture Agricultural
Research Service, 2023). Plants previously believed part of the latter two species are generally
recognized as varieties (or subspecies) of Cannabis sativa L. (C. sativa), which are commonly



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referred to as var. indica and var. ruderalis. Cannabis sativa and var. indica plants are widely
cultivated for their size, branching, and cannabinoid content, while ruderalis is rarely cultivated
alone as it is shorter, often unbranched, and has very low cannabinoid content (Thomas &
ElSohly, 2016a). Worldwide Cannabis varieties are separated into hundreds of different
cultivars and strains. Plants selected for cultivation are known as cultivated varieties or cultivars,
whereas plants reproduced asexually from a cultivar through clonal propagation are known as
strains (Procaccia et al., 2022). These practices have resulted in significantly different chemical
profiles for Cannabis cultivars and the classification term to account for these chemical profile
differences has evolved. The term ‘chemovar’ accounts for the plant’s chemical profile and is a
more meaningful classification for clinical researchers studying the plant’s potential drug effects
(Hazekamp & Fischedick, 2012).

Cannabis is a dioecious plant (WorldFloraOnline, 2023), meaning female and male flowers
occur on separate plants, and rarely occurs as a monoecious plant (single plant containing male
and female flowers). The glandular trichomes found on the female plant’s unfertilized flower
heads and bracts contain the highest concentrations of cannabinoids. For this reason, unfertilized
female chemovars are favored to harvest large inflorescences (i.e., complete flower head) for
their rich cannabinoid and terpene content.Error! Bookmark not defined. Consequently, marijuana
products developed from diverse chemovars will have different safety, biological,
pharmacological, and toxicological profiles.

The C. sativa plant naturally contains many different compounds and more than 550 have been
identified, such as: cannabinoids, terpenoids, flavonoids, stilbenoids, steroids, polysaccharides,
benzoquinone, phenanthrenes, spiroindans, lignans, fatty acids, sugars, hydrocarbons, amino
acids, and proteins (Liu et al., 2022; Rock & Parker, 2021). Cannabinoids are mainly found in
living C. sativa plants in their non-psychoactive carboxylated forms (i.e., acid form), which
require drying, heating, combustion, or aging to decarboxylate to their neutral forms, (Thomas &
ElSohly, 2016b) and are primarily composed of C21 terpenophenolic compounds (Brenneisen,
2007). The most abundant neutral form cannabinoids are Δ9-THC and CBD, but nearly 200
have been identified (ElSohly et al., 2017; Johnson et al., 2020) in the plant and are divided into
subclasses: cannabigerols (CBGs), cannabichromenes (CBCs), cannabidiols (CBDs), (-)-Δ9-
trans-tetrahydrocannabinols (Δ9-THCs), (-)-Δ8-trans-tetrahydrocannabinols (Δ8-THCs),
cannabicyclols (CBLs), cannabielsoins (CBEs), cannabinols (CBNs), cannabinodiols (CBNDs),
cannabitriols (CBTs), and the miscellaneous cannabinoids (Thomas & ElSohly, 2016a).

Like any other botanical substance, marijuana plants are heterogeneous in nature and contain a
complex chemical profile. Moreover, variable organic plant material, as well as manufactured
preparations, result in a variety of product forms that dictate different routes of administration,
associated risks, and differences in quality of the product used, which may also influence risk for
users. The potential for high variability of marijuana and marijuana-derived products, both in
product composition and impurity profile, are major considerations for the potential variability of
drug effects and safety. This variability may derive from:

   •   Different botanical raw material and controls which may influence or be influenced by
       the following (e.g., good agricultural and collection practices) (World Health
       Organization, 2003).




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    • Harvest location (including global positioning system (GPS) coordinates), growth
      conditions, stage of plant harvest, and harvest time/season – as these all impact the
      chemical profile.
    • Post-harvest processing (e.g., washing, drying, and grinding processes), including control
      of foreign matter (i.e., inorganic and organic contaminants like soil, insects, and
      algae/fungi); preservation procedures; handling, transportation, and storage
      conditions; tests for elemental impurities; microbial limits; tests for residual
      pesticides, including parent pesticides and their major toxic metabolites; and tests for
      adventitious toxins (e.g., aflatoxins), foreign materials, and adulterants.

Processing of marijuana and its use in further manufacturing can lead to a range of forms that
individuals may use or consume, including crude mixtures and highly purified substances of
botanical origin, many of which may be cannabinoid compounds. Among known cannabinoids
in the cannabis plant, both Δ9-THC (National Center for Biotechnology Information, 2023a) and
Δ8-THC (National Center for Biotechnology Information, 2023e) produce marijuana’s
psychoactive effects. Because Δ9-THC is significantly more abundant than Δ8-THC,
marijuana’s intoxicating effects are largely attributed to the former. Only small quantities of Δ8-
THC acid (Krejcí & Šantavý, 1975) and Δ8-THC (Hively et al., 1966) have been identified in
plants (Thomas & ElSohly, 2016a). ∆9-THC is a resinous substance, essentially insoluble in
water and extremely lipophilic, that is also photolabile and volatized when exposed to heat
(ElSohly, 2007). Furthermore, Δ9-THC is an optically active substance with two chiral centers
at C-6a and C-10a and thus has four diastereomers (Schafroth et al., 2021), which are:
    • (6aR,10aR)-6,6,9-trimethyl-3-pentyl-6a,7,8,10a-tetrahydrobenzo[c]chromen-1-ol
           o alternate name: (-)-trans-Δ9-THC (National Center for Biotechnology
               Information, 2023b)
    • (6aS,10aR)-6,6,9-trimethyl-3-pentyl-6a,7,8,10a-tetrahydrobenzo[c]chromen-1-ol
           o alternate name: (-)-cis-Δ9-THC (National Center for Biotechnology Information,
               2023f)
    • (6aS,10aS)-6,6,9-trimethyl-3-pentyl-6a,7,8,10a-tetrahydrobenzo[c]chromen-1-ol
           o alternate name: (+)-trans-Δ9-THC (National Center for Biotechnology
               Information, 2023d)
    • (6aR,10aS)-6,6,9-trimethyl-3-pentyl-6a,7,8,10a-tetrahydrobenzo[c]chromen-1-ol
           o alternate names: (+)-cis-Δ9-THC; (+)- Δ9-cis-THC (6aR, 10aS)-3 (National
               Center for Biotechnology Information, 2023c)
The formation of the (-)-trans isomer is favored in the plant and this isomer is 6–100 times more
potent pharmacologically than the (+)-trans isomer (Brenneisen, 2007; Dewey et al., 1984).

As discussed in Section I, Background, the 2018 Farm Bill changed how the cannabis plant is
scheduled under the CSA and removes hemp from the definition of marihuana. However, the
term ‘cannabis’ is still often broadly used to refer to a wide variety of products manufactured
from the C. sativa plant regardless of control status. These products may include the dried
inflorescences (flowers), leaves, seeds, and stems and may be used in the manufacturing of
concentrates, edibles, and topicals. Thus, marijuana or derived products can generally be
categorized as one of four types:
   •   Flowers – includes dried herb that is smoked or vaped, and pre-rolls



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                •    Concentrates – includes products for inhalation referred to as shatter, wax, butter, sugar,
                     hash, resin, and rosin via vaping (use of an electronic vaporizer) or via dabbing (use of
                     other paraphernalia such a pipe or “dab rigs”) (Colorado Department of Revenue, 2021;
                     Drug Enforcement Administration, 2023)
                •    Edibles – includes infused food, beverage, and tincture products (e.g., baked goods,
                     chocolate, drinks, candies, and snacks)
                •    Topicals – includes infused ointments, lotions, creams, or transdermal products

            As a result of the 2018 Farm Bill, a large “hemp marketplace” exists, 8 containing a wide variety
            of products representing the above product categories and involving various routes of
            administration. Aside from products purporting to meet the definition of hemp, the public also
            has access to cannabis products within the CSA definition of marijuana through state-authorized
            adult-use (i.e., nonmedical use) and medical-use programs, as well as via the illicit marketplace
            (see Factor 4 for additional details).

            Based on these diverse sources of marijuana, there is a lack of unified controls on cultivation and
            manufacturing, which raises concerns related to the safety, quality, and consistency of botanical
            substances (e.g., botanical raw materials, extracts, and intermediates) and final product
            formulations that are currently accessed for medical and nonmedical use. Products sourced from
            state-authorized adult-use and medical-use programs are subject to a patchwork of inconsistent
            product standards and safety requirements. While each state program generally has a set of
            standards (for example, on manufacturing, testing, labeling, and packaging), each program’s
            controls are different, leading to wide variation of products across state-authorized programs.
            Additionally, the illicit marketplace is not subject to any standards or oversight. Thus, the range
            of products within the CSA’s definition of marijuana encompasses a large degree of variation in
            forms for consumption, composition of biologically relevant constituents, potency, and
            contaminants.

            In conclusion, marijuana has hundreds of chemovars containing variable concentrations of Δ9-
            THC, cannabinoids, and other compounds. Thus, marijuana is not a single chemical with a
            consistent and reproducible chemical profile or predictable and consistent clinical effects. This
            current evaluation of marijuana will focus to greatest extent possible on wide-ranging cannabis
            plant-derived substances that are vehicles for the self-administration of ∆9-THC as the key
            biologically active substance on which the CSA’s current definition of marijuana is based.

            Human Pharmacokinetics of ∆ 9-THC

            The pharmacokinetics of ∆9-THC in humans have been evaluated following inhaled
            administration of marijuana and oral administration of marijuana. These are the most frequently
            used routes of administration for marijuana or isolated ∆9-THC (Vinette et al., 2022), as
            confirmed by the United States Poison Centers National Poison Data System (NPDS), which
            showed that ingestion (57%) and inhalation (41%) were the most common routes of
            administration for marijuana, while other routes of abuse were not common (<0.2%).

            8
             Additionally, hemp products with industrial applications, such as textiles, plastics, and other building materials,
            exist in the marketplace. However, these products are not relevant to this analysis.

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Absorption of ∆ 9-THC Following Inhaled Administration of Marijuana

Marijuana is commonly administered by humans via inhalation through smoking and, more
recently, through vaping (e.g., heating and inhalation of botanical matter or other volatile
substances containing ∆9-THC) (Miech et al., 2019; Miech et al., 2020). Characterization of the
pharmacokinetics of ∆9-THC from smoked and vaped marijuana is difficult under naturalistic
conditions because the pace of drug inhalation varies widely among individuals (Agurell et al.,
1986; Herning et al., 1986; Huestis, Sampson, et al., 1992). For example, experienced marijuana
smokers will titrate their ∆9-THC dose to obtain the desired acute psychological effects and
minimize undesired effects. Nonmedical marijuana users will also often hold marijuana smoke
in their lungs for an extended period of time in an attempt to increase absorption and subsequent
psychoactive effects despite data showing that this technique has minimal effects on ∆9-THC
plasma levels and subjective ratings of “high” (Azorlosa et al., 1995; Zacny & Chait, 1989,
1991). Thus, in order to standardize drug administration in scientific studies in humans,
investigators will often use a Paced Inhalation Procedure (Foltin et al., 1987). Using this
method, subjects take 5 seconds to prepare for inhalation, 5 seconds to inhale, 10 seconds to hold
smoke or vapor in the lungs, followed by exhalation, and a 40 second interval prior to the next
prepare/inhale/hold cycle.

Pulmonary administration of a drug is the route that produces the fastest rate of drug absorption,
even faster than that produced by intravenous administration. Inhaled marijuana results in
absorption of ∆9-THC through the lungs in the form of an aerosol within seconds. Peak plasma
levels of ∆9-THC following inhalation occur very quickly, within 6-10 minutes (Grotenhermen,
2003). Psychoactive effects begin immediately following absorption, although peak subjective
effects do not coincide with peak plasma ∆9-THC levels and are often delayed (Singla & Block,
2022). Following administration of marijuana through inhalation, the bioavailability of ∆9-THC
is 10% to 35% (Grotenhermen, 2003; Lindgren et al., 1981). Although pulmonary
administration does not involve dose loss from the hepatic first-pass effect in the liver, as would
be seen with oral administration, the relatively low and variable bioavailability following inhaled
marijuana results from significant loss of ∆9-THC in side-stream smoke, cannabinoid pyrolysis,
incomplete absorption of inhaled smoke or vapor, and metabolism in the lungs. An individual's
experience and technique with smoking marijuana also determines the dose absorbed (Herning et
al., 1986; Johansson et al., 1989).

Absorption of ∆9-THC Following Oral Administration of Marijuana

After oral administration of ∆9-THC, marijuana, or marijuana-infused foods (e.g., brownies) the
onset of effects starts within 30 to 90 minutes, reaches its peak at 1.5 to 3 hours and remains
measurable for 4 to 12 hours (Adams & Martin, 1996; Agurell, 1984; Agurell et al., 1986;
Grotenhermen, 2003; Vandrey et al., 2017). Due to the delay in onset of effects after oral
administration, including a slower onset of peak effects, titration of oral ∆9-THC doses is
difficult compared to inhalation of marijuana (Spindle et al., 2021). Oral bioavailability of ∆9-
THC, following ingestion of an edible containing marijuana or isolated ∆9-THC, ranges from 5
and 20% (Agurell, 1984; Agurell et al., 1986). The low and variable oral bioavailability of ∆9-




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THC is a consequence of its first-pass hepatic elimination from blood and erratic absorption from
stomach and bowel (Sharma et al., 2012). Ingestion of brownies containing marijuana also
results in lower ∆9-THC plasma levels relative to inhalation of marijuana (Schlienz et al., 2020).
Inter- and intra-subject variability occurs even with repeated dosing under controlled conditions.

Distribution, Metabolism and Excretion of ∆9-THC

Although there are differences in absorption of ∆9-THC depending on route of administration,
the distribution, metabolism, and excretion of ∆9-THC is similar regardless of how the drug is
administered.

Plasma concentrations of ∆9-THC decrease quickly after absorption through rapid distribution
into tissues and through liver metabolism. Given that ∆9-THC has high lipophilicity, the
apparent volume of distribution of ∆9-THC is high (10 L/kg) (Cerne, 2020) as it is distributed
initially into organs such as lung, heart, brain, and liver that are highly perfused (Huestis, 2007).
Over time with regular exposure to marijuana, ∆9-THC will concentrate and be retained in fat.

Metabolism of ∆9-THC occurs primarily via cytochrome P450 isozymes (CYP2C9, CYP2C19,
and CYP3A4) (Lucas et al., 2018) via microsomal hydroxylation to both active and inactive
metabolites (Agurell et al., 1986; Hollister, 1988; Lemberger, Crabtree, et al., 1972; Lemberger
et al., 1970; Lemberger, Weiss, et al., 1972). The primary active metabolite of ∆9-THC is 11-
hydroxy-∆9-THC (Agurell et al., 1986; Lemberger & Rubin, 1975).

Plasma clearance of ∆9-THC approximates hepatic blood flow at about 950 ml/min or
greater. The rapid disappearance of ∆9-THC from blood is largely due to redistribution to
other tissues in the body, rather than to metabolism (Agurell, 1984; Agurell et al., 1986).
Metabolism in most tissues is relatively slow or absent. Slow release of ∆9-THC and other
cannabinoids from tissues and subsequent metabolism results in a long elimination half-life.

The plasma half-life of ∆9-THC following pulmonary administration varies based on frequency
of use. Thus, in periodic users, the half-life is 1 to 3 days while in chronic users, the half-life is 5
to 13 days (Huestis, Henningfield, et al., 1992). After smoking, ∆9-THC venous levels decline
precipitously within minutes and continue to decline to 5-10% of the peak level within an hour
(Agurell et al., 1986; Huestis, Henningfield, et al., 1992; Huestis, Sampson, et al., 1992). In
addition to 11-hydroxy-∆9-THC, some inactive carboxy metabolites have terminal half-lives of
50 hours to 6 days or more. The latter substances serve as long-term markers in urine tests for
earlier marijuana use.

The majority of the absorbed ∆9-THC dose is eliminated in feces, and about 33 percent in urine.
∆9-THC enters enterohepatic circulation and undergoes hydroxylation and oxidation to 11-nor-9-
carboxy-∆9-THC. The glucuronide is excreted as the major urine metabolite along with about
18 non-conjugated metabolites. Frequent and infrequent individuals who use marijuana
metabolize ∆9-THC similarly (Agurell et al., 1986).




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In conclusion, the pharmacokinetic profile of marijuana varies greatly depending on route of
administration. Inhalation of marijuana produces a rapid increase in plasma levels of ∆9-THC
and an immediate onset of psychological effects. In comparison, oral administration of
marijuana produces a much slower increase in plasma levels of ∆9-THC and onset of
psychological effects. Once ∆9-THC has been absorbed, however, the metabolism and excretion
of ∆9-THC follows a standard path, although the half-life of ∆9-THC may vary depending on
frequency of use.

Currently Accepted Medical Use of Marijuana

To inform its scheduling recommendation, HHS has conducted an evaluation of whether
marijuana has a CAMU for purposes of scheduling under the CSA, 21 U.S.C. § 812(b). Such an
evaluation is one of the findings relevant to the placement of a substance in one of five drug
control “schedules” set forth in 21 U.S.C. § 812(b).

In evaluating CAMU when considering whether to recommend rescheduling of marijuana, HHS
(acting through the FDA and NIDA) applied a two-part test (hereinafter, “CAMU test”) that
takes into account the current widespread medical use of marijuana under the supervision of
licensed HCPs under state-authorized programs. Under Part 1 of the CAMU test, OASH
considered whether there is widespread current experience with medical use of marijuana in the
United States by licensed HCPs operating in accordance with implemented state-authorized
programs, where such medical use is recognized by entities that regulate the practice of medicine
under these state jurisdictions. Part 2 of the CAMU test evaluated whether there exists some
credible scientific support for at least one of the medical conditions for which the Part 1 test is
satisfied. FDA’s evaluation in Part 2 is not meant to be, nor is it, a determination of safety and
efficacy under the Federal Food, Drug, and Cosmetic Act’s (FD&C Act’s) drug approval
standard for new human or animal drugs. Rather, the two-part test is to determine whether a
substance, in this case marijuana, has a CAMU for purposes of drug scheduling
recommendations and placement in a drug schedule consistent with criteria set forth in 21 U.S.C.
812(b).

In the evaluation and assessment under Part 1 of the CAMU test, OASH found that more than
30,000 HCPs are authorized to recommend the use of marijuana for more than six million
registered patients, constituting widespread clinical experience associated with various medical
conditions recognized by a substantial number of jurisdictions across the United States. For
several jurisdictions, these programs have been in place for several years, and include features
that actively monitor medical use and product quality characteristics of marijuana dispensed.
OASH, through the Assistant Secretary for Health, concluded that, taken together, the findings
from Part 1 warranted an FDA assessment under Part 2 of the CAMU test to determine if there
exists credible scientific support for the use of marijuana for at least one of the medical
conditions identified by OASH under Part 1.




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          FDA conducted Part 2 of the CAMU test for seven indications, based in part on OASH’s
          findings under Part 1 of the CAMU test 9 and in part on FDA’s own analysis of the landscape in
          which marijuana is currently used medically, including information from state-authorized
          programs on how and to what extent marijuana is being utilized for medical purposes. The seven
          indications are: anorexia, 10 anxiety, 11 epilepsy, inflammatory bowel disease (IBD), nausea and
          vomiting, pain, and post-traumatic stress disorder (PTSD). FDA’s evaluation under Part 2 of the
          CAMU test was based on systematic reviews of studies investigating the safety and effectiveness
          of marijuana, relevant professional societies’ position statements, data from state medical
          marijuana programs and United States national surveys, and the labeling of FDA-approved
          products relevant to the analysis.

          In evaluating whether there exists some credible scientific support under Part 2 of the CAMU
          test for a particular use, factors considered in favor of a positive finding included whether: 1)
          favorable clinical studies of the medical use of marijuana, although not necessarily adequate and
          well-controlled clinical studies that would support approval of a NDA, have been published in
          peer-reviewed journals and/or 2) qualified expert organizations (e.g., academic groups,
          professional societies, or government agencies) have opined in favor of the medical use or
          provided guidance to HCPs on the medical use. Factors considered that weigh against a finding
          that Part 2 of the CAMU test is met included whether: 1) data or information indicate that
          medical use of the substance is associated with unacceptably high safety risks for the likely
          patient population, e.g., due to toxicity concerns; 2) clinical studies with negative efficacy
          findings for the medical use of marijuana have been published in peer reviewed journals; and/or
          3) qualified expert organizations (e.g., academic or professional societies, government agencies)
          recommend against the medical use of marijuana (based on the available data at the time of their
          position statement).

          Our review of the available information identified mixed findings of effectiveness across
          indications, ranging from data showing inconclusive findings to considerable evidence in favor
          of effectiveness, depending on the source. The largest evidence base for effectiveness exists for
          marijuana use within the pain indication (in particular, neuropathic pain). For the pain
          indication, a systematic review of scientific and medical literature was conducted this year by the

          9 In Part 1 of the CAMU test, OASH identified at least 15 medical conditions where there is widespread current
          experience with medical use of the substance in the United States by licensed HCPs operating in accordance with
          implemented state-authorized programs, where the medical use is recognized by entities that regulate the practice of
          medicine. These conditions include amyotrophic lateral sclerosis (ALS), autism, cachexia, cancer, chronic pain,
          Crohn’s disease, epilepsy or condition causing seizures, glaucoma, HIV/AIDs, multiple sclerosis, Parkinson’s
          disease, persistent/severe muscle spasm, persistent/severe nausea, PTSD, and spasticity. FDA conducted Part 2 of
          the analysis for the medical conditions identified by OASH that were likely to have the most robust evidence
          available for review; because the analysis concluded that the Part 2 test has been met for at least one of the
          conditions identified in Part 1, there was no need to analyze all of them.
          10
             The anorexia indication reflects anorexia due to a medical condition (e.g., HIV/AIDS) and does not represent
          anorexia nervosa.
          11
             While anxiety was not one of the specific medical conditions identified by OASH, it was included in FDA’s Part 2
          analysis based on a review of state-level usage data. Anxiety was considered of importance to evaluate given the
          reported prevalence of marijuana use in the treatment of anxiety symptoms regardless of its legal status in a given
          jurisdiction.


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            University of Florida (UF) under contract with FDA. UF epidemiologists identified some data
            supporting effectiveness of marijuana, including some within their own meta-analysis; however,
            they ultimately concluded the results are inconclusive or mixed. FDA also conducted a separate
            review of published scientific reviews. Several of those reviews drew conclusions similar to UF.
            In contrast, numerous other systematic reviews concluded that there exists some level of
            evidence supporting the use of marijuana for painful conditions. Other reviews, such as the
            (National Academies of Sciences & Medicine, 2017), concluded there was “substantial
            evidence” 12 supporting the use of cannabis products relevant to this review for pain. The
            Agency for Healthcare Research and Quality’s (AHRQ) living systematic review has concluded
            that there is some support for the use of marijuana-related products in the treatment of pain, but
            overall concluded these effects were small and the increased risk of dizziness, nausea, and
            sedation may limit the benefit.

            UF evaluated other therapeutic conditions mentioned above, i.e., anorexia, anxiety, epilepsy,
            inflammatory bowel disease (IBD), nausea, and PTSD, employing a similar systematic review of
            scientific and medical literature. UF found that there is low- to moderate-quality evidence 13
            supporting the use of marijuana as medical treatment for outcomes in anorexia, nausea and
            vomiting, and PTSD. However, FDA review of systematic reviews showed mixed results for
            these indications. In particular, FDA found that the potential for psychiatric adverse events
            associated with treating PTSD with marijuana may be more substantial than any limited benefit
            in observational studies. Although UF did not conclude that there was evidence in support of the
            effectiveness of marijuana in IBD, both their review and other systematic reviews found some
            benefit with respect to subjective symptoms in this condition. With regard to epilepsy and
            anxiety, both UF’s review and FDA’s review of other systematic reviews did not find support for
            marijuana providing benefit in the treatment of these conditions. Where positive results on
            effectiveness outcome measures were found, the effects and the quality of evidence were
            generally in the low-to-moderate range. UF did not find high quality evidence supporting
            worsening of outcomes in any indication.

            None of the evidence from the systematic reviews included in our CAMU Part 2 analysis
            identified any safety concerns that would preclude the use of marijuana in the indications for
            which there exists some credible scientific support for its therapeutic benefit. The clinical safety
            data identified in the literature from controlled trials were generally consistent between sources
            but limited in the rigor of safety reporting. The vast majority of the observational studies
            evaluated in the context of medical use were excluded from the final synthesis of evidence due to
            concerns regarding their quality (only one observational study for the anxiety indication and one
            for the PTSD indication were included). Generally, data on safety from both clinical trials and
            observational studies were scarce. Literature shows marijuana has more AEs when compared to
            a placebo or active control group, however, typically in the mild to moderate severity range.
            Severe AEs were uncommon.


            12
               The term “substantial evidence” refers to language used within the NASEM report (2017) and is not meant to
            represent “substantial evidence” as defined in 21 USC 355(d).
            13
               UF determined the quality of evidence rating in accordance to the Grading of Recommendations, Assessment,
            Development and Evaluation (GRADE) approach described in the Cochrane handbook. For further details, please
            refer to the Section II.4.2.1 in this document.

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FDA also reviewed results from state reporting data from 37 states with medical marijuana
programs and surveys of patients using marijuana in Maryland and Minnesota, which had data
available for review. Surveys of patients using marijuana in these two states found most patients
did not report any side effects and those that did report side effects mostly described them as
mild. Neither state’s databases included patients who chose to stop using marijuana, which may
result in an overestimation of positive experiences.

To date, real-world data sources available to FDA, in general, lack the necessary elements to
identify the exposure (i.e., marijuana), to distinguish the reason for use (medical vs. recreational)
and, if applicable, the condition that prompted its medical use, and/or to permit sound inferential
analyses. Therefore, they were not included in this review.

Data from United States national surveys, in general, lacked details on patient characteristics and
factors that prompted the use of marijuana for medical purposes, and data collection for these
surveys was impacted by the coronavirus disease of 2019 (COVID-19) pandemic. Despite these
limitations, these data suggested that medical use of marijuana increases as age increases. Only
data from one survey provided information on the intended indication for use, suggesting that
individuals often use marijuana to improve or manage conditions such as depression, anxiety,
PTSD, pain, headaches or migraines, sleep disorders, nausea and vomiting, lack of appetite, and
muscle spasms, but only approximately half of them reportedly had ever asked a healthcare
professional for a recommendation to use medical marijuana.

Additionally, although the safety data obtained from use in a medical context are considered to
be the most relevant for the CAMU analysis, FDA evaluated the safety of marijuana in the
nonmedical setting to inform the potential for more severe outcomes. Specifically, FDA
evaluated safety outcomes related to marijuana use in the setting of nonmedical use, use of
uncertain intent, and unintentional exposure through a variety of epidemiological data sources
and in relation to several comparator substances controlled under the CSA, including drugs in
Schedule I: heroin (an illicit opioid drug); Schedule II: hydrocodone and oxycodone (approved
opioid prescription drug products), cocaine and fentanyl (largely illicitly produced drugs in the
nonmedical use setting, although there are approved prescription drugs); Schedule III: ketamine
(an approved prescription drug); and Schedule IV: zolpidem, benzodiazepines, and tramadol
(approved prescription drugs) (FDA Office of Surveillance and Epidemiology, 2023). The
comparative data demonstrate that, even in the context of nonmedical use, marijuana has a less
concerning overall safety profile relative to the comparators for a number of important outcomes
(e.g., single substance use overdose death, hospitalizations). However, in young children,
population-adjusted rates of ED visits and hospitalizations involving marijuana poisoning were
higher than heroin, cocaine, and benzodiazepines for the periods studied. Of note, some of the
comparator substances are approved for use in conditions similar to the indications for which
marijuana was evaluated in the CAMU analysis (e.g., opioids for pain, benzodiazepines for
anxiety-related conditions).

FDA also considered position statements from professional organizations relevant to the
indications discussed. The vast majority of professional organizations did not recommend the
use of marijuana in their respective specialty; however, none specifically recommended against




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it, with the exception of the American Psychiatric Association (APA), which stated that
marijuana is known to worsen certain psychiatric conditions.

On balance, the available data indicate that there is some credible scientific support for the use of
marijuana in the treatment of pain, anorexia related to a medical condition, and nausea and
vomiting, with varying degrees of support and consistency of findings. Additionally, no safety
concerns were identified in our review that would indicate that medical use of marijuana poses
unacceptably high safety risks for the indications where there is some credible scientific
evidence supporting its therapeutic use.

Conclusions of CAMU

Based on the totality of the available data, we conclude that there exists some credible scientific
support for the medical use of marijuana in at least one of the indications for which there is
widespread current experience in the United States, as identified by OASH under Part 1 of the
CAMU test. Seven indications were selected for evaluation under Part 2 of the CAMU test
based on conclusions from Part 1 of the CAMU test as well as the FDA’s analysis of the
landscape of medical use of marijuana. The indications evaluated anorexia related to a medical
condition, anxiety, epilepsy, inflammatory bowel disease, nausea and vomiting (e.g.,
chemotherapy-induced), pain, and post-traumatic stress disorder. The analysis and conclusions
on the available data are not meant to imply that safety and effectiveness have been established
for marijuana that would support FDA approval of a marijuana drug product for a particular
indication. However, the available data do provide some level of support for the way marijuana
is being used in clinical practice. Thus, based on the widespread HCP experience and the extent
of medical use evaluated by OASH under the Part 1 test, and an evaluation of available credible
scientific support described herein for at least some therapeutic uses identified in the Part 1 test,
we find that that, for purposes of the drug scheduling criteria in 21 U.S.C. 812(b), marijuana has
a CAMU in the United States for: anorexia related to a medical condition; nausea and vomiting
(e.g., chemotherapy-induced); and pain.


FACTOR 4. ITS HISTORY AND CURRENT PATTERN OF ABUSE

Under the fourth factor, the Secretary must consider the history and patterns of marijuana use,
including in relation to relevant comparator substances that are abused. This factor considers the
federal and state-level history of marijuana control, marijuana sources for nonmedical and
medical use, marijuana use in the United States since passage of the CSA, and current patterns of
use and abuse of marijuana.

Federal History of Marijuana Control

The national history of marijuana in the United States includes its medical and nonmedical use,
as well as legislation to control its use. Marijuana (as “an alcoholic extract of the dried tops of
Cannabis sativa”) was described in the United States Pharmacopoeia as early as 1850
(Brinckmann et al., 2020). With the passage of the Pure Food and Drug Act in 1906, drugs such
as marijuana, alcohol, heroin, morphine, and cocaine began to be characterized by the federal




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government as “addictive” and/or “dangerous” (Wood, 1985). At that time, these drugs were
frequently included in patent medicines, often without the consumer’s knowledge. After the new
law was enacted, it required accurate reporting on a drug label about the drug substance and dose
contained in the medication. This law, however, did not prohibit the sale or possession of
“addictive” and/or “dangerous” drugs, including marijuana. As nonmedical use of marijuana and
opioids became more popular in the United States, Congress provided funding in 1929 for two
“narcotic farms” in Lexington, Kentucky, and Fort Worth, Texas, which were medical treatment
centers run by the Public Health Service (PHS) for federal prisoners who were “habitual users of
narcotics,” which included marijuana-derived products (Campbell, 2006). In 1931, the
importation of marijuana into the United States began to be restricted under the Pure Food and
Drug Act, except for medicinal purposes (Musto, 1972).

In order to further restrict nonmedical use of marijuana, the Federal Bureau of Narcotics
campaigned for passage of the Marihuana Tax Act of 1937, which stated that, “Every person
who imports, manufactures, produces, compounds, sells, deals in, dispenses, prescribes,
administers, or gives away marihuana” would need to be registered and pay specified taxes
(Anslinger, 1951). These taxes applied equally to healthcare providers as they did to
manufacturers, and were considered extremely high, especially in the middle of the Great
Depression. This led the American Medical Association to oppose the Marihuana Tax Act, since
it restricted medicinal access to marijuana. During deliberations on the bill, which emphasized
that marijuana was a dangerous drug, Dr. Walter L. Treadway of the Division of Mental Health
at PHS (the precursor to the National Institute of Mental Health) provided testimony to Congress
(Musto, 1972), stating that marijuana:
     … does not produce dependence as in opium addiction. In opium addiction there is a
     complete dependence and when it is withdrawn there is actual physical pain which is not
     the case with cannabis. Alcohol more nearly produces the same effect as cannabis in that
     there is an excitement or a general feeling of lifting of personality, followed by a delirious
     stage, and subsequent narcosis. There is no dependence or increased tolerance such as in
     opium addiction. … As with alcohol, it may be taken a relatively long time without social
     or emotional breakdown. Marihuana is habit forming although not addicting in the same
     sense as alcohol might be with some people…

Despite these criticisms, the Marihuana Tax Act was passed. Subsequently, the taxes imposed
by the Marihuana Tax Act effectively prohibited marijuana use for medical, nonmedical,
scientific, or industrial purposes (U.S. Customs and Border Protection, 2019). Five years later,
marijuana was removed from the United States Pharmacopoeia in 1942 (Downs, 2016). With the
passage of the Boggs Act of 1951, mandatory minimums lengthened the average sentence for
first time marijuana offenders to 2 to 5 years, similar to that for opioid offenses, regardless of
whether the individual was a nonmedical user or a trafficker (Tallaksen, 2019). The Narcotic
Control Act of 1956 increased the minimum sentence for a first offender for marijuana to 2 to 10
years (Courtwright, 2004).

Despite the legal consequences, nonmedical marijuana use increased dramatically in the 1960s,
especially among youth (National Academies of Sciences & Medicine, 2017). In 1969, the
United States Supreme Court determined that the Marihuana Tax Act was unconstitutional in
Leary v. United States because the law violated the Fifth Amendment right against self-



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       incrimination (Carroll, 1969). The following year, in 1970, Congress passed Title II of the
       Comprehensive Drug Abuse Prevention and Control Act of 1970, which is commonly known as
       the CSA. The CSA effectively repealed all previous federal drug laws, including the Marihuana
       Tax Act, and provided a unified framework for control of drugs with abuse potential. When the
       CSA was enacted, marijuana was placed into Schedule I, which prohibited use of marijuana for
       medicinal or nonmedical purposes. This placement was consistent with the criteria established
       by the CSA under Section 202(b).

       State-Level History of Marijuana Control

       Changes in state-level marijuana laws in the United States in the modern era began in 1996 with
       the passage of California’s Proposition 215, the Compassionate Use Act. This law legalized the
       use, possession, and cultivation of marijuana for treatment of patients with cancer, anorexia,
       AIDS, chronic pain, spasticity, glaucoma, arthritis, migraine, or any other illness for which
       marijuana provides relief, as long as they had a recommendation from their physician. Under the
       law, marijuana could also be cultivated by patient caregivers.

       Since that time, as of August 2023, state-level laws allowing medicinal use of marijuana have
       been passed in a total of 38 states plus the District of Columbia: Alabama, Alaska, Arizona,
       Arkansas, California, Colorado, Connecticut, Delaware, District of Columbia, Florida, Hawaii,
       Illinois, Kentucky, 14 Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota,
       Mississippi, Missouri, Montana, Nevada, New Hampshire, New Jersey, New Mexico, New
       York, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Dakota, Utah,
       Vermont, Virginia, Washington, and West Virginia. Legalization of medical use of marijuana
       occurred through the action of 20 state legislatures and by 18 ballot measures.

       In 2012, state-level legalization of nonmedical use of marijuana occurred for the first time in the
       United States in Colorado and Washington. Since then, state-level legalization of nonmedical
       use of marijuana occurred in a total of 23 states and the District of Columbia: Alaska, Arizona,
       California, Colorado, Connecticut, Delaware, District of Columbia, Illinois, Maine, Maryland,
       Massachusetts, Michigan, Minnesota, Missouri, Montana, Nevada, New Jersey, New Mexico,
       New York, Oregon, Rhode Island, Vermont, Virginia, and Washington. Nonmedical use of
       marijuana occurred by ballot initiatives in 13 states and by state legislatures in nine states.

       Marijuana Sources for Nonmedical and Medical Use

       Products containing marijuana or derived from marijuana are generally obtained by the public
       from four main sources:
          • State-authorized adult-use (nonmedical) programs
          • State-authorized medical-use programs
          • Illicit marketplace – includes unregulated smoke/vape shops, gas stations, convenience
              stores, marijuana clubs/lounges, person to person sales, and illicit cultivation (see also
              Factor 5, “National Forensic Laboratory Information System” section)
          • Home cultivation for personal use (either legal or illegal under state programs)
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         When the supporting documents associated with the evaluation under the CAMU test were finalized, Kentucky
       had not yet legalized medicinal use of marijuana.

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Individuals in the United States have access to a wide variety of marijuana and marijuana-
derived products for purchase that are diverse in their potency, composition, and forms that
dictate use through various routes of administration. The availability of these marijuana products
varies across the three main sources above. Marijuana products can generally be categorized as
one of four types:
    • Flowers – includes dried herb that is smoked or vaped, and pre-rolls
    • Concentrates – includes products for inhalation referred to as shatter, wax, butter, sugar,
        hash, resin, and rosin via vaping (use of an electronic vaporizer) or via dabbing (use of
        other paraphernalia such a pipe or “dab rigs”) (Colorado Department of Revenue, 2021;
        Drug Enforcement Administration, 2023)
    • Edibles – includes infused food, beverage, and tincture products (e.g., baked goods,
        chocolate, drinks, candies, and snacks)
    • Topicals – includes infused ointments, lotions, creams, or transdermal products

In the epidemiological data described below, the broad range of products that are marijuana or
marijuana-derived may not be identified fully in terms of being from certain product categories
or specific/multiple sources or being used by specific routes of administration.

Marijuana Use in the United States Since Passage of the CSA

Since 1970 when the CSA was passed, marijuana use has vacillated over time. As stated in the
2017 NASEM report The Health Effects of Cannabis and Cannabinoids: The Current State of
Evidence and Recommendations for Research:
     “The prevalence of cannabis use peaked in the late 1970s, when more than one-third of
     high school seniors (37 percent in 1976) and one in eight Americans over 12 years old
     (12.8 percent in 1979) reported past-month use (Johnston et al., 2016). Self-reported past-
     month use declined throughout the 1980s and by 1992 was just one-third of the 1970s peak,
     both among high school seniors (12.1 percent) and the general population (4.4 percent).
     The recorded decline in use did not last long. The mid-1990s saw rapid increases, with use
     by high school seniors nearly doubling within just the 5 years from 1992 (11.9 percent) to
     1997 (23.7 percent). Throughout the late 1990s and early 2000s, the rates of use largely
     stagnated, with trends among youth and the general population moving roughly in parallel
     (Johnston et al., 2016).

     “The years since 2007 have seen steady year-over-year increases in general population
     past-month use, rising from 5.8 percent to 8.4 percent in 2014 (a 45 percent increase).
     There is no single clear explanation for the post-2007 increases in use. Hypothesized
     causes include declining potency-adjusted prices on the illicit market; the proliferation of
     medical cannabis laws, especially those that allow for sale at brick-and-mortar
     dispensaries; and changing public perceptions about the harms of cannabis use (Sevigny et
     al., 2014).”

Gallup Poll data from 1969 to 2013 show a steady increase over time in response to a question
regarding whether the respondent had personally tried marijuana (Saad, 2013). In 1969, there
was a 4% affirmative response, which increased to 12% by 1973. By 1977, 24% of respondents




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affirmed they had used marijuana, which increased to 33% in 1985. After this date, the percent
of individuals who affirmed they had used marijuana was stable, with 34% in 1999 and 38% in
2013.

Current Patterns of Use and Abuse of Marijuana

In analyzing current patterns of use and abuse of marijuana and marijuana-derived products,
epidemiological databases were analyzed from 2015 to the most recent years of available data
(which varies among data sources). A wide variety of epidemiological databases provide
necessary data for our analyses. These include the NSDUH, BRFSS, RADARS, NMURx, MTF,
YRBSS, and ICPS. A description of each data source and a summary of the data from each
source follows below.

These epidemiological evaluations of marijuana use were limited to products containing only
botanical marijuana, including various forms of marijuana such as dried leaves rolled into
cigarettes or smoked in pipes, edibles (e.g., brownies, cookies, tea), vaping oils, concentrates,
and liquid marijuana extract. Cannabis-derived products with less than 0.3% Δ9-THC (e.g.,
hemp, FDA-approved cannabidiol oral solution), synthetic cannabinoids that are intended to
mimic Δ9-THC, and marijuana-related FDA-approved drug products [Marinol (dronabinol),
Syndros (dronabinol), Epidiolex (cannabidiol), and Cesamet (nabilone)] have been excluded
from this analysis to the extent possible, although some respondents on these survey instruments
could potentially conflate their use of these excluded products with “marijuana” when
responding.

National Survey on Drug Use and Health

NSDUH is an annual, nationally representative, cross-sectional household survey of individuals
ages 12 years and older that provides information on the use of drugs and alcohol in the United
States (SAMHSA, 2022b). Since 2015, NSDUH has elicited information on any use of a drug
(for nonmedical and medical uses combined), as well as on nonmedical use (called “misuse” in
the database), of select prescription and illicit drugs in the past year. NSDUH defines misuse of a
drug as “use in any way not directed by a doctor, including use without a prescription of one’s
own; use in greater amounts, more often, or longer than told.” This definition of “misuse”
includes use of a drug with therapeutic intent that is not the result of a recommendation from a
health care provider, as well as intentional, non-therapeutic use of a drug to obtain a desired
psychological or physiological effect (abuse). As a result of the public-health emergency
resulting from the COVID-19 pandemic, NSDUH data collection was disrupted in 2020 and
2021, leading to trend breaks in these years. As a result, it is not possible to interpret trends on
use of drugs or other substances from 2019 and years prior with 2020 and 2021 estimates, and it
is not possible to combine estimates from 2020 with estimates from 2021.

Past-Year Use of Marijuana for Nonmedical and Medical Uses Combined

Based on NSDUH data, from 2015 to 2019 the past-year use of marijuana for any reason
(nonmedical and medical) among people ages 12 years and older increased from 14 to 18%.
This is in contrast to past-year use (nonmedical and medical) of comparator drugs that have




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FDA-approved therapeutic indications, where use declined or remained relatively stable over the
same timeframe, including hydrocodone (22 to 16%), benzodiazepines (12 to 11%, 2017 to 2019
only), oxycodone (11 to 9%), tramadol (7 to 6%), zolpidem (4 to 3%), and ketamine (less than
1%). The decline for hydrocodone was the largest for any comparator drug (~6%), and by 2019,
the prevalence of any past-year use of marijuana exceeded that of hydrocodone (18% vs. 16%,
respectively). Although there were trend breaks for the years 2020 and 2021, hydrocodone past-
year use continued to decrease during these 2 years while marijuana past-year use continued to
increase (13% vs. 19%, respectively, in 2021).

Past Year Use of Marijuana for Nonmedical Uses Only

Based on NSDUH data, from 2015 to 2019, the prevalence of past-year nonmedical use of
marijuana (i.e., use without an HCP recommendation among people ages 12 years and older
increased. This finding is based on an increase in the prevalence of overall nonmedical use of
marijuana from 12 to 15% and on an increase in nonmedical use of marijuana only, without
nonmedical use of other drugs that are abused, from 8% to 11% during this period. There was a
slight decrease in both categories in 2020, but the prevalence increased again in 2021 (16% and
11%, respectively) to levels that were higher than those reported in 2019.

In contrast, the prevalence of past-year nonmedical use of comparator drugs was less than 3% for
each drug, including heroin cocaine oxycodone, hydrocodone, tramadol, benzodiazepines, and
zolpidem, which is much less than that for marijuana, either alone or with other drugs. Over the
2015 to 2021 reporting period, the overall use of these comparator drugs declined slightly or
remained fairly stable. Notably, the majority of individuals who reported nonmedical use of
marijuana did not report nonmedical use of the comparator drugs.

Over the same reporting period of 2015 to 2021, the prevalence of past-year use of alcohol
ranged from 62% to 65% for individuals ages 12 years and older, far exceeding the prevalence
for marijuana or other comparator drugs.

These data demonstrate that alcohol has the highest prevalence of past-year only use, followed
by nonmedical use of marijuana. The prevalence of the other comparators is far below that of
alcohol and marijuana.

Prevalence of Past-Year Marijuana Use Without and With a Recommendation from Health Care
Provider

The NSDUH data show that most individuals who used marijuana in the past year did not do so
based on a recommendation from an HCP (i.e., they were using marijuana for nonmedical
purposes). The yearly percentage of individuals who used marijuana but did not have an HCP
recommendation ranged from 89% from 2015-2017, decreasing over time to 84% in 2020 and
increasing slightly to 86% in 2021. During the same period, exclusive medical use of marijuana
that was recommended by an HCP ranged from 7-8% from 2015-2019, increased to 10% in
2020, and decreased to 9% in 2021.




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An evaluation of the frequency of past-year marijuana use showed that ~50% of those
individuals without an HCP recommendation used marijuana for 60 or fewer days in the year.
However, another 29% of those without an HCP recommendation used marijuana for more than
241 days in the year. In contrast, for those individuals whose use of marijuana was sometimes or
always recommended by an HCP use, 51% and 55% (respectively) used marijuana at least 241
days in the year.

Prevalence of Past-Month Marijuana Use

The NSDUH data from 2021 show that among individuals who used any marijuana in the past
year, 69% used marijuana in the past month, while 81% of those who used marijuana without
nonmedical use of other drugs used marijuana in the past month. For comparator drugs, the
percentage of individuals with past-year use who used each substance nonmedically in the past
month was 76% for alcohol, 49% for heroin, 38% for cocaine, and 28% for ketamine.

Behavioral Risk Factor Surveillance System

BRFSS is a national, state-based, cross-sectional telephone survey by the Centers for Disease
Control and Prevention (CDC) (CDC, 2021a, 2021b, 2022). The participants in the 2021 BRFSS
module for marijuana included ~68 million individuals 18 years and older, residing in 24 states
and territories: Alaska, Connecticut, Delaware, Hawaii, Idaho, Illinois, Indiana, Kentucky,
Maine, Maryland, Minnesota, Montana, Nebraska, Nevada, New Hampshire, New York, North
Dakota, Ohio, Oklahoma, Rhode Island, Utah, Vermont, Wyoming, and Guam.

The estimated prevalence of past month marijuana use for any reason in the BRFSS survey was
12%, with 88% reporting no marijuana use. Among those with past-month marijuana use, mean
frequency of use was 17 days/month, with half of respondents reporting that they used marijuana
20 to 30 days/month. This pattern was consistent across all age categories and sex.

When the reason for use was evaluated, the percentage of individuals who reported use for both
medical and nonmedical reasons was 39%, compared to 36% for those who reported use for
nonmedical reasons only and 25% for those who reported use for medical reasons only. Those
individuals who reported past-month use of marijuana for medical reasons were more likely to be
adults 55 years and older, while individuals who reported past-month marijuana use for
nonmedical reasons only were more likely to be younger adults aged 18 to 24 years.

Individuals who reported using marijuana in the past 30 days for both nonmedical and medical
reasons were more likely (62%) to report marijuana use near daily (20-30 days/month) than
individuals who reported marijuana use for nonmedical reasons only (34%). Similarly,
individuals who used marijuana for medical reasons only were also more likely (57%) to report
near daily use.




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Researched Abuse, Diversion and Addiction-Related Surveillance System Survey of
Nonmedical Use of Prescription Drugs

The RADARS System conducts the NMURx Program, a serial, cross-sectional, online survey of
the general adult population (18 years and older) to elicit information on the nonmedical use of
drugs (prescription, nonprescription, unapproved, and illicit) (Black et al., 2019; The Researched
Abused, 2023). NMURx estimates represent measures of past-year drug use in an enriched
sample of United States adults with higher-than-average nonmedical use of prescription pain
relievers and illicit drugs.

Based on NMURx program, past-year use of marijuana was reported by 21% of individuals,
while past-year use of comparator substances was substantially lower: benzodiazepines (4%),
hydrocodone, oxycodone, tramadol (2% each), cocaine or crack (less than 2%) and illicit
fentanyl, heroin, and ketamine (less than 1% each). This pattern of much greater marijuana use
compared to other drugs is consistent with the patterns reported in NSDUH and BRFSS.

Monitoring the Future

MTF collects information on the use of selected prescription and illicit drugs and alcohol by
conducting an annual, nationally representative, cross-sectional survey of 8th, 10th, and 12th
graders in public and private schools (Miech et al., 2022; Miech et al., 2023). As a result of the
COVID-19 pandemic, there is a potential trend break in the 2020 MTF data.

MTF data show that during the years 2012 to 2022, the illicit drug most frequently used by 12th
grade students who reported past-year drug use was marijuana/hashish (~35% per year from
2012 to 2020, with a reduction to ~30% per year in 2021 and 2022). In contrast, in 2022, alcohol
was used by 52% of 12th grade students within the last 12 months, similar to percentages in 2019
and 2020 (52% and 55%, respectively), but higher than the 2021 level of 47%. All other
comparator drugs (hydrocodone, heroin, tramadol, cocaine, ketamine, and zolpidem) were each
used in the past year by fewer than 5% of 12th graders from 2012 to 2022.

MTF data for past-month use showed a similar pattern. During the years 2012-2022, the illicit
drug most frequently used by 12th grade students who reported past-month drug use was
marijuana/hashish (~20-22% per year) compared to past-month use of cocaine (~1% per year) or
heroin (less than 0.5% per year). However, past-month alcohol use by 12th grade students (28%)
exceeded that of marijuana in 2022. MTF does not provide past-month use data for
hydrocodone, heroin, tramadol, ketamine, or zolpidem.

MTF data show that for those 12th graders who used marijuana, cocaine or heroin in the past
month, daily use of marijuana ranged from ~6-7%, compared to daily use of cocaine or heroin
that was less than 1%. MTF does not provide past-month use data for hydrocodone, tramadol,
ketamine, or zolpidem.




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Youth Risk Behavior Surveillance System

YRBSS was established by the CDC and conducts school-based surveys every 2 years, in
partnership with state, local, territorial, and tribal governments, with a focus on youth health
behavior in the United States. The YRBSS high school component, the Youth Risk Behavior
Survey, includes a nationally representative survey of 9th through 12th grade students (CDC,
2020, 2023; Underwood et al., 2020).

YRBSS data show that from 2009 to 2019, ~ 20% of students in 9th-12th grade reported using
marijuana at least once in the past month during each year evaluated. When students 17 years
and older were asked how old they were when they first used marijuana, 43% reported they
initiated use between the ages of 15 to 16 years, 25% initiated use between 13 to 14 years, and
13% initiated use at 12 years of age and younger.

In contrast, past-month alcohol use by high school students (29%) in 2019 was greater than that
of marijuana use, while past month prescription opioid misuse (including codeine, hydrocodone,
or oxycodone) (7%) in 2019 was much lower than that of both alcohol and marijuana use.

International Cannabis Policy Study

ICPS conducted serial, cross-sectional surveys in 2019 to 2021 of individuals ages 16 to 65 years
living in the United States to understand the public health impact of marijuana legalization
(Hammond et al., 2022; ICPS, 2023). The present evaluation focused on respondents who
reported at least some past-year marijuana nonmedical use (by indicating that they were not a
medical marijuana user, defined as someone who uses marijuana only to treat a medical
condition).

ICPS data show that the prevalence of past-year nonmedical use of marijuana ranged from 18%
to 22% of individuals surveyed from 2019 to 2021, while the prevalence of past-month
nonmedical use was lower, ranging from 12% to 14% of individuals surveyed. Individuals 26 to
34 years had the highest relative prevalence of nonmedical marijuana use, with 26% reporting
past-year use and 18% reporting past-month use. This prevalence was higher than that of
individuals ages 16-17, 18-25, and 35-64 years, where past-year use was 19-23% while past-
month use was 12-13%.

When those individuals who reported past-year marijuana use in 2021 in ICPS were asked why
they used the drug, 33% reported use for medical reasons, while 61% responded “no” to the
question about past-year medical use and were classified as using marijuana for nonmedical
reasons only. The percentages do not sum to 100% because of nonresponse.

When frequency of nonmedical use of marijuana was evaluated in ICPS for those individuals
who used marijuana nonmedically at least once a year, individuals 16-17 years had the highest
percentage of use less than once a month (~40%) compared to other age cohorts (~25-31%),
while individuals 26-34 years had the highest percentage of daily use (~43%) compared to
individuals in other adult cohorts (~34-37%) and to individuals 16-17 years (~24%).




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Among individuals who nonmedically used marijuana in the past year, 49% never used alcohol
and marijuana at the same time, while 35% sometimes used the two substances together, 9%
often used them together, and 5% used alcohol every time they used marijuana.

Conclusions

When data on marijuana use from epidemiological databases are evaluated together, certain
conclusions can be drawn about its current pattern of abuse.

From 2015 to 2019, NSDUH data show that the prevalence of past-year use of alcohol was 5-6
times greater than nonmedical use of marijuana. In contrast, the prevalence of past-year
nonmedical use of heroin, cocaine, oxycodone, hydrocodone, tramadol, benzodiazepines, and
zolpidem was 4-5 times less than that for marijuana nonmedical use. Similar past-year
comparative drug use data were reported in RADARS-NMURx, in MTF, and in ICPS.

In NSDUH, among people with past-year marijuana use, approximately half of individuals
reported nonmedical marijuana use an average of less than 5 days/month while another 30%
reported nonmedical marijuana use for an average of more than 20 days/month. In the BRFSS
population of people with past-30-day marijuana use, near-daily use was more likely if the
individual was using marijuana for medical reasons in BRFSS data; however, medical-only use
was less common (25% for medical use compared to 39% for medical and nonmedical use, and
36% for nonmedical use only). In NSDUH, past-month frequency of marijuana nonmedical use
is less than what was reported in BRFSS for frequency of marijuana use for any reason (the
mean frequency of use was 17 days and half of respondents reported that they used marijuana for
any reason more than 20 days/month). Yet, the NSDUH population was younger (included
people ages 12 years and older) and included people who used marijuana in the past year, not
just within the past month, like in BRFSS. Additionally, in NSDUH, past-year use of marijuana
was predictive of past-month use for 60-80% of respondents, similar to alcohol use
(approximately 80% of those who used alcohol in the past year also did so in the past month).

These data show that use of marijuana for medical and nonmedical purposes is extensive in the
United States, but that its prevalence of use is less than that of alcohol and significantly more
than that of other drugs of abuse that are scheduled under the CSA.


FACTOR 5. THE SCOPE, DURATION, AND SIGNIFICANCE OF ABUSE

Under the fifth factor, the Secretary must consider the scope, duration, and significance of
marijuana abuse, including in relation to relevant comparator substances that are abused.
The consequences over time of marijuana abuse compared to the abuse of other substances are
described based on data from the NPDS, NSDUH, TEDS, NAVIPPRO, NEDS, and NIS.

Epidemiological Data on Consequences of Marijuana Abuse

National Poison Data System




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Data from America’s Poison Centers’ NPDS provide information on the scope of contacts with a
poison center (PC) following marijuana abuse, relative to abuse of selected comparators
(AAPCC, 2016; Gummin et al., 2022). (American’s Poison Centers’ National Poison Data
System [NPDS] Data Definitions 2016 defines moderate effect as, “[t]he patient exhibited
symptoms as a result of the exposure which are more pronounced, more prolonged or more of a
systemic nature than minor symptoms” and defines major effect as “[t]he patient has exhibited
symptoms as a result of the exposure which were life–threatening or resulted in significant
residual disability or disfigurement.”)

In order to quantify the scope and burden of PC cases involving abuse of marijuana and selected
comparator drugs, the number of PC abuse cases for a substance (either alone or in combination
with another substance) was analyzed for the period of 2015 to 2021. The highest number of PC
abuse cases was observed for alcohol (n=56,143), followed by heroin (n=34,083) and by
benzodiazepines (n=33,688). The fourth highest number of PC abuse cases was for marijuana
(n=22,731), with all other comparators showing even fewer PC abuse cases: cocaine (n=15,196),
oxycodone (n=12,683), hydrocodone (n=5,575), illicit fentanyl (n=3,636), tramadol (n=2,965),
zolpidem (n=2,348), and ketamine (n=832).

When the PC abuse cases for 2015 to 2021 were analyzed for cases involving a single substance
only, the rank order of PC abuse cases by number was the same as the order from all PC abuse
cases for substances used alone or in combination with another substance, such that the highest
number was still for alcohol (n=24,022), with heroin (n=21,970) and benzodiazepines
(n=10,872) in second and third place. The fourth highest number of PC abuse cases for a single
substance was still for marijuana (n=10,388), with all other comparators showing even fewer PC
abuse cases: oxycodone (n=5,943), cocaine (n=4,242), hydrocodone (n=2,062), tramadol
(n=1,398), illicit fentanyl (n=1,233), zolpidem (n=941), and ketamine (n=382).

In order to assess the proportion of PC cases that involve abuse (either alone or in combination
with another substance), the number of PC abuse case counts for a substance was divided by the
total number of PC cases for that substance, for the period of 2015 to 2021. This calculation
showed that abuse cases made up the largest proportion of PC cases that involved illicit fentanyl
(72%), heroin (65%), cocaine (41%) and ketamine (40%). The fifth highest percentage was for
cases involving marijuana (36%), followed by alcohol (15%), oxycodone (13%),
benzodiazepines (8%), hydrocodone (5%), tramadol (4%), and zolpidem (3%).

When a similar calculation was made to assess the prevalence of abuse cases contacting a PC
based on adverse consequences associated with a single substance only for the same period, the
three substances most likely to lead to a PC call following abuse were heroin (65%), oxycodone
(47%), and tramadol (47%). The fourth highest percentage was for marijuana and ketamine
(46%), followed by alcohol (43%), zolpidem (40%), hydrocodone (37%), illicit fentanyl (34%),
benzodiazepines (32%), and cocaine (28%).

Annual utilization-adjusted abuse case rates were then calculated by dividing the number of PC
abuse case counts by the prevalence of past-year use based on NSDUH estimates from people 12
years and older, for the period of 2015 to 2019. There were two calculations for each substance,
based on two denominators: one for any past-year use of the substance and one for past-year




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nonmedical use of the substance. These utilization-adjusted rates convey the likelihood that use
of a drug will result in PC abuse cases when considering how many people use the drug for any
reason or for nonmedical reasons.

When utilization-adjusted abuse rates (PC abuse cases per one million people with any past year
use for a substance alone or with another substance) were calculated using data from 2015 to
2019, the highest rate was seen for heroin (increasing from 4038 to 7201 cases per one million
people). The next highest rates were seen for ketamine (decreasing from 535 to 227 cases per
one million people), cocaine (relatively stable at 375 to 389 cases per one million people), and
benzodiazepines (relatively stable at 171 to 139 cases per one million people, 2018 to 2019
only), but these rates were considerably lower than the rate for heroin. The rates for marijuana
(relatively stable at 75 to 70 cases per one million people) and oxycodone (relatively stable at 60
to 61 cases per one million people) were similar, as were the rates for alcohol (relatively stable at
47 to 41 cases per one million), zolpidem (relatively stable at 46 to 30 cases per one million
people), tramadol (relatively stable at 36 to 19 cases per one million people) and hydrocodone
(relatively stable at 23 to 13 cases per one million people). A similar pattern of utilization-
adjusted abuse rates was seen among cases involving a single substance only during the same
time period.

The most common routes of administration for single-substance PC abuse cases from 2015 to
2021 for all substances were primarily through oral ingestion and inhalation/nasal administration,
with occasional parenteral administration (including intravenous), depending on the substance.
As would be expected, alcohol was almost exclusively used orally by respondents (99%).
Benzodiazepines, tramadol, zolpidem and hydrocodone were also nearly always used orally by
respondents (97%, 97%, 96%, and 95%, respectively), although each of them also had a small
degree of use via inhalation/nasal administration (3%, 2%, 4%, and 4%, respectively).
Oxycodone use by respondents was 72% oral, 22% inhalation/nasal, and 4% parenteral.
Marijuana was used orally by slightly more than half of respondents (57%) and was also used
through inhalation/nasal administration by 41% of respondents. Cocaine and ketamine were
both used orally by 37% of respondents, with a similar frequency of use through inhalation/nasal
routes (40% and 37%, respectively) and lesser frequency of use through parenteral routes (6%
and 12%, respectively). Finally, illicit fentanyl use was 24% oral and 28% through
inhalation/nasal use. For those drugs where the route percentages do not add up to 100%, this is
attributable to cases involving more than one route of abuse, small percentages observed for
other routes of administration, and by large percentages where the route is unknown.

An analysis of medical outcomes, related to exposure based on severity, timing, and assessment
of clinical effects, for all single-substance PC abuse cases involving marijuana or comparator
drugs show that serious medical outcomes (a combination of moderate effect, major effect, and
death) were greatest with illicit fentanyl (81%) and heroin (79%), followed by oxycodone (70%),
ketamine (64%), tramadol (62%), cocaine (59%), hydrocodone (44%), marijuana (41%),
benzodiazepines (32%), alcohol (31%), and zolpidem (27%). When the death rate was
evaluated, the highest rate was for fentanyl (25%). Cocaine, heroin, and alcohol had very low
rates (3%, 2%, and 2%, respectively) compared to fentanyl, with all other comparators reporting
death rates less than 1% (oxycodone, hydrocodone, tramadol, ketamine, benzodiazepines,
zolpidem, marijuana). However, out-of-hospital deaths are under-captured in NPDS so these




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death rates cannot be broadly extrapolated to indicate the rate of death from adverse events
involving these substances.

National Survey on Drug Use and Health

Data from NSDUH provide nationally representative information on the prevalence of substance
use disorder (SUD) in 2021 among individuals aged 12 years or older who reported nonmedical
use of marijuana in past year, in comparison to heroin, cocaine, or alcohol use in the past year.
Drug-specific data on oxycodone, hydrocodone, fentanyl, tramadol, ketamine, benzodiazepines,
and zolpidem were not available in the NSDUH analyses of SUDs. A diagnosis of SUD is made
when an individual endorses at least 2 of the 11 criteria for SUD, according to the Diagnostic and
Statistical Manual of Mental Disorders, Fifth Edition (DSM-V) (e.g., has at least a mild severity
of the SUD). Individuals are classified with a mild SUD if they meet two to three of the criteria,
a moderate SUD if they meet four to five of the criteria, and a severe SUD if they meet six or
more of the criteria.

NSDUH data show that among individuals with past-year heroin use in 2021, there was an 81%
prevalence of meeting the criteria for a heroin SUD (i.e., endorsing at least 2 of the 11 criteria for
SUD (according to DSM-V; severity data for heroin not available). In comparison, there was a
30% prevalence of meeting the criteria for marijuana SUD among individuals who used
marijuana for nonmedical reasons only, with 17% of individuals with past-year nonmedical only
use having a mild SUD, 8% having a moderate SUD, and 5% having a severe SUD. Data were
also available on individuals who did not use other drugs illicitly and nonmedically used only
marijuana, where there was a slightly lower prevalence of 24% for marijuana SUD, with 15% of
individuals with past-year marijuana use having mild SUD, 6% of these having a moderate SUD,
and 3% having a severe SUD. There was also a 30% prevalence of meeting criteria for cocaine
SUD among individuals who used cocaine in the past year, with 13% of those with past-year
cocaine use having a mild SUD, 5% having a moderate SUD, and 12% having a severe SUD.
For those individuals who used alcohol in the past year, the prevalence of alcohol SUD was 17%,
with 10% of individuals with past-year alcohol use having a mild SUD, 4% having a moderate
SUD, and 3% having a severe SUD.

Although the 2021 NSDUH data show that the likelihood of meeting the criteria for a SUD was
highest for heroin, followed by marijuana/cocaine, and alcohol, the absolute number of
individuals who met criteria for the specific drug SUD had a different rank order. Thus, alcohol
had the highest estimated number of individuals who met criteria for its specific SUD
(~29,544,000), followed by marijuana (~13,078,000 people with marijuana nonmedical-only use,
~7,454,000 with nonmedical-only use and no nonmedical use of other drugs), cocaine
(~1,408,000), and heroin (~894,000) for their specific SUDs.

Treatment Episode Data Set

TEDS is a database run by HHS’ Substance Abuse and Mental Health Services Administration
(SAMHSA) that presents information on the demographic and substance use characteristics of
the annual admissions to treatment for alcohol and drug abuse in facilities that are licensed or
certified by the States to provide substance abuse treatment and is required by the States to




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provide TEDS client-level data (SAMHSA, 2022c). Since TEDS is based only on reports from
these facilities, TEDS data do not represent the total national demand for substance abuse
treatment or the prevalence of substance abuse in the general population. Additionally, TEDS is
an admissions-based system, not an individual-based one, which means that an individual who is
admitted to treatment twice within a given year would be counted as two admissions.

Out of 1.4 million admissions documented in the 2020 TEDS dataset, the most frequently
reported primary drug of admission was alcohol (31%, n=442,014 admissions), followed by
heroin (21%, n=292,126 admissions), marijuana (10%, n=139,481 admissions), and cocaine (5%,
n=71,725 admissions). Other comparator drugs, including oxycodone, benzodiazepines,
hydrocodone, ketamine, or tramadol, were each reported as the primary drug in less than 2% of
admissions.

Over the reporting period of 2015 to 2020, the proportion of admissions with alcohol reported as
the primary drug declined from 33% in 2015 to 30% in 2018 but increased slightly to 31% of
admissions in 2019 and 2020. In comparison, the proportion of admissions with heroin reported
as the primary drug was relatively stable from 2015 to 2018 (~26% for each year), declined to
23% in 2019 and declined further to 21% of admissions in 2020. The proportion of admissions
with marijuana as the primary drug declined each year from 14% in 2015 to a low of 10% in
2020, while the proportion of admissions with cocaine as the primary drug increased slightly
during this time from 5% in 2015 to 6% in 2019. During this reporting period, the other
comparator drugs, oxycodone, benzodiazepines, hydrocodone, ketamine, and tramadol, were
each reported as the primary drug in less than 2% of admissions each year.

In 2020, marijuana and cocaine were most likely to be reported as the secondary drug at
admission (25% and 24%, respectively), followed by alcohol (15%), heroin (8%), and
benzodiazepines (6%), with all other comparators reported as less than 2%. For tertiary drugs at
admission, marijuana (29%) was reported most frequently, followed by cocaine (18%), alcohol
(16%), and heroin (5%), with all other comparators reported as less than 2%.

National Addictions Vigilance Intervention and Prevention Program

NAVIPPRO is a surveillance system for substance use and nonmedical use of prescription
medication in a convenience sample of adults seeking treatment or being assessed for substance
use disorder treatment at participating facilities across the United States. NAVIPPRO Addiction
Severity Index-Multimedia Version (ASI-MV) is a self-administered, computerized, validated
clinical assessment tool that collects data on recent drug use behaviors for evaluation and
treatment planning at intake (Butler et al., 2001).

From 2020 through 2021, there were a total of 76,249 NAVIPPRO ASI-MV assessments in
individuals entering or being assessed for substance use disorder treatment at a center
participating in the NAVIPPRO network. The drug most frequently endorsed for past-month use
was marijuana (n=20,458; 27%), followed by alcohol (5 or more alcoholic drinks/day, n =
16,388; 22%), heroin (n=9,078; 16%), fentanyl (n=6,186; 8%), hydrocodone (n=3,448; 5%),
oxycodone (n=3,186; 4%), cocaine and/or crack (n=5,417; 7%), tramadol (n=543, 1%), and
ketamine (n=169; less than 1%).




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Nationwide Emergency Department Sample

NEDS is the largest all-payer ED database in the United States, yielding national estimates of
hospital-owned ED visits, as developed for HHS’ AHRQ (AHRQ, 2022a, 2022c). NEDS is a
sample of records from ED visits sourced from the State Emergency Department Databases,
which captures discharge information on all ED visits that do not result in hospital admission,
and the State Inpatient Databases, which contains information on patients first seen in the ED
and then admitted to the same hospital. In 2020, the included sample of ED visits was sourced
from 995 hospital-owned ED units and sourced from 41 states, accounting for 85% of the United
States population. The unweighted NEDS sample in 2020 contains data from over 28 million
ED visits, which resulted in a weighted estimate of 123 million ED visits. In this evaluation, ED
visits that noted an alcohol, marijuana or cocaine-related disorder were compared. ED visits may
not have been directly due to a specific substance-related disorder, but the patient was recorded
as having had an alcohol, marijuana or cocaine-related disorder in the administrative claim
associated with their ED visit. (A “substance-related disorder” refers to any one of a set of
International Classification of Diseases, Tenth Revision (ICD-10) diagnostic codes that indicate
abuse, dependence, or unspecified use of a specific substance (i.e., marijuana, cocaine or
alcohol) or set of substances (i.e., opioids or stimulants). Since it cannot be determined if the
ICD-10 code also included a substance use disorder diagnosis according to the DSM-V criteria,
the term “substance-related disorders” is used in this review.

Based on NEDS data, from 2016 to 2020, the highest estimated number of annual ED visits were
for an alcohol-related disorder, which rose slightly over this reporting period from ~4 million to
~4.1 million, with ~3.2 million estimated annual ED visits each year during this period that
involved alcohol as a single substance. Over the 2016 to 2020 timeframe, estimated annual ED
visits involving a marijuana related disorder increased from approximately 1.3 million to over
1.7 million, with the estimated annual ED visits for single substance marijuana increasing from
757,731 to 1.08 million. For cocaine, the estimated annual ED visits involving a cocaine-related
disorder increased from 599,165 in 2016 to 774,737 in 2018, then declined to 664,641 in 2020,
with the estimated annual ED visits for single-substance cocaine-related disorder ranging from
204,257 in 2016 to 225,566 in 2020, with an increase in estimated annual ED visits for 2017 to
2019 ranging from 261,155 to 266,614.

A utilization-adjusted rate of estimated ED visits was then calculated by dividing the estimated
annual ED visits for each substance as reported in NEDS by the number of individuals reporting
any past-year use of that substance as reported in NSDUH. The highest utilization-adjusted rate
of estimated ED visits was observed for cocaine-related disorder, which ranged from 2016 to
2020 from 11,765 to 14,014 per 100,000 individuals, with the annual rate of single-substance ED
visits ranging from 4,011 to 4,952 per 100,000 individuals. Marijuana had the second-highest
utilization-adjusted rate of estimated ED visits from 2016 to 2020, where the rates for marijuana
related disorder ranging from 3,472 to 3,940 per 100,000 individuals (lowest rate in 2016 and
highest rate in 2018), with the annual rate of single-substance ED visits ranging from 2,017 to
2,413 per 100,000 individuals. The utilization-adjusted rate of estimated ED visits involving an
alcohol disorder, the lowest of the three substances, ranged from 2,225 to 2,327 per 100,000




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individuals, and ranged from 1,775 to 1,843 per 100,000 individuals for single-substance ED
visits.

National Inpatient Sample

NIS is the largest publicly available all-payer inpatient administrative healthcare database in the
United States, sponsored by AHRQ. NIS is a sample of discharges from participating
community hospitals, reporting from 46 to 48 states and the District of Columbia per year. NIS
data include ~7 million inpatient stays annually (unweighted), accounting for annual estimates of
35 million hospitalizations nationally after weighting (AHRQ, 2021, 2022b). In this evaluation,
alcohol, marijuana, and cocaine data were compared.

Based on NIS data, from 2016 to 2020, alcohol-related disorder had the highest estimated annual
number of hospitalizations, which was stable at ~1.8 million each year, with ~1.2 to 1.25 million
estimated annual hospitalizations that involved alcohol-related disorder per year for single-
substance alcohol. Marijuana-related disorder had the second-highest estimated annual number
of hospitalizations, increasing from 795,140 in 2016 to 914,810 in 2020, with estimated annual
hospitalizations that involved marijuana-related disorder per year for single-substance marijuana
increasing from 373,160 to 452,985. The lowest estimated annual number of hospitalizations
among these three substances was related to cocaine-related disorder, which ranged from
387,385 to 453, 955 from 2016 to 2020, with estimated annual hospitalizations per year for
single-substance cocaine increasing from 94,695 to 112,725, with the highest rates observed in
2018.

A utilization-adjusted rate of estimated hospitalizations was then calculated by dividing
estimated annual number of hospitalizations for each substance as reported in NIS by the number
of individuals reporting any past-year use of that substance as reported in NSDUH. The highest
utilization-adjusted rate of estimated hospitalizations was observed for cocaine-related disorder,
which ranged from 2016 to 2020 from 7,185 to 8,211 per 100,000 individuals with any past-year
use, with the annual rate of single-substance hospitalizations ranging from 1,796 to 2,039 per
100,000 individuals. Marijuana-related disorder had the second-highest utilization-adjusted rate
of estimated hospitalizations from 2016 to 2020, where the rates for marijuana related disorder
ranging from 1,850 to 2,117 per 100,000 individuals, with the annual rate of single-substance
hospitalizations ranging from 906 to 1,026 per 100,000 individuals. The utilization-adjusted rate
of estimated hospitalizations involving an alcohol-related disorder was the lowest of the three
substances, ranging from 987 to 1,039 per 100,000 individuals and ranging from 675 to 715 per
100,000 individuals for single-substance hospitalizations.

National Forensic Laboratory Information System

The National Forensic Laboratory Information System (NFLIS) is a program of the Diversion
Control Division of DEA. Data from the NFLIS-Drug system serves as a surveillance resource to
monitor drug encounters by law enforcement across the United States (Drug Enforcement
Administration). Specifically, the NFLIS-Drug system collects data on drugs seized by law
enforcement during a law enforcement investigation, and which are submitted to federal, state,
and local forensic laboratories for analysis. Data fields include but are not limited to number of




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       “reports or exhibits” submitted to the laboratories, number of cases encompassing the exhibits,
       approximate dates of encounters, approximate location (states) of drug encounters and other
       drugs found in the encounters. The degree to which these and other fields are completed is
       dependent upon the individual laboratories.

       As indicated above, NFLIS provides data on the number of “reports” or “exhibits,” consisting of
       drug evidence (e.g., bulk substance, cannabis resin) obtained during a law enforcement
       investigation (i.e., a drug “case”) that was sent and analyzed by federal, state, and local forensic
       laboratories. State and local forensic laboratories, and to a certain extent federal laboratories,
       primarily conduct qualitative analysis of drug exhibits and to a lesser extent quantitative analysis,
       depending upon goals and requirements of each case.

       In NFLIS, a case may result in one or more reports or exhibits and that each exhibit may contain
       one drug or multiple drugs. Multiple drug exhibits (e.g., reports in combination) may represent
       exhibits in which drugs are mixed (e.g., mixed powder material) or in which drugs were found
       separately (e.g., individual drugs packaged separately but found in the same container). When
       reporting at the case level-data, all drugs identified in a drug-related incident are counted,
       although a small number of laboratories may choose to assign a single case number to all drugs
       related to an entire case.

       Limitations on the NFLIS-Drug data, as noted by DEA, include that not all drugs encountered by
       law enforcement are sent for analysis and not all drugs sent to reporting forensic laboratories are
       tested. Seized drug evidence may not be sent for analysis or some forensic laboratories may have
       policies to not test submitted samples in drug cases that are dismissed, result in a guilty plea or a
       plea bargain was reached before samples are submitted for analysis or before being analyzed by
       the forensic laboratories (Pitts et al., 2023).

       Annually and semiannually DEA publishes NFLIS-Drug national report estimates to account for
       nonreporting laboratories, among other things. 15 An analysis of 2021 national estimates (Drug
       Enforcement Administration, 2021) for cannabis/THC, as reported in the published literature in
       comparison to other drugs seizures, is discussed below. 16 The analysis of national estimates data
       allow us to compare the number of reports by year and reporting trends. In calculating national
       and regional estimates the DEA uses the National Estimates Based on All Reports approach,
       which uses all NFLIS-Drug reporting laboratories.

       In 2021, there were a total of 1,326,205 drug reports identified by State and local forensic
       laboratories in the United States. This estimate represents an increase of approximately 3% from
       the drug reports identified in 2020. Nationally, 61% of all drug reports in NFLIS were identified


       15Detailed description of methods used in preparing national estimates is provided in the 2017 NFLIS statistical
       methodology publication found at: https://www.nflis.deadiversion.usdoj.gov/nflisdata/docs/NFLIS-2017-
       StatMethodology.pdf (Last accessed July 2023)
       16
          This category includes the following substances: Cannabis, Cannabis (All plant material excluding intact plants),
       Cannabis oil (Concentrated liquid resin extract), Cannabis plant (Intact plant), Cannabis resin (Hashish), Cannabis
       seed, Cannabis Stems, Concentrated cannabis, Tetrahydrocannabinol (organic) and Tetrahydrocannabinol (THC)-
       Non-specific (Source: DEA’s Drug and Chemical Evaluation Section Office of Diversion at DEA)

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as involving methamphetamine (406,200 reports or 31%), cannabis/THC (167,669 reports or
13%), cocaine (165,162 reports or 12%) or heroin (72,315 reports or 5%).

In 2021, there were 1,027,219 drug-specific cases submitted to and analyzed by state and local
laboratories, representing a 2% increase from drug specific cases in 2020. It is noted that
although the total NFLIS number of drug reports increased in 2021 from 2020, the total number
of cases and drugs reported continues to be noticeably lower than the number reported for the
years before the COVID-19 pandemic. Nationally, in 2021, 45% of all drug cases contained one
or more reports of methamphetamine, followed by cocaine and cannabis/THC which were
identified in 18% and 17% of all drug cases, respectively. Heroin was identified in 8% of all
drug cases.

National trends indicate that the number of cannabis/THC reports as well as the number of cases
in which cannabis/THC was identified decreased from 2015 through 2021. From 2020 to 2021
the number of cannabis/THC reports decreased from 188,735 to 167,669 (Drug Enforcement
Administration). It should be noted that a decrease in the number of reports of cannabis/THC
does not necessarily mean that there was a decrease in the number of cannabis/THC encounters,
it means that there was a decrease in the number of exhibits submitted by law enforcement for
analysis or a decrease in the number of exhibits processed (analyzed) by forensic laboratories.

Conclusions

The most notable conclusion from an evaluation of various epidemiological databases related to
the medical outcomes from abuse of selected drugs is that for all measures that were evaluated
from 2015 to 2020, the rank order of the comparators in terms of greatest adverse consequence
typically places alcohol, heroin, and/or cocaine in the first or immediately subsequent positions,
with marijuana in a lower place in the ranking. This pattern was also observed for PC data with
regard to serious medical outcomes, including death, where marijuana was in the lowest ranking
group. This demonstrates that there is consistency across databases, across substances, and over
time, and although abuse of marijuana produces clear evidence of harmful consequences,
including substance use disorder, they are relatively less common and less harmful than some
other comparator drugs. Additionally, the number of law enforcement encounters with
marijuana decreased from 2020 to 2021, at a time when law enforcement encounters were
increasing for other scheduled drugs of abuse. However, as noted above in Factor 1a, there are
limitations in comparing descriptive data on adverse outcomes across drugs.


FACTOR 6. WHAT, IF ANY, RISK THERE IS TO THE PUBLIC HEALTH

Under the sixth factor, the Secretary must consider the risks posed to the public health by
marijuana. Previous factors have provided data that contribute to an understanding of this issue.
For example, Factor 2 includes a discussion of the typical psychological, behavioral, and
physiological effects of marijuana that may impact public health. Factor 4 details the abuse
patterns and trends of marijuana use that can affect public health, using data from NSDUH,
BRFSS, RADARS-NMURx, MTF, YRBSS, and ICPS. Factor 5 includes a discussion of the risk




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to the public health as measured by data from NPDS, NSDUH, TEDS, NAVIPPRO, NEDS, and
NIS.

Factor 6 addresses which sectors of the public are most at risk by detailing NSDUH data related
to the demographics of United States individuals meeting criteria for marijuana use disorder,
TEDS data related to the demographics of admission to treatment centers for marijuana use
disorder, NEDS and NIS data on admissions to EDs and hospitals related to a marijuana
poisoning, ToxIC Core Registry for intentional and unintentional exposure, and NPDS data
describing the risks to youth of unintentional exposure to marijuana. The risks to public health
are also detailed through NSDUH data on driving under the influence of marijuana in adults and
high school students. Finally, data are provided regarding the risk of serious AEs and death
associated with nonmedical use/use of uncertain intent of marijuana as reported to FAERS,
CAERS, NVSS-M, DIM, DAWN, FDA’s Sentinel Distributed Database System, and CMS.

This review uses sources of data on overdose, healthcare encounters for poisoning, and AEs that
do not specify whether the person affected was using marijuana or any of the comparator
substances for medical or nonmedical reasons. As a result, overdose death, healthcare
encounters for poisoning, and spontaneously reported AEs involving marijuana or other
substances are described as “use of uncertain intent” when the intent of use cannot be
determined.

Epidemiology of Risk Posed by Marijuana to Public Health

Demographics of Marijuana Use Disorder

NSDUH data from 2021 show that among those individuals with past-year, marijuana
nonmedical-only use, the prevalence of meeting criteria for marijuana use disorder is highest for
those who are age 12-17 years (44%), even among individuals who used only marijuana for
nonmedical reasons (37%). The data also show that as age increases, the prevalence of
marijuana use disorder coinciding with nonmedical use of marijuana decreases in a linear
fashion, depending on whether nonmedical marijuana use is examined overall or as a single
substance: age 18-25 years (39% and 29%, respectively), age 26-34 years (35% and 26%,
respectively), age 35-64 years (23% and 20%), and age 65 years or older (13% and 11%). These
data suggest that the likelihood of being diagnosed with marijuana use disorder is higher if the
individual might have been using other drugs nonmedically in addition to marijuana, compared
to only using marijuana for nonmedical reasons.

TEDS admission data from 2020 show that there were 139,481 admissions for substance use
disorder treatment where marijuana was the primary drug for admission, which represents 10%
of 1.4 million total admissions. Of these admissions for marijuana as the primary drug of
admission, 69% of patients were male. An age analysis of the admissions where marijuana was
the primary drug for admission shows that the age groups accounting for the highest proportion
of admission were ages 35 to 64 years (25%) and 18 to 24 years (24%), followed by the groups
for ages 25-29 years (19%), 12 to 17 years (17%), and 30 to 34 years (15%). There were very
few admissions for those ages 65 years or older (less than 1%). When a further analysis of the
treatment admissions for youth (the 12-17 age group) was conducted compared to other drugs,




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the primary drug of admission was marijuana/hashish for the vast majority of admissions (69%),
with alcohol as the second most frequent primary drug of admission (9%). The comparator
drugs heroin, cocaine, and benzodiazepines were each the primary drug of admission in ~1% of
admissions, with the category of “other drugs” as primary drug of admission accounting for 6%
of admissions. A primary drug of admission was not reported in 13% of admissions.

Risk of ED Visit and Hospitalization from Marijuana Poisonings

Data from the NEDS and NIS databases for 2016 to 2020 show that marijuana poisonings in the
United States resulted in ED visits ranging from 29,050 to 49,357 visits per year and
hospitalizations ranging from 12,940 to 18,470 per year. Although most ED visits involving
marijuana poisoning were for marijuana as a single substance, most hospitalizations involving
marijuana poisoning involved at least one additional substance.

When the NEDS database is evaluated for 2020 numbers of ED visits involving poisoning from a
single substance, heroin had the highest number of cases (n = 18,440), followed by
benzodiazepines (n = 10,427), marijuana (n = 7,880), alcohol (n = 5,035), and cocaine (n =
2,850). When utilization-adjusted rates of ED visits involving single-substance poisoning were
calculated per 100,000 individuals who reported any past-year use in NSDUH in 2020, heroin
had the highest rate (n = 8,661), followed by benzodiazepines (n = 961) and cocaine (n = 240).
The lowest rates were reported for marijuana (n =79) and alcohol (n = 10).

An evaluation of NEDS 2020 data regarding the reason for poisoning involved in an ED visit
with each comparator shows that accidental/unintentional poisoning was the most frequently
reported reason for cocaine (n=29,563), heroin (n=108,862), benzodiazepines (n=42,339),
alcohol (n=25,791), and marijuana (n=32,914). However, for benzodiazepines, poisoning
classified as adverse effects of the drug (n=27,404) was often reported, along with very high
numbers also reported for intentional/self-harm (n=37,389). Also, for alcohol, intentional/self-
harm was also reported at a relatively high number (n=7,808). For cocaine, heroin, and
marijuana, poisonings classified as intentional/self-harm, assault, and undetermined intent
occurred in fewer cases (n=less than 5,000 for each substance and respective intent).
When the NIS database is evaluated for 2020 estimated numbers of hospitalizations involving
poisoning from a single substance, benzodiazepines had the highest estimated number of
hospitalizations as a single substance (n=19,420), followed by alcohol (n=7,380), heroin
(n=7,085), cocaine (n=7,065), and marijuana (n=5,240). When utilization-adjusted rates of
hospitalizations involving single-substance poisoning were calculated per 100,000 individuals
who reported any past-year use in NSDUH in 2020, heroin had the highest rate (757
hospitalizations per 100,000 individuals), followed by cocaine (145 hospitalizations per 100,000
individuals), and benzodiazepines (73 hospitalizations per 100,000 individuals). The lowest
rates were reported for marijuana (11 hospitalizations per 100,000 individuals) and alcohol (4
hospitalizations per 100,000 individuals).

The disposition at discharge from hospitalization after single substance drug poisoning was also
evaluated, showing that the largest estimated number of hospitalizations for each comparator
were “routine” (discharge to home or self-care) for benzodiazepines (n=9,345), alcohol
(n=5,020), cocaine (n=4,715), marijuana (n=4,315), and heroin (n=4,140). Transfers to skilled




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nursing facility, intermediate care facility was the second most frequent discharge disposition for
benzodiazepines (n=5,810) and alcohol (n=955), and the third most frequent discharge
disposition for cocaine (n = 630). Discharge to home health care was the third most frequent
discharge disposition for marijuana (n=270) and heroin (n=145). Those cases where the
individual left the hospital against medical advice were small for benzodiazepines (n = 580) and
alcohol (n=690) but were the second most frequent discharge disposition for heroin (n=1,445),
cocaine (n=695), and marijuana (n=365). For hospitalizations involving poisoning as a single
substance that resulted in death at discharge, the largest numbers were from heroin (n=590) and
cocaine (n=550), with smaller numbers for benzodiazepines (n=365) and alcohol (n=135). The
number for marijuana could not be calculated because statistics representing fewer than 10
hospitalizations were suppressed. When utilization-adjusted rates per 100,000 individuals who
reported any past-year use in NSDUH in 2020 were calculated for hospitalizations involving
poisoning as a single substance that resulted in deaths, the highest rates were from heroin (63
hospitalizations per 100,000 individuals) and cocaine (11 hospitalizations per 100,000
individuals), with very small numbers for benzodiazepines (1 hospitalizations per 100,000
individuals) and alcohol (n=less than 1 hospitalizations per 100,000 individuals). Utilization-
adjusted rates per 100,000 individuals who reported any past-year use in NSDUH in 2020 could
not be calculated for marijuana because statistics representing fewer than 10 hospitalizations
were suppressed.

Toxicology Investigators Consortium Core Registry

The ToxIC Core Registry comprises over 50 locations throughout the United States, with several
international locations also participating. The majority of active United States medical
toxicology practices and accredited medical toxicology fellowship programs are participating
locations. All cases entered into the ToxIC Core Registry represent a patient that has been
formally evaluated and treated by a medical toxicology physician as part of their medical care at
a participating center (American College of Medical Toxicology).

A search of the ToxIC Core Registry from January 1, 2012, to July 31, 2022, yielded 829 single-
substance, marijuana-containing product exposure cases. The majority of cases involved
individuals ages 19 to 65 (n=277) or 6 years and younger (n=277). Intentional ingestion was
described in 427 cases, of which 290 involved misuse/abuse, 17 cases involved therapeutic
intent, and 120 cases had no additional information. Unintentional ingestion was described in
342 cases, of which 309 cases were in children aged 13 years or younger.

From the 829 marijuana cases in the ToxIC Core Registry, 575 involved acute exposure and 145
involved chronic exposure. A majority of cases in the ToxIC Core Registry had no
major/notable vital sign abnormalities (n=552 (67%)); the most frequently reported vital sign
abnormality was tachycardia (n=103). Furthermore, a majority of cases in the ToxIC Core
Registry exhibited no toxidrome (n=511 (62%)), whereas the most frequently reported toxidrome
was sedative-hypnotic (n=105). Of the 829 marijuana cases, 499 (60%) resulted in admission to
a hospital; of the 499 hospital admissions, 202 (40%) were admitted to a critical care unit. An
additional 320 cases received medical care in an ED or observation unit and were not
hospitalized. Notably, ToxIC Core Registry cases represent patients who were formally
evaluated and treated by a medical toxicology physician as part of their care at a participating




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medical center. It is possible that patients who had formal toxicologist consultation had a more
complicated or severe clinical presentation following cannabis ingestion than usually expected,
which could contribute to the high rate of hospital and critical care unit admissions among ToxIC
Core Registry cases.

The ToxIC Core Registry had two cases involving marijuana-containing product exposure with
an outcome of death. Both fatal cases involved the inhalational route of exposure to a non-
pharmaceutical product (a substance other than an approved medication) in the setting of
intentional misuse/abuse. One of the two deaths involved acute exposure in a 16-year-old boy
who had life support withdrawn. The other death involved chronic exposure in a 21-year-old
man with vaping-induced pulmonary injury.

Risks from Unintentional-General Exposure to Marijuana

NPDS data provide information about unintentional-general exposures to a drug, out of the total
number of PC cases for that drug during the period of 2015 to 2021. NPDS states that most
unintentional exposures in children should be coded as “unintentional-general” (e.g., a child
obtaining a drug from a grandparent’s prescription bottle). The highest numbers of
unintentional-general exposure cases in relation to total PC cases were for benzodiazepines
(n=40,085 out of 440,030) and alcohol (n=22,350 out of 370,118). Marijuana had the third
highest number of unintentional-general exposure cases (n=15,301 out of 63,645), with all other
comparator cases documenting fewer unintentional-general exposures (hydrocodone (n=10,455
out of 106,934), oxycodone (n=9,769 out of 99,534), tramadol (n=8,453 out of 67,582),
zolpidem (n=5,604 out of 71,575), cocaine (n=1,298 out of 37,538), heroin (n=1,066 out of
52,713), illicit fentanyl (n=186 out of 5,085), and ketamine (n=106 out of 2,096)).

When a utilization-adjusted rate for 2021 was calculated by dividing the unintentional-general
exposure case data from NPDS by the number of individuals ages 12 years and older with any
past-year use from NSDUH, the highest rates of unintentional-general exposure per one million
people were observed for benzodiazepines (rate=146 cases per one million people with any past-
year use) and heroin (rate=127 cases per one million people with any past-year use), followed by
marijuana (rate=98 cases per one million people with any past-year use), zolpidem (rate=66
cases per one million people with any past-year use), ketamine (rate=59 cases per one million
people with any past-year use), cocaine (rate=52 cases per one million people with any past-year
use), oxycodone (rate=52 cases per one million people with any past-year use), tramadol
(rate=46 cases per one million people with any past-year use), hydrocodone (rate=25 cases per
one million people with any past-year use), and alcohol (rate=18 cases per one million people
with any past-year use).

Marijuana had the highest percent of PC unintentional-general exposure cases as a single
substance (92%). Oxycodone, alcohol, hydrocodone, tramadol, zolpidem, and benzodiazepines
ranged from 72-76% as the percent of unintentional-general exposure cases to that drug as a
single substance, while heroin, fentanyl, ketamine, and cocaine ranged from 54-68% as the
percent of unintentional-general exposure cases to that drug as a single substance.




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The number of unintentional-general cases in children <=12 years was greater for marijuana
(n=12,757) than for most comparator substances (n=27 to 7,731), apart from alcohol (n=14,753)
and benzodiazepines (n=30,021). A similar pattern was observed for children <6 years where
the number of unintentional-general cases was greater for marijuana (n=10,636) than for most
comparator substances (n=25 to 7,499), apart from alcohol (n=13,971) and benzodiazepines
(n=28,962).

Among single-substance unintentional-general exposure cases, ingestion was the predominant
exposure route for children 6 years of age or younger, as well as for children aged 6 to 12 years,
for marijuana (93% to 97%) and for the other comparators with at least 10 cases (65 to 100%).

Among United States PC cases from 2015 to 2021 involving unintentional-general exposure to
marijuana as a single substance by children under 6 years old, the most frequently documented
related clinical effects, based on severity, timing, and assessment of clinical effects, were CNS
depression (mild/moderate) (82%), vomiting (10%), and tachycardia (10%).

Finally, the ToxIC Core Registry contains cases of unintentional exposure to marijuana-
containing products in pediatric patients. Of the 829 ToxIC Core Registry cases involving
single-substance, marijuana-containing product exposure with uncertain intent, 342 (41%)
involved unintentional ingestion. Of the 342 cases of unintentional ingestion, 309 (90%) were in
pediatric patients less than 13 years of age.

Risk of Driving Under the Influence of a Drug

NSDUH data from 2021 were examined to evaluate the prevalence of reported driving under the
influence of marijuana, alcohol, cocaine, or heroin over the past year in individuals ages 16 years
and older. The prevalence of driving under the influence of a drug when all individuals over the
age of 16 are combined was 4% for marijuana and 5% for alcohol, with less than 1% for cocaine
and for heroin.

When the NSDUH data are evaluated by age cohorts, the highest prevalence for driving under
the influence of marijuana was in individuals who were age 21 to 25 (10%), followed by
individuals aged 26-34 (7%), aged 16 to 20 (6%), aged 35 to 64 (3%) and aged 65 and older
(1%). An age cohort analysis for alcohol showed the highest prevalence for driving under the
influence in individuals aged 21 to 25 (8%), followed by individuals aged 26 to 34 (7%), aged 35
to 64 (6%) and ages 16 to 20 and 65 and older (both 3%).

Additional information about driving under the influence is provided by the YRBSS, which
provided data on high school students, aged 16 years and older in 2017 (the year for which
comparative data for marijuana and alcohol were available). Among individuals who reported
driving in the past month and who also reported using marijuana in the past month, 53% reported
driving under the influence of marijuana at least once, 21% of whom did so at least six times in
the past month. In contrast, among individuals who reported driving in the past month and who
also reported using alcohol in the past month, 16% reported driving under the influence of
alcohol.




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Adverse Events Associated with Marijuana Use Reported to FDA

FAERS is a database that contains adverse event reports, medication error reports, and product
quality complaints submitted to FDA and is designed to support FDA’s postmarket safety
surveillance program for drug and therapeutic biological products. The informatic structure of
the database adheres to the international safety reporting guidance issued by the International
Council on Harmonisation (US Food and Drug Administration). The CAERS database contains
information on adverse event and product complaint reports submitted to FDA for foods, dietary
supplements, and cosmetics (US Food and Drug Administration). Separate from their purpose of
supporting the safety of FDA-regulated products, the FAERS and CAERS databases contain
voluntary reports involving unapproved products (e.g., marijuana) submitted to FDA directly
from healthcare professionals, consumers, and other reporters. FDA does not require that a
causal relationship between a product and event be proven; furthermore, reports do not always
contain adequate information to assess the causal relationship between an event and a
drug/substance. Because FDA does not receive reports for every adverse event or medication
error that occurs with a product, FAERS/CAERS data cannot be used to calculate the incidence
of an adverse event or medication error in the United States population.

A search of the FAERS and CAERS databases from January 1, 2012, to October 31, 2022,
yielded 133 cases describing AEs or quality/labeling complaints involving marijuana-containing
products directly reported to FDA. An additional 11 cases had an outcome of death and listed a
marijuana-containing product; of these 11 death cases, 2 were attributed to another cause, 8 had
insufficient information to assess the causal role of marijuana, and 1 case narrative did not
describe an outcome of death (i.e., was likely miscoded). Therefore, the 11 fatal cases were not
included in the separate analysis of the 133 cases involving a marijuana-containing product.

From 2012 to 2018, fewer than 10 cases per year involving marijuana were reported to FDA’s
FAERS/CAERS databases; similarly, in 2020, 2021, and the first 10 months of 2022, between 10
and 20 cases involving marijuana were reported each year. However, in 2019, FDA received 66
cases involving marijuana-containing products; of the 66, a total of 61 involved vape products.
Notably, of 84 total cases involving vape products, 61 were received in 2019. The majority of
marijuana cases (n=103) involved individuals who were ages 19 to 65 years (n=78) or 13 to 18
years (n=25).

Of 133 marijuana cases in FAERS and CAERS, 92 had one or more serious outcomes, including:
hospitalization (n=54), life-threatening (n=28), required medical intervention (n=21), disability
(n=15), or other serious outcome (n=35); in addition to the 54 hospitalizations, 17 cases
described an ED visit.

Of the 133 marijuana cases in FAERS and CAERS, 127 described an adverse event; 10 or more
of these 127 cases were coded with terms describing the following events: difficulty breathing
(n=29), cough (n=14), nausea (n=14), seizure (n=13), fever (n=11), chest pain (n=10), loss of
consciousness (n=10), respiratory disorder (n=10), and vomiting (n=10).




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National Vital Statistics System-Mortality and Drug-Involved Mortality

NVSS-M contains information on United States death certificates that contain a single,
underlying cause of death, up to twenty multiple causes, and demographic data. The underlying
cause of death indicated the injury intent (e.g., accident, suicide, undetermined) and whether the
cause was drug-induced (CDC, 2021c). DIM data consist of NVSS‐M data linked to the literal-
text fields in the death certificate containing information written by the official certifying the
death, including the cause of death, manner, and circumstances. Any drug mentioned in a literal
text field is assumed to be involved in the death unless contextual information indicates
otherwise (CDC, 2018). DIM data provide information about drug-involved mortality at the
level of the active ingredient such that the selected comparators could be evaluated, but the data
have not recently been updated.

Over a 10-year period (2012 to 2021) the total number of overdose deaths involving marijuana
was much lower than that of most comparators. Fentanyl had the highest total number of
overdose deaths (n=258,785) followed by cocaine (n=119,208), heroin (n=118,992), and
benzodiazepines (87,581). Alcohol had a much lower number of overdose deaths (n=10,484),
with marijuana producing the lowest number of overdose deaths (n=5,957). Polysubstance
deaths were common. Overall, 5% or less of overdose deaths involving marijuana and most
comparators documented were single substance, with the exception of alcohol (13%).

A slightly different rank order of the comparators was seen when overdose deaths in NVSS-M
were evaluated in the same period for single substances: fentanyl had the highest total number of
overdose deaths, as a single substance (n=12,843), followed by those for heroin (n=6,078),
cocaine (n=2,774), alcohol (n=1,338), and benzodiazepines (n=277), with marijuana producing
the lowest number of overdose deaths as a single substance (n=160). When utilization-adjusted
single-substance overdose death rates were calculated per 100,000 individuals who reported any
past-year use in NSDUH in 2020 (the most recent year for which data on marijuana as a single
substance in NVSS-M were not suppressed due to small death counts), the drug with the highest
rate is heroin (22.22 deaths per 100,000 people who reported past-year use), followed by cocaine
(4.79 deaths per 100,000 people who reported past-year use). The utilization-adjusted single-
substance overdose death rates were especially low for benzodiazepines (0.14 deaths per 100,000
people who reported past-year use) and alcohol (0.08 deaths per 100,000 people who reported
past-year use), with marijuana producing the lowest rate (0.04 deaths per 100,000 people who
reported past-year use). Utilization-adjusted estimates of illicit fentanyl use were not available
as past-year use of illicit fentanyl is not captured by NSDUH.

When DIM data from 2017 (the latest year for which data are available for comparators) are
evaluated as total overdose deaths and as single-substance overdose deaths, as mentioned in the
death certificate literal text as contributing to the death, fentanyl had the highest number of total
and single substance overdose deaths (n=27,028 and 6,057, respectively), followed by heroin
(n=15,831 and 2,660, respectively) cocaine (n=14,796 and 2,987), and benzodiazepine
(n=10,375 and 512, respectively). Oxycodone (n=5,386 and 695, respectively), hydrocodone
(n=2,588 and 275, respectively), and tramadol (n=1,078 and 120, respectively) had the next
highest total and single substance overdose deaths reported, with zolpidem (n=434 and 13,
respectively), marijuana (n=202 and 12, respectively), and ketamine (n=69 and 7, respectively)




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showing the lowest rates of overdose deaths. When utilization-adjusted total overdose death
rates were calculated for total single substance overdose deaths per 100,000 individuals who
reported any past-year use in NSDUH in 2017, heroin had the highest rate (1733 per 100,000
individuals), followed by cocaine (249 per 100,000 individuals), benzodiazepines (179 per
100,000 individuals), oxycodone (142 per 100,000 individuals), tramadol (63 per 100,000
individuals), zolpidem (48 per 100,000 individuals), and hydrocodone (42 per 100,000
individuals). Marijuana had the lowest utilization-adjusted rate (0.5 per 100,000 individuals).

Drug Abuse Warning Network Surveillance System

DAWN is a public health surveillance system administered by SAMHSA that provides
nationally representative estimates on ED visits related to recent substance use and misuse by
reviewing all electronic health records from the EDs of non-federal, short-stay, general surgical
and medical hospitals located in the United States. DAWN uses a hybrid design of sentinel
hospital-based surveillance (i.e., large urban hospitals located in counties with high counts and
rates of morbidity and mortality due to opioid, cocaine, and stimulant overdose) and probability
sample-based surveillance (stratified random sampling method) to select a sample of 53 hospitals
as well as a non-probability sample of 13 hospitals that were located in areas highly affected by
drug overdoses (SAMHSA, 2022a).

An evaluation of the 2021 estimated number of ED visits in DAWN where the specific drug was
a direct cause (e.g., overdose) or a contributing factor (e.g., injury) show a wide range of ED
visits between comparator drugs, where alcohol (n = 2,996,516) represents the greatest estimated
number of ED visits, followed to a much lesser degree by marijuana (n = 804,285), heroin (n =
506,355), cocaine (n = 342,770), and fentanyl (n = 123,563). The utilization-adjusted rate of
2021 ED visits in DAWN per 100,000 individuals who reported any past-year use in NSDUH in
2020 also show a different rank order between the comparators, where heroin (46,281 ED visits
per 100,000 people who reported past-year use) represents the highest rate, followed to a much
lesser degree by cocaine (7,119 ED visits per 100,000 people who reported past-year use) and
alcohol (1,715 ED visits per 100,000 people who reported past-year use), with marijuana (1,529
ED visits per 100,000 people who reported past-year use) showing the lowest rate. Data for any
past-year use of illicit fentanyl were not available in NSDUH.

When an age evaluation was conducted on DAWN data for all ED visits in 2020, the largest
estimated total number and percentage of ED visits were reported for individuals aged 26-44
years for all comparators, where alcohol (n=1,213,589; 41%) had the highest numbers, followed
to a much lesser degree by marijuana (n=362,250; 45%), heroin (n=290,293; 57%), cocaine (n =
155,858; 46%), and fentanyl (n=77,375; 63%). The total number and percentage of ED visits
was second highest for individuals aged 45-64 years for three comparators: alcohol
(n=1,168,342; 39%), heroin (n=152,160; 30%), cocaine (n=132,892; 39%), while this age group
was third highest for marijuana (n=132,305; 17%) and fentanyl (n=18,127; 15%). For
individuals aged 18 -25, this age group was second highest for total number and percentage of
ED visits for marijuana (n=215,307; 27%) and fentanyl (n=20,722; 17%) and third highest for
alcohol (n=299,951; 10%), heroin (n=40,964; 8%), cocaine (n=32,974; 10%). After adjusting for
the U.S. resident population in each age group, the 18- to 25-year-old age group had the highest
estimated rate of ED visits involving marijuana (626 ED visits, per 100,000 U.S. resident




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population). For each comparator, the population-adjusted rate of ED visits was highest among
26- to 44-year-olds.

When an analysis was conducted on ED visits from the 13 participating hospitals from areas
highly affected by drug overdoses between March to December 2021, the highest number of ED
visits involved alcohol (n=31,458), with lower numbers for ED visits involving marijuana
(n=6,368), cocaine (n=5,440), heroin (n=3,499), and fentanyl (n=3,064). When the proportion of
these ED visits were calculated on the basis of single substance (i.e., visits in which the medical
record documented only that substance as involved in the adverse event), the proportion was
highest for alcohol (78%), followed by heroin (44%), with similar proportions for fentanyl
(38%), marijuana (37%), and cocaine (35%).

FDA’s Sentinel Distributed Database System

FDA’s Sentinel System is an active surveillance system for post-marketing medical product
safety that uses administrative claims data from three national health insurers (Aetna, Humana
Inc., and Optum) and six regional integrated delivery systems (Health Partners, Kaiser
Permanente Colorado, Kaiser Permanente Hawaii, Kaiser Permanente Northwest, Kaiser
Permanente Washington, and Marshfield) that contribute to the Sentinel Distributed Database
(FDA, 2023a, 2023b, 2023c, 2023d). Administrative billing ICD-10-CM codes as a result of
healthcare encounters (inpatient, outpatient/ED visit, or institutional stay) that documented
poisoning involving marijuana, cocaine, alcohol, heroin, or benzodiazepines were used for the
evaluation.

From April 2016 to June 2022, the greatest number of healthcare encounters (i.e., inpatient,
outpatient, ED, or institutional) in the Sentinel Distributed Database were for benzodiazepine
poisonings that involved 63,074 encounters in a total of 39,864 unique patients (1.6 encounters
per individual). The next highest number of healthcare encounters were 25,272 encounters
involving heroin poisonings in a total of 15,707 unique patients (1.6 encounters per individual),
17,961 encounters involving marijuana poisonings in a total of 14,668 unique individuals,
representing 1.2 encounters per individual, 15,599 encounters involving alcohol poisonings in a
total of 11,891 unique individuals (1.3 encounters per individual), and 9,062 encounters
involving cocaine poisonings in a total of 6,382 unique individuals (1.4 encounters per
individual).

The Sentinel Distributed Database shows that for encounters involving marijuana poisonings, the
mean age of the individuals was 35 years and 53% were male. Individuals with encounters
involving marijuana poisoning often had prior encounters with diagnoses of chronic pain (30%),
anxiety disorders (27%), depression (20%), nausea (20%), hypertension (17%), marijuana-
related disorders (14%), alcohol-related disorders (6%), and opioid-related disorders (5%).

For encounters involving heroin poisonings, the mean age of the individuals was 35 years and
68% were male. Individuals with encounters involving heroin poisonings frequently had prior
encounters with a diagnosis of nicotine use/vaping (43%), opioid-related disorders (47%),
alcohol-related disorders (20%), marijuana-related disorders (18%), and cocaine-related
disorders (15%) as well as of depression (32%), chronic pain (34%), and sleep disorders (18%).




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For encounters involving alcohol poisonings, the mean age of the individuals was 40 years and
53% were male. Individuals with encounters involving alcohol poisoning frequently had prior
encounters with a diagnosis of anxiety disorder (40%), chronic liver disease (10%), depression
(38%), hypertension (28%), nicotine/vaping use (30%), sleep disorders (19%), alcohol-related
disorders (37%), marijuana-related disorders (6%), and opioid-related disorders (8%).

For benzodiazepine encounters, the mean age of the individuals was 42 years and, 62% were
female. Individuals with encounters involving benzodiazepine poisonings frequently had prior
encounters with a diagnosis of chronic pain (48%), anxiety disorders (61%), depression (50%),
hypertension (32%), sleep disorders (30%), alcohol-related disorders (15%), and opioid-related
disorders (14%).

For cocaine encounters, the mean age was 40 years and 70% were male. Individuals with
encounters involving cocaine poisonings had evidence of prior encounters with a diagnosis of
nicotine use/vaping (39%), cocaine-related disorders (24%), opioid-related disorders (20%),
alcohol-related disorders (19%), marijuana-related disorders (12%) as well as of depression
(29%), chronic pain (38%), and sleep disorders (20%).

Individuals with encounters involving marijuana poisoning were slightly younger than those with
encounters involving cocaine, alcohol, or benzodiazepine poisoning and similar in age to those
with encounters involving heroin poisoning. They appeared to be less likely than individuals
with encounters for poisonings involving the selected federally controlled substances or alcohol
to have a diagnosis in the 6 months prior to the index event for certain psychiatric conditions
(anxiety, depression, psychotic disorders, PTSD, sleep disorders), and non-acute pain. They also
were less likely than individuals with encounters for poisonings involving the selected federally
controlled substances or alcohol to have a diagnosis of nicotine use/vaping. However, the
relatively low frequency of chronic respiratory diseases in this group might represent a biased
underestimate of nicotine use/vaping, since tobacco use, which is generally not well captured in
claims data, is even less likely to be captured among patients who do not have respiratory
diseases. Other substance-related disorders, except for marijuana-related disorders, were also
less common among individuals with encounters involving marijuana poisoning than for those
with encounters for poisonings involving the selected federally controlled substances or alcohol.

CMS Medicare

Medicare is a national health insurance program administered by the CMS that provides
healthcare coverage for people aged 65 years or older, as well as those who qualify because of a
disability and/or end-stage renal disease (ESRD) regardless of age (CMS, 2021, 2023). The
study populations were comprised of beneficiaries with continuous enrollment in Medicare Fee-
For-Service (FFS) or Medicare Advantage (MA) in the 183 days prior to the first day of each
calendar year and through the full calendar year or through the date of death (if they died during
that year). The populations did not include beneficiaries residing in a nursing home for more
than 100 days and those ages 18-64 years with ESRD in the 183 days prior to the index date.
Billing codes from the ICD-10-CM were used to define the outcomes of interest as the first
calendar-year occurrence of a given medical encounter (outpatient/professional services, ED




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visit, or hospitalizations) related to poisoning by or adverse effect of marijuana, cocaine, alcohol,
heroin, or benzodiazepines. The main measure of interest was the rate of medical encounters
involving poisonings in the relevant study population for a given calendar year.

The study included a total of 63,161,236 unique beneficiaries of Medicare FFS or MA during
2017 to 2021. A total of 26,214 (0.04%) FFS or MA beneficiaries had one or more encounters
involving marijuana poisoning, 22,071 (0.03%) had one or more encounters involving cocaine
poisoning, 25,657 (0.04%) had one or more encounters involving alcohol poisoning, 201,772
(0.32%) had one or more encounters involving benzodiazepine poisoning, and 36,454 (0.06%)
had one or more encounters involving heroin poisoning.

Over half (53.6%) of healthcare encounters involving marijuana poisonings among Medicare
FFS beneficiaries and nearly half (47.1%) of such encounters among Medicare MA beneficiaries
occurred in individuals ages <65 years. As such, the mean age of Medicare beneficiaries with
healthcare encounters involving marijuana poisonings was younger than the overall Medicare
population (mean age (SD): 58.8 (16.6) years vs 69.7 (11.8) years in FFS; mean age (SD): 62.3
(14.0) years vs 70.2 (10.2) years in MA). The proportion of African American/Black race was
higher among Medicare beneficiaries with healthcare encounters involving marijuana poisonings
than among the overall Medicare population (14.7% vs 9.1% in FFS; 19.1% vs 13.0% in MA), as
was the proportion of low-income beneficiaries enrolled in both Medicare and Medicaid (46.8%
vs 17.6% in FFS; 42.9% vs 20.2% in MA). Also, among Medicare beneficiaries with healthcare
encounters involving marijuana poisonings, certain psychiatric and chronic medical conditions
were noted in the 6-month period before the encounter of interest to a greater extent than among
the overall Medicare population; these conditions included opioid-, nicotine-, alcohol-,
marijuana-, and cocaine-related disorders as well as opioid, marijuana, and benzodiazepine
poisonings.

Beneficiaries with healthcare encounters involving marijuana poisonings had a similar age as
those with alcohol poisonings, were younger than those with benzodiazepine poisonings, and
older than those with cocaine and heroin poisonings. Beneficiaries with healthcare encounters
involving cocaine and heroin poisonings had a higher proportion of documented cases of opioid,
nicotine, alcohol, cocaine, and other substance-related disorders than those with encounters
involving marijuana poisonings.

Annual rates per 100,000 beneficiaries of healthcare encounters involving marijuana poisonings
in the population ages ≥65 years were very low, with the highest rate (7.2 per 100,000
beneficiaries) in 2019 and 2021; for disabled beneficiaries ages <65 years, the highest rate (46.7
per 100,000 beneficiaries) was recorded in 2019.

Annual rates per 100,000 beneficiaries of healthcare encounters involving cocaine poisonings
were also very low and ranged from 2.3 to 3.7 per 100,000 beneficiaries ages ≥65 years from
2017 to 2021, respectively. For disabled beneficiaries ages <65 years, rates of encounters
involving cocaine poisonings appear to follow a downward trend, ranging from 55.7 to 51.5 per
100,000 beneficiaries, with the lowest rate (47.8 per 100,000) in 2020.




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Annual rates per 100,000 beneficiaries of healthcare encounters involving alcohol poisonings
were also in the same range as rates of marijuana and cocaine poisoning encounters for each of
the two populations, with a suggestion of downward trend. During the 2017–2021 study period,
rates of alcohol poisoning encounters among beneficiaries ages ≥65 years went from 6.8 to 5.4
per 100,000 beneficiaries while rates for the disabled population ages <65 years ranged from
55.4 to 30.6 per 100,000 beneficiaries.

Similarly, in the disabled population ages <65 years, annual rates per 100,000 beneficiaries for
heroin poisoning encounters showed a downward trend with 115.6 per 100,000 beneficiaries in
2017 and 90.8 per 100,000 in 2021; rates among beneficiaries ages ≥65 years ranged from 3.9 to
5.4 per 100,000 beneficiaries.

Finally, annual rates per 100,000 beneficiaries of healthcare encounters for benzodiazepine
poisonings showed a substantial decreasing trend with rates going from 71.7 to 46.2 per 100,000
beneficiaries ages ≥65 years and from 349.3 to 200.8 per 100,000 beneficiaries in the disabled
population ages <65 years.

Conclusions

The risks to the public health posed by marijuana are low compared to other drugs of abuse (e.g.,
heroin, cocaine, benzodiazepines), based on an evaluation of various epidemiological databases
for ED visits, hospitalizations, unintentional exposures, and most importantly, for overdose
deaths. The rank order of the comparators in terms of greatest adverse consequences typically
places heroin, benzodiazepines and/or cocaine in the first or immediately subsequent positions,
with marijuana in a lower place in the ranking, especially when a utilization adjustment is
calculated. For overdose deaths, marijuana is always in the lowest rankings among comparator
drugs. These evaluations demonstrate that there is consistency across databases, across
substances, and over time and that although abuse of marijuana produces clear evidence of a risk
to public health, that risk is relatively lower than that posed by most other comparator drugs.
However, as noted above in Factor 1a, there are limitations in comparing descriptive data on
adverse outcomes across drugs.


FACTOR 7. ITS PSYCHIC OR PHYSIOLOGIC DEPENDENCE LIABILITY

Under the seventh factor, the Secretary must consider the psychic or physiologic dependence
liability of marijuana.

Psychic Dependence

The term “psychic or psychological dependence” has been used to convey a similar state to that
of addiction (O'Brien, 1996). For diagnosis purposes, the DSM-V has combined “abuse” and
“drug dependence” (i.e., addiction) previously specified in the DSM’s Fourth Edition into a
single “substance use disorder," which may occur in a broad range of severity, from mild to
severe (Hasin et al., 2013).




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The abuse potential of a drug can be assessed, in part, by evaluating the rewarding effects
produced by that drug in humans and animals (Rastegar & Fingerhood, 2020). As described in
Factor 2, rodent behavioral studies show that ∆9-THC (the primary compound in marijuana that
is responsible for its abuse potential) produces both self-administration and conditioned place
preference. These results demonstrate that ∆9-THC has rewarding properties that are indicative
of abuse potential. As described in Factor 5, there is ample epidemiological evidence that
marijuana is self-administered by humans because of its ability to produce rewarding
psychological effects, such as euphoria.

In some individuals, extensive use of marijuana can lead to a substance use disorder. In the
DSM-5, Cannabis Use Disorder (CUD) shares diagnostic criteria common to substance use
disorders for other drugs of abuse. In general, substance use disorders listed in the DSM-5 are
defined by an inability to cease drug use despite harmful consequences (American Psychiatric
Association, 2013; Connor et al., 2021). Estimates of CUD in regular individuals who use
marijuana vary and range from about 10-20% (Connor et al., 2021; Leung et al., 2020). This is
similar to data from the United States National Comorbidity Study, which showed that 9% of
lifetime cannabis users met the DSM’s Third Edition, Revised criteria for dependence at some
time in their life, compared to 32% of tobacco users, 23% of opiate users, and 15% of alcohol
users (Anthony et al., 1997). The National Epidemiologic Survey on Alcohol and Related
Conditions also reported that there was a 9% lifetime cumulative probability of transitioning
from marijuana use to dependence, with a higher risk of dependence in individuals with a history
of psychiatric or substance dependence comorbidity (Lopez-Quintero et al., 2011). In the United
States, data from the 2020 NSDUH show that ~14 million individuals (5.1%) aged 12 or older
who use marijuana or other cannabinoid preparations met criteria for CUD.

Individuals who develop a substance use disorder, including CUD, may seek treatment for the
disorder. From 2015 to 2020, TEDS documented approximately 10.8 million treatment-episode
admissions reported by individuals treated at publicly funded substance use treatment programs.
Out of 1.4 million treatment admissions documented by TEDS in 2020, marijuana was reported
as the primary substance of abuse in approximately 10% of admissions, making it the third most
frequently reported primary substance of abuse, after alcohol (31.2%) and heroin (20.6%). A
similar pattern was seen from 2015-2019 for these three substances.

During 2015 to 2020, the proportion of admissions where marijuana was reported as the primary
substance of abuse declined each year from 14% in 2015 to 10% in 2020. The data for heroin
and alcohol show a similar reduction over time. The proportion of admissions where heroin was
reported as the primary substance of abuse was ~26% from 2015-2018, decreasing to 23% in
2019 and further decreasing to 21% in 2020. For admissions where alcohol was reported as the
primary substance of abuse, the proportion of admissions for this substance decreased each year
from 33% in 2015 to 30% in 2018 before increasing slightly to 31% in 2019 and 2020. In
contrast, the proportion of admissions where cocaine was reported as the primary substance of
abuse stayed stable from 2015 to 2020 at 5-6% each year, while a similar pattern of stable
admission data over time was seen for benzodiazepines (~1% from 2015-2020).

In conclusion, the animal behavioral data show that ∆9-THC produces rewarding properties that
underlie the abuse potential of marijuana. Epidemiological data demonstrate that some



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individuals who use marijuana for its rewarding properties go on to develop CUD, which shows
that marijuana can produce psychological dependence. Among those individuals who seek
treatment for a substance use disorder (psychological dependence) on a drug of abuse, treatment
for CUD (psychological dependence on marijuana as the primary substance of abuse) was the
third most frequently reported reason for admission for treatment. Thus, marijuana can produce
psychic dependence in some individuals who use the drug.

Physical Dependence

Physical dependence is a state of adaptation, manifested by a drug-class specific withdrawal
syndrome produced by abrupt cessation, rapid dose reduction, decreasing blood level of the drug,
and/or administration of an antagonist. Although physical dependence is often associated with
addiction, it can be produced by repeated administration of drugs both with and without abuse
potential.

As described in Factor 2, ∆9-THC (the primary compound responsible for the abuse potential of
marijuana) is an agonist at CB1 receptors. When marijuana (or isolated ∆9-THC) is administered
chronically, there is a down-regulation of CB1 receptors, which leads to behavioral tolerance
(Gonzalez et al., 2005; Lichtman & Martin, 2005). The underlying mechanism for marijuana
withdrawal appears to be the uncoupling and/or desensitization of CB1 receptors that precedes
receptor down-regulation (Breivogel et al., 2003). Abrupt discontinuation of marijuana after
prolonged administration produces withdrawal symptoms in rats and in humans that are typically
opposite to those that occur with activation of the CB1 receptor (Budney et al., 2004; Haney et
al., 2005). Precipitated withdrawal can also be induced with administration of CB1 antagonists
following chronic administration (Lichtman et al., 2001; Wilson et al., 2006), while
administration of CB1 agonists can attenuate some withdrawal symptoms associated with
marijuana discontinuation (Allsop et al., 2014; Haney et al., 2008; Haney et al., 2004; Trigo et
al., 2016). These data confirm the importance of the CB1 receptor in marijuana physical
dependence.

The occurrence of withdrawal symptoms in individuals who use marijuana who only use the
drug occasionally has not been established (Budney & Hughes, 2006). However, in heavy,
chronic individuals who use marijuana, drug discontinuation can lead to a withdrawal syndrome
(Budney & Hughes, 2006; Haney et al., 1999). Most marijuana withdrawal symptoms begin
within 24-48 hours of drug discontinuation, peak within 2-6 days, and reduce over 1-2 weeks as
∆9-THC levels decline (Connor et al., 2021).

The most commonly reported withdrawal symptoms from clinical investigations are sleep
difficulties, decreased appetite and weight loss, craving, irritability, anger, anxiety or
nervousness, and restlessness (Haney et al., 2008; Haney et al., 2004; Haney et al., 1999;
Vandrey et al., 2008). Less commonly reported withdrawal symptoms include depressed mood,
sweating, shakiness, physical discomfort, and chills (Budney & Hughes, 2006; Haney et al.,
1999). The DSM-V lists symptoms of “cannabis withdrawal” that are similar in scope to those
reported in the experimental studies and include: nervousness or anxiety, irritability or
aggression, insomnia or unpleasant dreams, depressed mood, decreased appetite or weight loss,




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restlessness, abdominal pain, shakiness or tremors, sweating, fever, chills, and headache
(American Psychiatric Association, 2013).

The drug label for Marinol, which contains ∆9-THC (as dronabinol), describes a similar
withdrawal syndrome following repeated drug use and discontinuation in Section 9.3
Dependence:

       "A withdrawal syndrome was reported after the abrupt discontinuation of
       dronabinol capsules in subjects receiving dosages of 210 mg per day for 12 to 16
       consecutive days. Within 12 hours after discontinuation, subjects manifested
       symptoms such as irritability, insomnia, and restlessness. By approximately 24
       hours post-dronabinol discontinuation, withdrawal symptoms intensified to include
       “hot flashes”, sweating, rhinorrhea, loose stools, hiccoughs, and anorexia. These
       withdrawal symptoms gradually dissipated over the next 48 hours.

       Electroencephalographic changes consistent with the effects of drug withdrawal
       (hyperexcitation) were recorded in patients after abrupt dechallenge. Patients also
       complained of disturbed sleep for several weeks after discontinuing therapy with
       high dosages of dronabinol.”

Physical dependence may occur in up to 40-50% of individuals who use marijuana on a regular
basis (Kesner & Lovinger, 2021). A meta-analysis of 23,518 individuals who frequently used
marijuana showed that 47% of subjects reported symptoms of marijuana withdrawal, as
evaluated by standardized scales (Bahji et al., 2020). When the data were sorted by various
samples, the prevalence of physical dependence was 54% in outpatient samples and 17% in
community samples. However, when samples from individuals who were inpatients in drug
abuse treatment centers were evaluated, the prevalence of physical dependence was 87%. This is
consistent with data showing that 90% of individuals who use marijuana who were diagnosed
with CUD also reported marijuana physical dependence (Bonnet & Preuss, 2017). For those
individuals with CUD, the severity and duration of withdrawal symptoms associated with
marijuana discontinuation are greater than in those who do not have a diagnosis of CUD. This
may be a function of individuals with CUD having a more extensive exposure to marijuana
(Connor et al., 2021).

The marijuana withdrawal syndrome appears to be relatively mild compared to the withdrawal
syndrome associated with alcohol which can include more serious symptoms such as agitation,
paranoia, seizures and even death. Multiple studies comparing the withdrawal symptoms
associated with marijuana and tobacco (not scheduled in the CSA) demonstrate that the
magnitude and time course of the two withdrawal syndromes are similar (Budney et al., 2008;
Vandrey et al., 2008; Vandrey et al., 2005). Animal studies have shown that after short-term
administration of equianalgesic doses of heroin and ∆9-THC to monkeys, withdrawal signs were
observed after heroin administration but not after ∆9-THC administration (Ding et al., 2023),
further demonstrating the decreased magnitude of withdrawal symptoms associated with
marijuana relative to other drug classes.




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Conclusions

In conclusion, experimental data and clinical reports demonstrate that chronic, but not acute, use
of marijuana can produce both psychic and physical dependence in humans. Epidemiological
data provided in greater detail in Factors 4 and 5 provide additional evidence of psychic
dependence. The symptoms associated with both kinds of dependence are relatively mild for
most individuals, although the severity may be greater with increased exposure to marijuana.


FACTOR 8. WHETHER THE SUBSTANCE IS AN IMMEDIATE PRECURSOR OF A SUBSTANCE
ALREADY CONTROLLED UNDER THIS ARTICLE

Under the eighth factor, the Secretary must consider whether marijuana is an immediate
precursor of a controlled substance. Marijuana is not an immediate precursor of another
controlled substance.




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III.   RECOMMENDATION

Upon consideration of the eight factors determinative of control of a substance (21 U.S.C.
811(c)), FDA recommends that marijuana be rescheduled from Schedule I to Schedule III of the
CSA. NIDA concurs with this scheduling recommendation. Marijuana meets the three criteria
for placing a substance in Schedule III of the CSA, as set forth under 21 U.S.C. 812(b)(3):

   1. Marijuana has a potential for abuse less than the drugs or other substances in
      Schedules I and II.

Marijuana contains ∆9-THC (also known as dronabinol when specifically referring to (-)-trans-
∆9-THC stereoisomer), the substance responsible for the abuse potential of marijuana. ∆9-THC
has agonist properties at CB1 cannabinoid receptors and produces rewarding responses in
animals, as evidenced by its ability to produce self-administration and conditioned place
preference. When marijuana is administered to humans under experimental conditions, it
produces a wide range of positive subjective responses, in addition to certain negative subjective
responses. Common responses to marijuana when it is used by individuals for nonmedical
purposes include euphoria and other positive subjective responses, as well as perceptual changes,
sedative responses, anxiety responses, psychiatric, social, and cognitive changes, and
physiological changes.

Epidemiological data from NSDUH show that marijuana is the most frequently abused federally
illicit drug in the United States on a past-year and past-month basis among the illicit comparator
drugs considered. Although 50% of respondents in NSDUH reported using marijuana
nonmedically less than 5 days per month, another 30% reported using it nonmedically for 20
days or more per month.

Despite the high prevalence of nonmedical use of marijuana, an overall evaluation of
epidemiological indicators suggests that it does not produce serious outcomes compared to drugs
in Schedules I or II. This is especially notable given the availability to marijuana consumers of
marijuana and marijuana-derived products that contain extremely high levels of ∆9-THC. Due to
such availability, the epidemiological data described in this evaluation inherently include the
outcomes from individuals who use marijuana and marijuana-derived products that have doses of
∆9-THC that range from low to very high, and yet the data demonstrate that these products
overall are producing fewer negative outcomes than drugs in Schedules I or II.

To illustrate this point, when a rank ordering of selected drugs that are abused was compared for
various epidemiological measures, it showed that marijuana was among the drugs at the very
lowest ranking for: poison control abuse cases, likelihood that any use would lead to a poison
control call, accidental/unintentional poisoning, utilization-adjusted rates of unintentional
exposure, utilization-adjusted and population-adjusted rates for ED visits and hospitalizations,
likelihood of being diagnosed with a serious SUD, deaths reported to poison control centers, and
overdose deaths when used with other drugs or as a single substance (as total numbers and when
utilization-adjusted). In contrast, comparators such as heroin (Schedule I), oxycodone (Schedule
II), and cocaine (Schedule II) typically were in the highest rank ordering on these measures.




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For the various epidemiological measures evaluated above, it should be noted that marijuana was
also compared to controlled substances in Schedule III (ketamine) and Schedule IV
(benzodiazepines, zolpidem, and tramadol), as well as to other Schedule II substances (fentanyl
and hydrocodone). The analyses were conducted in this manner to provide a comprehensive
assessment of the relative abuse potential of marijuana. However, the rank order of these
substances regarding harms does not consistently align with the relative scheduling placement of
these drugs in the CSA due to the pharmacological differences between various classes of drugs.
There are a number of confounding factors that likely influence the adverse outcomes measured
in various epidemiological databases and account for the rank ordering of the drugs evaluated on
these measures. For example, each substance has associated with it a different population that
abuse that substance, a different prevalence of abuse, and a different profile of severe adverse
outcomes in a setting of nonmedical use and abuse. Thus, it is challenging to reconcile the
ranking of relative harms associated with the comparators used in this evaluation when the
rankings differ across various epidemiological databases, and when these rankings often do not
align with the scheduling placement of these comparators under the CSA. To address these
challenges, we evaluated the totality of the available data and have concluded that it supports the
placement of marijuana in Schedule III. Overall, these data demonstrate that, while marijuana is
associated with a high prevalence of abuse, the profile of and propensity for serious outcomes
related to that abuse lead to a conclusion that marijuana is most appropriately controlled in
Schedule III under the CSA.

   2. Marijuana has a currently accepted medical use in treatment in the United States.

HHS utilized a two-part test (referred to in this document as the “CAMU test”) that took into
account the current widespread medical use of marijuana under the supervision of licensed HCPs
under state-authorized programs to evaluate whether the substance has CAMU in the United
States. Under Part 1 of the CAMU test, OASH concluded there is widespread current experience
with medical use of marijuana in the United States by licensed HCPs operating in accordance
with implemented state-authorized programs, where such medical use is recognized by entities
that regulate the practice of medicine under these state jurisdictions. OASH concluded the
findings from Part 1 warranted an FDA assessment under Part 2 of the CAMU test to determine
if there exists credible scientific support for at least one of the medical conditions for which the
Part 1 test is satisfied. Part 2 of the CAMU test was conducted based on systematic reviews of
studies investigating the safety and efficacy/effectiveness of marijuana, review of relevant
professional societies’ position statements, data from state medical marijuana programs and
United States national surveys, and review of the labeling of FDA-approved products relevant to
the analysis.

Based on the totality of the available data, there exists some credible scientific support for the
medical use of marijuana in at least one of the indications for which there is widespread current
experience by HCPs in the United States, as identified by OASH under Part 1 of the CAMU test.
Seven indications were selected by FDA for consideration under Part 2 of the CAMU test.
These indications included anorexia related to a medical condition, anxiety, epilepsy,
inflammatory bowel disease, nausea and vomiting (e.g., chemotherapy-induced), pain, and post-
traumatic stress disorder. The analysis of, and conclusions regarding, the available data are not
meant to imply that safety and effectiveness have been established for marijuana that would




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support FDA approval of marijuana for a particular indication. However, the available data do
provide some credible level of scientific support for some of the therapeutic uses for which
marijuana is being used in clinical practice in the United States. Thus, based on the widespread
HCP experience and the extent of medical use evaluated by OASH under the Part 1 test, and the
determination of some credible scientific support for at least some therapeutic uses identified in
the Part 1 test, for purposes of the drug scheduling criteria in 21 U.S.C. 812(b), marijuana has a
currently accepted medical use in the United States, specifically for the treatment of anorexia
related to a medical condition, nausea and vomiting (e.g., chemotherapy-induced), and pain.

Additionally, and considering that marijuana is currently controlled in Schedule I of the CSA, we
note that one of the criteria for control in Schedule I as set forth in 21 U.S.C. 812(b)(1) is that
“(C) There is a lack of accepted safety for use of the drug or other substance under medical
supervision.” Based on our evaluation of CAMU, as summarized above, we conclude that there
is accepted safety for the use of marijuana under medical supervision for the treatment of
anorexia related to a medical condition, nausea and vomiting (e.g., chemotherapy-induced), and
pain. Thus, even apart from the findings made herein for the current recommendation for
Schedule III, this criterion for control in Schedule I as set forth under 21 U.S.C. 812(b)(1)(C) is
not met for marijuana.

   3. Abuse of marijuana may lead to moderate or low physical dependence or high
      psychological dependence.

Clinical studies have demonstrated that marijuana produces physical and psychological
dependence. Regarding physical dependence, as evidenced by its associated withdrawal
symptomology upon abrupt discontinuation of use, the most commonly reported marijuana
withdrawal symptoms in clinical investigations are sleep difficulties, decreased appetite and
weight loss, craving, irritability, anger, anxiety or nervousness, and restlessness. Marijuana
withdrawal symptoms typically peak within 2-6 days and decline over 1-2 weeks as ∆9-THC is
eliminated. Similarly, the drug labels for the FDA-approved drug products Marinol and Syndros
(both of which contain dronabinol, the (-)-trans-∆9-THC stereoisomer) state that following
chronic administration of dronabinol, drug discontinuation leads to irritability, insomnia, and
restlessness at 12 hours and by 24 hours the withdrawal symptoms can include “hot flashes,”
sweating, rhinorrhea, diarrhea, and anorexia.

Notably, marijuana withdrawal syndrome has been reported in individuals with heavy, chronic
marijuana use, but its occurrence in occasional individuals who use marijuana has not been
established. The marijuana withdrawal syndrome appears to be relatively mild compared to the
withdrawal syndrome associated with alcohol, which can include more serious symptoms such as
agitation, paranoia, seizures and even death. Multiple studies comparing the withdrawal
symptoms associated with marijuana and tobacco demonstrate that the magnitude and time
course of the two withdrawal syndromes are similar.

The ability of marijuana to produce psychic dependence is shown through its ability to produce
rewarding effects that underlie its nonmedical use and epidemiological outcomes related to
abuse, as detailed in the first Finding on abuse potential (above).




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 Thus, abuse of marijuana may lead to moderate or low physical dependence, depending on
 frequency and degree of marijuana exposure. It can produce psychic dependence in some
 individuals, but the likelihood of serious outcomes is low, suggesting that high psychological
 dependence does not occur in most individuals who use marijuana.




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             DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                  Office of the Secretary

                                                                                                  Office of the Assistant Secretary for Health
                                                                                                                      Washington, D.C. 20201



             DATE:                  July 17, 2023

             TO:                    Commissioner, Food and Drug Administration (FDA)

             FROM:                  The Assistant Secretary for Health,
                                    Office of the Assistant Secretary of Health (OASH)

             SUBJECT:               Part 1 Analysis

             EXECUTIVE SUMMARY

             The Department of Health and Human Services (HHS) has updated its analysis of a substance’s
             “currently accepted medical use in treatment in the United States” (“CAMU”) for purposes of the
             Controlled Substances Act (CSA), 21 U.S.C. § 812(b)(1). As part of this analysis, HHS includes
             consideration of whether there is (1) widespread current experience with medical use of the
             substance in the United States by licensed health care practitioners (HCPs) operating in
             accordance with implemented state-authorized programs, where the medical use is recognized by
             entities that regulate the practice of medicine (“Part 1”), and (2) whether there is scientific
             support for at least one of these medical uses of a substance (“Part 2”). To assist in the
             determination of whether marijuana has a CAMU in the United States, OASH conducted an
             analysis evaluating Part 1 and confirmed that more than 30,000 HCPs across 43 U.S.
             jurisdictions are authorized to recommend the medical use of marijuana for more than six million
             registered patients for at least 15 medical conditions. OASH’s Part 1 analysis, therefore,
             supports the finding that marijuana has at least one CAMU in the United States. Additional
             analysis is required for evaluating Part 2 of the CAMU analysis, which considers whether there
             exists some credible scientific support for the use of marijuana for at least one of the medical
             conditions.

             REQUEST

             On October 6, 2022, President Biden directed the Secretary of HHS and the Attorney General to
             review how marijuana is currently scheduled under federal law. 1 The purpose of this
             memorandum is to share the findings from Part 1 and request that your Agency conduct Part 2 of
             the analysis to assess if there exists credible scientific support for the use of marijuana for at least
             one medical condition identified in this memorandum.



             1
                 https://www.whitehouse.gov/briefing-room/statements-releases/2022/10/06/statement-from-president-biden-on-marijuana-reform/




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                         BACKGROUND

                         Under the CSA, marijuana is currently a Schedule I substance in the United States. 2 Schedule I
                         is a category for substances that are considered to have a high potential for abuse, have no
                         CAMU in the United States, and lack accepted safety for use under medical supervision.

                         HHS’s CAMU analysis has two parts.

                                 •    Part 1: There exists widespread, current experience with medical use of the substance by
                                      HCPs operating in accordance with implemented jurisdiction-authorized programs, where
                                      medical use is recognized by entities that regulate the practice of medicine. Part 1 of this
                                      approach is supported by factors such as the following (with none being dispositive):

                                      a) Whether a substantial number of HCPs have gained clinical experience with at least
                                         one specific medical use of the substance under existing and implemented state
                                         authorized programs;
                                      b) Whether a substantial number of entities that regulate the practice of medicine
                                         recognize at least one specific medical use of the substance; and
                                      c) Whether an HCPs’ clinical experience with the medical use of the substance is of
                                         sufficient extent and duration to help evaluate potential clinical uses and longer-term
                                         toxicities and potential harms of the substance when used under medical supervision.

                                 •    Part 2: There exists some credible scientific support for at least one of the medical uses
                                      for which Part 1is met.

                         METHODOLOGY AND TERMINOLOGY

                         To evaluate if marijuana meets one or more of the three Part 1 factors, OASH applied the Part 1
                         approach described above to currently available data on the medical use(s) of marijuana in the
                         United States. With input from other federal agencies, OASH collected pertinent programmatic
                         and policy data, including data from states’ websites, and other publicly available sources
                         (secondary data condensed for this memo). The findings below and in TAB A are based on an
                         interpretation of that information.

                         For the purposes of this memo, states and territories are henceforth referred to as ‘jurisdictions.’
                         ‘Regulatory entities,’ which vary widely by state, refers to the jurisdictions’ respective entities
                         which oversee implementation of the relevant marijuana for medical use statute. Additionally,
                         ‘reviewing/recommending bodies’ refers to an entity that conducts a jurisdiction-level scientific
                         medical review for the purpose of evaluating marijuana for medical use(s) and make a
                         recommendation to the regulatory entity. Further, marijuana for medical use(s) may be directed
                         by a ballot initiative or other legal authorization, which was not evaluated for purposes of this
                         memo.




                         2
                             21 U.S.C. § 812(c)(10)




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FINDINGS:

A summary of the Part 1 key findings and conclusions used to assess widespread, current
experience with medical use of marijuana and whether it has a CAMU is listed below. Data for
individual jurisdictions are provided in the tables and figures in TAB A. Part 1 uses data and
information collected up to March 29, 2023.

Factor 1(a) – Whether a substantial number of licensed health care practitioners have gained
clinical experience with at least one specific medical use of the substance under existing and
implemented state-authorized programs.

Factor 1(a) Findings: There exists significant variability in HCPs’ clinical experience with
recommending marijuana for medical use. Some reasons for the variability include: 1) the
number of HCPs authorized by a jurisdiction to recommend marijuana for medical conditions, 2)
the length of time a jurisdiction has had a marijuana for medical use program in place, 3) the
educational requirements needed for HCPs to be authorized to recommend marijuana for medical
conditions; 4) the number of patients who are registered in a jurisdiction to participate in
marijuana for medical use programs; and 5) the availability of individual level practitioner data
surrounding recommendation patterns for qualifying medical conditions.

   •   Currently, more than 30,000 HCPs are authorized to recommend the use of marijuana for
       more than six million patients with medical conditions that are enrolled in authorized
       marijuana for medical use programs (Table 4).
   •   Ten jurisdictions require specific HCP education on the use of marijuana prior to
       recommending marijuana for medical conditions, and two of these states require HCPs to
       pass an exam for certification (Table 2b).
   •   Because HCP-level data on the provision of marijuana prescriptions for specific medical
       conditions is unavailable, data on patient-reported medical conditions authorized by
       HCPs was used as a surrogate measure for providers’ clinical experience (Figure 1).
   •   The number of patients enrolled in marijuana for medical use programs who use it for
       chronic pain, post-traumatic stress disorder (PTSD), arthritis, and cancer increased from
       2016 through 2020 (Figure 1).

Factor 1(a) Conclusion: Taken together, the data support that a substantial number of HCPs
have gained clinical experience with at least one specific medical use of marijuana under state-
authorized programs.

Factor 1(b) – Whether a substantial number of entities that regulate the practice of medicine
recognize at least one specific medical use of the substance.

Factor 1(b) Findings: The identified secondary data show that, across jurisdictions that conduct
medical or scientific reviews prior to authorizing marijuana for particular medical use(s),
‘reviewing/recommending bodies’ are not necessarily the same entities that regulate the practice
of medicine more generally. However, marijuana for medical use programs within these
jurisdictions have included provisions for a board of qualified experts to evaluate the inclusion of
additional qualifying medical conditions to those specified in a jurisdiction’s law. These boards
make their determinations through a process of reviewing available research as well as



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              considering expert and public testimony. As noted, regulatory entities with oversight of the
              medical use of marijuana under each jurisdiction varies widely. For example, a state Department
              of Health, Department of Revenue, Department of Finance, Public Safety, Board of Pharmacy,
              and Alcohol Control Office may have varying degrees of oversight in their jurisdiction. A
              review of secondary data analyzed shows that the specific type and number of qualifying medical
              conditions recognized by jurisdictions varies, as does the medical or scientific evidence
              referenced to support adding to each jurisdiction’s list of qualifying medical conditions.

              Thirty-eight states, the District of Columbia, and four territories 3 have laws that authorize the use
              of marijuana for medical use(s) (Table 1). These efforts reflect actions taken to implement
              programs to assess and oversee the use of marijuana in their jurisdiction.

                      •    Seventeen jurisdictions have added conditions through a medical review process (Table
                           2a).
                      •    Twenty-one of the marijuana for medical use programs include provisions for a board of
                           qualified experts to determine the inclusion of additional qualifying medical conditions to
                           those specified in the law. 4
                      •    The Prescription Drug Monitoring Training and Technical Assistance Center (PDMP
                           TTAC) tracks PDMP data, under a grant funded from the Bureau of Justice Assistance.
                           TTAC information is reported from two sources: PDMP Administrators and a review of
                           laws and regulations. TTAC sends out an annual survey (>90% response rate) to the
                           respective PDMP Administrators to determine their current policies and capabilities. All
                           50 states, the District of Columbia, Guam, Puerto Rico, and the Northern Mariana Islands
                           received this survey; it was not sent to the U.S. Virgin Islands as they do not have a
                           PDMP tracking program. TTAC reports marijuana for medical use information. Such
                           information was reported or available through the PDMP in the following jurisdictions:
                           Arizona, Connecticut, Illinois, Massachusetts, New Jersey, New York, North Dakota,
                           Ohio, Oklahoma, Pennsylvania, Utah, Vermont, Virginia. 5

                      •    Additionally, TTAC also reports specific requirements around PDMP HCP checks. 6
                           Examples requiring provider checks were identified by TTAC as follows:

                           1. Florida - provides that a qualified physician may issue a physician certification for the
                              medical use of marijuana only if the physician has reviewed the patient’s-controlled
                              drug prescription history in the PDMP.
                           2. Louisiana - an emergency rule, effective 8/1/2020, includes a requirement that prior
                              to dispensing any marijuana product to a patient, the marijuana product dispensing
                              pharmacist shall review the patient's records in the Louisiana prescription monitoring
                              program.


              3
                  https://www.ncsl.org/health/state-medical-cannabis-laws, see Table 1.
              4

              https://assets.nationbuilder.com/americansforsafeaccess/pages/27187/attachments/original/1675362731/StateoftheStates22_P5.pdf?16
              75362731
              5
                  https://www.pdmpassist.org/Policies/Maps/PDMPPolicies
              6
                  https://www.pdmpassist.org/pdf/Mandatory_Query_Conditions.pdf




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       3. Massachusetts - before issuing a written certification for marijuana, a certifying
          healthcare provider must query the PDMP and review the qualifying patient’s
          prescription history, unless otherwise specified by the Commission.
       4. New York - requires practitioners to consult the PDMP prior to making or issuing a
          certification of a serious condition requiring the use of marijuana; requires dispensers
          to check the PDMP to ensure that a patient is not receiving greater than a 30-day
          supply.
       5. Rhode Island - requires practitioners query the PDMP prior to issuing a written
          certification for marijuana and make a judgment about the potential for drug-drug
          interactions, adverse events, or untoward clinical outcomes from adding marijuana.
       6. Utah - any qualified medical provider, who recommends or renews a recommendation
          for marijuana, to review any record related to the patient in the state’s electronic
          verification system and the controlled substances database.

   •   A substantial number of jurisdictions have written procedures for addressing complaints,
       adverse events, and recalls in marijuana dispensaries (Table 2b).4
   •   A substantial number of jurisdictions recognize the use of marijuana for various medical
       conditions such as Amyotrophic Lateral Sclerosis (ALS) (36), Autism Spectrum Disorder
       (34), cachexia (29), cancer (40), conditions causing chronic or intractable pain (40),
       Crohn’s Disease (34), epilepsy or other conditions causing seizures (39), glaucoma (36),
       HIV/AIDS (39), Multiple Sclerosis (39), Parkinson’s Disease (35), persistent/severe
       muscle spasm (33), persistent/severe nausea (33), PTSD (39), spasticity (31) (Table 3).

Factor 1(b) Conclusion: The above summary and attached tables demonstrate that a substantial
number of regulatory entities recognize at least one specific medical use of the substance.

Factor 1(c) – Whether licensed health care practitioners’ clinical experience with the medical
use of the substance is of sufficient extent and duration to help evaluate potential clinical uses
and longer-term toxicities and potential harms of the substance when used under medical
supervision.

Factor 1(c) Findings:
   • Approximately six million individual U.S. patients are currently registered in programs
       that authorize the use of marijuana for various medical conditions, with 14 jurisdictions
       having more than 100,000 registered patients (Table 4).
   • Between 1996-2000, eight jurisdictions legalized marijuana for medical use in the United
       States (Table 1 and Figure 1), and currently several jurisdictions have documented
       processes to track adverse events, complaints, and recalls (Table 2b).
   • A substantial number of jurisdictions require the HCP to have an established, bona-fide,
       relationship with the patient. Some require a specific duration of follow up with patients
       after recommending marijuana for medical use.

Factor 1(c) Conclusion: The above summary and attached tables and figure demonstrate that
HCPs’ clinical experience with the use of marijuana for various medical conditions is of
sufficient extent and duration to help evaluate potential clinical uses. However, based on the
available secondary data for this analysis, it could not be conclusively determined whether HCP
clinical experience with the use of marijuana is of sufficient extent and duration to help evaluate



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the longer-term toxicities and potential harms of marijuana when used under medical
supervision.

SUMMARY OF CONCLUSIONS

OASH’s Part 1 analysis confirmed that more than 30,000 HCPs are certified to recommend the
use of marijuana for more than six million registered patients, constituting widespread clinical
experience associated with various medical conditions recognized by a substantial number of
jurisdictions across the United States. For several jurisdictions, these programs have been in
place for several years, and include features that actively monitor medical use and product
quality characteristics of marijuana dispensed. Taken together, the findings from Part 1 warrant
an FDA assessment under Part 2 of the Department’s CAMU approach to determine if there
exists credible scientific support for the use of marijuana for at least one of the medical
conditions listed in Table 3.



                                             Rachel L. Levine, M.D.
                                             ADM, USPHS

Attachments
TAB A: Tables 1, 2a, 2b, 3 and 4; Figure 1




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Table 1: Year of Legalization and Implementation of the Medical Use of Marijuana in
the U.S.

                                        Year                          Year
       U.S Jurisdiction
                                     Legalized a                 Implemented b
Alabama                                 2021                         2023
Alaska                                  1999                         2016
Arizona                                 2010                         2012
Arkansas                                2016                         2019
California                              1996                         2018
Colorado                                2000                         2014
Connecticut                             2012                         2017
Delaware                                2011                         2015
District of Columbia                    2011                         2013
Florida                                 2016                         2016
Guam                                    2014                           NA
Hawaii                                  2000                         2017
Illinois                                2013                         2015
Iowa                                    2017                         2018
Louisiana                               2015                         2019
Maine                                   1999                         2011
Maryland                                2013                         2017
Massachusetts                           2012                         2015
Michigan                                2008                         2018
Minnesota                               2014                         2015
Mississippi                             2022                         2023
Missouri                                2018                         2020
Montana                                 2004                         2018
Nevada                                  1998                         2015
New Hampshire                           2013                         2016
New Jersey                              2010                         2012
New Mexico                              2007                         2010
New York                                2014                         2016
North Dakota                            2016                         2019
The Northern Mariana Islands            2018                         2021
Ohio                                    2016                         2019
Oklahoma                                2018                         2018
Oregon                                  1998                         2015
Pennsylvania                            2016                         2018
Puerto Rico                             2016                         2017
Rhode Island                            2006                         2013




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                                                          Year                                     Year
            U.S Jurisdiction
                                                       Legalized a                            Implemented b
Table 1, continued
South Dakota                                               2020                                     2022
Utah                                                       2018                                     2020
Vermont                                                    2004                                     2013
Virginia                                                   2020                                     2020
Washington                                                 1998                                     2016
West Virginia                                              2017                                     2021
US Virgin Islands                                          2019                                     2023
a
    Year legalized refers to the year statute was enacted.
b
    Year implemented refers to the year in which the first dispensary opened.




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Table 2a: U.S. Jurisdictions That Conduct Medical or Scientific Review Prior to Recognizing a
Medical Condition as Appropriate for Marijuana Use.

    U.S          Approved         Reviewing/           Medical Conditions Recognized                   Medical
Jurisdiction   After Medical    Recommending                                                         Conditions
                or Scientific       Bodies                                                              Denied
                  Review                                                                           (Listed or ‘No’)
                 (Yes/No)
Connecticut         Yes         Department of      • Post Laminectomy Syndrome with Chronic              No
                                Consumer             Radiculopathy
                                                   • Severe Psoriasis
                                Protection/Board
                                                   • Psoriatic Arthritis
                                of Physicians      • Amyotrophic Lateral Sclerosis (ALS)
                                                   • Ulcerative Colitis
                                                   • Complex Regional Pain Syndrome Type 1
                                                     and Type II
                                                   • Sickle Cell Disease
                                                   • Spasticity
                                                   • Neuropathic Pain Associated with
                                                     Osteogenesis Imperfecta
                                                   • Chronic Neuropathic Pain Associated with
                                                     Degenerative Spinal Disorders
                                                   • Interstitial Cystitis
                                                   • MALS Syndrome (Median Arcuate
                                                     Ligament Syndrome)
                                                   • Vulvodynia
                                                   • Vulvar Burning
                                                   • Intractable Neuropathic Pain,
                                                     unresponsive to standard medical
                                                     treatments
                                                   • Tourette Syndrome
                                                   • Chronic Pain of at least 6 months duration,
                                                     associated with a specified underlying
                                                     chronic condition refractory to other
                                                     treatment intervention
                                                   • Ehlers-Danlos Syndrome Associated with
                                                     Chronic Pain
                                                   • Chronic Pancreatitis
                                                   • Movement disorders associated with
                                                     Huntington




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     U.S        Approved        Reviewing/                Medical Conditions Recognized                    Medical
 Jurisdiction     After       Recommending                                                               Conditions
                Medical or        Bodies                                                                   Denied
                Scientific                                                                                (Listed or
                 Review                                                                                      ‘No’)
                (Yes/No)

Table 2a, continued
Delaware            Yes      Delaware               • Autism – pediatric                                • Anxiety
                             Department of          • Autism with Aggressive and/or Self-injurious      • Opioid Use
                                                      Behaviors
                             Health and Social                                                            Disorder
                             Services
Florida            Yes       Department of          • Epilepsy                                               No
                             Health
Guam               Yes       An advisory board      •   Depression                                           No
                             of nine (9)            •   Anxiety
                                                    •   Sleep disorders
                             members
                                                    •   Chronic pain
                             including              •   Autism
                             practitioner a
                             variety of specialty   (added to the list of approved debilitating
                             fields                 conditions)
Hawaii             Yes       Department of          • Amyotrophic Lateral Sclerosis (ALS)                    No
                             Health
Illinois           Yes       Illinois               • Terminal Illness                                       No
                             Department of          • Autism
                                                    • Anorexia nervosa
                             Public Health
                                                    • Chronic pain
                                                    • Ehlers-Danlos syndrome
                                                    • Irritable bowel syndrome
                                                    • Migraines
                                                    • Neuro-Bechet’s autoimmune disease
                                                    • Neuropathy
                                                    • Osteoarthritis
                                                    • Polycystic kidney disease (PKD)
Iowa               Yes       Medical                • Severe Intractable Pediatric Autism with Self-         No
                             Cannabidiol Board        Injurious Behavior
                                                    • Corticobasal Degeneration
                             and Iowa Board of
                                                    • Intellectual Disability (ID) with Aggression
                             Medicine                 and/or Self-Injury
                                                    • Ulcerative Colitis




                                                                                                       App.98
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     U.S        Approved        Reviewing/               Medical Conditions Recognized                  Medical
 Jurisdiction     After       Recommending                                                            Conditions
                Medical or        Bodies                                                                Denied
                Scientific                                                                             (Listed or
                 Review                                                                                   ‘No’)
                (Yes/No)

Table 2a, continued
Michigan            Yes      Licensing and         •   Cerebral palsy                                • Chronic
                             Regulatory            •   PTSD (post-traumatic stress disorder)           Aggressive
                                                   •   Autism
                             Authority Medical                                                         Behavior
                                                   •   Arthritis
                             Marijuana Review      •   Chronic Pain
                             Panel                 •   Colitis
                                                   •   IBS
                                                   •   Obsessive Compulsive Disorder
                                                   •   Parkinson's Disease
                                                   •   Rheumatoid Arthritis
                                                   •   Tourette Syndrome
                                                   •   Ulcerative Colitis
Minnesota          Yes       Department of         •   Intractable Pain                                   No
                             Health (approved      •   PTSD (post-traumatic stress disorder)
                                                   •   Autism spectrum disorder
                             by the Health
                                                   •   Obstructive sleep apnea
                             Commissioner)         •   Alzheimer's disease
                                                   •   Chronic pain
                                                   •   Sickle cell disease
                                                   •   Motor or vocal tic disorder
                                                   •   Irritable bowel syndrome
                                                   •   Obsessive compulsive disorder
New                Yes       Therapeutic           •   Insomnia                                      • Anxiety
Hampshire                    Cannabis Medical      •   Autism Spectrum Disorder                      • Tick-borne
                             Oversight Board                                                           illnesses
                                                                                                     • Opioid use
                                                                                                       disorder
New Jersey         Yes       State Health          • Tourette Syndrome                               • Chronic
                             Commissioner          • Chronic Pain of Visceral Origin                   fatigue
                                                   • Anxiety
                             after review by the                                                       syndrome
                                                   • Migraine
                             Medical Marijuana     • Chronic pain related to musculoskeletal         • Asthma
                             Review Panel            disorder
                                                   • Chronic pancreatitis
                                                   • Irritable bowel syndrome
                                                   • Opioid use disorder




                                                                                                  App.99
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     U.S        Approved        Reviewing/             Medical Conditions Recognized                   Medical
 Jurisdiction     After       Recommending                                                           Conditions
                Medical or        Bodies                                                               Denied
                Scientific                                                                            (Listed or
                 Review                                                                                  ‘No’)
                (Yes/No)

Table 2a, continued
New Mexico          Yes      Medical Cannabis    •   Anxiety Disorder                               • Nystagmus
                             Medical Advisory    •   Depression                                     • Substance
                                                 •   ADHD
                             Board                                                                    Use
                                                 •   Autism Spectrum
                             recommendation /    •   Dystonia                                         Disorder
                             Secretary for the   •   Migraines
                             Department of       •   Degenerative Neurological Disorder
                             Health              •   Neuroprotective as Approved Conditions
                                                 •   Alzheimer’s Disease
                                                 •   Tourette’s (Tourette Syndrome)
New York           Yes       State Department    •   Severe debilitating pain                            No
                             of Health           •   PTSD (post-traumatic stress disorder)
                                                 •   Any condition for which an opioid could be
                             (approved by the
                                                     prescribed
                             Commissioner of
                             Health)
Ohio               Yes       State Medical       •   Cachexia or wasting syndrome                   • Autism
                             Board of Ohio       •   Huntington’s disease                           • Irritable
                                                 •   Terminal illness
                                                                                                      Bowel
                                                 •   Spasticity
                                                                                                      Syndrome
Oregon             Yes       Public Health       • Cancer                                                  No
                             Division, Oregon    • Glaucoma
                                                 • A degenerative or pervasive neurological
                             Health Authority
                                                   condition
                                                 • HIV/AIDS, a side effect related to the
                                                   treatment of those medical conditions
                                                 • Medical conditions or treatment for a medical
                                                   conditions that produces cachexia
                                                 • Severe pain
                                                 • Severe nausea
                                                 • Seizures
                                                 • Persistent muscle spasms
                                                 • PTSD (post-traumatic stress disorder)




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     U.S        Approved        Reviewing/            Medical Conditions Recognized                  Medical
 Jurisdiction     After       Recommending                                                         Conditions
                Medical or        Bodies                                                             Denied
                Scientific                                                                          (Listed or
                 Review                                                                                ‘No’)
                (Yes/No)

Table 2a, continued
Pennsylvania        Yes      Medical Advisory   •   Cancer including remission therapy                 No
                             Board, PA          •   Neurodegenerative diseases
                                                •   Terminal illness
                             Department of
                                                •   Dyskinetic Spastic movement disorders
                             Health             •   Severe Chronic Intractable pain of
                                                    neuropathic origin
                                                •   Severe Intractable pain
                                                •   Opioid use disorder
                                                •   Anxiety Disorder
                                                •   Chronic Hepatitis C
                                                •   Tourette Syndrome




Rhode Island       Yes       Department of      • Autism Spectrum Disorder                             No
                             Health             • Pain
                                                • Nausea and other symptoms associated with
                                                  certain debilitating medical conditions, as
                                                  found by the National Academy of Sciences’
                                                  Institute of Medicine in March 1999




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Table 2b: Other Quality Indicators of U.S. Jurisdictions’ Programs for Medical Use of
Marijuana.

  U.S. Jurisdiction      Educational          ASAa Grade for        Patient Level Tracking of
                       Requirements for   Dispensary Operations      Marijuana Dispensedb
                         Certification
Alabama                       Yes                 Yes                         No
Alaska                        No                  No                          No
Arizona                       No                  No                          No
Arkansas                      No                  Yes                         No
California                    No                  Yes                         No
Colorado                      No                  Yes                         No
Connecticut                   No                  Yes                         Yes
Delaware                      No                  No                          Yes
District of Columbia          No                  No                          No
Florida                       Yes                 Yes                         Yes
Guam                          No                  No                          No
Hawaii                        No                  Yes                         No
Illinois                      No                  Yes                         No
Iowa                          No                  Yes                         Yes
Louisiana                     No                  No                          No
Maine                         No                  No                          No
Maryland                      No                  Yes                         No
Massachusetts                 Yes                 No                          Yes
Michigan                      No                  Yes                         No
Minnesota                     No                  No                          No
Mississippi                   Yes                 No                          No
Missouri                      No                  No                          No
Montana                       No                  Yes                         No
Nevada                        No                  No                          No
New Hampshire                 No                  Yes                         No
New Jersey                    No                  Yes                         No
New Mexico                    No                  Yes                         No
New York                      Yes                 Yes                         Yes
North Dakota                  No                  Yes                         No
The Northern
                             No                    No                          No
Mariana Islands
Ohio                         No                   No                          Yes
Oklahoma                     No                   No                          No
Oregon                       No                   Yes                         No
Pennsylvania                 Yes                  No                          No




                                                                               App.102
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                         U.S. Jurisdiction          Educational                  ASAa Grade for                  Patient Level Tracking of
                                                  Requirements for           Dispensary Operations                Marijuana Dispensedb
                                                    Certification

                       Table 2b, continued
                       Puerto Rico                         Yes                           Yes                                  No
                       Rhode Island                        No                            Yes                                  Yes
                       South Dakota                        No                            No                                   No
                       Utah                                Yes                           No                                   Yes
                       Vermont                             No                            Yes                                  No
                       Virginia                            No                            Yes                                  No
                       Washington                          Yes                           Yes                                  No
                       West Virginia                       Yes                           No                                   No
                       US Virgin Islands                   No                            No                                   No
                        a
                         Americans for Safe Access (ASA) Annual “State of State” report include score cards for each state with a medical cannabis
                        program in place. “Dispensary Operations” are scored on a number of variables. This analysis focuses on one variable of
                        “Dispensary Operations”: ‘adverse event reporting and recall protocol’. This provides an impression of whether
                        dispensaries are reporting adverse events and, if so, how they are addressing these reports. Americans for Safe Access
                        Foundation is a non-profit 501(c)3 organization whose mission is to ensure safe and legal access to cannabis (marijuana)
                        for therapeutic use and research.

                        b
                          Patient Level Tracking- most jurisdictions have ‘Seed to Sale’ tracking, however, based on data provided by the Cannabis
                        Regulators Association (CANNRA) only nine jurisdictions track amounts dispensed to patients.




                                                                                                                                                       App.103
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Table 3: Medical Conditions Recognized for Medical Use of Marijuana by U.S. Jurisdictions

   Medical Condition                      U.S Jurisdictions                 Total Number of Jurisdictions
                                                                             That Recognize the Medical
                                                                                     Condition
Amyotrophic Lateral       AK, AL, AZ, CA, CT, DC, FL, GU, HI, IA, IL, LA,               36
Sclerosis (ALS)           MA, ME, MI, MD, MN, MO, MS, ND, NJ, NM,
                          NV, NY, NY, OH, OK, PA, OR, RI, SD, USVI, UT,
                          VA, WV, WA
Autism Spectrum           AK, AL, AZ, CA, CO, CT, DE, DC, GU, HI, IA, IL,                34
Disorder                  LA, MA, MD, ME, MI, MN, MO, MS, ND, NJ,
                          NM, NV, NY, OK, OR, PA, RI, SD, USVI, UT, VA,
                          WA
Cachexia                  AK, AL, AZ, CA, CO, CT, DC, DE, GU, HI, IA, IL,                29
                          LA, MA, MD, MI, MO, MT, ND, NJ, NV, NY,
                          OK, OR, RI, SD, USVI, UT, WA
Cancer                    AZ, AK, AL, CA, CO, CT, DC, DE, FL, GU, HI, IL,                40
                          IA, LA, MA, MD, ME, MI, MN, MO, MS, MT,
                          ND, NJ, NM, NV, NY, OH, OK, OR, PA, PR, RI,
                          SD, USVI, UT, VA, VT, WA, WV
Condition causing chronic AK, AL, AZ, CA, CO, CT, DC, DE, FL, GU, HI, IA,                40
or intractable pain       IL, LA, MA, MD, ME, MI, MN, MO, MS, MT,
                          ND, NJ, NM, NV, NY, OH, OK, OR, PA, PR, RI,
                          SD, USVI, UT, VA, VT, WA, WV
Crohn’s Disease           AK, AL, AZ, CA, CT, DC, DE, FL, GU, HI, IA, IL,                34
                          LA, MA, MD, ME, MI, MO, MS, MT, ND, NJ,
                          NV, OH, OK, OR, PA, RI, SD, UT, VA, VT, WA,
                          WV
Epilepsy or condition     AK, AL, AZ, CA, CO, CT, DC, DE, FL, GU, HI, IA,                39
causing seizures          IL, LA, MA, MD, ME, MI, MN, MO, MS, MT,
                          ND, NJ, NV, NY, OH, OK, OR, PA, PR, RI, SD,
                          USVI, UT, VA, VT, WA, WV
Glaucoma                  AK, AZ, CA, CO, CT, DC, DE, FL, GU, HI, IL, LA,                36
                          MA, MD, ME, MI, MN, MO, MS, MT, ND, NJ,
                          NM, NV, NY, OH, OK, OR, PA, PR, RI, SD, USVI,
                          VA, VT, WA
HIV/AIDs positive         AK, AL, AZ, CA, CO, CT, DC, DE, FL, GU, HI, IA,                39
                          IL, LA, MA, MD, ME, MI, MN, MO, MS, MT,
                          ND, NJ, NM, NV, NY, OH, OK, OR, PA, PR, RI,
                          SD, USVI, UT, VT, WA, WV




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    Medical Condition                                U.S Jurisdictions                          Total Number of Jurisdictions
                                                                                                 That Recognize the Medical
                                                                                                         Condition

Table 3, continued
Multiple Sclerosis                 AK, AL, AZ, CA, CT, DC, DE, FL, GU, HI, IA, IL,                              39
                                   LA, MA, MD, ME, MI, MN, MO, MS, MT, ND,
                                   NJ, NM, NV, NY, OH, OK, OR, PA, PR, RI, SD,
                                   USVI, UT, VA, VT, WA, WV
Parkinson’s Disease                AK, AL, AZ, CA, DC, DE, FL, GU, HI, IA, IL, LA,                              35
                                   MA, MD ME, MI, MO, MS, ND, NJ, NM, NV,
                                   NY, OH, OK, OR, PA, PR, RI, SD, USVI, VA, VT,
                                   WA, WV
Persistent/severe muscle           AK, AL, AZ, CA, CO, CT, DC, DE, FL, GU, HI, IL,                               33
spasm                              LA, MA, MD, ME, MI, MN, MO, MT, ND, NJ,
                                   NM, NV, NY, OK, OR, PR, RI, SD, USVI, UT, WA
Persistent/severe nausea           AK, AL, AZ, CA, CO, DC, DE, FL, GU, HI, IA, IL,                              33
                                   MA, MD, ME, MI, MO, MS, MT, ND, NJ, NM,
                                   NV, NY, PR, OK, OR, RI, SD, USVI, UT, VT, WA

Post-Traumatic Stress              AK, AL, AZ, CA, CO, CT, DC, DE, FL, GU, HI, IA,                              39
Disorder (PTSD)                    IL, LA, MA, MD, ME, MI, MN, MO, MS, MT,
                                   ND, NJ, NM, NV, NY, OH, OK, OR, PA, PR, RI,
                                   USVI, UT, VA, VT, WA, WV
Spasticity                         AK, AL, AZ, CA, CT, DC, DE, FL, GU, HI, IL, LA,                              31
                                   MA, MD, ME, MI, MO, MT, ND, NJ, NM, NV,
                                   NY, OH, OK, OR, PA, RI, SD, WA, WV

Note: This list includes all mechanisms for recognizing qualifying conditions to include ballot initiatives, legislation, and
clinical/scientific review. Numbers include states/territories in which the specific condition is not named, but alternative
situations allow for treatment for corresponding condition in that category.




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Table 4: Number of Certified Practitioners and Registered Patients Across U.S.
Jurisdictions Medical Use Programs

                        Number of
                                                                              Number of Registered
  U.S. Jurisdiction      Certified       Timeframe for Practitioner Data
                                                                                  Patients a
                       Practitioners
Alabama                  MISSINGb                     MISSING                 0
Alaska                   MISSING                      MISSING                 404
Arizona                   1,667                    March 23, 2023             129,836
Arkansas                   989               July 1,202- June 30, 2022        90,266
California               MISSING                      MISSING                 MISSING
Colorado                   306         January 1, 2022 -December 21, 2022     71,536
Connecticut               1,667                    March 31, 2023             49,780
Delaware                   467                           2021                 19,715
District of Columbia       602                     December 2021              16,348
Florida                   2,563        October 1, 2020 -September 30, 2021    778,781
Guam                         0                           2019                 0
Hawaii                      35                        May 2021                33,424
Illinois                  5,300        Between July 1, 2019 - June 30, 2020   136,574
Iowa                      1,821                       July 2022               11,676
Louisiana                  219                 Second Quarter 2021            20,321
Maine                      753                           2021                 106,164
Maryland                  1,135                      April 5, 2023            161,722
Massachusetts              358                    September, 2022             97,003
Michigan                   243                   February 28, 2023            184,564
Minnesota                 2,303                   February 2, 2023            39,552
Mississippi                122                    December, 2022              0
Missouri                 MISSING          January 1, 2022 - Dec. 21, 2022     204,165
Montana                    267                     January 1, 2020            40,801
Nevada                     979                      January, 2023             12,788
New Hampshire             1,273                 July 2020-June 2021           12,237
New Jersey                1,012                     April 13, 2023            112,404
New Mexico               MISSING                      MISSING                 112,426
New York                  4,033                      April 1, 2023            123,391
North Dakota               340                      June 30, 2022             8,898
The Northern
                         MISSING                    MISSING                   0
Mariana Islands
Ohio                       660                    March 8, 2023               317,018
Oklahoma                 MISSING                    MISSING                   374,077
Oregon                    1,333                   January, 2023               17,957
Pennsylvania              1,812                   January, 2023               423,443
Puerto Rico              MISSING                    MISSING                   118,007




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                                                      Number of
                                                                                                                           Number of Registered
                           U.S. Jurisdiction           Certified             Timeframe for Practitioner Data
                                                                                                                               Patients a
                                                     Practitioners

                         Table 4, continued
                         Rhode Island                   MISSING                           MISSING                          16,462
                         South Dakota                     208                           April 3, 2023                      6,166
                         Utah                             473                            April, 2023                       61,991
                         Vermont                        MISSING                           MISSING                          4,302
                         Virginia                         938                          January, 2023                       52,810
                         Washington                     MISSING                           MISSING                          52,479
                         West Virginia                    131                          March 31, 2023                      7,000
                         US Virgin Islands              MISSING                           MISSING                          0
                           a
                            Americans for Safe Access (ASA) Foundation is a non-profit 501(c)3 organization whose mission is to ensure safe and
                           legal access to cannabis (marijuana) for therapeutic use and research https://www.safeaccessnow.org/.

                           b
                            Missing: data marked “missing” indicative of a) states not tracking data, b) states tracking data but the data is not
                           available or c) it is unknown whether the state tracks the data.




                                                                                                                                                      App.107
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Figure 1. Substantial Increase in Marijuana Use for Chronic Pain, PTSD, Arthritis & Cancer, 2016-2020a


                                               1200000
   Patient-Reported Qualifying Conditions, n




                                               1000000



                                                800000



                                                600000



                                                400000



                                                200000



                                                     0
                                                     2016                       2017                           2018                             2019                       2020
                                                                                                               Year

                                                    Cancer   Nausea/Vomiting       Chronic pain     Epilepsy          Arthritis       Multiple Sclerosis    PTSD       Other


Characteristic                                                                                     Condition
                                                              Cancer Nausea/Vomiting Chronic pain Epilepsy Arthritis Multiple Sclerosis                             PTSD   Other
No. of patients by year
              2016      29230                                                   45018             484386          13185            1131            105651           27447 44451
              2017      36876                                                   53827             621633          16604            2107            126092           54628 57112
              2018      50308                                                   61159             854457          22569           11179            143262           87558 98628
              2019      45472                                                   48105             868289          19556           65451            99951           119047 140870
              2020      56794                                                   50709             1119668         24043           65773            88829           195984 244636
Percent Change, 2016-2020
                         94%                                                     13%               131%           82%             5715%              -16%          614%    450%



Note. Adapted from “U.S. Trends in Registration for Medical Cannabis and Reasons for Use From 2016 to 2020” by
Boehnke, KF, Dean, O, Haffajee, RL, and Hosanagar, A., 2022, Annals of Internal Medicine, 175(7), p. 948. Includes
patient-reported qualifying conditions in medical-only marijuana use states: Arkansas, Arizona, Delaware, Hawai’i,
Maryland, Minnesota, Missouri, Montana, New Hampshire, New Mexico, North Dakota, Ohio, Rhode Island, Utah




                                                                                                                                                                       App.108
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     Considerations for Whether Marijuana Has a
        Currently Accepted Medical Use in the
    United States for Purposes of Section 202(b) of
            the Controlled Substances Act



      Report prepared by the Food and Drug Administration’s Center for Drug
         Evaluation and Research (CDER), by personnel located in CDER’s:


              Office of the Center Director’s Controlled Substance Staff


                                         and


      Office of Surveillance and Epidemiology’s Office of Pharmacovigilance and
                        Epidemiology, Division of Epidemiology I




                                  August 28, 2023




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   Glossary
   AAFP       American Academy of Family Physicians
   AAN        American Academy of Neurology
   AAPOR      American Association for Public Opinion Research
   AASM       American Academy of Sleep Medicine
   AE         adverse event
   AHRQ       Agency for Healthcare Research and Quality
   AIDS       acquired immunodeficiency syndrome
   APA        American Psychiatric Association
   ASAM       American Society of Addiction Medicine
   BRFSS      Behavioral Risk Factor Surveillance System
   CAERS      CFSAN Adverse Event Reporting System
   CAMU       currently accepted medical use in treatment in the United States
   CAPS-5     Clinician-Administered PTSD Scale for Diagnostic and Statistical Manual
              of Mental Disorders
   CBD        cannabidiol
   CDAI       Crohn’s disease activity index
   CFSAN      Center for Food Safety and Applied Nutrition
   CI         confidence interval
   CPPC       Cannabis Public Policy Consulting
   CSA        Controlled Substances Act
   ∆9-THC     delta-9-tetrahydrocannabinol
   DAWN       Drug Abuse Warning Network
   DEA        Drug Enforcement Administration
   DEPI       Division of Epidemiology I
   DSM        Diagnostic and Statistical Manual of Mental Disorders
   FAERS      FDA Adverse Event Reporting System
   FDA        Food and Drug Administration
   FR         Federal Register
   GRADE      grading of recommendations, assessment, development, and evaluation
   HCP        healthcare provider
   HHS        Department of Health and Human Services
   IASP       International Association for the Study of Pain
   IBD        Inflammatory Bowel Disease
   ICPS       International Cannabis Policy Study
   IND        investigational new drug
   MD         Maryland
   MMCC       Maryland Medical Cannabis Commission
   MMCPS      Maryland Medical Cannabis Patient Survey
   MN         Minnesota
   MTF        Monitoring the Future




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      NAADAC     Association for Addiction Professionals
      NASEM      National Academies of Sciences, Engineering, and Medicine
      NDA        new drug application
      NIDA       National Institute on Drug Abuse
      NIH        National Institutes of Health
      NPDS       National Poison Data System
      NRS        Numeric Rating Scale
      NSDUH      National Survey on Drug Use and Health
      OASH       Office of the Assistant Secretary for Health
      OR         odds ratio
      OSE        Office of Surveillance and Epidemiology
      PDAS       public online data analysis system
      PRISMA     preferred reporting items for systematic reviews and meta-analysis
      PTSD       post-traumatic stress disorder
      PUF        public use file
      RCT        randomized controlled trials
      RR         relative risk
      RUF        restricted use file
      SAE        serious adverse event
      SAMHSA     Substance Abuse and Mental Health Services Administration
      SAS        Statistical Analysis System
      THC        tetrahydrocannabinol
      UF         University of Florida
      VAS        Visual Analog Scale




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                        I. Executive Summary

                        1. Background
                        The Department of Health and Human Services (HHS) has conducted an evaluation of
                        whether marijuana 1 has a “currently accepted medical use in treatment in the United
                        States” (CAMU) for purposes of scheduling under the Controlled Substances Act (CSA),
                        21 U.S.C. 812(b). Such an evaluation is one of the findings relevant to the placement of
                        a substance in one of five drug control “schedules” set forth in 21 U.S.C. 812(b).
                        In evaluating CAMU when considering whether to recommend rescheduling of
                        marijuana, HHS applied a two-part test (hereinafter, “CAMU test”) that takes into
                        account the current widespread medical use of marijuana under the supervision of
                        licensed health care practitioners (HCPs) under state-authorized programs. Under Part 1
                        of the CAMU test, the Office of the Assistant Secretary for Health (OASH) considered
                        whether there is widespread current experience with medical use of marijuana in the
                        United States by licensed HCPs operating in accordance with implemented state-
                        authorized programs, where such medical use is recognized by entities that regulate the
                        practice of medicine under these state jurisdictions. Part 2 of the CAMU test, performed
                        herein by the FDA, evaluates whether there exists some credible scientific support for at
                        least one of the medical conditions for which the Part 1 test is satisfied. FDA’s
                        evaluation in Part 2 is not meant to be, nor is it, a determination of safety and efficacy
                        that meets the Federal Food, Drug, and Cosmetic Act’s (FD&C Act’s) drug approval
                        standard for new human or animal drugs. Rather, the two-part test is to determine
                        whether a substance, in this case marijuana, has a CAMU for purposes of drug scheduling
                        recommendations and placement in a drug schedule consistent with criteria set forth in 21
                        U.S.C. 812(b).
                        In the evaluation and assessment under Part 1 of the CAMU test, OASH found that more
                        than 30,000 HCPs are authorized to recommend the use of marijuana for more than six
                        million registered patients, constituting widespread clinical experience associated with
                        various medical conditions recognized by a substantial number of jurisdictions across the
                        United States. For several jurisdictions, these programs have been in place for several
                        years, and include features that actively monitor medical use and product quality
                        characteristics of marijuana dispensed. OASH, through the Assistant Secretary for
                        Health, concluded that, taken together, the findings from Part 1 warrant an FDA
                        assessment under Part 2 of the CAMU test to determine if there exists credible scientific
                        support for the use of marijuana for at least one of the medical conditions identified by
                        OASH under Part 1.




                        1
                            See Section II.2.




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               FDA conducted Part 2 of the CAMU test for seven indications, based in part on OASH’s
               findings under Part 1 of the CAMU test 2 and in part on FDA’s own analysis of the
               landscape in which marijuana is currently used medically, including information from
               state-authorized programs on how and to what extent marijuana is being utilized for
               medical purposes. The seven indications are: anorexia 3, anxiety4, epilepsy, inflammatory
               bowel disease (IBD), nausea and vomiting, pain, and post-traumatic stress disorder
               (PTSD). FDA’s evaluation under Part 2 of the CAMU test was based on systematic
               reviews of studies investigating the safety and effectiveness of marijuana, relevant
               professional societies’ position statements, data from state medical marijuana programs
               and U.S. national surveys, and the labeling of FDA-approved products relevant to the
               analysis.

               2. Summary of Findings Under Part 2 of the CAMU Test
               In evaluating whether there exists some credible scientific support under Part 2 of the
               CAMU test for a particular use, factors considered in favor of a positive finding included
               whether: 1) favorable clinical studies of the medical use of marijuana, although not
               necessarily adequate and well-controlled clinical studies that would support approval of a
               new drug application (NDA), have been published in peer-reviewed journals and/or 2)
               qualified expert organizations (e.g., academic or professional societies, government
               agencies) have opined in favor of the medical use or provided guidance to HCPs on the
               medical use. Factors considered that weigh against a finding that Part 2 of the CAMU
               test is met included whether: 1) data or information indicate that the medical use of the
               substance is associated with unacceptably high safety risks for the likely patient
               population, e.g., due to toxicity concerns; 2) clinical studies with negative efficacy
               findings for the medical use of marijuana have been published in peer reviewed journals;
               and/or 3) qualified expert organizations (e.g., academic or professional societies,



               2
                 In Part 1 of the CAMU test, OASH identified at least 15 medical conditions where there is widespread
               current experience with medical use of the substance in the United States by licensed health care
               practitioners operating in accordance with implemented state-authorized programs, where the medical use
               is recognized by entities that regulate the practice of medicine. These conditions include amyotrophic
               lateral sclerosis (ALS), autism, cachexia, cancer, chronic pain, Crohn’s disease, epilepsy or condition
               causing seizures, glaucoma, HIV/AIDs, multiple sclerosis, Parkinson’s disease, persistent/severe muscle
               spasm, persistent/severe nausea, PTSD, and spasticity. FDA conducted Part 2 of the analysis for the
               medical conditions identified by OASH that were likely to have the most robust evidence available for
               review; because our analysis concluded that the Part 2 test has been met for at least one of the conditions
               identified in Part 1, there was no need to analyze all of them.
               3
                 The anorexia indication reflects anorexia due to a medical condition (e.g., HIV/AIDS) and does not
               represent anorexia nervosa.
               4
                 While anxiety was not one of the specific medical conditions identified by OASH, it is included herein
               because anxiety was identified by the FDA during the Part 2 review of state-level usage data. See, e.g.,
               Table 3. FDA considered the medical use of marijuana for the treatment of anxiety of importance to
               evaluate given the reported prevalence of marijuana use for the treatment of anxiety regardless of the legal
               status of such use in a given jurisdiction.




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                     government agencies) recommend against the medical use of marijuana (based on the
                     available data at the time of their position statement).
                     Our review of the available information identified mixed findings of effectiveness across
                     indications, ranging from data showing inconclusive findings to considerable evidence in
                     favor of effectiveness, depending on the source. The largest evidence base for
                     effectiveness exists for marijuana use within the pain indication (in particular,
                     neuropathic pain). For the pain indication, a systematic review of scientific and medical
                     literature was conducted this year by the University of Florida (UF) (see
                     Sections II.3.2 and II.4.2 for additional details) under contract with FDA. UF
                     epidemiologists identified some data supporting effectiveness of marijuana, including
                     some within their own meta-analysis; however, they ultimately concluded the results are
                     inconclusive or mixed. FDA also conducted a separate review of published systematic
                     reviews. Several of those reviews drew conclusions similar to UF. In contrast, numerous
                     other systematic reviews concluded that there exists some level of evidence supporting
                     the use of marijuana for painful conditions. Other reviews, such as the National
                     Academies of Sciences, Engineering, and Medicine (NASEM) report (2017), concluded
                     there was “substantial evidence” 5 supporting the use of cannabis products relevant to this
                     review for pain. The Agency for Healthcare Research and Quality’s (AHRQ) living
                     systematic review has concluded that there is some support for the use of marijuana-
                     related products in the treatment of pain, but overall concluded these effects were small
                     and the increased risk of dizziness, nausea and sedation may limit the benefit.
                     UF evaluated other therapeutic conditions mentioned above, i.e., anorexia, anxiety,
                     epilepsy, inflammatory bowel disease (IBD), nausea, and PTSD, employing a similar
                     systematic review of scientific and medical literature. UF found that there is low- to
                     moderate-quality evidence 6 supporting the use of marijuana as medical treatment for
                     outcomes in anorexia, nausea and vomiting, and PTSD. However, FDA review of
                     systematic reviews showed mixed results for these indications. In particular, FDA found
                     that the potential for psychiatric adverse events associated with treating PTSD with
                     marijuana may be more substantial than any limited benefit in observational studies.
                     Although UF did not conclude that there was evidence in support of the effectiveness of
                     marijuana in IBD, both their review and other systematic reviews found some benefit
                     with respect to subjective symptoms in this condition. With regard to epilepsy and
                     anxiety, both UF’s review and FDA’s review of other systematic reviews did not find
                     support for marijuana providing benefit in the treatment of these conditions. Where
                     positive results on effectiveness outcome measures were found, the effects and the
                     quality of evidence were generally in the low-to-moderate range. UF did not find high
                     quality evidence supporting worsening of outcomes in any indication.
                     None of the evidence from the systematic reviews included in our CAMU Part 2 analysis
                     identified any safety concerns that would preclude the use of marijuana in the indications


                     5
                      The term “substantial evidence” refers to language used within the NASEM report (2017) and is not
                     meant to represent “substantial evidence” as defined in 21 USC 355(d).
                     6
                       UF determined the quality of evidence rating in accordance to the Grading of Recommendations,
                     Assessment, Development and Evaluation (GRADE) approach described in the Cochrane handbook. For
                     further details, please refer to the Section II.4.2.1 in this document.




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             for which there exists some credible scientific support for its therapeutic benefit. The
             clinical safety data identified in the literature from controlled trials were generally
             consistent between sources but limited in the rigor of safety reporting. The vast majority
             of the observational studies evaluated in the context of medical use were excluded from
             the final synthesis of evidence due to concerns regarding their quality (only one
             observational study for the anxiety indication and one for the PTSD indication were
             included). Generally, data on safety from both clinical trials and observational studies
             were scarce. Literature shows marijuana has more adverse events when compared to a
             placebo or active control group, however, typically in the mild to moderate severity
             range. Severe adverse events were uncommon.
             FDA also reviewed results from state reporting data from 37 states with medical
             marijuana programs and surveys of patients using marijuana in Maryland and Minnesota,
             which had data available for review. Surveys of patients using marijuana in these two
             states found most patients did not report any side effects and those that did report side
             effects mostly described them as mild. Neither state’s databases included patients who
             chose to stop using marijuana, which may result in an overestimation of positive
             experiences.
             To date, real-world data sources available to FDA, in general, lack the necessary
             elements to identify the exposure (i.e., marijuana), to distinguish the reason for use
             (medical vs. recreational) and, if applicable, the condition that prompted its medical use,
             and/or to permit sound inferential analyses. Therefore, they were not included in this
             review.
             Data from U.S. national surveys, in general, lacked details on patient characteristics and
             factors that prompted the use of marijuana for medical purposes, and data collection for
             these surveys was impacted by the coronavirus disease of 2019 (COVID-19) pandemic.
             Despite these limitations, these data suggested that medical use of marijuana increases as
             age increases. Only data from one survey provided information on intended indication
             for use, suggesting that users often use marijuana to improve or manage conditions such
             as depression, anxiety, PTSD, pain, headaches or migraines, sleep disorders, nausea and
             vomiting, lack of appetite, and muscle spasms, but only approximately half of them
             reportedly had ever asked a healthcare professional for a recommendation to use medical
             marijuana.
             Additionally, although the safety data obtained from use in a medical context are
             considered to be the most relevant for the CAMU analysis, FDA evaluated the safety of
             marijuana in the nonmedical setting to inform the potential for more severe outcomes.
             Specifically, FDA evaluated safety outcomes related to marijuana use in the setting of
             nonmedical use, use of uncertain intent, and unintentional exposure through a variety of
             epidemiological data sources and in relation to several comparator substances controlled
             under the CSA, including drugs in Schedule I: heroin (an illicit opioid drug); Schedule II:
             hydrocodone and oxycodone (approved opioid prescription drugs), cocaine and fentanyl
             (largely illicitly produced drugs in the nonmedical use setting, although there are
             approved prescription drugs); Schedule III: ketamine (an approved prescription drug);
             and Schedule IV: zolpidem, benzodiazepines, and tramadol (approved prescription drugs)
             (FDA Office of Surveillance and Epidemiology, 2023). The comparative data
             demonstrate that, even in the context of nonmedical use, marijuana has a less concerning




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   overall safety profile relative to the comparators for a number of important outcomes
   (e.g., single substance use overdose death, hospitalizations). However, in young children,
   population-adjusted rates of emergency department visits and hospitalizations involving
   marijuana poisoning were higher than heroin, cocaine, and benzodiazepines for the
   periods studied. Of note, some of the comparator substances are approved for use in
   conditions similar to the indications for which marijuana is being evaluated in this
   CAMU analysis (e.g., opioids for pain, benzodiazepines for anxiety related conditions).
   FDA also considered position statements from professional organizations relevant to the
   indications discussed. The vast majority of professional organizations did not
   recommend the medical use of marijuana in their respective specialty; however, none
   specifically recommended against it, with the exception of the American Psychiatric
   Association (APA), which stated that marijuana is known to worsen certain psychiatric
   conditions.
   On balance, the available data indicate that there is some credible scientific support for
   the use of marijuana in the treatment of pain, anorexia, and nausea and vomiting (e.g.,
   chemotherapy-induced), with varying degrees of support and consistency of findings.
   Additionally, no safety concerns were identified in our review that would indicate that
   medical use of marijuana poses unacceptably high safety risks for the indications where
   there is some credible scientific evidence supporting its therapeutic use.

   3. Conclusions on Marijuana and CAMU
   Based on the totality of the available data, we conclude that there exists some credible
   scientific support for the medical use of marijuana in at least one of the indications for
   which there is widespread current experience in the United States, as identified by OASH
   under Part 1 of the CAMU test. Seven indications were selected for evaluation under
   Part 2 of the CAMU test based on conclusions from Part 1 of the CAMU test as well as
   the FDA’s analysis of the landscape of medical use of marijuana. The indications
   evaluated included anorexia related to a medical condition, anxiety, epilepsy,
   inflammatory bowel disease, nausea and vomiting (e.g., chemotherapy-induced), pain,
   and post-traumatic stress disorder. The analysis and conclusions on the available data are
   not meant to imply that safety and effectiveness have been established for marijuana that
   would support FDA approval of a marijuana drug product for a particular indication.
   However, the available data do provide some level of support for the way marijuana is
   being used in clinical practice. Thus, based on the widespread HCP experience and the
   extent of medical use evaluated by OASH under the Part 1 test, and an evaluation of
   available credible scientific support described herein for at least some therapeutic uses
   identified in the Part 1 test, we find that, for purposes of the drug scheduling criteria in 21
   U.S.C. 812(b), marijuana has a currently accepted medical use in the United States for:
   anorexia related to a medical condition; nausea and vomiting (e.g., chemotherapy-
   induced); and pain.




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        II. Evaluation of Marijuana with Respect to CAMU

        1. Introduction
        Drugs or other substances with abuse potential are placed into one of five schedules (i.e.,
        Schedule I, II, III, IV, or V) under the federal Controlled Substances Act (CSA) based on
        whether the drug has a currently accepted medical use in treatment in the United States
        and its degree of abuse and dependency potential. Collectively, drugs and other
        substances listed among the five drug schedules are controlled substances under federal
        law and are subject to the federal regulatory requirements of the Drug Enforcement
        Administration (DEA), where regulatory requirements may vary relative to each of the
        five drug control schedules. Stricter regulatory controls are associated with schedules
        that are for those substances posing the greatest harms to public health, i.e., substances
        controlled under Schedule I and II which have a high potential for abuse and greatest
        safety concerns and potential to cause severe psychological and/or physical dependence.
        Specifically, drugs controlled under Schedule I have a high potential for abuse but do not
        have a currently accepted medical use, whereas drugs controlled under Schedule II have
        the same high potential for abuse but have a currently accepted medical use in treatment
        in the United States (CAMU) or a currently accepted medical use with severe restrictions.
        Drugs in Schedule III, IV, and V, have a currently accepted medical use, but substances
        in these schedules have incrementally decreasing degrees of abuse potential and
        dependence liability, i.e., Schedule V having substances with the lowest abuse potential
        and dependence liability while still warranting some degree of regulatory controls.
        On October 6, 2022, the Biden Administration issued a statement on reforms associated
        with marijuana, 7 a substance currently controlled in Schedule I of the CSA (Biden 2022).
        As part of the statement, the President directed the Secretary of the Department of Health
        and Human Services (HHS) and the Attorney General to initiate the administrative
        process to review expeditiously how marijuana is scheduled under federal law. The
        Secretary requested that the FDA, in consultation with the National Institute on Drug
        Abuse (NIDA), conduct a scientific and medical evaluation of marijuana that would
        enable the Office of the Assistant Secretary for Health (OASH), on behalf of the
        Secretary, to convey recommendations to the DEA regarding the appropriate scheduling
        of marijuana. A necessary component of the overall scientific and medical evaluation of
        marijuana for drug scheduling purposes is a finding as to whether marijuana is considered
        to have a CAMU in the United States under the CSA, where such finding will have
        implications for the schedule of control that is ultimately recommended by HHS as most
        appropriate in accordance with 21 U.S.C. 812(b). This document is intended to analyze
        and present the relevant data and make a determination as to whether marijuana is
        considered to have a CAMU in the United States under the CSA.
        The approach for evaluating CAMU in this memo is a two-part test (hereafter referred to
        as “CAMU test”). To satisfy Part 1 of the CAMU test, there must be widespread current
        experience with medical use of the substance in the United States by licensed health care


        7
            “Marijuana” as defined in 21 U.S.C. 802(16)

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          practitioners operating in accordance with implemented state-authorized programs, where
          medical use is recognized by entities that regulate the practice of medicine. To satisfy
          Part 2 of the CAMU test, there must exist some credible scientific support for a least one
          of the medical uses for which Part 1 of the CAMU test has been met. The purpose of this
          test is not to determine that the substance is safe and effective under the FD&C Act’s
          drug approval standard, but rather to determine whether there is some credible scientific
          support for at least one medical use of the substance for which Part 1 of the CAMU test is
          satisfied, in order to determine whether there is a CAMU for purposes of drug scheduling
          recommendations under the administrative drug scheduling process [21 U.S.C. 811(a-c)
          and 812(b)].

          2. Definitions Relevant to the Analysis of Whether Marijuana
             Has a CAMU
          Marijuana is a psychoactive drug produced from the Cannabis sativa L. plant. Cannabis is
          one of the oldest cultivated crops, providing a source of fiber, food, oil, and drug, and it
          contains a variety of chemical compounds, including delta-9-tetrahydrocannabinol (∆9-
          THC). ∆9-THC is considered to be the main psychoactive component of the Cannabis sativa
          L. plant; however, the plant is also known to contain other psychoactive cannabinoids.
          Marijuana is a subset of cannabis, and the CSA defines marijuana or “marihuana” 8 as:
                (16)(A) Subject to subparagraph (B), the terms "marihuana" and "marijuana"
                mean all parts of the plant Cannabis sativa L., whether growing or not; the
                seeds thereof; the resin extracted from any part of such plant; and every
                compound, manufacture, salt, derivative, mixture, or preparation of such
                plant, its seeds or resin.
                (B) The terms "marihuana" and "marijuana" do not include-
                    (i) hemp, as defined in section 1639o of title 7; or
                    (ii) the mature stalks of such plant, fiber produced from such stalks, oil or
                    cake made from the seeds of such plant, any other compound,
                    manufacture, salt, derivative, mixture, or preparation of such mature
                    stalks (except the resin extracted therefrom), fiber, oil, or cake, or the
                    sterilized seed of such plant which is incapable of germination.

          The exclusion of “hemp”-type cannabis from marijuana’s Schedule I control status
          reflects the provisions of the 2018 Agriculture Improvement Act (i.e., the “Farm Bill”),
          which defined hemp as Cannabis sativa L. and its derivatives with no more than 0.3
          percent ∆9-THC on a dry weight basis, and explicitly revised the definition of marijuana
          in the CSA to exclude, and effectively decontrol, hemp.




          8
              21 U.S.C. 802(16)

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   As this document is evaluating the CAMU for marijuana, as it is defined and controlled
   under Schedule I of the CSA, we will use the term marijuana for our analysis. However,
   when describing information referenced from other sources, our language will reflect the
   terminology used in those sources. Additionally, for the purposes of this review, we will
   use ∆9-THC and THC interchangeably.

   3. Overview of the Analysis of Marijuana and CAMU: Parts 1
      and 2

    3.1. Summary of the OASH Findings Under Part 1 of the CAMU
         Test
   To determine whether marijuana has a CAMU in the United States, OASH conducted an
   analysis consisting of the first component of the aforementioned two-part test. The goal
   of Part 1 was to identify whether widespread, current experience with marijuana exists
   for at least one medical use within jurisdiction-authorized programs, where such medical
   use is recognized by entities that regulate the practice of medicine. Support for satisfying
   Part 1 was based on any of the following factors: the number of licensed HCPs who have
   gained clinical experience with marijuana in at least one specific medical use; the number
   of entities that regulate the practice of medicine recognize at least one medical use of
   marijuana and its extent; and the duration of HCP experience with prescribing marijuana
   for medical use.
   OASH conducted the evaluation and assessment of marijuana under Part 1 of the CAMU
   test and has confirmed that more than 30,000 HCPs across 43 U.S. jurisdictions are
   authorized to recommend the medical use of marijuana for more than six million legally
   registered patients for at least 15 medical conditions. Taken together, the data support
   that a substantial number of HCPs have gained clinical experience with marijuana, and a
   substantial number of regulatory entities recognize at least one specific medical use of
   marijuana under authorized programs. Additionally, OASH concluded that HCPs’
   clinical experience with the use of marijuana for various medical conditions is of
   sufficient extent and duration to help evaluate potential clinical uses. OASH further
   noted, however, that based on the available secondary data for this analysis, it could not
   be conclusively determined whether HCP clinical experience with the use of marijuana is
   of sufficient extent and duration to help evaluate the longer-term toxicities and potential
   harms of marijuana when used under medical supervision.
   OASH, through the Assistant Secretary for Health, concluded that “the findings from Part
   1 warrant an FDA assessment under Part 2 of the Department’s CAMU approach to
   determine if there exists credible scientific support for the use of marijuana for at least
   one of the medical conditions [identified by OASH under Part 1].”

    3.2. Approach to Part 2 of the CAMU Test
   To satisfy Part 2 of the CAMU test, there must exist some credible scientific support for
   at least one of the medical uses for which Part 1 of the CAMU test has been met. In



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   evaluating whether there exists some credible scientific support under Part 2 of the
   CAMU test for a particular use, factors considered in favor of a positive finding included
   whether 1) favorable clinical studies of the medical use of marijuana, although not
   necessarily adequate and well-controlled clinical studies that would support FDA
   approval of a new drug application (NDA), have been published in peer-reviewed
   journals, and/or 2) qualified expert organizations (e.g., academic or professional
   societies, government agencies) have opined in favor of the medical use or provided
   guidance to HCPs on the medical use. Factors considered that weigh against a finding
   that Part 2 of the CAMU test is met included whether: 1) data or information indicate that
   the medical use of marijuana is associated with unacceptably high safety risks for the
   likely patient population, e.g., due to toxicity concerns; 2) clinical studies with negative
   efficacy findings for the medical use of marijuana have been published in peer reviewed
   journals; and/or 3) qualified expert organizations (e.g., academic or professional
   societies, government agencies) have recommended against the medical use of marijuana.
   To evaluate marijuana under Part 2 of the CAMU test, this memo will consider data from
   peer-reviewed publications included in a systematic review of the medical literature on
   marijuana that was conducted by the Consortium for Medical Marijuana Clinical
   Outcomes Research at the University of Florida (hereafter referred to as the “University
   of Florida” or “UF”), a review of published systematic reviews, analysis of safety data
   that have been collected through state medical marijuana programs, data on patterns of
   use in the context of medical use as reported in U.S. national surveys, FDA’s findings for
   approved drug products related to marijuana (e.g., Marinol), and expert opinions and
   position statements from professional organizations. Examples of meeting the
   requirement for demonstrating some credible scientific support would be peer-reviewed
   clinical studies reporting evidence of benefit, or a reputable medical/scientific
   organization recommending treatment with marijuana for an indication within their area
   of expertise. The overall conclusions on the criteria for Part 2 of the CAMU test will be
   based on the totality of the available evidence described above.

   4. Assessment of Data Under Part 2 of the CAMU Test for
      Marijuana

    4.1. Patterns of Use in the Context of Medical Use
   The purpose of this section is to describe the patterns of medical use of marijuana as
   reported in U.S. national surveys. Thus, FDA examined patterns of use among medical
   users of marijuana as reported in four U.S. national surveys: The International Cannabis
   Policy Study (ICPS), Substance Abuse and Mental Health Services Administration
   (SAMHSA)’s National Survey on Drug Use and Health (NSDUH), the Centers for
   Disease Control and Prevention (CDC)’s Behavioral Risk Factor Surveillance System
   (BRFSS), and the National Institute for Drug Abuse (NIDA)’s Monitoring the Future
   (MTF).




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                    4.1.1. International Cannabis Policy Study (ICPS)

                     4.1.1.1. Methods
                The ICPS is an international research collaboration led by the University of Waterloo,
                Canada, designed to examine the public health impact of cannabis legalization in the
                United States. The ICPS Project includes national population-based surveys conducted
                annually in the United States since 2018 via self-completed web-based surveys using a
                repeat cross-sectional design. ICPS recruited individuals through the Nielsen Consumer
                Insights Global Panel and their partners’ panels using non-probability sampling methods.
                After targeting for age and country criteria, ICPS sent email invitations (with a unique
                link) to a random sample of panelists (panelists known to be ineligible were not invited). 9
                ICPS oversampled individuals from states that had legalized ‘non-medical adult’
                cannabis in order to provide more robust estimates for individual states. Individuals were
                eligible to participate in the survey if they resided in the United States, were 16-65 years
                of age at the time of recruitment and had access to the internet. Respondents were
                provided with information about the study and provided consent prior to completing the
                survey for which they received remuneration.
                ICPS assessed medical versus ‘non-medical’ or recreational use among past 12-month
                cannabis consumers beginning in the 2019 ICPS surveys, and modified the measure in
                2020 and 2021 to capture exclusive vs. non-exclusive medical use. 10 ICPS conducted all
                analyses using post-stratification weights constructed based on the U.S. census estimates.
                ICPS reported frequencies and descriptive statistics with 95% confidence intervals. 11
                Analyses are presented based on the legal status of marijuana at the state-level based on
                three categories: ‘recreational states’ (states that have legalized adult ‘non-medical’
                marijuana), ‘medical states’ (states that have legalized medical marijuana, but not ‘non-
                medical’ marijuana use), and ‘illegal states’ (states in which neither ‘medical’ nor ‘non-
                medical’ marijuana use has been legalized at the state level) [Appendix Table 55 for
                calendar year 2021]. The University of Waterloo conducted all analyses using survey
                procedures in Statistical Analysis System [SAS] (SAS version 9.4, SAS Institute Inc.,
                Cary, NC, USA). Technical reports for the ICPS surveys provide additional
                methodological description and are publicly accessible (Corsetti et al. 2022).




                9
                 Individuals outside of the age range (<16 and >65 years), any panelists that resided outside the United
                States, or those that do not speak English.
                10
                   The question wording was modified using a ‘split half’ approach, in which half of respondents in the
                2020 and 2021 survey were asked the question using the original 2019 wording (i.e., “Do you self-identify
                as a medical marijuana user only?”), and half were asked the modified question wording (i.e., “Do you self-
                identify as a medical marijuana user?”).
                11 Any estimates based on less than 30 respondents should be interpreted with caution.




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                  4.1.1.2. Results
             ICPS collected data from a total of 107,572 respondents aged 16-65 years between 2018
             and 2021. The response rate was 64.2% in 2018, 62.9% in 2019, 62.0% in 2020, and
             60.8% in 2021. Overall, across the four cohorts, the sample had a similar sex
             distribution, with approximately 60% of individuals ages 45-64 years, a majority of non-
             Hispanic and White people, most with some college education or a bachelor’s degree,
             and similarly distributed in regard to income adequacy. 12 Approximately 50% of the
             sample reported having ever consumed cannabis for any reason (Appendix Table 56).
             A total of 60,193 individuals (56% of 107,572 respondents) were asked whether they
             identified themselves as a user of cannabis exclusively for medical reasons in the year
             prior. Approximately 8-10% of this subset of the sample reported being a user of
             cannabis in the past year for medical reasons only (exclusive) while approximately 20%
             reported other (recreational) use (Table 1).

             Table 1. Reason for Past-Year Use of Cannabis, ICPS, 2018-2021
                                                   20182             20193          20204                                              20215
              Reason for Past-Year Use              N/A         (n=30,366)     (n=14,762)                                         (n=14,858)
              Medical use (exclusive)1           N/A          8.9% (2,712)   7.9% (1,170)                                       9.7% (1,447)
                                                             (8.4% - 9.4%)  (7.5% - 8.4%)                                     (9.3% - 10.2%)
              Other (‘recreational’)             N/A         21.7% (6,598)  19.1% (2,819)                                      22.0% (3,265)
                                                          (21.0% - 22.4%) (18.5% - 19.7%)                                    (21.3% - 22.7%)
             Source: (Hammond et al. 2023), Table 2a
             1
               Respondents were asked “Do you self-identify as a medical marijuana user only?” (‘exclusive’ medical use)
             2
               In 2018, respondents were not asked if they self-identify as a medical cannabis consumer.
             3
               In 2019, 94 responses were excluded for refusal to answer
             4
               In 2020 the denominator only includes those who would have seen the ‘split half version of the question specific to exclusive
             medical use; 71 responses excluded for refusal to answer.
             5
               In 2021 the denominator only includes those who would have seen the ‘split half version of the question specific to exclusive
             medical use; 42 responses excluded for refusal to answer.


             In the 2021 survey, among the 1,447 individuals reporting cannabis use exclusively for
             medical reasons in the past year, 56.8% (95% CI [confidence interval]: 53.0% - 60.7%)
             reported ever having asked a licensed health professional for a recommendation to use
             medical cannabis (Table 2). This prevalence rate appears to be only slightly impacted by
             the legal status of marijuana in the state of residence as 47% (95% CI: 38.6% - 55.4%) of
             users residing in states with illegal status asked their providers for a
             prescription/authorization to use medical cannabis.




             12
                The wording of the question was “Thinking about your family’s income, how difficult or easy is it to
             make ends meet? ‘Making ends meet’ means having enough money to pay for the thing your family
             needs.”




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                     Table 2. Ever Asked a Licensed Health Professional for a Recommendation to Use Medical
                     Cannabis, Among Exclusive Past-Year Medical Cannabis Consumers, 2021
                                                             Medical (Exclusive)
                                       ‘Illegal’ States    ‘Medical’ States ‘Recreational’ States         All States
                      Response                 (n=351)              (n=450)               (n=646)         (n=1,447)
                      Yes                  47.0% (165)          60.2% (271)           59.9% (387)       56.8% (822)
                                      (38.6% - 55.4%)       (53.3% - 67.0%)       (54.3% - 65.5%)   (53.0% - 60.7%)
                      No                   50.1% (176)          37.9% (170)           37.7% (244)       40.8% (590)
                                      (41.6% - 58.5%)       (31.0% - 44.7%)       (32.2% - 43.3%)   (36.9% - 44.6%)
                      Missing1               3.0% (10)             2.0% (9)             2.4% (15)         2.4% (35)
                                        (0.1% - 5.8%)         (0.0% - 3.9%)         (1.2% - 3.6%)     (1.3% - 3.4%)
                     Source: (Hammond et al. 2023), Table 95.
                     1
                      “Missing” includes respondents who responded “Don’t know” or refused to answer.


                     Most (67.4%; 95% CI: 63.6-71.1) participants reporting exclusive medical use of
                     cannabis used cannabis in the past month, without significant differences driven by state
                     legal status. Time since last use of cannabis by sex, age group, race, and ethnicity,
                     overall and by state legal status, is shown in the Appendix (Table 57, Table 58, Table 59,
                     and Table 60).
                     Approximately 86.7% (n=1,255) of exclusive medical users reported ever using cannabis
                     to improve or manage symptoms related to at least one psychiatric condition. The most
                     frequent selected conditions included anxiety (67.3%), depression (47.8%), post-
                     traumatic stress disorder [PTSD] (31.2%), bipolar disorder (17.2%), and alcohol or other
                     drug use (9.8%) (Table 3).

                     Table 3. Ever-Use of Cannabis to Improve or Manage Symptoms for Any of the Selected Psychiatric
                     Conditions, Among Exclusive Past-Year Medical Cannabis Consumers, 2021
                                                                  Medical (Exclusive)1
                                                    ‘Illegal’ States  ‘Medical’ States ‘Recreational’ States       All States
                      Symptom                               (n=351)            (n=450)              (n=646)         (n=1,447)
                      Anxiety                           69.6% (244)        68.6% (309)          65.3% (422)      67.3% (974)
                                                  (61.9% - 77.2%)      (62.1% - 75.1%)      (60.0% - 70.5%) (63.7% - 70.9%)
                      Depression                        55.4% (194)        53.4% (240)          39.7% (257)      47.8% (691)
                                                  (47.0% - 63.8%)      (46.5% - 60.3%)      (34.0% - 45.4%) (43.9% - 51.7%)
                      PTSD                              39.8% (140)        29.0% (131)          28.1% (181)      31.2% (452)
                                                  (31.7% - 48.0%)      (23.2% - 34.9%)      (23.0% - 33.2%) (27.7% - 34.8%)
                      Bipolar disorder                   25.6% (90)         13.4% (60)           15.4% (99)      17.2% (249)
                                                  (18.2% - 33.0%)       (9.3% - 17.5%)      (11.5% - 19.3%) (14.4% - 20.1%)
                      Psychosis                           8.0% (28)          9.3% (42)            8.2% (53)       8.5% (123)
                                                    (3.0% - 13.1%)      (5.0% - 13.6%)       (5.1% - 11.4%)   (6.2% - 10.8%)
                      Schizophrenia                       5.5% (19)          5.9% (27)            2.1% (14)         4.1% (60)
                                                     (1.1% - 9.8%)       (2.6% - 9.3%)        (1.2% - 3.1%)    (2.6% - 5.7%)
                      Alcohol or other drug use           9.4% (33)         10.7% (48)            8.5% (55)       9.4% (136)
                                                    (4.3% - 14.5%)      (6.3% - 15.1%)       (5.2% - 11.7%)   (7.0% - 11.7%)
                      Eating disorder                     9.5% (33)          7.4% (33)            8.8% (57)       8.5% (124)
                                                    (4.6% - 14.4%)      (4.0% - 10.8%)       (5.8% - 11.8%)   (6.5% - 10.6%)
                      ADD/ADHD                            8.9% (31)         10.3% (46)            9.9% (64)       9.8% (141)
                                                    (3.9% - 13.8%)      (6.4% - 14.2%)       (6.8% - 13.0%)   (7.6% - 12.0%)
                      Other                                0.0% (0)           0.5% (2)             0.4% (2)          0.3% (5)
                                                     (0.0% - 0.0%)       (0.0% - 1.1%)        (0.1% - 0.7%)    (0.1% - 0.6%)


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                                                                               Medical (Exclusive)1
                                                                 ‘Illegal’ States  ‘Medical’ States              ‘Recreational’ States         All States
                         Symptom                                         (n=351)            (n=450)                           (n=646)          (n=1,447)
                         None                                          5.9% (21)         12.5% (56)                       17.8% (115)        13.3% (192)
                                                                  (2.9% - 8.9%)      (8.0% - 17.0%)                   (13.2% - 22.3%)    (10.6% - 15.9%)
                         Missing2                                       1.8% (6)          3.4% (15)                         1.7% (11)          2.3% (33)
                                                                  (0.0% - 4.7%)       (0.5% - 6.4%)                     (0.9% - 2.5%)      (1.1% - 3.5%)
                        Source: (Hammond et al. 2023), Table 104.
                        1
                          Response options are not mutually exclusive options, column total may sum to greater than 100%.
                        2
                          “Missing” includes respondents who responded “Don’t know” or refused to answer.


                        Exclusive medical cannabis consumers also often reported use of cannabis to improve or
                        manage symptoms of pain (59.7%), headaches and migraines (48.0%), problems sleeping
                        (39.3%), lack of appetite (27.1%), nausea or vomiting or chemotherapy symptoms
                        (24.6%), and muscle spasms (22.1%) (Table 4).

                        Table 4. Ever-Use of Cannabis to Improve or Manage Symptoms for Any of the Following, Among
                        Exclusive Past-Year Medical Cannabis Consumers, 2021
                                                                     Medical (Exclusive)1
                                                      ‘Illegal’ States  ‘Medical’ States ‘Recreational’ States      All States
                         Symptom                              (n=351)             (n=450)             (n=646)       (n=1,447)
                         Headaches/migraines              51.4% (180)         47.8% (215)         46.4% (300)     48.0% (695)
                                                    (43.0% - 59.9%)      (40.9% - 54.7%)      (40.5% - 52.2%) (44.1% - 52.0%)
                         Pain                             64.2% (225)         56.5% (254)         59.6% (385)     59.7% (864)
                                                    (56.0% - 72.5%)      (49.5% - 63.4%)      (53.8% - 65.3%) (55.8% - 63.6%)
                         Nausea/vomiting or               30.6% (107)         23.2% (104)         22.5% (145)     24.6% (357)
                         chemotherapy symptoms      (23.2% - 37.9%)      (17.4% - 28.9%)      (17.9% - 27.1%) (21.4% - 27.9%)
                         Lack of appetite                 30.5% (107)         24.5% (110)         27.0% (174)     27.1% (392)
                                                    (22.6% - 38.4%)      (18.6% - 30.5%)      (21.5% - 32.4%) (23.5% - 30.7%)
                         Seizures                          13.5% (47)           7.3% (33)           4.6% (30)      7.6% (110)
                                                      (6.4% - 20.6%)      (3.4% - 11.2%)        (3.1% - 6.1%)   (5.4% - 9.9%)
                         Muscle spasms                     20.7% (73)          21.1% (95)         23.6% (152)     22.1% (320)
                                                    (13.9% - 27.5%)      (15.6% - 26.6%)      (18.7% - 28.4%) (18.9% - 25.3%)
                         To shrink tumors or treat          5.5% (19)           4.5% (20)           3.6% (23)       4.4% (63)
                         cancer                       (1.1% - 10.0%)       (1.5% - 7.5%)        (2.0% - 5.3%)   (2.8% - 6.0%)
                         Problems sleeping                44.0% (154)         38.2% (172)         37.6% (243)     39.3% (569)
                                                    (35.8% - 52.3%)      (31.7% - 44.7%)      (32.0% - 43.1%) (35.6% - 43.1%)
                         Digestion/gastrointestinal        17.6% (62)          12.2% (55)          14.6% (94)     14.6% (211)
                         issues                     (10.5% - 24.7%)       (8.0% - 16.4%)      (10.2% - 19.0%) (11.6% - 17.5%)
                         Fibromyalgia                       8.5% (30)          10.0% (45)           6.5% (42)      8.1% (117)
                                                      (4.9% - 12.0%)      (6.4% - 13.6%)        (4.8% - 8.2%)   (6.4% - 9.7%)
                         None                               3.7% (13)           4.0% (18)           3.2% (20)       3.6% (52)
                                                       (0.7% - 6.8%)       (1.0% - 7.1%)        (1.3% - 5.0%)   (2.1% - 5.0%)
                         Missing2                            2.3% (8)           2.7% (12)            1.3% (9)       2.0% (29)
                                                       (0.0% - 5.3%)       (0.0% - 5.5%)        (0.5% - 2.1%)   (0.8% - 3.2%)
                        Source: (Hammond et al. 2023), Table 106.
                        1
                          Response options are not mutually exclusive options, column total may sum to greater than 100%.
                        2
                          “Missing” includes respondents who responded “Don’t know” or refused to answer.


                        Although 34.1% of respondents did not provide an answer, 60.5% of those who reported
                        use of cannabis exclusively for medical reasons in the past year reported having used
                        cannabis for pain relief, instead of using opioids or prescription pain medication in the
                        past 12 months (Table 5).




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         Table 5. Used Cannabis for Pain Relief, Instead of Using Opioids or Prescription Pain Medication in
         the Past 12 Months, Among Exclusive Past-Year Medical Cannabis Consumers, 2021
                                                     Medical (Exclusive)
                            ‘Illegal’ States     ‘Medical’ States     ‘Recreational’ States             All States
          Response                  (n=351)               (n=450)                  (n=646)              (n=1,447)
          Yes                   62.1% (218)           58.7% (264)             61.0% (393)             60.5% (876)
                          (53.9% - 70.6%)         (51.7% - 65.6%)        (55.3% - 66.6%)         (56.7% - 64.4%)
          No                      8.3% (29)             4.7% (21)                4.3% (28)              5.3% (77)
                            (3.2% - 13.0%)          (1.6% - 7.6%)           (2.5% - 6.1%)           (3.6% - 7.0%)
          Missing1              29.6% (104)          36.7% (165)              34.8% (225)             34.1% (494)
                          (21.7% - 37.5%)      (29.9% - 43.6%)           (29.2% - 40.4%)        (30.3% - 37.9%)
         Source: (Hammond et al. 2023), Table 110.
         1
           “Missing” includes respondents who responded “Don’t know” or refused to answer.


         At least 40% of exclusive medical users reported using cannabis and alcohol
         simultaneously, with approximately 11.7% of individuals reporting often or always
         consuming both substances together (Table 6).

         Table 6. Past-Year Co-Use of Alcohol With Cannabis Among Exclusive Past-Year Medical Cannabis
         Consumers, 2021
                                                       Medical (Exclusive)1,2
                                        ‘Illegal’ States   ‘Medical’ States ‘Recreational’ States       All States
          Frequency                             (n=351)              (n=450)             (n=646)        (n=1,447)
          Never3                            59.3% (208)          55.7% (251)         56.2% (363)      56.8% (821)
                                       (50.9% - 67.6%)      (48.8% - 62.6%)      (50.3% - 62.0%)  (52.8% - 60.7%)
          Sometimes                          24.1% (84)          29.9% (134)         32.8% (212)      29.8% (431)
                                       (17.2% - 30.9%)      (23.5% - 36.2%)      (27.1% - 38.6%)  (26.1% - 33.4%)
          Often                              10.8% (38)            6.6% (30)           7.6% (49)       8.1% (117)
                                        (4.9% - 16.7%)       (3.1% - 10.2%)        (5.2% - 9.9%)   (6.0% - 10.2%)
          Every time I use cannabis           5.9% (21)            4.4% (20)           1.9% (12)        3.6% (53)
                                        (1.0% - 10.7%)         (1.4% - 7.5%)       (0.5% - 3.3%)    (2.0% - 5.3%)
         Source: (Hammond et al. 2023), Table 91.
         1
           This question was asked only to respondents who had used cannabis in the past 12 months and ever used alcohol.
         2
           ‘Don’t know’ responses are not shown in the table: ‘medical states’ n=15; ‘recreational states’ n=10; ‘all states’ n=25.
         3
           Those who never used alcohol were included in the “Never” category for this table.


         Past-year users of cannabis exclusively for medical purposes more often reported
         obtaining cannabis from stores/dispensaries (49.7%), followed by family/friends (44.7%),
         and dealers, while 18.6% reported growing cannabis or making their own cannabis
         products (Appendix Table 61). Among those reporting purchasing cannabis from a store,
         approximately 6.3% reported sourcing their cannabis from an illegal/unauthorized store
         (Appendix Table 62).

              4.1.1.3. Discussion
         FDA primarily summarized findings among the 1,447 users of cannabis ages 16–65 years
         surveyed in 2021 who self-reported exclusive use for medical reasons in the past 12
         months. Most (67.1%) of these individuals reported use in the past month. Slightly more
         than half reported ever asking a licensed health professional for a recommendation to use
         medical cannabis, with slightly higher levels in states that had legalized medical or
         recreational marijuana. Approximately 86.7% of medical users reported using cannabis
         to improve or manage psychiatric symptoms, most commonly for depression, anxiety and

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         PTSD. Medical cannabis users also often reported using cannabis to manage pain,
         followed by headaches or migraines, sleep disorders, to manage nausea and vomiting,
         lack of appetite, and muscle spasms. At least 40% of individuals reported using cannabis
         and alcohol simultaneously. Medical users reported obtaining cannabis through different
         sources with stores and dispensaries being the most commonly reported cannabis source,
         followed by family and friends, and dealers. Approximately 19% reported growing
         cannabis or making their own cannabis products.
         These analyses are subject to the limited sample of self-identified exclusive medical users
         as well as to limitations inherent to survey research, which include the cross-sectional
         nature of the data and potential for response bias. Self-reported measures of cannabis use
         are subject to social desirability bias, including for prevalence of use and measures such
         as purchasing cannabis from illegal retail sources. ICPS recruited respondents using non-
         probability-based sampling; therefore, the findings do not necessarily provide nationally
         representative estimates. Lastly, ICPS did not restrict to marijuana in their questions,
         therefore, to some extent, respondents might have been referring to cannabis-derived
         products instead that are legal at the federal level (i.e., hemp as defined by the 2018 Farm
         Bill) as both terms are often used interchangeably.

           4.1.2. National Survey on Drug Use and Health (NSDUH)

            4.1.2.1. Methods
         The NSDUH is an annual, nationally representative, cross-sectional household survey of
         individuals ages 12 and older that provides information on the use of prescription and
         illicit drugs in the United States. Since 2015, NSDUH has elicited information on any
         use, as well as nonmedical use (abuse or misuse), of select prescription and illicit drugs in
         the past year.
         FDA used data from SAMHSA’s public online data analysis system (PDAS) to analyze
         public use data from 2015 to 2020 (SAMHSA 2023). FDA requested that SAMHSA
         conduct custom analyses of 2021 using the restricted use file (RUF) rather than the public
         use file. Due to disclosure avoidance methods used in creating the public use file (PUF),
         national estimates in terms of numbers and percent may differ between sources; however,
         disclosure methods have been implemented in such a way that the PUF continues to be
         representative of civilian members of the noninstitutionalized population in the United
         States (CBHSQ 2022b). FDA reported national estimates in terms of numbers of
         individuals, percent of the total population, and percent of people with any past-year or
         past-month as well as use as per health care provider recommendation. Additional details
         are described elsewhere (FDA Office of Surveillance and Epidemiology, 2023).

            4.1.2.2. Results
         The weighted sample included a total of 267,694,489 individuals ages 12 years and older
         in 2015; 269,430,135 in 2016; 272,103,335 in 2017; 273,753,043 in 2018; 275,221,248
         in 2019; 276,911,975 in 2020; and 279,843,944 in 2021. The prevalence in use of

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                        marijuana (any use) in the past year ranged from 13.6% in 2015 to 18.7% in
                        2021(FDA Office of Surveillance and Epidemiology, 2023).
                        The use of marijuana was not recommended by a healthcare provider for the large
                        majority (>84.2%) of participants who reported its use in the year prior (Table 7). The
                        percent of individuals who used marijuana only for the reason for which it was
                        recommended to them by an HCP ranged from 6.8% to 10.0%. An additional 3.6% to
                        5.8% of respondents had an HCP recommendation but also used it for nonmedical
                        purposes (Table 7).

                        Table 7. Marijuana Use Recommended by a Healthcare Provider, Individuals Ages 12 Years or
                        Older With Past-Year Use of Marijuana: National Survey on Drug Use and Health, 2015-2021
                        (Numbers in Thousands)
                                                               Medical Use Only:               Both Medical and
                                    Nonmedical Use Only:               Use as Per Nonmedical Use: Some Use as
                                   No Recommendation by      Recommendation by          Per Recommendation by
                                      Healthcare Provider    Healthcare Provider            Healthcare Provider
                                      Weighted Frequency     Weighted Frequency             Weighted Frequency
                         Year            in Thousands (%)       in Thousands (%)               in Thousands (%)
                         2015                32,027 (89.0%)          2,631 (7.3%)                   1,344 (3.7%)
                         2016                32,951 (88.6%)          2,907 (7.8%)                   1,341 (3.6%)
                         2017                35,934 (89.0%)          2,745 (6.8%)                   1,716 (4.3%)
                         2018                38,024 (87.9%)          3,312 (7.7%)                   1,913 (4.5%)
                         2019                41,897 (87.5%)          3,723 (7.8%)                   2,292 (4.8%)
                         2020                40,064 (84.2%)         4,746 (10.0%)                   2,751 (5.8%)
                         2021                43,784 (85.8%)          4,502 (8.8%)                   2,750 (5.4%)
                        Source: 2015-2020 provided using NSDUH Public Data Analysis System (PDAS) system analysis of Public Use File (SAMHSA
                        2023). 2021 estimates provided using custom SAMHSA analysis of Restricted Use File (CBHSQ 2022a).
                        Note: Analysis excluded under 1% of observations with values coded as "bad data" (i.e., usually inconsistent with other data). People
                        who used marijuana in the past year but did not specify whether their use was recommended by a doctor or other healthcare
                        professional were excluded.
                        Data cited at (FDA Office of Surveillance and Epidemiology, 2023), Table 3.1.1.


                        Nearly all adolescents who used marijuana did not have an HCP recommendation
                        (Table 8). Individuals ages 35-64 and 65+ years appeared to be more likely to have used
                        marijuana only under an HCP recommendation in the year prior than the younger age
                        groups. As such, in 2021, 97.0% of individuals ages 12-17 years with past-year use of
                        marijuana reported use without a recommendation by their HCP, with only 1.0% of
                        individuals reporting use exclusively as per HCP recommendation and an additional 1.9%
                        reporting some use of marijuana as per HCP recommendation and some use for other
                        reasons. For the same year, 83.7% of individuals ages 65+ years with past-year use of
                        marijuana reported use without a recommendation by their HCP, with 11.6% of
                        individuals reporting use exclusively as per HCP recommendation and an additional 4.7%
                        reporting some use of marijuana as per HCP recommendation and some use for other
                        reasons.




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         Table 8. Marijuana Use Recommended by a Healthcare Provider, Individuals Ages 12 Years or
         Older With Past-Year Use of Marijuana by Age Group: National Survey on Drug Use and Health,
         2015-2021 (Numbers in Thousands)
                           12-17 Years       18-25 Years      26-34 Years        35-64 Years          65+ Years
                             Weighted          Weighted         Weighted           Weighted           Weighted
                         Frequency in      Frequency in     Frequency in       Frequency in        Frequency in
          Year         Thousands (%) Thousands (%) Thousands (%)             Thousands (%)       Thousands (%)
          Nonmedical Use Only: No Recommendation by Healthcare Provider
          2015           2,950 (97.3%)    10,370 (91.8%)    7,091 (88.4%)     10,773 (86.0%)        843 (74.8%)
          2016           2,773 (96.4%)    10,350 (91.9%)    7,683 (88.2%)     10,945 (85.3%)      1,199 (78.8%)
          2017           2,949 (97.1%)    10,852 (92.0%)    7,956 (87.5%)     12,703 (86.6%)      1,476 (81.7%)
          2018           2,918 (96.7%)    10,826 (92.1%)    8,934 (86.7%)     13,588 (84.6%)      1,758 (82.7%)
          2019           3,105 (96.7%)    10,811 (91.6%)   10,147 (88.4%)     15,694 (83.6%)      2,140 (81.0%)
          2020           2,286 (96.2%)    10,480 (90.9%)    9,339 (86.4%)     15,460 (78.6%)      2,498 (78.9%)
          2021           2,414 (97.0%)    10,345 (90.6%)   10,376 (85.6%)     17,455 (82.3%)      3,194 (83.7%)
          Medical Use Only: Use as Per Recommendation by Healthcare Provider
          2015               21 (0.7%)        522 (4.6%)       653 (8.1%)       1,196 (9.5%)        240 (21.3%)
          2016               31 (1.1%)        530 (4.7%)       625 (7.2%)      1,461 (11.4%)        260 (17.1%)
          2017               34 (1.1%)        484 (4.1%)       692 (7.6%)       1,270 (8.7%)        264 (14.6%)
          2018               34 (1.1%)        464 (4.0%)       881 (8.6%)      1,681 (10.5%)        252 (11.9%)
          2019               37 (1.2%)        510 (4.3%)       707 (6.2%)      2,171 (11.6%)        298 (11.3%)
          2020               62 (2.6%)        487 (4.2%)       852 (7.9%)      2,849 (14.5%)        496 (15.7%)
          2021               25 (1.0%)        553 (4.8%)     1,019 (8.4%)      2,463 (11.6%)        441 (11.6%)
          Both Medical and Nonmedical Use: Some Use as Per Recommendation by Healthcare Provider
          2015               62 (2.0%)        401 (3.5%)       282 (3.5%)         556 (4.4%)           44 (3.9%)
          2016               74 (2.6%)        379 (3.4%)       401 (4.6%)         423 (3.3%)           64 (4.2%)
          2017               54 (1.8%)        460 (3.9%)       448 (4.9%)         688 (4.7%)           66 (3.7%)
          2018               66 (2.2%)        459 (3.9%)       491 (4.8%)         798 (5.0%)         116 (5.4%)
          2019               67 (2.1%)        488 (4.1%)       625 (5.4%)         907 (4.8%)         205 (7.7%)
          2020               27 (1.2%)        559 (4.9%)       620 (5.7%)       1,371 (7.0%)         174 (5.5%)
          2021               47 (1.9%)        513 (4.5%)       726 (6.0%)       1,284 (6.1%)         179 (4.7%)
         Source: 2015-2020 provided using NSDUH Public Data Analysis System (PDAS) system analysis of Public Use File (SAMHSA
         2023). 2021 estimates provided using custom SAMHSA analysis of Restricted Use File (CBHSQ 2022a).
         Note: Analysis excluded under 1% of observations with values coded as "bad data" (i.e., usually inconsistent with other data). People
         who used marijuana in the past year but did not specify whether their use was recommended by a doctor or other healthcare
         professional were excluded (<1%).
         Data cited at (FDA Office of Surveillance and Epidemiology, 2023), Appendix Tables 7.7.7 to 7.7.11.


         Individuals without an HCP recommendation for marijuana use were more likely to
         report use of marijuana in the 30 days prior compared to those with HCP recommended
         use while the opposite pattern was observed in the 241-365 days prior (Table 9).

         Table 9. Frequency of Marijuana Use in the Past Year, by Age Group: Among Past-Year Marijuana
         Users With Different Use Types Aged 12 or Older, NSDUH, 2021 (Numbers in Thousands)
                                                     Weighted
                                                  Frequency in          Weighted
          Frequency                                 Thousands      Prevalence (%)
          All Past-Year Marijuana Users
            1-30 days                                    19,610               37.4
            31-60 days                                    5,446               10.4
            61-180 days                                   7,704               14.7
            181-240 days                                  2,868                5.5
            241-365 days                                 16,826               32.1


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                                                                              Weighted
                                                                          Frequency in        Weighted
                                Frequency                                    Thousands   Prevalence (%)
                                Past-Year Marijuana Users for Whom No Use Recommended by a Doctor or
                                Other Health Care Professional
                                  1-30 days                                     17,636              40.2
                                  31-60 days                                     4,517              10.3
                                  61-180 days                                    6,528              14.9
                                  181-240 days                                   2,380               5.4
                                  241-365 days                                  12,777              29.1
                                Past-Year Marijuana Users for Whom All Use Recommended by a Doctor or
                                Other Health Care Professional
                                  1-30 days                                        816              18.5
                                  31-60 days                                       417               9.4
                                  61-180 days                                      589              13.3
                                  181-240 days                                     245               5.5
                                  241-365 days                                   2,356              53.3
                                Past-Year Marijuana Users for Whom Some, but Not All Use Recommended
                                by a Doctor or Other Health Care Professional
                                  1-30 days                                        451              16.4
                                  31-60 days                                       298              10.8
                                  61-180 days                                      440              16.0
                                  181-240 days                                     168               6.1
                                  241-365 days                                   1,396              50.7
                               Source: Estimates provided using custom SAMHSA analysis of Restricted Use File, 2021 (CBHSQ 2022a).
                               Note: Analysis excluded under 1% of observations with values coded as "bad data" (i.e., usually inconsistent with other data). People
                               who used marijuana in the past year but did not specify whether their use was recommended by a doctor or other healthcare
                               professional were excluded.
                               Data cited at (FDA Office of Surveillance and Epidemiology, 2023), Figure 3.1.2.


                               In 2021, most individuals who used marijuana in the past year bought or paid for it
                               (Table 10). Individuals with no HCP recommended marijuana use were more likely to
                               receive marijuana for free and less likely to purchase marijuana, compared to those with
                               all or some HCP recommended use.




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                              Table 10. Method of Acquiring Last Marijuana Used Among Those Who Used Marijuana in Past 12 Months by Healthcare Provider (HCP)
                              Recommendation, Individuals Ages 12 Years or Older, NSDUH, 2021 (Numbers in Thousands)
                                                                                                                                                 Both Medical and Nonmedical
                                                                                               Nonmedical Use Only:    Medical Use Only: Use as           Use: Some Use as Per
                                                                                             No Recommendation by       Per Recommendation by             Recommendation by
                                                                        Any Marijuana Use        Healthcare Provider        Healthcare Provider            Healthcare Provider
                               Method of Obtaining Latest            Weighted Frequency in    Weighted Frequency in      Weighted Frequency in           Weighted Frequency in
                               Marijuana Used                               Thousands (%)            Thousands (%)              Thousands (%)                   Thousands (%)
                               Bought/Paid for it                            30,794 (59.1%)           25,101 (57.4%)              3,653 (81.3%)                   1,935 (70.4%)
                               Traded something else for it                    1,059 (2.0%)               858 (2.0%)                 105 (2.3%)                       83 (3.0%)
                               Got it from someone for free or               17,065 (32.7%)           16,071 (36.7%)                 428 (9.5%)                     552 (20.1%)
                               shared someone else’s
                               Grew it myself                                  1,172 (2.2%)               866 (2.0%)                 166 (3.7%)                      141 (5.1%)
                               Don’t know/Refused                              2,039 (3.9%)               858 (2.0%)                 139 (3.1%)                       39 (1.4%)
                              Source: Estimates provided using custom SAMHSA analysis of Restricted Use File, 2021 (CBHSQ 2022a).
                              Note: Analysis excluded under 1% of observations with values coded as "bad data" (i.e., usually inconsistent with other data). People who used marijuana in the past year but did not specify whether
                              their use was recommended by a doctor or other healthcare professional were excluded.
                              Data cited at (FDA Office of Surveillance and Epidemiology, 2023), Table 3.1.3.




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                                  Among those who reported paying for the last marijuana they used, most purchased
                                  marijuana from a dispensary, particularly those reporting use as per recommendation by a
                                  healthcare provider (Table 11). Individuals without HCP recommendation and those with
                                  some use as per HCP recommendation for marijuana use were more likely to purchase it
                                  from a friend, relative, or other family member compared to those with some or all HCP
                                  recommended marijuana use.




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                          Table 11. From Whom Latest Purchased Marijuana Was Bought Among Individuals Who Purchased Marijuana in the Past 12 Months, Individuals
                          Ages 12 Years or Older, NSDUH, 2021 (Numbers in Thousands)
                                                                                                                                                           Both Medical and
                                                                                             Nonmedical Use Only:    Medical Use Only: Use as Nonmedical Use: Some Use
                                                                                            No Recommendation by     Per Recommendation by as Per Recommendation by
                                                                        Any Marijuana Use      Healthcare Provider        Healthcare Provider           Healthcare Provider
                                                                    Weighted Frequency in   Weighted Frequency in      Weighted Frequency in         Weighted Frequency in
                           Source of Last Marijuana Used                    Thousands (%)          Thousands (%)               Thousands (%)                 Thousands (%)
                           Dispensary                                        18,977 (55.0%)         14,060 (49.6%)               3,423 (89.7%)                 1,470 (66.5%)
                           Friend, relative, or family                       12,230 (35.5%)         11,336 (40.0%)                  295 (7.7%)                   547 (24.8%)
                           Someone I just met or didn’t know well              2,661 (7.7%)            2,446 (8.6%)                  63 (1.6%)                    139 (6.3%)
                           Don’t know/Refused                                    626 (1.8%)              517 (1.8%)                  34 (0.9%)                     53 (2.4%)
                          Source: Estimates provided using custom SAMHSA analysis of Restricted Use File, 2021 (CBHSQ 2022a).
                          Note: Analysis excluded under 1% of observations with values coded as "bad data" (i.e., usually inconsistent with other data). People who used marijuana in the past year but did not specify whether
                          their use was recommended by a doctor or other healthcare professional were excluded.
                          Data cited at (FDA Office of Surveillance and Epidemiology, 2023), Figure 3.1.4.




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             4.1.2.3. Discussion
         Nearly all adolescents who used marijuana in the year prior did not have an HCP
         recommendation. Overall, older individuals appeared to be more likely to have used
         marijuana only under an HCP recommendation than the younger age groups. The large
         majority of individuals who used marijuana in the past year as per HCP recommendation
         bought or paid for it, often from a dispensary.
         Because SAMHSA restricted the question to use of marijuana as per HCP
         recommendation, the results reflect the proportion of respondents for which use of
         marijuana is supported by medical judgment. However, HCP’s ability to provide such
         recommendation is likely influenced by the legal status of the state of residence.
         The coronavirus disease of 2019 (COVID-19) pandemic disrupted NSDUH data
         collection in 2020 and 2021 (FDA Office of Surveillance and Epidemiology, 2023).
         Thus, the 2020 results reflect a combination of results collected in the first 3 months of
         2020, prior to the beginning of COVID-19 restrictions, and the last 3 months of 2020,
         which consisted of a mix of in-person collection in areas where COVID-19 rates were
         low and web-based data collection in other areas. In 2021, SAMHSA collected data both
         in-person and online web-based surveys, and the frequency of collection mode varied by
         quarter, with more in-person surveys in later quarters than in earlier quarters. SAMHSA
         also found mode effects as in-person respondents were more likely to have used certain
         substances and more likely to have experienced mental health issues than online
         respondents (FDA Office of Surveillance and Epidemiology, 2023).

           4.1.3. Behavioral Risk Factor Surveillance System (BRFSS)

             4.1.3.1. Methods
         BRFSS is a national state-based cross-sectional telephone survey that collects data on
         health-related risk behaviors, chronic health conditions, and use of preventive services
         from more than 400,000 noninstitutionalized adults ages 18+ years each year (CDC
         2018). Initially established in 1984 in 15 states by the CDC, the survey is currently
         administered by state health departments—with technical and methodological assistance
         from CDC—in all 50 states, the District of Columbia, and three U.S. territories. The
         states use a standardized core questionnaire, optional modules (including a module on
         marijuana use), 13 and state-added questions.
         FDA analyzed BRFSS data for the calendar year 2021, which included a combination of
         core and marijuana module-specific questions from states and territories that participated
         in the optional marijuana questionnaire. Marijuana module data included questions on 1)
         past 30-day marijuana use, 2) reasons for using marijuana (i.e., medical, non-medical, or


         13 The states and territories participating in the optional marijuana module are Alaska, Connecticut,

         Delaware, Guam, Hawaii, Idaho, Illinois, Indiana, Kentucky, Maine, Maryland, Minnesota, Montana,
         Nebraska, Nevada, New Hampshire, New York, North Dakota, Ohio, Oklahoma, Rhode Island, Utah,
         Vermont, and Wyoming.




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                        both), and 3) method of use (i.e., smoking, eating, drinking, vaporizing, dabbing, or
                        other). Response rates for BRFSS were calculated using standards set by the American
                        Association for Public Opinion Research (AAPOR) Response Rate Formula. In 2021,
                        the overall median survey response rate was 44.0% and ranged from 23.5 to 60.5% across
                        all states/territories that participated. FDA reported population-level estimates based on
                        complex survey weights and survey designs that adjusted for nonresponse bias and non-
                        coverage areas. Additional details are described in the CDC’s BRFSS website (CDC
                        2023).

                             4.1.3.2. Results
                        A total of 182,212 adults ages ≥18 years residing in the participating states and territories
                        responded to the marijuana module in 2021, representing an estimated weighted
                        frequency of 68,152,868 individuals. These individuals were mostly White, Non-
                        Hispanic (67.0%, 95% CI: 66.5, 67.5), Black, Non-Hispanic (11.8%, 95% CI: 11.4, 12.2),
                        or Hispanic (10.5, 95% CI: 10.1, 10.9). Their age distribution is shown in Table 12.

                        Table 12. Distribution by Age Group of Respondents, BRFSS 2021
                                                           Weighted
                         Age (Years)      Frequency       Frequency       Percent      95% Confidence Limits
                         18-24                 9,390       7,830,004          11.5      11.1            11.9
                         25-34                17,605      11,077,448          16.3      15.8            16.7
                         35-44                23,483      10,905,138          16.0      15.6            16.5
                         45-54                27,902      10,528,936          15.4      15.1            15.9
                         55-64                35,616      11,614,979          17.0      16.7            17.4
                         65+                  68,216      16,196,364          23.8      23.4            24.2
                         Total               182,212      68,152,868         100.0         -               -
                        Of them, a total of 17,889 individuals reported past 30-day use of marijuana, representing
                        a weighted prevalence rate of 11.9% (95% CI: 11.5, 12.3). Among them, 56.9% (95% CI:
                        55.3, 58.6) were male, 66.6% (95% CI: 65.1, 68.1) White, Non-Hispanic, and 15.0%
                        (95% CI: 13.6, 16.3) Black, Non-Hispanic. Their age distribution is shown in Table 13.

                        Table 13. Distribution by Age Group of Respondents Who Reported Past 30-Day Marijuana Use,
                        BRFSS, Marijuana Module, 2021
                                                           Weighted
                         Age (Years)       Frequency      Frequency        Percent     95% Confidence Limits
                         18-24                  2,001       1,654,965         20.6         19.1           22.2
                         25-34                  3,512       2,292,084         28.6         27.0           30.2
                         35-44                  3,349       1,485,146         18.5         17.3           19.7
                         45-54                  2,620         954,256         11.9         10.9           12.9
                         55-64                  3,287       1,033,502         12.9         11.9           13.9
                         65+                    2,897         597,458          7.5           6.8           8.1
                         Total                 17,666       8,017,412        100.0             -             -
                        * Excludes individuals who responded, "Don't know/not sure” and those who refused to answer.


                        A total of 24.9% (95% CI: 23.6, 26.2) reported use for medical reasons and 38.8% (95%
                        CI: 37.2, 40.5) for both medical and nonmedical reasons (Table 14). Reason for use in
                        the participating states or territories is shown in the Appendix (Appendix, Table 63).




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                              Table 14. Past 30-Day Marijuana Use by Reason for Use, BRFSS, Marijuana Module, 2021
                               Reason for Past 30-Day                          Weighted            Weighted %
                               Marijuana Use*               Frequency         Frequency                (95% CI)
                               Medical reason                    5,357         1,997,581        24.9 (23.6, 26.2)
                               Nonmedical reason                 5,700         2,905,432        36.2 (34.6, 37.8)
                               Both reasons                      6,609         3,114,399        38.8 (37.2, 40.5)
                               Total (any use)                  17,666         8,017,412                   100.0
                              * Excludes individuals who responded, "Don't know/not sure” and those who refused to answer.


                              Overall, past 30-day use of marijuana for medical reasons increased with age with 12.6%
                              (95% CI: 10.1, 15.1) of individuals ages 18-24 years and 37.1% (95% CI: 33.1, 41.1) of
                              individuals ages 65+ years reporting its use exclusively for this purpose (Table 15).
                              Conversely, past 30-day use of marijuana for nonmedical reasons decreased with
                              increasing age with 48.8% (95% CI: 44.5, 53.1) of individuals ages 18-24 years and
                              32.3% (95% CI: 28.4, 36.1) of individuals ages 65+ years. Among individuals who
                              reported past 30-day use of marijuana for both medical and nonmedical reasons, although
                              CIs overlap, use appears to decrease starting from age 55 years with 30.6% (95% CI:
                              26.8, 34.5) of individuals ages 65+ years reporting its dual use.




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Table 15. Past 30-Day Use of Marijuana by Age Category and Stratified by Reason of Use, BRFSS, Marijuana Module, 2021
                                                                                                                    Both Medical and Nonmedical
 Age               Any Reason                 Nonmedical Reason                        Medical Reason                         Reason
 Group                     Weighted        Weighted          Weighted %            Weighted         Weighted %        Weighted         Weighted %
 (Years)     Frequency Frequency Frequency (%)                   (95% CI)    Frequency (%)              (95% CI) Frequency (%)             (95% CI)
 18-24             2,001   1,654,965         807,187      48.8 (44.5, 53.1)          208,576     12.6 (10.1, 15.1)      639,203     38.6 (34.4, 42.8)
 25-34             3,512   2,292,084         859,936      37.5 (34.2, 40.9)          444,111     19.4 (17.0, 21.7)      988,037     43.1 (39.8, 46.4)
 35-44             3,349   1,485,146         491,771      33.1 (29.9, 36.3)          401,714     27.0 (24.1, 30.0)      591,662     39.8 (36.4, 43.3)
 45-54             2,620     954,256         251,969      26.4 (22.8, 30.0)          336,105     35.2 (31.3, 39.2)      366,182     38.4 (33.9, 42.9)
 55-64             3,287   1,033,502         301,838      29.2 (25.5, 32.9)          385,463     37.3 (33.2, 41.4)      346,201     33.5 (29.6, 37.4)
 65+               2,897     597,458         192,731      32.3 (28.4, 36.1)          221,613     37.1 (33.1, 41.1)      183,114     30.6 (26.8, 34.5)
 Total            17,666   8,017,412       2,905,432      36.2 (34.6, 37.8)        1,997,581     34.9 (23.6, 26.2)    3,114,399     38.8 (37.2, 40.5)
* Excludes individuals who responded, "Don't know/not sure” and those who refused to answer.




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                     Regardless of the reason for use, data showed that smoking was the most frequent
                     method of use with 60.3% (95% CI: 57.5, 63.1) among medical users and 73.9% (95%
                     CI: 71.6, 76.3) among those who reported both medical and recreational use (Appendix,
                     Table 64). Edibles represented 21.3% (95% CI, 19.1, 23.5) of method of use among
                     medical users and 12.6% (95% CI: 10.7, 14.5) among those who reported both medical
                     and recreational use.

                        4.1.3.3. Discussion
                     CDC’s BRFSS survey data suggest that, among those who report past 30-day use of
                     marijuana, medical use increases with increasing age. Regardless of the reason for use,
                     smoking and edibles were the most frequent methods of use.
                     Besides limitations inherent to survey research, which include the cross-sectional nature
                     of the data and potential for response bias, the BRFSS data were limited to the 24 states
                     and territories that participated in the 2021 module on marijuana use. Also, response
                     rates differed widely across states and territories with some states having survey response
                     rates as low as 23.5%.

                       4.1.4. Monitoring the Future (MTF)

                        4.1.4.1. Methods
                     Since 1975, MTF collects information on medical and nonmedical use of selected
                     prescription and illicit drugs and alcohol by conducting an annual, nationally
                     representative, cross-sectional survey of 8th, 10th, and 12th graders (NIDA 2022). The
                     survey is funded by the NIDA, a component of the National Institutes of Health (NIH),
                     and conducted by the University of Michigan. Schools are invited to participate in the
                     MTF study for a 2-year period (Miech et al. 2023). Informed consent (active or passive,
                     per school policy) is obtained from parents of students younger than 18 years and from
                     students aged 18 years or older. Starting in 2017, the survey included information on
                     marijuana use under a doctor's recommendation.
                     To secure a nationally representative sample of high school seniors, the survey uses a
                     three-stage sampling procedure, sampling geographic regions, schools, and individual
                     students. MTF used paper-and-pencil surveys prior to 2019, and in 2019, a randomly
                     selected half of students were administered paper-and-pencil surveys while the other half
                     recorded their answers on electronic tablets. From 2020, all students recorded their
                     responses using electronic tablets. In-school data collection stopped on March 15, 2020,
                     as a result of the COVID-19 pandemic resulting in a sample size for the calendar year
                     2020 that was 25% of the size of a typical data collection.
                     FDA abstracted data on response rate and lifetime prevalent use of marijuana under a
                     doctor’s recommendation from the National Survey Results on Drug Use, 1975-2022:
                     Secondary School Students (Miech et al. 2023). Additional details are described
                     elsewhere (FDA Office of Surveillance and Epidemiology, 2023).




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                     4.1.4.2. Results
                The survey included the lowest number of students in 2020 (n=11,821) and the highest in
                2018 (n=44,482) with a response rate across the entire study period of ≥82% among 8th
                graders, ≥78% among 10th graders, and ≥69% among 12th graders (Appendix Table 65).
                The lifetime prevalent use of marijuana under a doctor’s recommendation among 8th
                graders ranged from 1.1% in 2017 to 1.7 % in 2022 (Figure 1). The lifetime prevalence
                among 10th graders ranged from 1.1% in 2017 to 1.6% in 2022, although peaking up to
                2.0% in 2019 and 2020. The lifetime prevalence of use among 12th graders ranged from
                1.5% in 2017 to 3.6% in 2022.

                Figure 1. Prevalence of Use of Marijuana Under a Doctor’s Order in Grades 8th, 10th, and 12th,
                MTF, 2017–2022
                                                                                            3.5
                       Lifetime prevalence of use of marijuana under a doctor's order (%)

                                                                                            3
                                                                                            2.5
                                                                                            2
                                                                                            1.5
                                                                                            1




                                                                                                  2017   2018        2019                   2020*    2021           2022
                                                                                                                            Calendar year



                                                                                                         8th grade              10th grade             12th grade
                * Insufficient data for the 2020 estimate in 12th graders, due to curtailed data collection during the COVID-19 pandemic.


                     4.1.4.3. Discussion
                NIDA’s MTF data suggest that lifetime prevalent use of marijuana under HCP
                recommendation among 8-12th graders is rare (<3.6%). Because this survey is school-
                based (and not household-based) it does not provide estimates of prevalence of use for
                dropouts and home-schooled teenagers.

                  4.1.5. Conclusions on Patterns of Medical Use
                FDA examined patterns of use among medical users of marijuana as reported in four U.S.
                national surveys: ICPS, SAMHSA’s NSDUH, CDC’s BRFSS, and NIDA’s MTF. In

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              general, most data sources other than ICPS lacked details on patient characteristics and
              factors that promoted the use of marijuana for medical purposes. Some data sources were
              impacted by the COVID-19 pandemic, and, for ICPS and BFRSS data were largely
              restricted to the calendar year 2021. Despite these limitations, these data suggest that
              medical use increases as age increases. NSDUH data suggested that individuals who
              reported use as per an HCP recommendation were more likely to use marijuana more
              frequently over the year compared to those without any recommended use. Only data
              from ICPS provided information on intended indication for use, which suggested that
              medical users often use marijuana to improve or manage conditions such as depression,
              anxiety, PTSD, pain, headaches or migraines, sleep disorders, nausea and vomiting, lack
              of appetite, and muscle spasms. In ICPS, approximately 50-60% of exclusive medical
              users reported having ever asked an HCP for a recommendation to use medical cannabis.
              In 2021, as per BRFSS data, smoking appears to be the most frequent method of use and,
              as per ICPS, at least 40% of individuals reported using cannabis and alcohol
              simultaneously. Generally, medical users reported obtaining cannabis through different
              sources with stores and dispensaries being the most commonly reported cannabis source,
              followed by family and friends.

               4.2. University of Florida Systematic Literature Review
              The purpose of Section II.4.2 is to summarize the findings from a systematic literature
              review of the credible evidence of effectiveness and safety of marijuana as a medical
              treatment for the indications of anorexia, anxiety, epilepsy, inflammatory bowel disease
              (IBD), nausea, pain, and post-traumatic stress disorder (PTSD).

                   4.2.1. Methods
              The University of Florida (UF), under contract with FDA, conducted a series of
              systematic reviews to critically evaluate and interpret literature on patient-level
              controlled observational and controlled interventional studies (original research or
              systematic reviews/meta-analyses of original research) evaluating the effectiveness of
              marijuana for the treatment of anorexia3, anxiety, epilepsy, inflammatory bowel disease,
              nausea, 14 pain, and PTSD. They also evaluated the potential harms from marijuana use
              as they relate to these seven indications.
              The seven indications that were identified for further analysis were determined by FDA,
              in part informed by OASH’s findings under Part 1 of the CAMU test and in part informed
              by FDA’s own analysis of the landscape in which marijuana is currently used medically,
              including information from state-level programs on how and to what extent marijuana is
              being utilized for medical purposes. The FDA analysis of the landscape was to determine
              the most appropriate indications to be further evaluated, including by the UF team in a
              systematic literature review. The landscape analysis was based on the following: a
              representative sample of available state-level data on authorized medical uses, expedited
              review of key professional organizations’ recommendations, indications for active


              14
                   Broadly defined as inclusive of vomiting/emesis.

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                investigational new drug (IND) applications for all cannabinoids, preliminary PubMed
                search for topics related to marijuana, and currently FDA-approved cannabinoid product
                indications. Based on these factors considered, the chosen indications were based on
                state-level utilization, scientific interest (e.g., publications, INDs, professional
                organizations), and indications previously approved for other cannabinoids.
                UF conducted searches, one per indication, in PubMed, the Cochrane Library, American
                Psychiatric Association (APA) PsycInfo, and Embase in February 2023. The search
                criteria, agreed upon with FDA, were defined according to marijuana exposure 15 and
                indication-specific keywords and controlled vocabulary. 16 The searches were restricted
                to publications in English and to the period between January 2000 through February 2023
                to identify literature published since the 1999 Institute of Medicine’s Marijuana and
                Medicine review (IOM 1999).
                After removal of duplicates, screening, and assessment for eligibility by two independent
                reviewers (a third one in case of disagreement), all included studies were critically
                evaluated for risk of bias using the Cochrane risk-of-bias tool for randomized trials (RoB
                2) or the “Risk of Bias In Non-randomised Studies - of Interventions” (ROBINS-I)
                (Sterne et al. 2016; Sterne et al. 2019). The RoB 2 contains assessment of risk of bias for
                five domains: 1) bias arising from the randomization process, 2) bias due to deviations
                from intended intervention, 3) bias due to missing outcome data, 4) bias in measurement
                of the outcome, and 5) bias in selection of the reported result. Within each of the five
                domains, raters respond to a series of questions that generate a numerical score per
                response. Based on the score total from each domain, the risk of bias within each of the
                domains is then ranked as “low risk”, “some concern”, or “high risk” as per pre-specified
                score thresholds. The ROBINS-I scores each study on seven domains: 1) bias due to
                confounding, 2) selection bias, 3) bias in classification of interventions, 4) bias due to
                deviations from intended interventions or measured exposure, 5) bias due to missing data,
                6) bias in the measurement of outcomes, and 7) bias in the selection of reported results.
                Within each of the seven domains, raters respond to a series of questions that generate a
                numerical score per response. Based on the score total from each domain, the risk of bias
                within each of the domain is then ranked as “low”, “moderate”, “serious”, or “critical”.
                Each study was independently rated by two investigators; when there was disagreement
                amongst raters, a third investigator conducted an independent rating. 17
                Observational studies with serious or critical risk of bias and, for the pain indication,
                randomized controlled trials (RCTs) and observational studies that investigated the pain


                15
                   The exposure definition excluded FDA-approved cannabis-derived products, hemp as defined in the 2018
                Farm Bill, topical formulations, synthetic forms of 9-THC, and combinations of marijuana and synthetics
                except in cases where the effects of an exposure for the marijuana agent were investigated separately from
                the combination.
                16
                   Controlled vocabulary represents the standardized words and phrases employed by databases to organize
                literature on related subjects.
                17
                   As specified in the protocol, studies where two out of three raters did not achieve consensus, quality
                rating was determined by a faculty team lead.




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              as a secondary outcome, were not further considered. For the remaining RCTs and
              observational studies, evidence quality was rated for primary outcome(s) assessed within
              each indication (rather than for individual studies) in accordance to the Grading of
              Recommendations, Assessment, Development and Evaluation (GRADE) approach within
              the Cochrane handbook (Schünemann et al. 2019). 18 The rating for each outcome was
              informed by the rating assessment of five quality domains (Certainty, Imprecision,
              Inconsistency, Generalizability, and Publication Bias). The GRADE approach allows
              raters to promote or demote ‘Certainty’ in the evidence rating based on several criteria.
              To demote ‘Certainty’ in evidence, key considerations included risk of bias, imprecision,
              inconsistency, indirectness, and publication bias. 19 To promote ‘Certainty’ in evidence,
              key considerations included large magnitude of effect, dose-response gradient, and
              residual confounding that would decrease the magnitude of effect (where an effect was
              observed or reported). In cases where an outcome was only assessed in a single study,
              the raters were unable to rate the domain of ‘Inconsistency’ as this describes consistency
              in direction of findings as compared across studies (or across analysis groupings if
              multiple analyses of the outcome are reported within a single study). The overall quality
              of evidence rating was stated as a categorical judgement (Table 16).

              Table 16. Categories and Definitions for the Overall Evidence Quality Ratings*
               Evidence Quality Rating         Definition of Rating
               Very low quality                The true effect of marijuana is probably significantly
                                               different from the estimated (reported or observed) effect.
               Low quality                     The true effect of marijuana may be similar to the
                                               estimated (reported or observed) effect.
               Moderate quality                The true effect of marijuana is probably similar to the
                                               estimated (reported or observed) effect.
               High quality                    The true effect of marijuana is similar to the estimated
                                               (reported or observed) effect.
              Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical
              Literature and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.
              * Based on the Grading of Recommendations, Assessment, Development and Evaluation (GRADE) approach


              Quantitative meta-analysis, including pooled estimates and/or meta-regressions as
              applicable, were calculated in instances where a minimum of five studies reported the
              outcome with sufficient homogeneity in reporting to support a pooled estimate.
              Additionally, FDA required that the studies reporting that outcome be rated as ‘moderate’
              or ‘high’ quality evidence to avoid amplifying bias in reported effects that may be present
              in lower quality studies.
              For a full list of references that were considered for the systematic literature review, refer
              to the Appendix under each listed indication (Sections III.5.1, III.5.2, III.5.3, III.5.4,
              III.5.5, and III.5.6). All the information included in this section is based on the UF
              review; the Appendix provides the references for the RCTs, observational studies, and
              supporting literature relevant to the text included in this review (Table 81, Table 83,
              Table 85, Table 87, Table 89, Table 91).


              18 The RCTs with ‘high’ risk of bias were considered in quality of evidence ratings, but resulted in

              evidence quality rating demotion as per Cochrane guidance.
              19
                   The risk of bias assessments conducted prior to the evidence rating activity informed these decisions.




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                                 Further methodological details, including those on data extraction, screening, assessment
                                 for eligibility, risk of bias assessments, quality of evidence ratings, and strategy for data
                                 synthesis are described in the Consortium for Medical Marijuana Clinical Outcomes
                                 Research in Partnership with the Sentinel Initiative. Medical Literature and Data on
                                 Marijuana Use Project 2/1B Report.

                                   4.2.2. Results

                                    4.2.2.1. Anorexia
                                 Anorexia and weight loss are common in many heath conditions, such as cancer and
                                 human immunodeficiency virus (HIV) infection, that impact patients’ quality of life.
                                 Evidence suggests cannabinoids, particularly tetrahydrocannabinol (THC), may produce
                                 appetite stimulation by activating cannabinoid receptors (CB), especially CB1, in the
                                 brain via a complex process incorporating digestive signaling hormones, thereby serving
                                 as a potential treatment for anorexia.
                                 The protocol-specified searches of the scientific literature yielded a total of 4,086
                                 publications. After removal of duplicates, screening, and assessment for eligibility, there
                                 were six studies that met all the eligibility criteria—four of these directly identified
                                 through the searches and two identified through the systematic reviews that underwent
                                 extraction of component studies (Figure 2). Three of the six studies were RCTs
                                 categorized as having high or some risk of bias and three were observational studies, all
                                 of them with critical risk of bias. The summary of studies included in the risk of bias
                                 assessments as well as their references and risk of bias assessment are displayed in
                                 Appendix III.5.1.




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                     Figure 2. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Anorexia




                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative.
                     Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023

                     The three observational studies eligible for inclusion were not considered further because
                     each was rated as having a critical risk of bias. Thus, only three RCTs were further
                     considered; each one of them examined different sets of outcomes among the following:
                     (1) appetite, (2) quality of life, (3) food intake, and (4) body weight. The quality of
                     evidence rating for the studies by outcome are shown in Table 17, Table 18, Table 19,
                     Table 20. There were insufficient studies of moderate or high quality to support the
                     calculation of meta-analytic estimates for any of the outcomes within the anorexia
                     indication.




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                       Table 17. Quality of Evidence Rating for Appetite, Certainty Rating by Study and Overall
                                                                                                     Overall Certainty
                        Domain Assessed                     (Strasser et al. 2006)                   Rating Across Studies
                        Certainty                          High concern                              High concern
                        Imprecision                        High concern                              High concern
                        Inconsistency                                                                Unable to rate
                        Generalizability                   Moderate concern                          Moderate concern
                        Publication bias                                                             Unable to rate
                        Overall quality of evidence rating                                           Low quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                       Table 18. Quality of Evidence Rating for Quality of Life, Certainty Rating by Study and Overall
                                                                                              Overall Certainty Rating
                        Domain Assessed                     (Strasser et al. 2006)            Across Studies
                        Certainty                           High concern                      High concern
                        Imprecision                         High concern                      High concern
                        Inconsistency                                                         Unable to rate
                        Generalizability                    Moderate concern                  Moderate concern
                        Publication bias                                                      Unable to rate
                        Overall quality of evidence rating                                    Low quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                       Table 19. Quality of Evidence Rating for Food/Caloric Intake, Certainty Rating by Study and Overall
                                                                                                            Overall Certainty
                        Domain Assessed                    (Haney et al. 2005)     (Haney et al. 2007)      Rating Across Studies
                        Certainty                          Moderate concern        Moderate concern         Moderate concern
                        Imprecision                        Moderate concern        Moderate concern         Moderate concern
                        Inconsistency                                                                       Low concern
                        Generalizability                   Moderate concern        Moderate concern         Moderate concern
                        Publication bias                                                                    Unable to rate
                        Overall quality of evidence rating                                                  Moderate quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                       Table 20. Quality of Evidence Rating for Body Weight, Certainty Rating by Study and Overall
                                                                                            Overall Certainty Rating
                        Domain Assessed                    (Haney et al. 2007)              Across Studies
                        Certainty                          Moderate concern                 Moderate concern
                        Imprecision                        Unable to rate                   Unable to rate
                        Inconsistency                                                       Unable to rate
                        Generalizability                   Moderate concern                 Moderate concern
                        Publication bias                                                    Unable to rate
                        Overall quality of evidence rating                                  Low quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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                               Summary of Effectiveness for Anorexia
                               Two studies assessed the benefit of marijuana cigarettes on several outcome measures
                               related to HIV anorexia-cachexia. In participants with HIV, there was moderate quality
                               of evidence that cannabis increased caloric intake and low quality of evidence that
                               cannabis increased body weight. One of these studies showed a significant increase in
                               weight in participants but only in those participants who had significant loss of muscle
                               mass prior to treatment. The other study showed an increase in caloric intake in
                               participants with HIV.
                               One RCT assessed whether marijuana had any benefit in cancer-related anorexia and
                               showed no benefit compared with placebo.
                               There was no significant effect of marijuana on the outcomes of improved appetite or
                               quality of life, in any of the RCTs based on a low quality of evidence.

                               Summary of Safety for Anorexia
                               A higher proportion of patients experienced adverse events (AEs) with treatment
                               compared to placebo in one study but not in two others examined by UF. No serious
                               adverse events (SAEs) were reported in these studies.

                                  4.2.2.2. Anxiety
                               The endocannabinoid system is distributed broadly throughout the brain and modulates
                               other neurotransmitter systems such as gamma-aminobutyric acid (GABA), dopamine,
                               and serotonin. Therefore, some have hypothesized that marijuana may impact anxiety
                               and anxiety-related symptoms through its effects on the endocannabinoid system.
                               The searches in the scientific literature retrieved a total of 10,815 publications. After
                               removal of duplicates, screening, and assessment for eligibility, UF identified five studies
                               relevant to the indication of anxiety where marijuana was utilized for several conditions
                               with an anxiety outcome measure. These included fibromyalgia, obsessive compulsive
                               disorder (OCD), multiple sclerosis, Parkinson disease, and non-cancer pain. None of the
                               identified studies included a primary anxiety disorder. Four were RCTs and one was an
                               observational study (Figure 3). The summary of studies included in the risk of bias
                               assessments as well as their references and risk of bias assessment are displayed in
                               Appendix III.5.2.




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               Figure 3. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Anxiety




               Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
               and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


               The observational study was rated with sufficiently low risk of bias to be included in
               quality of evidence ratings along with the four RCTs, all of them categorized as having
               low risk of bias. Each one of the studies assessed examined different sets of outcomes
               among the following: (1) Self-Rating Anxiety Scale; Symptom Checklist-90 (SCL-90);
               Spielberger State-Trait Anxiety (STAI-S); (2) Profile of Mood States; (3) Fibromyalgia
               Impact Questionnaire- Anxiety Component; and (4) HADs- Quality of Life Component.
               The quality of evidence rating for the studies by outcome are shown in Table 21,




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                       Table 22, Table 23, Table 24. The studies did not report sufficiently homogeneous
                       outcomes to be eligible for meta-analysis calculations per outcome.

                       Table 21. Quality of Evidence Rating for Anxiety Scales (Self-Rating Anxiety Scale; Symptom
                       Checklist-90; Spielberger State-Trait Anxiety), Certainty Rating by Study and Overall
                                                                                                                Overall Certainty
                        Domain Assessed                    (Aragona et al. 2009)      (Kayser et al. 2020)      Rating Across Studies
                        Certainty                          Low concern                Low concern               Low concern
                        Imprecision                        Moderate concern           Low concern               Moderate concern
                        Inconsistency                                                                           Moderate concern
                        Generalizability                   High concern               High concern              High concern
                        Publication bias                                                                        Low concern
                        Overall quality of evidence rating                                                      Moderate quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                       Table 22. Quality of Evidence Rating for Profile of Mood States, Certainty Rating by Study and
                       Overall
                                                                                          Overall Certainty
                        Domain Assessed                        (Ware et al. 2015)         Rating Across Studies
                        Certainty                              Moderate concern           Moderate concern
                        Imprecision                            Moderate concern           Moderate concern
                        Inconsistency                                                     Unable to Rate
                        Generalizability                       Moderate concern           Moderate concern
                        Publication bias                                                  Low concern
                        Overall quality of evidence rating                                Moderate quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                       Table 23. Quality of Evidence Rating for Fibromyalgia Impact Questionnaire: Anxiety Component,
                       Certainty Rating by Study and Overall
                                                                                         Overall Certainty
                        Domain Assessed                       (Chaves et al. 2020)       Rating Across Studies
                        Certainty                             Low concern                Low concern
                        Imprecision                           Low concern                Low concern
                        Inconsistency                                                    Unable to Rate
                        Generalizability                      High concern               High concern
                        Publication bias                                                 Low concern
                        Overall quality of evidence rating                               Moderate quality
                       Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                       and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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            Table 24. Quality of Evidence Rating for HADs: Quality of Life Component, Certainty Rating by
            Study and Overall
                                                                                 Overall Certainty Rating
             Domain Assessed                    (Kanjanarangsichai et al. 2022)  Across Studies
             Certainty                          Low concern                      Low concern
             Imprecision                        Moderate concern                 Moderate concern
             Inconsistency                                                       Unable to Rate
             Generalizability                   High concern                     High concern
             Publication bias                                                    Low concern
             Overall quality of evidence rating                                  Moderate quality
            Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
            and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023


            Summary of Effectiveness for Anxiety
            None of the RCTs showed any improvement in anxiety outcome measures and potentially
            worsened symptoms of paranoia or performed worse than placebo (in obsessive
            compulsive disorder) based on a moderate quality of evidence. THC-rich cannabis oil
            showed a significant decrease in symptoms of fibromyalgia and improvement in quality
            of life based on the Fibromyalgia Impact Questionnaire (FIQ) score compared to the
            placebo group and baseline scores. However, this questionnaire and findings are not
            specific to anxiety.
            The observational study was a prospective cohort study with the primary objective of
            assessing the safety of cannabis use as a self-management strategy for chronic non-cancer
            pain. Secondary efficacy parameters included mood, which was measured using the
            Profile of Mood States. This study reported that individuals who used cannabis
            experienced significant improvement in total mood disturbance scale compared to
            controls, with improvements observed in the tension-anxiety, depression-dejection,
            anger-hostility, and fatigue-inertia subscales. Despite low concerns in other domains, this
            outcome was assessed by the UF investigators as having a moderate quality of evidence
            rating as it was driven by a moderate risk of bias in the reporting of the study outcome
            (investigators who assessed the outcomes were not blinded to cannabis treatment status)
            together with a moderate concern regarding imprecision in the reported effect.

            Summary of Safety for Anxiety
            The studies reported varying levels of adverse events with no increased risk of SAEs
            reported relative to the control group in the controlled studies. Marijuana was associated
            with an increased risk of AEs related to nervous system disorders, psychiatric disorders,
            and respiratory events when compared to placebo. A study conducted in multiple
            sclerosis patients treated with marijuana plant extract did not induce psychopathology or
            impair cognition in marijuana-naïve patients, but a positive correlation was found
            between blood levels of THC and psychopathological scores.

                 4.2.2.3. Epilepsy
            The first FDA-approved cannabis-derived cannabidiol (CBD) human drug product
            (Epidiolex, GW Research, Ltd., Research Triangle Park, NC, approved in June 2018) is
            currently indicated for the treatment of seizures associated with Lennox-Gastaut

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               syndrome, Dravet syndrome, or tuberous sclerosis complex in patients 1 year of age or
               older (Greenwich Biosciences 2018). The precise mechanisms by which Epidiolex exerts
               its anticonvulsant effect in humans are unknown. CBD does not appear to exert its
               anticonvulsant effects through interaction with cannabinoid receptors
               (Greenwich Biosciences 2018). While CBD has clearly shown anti-seizure properties,
               contradictory pro-convulsant and anti-seizure effects have been reported for delta-9-
               tetrahydrocannabinol (∆9-THC) (Li et al. 2023).
               The searches identified a total of 3,540 studies. After removal of duplicates, screening,
               and assessment for eligibility, there were no studies (nor component studies included in
               the systematic reviews) that met all the protocol-specified criteria for inclusion in the
               review for the indication of epilepsy (Figure 4).

               Figure 4. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Epilepsy




               Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative.
               Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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                   4.2.2.4. Inflammatory Bowel Disease
              The endocannabinoid system (ECS) plays a key role in regulating several gastrointestinal
              functions and is also involved in immune function, suggesting that it may be a viable
              target for treating inflammatory bowel disease (IBD).
              UF’s searches identified 885 records. After removal of the duplicated records and article
              screening, 10 records were included in the review (four RCTs and six observational
              studies) (Figure 5). Numerous outcomes were utilized in these studies, and not all studies
              identified a primary endpoint and/or adjusted for multiplicity. Most of the studies
              included patients with mild to moderate disease severity. Summary of studies included in
              the risk of bias assessments as well as their references and risk of bias assessment are
              displayed in Appendix III.5.3.

              Figure 5. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Inflammatory Bowel Disease




              Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
              and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


              The six observational studies eligible for inclusion were not considered further because
              each was rated as having a serious or critical risk of bias. The four RCTs assessed a total
              of 13 effectiveness outcomes: (1) Disease activity; (2) Quality of life; (3) Daily function,

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                                  general well-being, general effect on health; (4) Pain; (5) Remission; (6) Number of
                                  bowel movements/stool frequency; (7) Rectal bleeding; (8) Weight; (9) Disease-specific
                                  quality of life; (10) Bloating; (11) Nausea; (12) Appetite; and (13) Endoscopy
                                  assessment. The quality of evidence rating for the studies by outcome are shown in
                                  Table 25, Table 26, Table 27, Table 28, Table 29, Table 30, Table 31, Table 32, Table 33,
                                  Table 34, Table 35, Table 36, Table 37. There were insufficient studies of moderate or
                                  high quality to support the calculation of meta-analytic estimates for any of the outcomes
                                  within the IBD indication.




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                     Table 25. Quality of Evidence Rating for Clinical Disease Activity Indexes (CDAI/Lichtiger/Mayo Score), Certainty Rating by Study and Overall
                                                                                                                                              Overall Certainty Rating Across
                      Domain Assessed        (Naftali et al. 2013)     (Naftali et al. 2021a)  (Naftali et al. 2021b)   (Irving et al. 2018)  Studies Assessing That Outcome
                      Certainty              Moderate concern          Moderate concern        Moderate Concern         Moderate concern      Moderate concern
                      Imprecision            Moderate concern          Low concern             Low Concern              High concern          Moderate concern
                      Inconsistency                                                                                                           Moderate concern
                      Generalizability       Moderate concern          Moderate concern        Moderate concern         High concern          Moderate concern
                      Publication bias                                                                                                        Moderate concern
                      Overall quality of evidence rating                                                                                      Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 26. Quality of Evidence Rating for Daily Function, General Well-Being, General Effect on Health, Certainty Rating by Study and Overall
                                                                                           Overall Certainty Rating Across
                      Domain Assessed                          (Naftali et al. 2021a)      Studies Assessing That Outcome
                      Certainty                                High concern                High concern
                      Imprecision                              Moderate concern            Moderate concern
                      Inconsistency                                                        Unable to rate
                      Generalizability                         Moderate concern            Moderate concern
                      Publication bias                                                     Moderate concern
                      Overall quality of evidence rating                                   Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
                     2023.


                     Table 27. Quality of Evidence Rating for Quality of Life, Certainty Rating by Study and Overall
                                                                                                                                                                  Overall Certainty Rating Across
                      Domain Assessed                                (Naftali et al. 2013)        (Naftali et al. 2021a)          (Naftali et al. 2021b)          Studies Assessing That Outcome
                      Certainty                                      Moderate concern             Moderate concern                Moderate concern                Moderate concern
                      Imprecision                                    Low concern                  Low concern                     Low concern                     Low concern
                      Inconsistency                                                                                                                               Moderate concern
                      Generalizability                               Moderate concern             Moderate concern                Moderate concern                Moderate concern
                      Publication bias                                                                                                                            Moderate concern
                      Overall quality of evidence rating                                                                                                          Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 28. Quality of Evidence Rating for Pain, Certainty Rating by Study and Overall
                                                                                                                                         Overall Certainty Rating Across
                      Domain Assessed                   (Naftali et al. 2021a)                       (Naftali et al. 2021b)              Studies Assessing That Outcome
                      Certainty                         Moderate concern                             Moderate concern                    Moderate concern
                      Imprecision                       Moderate concern                             Low concern                         Moderate concern
                      Inconsistency                                                                                                      Moderate concern
                      Generalizability                  Moderate concern                             Moderate concern                    Moderate concern
                      Publication bias                                                                                                   Moderate concern
                      Overall quality of evidence rating                                                                                 Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
                     2023.


                     Table 29. Quality of Evidence Rating for Remission, Certainty Rating by Study and Overall
                                                                                                                                                          Overall Certainty Rating Across
                      Domain Assessed                    (Naftali et al. 2013)              (Naftali et al. 2021a)       (Irving et al. 2018)             Studies Assessing That Outcome
                      Certainty                          Moderate concern                   High concern                 Moderate concern                 Moderate concern
                      Imprecision                        Moderate concern                   Moderate concern             Moderate concern                 Moderate concern
                      Inconsistency                                                                                                                       Low concern
                      Generalizability                   Moderate concern                   Moderate concern             Moderate concern                 Moderate concern
                      Publication bias                                                                                                                    Low concern
                      Overall quality of evidence rating                                                                                                  Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
                     2023.


                     Table 30. Quality of Evidence Rating for Number of Bowel Movements/Stool Frequency, Certainty Rating by Study and Overall
                                                                                                                   Overall Certainty Rating Across
                      Domain Assessed           (Naftali et al. 2021a) (Naftali et al. 2021b) (Irving et al. 2018) Studies Assessing That Outcome
                      Certainty                 Serious concern        Serious concern        Serious concern      Serious concern
                      Imprecision               Moderate concern       Low concern            Unable to report     Moderate concern
                      Inconsistency                                                                                Moderate concern
                      Generalizability          Moderate concern       Moderate concern       Moderate concern     Moderate concern
                      Publication bias                                                                             Moderate concern
                      Overall quality of evidence rating                                                           Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 31. Quality of Evidence Rating for Rectal Bleeding, Certainty Rating by Study and Overall
                                                                                              Overall Certainty Rating Across
                      Domain Assessed                           (Irving et al. 2018)          Studies Assessing That Outcome
                      Certainty                                 Serious concern               Serious concern
                      Imprecision                               Serious concern               Serious concern
                      Inconsistency                                                           Unable to rate
                      Generalizability                          Moderate concern              Moderate concern
                      Publication bias                                                        Low concern
                      Overall quality of evidence rating                                      Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 32. Quality of Evidence Rating for Weight, Certainty Rating by Study and Overall
                                                                                             Overall Certainty Rating Across
                      Domain Assessed                          (Naftali et al. 2021a)        Studies Assessing That Outcome
                      Certainty                                Low concern                   Low concern
                      Imprecision                              Low concern                   Low concern
                      Inconsistency                                                          Unable to rate
                      Generalizability                         Moderate concern              Moderate concern
                      Publication bias                                                       Low concern
                      Overall quality of evidence rating                                     High quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
                     2023.


                     Table 33. Quality of Evidence Rating for Disease-Specific Quality of Life, Certainty Rating by Study and Overall
                                                                                                      Overall Certainty Rating Across
                      Domain Assessed                             (Irving et al. 2018)                Studies Assessing That Outcome
                      Certainty                                   Moderate concern                    Moderate concern
                      Imprecision                                 Moderate concern                    Moderate concern
                      Inconsistency                                                                   Unable to rate
                      Generalizability                            Moderate concern                    Moderate concern
                      Publication bias                                                                Low concern
                      Overall quality of evidence rating                                              Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 34. Quality of Evidence Rating for Bloating, Certainty Rating by Study and Overall
                                                                                                                   Overall Certainty Rating Across
                      Domain Assessed                                         (Naftali et al. 2021a)               Studies Assessing That Outcome
                      Certainty                                               High concern                         High concern
                      Imprecision                                             Moderate concern                     Moderate concern
                      Inconsistency                                                                                Unable to rate
                      Generalizability                                        Moderate concern                     Moderate concern
                      Publication bias                                                                             Moderate concern
                      Overall quality of evidence rating                                                           Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
                     2023.


                     Table 35. Quality of Evidence Rating for Nausea, Certainty Rating by Study and Overall
                                                                                              Overall Certainty Rating Across
                      Domain Assessed                          (Naftali et al. 2021a)         Studies Assessing That Outcome
                      Certainty                                Serious concern                High concern
                      Imprecision                              Moderate concern               Moderate concern
                      Inconsistency                                                           Unable to rate
                      Generalizability                         Moderate concern               Moderate concern
                      Publication bias                                                        Moderate concern
                      Overall quality of evidence rating                                      Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 36. Quality of Evidence Rating for Appetite, Certainty Rating by Study and Overall
                                                                                          Overall Certainty Rating Across
                      Domain assessed                          (Naftali et al. 2021a)     Studies Assessing That Outcome
                      Certainty                                High concern               High concern
                      Imprecision                              Moderate concern           Moderate concern
                      Inconsistency                                                       Unable to rate
                      Generalizability                         Moderate concern           Moderate concern
                      Publication bias                                                    Moderate concern
                      Overall quality of evidence rating                                  Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                        Table 37. Quality of Evidence Rating for Endoscopy Assessment (Simple Endoscope Score; Mayo Endoscopic Score), Certainty Rating by Study and Overall
                                                                                                                     Overall Certainty Rating Across
                         Domain Assessed                          (Naftali et al. 2021a)     (Naftali et al. 2021b)  Studies Assessing That Outcome
                         Certainty                                Moderate concern           Moderate concern        Moderate concern
                         Imprecision                              Moderate concern           Moderate concern        Moderate concern
                         Inconsistency                                                                               Low concern
                         Generalizability                         Moderate concern           Moderate concern        Moderate concern
                         Publication bias                                                                            Moderate concern
                         Overall quality of evidence rating                                                          Moderate quality
                        Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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   Summary of Effectiveness for IBD
   Four RCTs, each assessing one or more of 13 effectiveness outcomes, were included in
   the synthesis of evidence. Overall, within the four RCTs, marijuana demonstrated
   positive effects on the Lichtiger score (eight components of colitis disease activity),
   response rate, Subject Global Impression of Change (SGIC), self-reported mood, sleep,
   pain, bloating, appetite, general well-being, and satisfaction.
   All four RCTs considered clinical disease activity [e.g., Lichtiger score, Crohn’s disease
   activity index (CDAI), Mayo score], with heterogeneous results based on a moderate
   quality of evidence. Similarly, mixed results were shown for the Inflammatory Bowel
   Disease Questionnaire (IBDQ) score, which showed significant improvement in one
   study, but not in another. Additionally, two studies suggested an enhancement in the
   quality of life via the 36-Item Short Form Survey (SF-36), while one study contradicted
   this finding, with the overall evidence quality being rated as moderate. A similar level of
   evidence quality was observed for the impact on pain, although one study indicated no
   significant alteration in abdominal pain, all based on a moderate quality of evidence. The
   outcomes concerning remission (definitions and measures differed amongst studies),
   disease-specific quality of life, and endoscopic evaluations were also classified as having
   moderate evidence quality, with all studies indicating no significant alteration.
   Several effectiveness outcomes were classified as having low evidence quality. Among
   these, nausea and rectal bleeding did not demonstrate a significant alteration in the
   included studies following treatment with cannabis. Daily function, general well-being,
   overall health impact, and bowel movement/stool frequency exhibited heterogeneous
   results, with the overall evidence quality being low. Lastly, bloating and appetite were
   also classified as having low evidence quality, with both outcomes showing improvement
   in the included studies.

   Summary of Safety for IBD
   The RCTs assessed adverse events, however, limited safety information was reported
   overall.

      4.2.2.5. Nausea
   Nausea and vomiting are common side effects of chemotherapy and in the postoperative
   setting, and currently there are two synthetic cannabinoids, dronabinol and nabilone,
   approved for treatment of chemotherapy-induced nausea and vomiting. Given
   established efficacy in clinical trials for the approved products and an established
   pharmacological pathway within the endocannabinoid system, marijuana has been
   studied to see if it exerts similar effects.
   The literature searches identified a total of 4,305 studies. After removal of duplicates,
   screening, and assessment for eligibility, there were three studies, all RCTs, that met all
   the eligibility criteria. The risk of bias assessment suggested some concerns in one study
   and low risk of bias in two studies. The preferred reporting items for systematic reviews
   and meta-analysis (PRISMA) Flow Diagram Documenting Attrition (Exclusions) is




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                         presented in Figure 6. Summary of studies included in the risk of bias assessments as
                         well as their references and risk of bias assessment are displayed in Appendix III.5.4.

                         Figure 6. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Nausea




                         Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                         and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                         Each of the three RCTs reported one or more of three major outcome constructs, which
                         were reported using one or more of 36 different metrics across the studies. They were
                         grouped as follows (1) chemotherapy-induced nausea and vomiting; (2) nausea-specific
                         quality of life (Functional Living Index-Emesis); general health-related quality of life;
                         and (4) post-operative nausea and vomiting. The quality of evidence rating for the
                         studies by outcome are shown in Table 38, Table 39, Table 40, Table 41.




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                     Table 38. Quality of Evidence Rating for Chemotherapy-Induced Nausea and Vomiting, Certainty Rating by Study and Overall
                                                                                                                 Overall Certainty Rating Across
                      Domain Assessed                         (Grimison et al. 2020)   (Duran et al. 2010)       Studies Assessing That Outcome
                      Certainty                               Low concern              Low concern               Low concern
                      Imprecision                             Moderate concern         High concern              Moderate concern
                      Inconsistency                                                                              Low concern
                      Generalizability                        Moderate concern         Moderate concern          Moderate concern
                      Publication bias                                                                           Low concern
                      Overall quality of evidence rating                                                         Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 39. Quality of Evidence Rating for Nausea-Specific Quality of Life (Functional Living Index-Emesis (FLIE), Certainty Rating by Study and Overall
                                                                                              Overall Certainty Rating Across
                      Domain Assessed                       (Grimison et al. 2020)            Studies Assessing That Outcome
                      Certainty                             Low concern                       Moderate concern*
                      Imprecision                           Low concern                       Low concern
                      Inconsistency                                                           Unable to rate
                      Generalizability                      High concern                      High concern
                      Publication bias                                                        Moderate concern
                      Overall quality of evidence rating                                      Low quality
                     *Certainty and generalizability ratings for nausea-specific quality of life relies on a single study with n=16 and another study indicating no improvement without sharing quantitative estimates (hence,
                     not shown in this table)
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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                     Table 40. Quality of Evidence Rating for Overall Health-Related Quality of Life, Certainty Rating by Study and Overall
                                                                                          Overall Certainty Rating Across
                      Domain Assessed                       (Grimison et al. 2020)        Studies Assessing That Outcome
                      Certainty                             High concern                  High concern
                      Imprecision                           Moderate concern              Moderate concern
                      Inconsistency                                                       Unable to rate
                      Generalizability                      Moderate concern              Moderate concern
                      Publication bias                                                    Moderate concern
                      Overall quality of evidence rating                                  Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19,
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           Table 41. Quality of Evidence Rating for Post-Operative Nausea and Vomiting, Certainty Rating by
           Study and Overall
                                                                                Overall Certainty Rating Across
            Domain Assessed                    (Kleine-Brueggeney et al. 2015)  Studies Assessing That Outcome
            Certainty                          High concern                     High concern
            Imprecision                        Moderate concern                 Moderate concern
            Inconsistency                                                       Unable to rate
            Generalizability                   Moderate concern                 Moderate concern
            Publication bias                                                    Moderate concern
            Overall quality of evidence rating                                  Low quality
           Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
           and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


           Per protocol, the RCTs did not meet thresholds for the minimum number of studies to
           qualify for any meta-analysis calculation.

           Summary of Effectiveness for Nausea
           Three RCTS were included in the analysis, and numerous outcome measures were
           assessed. Two of the three studies, which administered either THC-CBD extract or
           whole plant cannabis, showed benefit of marijuana compared with placebo. The quality
           of evidence rating of these studies was rated as moderate. The two positive studies
           assessed chemotherapy-induced nausea and vomiting in patients with refractory nausea
           after standard treatment, whereas the failed study assessed the effect of intravenous THC
           in the prevention of post-operative nausea and vomiting. Although the primary endpoint
           showed significant difference in two studies, it was noted that the effect was small and
           imprecise. Additionally, there was inconclusive or marginal benefit in the domains of
           quality of life, nausea-specific quality of life and post-operative nausea and vomiting, all
           based on a low quality of evidence. Overall, there is evidence supporting a positive
           effect of cannabis on chemotherapy-induced nausea and vomiting based on a moderate
           quality of evidence.

           Summary of Safety for Nausea
           A total of 98 patients were exposed to marijuana products in the three RCTs evaluated.
           A higher proportion were noted to experience AEs than placebo, but no excess risk of
           SAEs was reported. Adverse events reported were consistent with safety findings in
           other indications (e.g., sedation, dizziness, disorientation, dry mouth, anxiety). Although
           AEs were reported for marijuana, one study did show 83% of participants preferred
           marijuana to placebo.

                4.2.2.6. Pain
           The UF reported noted that phytocannabinoids, including ∆9-THC, have been
           demonstrated by preclinical research to have analgesic effects in numerous types of pain
           (e.g., inflammatory or nociceptive pain, as well as neuropathic pain) according to a recent
           systematic review and meta-analysis of studies employing animal models. UF further
           noted that, in clinical research, a systematic review and meta-analysis concluded that
           marijuana products containing high THC-to-CBD ratios may be associated with short-

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              term improvements in chronic pain from neuropathic or non-cancer nociceptive pain
              sources. The UF review systematically examined evidence quality from studies that
              investigated effectiveness and safety of marijuana for the pain indication regardless of
              pain type (e.g., neuropathic, nociceptive, or cancer).
              Pain has the most investigations amongst any of the indications in the review. The
              searches identified a total of 11,981 studies. After removal of duplicates, screening, and
              assessment for eligibility, there were 38 studies—32 RCTs and 6 observational studies—
              identified from the primary searches. Additionally, seven RCTs and two observational
              studies were identified from the eligible systematic reviews. Therefore, there were a total
              of 47 studies, 39 RCTs and 8 observational studies 20 that met all the protocol-specified
              criteria for inclusion in the review for the indication of pain (Figure 7). The summary of
              studies included in the risk of bias assessments, their references, and their risk of bias
              assessment are displayed in Appendix III.5.5.




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                 Two of the eight observational studies were included in other indications (i.e., anorexia and anxiety) as
              pain was a secondary outcome.

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        Figure 7. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Pain




        Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
        and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


        Seven of the eight eligible observational studies were not considered further as they were
        classified as having a serious or critical risk of bias assessment. The eighth observational
        study included pain as a secondary outcome; as described in the methods (Section II.4.2.1),
        only studies that assessed pain as a primary outcome were further assessed. Similarly, four
        RCTs were not further considered as the pain outcomes were not assessed in primary
        analyses. Thus, a total of 35 studies, all RCTs, were considered in the quality of evidence
        ratings. Overall, these RCTs assessed a total of seven outcomes: (1) Visual Analog Scale
        (VAS) Pain score; Spontaneous Pain VAS score; (2) Numerical Rating Scale (NRS) Pain
        score; Body Pain Category Rating Scale (CRS); (3) Other pain scores [Sum of Pain Intensity
        Differences (SPID); Brief Pain Inventory (BPI); Pain at Present; McGill Pain Questionnaire;
        Edmonton Symptom Assessment System (ESAS) Pain]; (4) Neuropathic-Specific Pain

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               scores [Neuropathic Pain Scale; Intensity of Global Neuropathic Pain NRS; Fibromyalgia
               impact score (pain)]; (5) Sleep Quality [Sleep quality NRS; Sleep disturbance NRS; Sleep
               disruption NRS]; (6) Pain Disability Index; and (7) Opioid composite score. 21 Of these,
               there were two outcomes that met all protocol-specified criteria to undergo meta-analysis
               calculations: VAS Pain scores and NRS Pain scores. The types of pain spanned across
               clinical contexts such as multiple sclerosis, post-operative pain, neuropathic pain, chronic
               pain, and fibromyalgia. Formulations of marijuana administered included smoked,
               oromucosal sprays, and oral forms.

               Summary of Effectiveness for Pain

               VAS as Primary Outcome
               Twelve RCTs were reviewed with a primary outcome of pain measured on the VAS. Six
               of these studies reported improvement with administration of marijuana and six showed
               no significant difference when compared to a control. Among the 12 RCTs, five were
               identified to have homogeneity in assessment strategy and calculation method, and thus
               were sufficient to calculate meta-analytic estimates. Each of the studies discussed in this
               section measure change in the pain score from baseline by calculating standard mean
               difference in VAS. A random effects model was selected and a meta-analysis for
               standard mean difference (SMD) in VAS was performed. Overall, findings from the
               pooled analysis trended towards favoring a treatment effect for marijuana over control;
               however, pooled estimates were not statistically significant (Figure 8). The reported
               heterogeneity metric, I2, suggests that a high (80.4%) proportion of variance in the
               findings may be due to heterogeneity in the examined studies, and that the accompanying
               p-value (p<0.001) suggests confidence in this assessment of heterogeneity, but this p-
               value has limited utility. Thus, there was significant heterogeneity present between the
               studies included in this meta-analysis and the pooled estimate from these studies may not
               be representing a true effect of marijuana.
               Overall, findings were favoring treatment with marijuana over control; however, pooled
               estimates were not statistically significant.




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                    This score captures the quantity of opioid medications used for pain control.




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             Figure 8. Meta-Analysis of Marijuana on Changes of VAS From Baseline Using A Random-Effects Model 22




             Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
             and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.
             Note: Weights are from random-effects model.


             A funnel plot for these studies was also constructed (Figure 9). Most studies fell within
             the pseudo 95% confidence limits with a notable outlier. The asymmetry in the funnel
             plot may be indicative of publication bias and/or heterogeneity in the studies assessing
             this outcome.




             22
                  The p-value reported in the figure is in reference to the accompanying heterogeneity metric I2




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                                Figure 9. Funnel Plot on Changes of VAS From Baseline




                                Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                                and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                                The overall quality of evidence for pain scores assessed via VAS was rated as moderate
                                quality, and this was driven by moderate concerns with certainty, imprecision, and
                                inconsistency (Table 42). Publication bias was primarily rated as informed by the funnel
                                plot, where, as indicated above, some asymmetry was observed as well as an outlier
                                study.




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                     Table 42. Quality of Evidence Rating for Pain Scores Assessed Via Visual Analog Scales, Certainty Rating by Study and Overall
                                                                                                                                                                                                                               Overall Certainty
                                                                                                                                                                                                                               Rating Across Studies
                      Domain Assessed                    (Corey-Bloom et al. 2012)                 (Weizman et al. 2018)          (Abrams et al. 2007)          (Buggy et al. 2003)         (Selvarajah et al. 2010)           Assessing That Outcome
                      Certainty                          Low concern                               Moderate concern               Low concern                   Low concern                 Moderate concern                   Moderate concern
                      Imprecision                        Low concern                               High concern                   Low concern                   Moderate concern            Low concern                        Moderate concern
                      Inconsistency                                                                                                                                                                                            Moderate concern
                      Generalizability                   High concern                              High concern                   High concern                  High concern                High concern                       High concern
                      Publication bias                                                                                                                                                                                         Moderate concern
                      Overall quality of evidence rating                                                                                                                                                                       Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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            NRS as Primary Outcome
            Eleven RCTs that assessed NRS pain outcomes were included in the review. Two
            reported improvement, one reported worsening of pain, and eight reported no change
            when compared to a control group. Five of the studies reported change in NRS from
            baseline with sufficient homogeneity to allow a calculation of a pooled estimate. Of
            these five studies, one assessed marijuana’s effect for three different dosing regimens,
            and all dosing regimens were included in the pooled estimates.
            A random effects model was selected and meta-analysis for change in NRS from baseline
            was performed, with results in the figure below (Figure 10). Overall, findings were
            favoring treatment with marijuana over control. The reported heterogeneity metric, I2,
            suggests that essentially no (0.0%) variance in the findings may be due to heterogeneity
            in the examined studies, but the accompanying p-value (p=0.527) suggests this
            assessment of heterogeneity may not be informative as it was not statistically significant.

            Figure 10. Meta-Analysis of Marijuana on Change in NRS From Baseline 23




            Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
            and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.
            Note: Weights are from random-effects model.


            A funnel plot for these studies was also constructed (Figure 11). All studies assessing
            pain via NRS fell within the pseudo 95% confidence limits. The asymmetry in the funnel
            plot may be indicative of publication bias and/or heterogeneity in the studies assessing
            this outcome.




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                 The p-value reported in the figure is in reference to the accompanying heterogeneity metric I2

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                                 Figure 11. Funnel Plot of Marijuana on Change of NRS From Baseline




                                 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                                 and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.


                                 The overall quality of evidence for pain scores assessed via NRS was rated as low, and
                                 this was driven by moderate and high concerns in four out of five quality domains
                                 (Table 43). This was especially notable due to a high degree of inconsistency of study
                                 results.




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                     Table 43. Quality of Evidence Rating for Pain Scores Assessed Via Numeric Rating Scales, Certainty Rating by Study and Overall
                                                                                                                                                                                                                       Overall Certainty
                                                                                                                                                                                                                       Rating Across Studies
                      Domain Assessed           (Portenoy et al. 2012)              (Langford et al. 2013)         (Lichtman et al. 2018)           (Zubcevic et al. 2023)             (Marinelli et al. 2022)         Assessing That Outcome
                      Certainty                 Low concern                         Moderate concern               Moderate concern                 Low concern                        Moderate concern                Moderate concern
                      Imprecision               Moderate concern                    Low concern                    Low concern                      Moderate concern                   Moderate concern                Moderate concern
                      Inconsistency                                                                                                                                                                                    High concern
                      Generalizability          High concern                        High concern                   High concern                     High concern                       High concern                    High concern
                      Publication bias                                                                                                                                                                                 Low concern
                      Overall quality of evidence rating                                                                                                                                                               Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.




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                                   Additional Measures of Pain
                                   There were four RCTs that assessed pain via other types of patient-reported scores or
                                   questionnaires [e.g., Sum of Pain Intensity Differences (SPID); Brief Pain Inventory
                                   (BPI)]. All four studies reported no significant change in pain resulting from treatment
                                   with cannabis as compared with placebo or other comparator. The quality of evidence
                                   ratings for these four RCTs are shown in Table 44.




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                     Table 44. Quality of Evidence Rating for Pain Scores Via Other Types of Patient-Reported Scores or Questionnaires, Certainty Rating by Study and Overall
                                                                                                                                       Overall Certainty Rating Across
                      Domain Assessed           (Buggy et al. 2003) (Langford et al. 2013) (Jefferson et al. 2013) (Blake et al. 2006) Studies Assessing That Outcome
                      Certainty                 Low concern         Moderate concern       High concern            High concern        High concern
                      Imprecision               Moderate concern    Low concern            Moderate concern        Moderate concern    Moderate concern
                      Inconsistency                                                                                                    Low concern
                      Generalizability          High concern        High concern           High concern            High concern        High concern
                      Publication bias                                                                                                 Low concern
                      Overall quality of evidence rating                                                                               Low quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.




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                                   Additionally, three RCTs assessed neuropathic pain and fibromyalgia pain using
                                   neuropathic pain-specific outcome assessment tools. One of the three RCTs reported an
                                   improvement in pain, and the others reported mixed results, or no change based on a
                                   moderate quality of evidence rating (Table 45).




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                        Table 45. Quality of Evidence Rating for Pain Scores Assessed Via Neuropathic-Specific Pain Scales, Certainty Rating by Study and Overall
                                                                                                                                   Overall Certainty Rating Across
                         Domain Assessed               (Nurmikko et al. 2007)     (Wilsey et al. 2016a) (Selvarajah et al. 2010)   Studies Assessing That Outcome
                         Certainty                     Moderate concern           Low concern           Moderate concern           Moderate concern
                         Imprecision                   Moderate concern           Low concern           Moderate concern           Moderate concern
                         Inconsistency                                                                                             Moderate concern
                         Generalizability              High concern               High concern          High concern               High concern
                         Publication bias                                                                                          Low concern
                         Overall quality of evidence rating                                                                        Moderate quality
                        Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.




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                                   Sleep quality was assessed in three RCTs, and two of the studies showed improvement
                                   with marijuana administration compared with a control group based on a moderate
                                   quality of evidence (Table 46).




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                     Table 46. Quality of Evidence Rating for Sleep Quality in People With Pain, Certainty Rating by Study and Overall
                                                                                                                            Overall Certainty Rating Across
                      Domain Assessed           (Nurmikko et al. 2007)  (Lichtman et al. 2018) (Langford et al. 2013)       Studies Assessing That Outcome
                      Certainty                 Moderate concern        Moderate concern         Moderate concern           Moderate concern
                      Imprecision               Moderate concern        Low concern              Low concern                Moderate concern
                      Inconsistency                                                                                         Moderate concern
                      Generalizability          High concern            High concern             High concern               High concern
                      Publication bias                                                                                      Low concern
                      Overall quality of evidence rating                                                                    Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.




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               There was one RCT assessing pain disability index as an outcome. The quality of
               evidence rating is shown in Table 47.

               Table 47. Quality of Evidence Rating for Pain Disability, Certainty Rating by Study and Overall
                                                                           Overall Certainty Rating Across
                Domain Assessed                    (Nurmikko et al. 2007) Studies Assessing That Outcome
                Certainty                          Moderate concern        Moderate concern
                Imprecision                        Moderate concern        Moderate concern
                Inconsistency                                              Unable to rate
                Generalizability                   High concern            High concern
                Publication bias                                           Low concern
                Overall quality of evidence rating                         Moderate quality
               Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
               and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.


               Opioid composite score was an identified outcome in one RCT. The study assessing the
               opioid composite score outcome investigated three different dosing regimens of
               marijuana as compared with placebo. The results were mixed across the three
               comparator groups. The overall quality of evidence was rated as moderate (Table 48).

               Table 48. Quality of Evidence Rating for Opioid Composite Score, Certainty Rating by Study and
               Overall
                                                                           Overall Certainty Rating Across
                Domain Assessed                    (Portenoy et al. 2012)  Studies Assessing That Outcome
                Certainty                          Low concern             Low concern
                Imprecision                        Moderate concern        Moderate concern
                Inconsistency                                              Unable to rate
                Generalizability                   High concern            High concern
                Publication bias                                           Low concern
                Overall quality of evidence rating                         Moderate quality
               Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
               and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.


               Overall UF Effectiveness Conclusions for Pain
               The evidence for improvement of pain disability was rated as moderate quality based on
               one RCT. The evidence for pain scores and opioid composite scores were also rated as
               moderate quality, but findings were mixed or inconclusive across studies. The evidence
               for other pain scores, sleep quality, and other quality of life outcomes was rated as low
               quality, but findings were mixed across studies, with some reporting improvements and
               many reporting inconclusive findings, but none reporting worsening. The meta-analyses
               performed were based on studies that were able to be combined for analysis, which does
               exclude some of the studies reviewed due to design differences. Although there was a
               trend towards benefit for VAS scores for marijuana, it did not reach significance in five
               of the combined studies that assessed this outcome. Additionally, the meta-analysis for
               the NRS outcome did show a small but statistically significant benefit (SMD -0.24) based
               on a low quality of evidence.

               Summary of Safety for Pain
               There was a limited amount of information reported with respect to safety. Overall, more
               participants reported AEs when treated with marijuana than those treated with an active




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                                  control or placebo. When reported, AEs consisted of dizziness, fatigue, headache, and
                                  feeling high. Few of the RCTs reported any SAEs.

                                     4.2.2.7. Post-Traumatic Stress Disorder
                                  The endocannabinoid system may have an impact on the symptoms of PTSD. CB1
                                  receptors modulate mood states, stress, learning, and memory. Therefore, through its
                                  effects on the endocannabinoid system, marijuana could potentially inhibit fear and
                                  anxiety with potential antidepressant activity, and stimulation of limbic and paralimbic
                                  areas may decrease hypervigilance and hyperarousal. Additionally, CB1 receptors have
                                  been linked to PTSD and severity of intrusive symptoms. Therefore, marijuana may have
                                  clinical applications for PTSD.
                                  The searches identified a total of 4,569 studies. After removal of duplicates, screening,
                                  and assessment for eligibility, there were eight studies—one RCT and seven
                                  observational studies—that met all the protocol-specified criteria for inclusion in the
                                  review for the indication of PTSD. No additional studies were identified from the
                                  included systematic reviews (Figure 12). The summary of studies included, as well as the
                                  references and the risk of bias assessment for the eligible RCT and the seven
                                  observational studies, are shown in Appendix III.5.6.




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                        Figure 12. PRISMA Flow Diagram Documenting Attrition (Exclusions) for Post-Traumatic Stress
                        Disorder




                        Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                        and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.


                        Six of the seven observational studies eligible for inclusion were rated as having a critical
                        risk of bias and were not considered further. Thus, the final systematic review included
                        an RCT and an observational study, both with the Clinician-Administered PTSD Scale
                        for Diagnostic and Statistical Manual of Mental Disorders (CAPS-5) assessment as the
                        outcome. The quality of evidence rating for the two studies for the CAPS-5 outcome is
                        shown in Table 49.




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                     Table 49. Quality of Evidence Rating for the PTSD Severity Assessment Outcome (CAPS-5),
                     Certainty Rating by Study and Overall
                                                         (Bonn-Miller et al. (Bonn-Miller et al. Overall Certainty Rating Across
                      Domain Assessed                    2021)               2022)               Studies Assessing That Outcome
                      Certainty                          Moderate concern    Moderate concern    Moderate concern
                      Imprecision                        High concern        Moderate concern    High concern
                      Inconsistency                                                              Moderate concern
                      Generalizability                   Low concern         Low concern         Low concern
                      Publication bias                                                           Low concern
                      Overall quality of evidence rating                                         Moderate quality
                     Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature
                     and Data on Cannabis Use. Project 2/1B Report dated July 7, 2023.


                     As specified in the protocol, these two studies did not meet thresholds for the minimum
                     number of studies to qualify for meta-analysis calculation.

                     Summary of Effectiveness for PTSD
                     The single identified RCT evaluated short-term impact of three formulations of smoked
                     marijuana and found all treatment groups (placebo, High CBD, High THC, THC+CBD)
                     achieved statistically significant reductions in PTSD severity on the CAPS-5; however,
                     the study did not find a significant difference in change in PTSD symptom severity
                     between the active cannabis concentrations and placebo.
                     The prospective observational study conducted in Colorado residents with PTSD ages 18
                     years or older showed that, over the course of a year, the group using cannabis reported a
                     more significant reduction in PTSD symptom severity over time compared to the control
                     group not using cannabis.
                     The evidence for this outcome ‘PTSD severity’ was rated by the UF investigators as
                     moderate quality.

                     Summary of Safety for PTSD
                     Within the single RCT, the most common AEs reported (i.e., those with >10% frequency)
                     were cough (12.3%), followed by throat irritation (11.7%), and anxiety (10.4%). Three
                     SAEs were reported and determined to be unrelated (heart palpitations, pulmonary
                     embolism, and abscess). The number of participants who reported an AE did not differ
                     significantly from placebo.
                     The observational study did not examine safety outcomes.

                      4.3. Conclusions Based on the Report by the University of Florida
                     UF concluded there is low to moderate quality evidence supporting efficacy 24 of
                     marijuana as medical treatment for outcomes in several indications, including anorexia,
                     nausea and vomiting, and PTSD. UF performed meta-analyses for VAS and NRS
                     outcome measures in the pain indication, based on studies with sufficient homogeneity


                     24
                        The systematic reviews largely relied on RCTs as there were only two observational studies included in
                     the quality of evidence assessments: one for the anxiety indication and one for the PTSD indication.




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        and where the quality of evidence was considered at least moderate. UF concluded that
        pooled VAS reported outcomes trended towards showing a benefit for marijuana but did
        not reach statistical significance when compared to a control group. The results for the
        pooled NRS reported outcomes showed a small but significant difference when compared
        to a control group. Although a large literature base was identified for the pain indication,
        with a number of RCTs showing benefit and their meta-analysis showing a small but
        significant effect for marijuana on the NRS outcome measure, UF concluded the data
        were too inconsistent to provide a conclusive statement on the benefit of marijuana for
        the treatment of pain.
        The UF report summarized the limited available safety data contained in the published
        reports. FDA did not identify any safety concerns described in the UF report that would
        indicate the medical use of marijuana poses unacceptably high safety risks for the
        indications evaluated for its therapeutic effect.

         4.4. FDA Review of Published Systematic Reviews and
              Meta-Analyses
        As a part of the assessment of CAMU, FDA also conducted a separate review of
        published systematic reviews and meta-analyses of botanical forms of marijuana and
        those results are discussed below. This was a high-level review of the literature assessing
        the effectiveness and safety of these forms of marijuana on the identified indications
        based on Part 1 of the CAMU test and in the informal landscape analysis performed by
        FDA. This portion of our review is intended to compare the findings from UF’s review
        with other experts in the field. The most commonly identified forms in the literature
        included nabiximols oromucosal spray, 25 inhaled marijuana (whole plant or plant-
        derived), and botanically derived marijuana extracts. Within this section, we examined
        reviews including The National Academies of Sciences, Engineering, and Medicine
        (NASEM) Comprehensive Review of the Health Effects of Using Cannabis and
        Cannabis-Derived Products (2017), the Living Systematic Review on Cannabis and Other
        Plant-Based Treatments for Chronic Pain by the Agency for Healthcare Research and
        Quality (AHRQ), as well as identified published systematic reviews and meta-analyses
        relevant to this document.

          4.4.1. Sources of Review
        The National Academies of Sciences, Engineering, and Medicine (NASEM)
        The NASEM report (2017) consists of a comprehensive review of evidence regarding the
        health effects of using cannabis and cannabis-derived products. The NASEM report
        covered a broader range of products, inclusive of all cannabinoids, in contrast to our
        review, which focuses on marijuana. For purposes of this summary, we will only focus


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           Nabiximols (brand name Sativex in countries where it is approved) is a botanically derived oromucosal
        spray consisting of 2.7 mg of THC and 2.5 mg of CBD per spray. Nabiximols has been approved for the
        treatment of spasticity due to multiple sclerosis in the United Kingdom since June 2010.

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          on the NASEM report’s findings for forms that fall under the definition of marijuana. A
          section of the NASEM report summarized potential therapeutic uses of marijuana based
          on a literature search, evidence review, grading, and synthesis of information. The
          committee’s conclusions are based on the findings from published systematic reviews.
          Where no systematic review existed, the committee reviewed all fair and good-quality
          relevant primary research published between January 1, 1999, and August 1, 2016.
          Primary research was assessed using standard approaches (e.g., Cochrane Quality
          Assessment, Newcastle–Ontario scale) as a guide. The committee weighed the evidence
          and placed conclusions into one of five categories in decreasing order of strength of
          evidence: Conclusive, substantial, moderate, limited and insufficient. The standard of
          some credible scientific support required for our review would appear to be consistent
          with at least the limited strength of evidence standard in the NASEM report.

          Agency for Healthcare Research and Quality (AHRQ)
          The AHRQ is conducting a living systematic review on cannabis and other plant-based
          treatments for chronic pain that includes randomized controlled trials and comparative
          observational studies with a minimum of 4 weeks duration for noncancer chronic pain in
          adults. Cannabinoid interventions were categorized according to their THC-to-CBD ratio
          (comparable, high, low) and according to the source of the compound (whole-plant,
          extracted from whole-plant, or synthetic). Strength of evidence was assessed as low,
          moderate, high, or insufficient, and magnitude of effect was assessed. The living review
          is updated on a quarterly basis.

          FDA Review of Systematic Reviews and Meta-Analyses
          We conducted our own high-level analysis of published systematic reviews and meta-
          analyses over the past 10 years to evaluate the potential evidence for a therapeutic effect
          for marijuana, as well as its potential harms when used in this context. Although the
          primary research covered by each review (i.e., AHRQ, NASEM, UF review, our review
          of systemic reviews and meta-analyses) overlapped with one another, the purpose of our
          review was to analyze several groups’ conclusions on the data for each of the selected
          indications, if available.
          For the purposes of this analysis, we focused on those studies or treatment arms relevant
          to marijuana. If the formulation of the marijuana product could not be determined, FDA
          attempted to review the individual source studies. Of note, the majority of AE data were
          accumulated mostly from studies that evaluated pain. Therefore, any pooled analysis of
          AEs across indication will be discussed in the pain section (Section II.4.4.1.1), and AE
          data will only be discussed in other sections if there was a dedicated evaluation of AE
          data in that specific indication.

             4.4.1.1. Pain
          The mechanism of marijuana’s effect on pain relief is not fully clear; however, there is
          some evidence from experimental pain studies in healthy subjects that all cannabinoids
          may prevent pain through small increases in pain thresholds and making pain feel less



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                     unpleasant through altering the affective processes as opposed to reducing pain intensity
                     already experienced (De Vita et al. 2018).

                     NASEM Report Conclusions and Highlights
                     The NASEM report (2017) stated there is substantial evidence for treatment of chronic
                     pain in adults with cannabis (NASEM 2017). This determination was based on mostly
                     plant-derived formulations. The relevant information from this report as it pertains to our
                     analysis of marijuana is described in this section.
                     One systematic review cited in this report (Whiting et al. 2015) evaluated studies across
                     numerous types of chronic pain (e.g., cancer pain, diabetic peripheral neuropathy) and
                     NASEM heavily factored these findings into their conclusions. The Whiting (2015)
                     publication included a total of 22 trials of plant-derived cannabinoids (thirteen studies
                     with nabiximols; five trials of plant flower smoked or vaporized form, three trials of THC
                     oramucosal spray; and one trial of oral THC). Whiting (2015) performed an analysis
                     across seven trials that evaluated the effects of nabiximols and one that evaluated the
                     effects of inhaled cannabis, which suggested plant-derived cannabinoids increased the
                     odds for improvement of pain by approximately 40 percent versus the control condition
                     (odds ratio [OR], 1.41, 95% confidence interval [CI] = 0.99-2.00; eight trials). One
                     notable study showing efficacy (N = 50) examined inhaled vaporized cannabis and was
                     included in the effect size estimates. This single study (Abrams, 2007) showed that
                     cannabis reduced pain versus a placebo (OR, 3.43, 95% CI = 1.03–11.48).
                     The NASEM report noted the effect size for inhaled cannabis observed with the Abrams
                     (2007) study is consistent with another meta-analysis of five trials which studied the
                     effect of inhaled cannabis on neuropathic pain (Andreae et al. 2015). The pooled OR
                     from these trials showed a pooled effect estimate of 3.22 for pain relief versus placebo
                     (95% CI = 1.59–7.24) tested across nine THC concentrations (Andreae et al. 2015). Of
                     note, two of the primary studies included in this review by Andreae (2015) were also
                     included in the Whiting (2015) review.
                     In the addition to the reviews above (Andreae et al. 2015; Whiting et al. 2015), the
                     NASEM report identified two additional primary studies which examined the effect of
                     cannabis flower on acute pain (Wallace et al. 2015; Wilsey et al. 2016a). NASEM
                     concluded that these two studies have consistent findings with the meta-analyses
                     described above, suggesting a reduction in pain after cannabis administration, and thus
                     contributed to NASEM’s conclusion of substantial evidence of efficacy.

                     AHRQ Conclusions and Highlights
                     The AHRQ reviewed and summarized randomized controlled trials (mostly placebo
                     controlled) of patients with chronic pain (mostly neuropathic in origin) with treatment
                     duration between four weeks and less than 6 months (AHRQ 2023). The AHRQ
                     determined that oral sprays containing comparable amounts of THC and CBD (e.g.,
                     nabiximols) are “probably associated with small improvements in pain severity and
                     overall function,” but there may be a large increased risk of dizziness and sedation with
                     moderate risk of nausea. Evidence on whole-plant cannabis, low-THC-to-CBD ratio
                     products, other cannabinoids, or comparators with other active interventions was
                     insufficient to draw conclusions. Overall, the AHRQ has determined thus far that “select




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              individuals with chronic neuropathic pain may experience moderate short-term
              improvements in pain when using cannabis products [(synthetic or extracted from whole-
              plant)] that have a high-THC to CBD ratio.” Additionally, cannabis with a comparable
              amounts of THC and CBD may result in small improvements in pain severity with
              increased AEs when the THC-to-CBD ratio is higher.

              FDA Review of Systematic Reviews and Meta-Analyses
              These reviews covered a number of routes of administration (e.g., oromucosal, smoked)
              and product types. The content below is separated by each respective route of
              administration or product type for ease of review.
              There have been a number of studies completed using nabiximols to treat pain associated
              with multiple sclerosis and other pain-related conditions (i.e., neuropathic pain), that
              demonstrated findings of efficacy ranging from inconclusive to a moderate beneficial
              effect. Nabiximols has been shown in meta-analyses to demonstrate a modest benefit in
              chronic neuropathic pain where the NRS was assessed and the evidence was determined
              to be of moderate quality (Whiting et al. 2015; Meng et al. 2017). Specifically, one meta-
              analysis of six chronic neuropathic pain trials (Meng, 2017) revealed a significant but
              clinically small reduction on the 11-point pain NRS with nabiximols when compared to
              placebo in patients with neuropathic pain (mean difference -0.50 points; 95% CI, -0.89 to
              -0.12 points; P = 0.010) with some evidence of heterogeneity between studies (I2 = 43%).
              Another meta-analysis (Whiting et al. 2015) of six chronic neuropathic pain trials reached
              a similar conclusion showing a greater average reduction in the NRS assessment of pain
              for marijuana (weighted mean difference [WMD], -0.46 [95% CI, -0.80 to -0.11]) with no
              evidence of heterogeneity (I2=0%). A number of authors of systematic reviews and meta-
              analyses have concluded that nabiximols may be considered as an adjunct analgesic in
              neuropathic pain, with a benefit ranging from weak to moderate effect in a number of
              neuropathic pain conditions (Meng et al. 2017; Nielsen et al. 2018; Stockings et al.
              2018a; Bilbao and Spanagel 2022).
              Another common route of marijuana administration is via the inhalation route (i.e.,
              smoked or vaped). One meta-analysis of inhaled cannabis, supplied by the NIDA, that
              consisted of five randomized, placebo-controlled, double-blind trials in numerous types
              of neuropathic pain (e.g., HIV neuropathy, diabetic neuropathy, complex regional pain)
              with treatment up to two weeks of dosing provided evidence of benefit (Andreae et al.
              2015). The estimated OR for a more than 30% reduction in pain scores in response to
              inhaled cannabis versus placebo for chronic painful neuropathy was 3.2 with a Bayesian
              95% credible interval [1.59, 7.24], and the number needed to treat as 5.55. Additionally,
              the data showed effect increased with THC content. Based on the Initiative on Methods,
              Measurement, and Pain Assessment in Clinical Trials (IMMPACT) definition of at least
              moderate benefit (OR 3.1), this meta-analysis suggested a moderate benefit for inhaled
              cannabis. The authors concluded the studies in their analysis were of mostly good quality
              and homogenous across studies. However, the nature of the intervention likely interfered
              with effective blinding which may have resulted in high risk of performance bias and
              possible detection bias. A more recent meta-analysis pooled eight clinical studies
              assessing inhaled cannabis (five smoked and three vaporized) versus placebo in patients
              with chronic pain (Wong et al. 2020). This meta-analysis showed inhaled cannabis was




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                      associated with statistically significant analgesic effect, with a mean difference of -0.97
                      (p < 0.001, random effect) on the NRS; however, significant heterogeneity was identified
                      (I2 = 58.4%). Additionally, a further subgroup analysis showed no difference in effect
                      between smoked or vaporized forms. Other systematic reviews similarly concluded a
                      moderate level of benefit for inhaled cannabis in the neuropathic pain population
                      (Deshpande et al. 2015; Lynch and Ware 2015; Nabata et al. 2021).
                      Cannabis extracts derived from Cannabis sativa are another form of marijuana used to
                      treat pain conditions. In a meta-analysis of studies using cannabis extract in patients with
                      multiple sclerosis, pooled data showed statistical significance for cannabis extract with a
                      small effect size of –0.33 (–0.50 to –0.16), which indicated a small-moderate clinical
                      effect of the treatment with no evidence of heterogeneity between analyzed studies
                      (Torres-Moreno et al. 2018). A recent meta-analysis of six chronic neuropathic pain
                      trials assessing cannabis extracts versus placebo with THC at varying strengths (1% to
                      9.4%) showed significant improvement in pain intensity by -8.7 units on a 0-100 scale (P
                      < .001) based on a moderate quality of evidence (Sainsbury et al. 2021). Within this
                      meta-analysis, the authors also showed pooled data from five of the studies that included
                      reports on response rates and showed that patients receiving cannabis extract were 1.855
                      times more likely to achieve a 30% reduction in pain than patients in the placebo group
                      (P < .001).
                      Other systematic reviews and meta-analyses showed limited to no appreciable effect in
                      some pain groups such as cancer-related pain and spinal cord injuries (Fitzcharles et al.
                      2016; Boland et al. 2020; Tsai et al. 2022; Barakji et al. 2023). When attempting to
                      identify whether cannabis may have an opioid-sparing effect, the data showed any effect
                      was uncertain (Noori et al. 2021) or there was likelihood of an effect, but a causal
                      inference could not be determined (Okusanya et al. 2020). A lack of evidence of efficacy
                      was also shown in the acute post-operative period in a meta-analysis of all cannabinoids
                      (botanical and synthetic) and notably an increased risk of hypotension with an OR of 3.24
                      (Abdallah et al. 2020). In contrast, recently published Canadian clinical practice
                      guidelines (Bell et al. 2023) identified observational studies with a positive association
                      between cannabis use and opioid sparing and made a strong recommendation based on
                      moderate-quality evidence for the use of cannabis-based medicines among people using
                      moderate/high doses of opioids (> 50 morphine equivalents) for the management of
                      chronic pain and/or increase opioid sparing.
                      In general, the adverse event profile of marijuana has been well-characterized based on
                      years of clinical studies, observational studies, and harms data. The systematic reviews
                      and meta-analyses did not reveal any new safety signal. It is clear that adverse events are
                      more common in marijuana groups when compared to placebo control and are also a
                      considerable reason for the risk of bias in studies due to potential unmasking of the
                      treatment group. Adverse events commonly identified consisted of anxiety, dry mouth,
                      tiredness, drowsiness, dizziness, nausea, diarrhea, constipation, and euphoria in the mild
                      to moderate range of severity with serious adverse events generally uncommon
                      (Deshpande et al. 2015; Lynch and Ware 2015; Whiting et al. 2015; Meng et al. 2017;
                      Torres-Moreno et al. 2018; Wong et al. 2020; Sainsbury et al. 2021). In general, no
                      differences in adverse events were identified between types of cannabinoids or mode of
                      administration (Whiting et al. 2015; Torres-Moreno et al. 2018). For example, one meta-




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                     analysis noted when compared with placebo groups, patients receiving cannabinoids were
                     more likely to report individual adverse events such as dizziness (OR 5.52, 95% CI 4.47-
                     6.83), cognitive attention or disturbance (OR 5.67, 95% CI 2.72-11.79), and confusion
                     and disorientation (OR 5.35, 95% CI 2.31-12.3) when pooling safety data for all types of
                     cannabinoids (Stockings et al. 2018a). One systematic review also showed adverse
                     events were consistently identified in a number of pain indications, and individuals who
                     are experienced with cannabis use have a reduced risk of adverse events likely due to
                     development of tolerance (Allan et al. 2018). Dosing varied per study, and dose
                     optimization cannot be determined from the available literature. However, it has been
                     suggested that self-titrating cannabis through inhalation may result in more potent
                     dosages (Price et al. 2022).
                     A recently published clinical practice guideline concluded with a strong recommendation
                     based on moderate-quality of evidence for the use of cannabis-based medicines (includes
                     synthetic forms, CBD alone, and botanical) in chronic pain as a monotherapy,
                     replacement, or adjunct treatment (Bell et al. 2023). This conclusion was based on a
                     number of controlled-studies, systematic reviews, meta-analyses, and observational
                     studies. Although these findings are not specific to botanically-derived marijuana, they
                     draw a conclusion that either the key elements of marijuana, or marijuana itself, is
                     beneficial for chronic pain.
                     Our review of published systematic reviews and meta-analyses shows most authors
                     concluded there is some benefit with marijuana in the treatment of pain conditions,
                     generally ranging from low to moderate effect based on low to moderate quality of
                     evidence.

                        4.4.1.2. Anxiety Disorders
                     There is a lack of high-quality studies examining marijuana in the treatment of anxiety.
                     THC has psychoactive effects that include an anxiogenic response, whereas CBD is
                     associated with anxiolytic properties (de Almeida and Devi 2020; Sharpe et al. 2020).
                     However, there is some very low-quality evidence that synthetic THC and nabiximols
                     may lead to small improvement in anxiety symptoms in patients with other medical
                     conditions such as multiple sclerosis and chronic non-cancer pain (Black et al. 2019).
                     There is also data from a meta-analysis (Hindley et al. 2020) to indicate that synthetic and
                     botanical forms of THC worsen general psychiatric symptoms such as depression and
                     anxiety when compared to placebo with a large effect size (1.01 [95% CI 0.77-1.25],
                     p <0.0001). Another systematic review suggested THC (includes both synthetic and
                     botanically derived forms) worsened or caused anxiety symptoms and showed little
                     benefit in several psychiatric disorders (Stanciu et al. 2021).
                     Based on the available literature, there is not any good evidence to suggest marijuana is
                     an effective treatment of anxiety. Alternatively, it appears the THC component of
                     marijuana is more likely to have anxiogenic effects rather than benefit.




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                        4.4.1.3. Nausea and Vomiting
                     The most common reason patients with cancer use cannabis and cannabinoids is for the
                     relief of nausea and vomiting (Sawtelle and Holle 2021). Most studies evaluated nausea
                     and vomiting related to cancer, and if specified, as a complication of chemotherapy.
                     Systematic reviews and meta-analyses were identified but the vast majority of
                     information relates to synthetic forms of THC (i.e., dronabinol, nabilone and
                     levoantrandol). This is not surprising given synthetic oral formulations have FDA
                     approval for chemotherapy-induced nausea and vomiting (e.g., nabilone and dronabinol).
                     For example, the NASEM report (2017) only provided a conclusion relating to the oral
                     cannabinoid preparations nabilone and dronabinol (conclusive evidence of effectiveness)
                     (NASEM 2017).
                     As stated above, the vast majority of studies evaluated synthetically derived ∆9-THC. A
                     number of older studies from the mid-1970s to 1980s showed significant benefit, but
                     have methodological limitations compared to more recent studies, and it should be noted
                     these older studies were conducted prior to the availability of more modern effective
                     antiemetics (Sawtelle and Holle 2021). A systematic review concluded there was a low-
                     quality of evidence that cannabinoids (including nabiximols and synthetic THC) were
                     associated with improvements in nausea and vomiting due to chemotherapy (Whiting et
                     al. 2015). A recent meta-analysis did not show nabiximols was better than placebo for
                     nausea and vomiting (Bilbao and Spanagel 2022). However, other systematic reviews
                     suggested cannabinoids show a clinically meaningful improvement compared with
                     placebo in patients with nausea and vomiting after chemotherapy; however, the findings
                     appear to be based mostly on synthetically-derived ∆9-THC (Allan et al. 2018; Montero-
                     Oleas et al. 2020).

                        4.4.1.4. Post-Traumatic Stress Disorder
                     Although there is some observational data suggesting people with PTSD self-treat with
                     cannabis (Bonn-Miller et al. 2014a; Bonn-Miller et al. 2014b), there is limited high
                     quality, controlled clinical trial data available on marijuana and PTSD. A systematic
                     review concluded there is some association of a reduction in PTSD symptoms measured
                     by psychometric outcomes and improved quality of life, but this finding was based on
                     observational studies with a high risk of bias (Rehman et al. 2021). This same review
                     concluded that the most common adverse effects reported were dry mouth, headaches,
                     psychoactive euphoria and agitation, and palpitations but that cannabinoids (numerous
                     formulations studied including synthetic THC, CBD, unknown formulations) were
                     overall well-tolerated. A recent systematic review identified two cohort studies, one
                     retrospective and one prospective, which provided some evidence of benefit of
                     cannabinoids but not specific to marijuana (Forsythe and Boileau 2021). Specifically, the
                     retrospective analysis evaluated Clinician Administered Post-traumatic Scale for
                     Diagnostic and Statistical Manual of Mental Disorders, Fourth Edition (CAPS) scores
                     prior to entering a medical cannabis program in New Mexico and then a second score
                     after being enrolled and treated (Greer et al. 2014). A significant decrease (p<0.0001) in
                     CAPS scores was observed from before and after cannabis use, from 98.8 ± 17.6 (mean ±
                     SD) to 22.5 ± 16.9, indicating a reduction in overall PTSD symptoms. The identified




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                     prospective cohort study evaluated THC in patients with chronic PTSD in ten patients
                     (Roitman et al. 2014). There was a significant decrease in specific symptoms of PTSD:
                     Clinical Global Impression-Improvement Scale (3.5 ± 0.52 to 2.7 ± 1.25, p<0.03),
                     hyperarousal (32.3 ± 4.73 to 24.3 ± 9.11, p<0.02), sleep quality (17.20 ± 2.65 to 13.9 ±
                     4.48, p<0.05), frequency of nightmares (0.81 ± 0.55 to 0.44 ± 0.41, p<0.04), and total
                     Nightmare Effects Survey (NES) scores (32.2 ± 11.29 to 22.9 ± 8.7, p<0.002). The
                     above studies reported marijuana was well-tolerated with mild AEs (e.g., dry mouth,
                     dizziness).
                     The NASEM report (2017) did not identify any evidence for treatment of PTSD with a
                     botanically-derived form of marijuana and concluded there is limited evidence of
                     effectiveness for any cannabinoid (NASEM 2017). The only evidence NASEM
                     identified for any THC product in this condition was a small study which administered
                     synthetic THC (nabilone). Other systematic reviews also concluded there was
                     insufficient evidence to draw a conclusion or support use of plant-based forms of
                     marijuana (O'Neil et al. 2017; Shishko et al. 2018; Hindocha et al. 2020; Jugl et al. 2021).
                     Overall, there is a lack of quality clinical data to support the use of marijuana for PTSD.
                     Evidence of benefit was based mostly on case-reports and observational studies with high
                     risk of bias.

                        4.4.1.5. Inflammatory Bowel Disease
                     Numerous survey data suggest marijuana has patient-reported improvement in symptoms
                     of IBD suggesting potential benefit as a treatment option in this population (Norton et al.
                     2017; Desmarais et al. 2020; Doeve et al. 2021). A number of reviews, including meta-
                     analyses, have been performed and are described below. Given the small number of
                     studies performed, there is overlap in studies across these reviews. However, review of
                     different authors’ analyses are intended to provide further insights into the available data.
                     A systematic review of Cochrane Database systematic reviews identified three studies
                     that assessed cannabis in patients with active Crohn’s disease and two studies in patients
                     with ulcerative colitis (Kafil et al. 2020). The studies were small with varying THC/CBD
                     ratios. Two of the Crohn’s disease trials assessed botanically derived marijuana products
                     (smoked cannabis and sublingual cannabis oil) and showed induction of remission was
                     greater in the cannabis groups compared to placebo. The smoked cannabis study showed
                     that a clinical response (defined as a 100-point Crohn’s Disease Activity Index (CDAI)
                     reduction from baseline) at eight weeks was reported in 91% (10 of 11) of participants in
                     the treatment group compared with 40% (4 of 10) of participants in the placebo group
                     (relative risk [RR] 2.27; 95% CI, 1.04-4.97;) with a very low certainty of evidence and
                     high risk of bias. The second study administered cannabis oil (4% THC) for eight weeks
                     and showed the mean quality of life score was 96.3 in the cannabis oil group compared
                     with 79.9 in the placebo group (mean difference 16.40; 95% CI, 5.72-27.08, low certainty
                     evidence). In addition, the mean CDAI score at 8 weeks was 118.6 in the cannabis oil
                     group compared with 212.6 in the placebo group (mean difference -94.00; 95% CI,
                     148.86–39.14, low certainty evidence). Two randomized trials were identified in
                     ulcerative colitis patients and the authors concluded there was no firm evidence to
                     support efficacy or safety of cannabis use in patients with active ulcerative colitis.




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            Adverse events in the above studies included dizziness, headache, sleepiness, dry mouth,
            fatigue, and nausea. There did not appear to be any serious adverse events related to
            marijuana treatment. The authors concluded that there is low to very low certainty of
            evidence of efficacy and no firm conclusion could be made due to limitations of the
            studies, such as small sample sizes.
            A recent meta-analysis of the available studies utilizing botanically derived oil or dried
            plant marijuana products for smoking or oral administration showed some benefit in
            Crohn’s disease [pooled risk-ratio 0.42 (-0.04, 0.890)] coming close to statistical
            significance with a low degree of heterogeneity in studies (Vinci et al. 2022). Also, mean
            CDAI reduction was greater in patients treated with marijuana products than with placebo
            (mean CDAI reduction of 36.63, CI 95% 12.27-61.19). This same meta-analysis did not
            find benefit based on the ulcerative colitis pooled data. The authors concluded marijuana
            as an adjuvant therapy may improve Crohn’s Disease symptoms, but the studies had
            numerous limitations including small sample sizes. Another meta-analysis of available
            data did not show any benefit of marijuana with regard to remission status or a clinical
            response when compared to placebo in IBD, but the authors suggested there may be a
            role as an adjunct to standard therapy (Desmarais et al. 2020).
            Another analysis of available randomized control studies and observational studies
            showed cannabis products do not induce remission in IBD (Doeve et al. 2021). The
            majority of interventional products in this review were botanically derived. A meta-
            analysis did not show any statistically significant benefit with remission status [RR 1.56
            (0.99, 2.46)] but did show significance for perceived efficacy on various Likert-scales
            [RR 0.61 (0.24, 0.99)]. The authors concluded these types of cannabinoids were not
            effective in induction of remission but did produce a perceived benefit to patients. They
            postulate THC’s CB1 activity and reciprocal TRPV1 downregulation correlate with
            improved visceral hypersensitivity and reduced colonic motility, thereby improving
            abdominal pain, diarrhea, and nausea. Although there was some evidence of a
            therapeutic benefit, the authors did not reach a firm recommendation and believed a
            larger randomized-controlled trial is warranted.
            Evidence in a systematic review assessing abdominal pain related to IBD was limited to
            one open-label pilot study and two surveys. These studies showed some possible benefit
            in short-term pain relief, but these studies have significant limitations such as no control
            group, significant amount of data relied on survey data, and significant risks of biases
            (Norton et al. 2017).
            It appears from the available data that there is some evidence of benefit in Crohn’s
            disease when treated with marijuana. However, this appears mostly limited to subjective
            symptoms and not disease activity. There is no significant evidence to suggest benefit in
            ulcerative colitis. Some authors recommended marijuana may be useful as an adjunct in
            Crohn’s disease if other options have failed, but a general consensus is more data from
            large randomized controlled trial(s) are required to provide a firm conclusion with regard
            to efficacy, safety, and dosing optimization.




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                        4.4.1.6. Epilepsy
                     Although there is some evidence of efficacy for CBD in reducing seizure activity in
                     pediatric drug-resistant epilepsy in the literature and FDA has approved a product
                     containing highly purified plant-derived CBD for seizures related to specific syndromes
                     (i.e., Lennox-Gastaut epilepsy tuberous sclerosis, myoclonic epilepsy in infancy), there
                     are not sufficient data to determine that other cannabis-based products (i.e., marijuana)
                     are effective in the treatment of epilepsy, given the lack of quality studies (Stockings et
                     al. 2018b; Elliott et al. 2019; Elliott et al. 2020). See Section II.4.6 of this document for
                     further information related to Epidiolex and its approval. The 2017 NASEM report also
                     concluded there was insufficient evidence to support or refute a conclusion that
                     cannabinoids, such as marijuana, are effective for epilepsy (NASEM 2017).

                        4.4.1.7. Anorexia Related to Medical Conditions
                     Dronabinol (a synthetic form THC) is FDA approved to treat anorexia associated with
                     HIV. However, data based on botanically derived marijuana are more limited. NASEM
                     reviewed systematic reviews and individual primary literature as well, which included
                     botanically derived marijuana and synthetic THC (NASEM 2017). The report concluded
                     there is little evidence that cannabis and oral cannabinoids are effective in increasing
                     appetite and decreasing weight loss in the population with HIV and/or acquired
                     immunodeficiency syndrome (AIDS). It was also concluded that there is insufficient
                     evidence to support or refute the conclusion that cannabinoids are an effective treatment
                     for anorexia-cachexia due to cancer.
                     A systematic review and meta-analysis did not find any high-quality evidence suggesting
                     cannabinoids are beneficial for anorexia or cachexia in cancer or HIV patients (Whiting
                     et al. 2015; Mucke et al. 2018; Simon et al. 2022). These analyses were based on
                     combined studies of herbal marijuana and plant-derived and synthetic THC; therefore,
                     these analyses are not entirely specific to botanical forms. In addition, one of these
                     reviews included uncontrolled studies in the analysis. Mucke (2018) identified one study
                     comparing herbal marijuana with synthetic dronabinol and noted that both groups gained
                     3.0 and 3.2 kg, respectively, with no serious AEs reported (Mucke et al. 2018).
                     Alternatively, another meta-analysis of three studies, including what appeared to be both
                     botanical extracts and synthetic THC, showed a trend towards increased appetite (mean
                     difference 0.27, 95% CI -0.51 to 1.04) when compared with a placebo (Wang et al.
                     2019). The Whiting et al. review only identified one study which evaluated weight gain
                     with marijuana and found no benefit when compared with placebo (Whiting et al. 2015).
                     However, this same analysis showed a trend towards a decrease in quality of life in the
                     two studies which assessed this outcome. The authors hypothesized this trend may be
                     due to adverse events related to marijuana.
                     In summary, it appears the majority of systematic reviews covered synthetic forms of
                     THC with limited information supporting marijuana’s benefit related to this review.




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                       4.5. Safety Data From Case Studies of Selected State Programs:
                            Maryland and Minnesota
                       The purpose of this section is to describe the number of individuals using marijuana
                       based on medical advice and the safety experience of these patients in states with
                       authorized medical marijuana programs. FDA reviewed results from state reporting data
                       from 37 states with medical marijuana programs and surveys of patients using marijuana
                       in Maryland and Minnesota.
                       The University of Michigan provided state annual reports for 37 states. The number of
                       patients using marijuana for medical purposes increased every year from 661,990 in 2016
                       to 2,974,433 in 2020 (Appendix Table 79). There were no safety data relevant to this
                       review included in these annual reports (i.e., no inferential analyses of epidemiologic
                       data). There was no information provided regarding the quality control processes for data
                       analysis or data management for these results.
                       We considered patient survey data from Maryland and Minnesota in more depth than the
                       other 35 states because they had available survey data and were able to provide the
                       results and/or data to FDA. Therefore, these two states were used as an approximate
                       representative sample of safety data from jurisdictions with state-legalized use of
                       marijuana for medical purposes.

                         4.5.1. Maryland

                          4.5.1.1. Maryland Methods
                       In 2022, the Maryland Medical Cannabis Commission (MMCC) conducted an online
                       survey of certified medical cannabis patients in Maryland (MD). Participation was
                       anonymous and voluntary. Participants were entered in a raffle to win a $50 Visa gift
                       card. The initial participation goal of 7,500 completed responses was met in 5 hours and
                       13,011 completed responses were collected (MMCC 2023).
                       FDA discussed the survey with MMCC investigators and requested summary data
                       regarding the characteristics of survey participants, perceived effectiveness, and adverse
                       events. These results were provided by MMCC investigators in tabular form. A
                       description of the quality control process conducted by MMCC is described in the
                       Appendix (Cannabis Public Policy Consulting, Quality Control Processes).

                          4.5.1.2. Maryland Results
                       All questions were optional in the survey; thus, the number of respondents varies by
                       question. Descriptive characteristics of MMCC study participants are presented in
                       Appendix Table 66. Participants were mostly White or Caucasian (78.2%), female
                       (53.8%), not Hispanic or Latino (93.7%), and employed full-time (56%); most had been
                       in the medical cannabis program for less than 4 years (79.5%).




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                     The frequencies of condition or symptom treated with cannabis are presented in Table 50.
                     The most frequently treated symptom was chronic pain (46%), other chronic condition
                     (33.4%) and post-traumatic stress syndrome (12.5%).

                     Table 50. Most Common Condition or Symptom Treated With Cannabis Among Maryland Medical
                     Cannabis Commission (MMCC) Survey Participants
                      Qualifying condition                              n        %
                      Anorexia                                        131         1
                      Severe or persistent muscle spasms              387         3
                      Epileptic seizures                               85       0.7
                      Severe or chronic pain                         5980        46
                      Cachexia or wasting syndrome                     20       0.2
                      Post-traumatic stress disorder (PTSD)          1622      12.5
                      Severe nausea                                   334       2.6
                      Other chronic condition                        4343      33.4
                      Total                                         12902
                     Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


                     Most participants reported using cannabis all or most days in the past month (65.1%).
                     They used alcohol at least once in the past month (60%) and did not use other substances
                     (Appendix Table 67). The primary methods of cannabis use were smoking, eating
                     edibles, or vaping (Table 50). Additional information regarding the methods of
                     consumption is provided in Appendix Table 68.

                     Table 51. Primary Method of Marijuana Consumption in the Past Month, Maryland Medical
                     Cannabis Commission (MMCC) Survey Participants
                      Method of Consumption                              n          %
                      Smoking                                         6101       46.9
                      Ingesting edibles                               2622       20.2
                      Vaping                                          2737          21
                      Dabbing, oil, wax, shatter, butter concentrate   467         3.6
                      Tinctures or oral sprays (elixirs)               178         1.4
                      Capsules or tablets                              128           1
                      Topicals (balm, lotion, cream)                   176         1.4
                      Transdermal (patch)                                5           0
                      Rectal/Vaginal suppositories                      10         0.1
                      Total                                          12424
                     Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


                     Patients were asked if they used cannabis for recreational purposes; most patients used
                     cannabis for medical use only (63.8%, Table 52). A small number of patients reported
                     using cannabis for only (0.8%) or mostly recreational purposes (1.8%).

                     Table 52. Percentage of Medical Use vs. Recreational Use in the Past Month Among Maryland
                     Medical Cannabis Commission (MMCC) Survey Participants
                      Percentage of Medical Use                             n           %
                      100% medical                                       8298         63.8
                      75% med, 25% rec                                   2474           19
                      50% med, 50% rec                                   1547         11.9
                      25% med, 75% rec                                    231          1.8




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                 Percentage of Medical Use                                          n            %
                 100% rec                                                         100           0.8
                 Didn't use in past month                                         271           2.1
                 Total                                                          12921
                Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


                Most patients reported that they perceived cannabis treatment to be moderately (21.4%),
                very (46%), or extremely (28.3%) effective (Appendix Table 69). Patients were asked
                about the perceived health and social effects of cannabis treatment, most said it improved
                their physical (71.9%) and mental (88.6%) health as well as their social relationships
                (54.3%, Appendix Table 70). They reported cannabis either improved (37%) or had no
                impact (54.6%) on their memory or concentration.
                Most patients reported never experiencing adverse events or symptoms while using
                cannabis (Appendix Table 71 and Table 72). Over 80% reported never experiencing
                panic, psychotic or paranoid feelings, suicidal thoughts or ideation, breathing problems,
                and nausea/vomiting. The most common adverse condition experienced was anxiety,
                which was reported as experienced at least once among 31.1% of patients. There were
                very few patients who were treated in an emergency room or urgent care as a result of
                their cannabis use (< 2%, Appendix Table 73).
                Patients were asked to report on a scale of 1= not interested at all to 10= very interested
                their degree of interest in reducing or cutting back cannabis consumption and most were
                not interested (Mean = 1.69, Standard Deviation =2.19).
                Most medical cannabis users reported not driving within 3 hours of consuming cannabis
                or under the influence of cannabis (79.8%, Appendix Table 74).

                     4.5.1.3. Maryland Discussion
                Overall patients using marijuana for medical purposes in MD reported very few side
                effects and a high level of perceived effectiveness. A strength of this study was the high
                participation rate. Additionally, since participation was anonymous and voluntary,
                patients were more likely to accurately report their experiences because there is no
                concern that they may lose access to marijuana based on their responses. However,
                participation was voluntary, thus generalizability may be limited.
                There are several limitations of this study that should be considered. This was a cross-
                sectional study that only included patients currently enrolled in the program. Patients
                who were previously registered to use marijuana and experienced an adverse event or
                lack of perceived effectiveness were not included in this study, thus the number of
                adverse events may be underreported, and the perceived effectiveness may be
                overreported. Patients may also have been more motivated to report positive experiences
                with medical cannabis since the survey was conducted by the MMCC and patients would
                want to keep marijuana accessible in MD.




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                            4.5.2. Minnesota

                              4.5.2.1. Minnesota Methods
                           Minnesota legalized the use of medical marijuana in 2014. The qualifying medical
                           conditions for Minnesota (MN) are presented in Appendix Table 75. Patients must
                           complete a patient self-evaluation through the online MN medical cannabis patient
                           registry before each medical cannabis purchase. For each adverse effect reported,
                           patients were required to indicate the severity of that adverse effect as mild (symptoms do
                           not interfere with daily activities), moderate (symptoms may interfere with daily
                           activities), or severe (symptoms interrupt usual daily activities). MN provided summary
                           data for 2015-2017 and raw data that were analyzed by two separate FDA analysts to
                           ensure agreement from 2017-present.

                              4.5.2.2. Minnesota Results
                           Baseline characteristics of MN medical cannabis patients are presented in Table 53.
                           Most patients were white, and the primary qualifying conditions were chronic or
                           intractable pain. A limitation of this study design is that patients who experienced an
                           adverse event or did not perceive a benefit of marijuana likely would not make another
                           marijuana purchase and these events would not be identified. To assess these potential
                           differences in patient characteristics, FDA stratified baseline characteristics by the
                           number of patient visits.




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Table 53. Baseline Characteristics of Minnesota Medical Cannabis Patients 2017-2022*
                                                                                                                                Patients With at Least    Patients Without a
                                                                                                                   Overall        1 Returning Visit        Returning Visit
 Characteristic                                                                                                     n      %             n          %            n        %
 Receive Medical Assistance                                                                                     36606 50.04         16164        53.81      20442      47.41
 Race/Ethnicity
 Hispanic                                                                                                        2760    3.77        1059        3.53        1701       3.94
 American Indian                                                                                                 2881    3.94        1153        3.84        1728       4.01
 Asian                                                                                                           1044    1.43         388        1.29         656       1.52
 Black                                                                                                           5187    7.09        1693        5.64        3494        8.1
 Unknown race                                                                                                     280    0.38          99        0.33         181       0.42
 Hawaiian                                                                                                         204    0.28          67        0.22         137       0.32
 No response for race                                                                                            2845    3.89        1148        3.82        1697       3.94
 Other race                                                                                                      1757    2.40         694        2.31        1063       2.47
 White                                                                                                          61961   84.69       26057       86.74       35904      83.27
 Certified Condition
 Cancer, where this illness or its treatment produces cachexia or severe wasting. Live July 1, 2015              1686     2.3         250        0.83        1436       3.33
 Terminal illness, where this illness or its treatment produces severe or chronic pain. Live July 1, 2015         345    0.47          64        0.21         281       0.65
 Terminal illness, where this illness or its treatment produces nausea or severe vomiting. Live July 1, 2015      220     0.3          40        0.13         180       0.42
 Terminal illness, where this illness or its treatment produces cachexia or severe wasting. Live July 1, 2015     213    0.29          30         0.1         183       0.42
 Glaucoma. Live July 1, 2015                                                                                      403    0.55         185        0.62         218       0.51
 HIV/AIDS. Live July 1, 2015                                                                                      387    0.53         174        0.58         213       0.49
 Tourette syndrome. Live July 1, 2015                                                                             313    0.43         149         0.5         164       0.38
 Amyotrophic lateral sclerosis. Live July 1, 2015                                                                 130    0.18          36        0.12          94       0.22
 Seizures, incl. those characteristic of epilepsy. Live July 1, 2015                                             1708    2.33         790        2.63         918       2.13
 Severe and persistent muscle spasms, incl those characteristic of multiple sclerosis. Live July 1, 2015         5467    7.47        2997        9.98        2470       5.73
 Inflammatory bowel disease, incl. Crohn’s disease. Live July 1, 2015                                            1697    2.32         825        2.75         872       2.02
 Intractable pain. Live August 1, 2016                                                                          31168    42.6       15668       52.16       15500      35.95
 Post-traumatic stress disorder. Live August 1, 2017                                                            20445   27.95        7991        26.6       12454      28.88
 Autism. Live August 1, 2018                                                                                     1421    1.94         664        2.21         757       1.76
 Obstructive sleep apnea. Live August 1, 2018                                                                    2980    4.07        1526        5.08        1454       3.37




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Alzheimer’s disease. Live August 1, 2019                                                                                                          119        0.16                19              0.06            100            0.23
Chronic pain. Live August 1, 2020                                                                                                               24189       33.06              7310             24.34          16879           39.15
Sickle cell disease. Live August 1, 2021                                                                                                           14        0.02                 2              0.01             12            0.03
Chronic vocal or motor tic disorder. Live August 1, 2021                                                                                           70         0.1                10              0.03             60
Source: Estimates generated by FDA using data provided by Minnesota Department of Health April 3, 2023 and April 12, 2023.
Note:
• “Live” refers to when the certified condition was added to the patient survey
• When selecting race, patients can select more than one race
• Patients can be certified for multiple conditions at one time
• Patients must first be certified by a registered health care practitioner for at least one qualifying condition. After that certification is submitted, patients can enroll to be in the program. Enrollment is good for 1 year.




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           The most common side effects reported in 2021 are presented in Figure 13, additional data
           regarding side effects are presented in Appendix Table 76, Table 77, and Table 78. From 2017-
           2022, any side effect was reported in <10% of all patient surveys and less than 1% reported
           severe side effects (Appendix Table 77). The majority (>90%) of side effects reported by MN
           medical cannabis users were mild (symptoms do not interfere with daily activities) to moderate
           (symptoms may interfere with daily activities) in severity. The most common side effect
           reported was dry mouth; other side effects were increased appetite, somnolence, and mental
           clouding/foggy brain.

           Figure 13. Top Ten Side Effects Reported on the MN Patient Self-Evaluation, 2021




           Source: Estimates generated by FDA using data provided by Minnesota Department of Health April 3, 2023 and April 12, 2023.


                4.5.2.3. Minnesota Discussion
           An advantage of the MN database is that all medical marijuana users are required to complete the
           patient survey before every purchase, thus these findings reflect the experience of medical
           marijuana patients in MN. However, patients may underreport side effects if they are concerned
           about the results of the survey being used to limit access to medical marijuana. Another
           limitation of the MN database is the lack of information from patients who chose to stop using
           medical marijuana. This could lead to an underestimation of the number of adverse events as
           well as an overestimation of perceived effectiveness and an underestimation of adverse events as
           patients who experienced adverse events or lack of effectiveness may not make a second
           purchase.

             4.5.3. Conclusion
           Chronic pain was the most common condition treated with marijuana. The side effects reported
           by marijuana patients in Minnesota were generally defined as mild (symptoms do not interfere
           with daily activities) by respondents. Most patients did not report any side effects in either
           Maryland or Minnesota. Patients in Maryland reported a high level of perceived effectiveness
           and symptom improvement because of their marijuana use. Survey participation was voluntary
           in Maryland, which may limit generalizability. Both the Maryland and Minnesota databases are
           limited because they did not include patients who stopped using marijuana, which may result in
           an overestimation of positive patient experiences.


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 4.6. Summary of FDA-Approved Drug Products Related to Marijuana
Although the focus of this document is on marijuana, CBD and ∆9-tetrahydrocannabinol (Δ9-
THC) are the two major phytocannabinoids present in the Cannabis sativa plant, and there are
several FDA approved products that contain botanical, synthetic, or structurally related forms of
these components of marijuana. The following sections summarize FDA’s findings for these
products as reflected in their approved labeling, and, although these products do not fall under
the definition of marijuana, the findings for these products are relevant to the discussion of the
medical use of marijuana.

Marinol (Dronabinol) Capsules, for Oral Use, Approved by FDA in 1985
Marinol capsules, a Schedule III controlled substance, contains synthetically derived ∆9-THC
(the (-)-trans stereoisomer, also known as dronabinol) that is approved for the treatment of
anorexia associated with weight loss in patients with AIDS and nausea and vomiting associated
with cancer chemotherapy in patients who have failed to respond adequately to conventional
antiemetic treatments. Marinol is supplied as capsules in strengths of 2.5 mg, 5 mg, and 10 mg.
Marinol has identical warnings and precautions, as well as common adverse events, to Syndros.

Syndros (Dronabinol) Oral Solution, Approved by FDA in 2016
Syndros oral solution, a Schedule II controlled substance, contains synthetically-derived ∆9-THC
(dronabinol) that is approved for the treatment of anorexia associated with weight loss in patients
with AIDS and nausea and vomiting associated with cancer chemotherapy in patients who have
failed to respond adequately to conventional antiemetic treatments. Syndros is supplied as a 5
mg/ml solution.
Syndros has warnings and precautions within the labeling describing neuropsychiatric effects,
hemodynamic effects, seizures, substance use, and paradoxical nausea/vomiting, as well as drug
interactions. The most common adverse reactions (≥3%) are abdominal pain, dizziness,
euphoria, nausea, paranoid reaction, somnolence, thinking abnormal, and vomiting.

Cesamet (Nabilone) Capsules, Approved by FDA in 1985
Nabilone, the active ingredient in Cesamet capsules, is a Schedule II controlled substance that is
a synthetic analogue of Δ9-THC. Cesamet is approved for the treatment of nausea and vomiting
associated with cancer chemotherapy in patients who have failed to respond adequately to
conventional antiemetic treatments. Cesamet is supplied as 1 mg capsules.
Cesamet has similar safety information to other synthetic forms of Δ9-THC.

Epidiolex (Cannabidiol) Oral Solution, Approved by FDA in 2018
Epidiolex oral solution is not a controlled substance and is a highly purified form of cannabidiol
approved for the treatment of seizures associated with Lennox-Gastaut syndrome, Dravet
syndrome, or tuberous sclerosis complex in patients 1 year of age and older.
Epidiolex is considered to have no meaningful potential for abuse.
FDA included a review of approved products relevant to marijuana because the active
pharmaceutical ingredients (APIs) in the approved products, such as synthetic forms of THC, are



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                     expected to have the same clinical effect as botanically-derived THC. Therefore, if the above
                     approved formulations of THC were considered to have proven benefit for various indications, it
                     is logical to conclude that a similar dose administered through a marijuana preparation would be
                     relevant to informing potential therapeutic uses of marijuana for drug scheduling purposes.

                      4.7. Summary of Expert Opinions and Position Statements
                     Summary of Professional Organizations’ Positions
                     Table 54 provides a summary of a representative list of professional organizations’ position
                     statements on marijuana as it relates to their respective medical specialty. Most of these
                     organizations did not arrive at a firm recommendation for use of marijuana in their specialty, but
                     some acknowledged there may be preliminary evidence showing marijuana may have some
                     therapeutic benefits. Otherwise, the majority of organizations acknowledged patient reported
                     benefits and some evidence from clinical studies for cannabis-based treatments in their
                     respective specialties, though they recommended more extensive research into cannabis rather
                     than a recommendation to prescribe it for a particular disorder. Additionally, a number of
                     organizations recommended rescheduling of cannabis from Schedule I to Schedule II to facilitate
                     less barriers to quality research.

                     Table 54. Professional Organizations’ Position Statements
                      Professional Organization                         Highlights
                      American Academy of Family Physicians (2019)       • “AAFP acknowledges preliminary evidence indicates marijuana
                      (AAFP 2019)                                          and cannabinoids may have potential therapeutic benefits, while
                                                                           also recognizing subsequent negative public health and health
                                                                           outcomes associated with cannabis use.”
                                                                         • Opposes the recreational use of marijuana. However, the AAFP
                                                                           supports decriminalization of possession of marijuana for
                                                                           personal use.
                                                                         • “The AAFP calls for decreased regulatory barriers to facilitate
                                                                           clinical and public health cannabis research, including
                                                                           reclassifying cannabis from a Schedule I controlled substance.”
                      American Academy of Neurology (2020)               • Does not support the use of, nor any assertion of therapeutic
                      (AAN 2020)                                           benefits of, cannabis products as medicines for neurologic
                                                                           disorders in the absence of sufficient scientific peer-reviewed
                                                                           research to determine their safety and specific efficacy
                                                                         • Supports efforts to allow rigorous research to evaluate long term
                                                                           safety and efficacy
                      American Epilepsy Society (2022)                   • Scientific evidence for the use of cannabis itself in the treatment
                      (AES 2022)                                           of epilepsy is highly limited
                                                                         • Calls for increased rigorous clinical research, AES urges that the
                                                                           status of cannabis as a United States Drug Enforcement
                                                                           Administration (DEA) Schedule I controlled substance be
                                                                           reviewed.
                                                                         • The AES call for rescheduling is not an endorsement of the
                                                                           legalization of cannabis but rather is a recognition that the
                                                                           current restrictions on the use of cannabis products for research
                                                                           continue to significantly limit scientifically rigorous research
                      American Psychiatric Association (2019)            • Does not endorse cannabis as medicine
                      (APA 2018)                                         • Association with onset of psychiatric disorders




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                  Professional Organization                         Highlights
                  American Society of Addiction Medicine (2020)     • “Cannabis used for medical purposes should be rescheduled
                  (ASAM 2020)                                          from Schedule 1 of the Controlled Substances Act (CSA) to
                                                                       promote more clinical research and FDA oversight typical of
                                                                       other medications.”
                                                                    • Position paper summarized risks and benefits but did not state
                                                                       whether they agreed with findings on efficacy.
                                                                    • Healthcare professionals should only recommend non-FDA-
                                                                       approved cannabis if there is evidence that the potential benefits
                                                                       outweigh the potential harms.
                  The Association for Addiction Professionals       • Does not currently support the use of cannabis as medicine or
                  (NAADAC)                                             for recreational purposes
                  (NAADAC 2022)                                     • Acknowledges some early evidence of efficacy and encourages
                                                                       further research
                  International Association for the Study of Pain   • The IASP found a lack of high-quality evidence
                  (2021)                                            • The evidence base regarding efficacy and safety fails to reach
                  (IASP 2021)                                          the threshold at which IASP can endorse their general use for
                                                                       pain control
                                                                    • Acknowledge patient experience can show benefit and call for
                                                                       more rigorous and robust research
                  American Academy of Sleep Medicine Position       • Limited evidence citing small pilot or proof of concept studies
                  Statement                                            suggest that the synthetic medical cannabis extract dronabinol
                  (Ramar et al. 2018)                                  may improve respiratory stability and provide benefit to treat
                                                                       obstructive sleep apnea (OSA).
                                                                    • “It is the position of the American Academy of Sleep Medicine
                                                                       (AASM) that medical cannabis and/or its synthetic extracts
                                                                       should not be used for the treatment of OSA due to unreliable
                                                                       delivery methods and insufficient evidence of effectiveness,
                                                                       tolerability, and safety.”
                                                                    • Further research recommended



                 5. Overall Conclusions for Part 2 of the Currently Accepted Medical
                    Use Test for Marijuana
                 Based on the totality of the available data described in Section II.4 of this document, we
                 conclude that there exists some credible scientific support for the use of marijuana in at least one
                 of the indications for which there is widespread current experience with its medical use in the
                 United States, as identified under Part 1 of the CAMU test. The analysis and conclusions on the
                 available data are not meant to imply that safety and efficacy have been established for
                 marijuana that would support FDA approval of marijuana for any particular indication.
                 However, the available data do provide some level of substantiation to support the way
                 marijuana is evidently being used in clinical practice.
                 As previously noted, in evaluating whether there exists some credible scientific support under
                 Part 2 of the CAMU test for a particular use, factors considered in favor of a positive finding
                 included whether 1) favorable clinical studies, although not necessarily FDA approval-level
                 studies, of the medical use of marijuana have been published in peer-reviewed journals and/or 2)
                 qualified expert organizations (e.g., academic or professional societies, government agencies)
                 have opined in favor of the medical use or provided guidance to practitioners on the medical
                 use. Factors considered that weigh against a finding that Part 2 of the CAMU test is met




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included whether 1) data or information indicate that medical use of the substance is associated
with unacceptably high safety risks for the likely patient population, e.g., due to toxicity
concerns; 2) clinical studies with negative efficacy findings for the medical use of marijuana
have been published in peer reviewed journals; and/or 3) qualified expert organizations (e.g.,
academic or professional societies, government agencies) have recommended against the
medical use of marijuana.
Our analysis of the available information showed mixed findings across indications. The largest
evidence base substantiating the use of marijuana in clinical practice exists for its use in treating
pain (in particular, neuropathic pain). In the pain indication, the UF analysis found inconclusive
results; however, numerous other systematic reviews concluded that there exists some level of
evidence supporting the use of marijuana for pain. UF found that there is low to moderate
quality evidence supporting the effectiveness of marijuana as medical treatment for outcomes in
anorexia related to certain medical conditions, nausea and vomiting, and PTSD; however, FDA
review of systematic reviews showed mixed results, mostly in support of synthetic forms or
evidence only in observational studies with high risk of bias, which are not relevant to this
discussion. In particular, FDA found that the potential for psychiatric adverse events associated
with treating PTSD with marijuana may be more substantial than any limited benefit in
observational studies. Although UF did not conclude that there was evidence in support of the
efficacy/effectiveness of marijuana in IBD, both their review and other systematic reviews found
some benefit with respect to subjective symptoms in this condition. With regard to epilepsy and
anxiety, both UF’s review and FDA’s review of systematic reviews did not find support for the
benefit of marijuana in the treatment of these conditions. Where positive, the effects of
marijuana use and the quality of evidence were generally in the low to moderate range. UF did
not find high quality evidence supporting worsening of outcomes in any indication.
None of the evidence from the systematic reviews included in our analysis demonstrated
substantial safety concerns that would argue against the use of marijuana in any of the
indications where there exists some support for its benefit. However, generally, data on safety
from both clinical trials and observational studies were sparse. Literature shows marijuana has
more adverse events when compared to a placebo or active control group, however, typically in
the mild to moderate range. Severe adverse events were uncommon. Surveys of patients using
marijuana in Maryland and Minnesota found most patients did not report any side effects and
those that did report side effects mostly described them as mild. Neither of the state databases
included patients who chose to stop using marijuana, which may result in an overestimation of
positive experiences and an underestimation of adverse events. To date, observational data
sources available to FDA, in general, lack the necessary elements to identify the exposure, to
distinguish the reason for use (medical vs. recreational) and the condition that prompted its
medical use, and/or to permit sound inferential analyses. Data from U.S. national surveys,
although, overall, lacking sufficient details on patient’s characteristics and factors that prompted
the use of marijuana for medical purposes, and impacted by the COVID-19 pandemic, suggested
that medical use of marijuana increases as age increases. Only data from one survey provided
information on intended indication for use, suggesting that users often use marijuana to improve
or manage conditions such as depression, anxiety, PTSD, pain, headaches or migraines, sleep
disorders, nausea and vomiting, lack of appetite, and muscle spasms, but approximately only half
of them reportedly had ever asked a healthcare professional for a recommendation to use medical
marijuana.




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                          Although the safety data obtained from use in a medical context are considered to be the most
                          relevant for the CAMU Part 2 analysis, FDA evaluated the safety of marijuana in the nonmedical
                          setting to inform the potential for more severe outcomes. Specifically, FDA evaluated safety
                          outcomes related to the nonmedical use of, use of uncertain intent of, and unintentional exposure
                          to marijuana through a variety of epidemiological data sources, including the National Poison
                          Data System (NPDS), Drug-Involved Mortality (DIM), National Vital Statistics System-
                          Mortality (NVSS-M), National Emergency Department Sample (NEDS), National Inpatient
                          Sample (NIS), FDA's Sentinel, FDA Adverse Event Reporting System/Center for Food Safety
                          and Applied Nutrition (CFSAN) Adverse Event Reporting System (FAERS/CAERS), Medicare,
                          ToxIC Core Registry, and Drug Abuse Warning Network (DAWN). Safety outcomes for
                          marijuana were evaluated relative to several comparator substances controlled under the CSA,
                          including drugs in Schedule I: heroin (an illicit opioid drug); Schedule II: hydrocodone and
                          oxycodone (approved opioid prescription drugs), cocaine and fentanyl (largely illicitly produced
                          drugs in the nonmedical use setting, although there are approved prescription drugs); Schedule
                          III: ketamine (an approved prescription drug); and Schedule IV: zolpidem, benzodiazepines, and
                          tramadol (approved prescription drugs). The comparative data demonstrate that, although
                          marijuana is frequently used nonmedically, marijuana has a less concerning overall safety profile
                          relative to the comparators for a number of important outcomes (e.g., single substance use
                          overdose death, hospitalizations). However, in young children, population-adjusted rates of
                          emergency department visits and hospitalizations involving marijuana poisoning were higher
                          than heroin, cocaine, and benzodiazepines for the periods studied. Of note, some of the
                          comparator substances are approved for use in conditions similar to the indications for which
                          marijuana is being evaluated in this CAMU analysis (e.g., opioids for pain, benzodiazepines for
                          anxiety related conditions) (FDA Office of Surveillance and Epidemiology, 2023).
                          We also considered position statements from professional organizations relevant to the
                          indications discussed. The vast majority of professional organizations did not recommend the
                          use of marijuana in their respective specialty; however, none specifically recommended against
                          it, with the exception of the APA, who stated that marijuana is known to worsen certain
                          psychiatric conditions.
                          On balance, the available data indicate that there is some credible scientific support to
                          substantiate the use of marijuana in the treatment of: pain; anorexia related to certain medical
                          conditions; and nausea and vomiting (e.g. chemotherapy-induced), with varying degrees of
                          support and consistency of findings.




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                                 III. Appendices

                                 1. International Cannabis Policy Study (ICPS)
                                 Table 55. Marijuana Legalization by State, 2021
                                                        Legal Medical            Legal Medical and
                                  No Legal Marijuana    Marijuana Only           ‘Recreational’ Marijuana
                                  Alabama*              Arkansas                 Alaska
                                  Georgia               Delaware                 Arizona
                                  Idaho                 Florida                  California
                                  Indiana               Hawaii                   Colorado
                                  Iowa                  Louisiana                Connecticut
                                  Kansas                Maryland                 Illinois
                                  Kentucky              Minnesota                Maine
                                  Mississippi           Missouri                 Massachusetts
                                  Nebraska              New Hampshire            Michigan
                                  North Carolina        North Dakota             Montana
                                  South Carolina        Ohio                     Nevada
                                  Tennessee             Oklahoma                 New Jersey
                                  Texas                 Pennsylvania             New Mexico
                                  Wisconsin             Rhode Island             New York
                                  Wyoming               South Dakota             Oregon
                                                        Utah                     Vermont
                                                                                 Virginia
                                                                                 Washington, DC
                                                                                 Washington State
                                 Source: (Hammond et al. 2023).
                                 *Alabama legalized medical marijuana in 2021, however, no licenses had been issued at the time of the ICPS data collection




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Table 56. Sample Characteristics, ICPS, 2018-2021
                                              Wave 1 - 2018    Wave 2 - 2019     Wave 3 - 2020      Wave 4 - 2021
 Characteristic                                   (n=17,112)     (n=30,479)        (n=29,900)         (n=30,081)
 Sex
    Female                                     50.2% (8,586)   50.2% (15,290)    50.1% (14,995)    50.1% (15,080)
    Male                                       49.8% (8,526)   49.8% (15,189)    49.9% (14,905)    49.9% (15,001)
 Age (NSDUH)
    16-17                                      14.1% (2,358)     8.1% (2,432)      7.1% (2,062)      6.7% (1,954)
    18-25                                       6.2% (1,042)    12.1% (3,619)     13.8% (4,027)     13.8% (4,056)
    26-44                                      19.6% (3,270)    19.8% (5,924)     18.6% (5,437)     19.0% (5,576)
    45-64                                     60.1% (10,054)   59.9% (17,914)    60.5% (17,645)    60.5% (17,757)
 Race
    White                                     76.4% (13,068)   76.0% (23,158)    75.8% (22,655)    75.6% (22,730)
    Black/African American                     13.6% (2,335)    13.8% (4,201)     13.9% (4,148)     13.9% (4,183)
    Asian                                         3.8% (648)     4.0% (1,207)      4.6% (1,368)      3.8% (1,132)
    American Indian or Alaskan Native             0.8% (140)       1.3% (383)        1.0% (288)        1.1% (324)
    Native Hawaiian or Pacific Islander            0.2% (34)       0.3% (105)        0.4% (110)        0.4% (129)
    Other                                         5.2% (887)     4.7% (1,424)      4.5% (1,331)      5.3% (1,583)
 Ethnicity
    Hispanic                                    8.8% (1,493)    12.6% (3,788)     11.5% (3,391)     13.7% (4,063)
    Non-Hispanic                              91.2% (15,507)   87.4% (26,355)    88.5% (26,086)    86.3% (25,616)
 Education
    < High school                              14.5% (2,470)    10.4% (3,146)      9.8% (2,900)     10.4% (3,106)
    High school                                18.7% (3,192)    22.0% (6,688)     23.2% (6,889)     22.7% (6,783)
    Some college                               39.2% (6,691)   37.8% (11,481)    36.9% (10,946)    36.6% (10,922)
    Bachelor’s degree                          27.6% (4,702)    29.8% (9,039)     30.1% (8,916)     30.2% (9,012)
 Income Adequacy
    Very difficult/Difficult                   31.3% (5,268)   34.1% (10,213)     27.7% (8,090)     29.7% (8,677)
    Neither easy nor difficult                 32.2% (5,421)   33.6% (10,075)    35.7% (10,416)     33.6% (9,824)
    Easy/Very easy                             35.8% (6,029)    31.1% (9,335)    35.1% (10,226)    35.1% (10,266)
    Not reported                                  0.8% (137)       1.2% (350)        1.5% (425)        1.6% (458)
 Jurisdiction
    ‘Illegal’ states                           22.7% (3,890)    13.9% (4,230)     18.2% (5,437)     16.6% (4,980)
    ‘Medical’ states                           34.0% (5,824)    19.8% (6,045)     23.6% (7,071)     17.2% (5,160)
    ‘Recreational’ states                      43.2% (7,398)   66.3% (20,204)    58.2% (17,392)    66.3% (19,941)




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                                                                                     Wave 1 - 2018                Wave 2 - 2019     Wave 3 - 2020   Wave 4 - 2021
                           Characteristic                                              (n=17,112)                   (n=30,479)        (n=29,900)      (n=30,081)
                           Frequency of Use
                             Ever consumer                                            53.6% (5,150)                49.0% (9,563)    50.1% (8,809)   46.7% (9,001)
                             Past 12-month consumer (<monthly)                        13.3% (1,280)                13.5% (2,627)    12.0% (2,113)   12.7% (2,448)
                             Monthly consumer                                            9.9% (951)                 9.6% (1,876)     9.5% (1,675)   10.3% (1,992)
                             Weekly consumer                                             8.4% (809)                 8.0% (1,555)     8.3% (1,451)    8.9% (1,718)
                             Daily consumer1                                          14.7% (1,415)                20.0% (3,897)    20.1% (3,531)   21.4% (4,122)
                          Source: (Hammond et al. 2023), Table 1.
                          1.
                             Daily consumption = consumption ≥5 days per week.
                          Abbreviations: ICPS, International Cannabis Policy Study; NSDUH, National Survey on Drug Use and Health




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  Table 57. Time Since Last Cannabis Use Among Exclusive Past-Year Medical Cannabis Consumers, Recency of Use by Sex, ICPS, 2021
                                           Male              Female             Overall
   Time Since Last Use1                  (n=780)            (n=667)           (n=1,447)
   All States
       Past 12-months                36.2% (282)        29.0% (194)         32.9% (476)
                                 (30.4% - 42.0%)    (24.7% - 33.4%)     (29.2% - 36.6%)
       Past month                    63.8% (498)        71.0% (473)         67.1% (971)
                                 (58.0% - 69.6%)    (66.6% - 75.3%)     (63.4% - 70.8%)
   'Illegal’ States
       Past 12-months                 44.0% (81)         37.7% (63)         41.0% (144)
                                 (30.1% - 57.9%)    (28.7% - 46.7%)     (32.5% - 49.5%)
       Past month                    56.0% (103)        62.3% (104)         59.0% (207)
                                 (42.1% - 69.9%)    (53.3% - 71.3%)     (50.5% - 67.5%)
   ‘Medical’ States
       Past 12-months                 37.7% (93)         21.7% (44)         30.6% (138)
                                 (27.2% - 48.3%)    (15.4% - 28.0%)     (24.0% - 37.2%)
       Past month                    62.3% (155)        78.3% (157)         69.4% (312)
                                 (51.7% - 72.8%)    (72.0% - 84.6%)     (62.8% - 76.0%)
   ‘Recreational’ States
       Past 12-months                31.0% (108)         29.1% (87)         30.1% (194)
                                 (23.7% - 38.2%)    (22.0% - 36.1%)     (25.0% - 35.2%)
       Past month                    69.0% (240)        70.9% (212)         69.9% (452)
                                 (61.8% - 76.3%)    (63.9% - 78.0%)     (64.8% - 75.0%)
  Source: (Hammond et al. 2023), Table 57.
  1.
     The categories ‘Past 12-months’ and ‘Past month’ are mutually exclusive.


  Table 58. Time Since Last Cannabis Use Among Exclusive Past Year Medical Cannabis Consumers, Recency of Use by Age (NSDUH Age Categories),
  ICPS, 2021
                                              16-17                18-25              26-34              35-64            Overall
   Time Since Last Use1,2,3                  (n=37)              (n=180)            (n=327)            (n=891)          (n=1,435)
   All States
     Past 12-months                      33.0% (12)           30.7% (55)        32.2% (105)        33.7% (300)        33.0% (473)
                                    (10.5% - 55.5%)      (20.8% - 40.6%)    (23.4% - 41.1%)    (29.1% - 38.2%)    (29.2% - 36.7%)
     Past month                          67.0% (25)          69.3% (125)        67.8% (222)        66.3% (591)        67.0% (962)
                                    (44.5% - 89.5%)      (59.4% - 79.2%)    (58.9% - 76.6%)    (61.8% - 70.9%)    (63.3% - 70.8%)




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                                                              16-17                          18-25                        26-34                   35-64           Overall
 Time Since Last Use1,2,3                                    (n=37)                        (n=180)                      (n=327)                 (n=891)         (n=1,435)
 'Illegal’ States
     Past 12-months                                   19.7% (3)                      30.3% (17)                   64.3% (44)                  38.2% (80)       41.3% (144)
                                                 (0.0% - 46.4%)                 (11.5% - 49.2%)              (42.8% - 85.9%)             (28.4% - 48.0%)   (32.7% - 49.8%)
     Past month                                      80.3% (12)                      69.7% (39)                   35.7% (24)                 61.8% (130)       58.7% (205)
                                               (53.6% - 100.0%)                 (50.8% - 88.5%)              (14.1% - 57.2%)             (52.0% - 71.6%)   (50.2% - 67.3%)
 ‘Medical’ States
   Past 12-months                                     58.4% (4)                      38.8% (18)                   26.1% (31)                  30.1% (82)       30.4% (135)
                                                (9.2% - 100.0%)                 (15.9% - 61.7%)              (12.3% - 39.9%)             (22.1% - 38.0%)   (23.8% - 37.1%)
     Past month                                       41.6% (3)                      61.2% (29)                   73.9% (86)                 69.9% (191)       69.6% (309)
                                                 (0.0% - 90.8%)                 (38.3% - 84.1%)              (60.1% - 87.7%)             (62.0% - 77.9%)   (62.9% - 76.2%)
 ‘Recreational’ States
   Past 12-months                                     32.8% (5)                      26.0% (20)                   21.8% (31)                 33.8% (138)       30.2% (194)
                                                 (0.0% - 68.2%)                 (14.3% - 37.7%)              (13.3% - 30.4%)             (27.0% - 40.5%)   (25.1% - 35.3%)
     Past month                                      67.2% (10)                      74.0% (57)                  78.2% (111)                 66.2% (270)       69.8% (448)
                                               (31.8% - 100.0%)                 (62.3% - 85.7%)              (69.6% - 86.7%)             (59.5% - 73.0%)   (64.7% - 74.9%)
Source: (Hammond et al. 2023), Table 51.
1.
   The categories ‘Past 12-months’ and ‘Past month’ are mutually exclusive.
2.
   12 responses were excluded.
3.
   In some cases, the sum of the weighted frequencies for state categories does not equal the total frequency as a result of rounding.
Abbreviations: ICPS, International Cannabis Policy Study; NSDUH, National Survey on Drug Use and Health


Table 59. Time Since Last Cannabis Use Among Exclusive Past-Year Medical Cannabis Consumers, Recency of Use by Race, ICPS, 2021
                               American Indian                    Black or African   Native Hawaiian
                              or Alaskan Native             Asian         American or Pacific Islander           White            Other                                              Overall
                    1,2
 Time Since Last Use                      (n=25)           (n=18)           (n=227)              (n=8)       (n=1,086)           (n=83)                                            (n=1,447)
 All States
     Past 12-months                    18.6% (5)        45.6% (8)        41.2% (94)          56.0% (4)     32.1% (348)       20.0% (17)                                           32.9% (476)
                                  (3.0% - 34.2%)   (8.9% - 82.3%)  (29.8% - 52.7%)    (0.2% - 100.0%)  (28.0% - 36.2%)   (8.6% - 31.4%)                                       (29.2% - 36.6%)
     Past month                       81.4% (20)       54.4% (10)      58.8% (133)           44.0% (3)     67.9% (737)       80.0% (67)                                           67.1% (971)
                                (65.8% - 97.0%)   (17.7% - 91.1%)  (47.3% - 70.2%)     (0.0% - 99.8%)  (63.8% - 72.0%)  (68.6% - 91.4%)                                       (63.4% - 70.8%)
 'Illegal’ States
     Past 12-months                     0.0% (0)        76.4% (2)        52.2% (52)           0.0% (0)      36.4% (84)        41.4% (6)                                           41.0% (144)
                                   (0.0% - 0.0%) (25.9% - 100.0%)  (33.0% - 71.4%)       (0.0% - 0.0%) (27.2% - 45.6%)   (7.2% - 75.6%)                                       (32.5% - 49.5%)
     Past month                       100.0% (4)       23.6% (0)*        47.8% (48)           0.0% (0)     63.6% (146)        58.6% (9)                                           59.0% (207)
                              (100.0% - 100.0%)    (0.0% - 74.1%)  (28.6% - 67.0%)       (0.0% - 0.0%) (54.4% - 72.8%)  (24.4% - 92.8%)                                       (50.5% - 67.5%)

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                                             American Indian                                      Black or African            Native Hawaiian
                                            or Alaskan Native                          Asian             American           or Pacific Islander           White              Other           Overall
 Time Since Last Use1,2                                (n=25)                         (n=18)               (n=227)                        (n=8)        (n=1,086)            (n=83)         (n=1,447)
 ‘Medical’ States
   Past 12-months                                   25.8% (1)                    0.0% (0)                39.3% (21)                   0.0% (0)        29.9% (109)         25.9% (6)       30.6% (138)
                                               (0.0% - 69.5%)               (0.0% - 0.0%)           (15.7% - 62.8%)              (0.0% - 0.0%)    (22.8% - 37.1%)    (1.9% - 49.9%)   (24.0% - 37.2%)
     Past month                                     74.2% (4)                  100.0% (3)                60.7% (33)                 100.0% (1)        70.1% (255)        74.1% (17)       69.4% (312)
                                             (30.5% - 100.0%)          (100.0% - 100.0%)            (37.2% - 84.3%)         (100.0% - 100.0%)     (62.9% - 77.2%)   (50.1% - 98.1%)   (62.8% - 76.0%)
 ‘Recreational’ States
   Past 12-months                                    20.7% (3)                   49.3% (7)               27.5% (20)                  66.4% (4)        31.6% (156)         10.2% (5)       30.1% (194)
                                                (0.5% - 40.8%)              (3.2% - 95.5%)          (14.7% - 40.3%)           (11.3% - 100.0%)    (25.7% - 37.5%)    (0.7% - 19.7%)   (25.0% - 35.2%)
     Past month                                     79.3% (12)                   50.7% (7)               72.5% (52)                  33.6% (2)        68.4% (336)        89.8% (41)       69.9% (452)
                                               (59.2% - 99.5%)              (4.5% - 96.8%)          (59.7% - 85.3%)             (0.0% - 88.7%)    (62.5% - 74.3%)   (80.3% - 99.3%)   (64.8% - 75.0%)
Source: (Hammond et al. 2023), Table 53.
* Weighted frequency rounded down to 0.
1.
   The categories ‘Past 12-months’ and ‘Past month’ are mutually exclusive
2.
   In some cases, the sum of the weighted frequencies for state categories does not equal the total frequency as a result of rounding.


Table 60. Time Since Last Cannabis Use Among Exclusive Past-Year Medical Cannabis Consumers, Recency of Use by Ethnicity, ICPS, 2021
                                     Hispanic        Non-Hispanic              Overall
 Time Since Last Use1,2               (n=274)            (n=1,158)           (n=1,432)
 All States
     Past 12-months                31.7% (87)          32.9% (380)         32.6% (467)
                              (23.0% - 40.4%)     (28.7% - 37.0%)      (28.9% - 36.4%)
     Past month                   68.3% (187)          67.1% (778)         67.4% (965)
                              (59.6% - 77.0%)     (63.0% - 71.3%)      (63.6% - 71.1%)
 ‘Illegal’ States
     Past 12-months                29.6% (13)          42.3% (128)         40.7% (141)
                              (10.1% - 49.2%)     (33.0% - 51.6%)      (32.1% - 49.2%)
     Past month                    70.4% (31)          57.7% (175)         59.3% (206)
                              (50.8% - 89.9%)     (48.4% - 67.0%)      (50.8% - 67.9%)
 ‘Medical’ States
     Past 12-months                18.2% (12)          32.2% (122)         30.2% (134)
                               (5.3% - 31.2%)     (25.0% - 39.5%)      (23.6% - 36.8%)
     Past month                    81.8% (52)          67.8% (257)         69.8% (309)
                              (68.8% - 94.7%)     (60.5% - 75.0%)      (63.2% - 76.4%)

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                                                      Hispanic                Non-Hispanic           Overall
     Time Since Last Use1,2                            (n=274)                   (n=1,158)         (n=1,432)
     ‘Recreational’ States
       Past 12-months                             37.4% (62)                    27.4% (130)       30.0% (192)
                                             (25.1% - 49.8%)                (22.0% - 32.7%)   (24.9% - 35.1%)
         Past month                              62.6% (104)                    72.6% (346)       70.0% (450)
                                             (50.2% - 74.9%)                (67.3% - 78.0%)   (64.9% - 75.1%)
    Source: (Hammond et al. 2023), Table 55.
    1.
       The categories ‘Past 12-months’ and ‘Past month’ are mutually exclusive.
    2.
       15 responses were excluded.


    Table 61. Time Since Last Cannabis Use Among Exclusive Past-Year Medical Cannabis Consumers, Recency of Use by Cannabis Source, ICPS, 2021
                                     Made/            Family/                            Internet/          Store/
     Source1,2               Grown by Self             Friend            Dealer       Mail Order       Dispensary            Other        Unknown
     All States
         Past 12-                19.9% (95)       48.4% (230)       34.7% (165)        20.8% (99)     34.8% (166)         0.1% (0*)        1.2% (6)
         months             (14.3% - 25.6%)   (41.5% - 55.4%)   (27.8% - 41.6%)   (14.6% - 26.9%) (28.3% - 41.4%)     (0.0% - 0.3%)   (0.0% - 2.5%)
         (n=476)
         Past month             17.9% (174)       42.8% (416)       30.1% (293)       16.8% (164)     57.0% (553)          0.6% (6)       1.1% (10)
         (n=971)            (13.9% - 21.8%)   (38.2% - 47.5%)   (25.8% - 34.4%)   (12.6% - 21.1%) (52.2% - 61.7%)     (0.0% - 1.3%)   (0.3% - 1.8%)
         Overall                18.6% (268)       44.7% (646)       31.6% (458)       18.1% (262)     49.7% (719)          0.5% (7)       1.1% (16)
         (n=1,447)          (15.3% - 21.8%)   (40.8% - 48.6%)   (28.0% - 35.3%)   (14.7% - 21.6%) (45.8% - 53.6%)     (0.0% - 0.9%)   (0.5% - 1.8%)
     'Illegal’ States
         Past 12-                24.1% (35)        45.3% (65)        46.4% (67)        21.9% (32)       33.3% (48)         0.0% (0)        0.0% (0)
         months             (10.9% - 37.3%)   (31.1% - 59.6%)   (31.8% - 61.1%)    (8.6% - 35.3%) (19.3% - 47.2%)     (0.0% - 0.0%)   (0.0% - 0.0%)
         Past month              15.6% (32)       56.2% (116)        41.1% (85)        14.4% (30)       37.3% (77)         0.0% (0)       0.2% (0*)
                             (7.3% - 23.8%)   (46.0% - 66.5%)   (30.9% - 51.4%)    (7.4% - 21.4%) (27.4% - 47.1%)     (0.0% - 0.0%)   (0.0% - 0.7%)
         Overall                 19.1% (67)       51.8% (182)       43.3% (152)        17.5% (61)     35.6% (125)          0.0% (0)       0.1% (0*)
                            (11.8% - 26.4%)   (43.3% - 60.2%)   (34.8% - 51.8%)   (10.6% - 24.4%) (27.6% - 43.7%)     (0.0% - 0.0%)   (0.0% - 0.4%)
     ‘Medical’ States
         Past 12-                20.9% (29)        51.6% (71)        29.4% (40)        19.6% (27)       24.0% (33)         0.0% (0)        2.9% (4)
         months              (9.4% - 32.5%)   (38.1% - 65.2%)   (16.8% - 42.0%)    (8.3% - 30.9%) (13.2% - 34.8%)     (0.0% - 0.0%)   (0.0% - 7.1%)
         Past month              19.2% (60)       38.7% (121)        29.7% (93)         7.1% (22)     58.0% (181)          0.4% (1)        1.9% (6)
                            (12.2% - 26.3%)   (31.0% - 46.4%)   (22.5% - 36.8%)    (3.4% - 10.8%) (50.0% - 66.1%)     (0.0% - 1.3%)   (0.0% - 3.8%)
         Overall                 19.7% (89)       42.6% (192)       29.6% (133)        10.9% (49)     47.6% (214)          0.3% (1)       2.2% (10)
                            (13.8% - 25.7%)   (35.9% - 49.4%)   (23.3% - 35.8%)    (6.5% - 15.3%) (40.7% - 54.5%)     (0.0% - 0.9%)   (0.4% - 4.0%)




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                                                       Made/                        Family/                              Internet/              Store/
                Source1,2                        Grown by Self                       Friend                Dealer       Mail Order         Dispensary           Other       Unknown
                ‘Recreational’ States
                  Past 12-                          16.1% (31)                 48.4% (94)               29.9% (58)        20.7% (40)        43.7% (85)       0.2% (0*)        0.9% (2)
                  months                       (10.7% - 21.6%)            (38.7% - 58.2%)          (21.3% - 38.5%)   (12.5% - 29.0%)   (34.0% - 53.3%)   (0.0% - 0.7%)   (0.0% - 2.0%)
                  Past month                        18.0% (81)                39.6% (179)              25.4% (115)       24.7% (112)       65.3% (295)        1.1% (5)        0.9% (4)
                                               (12.0% - 23.9%)            (32.7% - 46.5%)          (19.3% - 31.5%)   (17.2% - 32.3%)   (58.4% - 72.1%)   (0.0% - 2.3%)   (0.0% - 1.8%)
                   Overall                         17.4% (113)                42.2% (273)              26.8% (173)       23.5% (152)       58.8% (380)        0.8% (5)        0.9% (6)
                                               (13.0% - 21.9%)            (36.6% - 47.9%)          (21.8% - 31.8%)   (17.6% - 29.4%)   (53.1% - 64.5%)   (0.0% - 1.7%)   (0.2% - 1.6%)
               Source: (Hammond et al. 2023), Table 59.
               * Weighted frequency rounded down to 0.
               1.
                  Response options are not mutually exclusive, row totals may sum to greater than 100%.
               2.
                  The categories ‘Past 12-months’ and ‘Past month’ are mutually exclusive.


               Table 62. Cannabis Purchasing by Type of Store Among Exclusive Past-Year Medical Cannabis Consumers Who Bought Cannabis From a Store, 2021
                                                 Legal Medical      Legal Recreational             An Illegal/ Other Type of Store/
                Store1,2,3,4                         Dispensary                  Store   Unauthorized Store             Dispensary
                All States
                    Past 12-months                  69.9% (115)             41.2% (67)             10.1% (16)              1.3% (2)
                    (n=164)                     (59.8% - 80.1%)        (29.7% - 52.6%)        (3.6% - 16.6%)          (0.0% - 2.8%)
                    Past month                      80.6% (446)            44.5% (246)              5.2% (29)              1.4% (8)
                    (n=553)                     (75.9% - 85.3%)        (38.2% - 50.7%)          (2.5% - 7.9%)         (0.0% - 3.0%)
                    Overall                         78.2% (561)            43.7% (313)              6.3% (45)             1.4% (10)
                    (n=717)                     (73.9% - 82.5%)        (38.2% - 49.2%)          (3.7% - 8.8%)         (0.1% - 2.6%)
                'Illegal’ States
                    Past 12-months                   60.6% (29)             46.1% (22)               9.1% (4)              1.8% (1)
                                                (34.1% - 87.1%)        (17.6% - 74.6%)        (0.0% - 22.9%)          (0.0% - 5.6%)
                    Past month                       67.2% (52)             74.0% (57)               7.6% (6)              1.2% (1)
                                                (51.4% - 82.9%)        (60.2% - 87.9%)        (0.0% - 16.7%)          (0.0% - 3.6%)
                    Overall                          64.7% (81)             63.3% (79)              8.2% (10)              1.4% (2)
                                                (51.2% - 78.2%)        (50.0% - 76.6%)        (0.8% - 15.6%)          (0.0% - 3.4%)
                ‘Medical’ States
                    Past 12-months                   79.7% (25)              19.2% (6)              13.2% (4)              3.0% (1)
                                                (60.8% - 98.6%)         (0.0% - 38.9%)        (0.0% - 30.1%)          (0.0% - 9.3%)
                    Past month                      91.6% (166)             21.3% (39)               2.6% (5)              0.0% (0)
                                                (86.9% - 96.4%)        (13.5% - 29.2%)          (0.0% - 6.4%)         (0.0% - 0.0%)
                    Overall                         89.9% (191)             21.0% (45)               4.2% (9)              0.4% (1)
                                                (85.0% - 94.7%)        (13.8% - 28.3%)          (0.2% - 8.2%)         (0.0% - 1.3%)


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                                                                              Legal Medical             Legal Recreational                   An Illegal/   Other Type of Store/
                               Store1,2,3,4                                     Dispensary                          Store             Unauthorized Store           Dispensary
                               ‘Recreational’ States
                                 Past 12-months                                  71.6% (60)                      46.7% (39)                     9.5% (8)              0.3% (0*)
                                                                            (59.5% - 83.6%)                 (32.3% - 61.1%)               (1.0% - 18.0%)          (0.0% - 0.9%)
                                  Past month                                    77.3% (228)                     51.0% (150)                    6.1% (18)               2.3% (7)
                                                                            (70.3% - 84.3%)                 (42.0% - 59.9%)                (2.2% - 9.9%)          (0.0% - 5.2%)
                                  Overall                                       76.0% (288)                     50.0% (189)                    6.8% (26)               1.9% (7)
                                                                            (70.0% - 82.1%)                 (42.3% - 57.7%)               (3.3% - 10.4%)          (0.0% - 4.1%)
                              Source: (Hammond et al. 2023), Table 61.
                              * Weighted frequency rounded down to 0.
                              1.
                                 The denominator is medical only users who have bought cannabis from a store in the past 12 months.
                              2.
                                 The categories ‘Past 12-months’ and ‘Past month’ are mutually exclusive.
                              3.
                                 2 responses were excluded.
                              4.
                                 Response options are not mutually exclusive, row totals may sum to greater than 100%.




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2. Behavioral Risk Factor Surveillance System (BRFSS)
Table 63. Marijuana Use for Any Reason, Medical Reason, and Both Medical and Nonmedical Reason in the Past 30 Days in the Participating
States/Territories, BRFSS, Marijuana Module, 2021
                             Any Reason                       Nonmedical Reason                          Medical Reason                 Both Medical and Nonmedical Reason
                                       Weighted                    Weighted Weighted %                    Weighted Weighted %                       Weighted   Weighted %
 State/Territory*   Frequency     Frequency (%)     Frequency     Frequency       (95% CI)     Frequency Frequency        (95% CI)     Frequency Frequency         (95% CI)
 Overall                17,666    8,017,412 (100)       5,700      2,905,432            36.2       5,357  1,997,581             24.9        6,609   3,114,399            38.8
                                                                                (23.6, 26.2)                            (23.6, 26.2)                             (37.2, 40.5)
 Alaska                   863        93,885 (100)         368         44,102            47.0         176     16,022             17.1          319      33,761            36.0
                                                                                (42.2, 51.7)                            (14.0, 20.1)                             (31.5, 40.4)
 Connecticut              788       282,425 (100)         310        106,466            37.7         175     57,045             20.2          303     118,913            42.1
                                                                                (33.1, 42.3)                            (16.6, 23.8)                             (37.1, 47.1)
 Delaware                 257        68,544 (100)          91         27,793            40.5          88     21,125             30.8           78      19,627            28.6
                                                                                (32.6, 48.5)                            (23.6, 38.0)                             (21.7, 35.6)
 Hawaii                   748       106,338 (100)         215         32,495            30.6         275     35,019             32.9          258      38,824            36.5
                                                                                (25.6, 35.5)                            (28.1, 37.7)                             (31.4, 41.6)
 Idaho                    401       106,816 (100)         128         36,134            33.8         106     25,467             23.8          167      45,215            42.3
                                                                                (27.9, 39.8)                            (18.7, 29.0)                             (36.3, 48.4)
 Illinois                 290     1,026,164 (100)         126        425,699            41.5          66    198,027             19.3           98     402,438            39,2
                                                                                (34.6, 48.3)                            (14.1, 24.5)                             (32.1, 46.4)
 Indiana                  566       369,827 (100)         187        128,361            34.7         131     74,793             20.2          248     166,674            45.1
                                                                                (30.0, 39.4)                            (16.5, 24.0)                             (40.2, 50.0)
 Kentucky                 331       277,702 (100)         104         93,783            33.8          90     64,935             23.4          137     118,983            42.8
                                                                                (27.8, 39.8)                            (18.0, 28.8)                              (36.2, 49.5
 Maine                   2,577      413,256 (100)         669        110,925            26.8       1,005    148,545             35.9          903     153,786            37.2
                                                                                (23.6, 30.1)                            (32.5, 39.4)                             (33.5, 40.9)
 Maryland                2,034      883,969 (100)         510        240,704            27.2         758    287,527             32.5          766     355,739            40.2
                                                                                (22.9, 31.5)                            (28.0, 37.0)                             (35.5, 45.0)
 Minnesota               1,120      345,770 (100)         458        144,091            41.7         272     80,123             23.2          390     121,555            35.2
                                                                                (38.2, 45.2)                            (20.2, 26.2)                             (31.8, 38.5)
 Montana                  645       112,874 (100)         179         31,185            27.6         232     34,082             30.2          234      47,607            42.2
                                                                                (23.5, 31.7)                            (25.9, 34.5)                             (37.3, 47.0)
 Nebraska                 286        94,743 (100)         114         40,236            42.5          61     17,716             18.7          111      36,791            38.8
                                                                                (35.0, 50.0)                            (13.6, 23.8)                             (31.5, 46.2)




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                               Any Reason                                Nonmedical Reason                          Medical Reason                 Both Medical and Nonmedical Reason
                                         Weighted                             Weighted Weighted %                    Weighted Weighted %                       Weighted   Weighted %
 State/Territory*      Frequency    Frequency (%)              Frequency     Frequency       (95% CI)     Frequency Frequency        (95% CI)     Frequency Frequency         (95% CI)
 Nevada                      358      359,031 (100)                  138        144,810            40.3          87     87,766             24.4         133      126,455            35.2
                                                                                           (33.3, 47.4)                            (17.7, 31.2)                             (28.4, 42.0)
 New Hampshire                 486         120,462 (100)             183         47,227            39.2         126     23,774             19.7         177       49,460            41.1
                                                                                           (33.5, 44.9)                            (15.6, 23.9)                             (35.3, 46.8)
 New York                    1,208       1,611,364 (100)             477        788,848            49.0         255    210,651             13.1         476      611,864            38.0
                                                                                           (44.3, 53.6)                            (10.5, 15.7)                             (33.4, 42.6)
 North Dakota                  303           44,161 (100)            105         16,206            36.7          97     12,870             29.1         101       15,085            34.2
                                                                                           (29.9, 43.5)                            (22.9, 35.4)                             (27.4, 40.9)
 Ohio                        1,592         866,871 (100)             431        251,600            29.0         512    243,665             28.1         649      371,606            42.9
                                                                                           (24.9, 33.2)                            (24.0, 32.2)                             (38.3, 47.4)
 Oklahoma                      273         401,216 (100)              26         50,448            12.6         175    244,845             61.0          72      105,924            26.4
                                                                                            (6.9, 18.2)                            (53.6, 68.4)                             (19.9, 32.9)
 Rhode Island                  620         118,445 (100)             194         36,350            30.7         159     26,989             22.8         267       55,106            46.5
                                                                                           (25.7, 35.7)                            (18.3, 27.3)                             (41.1, 51.9)
 Utah                          659         184,017 (100)             168         51,998            28.7         244     61,415             33.8         241       68,068            37.5
                                                                                           (24.2, 33.1)                            (29.4, 38.3)                             (32.9, 42.1)
 Vermont                     1,006           97,963 (100)            422         43,946            44.9         197     15,572             15.9         387       38,445            39.2
                                                                                           (40.3, 49.4)                            (12.9, 18.9)                             (34.8, 43.7)
 Wyoming                       146           22,624 (100)             49          8,427            37.2          41       5,192            23.0          53        9,005            39.8
                                                                                           (26.4, 48.1)                            (14.1, 31.8)                             (29.1, 50.6)
 Guam                          118           11,481 (100)             48          3,597            31.3          29       4,416            38.5          41        3,467            30.2
                                                                                           (18.3, 44.4)                            (22.1, 54.8)                             (17.9, 42.5)
* Excludes individuals who responded, "Don't know/not sure” and those who refused to answer.




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Table 64. Past 30-Day Marijuana Use by Method of Use and Stratified by Reason of Use, BRFSS, Marijuana Module, 2021
                                  Any Reason                           Recreational Reason                              Medical Reason                   Both Medical and Nonmedical
                                              Weighted                     Weighted      Weighted %                      Weighted      Weighted %                Weighted Weighted %
 Method of Use*          Frequency       Frequency (%)        Frequency Frequency          (95% CI)           Frequency Frequency        (95% CI)    Frequency Frequency        (95% CI)
 Any                         17,605            7,971,458            5,679      2,884,067                100       5,334   1,989,539            100       6,592   3,097,852            100
 Smoke                       11,684            5,453,712            3,881      1,963,413               68.1       2,961   1,200,016           60.3       4,842   2,290,283           73.9
                                                                                               (65.4, 70.8)                           (57.5, 63.1)                           (71.6, 76.3)
 Eat                          3,408            1,370,291            1,171        555,280               19.3       1,354    424,142            21.3        883      390,868           12.6
                                                                                               (16.9, 21.6)                           (19.1, 23.5)                           (10.7, 14.5)
 Drink                          170               58,107                39        13,981                0.5         84      30,421             1.5          47      13,705            0.4
                                                                                                 (0.2, 0.8)                             (0.8, 2.3)                             (0.2, 0.7)
 Vaporize                     1,561              760,394              469        287,442               10.0        542     202,612            10.2        550      270,340            8.7
                                                                                                (8.3, 11.7)                            (8.5, 11.8)                            (7.2, 10.2)
 Dab                            404              183,290                74        34,688                1.2        113      44,979             2.3        217      103,623            3.3
                                                                                                 (0.8, 1.6)                             (1.5, 3.1)                             (2.5, 4.2)
 Other                          378              145,664                45        29,263                1.0        280      87,368             4.4          53      29,033            0.9
                                                                                                 (0.3, 1.7)                             (3.2, 5.6)                             (0.5, 1.4)
* Excludes individuals who responded, "Don't know/not sure” and those who refused to answer.




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3. Monitoring the Future (MTF)
Table 65. Sample Size and Response Rate, MTF, 2017–2022
                             Number of Students                          Response Rate (%)
                     8th         10th        12th                     8th        10th       12th
 Year             Grade        Grade       Grade         Total      Grade      Grade       Grade
 2017             16,010       14,171      13,522       43,703         87          85         79
 2018             14,836       15,144      14,502       44,482         89          86         81
 2019             14,223       14,595      13,713       42,531         89          86         80
 2020              3,161        4,890       3,770       11,821         88          89         79
 2021             11,446       11,792       9,022       32,260         82          78         69
 2022              9,889       11,950       9,599       31,438         86          84         75


4. State Data From State Medical Marijuana Programs

 4.1. Maryland Medical Cannabis Patient Survey 2022 (MMCPS-22)
Cannabis Public Policy Consulting, Quality Control Processes (Excerpt From the CPPC
Project Proposal)
Quality control is built into our projects in a variety of ways, beginning with the assignment of
record keeping to one researcher (“record keeper”), who is the single owner of documentation
for the project. Key personnel on the project will [be] able to access files necessary to complete
work through permission settings, but all changes to files and documents must be approved [by]
the record keeper to ensure quality control. This prohibits the duplication of files, the corruption
of files, or compromising of critical data when multiple personnel are working in one document
from separate computers. The record keeper follows Cannabis Public Policy Consulting
(CPPC)’s standard operating procedures for documentation, such as keeping consistent naming
conventions for files and encrypting documentation with passwords when necessary.
Additionally, the record keeper is responsible for routine quality control checks throughout the
survey administration period. These checks will ensure representativeness of the sample,
identify system errors or failures, confirm patient privacy, and protect data integrity.
These checks will include, but not be limited to, the following actions:
(1)   Review geographic and demographic participation data during the survey collection period
      to ensure sampling is representative in an ongoing fashion (i.e., ensure there are no
      hotspots that compromise representation early on).
(2)   Ensure that the questionnaire is at a reading level approved by the client and 508 compliant
      if deemed necessary.
(3)   Perform multiple quality assurance checks on data analysis and all data cleaning performed
      and verified by key personnel individually.
(4)   Guarantee that the questionnaire language is equitable when capturing demographic data
      (i.e., providing adequate options for pronouns, gender identities, and race/ethnicity).




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(5)   Perform test runs on survey links, databases, and other systems used for data collection,
      storage, and analysis.
(6)   For all analysis, run statistical methods three individual times to make sure outcome and
      finding is consistent prior to final documentation.
(7)   Back up all files and data documentation every 24 hours.
(8)   Perform other checks requested in collaboration by the State of Maryland and CPPC.
Should an error be discovered through any of the quality control checks or quality control
procedures built into the project, the record keeper will document the error and provide this
notification in writing to the Contract Monitor. CPPC commits itself to remedying all issues
within 5 days of notification at no cost to the Commission. All correction actions will be
thoroughly documented and provided to the Commission upon remediation. Further, CPPC
commits itself to seeking the appropriate approval process prior to taking corrective actions as to
ensure the Commission has agreed to and approved the next steps and remediation procedures as
outlined in the Problem Escalation Procedure in Section 3.8 [of the CPPC project proposal].

 4.2. Maryland Medical Cannabis Commission (MMCC) Tables

Table 66. Descriptive Characteristics of Maryland Medical Cannabis Commission (MMCC) Survey Participants
 Characteristic                                                           N         %
 Age in Years
   18-20                                                                206        1.6
   21-25                                                                676        5.2
   26-35                                                               2674       20.6
   36-45                                                               3140       24.1
   46-55                                                               2245       17.3
   56-65                                                               2207         17
   66-75                                                               1665       12.8
   76-85                                                                181        1.4
   86+                                                                   16        0.1
 Gender Identity
   Male                                                                5684       43.7
   Female                                                              6994       53.8
   Transgender female                                                    25        0.2
   Transgender male                                                      35        0.3
   Non-binary                                                           161        1.2
   Not included in above                                                 12        0.1
   Prefer not to answer                                                 100        0.8
 Race
   White or Caucasian                                                 10181       78.2
   Black or African American                                           1778       13.7
   Asian                                                                153        1.2
   Native Hawaiian or Other Pacific Islander                             19        0.1
   American Indian or Alaskan Native                                     69        0.5
   Not included above                                                   376        2.9
   More than one race                                                   330        2.5




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        Characteristic                                                                       N         %
        Ethnicity
          Hispanic or Latino                                                                813        6.2
          Not Hispanic or Latino                                                          12185       93.7
          Missing                                                                            13
        Highest Level of Education
          Less than high school                                                             165        1.3
          High school or equivalent                                                        2159       16.6
          Trade school certificate/diploma                                                  743        5.7
          Some college, or associates degree                                               4177       32.1
          Bachelor's degree                                                                3241       24.9
          Master's degree, doctoral degree (e.g, PhD, MD, etc.)                            2524       19.4
          Missing                                                                             2
        Medicaid Enrollment Status
          Not currently enrolled                                                          10311       79.2
          Currently enrolled                                                               2187       16.8
        Employment Status
          Working full-time                                                                7285         56
          Working part-time                                                                1078        8.3
          Student                                                                           234        1.8
          Stay-at-home parent or homemaker                                                  594        4.6
          Not working                                                                       689        5.3
          Not working, seeking employment                                                   370        2.8
          Retired                                                                          2350       18.1
          Missing                                                                           411
        Annual Household Income
          No income                                                                         222        1.7
          Less than $14,000                                                                 567        4.4
          $14,000 to $29,999                                                               1086        8.3
          $30,000 - $49,999                                                                1786       13.7
          $50,000 - $74,999                                                                2000       15.4
          $75,000 - $99,000                                                                1612       12.4
          $100,000 to $150,000                                                             2176       16.7
          $150,000 - $200,000                                                              1099        8.4
          More than $200,000                                                                987        7.6
          Prefer not to answer                                                             1227        9.4
        Sensory or Physical Disability
          Serious difficulty hearing                                                        761        5.8
          Serious difficulty seeing, even when wearing glasses                              645          5
          Serious difficulty concentrating or making decisions due to a physical,          2312       17.8
          mental, or emotional condition
          Serious difficulty walking or climbing stairs                                    1730       13.3
          Serious difficulty bathing or dressing                                            384          3
          Serious difficulty doing errands alone                                           1257        9.7
        Years of Certification in the Maryland Medical Cannabis Program
          1                                                                                3721       28.6
          2                                                                                3397       26.1
          3                                                                                3233       24.8
          4                                                                                1630       12.5
          5                                                                                 893        6.9
       Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.




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   Table 67. Frequencies of Substance Use in the Past Month Maryland Medical Cannabis Commission
   (MMCC) Survey Participants
    Frequency of Substance Use                      N          %
    Cannabis
       0 days                                     521           4
       1-4 days                                  1134         8.7
       5-10 days                                 1216         9.3
       11-19 days                                1652        12.7
       20-29 days                                2602          20
       All 30 days                               5868        45.1
    Tobacco
       0 days                                   10095        77.6
       1-4 days                                   430         3.3
       5-10 days                                  231         1.8
       11-19 days                                 233         1.8
       20-29 days                                 252         1.9
       All 30 days                               1693          13
    Alcohol
       0 days                                    5207          40
       1-4 days                                  3784        29.1
       5-10 days                                 1975        15.2
       11-19 days                                1168           9
       20-29 days                                 569         4.4
       All 30 days                                259           2
    Psychedelics
       0 days                                   12453        95.7
       1-4 days                                   409         3.1
       5-10 days                                   30         0.2
       11-19 days                                  10         0.1
       20-29 days                                   3           0
       All 30 days                                 27         0.2
    Benzodiazepines
       0 days                                   11774        90.5
       1-4 days                                   526           4
       5-10 days                                  176         1.4
       11-19 days                                  77         0.6
       20-29 days                                  66         0.5
       All 30 days                                313         2.4
    Stimulants
       0 days                                   12178        93.6
       1-4 days                                   168         1.3
       5-10 days                                   85         0.7
       11-19 days                                  74         0.6
       20-29 days                                 130           1
       All 30 days                                295         2.3
    Opioids
       0 days                                   12306        94.6
       1-4 days                                   175         1.3
       5-10 days                                   67         0.5
       11-19 days                                  48         0.4
       20-29 days                                  42         0.3
       All 30 days                                284         2.2
   Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.




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Table 68. Methods of Cannabis Administration (One Time or More) in the Past Month Maryland Medical
Cannabis Commission (MMCC) Survey Participants
 Method of Cannabis Administration                n          %
 Flower or smoked dried herb                   9375        72.1
 Cartridge/Vaporizer                           7978        61.3
 Concentrate                                   2294        17.6
 Edibles                                       8630        66.3
 Capsules or tablets                           1575        12.1
 Tinctures or oral sprays                      1597        12.3
 Topicals                                      2879        22.1
 Transdermal patch                              177         1.4
 Rectal/Vaginal suppositories                    64         0.5
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


Table 69. Perceived Effectiveness of Cannabis Treatment, Maryland Medical Cannabis Commission (MMCC)
Survey Participants
 Perceived Effectiveness                   n         %
 Not effective at all                     70        0.5
 Slightly effective                      447        3.4
 Moderately effective                   2782       21.4
 Very effective                         5981         46
 Extremely effective                    3648       28.2
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


Table 70. Perceived Health and Social Effects of Cannabis Among Maryland Medical Cannabis Commission (MMCC)
Survey Participants
                                  Worsened           Improved           Neither
 Perceived Effect                    n       %           n      %         n       %
 Physical health                  127         1      9359     71.9     3444     26.5
 Mood or mental health             64       0.5     11527     88.6     1338     10.3
 Memory or concentration          998       7.7      4817       37     7109     54.6
 Social relationships             107       0.8      7064     54.3     5758     44.3
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.




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Table 71. Frequency of Conditions While Consuming Cannabis Among Maryland Medical Cannabis Users
                                          Never             Once       About Monthly    About Weekly          About Daily
 Condition                                 n      (%)       n    (%)       n      (%)       n    (%)            n     (%)
 Anxiety                                8965      68.9   1995    15.3   1122       8.6    473     3.6         352       2.7
 Panic                                 10784      82.9   1270      9.8   527       4.1    184     1.4         143       1.1
 Psychotic or paranoid feelings        11238      86.4   1044        8   433       3.3    119     0.9          74       0.6
 Suicidal thoughts or ideation         12538      96.4    168      1.3   116       0.9     45     0.3          40       0.3
 Breathing problems                    11593      89.1    691     397    397       3.1    146     1.1          73       0.6
 Nausea/vomiting                       11726      90.1    740      5.7   255         2    102     0.8          71       0.5
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


Table 72. Symptoms Experienced by Maryland Medical Cannabis Users in the Past Six Months, Maryland Medical Cannabis Commission (MMCC)
Survey Participants
                                                                                                               About Half   Most of the
                                                                                       Never       Sometimes    the Time       Time          Always
 Survey Question on Symptoms                                                           n       %     n      %    n       %     n       %     n       %
 Had a problem with memory or concentration after using cannabis?                   8473     65.1 3818    29.3 348      2.7  205      1.6   65      0.5
 Devoted a great deal of time to getting, using, or recovering from cannabis?      11362     87.3 1241     9.5 172      1.3   86      0.7   39      0.3
 Felt like you are not in control of your cannabis consumption or could not reduce 11880     91.3  712     5.5 110      0.8   85      0.7   91      0.7
 your consumption even when you wanted to?
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.




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Table 73. Frequency of Treatment in an Emergency Room or Urgent Care Facility for Any Reason Related to
Cannabis Consumption Among Maryland Medical Cannabis Users
 Frequency                                 n         %
 Never                                 12784       98.3
 Once                                     96        0.7
 Twice                                    27        0.2
 Three times                              10        0.1
 More than three times                     9        0.1
 Total                                 12926
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.


Table 74. Frequency of Driving Within Three Hours of Consuming Cannabis and/or Under the Influence of
Cannabis in the Past Month Among Maryland Medical Cannabis Patients
 Frequency                                   n           %
 0 times                                10382          79.8
 1 time                                   482           3.7
 2-3 times                                835           6.4
 4-5 times                                226           1.7
 6 or more times                          831           6.4
 Total                                  12756
Source: Maryland Medical Cannabis Commission in a report dated March 7, 2023.



 4.3. Minnesota Tables

Table 75. Qualifying Medical Conditions for Medical Cannabis Use in Minnesota
 Condition
 Alzheimer's disease
 Amyotrophic lateral sclerosis (ALS)
 Autism spectrum disorder (must meet Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition [DSM-5])
 Cancer (If illness or its treatment produces one or more of the following: severe or chronic pain; nausea or severe
 vomiting; or cachexia or severe wasting.)
 Chronic motor or vocal tic disorder
 Chronic pain
 Glaucoma
 HIV/AIDS
 Inflammatory bowel disease, including Crohn’s disease
 Intractable pain
 Irritable bowel syndrome (effective Aug. 1, 2023)
 Obsessive-compulsive disorder (effective Aug. 1, 2023)
 Obstructive sleep apnea
 Post-traumatic stress disorder (PTSD)
 Seizures, including those characteristic of epilepsy
 Severe and persistent muscle spasms, including those characteristic of multiple sclerosis (MS)
 Sickle cell disease
 Terminal illness, with a probable life expectancy of less than one year (If illness or its treatment produces one or
 more of the following: severe or chronic pain; nausea or severe vomiting; or cachexia or severe wasting.)
 Tourette syndrome
Source: Estimates generated by FDA using data provided by Minnesota Department of Health April 3, 2023 and April 12, 2023.




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Table 76. Minnesota Survey Responses and Most Common Adverse Events (AEs) for 2015-2017
           Response           #                  #
 Year          Rate    Patients Experiencing AEs Degree of AEs                 Most Common AES
 2015-         91%       1,502           272 (18%) The majority (91%) of side  Dry mouth (3.9%),
 2016                                              effect responses were       drowsiness/somnolence/sedation
                                                   reported to be mild or      (3.9%), and fatigue (3.5%).
                                                   moderate in severity
 2016-         96%       5,412           759 (14%) 90% (N = 1,421) of the      Dry mouth (4.1%), fatigue (3%),
 2017                                              1,584 side effect responses drowsiness/somnolence/sedation
                                                   were mild (n = 758; 48%)    (3%), and mental
                                                   or moderate (n = 663; 42%) clouding/”foggy brain” (3%)
                                                   in severity
Source: Estimates generated by FDA using data provided by Minnesota Department of Health April 3, 2023 and April 12, 2023.


Table 77. Frequencies of Side Effects Reported Among Minnesota Medical Cannabis Patients by Year and
Severity, 2017-2022
           Number of           Number              Number        Number Reporting        Number
           Patient          Reporting Any     Reporting Severe     Moderate Side      Reporting Mild
           Completed       Side Effect (% of Side Effect (% of      Effect (% of     Side Effect (% of
 Year      Surveys         Patient Surveys)    Patient Surveys)   Patient Surveys)   Patient Surveys)
 2017       34140            2805      (8.22)     252     (0.74)     988      (2.89)    1565     (4.58)
 2018       86196            6627      (7.69)     681     (0.79)   2305       (2.67)    3641     (4.22)
 2019       125995           9001      (7.14)     808     (0.64)   2967       (2.35)    5226     (4.15)
 2020       152861           7654      (5.01)     575     (0.38)   2231       (1.46)    4848     (3.17)
 2021       192719          10681      (5.54)     595     (0.31)   3204       (1.66)    6882     (3.57)
 2022       357078          15656      (4.38)     793     (0.22)   4254       (1.19)   10609     (2.97)
Source: Estimates generated by FDA using data provided by Minnesota Department of Health April 3, 2023 and April 12, 2023.


Table 78. Top Ten Side Effects Reported on the MN Patient Self-Evaluation by Year (2017-2022)
                                                             Number of    % of Patient
 Side Effect                                            Patient Reports       Reports
 2017
   Dry mouth                                                       636            1.86
   Mental clouding/"foggy brain"                                   287            0.84
   Other                                                           273            0.80
   Drowsiness/somnolence/sedation                                  218            0.64
   Fatigue                                                         218            0.64
   Increased appetite                                              206            0.60
   Euphoria (intense feeling of well-being or pleasure)             85            0.25
   Dizziness                                                        82            0.24
   Nausea                                                           75            0.22
   Difficulty concentrating                                         71            0.21
 2018
   Dry mouth                                                      1421            1.65
   Mental clouding/"foggy brain"                                   600             0.7
   Drowsiness/somnolence/sedation                                  570            0.66
   Other                                                           548            0.64
   Fatigue                                                         526            0.61
   Increased appetite                                              467            0.54
   Dizziness                                                       312            0.36
   Headache                                                        252            0.29
   Lightheadedness                                                 212            0.25
   Anxiety                                                         175             0.2




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                                                                                 Number of           % of Patient
      Side Effect                                                           Patient Reports              Reports
      2019
        Dry mouth                                                                         2151                  1.71
        Mental clouding/"foggy brain"                                                      898                  0.71
        Drowsiness/somnolence/sedation                                                     777                  0.62
        Other                                                                              727                  0.58
        Fatigue                                                                            698                  0.55
        Increased appetite                                                                 669                  0.53
        Dizziness                                                                          384                   0.3
        Lightheadedness                                                                    314                  0.25
        Headache                                                                           272                  0.22
        Anxiety                                                                            225                  0.18
      2020
        Dry mouth                                                                         2134                   1.4
        Increased appetite                                                                 687                  0.45
        Mental clouding/"foggy brain"                                                      687                  0.45
        Fatigue                                                                            640                  0.42
        Drowsiness/somnolence/sedation                                                     616                   0.4
        Other                                                                              551                  0.36
        Dizziness                                                                          302                   0.2
        Lightheadedness                                                                    196                  0.13
        Headache                                                                           188                  0.12
        Euphoria (intense feeling of well-being or pleasure)                               176                  0.12
      2021
        Dry mouth                                                                         3213                  1.67
        Increased appetite                                                                 999                  0.52
        Mental clouding/"foggy brain"                                                      911                  0.47
        Drowsiness/somnolence/sedation                                                     863                  0.45
        Other                                                                              827                  0.43
        Fatigue                                                                            746                  0.39
        Dizziness                                                                          448                  0.23
        Headache                                                                           303                  0.16
        Euphoria (intense feeling of well-being or pleasure)                               279                  0.14
        Lightheadedness                                                                    250                  0.13
      2022
        Dry mouth                                                                         5823                  1.63
        Other                                                                             1347                  0.38
        Increased appetite                                                                1295                  0.36
        Mental clouding/"foggy brain"                                                     1234                  0.35
        Drowsiness/somnolence/sedation                                                     969                  0.27
        Fatigue                                                                            943                  0.26
        Dizziness                                                                          488                  0.14
        Headache                                                                           429                  0.12
        Anxiety                                                                            376                  0.11
        Lightheadedness                                                                    315                  0.09
     Source: Estimates generated by FDA using data provided by Minnesota Department of Health April 3, 2023 and April 12, 2023.




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        Table 79. Patient Numbers by State: 2016-2020 (Only States With Available Data)
         State                      2016          2017           2018         2019         2020
         Alaska                     1084          1053             621         404          NR
         Arizona                  114439        152979         186002       219817       295295
         Arkansas                     NR            NR           5459        15351        66638
         Colorado                  94577         93372          86641        81610        85814
         Connecticut               15136         22573          26641        36700        49562
         Delaware                   1414          3274           6060        11213        15495
         Florida                      NR         42724         167211       299914       456594
         Hawaii                    15334         19858          23746        27152        30868
         Illinois                   7707         21800          39808        76939       121775
         Louisiana                    NR            NR             NR         4350          NR
         Maryland                     NR         11489          51589        90120       121994
         Massachusetts             33543         45319          58920        60110        92240
         Michigan                 218556        269553         297515       268566       243372
         Minnesota                  2806          8075          14481        18249        28522
         Missouri                     NR            NR             NR        22706        69397
         Montana                    7785         22849          31186        36422        41638
         Nevada                    25358         23489          17211        15839        13303
         New Hampshire              2089          3493           6480         8302        10688
         New Jersey                12154         16937          44000        63062        81111
         New Mexico                29046         46645          67574        80257       104655
         New York                   4998         57960          98101       111358       133362
         North Dakota                 NR            NR               0         707         3233
         Ohio                         NR            NR           3575        78376       176387
         Oklahoma                     NR            NR          30786       238869       367053
         Oregon                    68032         50400          31251        24801        22603
         Pennsylvania                 NR         10532         100027       243433       297317
         Rhode Island              16418         18533          16963        16218        19803
         Utah                         NR            NR             NR           NR        16096
         Vermont                    3332          5313             NR           NR          NR
         Washington DC              4600          5386           5836         6160         9618
         Total                    661990        953606        1417684     2157005       2974433
        Source: University of Michigan tabulation of state annual reports, provided to the FDA on February 28, 2023.
        Abbreviations: NR, not reported




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                                5. Tables and Figures Excerpted from University of Florida’s
                                   Systematic Review of the Medical Literature on Cannabis Use

                                 5.1. Anorexia

                                Table 80. Summary of Included Studies for Anorexia
                                                                                                          Count of
                                 Study Type                                                           Included Studies            Notes
                                 Randomized controlled trials (RCTs)                                         1                    2 RCTs were excluded during
                                                                                                                                  abstraction due to reporting of non-
                                                                                                                                  clinically relevant outcomes
                                 Observational studies                                                         3                  ---
                                 Systematic reviews (SRs)                                                      11                 1 SR was added during quality control
                                                                                                                                  resulting from hand searches
                                   Eligible RCTs identified from SRs                                           2                  Duplicate included studies not reported
                                   Eligible observational studies identified from SRs                          0                  Duplicate included studies not reported
                                   Total non-eligible studies identified from SRs                              62                 Unique component studies
                                 Total studies included in risk of bias assessments                            6                  SRs not included in quantitative
                                                                                                                                  synthesis
                                Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
                                on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                                Table 81. References (Studies Included in Risk of Bias Assessments, Anorexia)
                                 Randomized Clinical Trials
                                 1        (Haney et al. 2005)
                                 2        (Strasser et al. 2006)
                                 3        (Haney et al. 2007)
                                 Observational Studies
                                 1        (Zhang et al. 2018)
                                 2        (Worrest et al. 2022)
                                 3        (Huang et al. 2023)




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 Figure 14. Risk of Bias Assessment, Randomized Clinical Trials, Anorexia




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
 on Marijuana Use. Project 2/1B Report dated July 19, 2023.


 Figure 15. Risk of Bias Assessment, Observational Studies, Anorexia




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
 on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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            5.2. Anxiety

           Table 82. Summary of Included Studies for Anxiety
                                                                                         Count of
            Study Type                                                               Included Studies             Notes
            Randomized controlled trials (RCTs)                                              3                    ---
            Observational studies                                                            0                    ---
            Systematic reviews (SRs)                                                        25                    ---
              Eligible RCTs identified from SRs                                              1                    Duplicate included studies not
                                                                                                                  reported
               Eligible observational studies identified from SRs                              1                  Duplicate included studies not
                                                                                                                  reported
              Total non-eligible studies identified from SRs                                 299                  Unique component studies
            Total studies included in risk of bias assessments                                5                   SRs not included in quantitative
                                                                                                                  synthesis
           Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
           on Marijuana Use. Project 2/1B Report dated July 19, 2023.


           Table 83. References (Studies Included in Risk of Bias Assessments, Anxiety)
            Randomized Clinical Trials
            1        (Chaves et al. 2020)
            2        (Kayser et al. 2020)
            3        (Aragona et al. 2009)
            4        (Kanjanarangsichai et al. 2022)
            Observational Studies
            1        (Ware et al. 2015)


           Figure 16. Risk of Bias Assessment, Randomized Clinical Trials, Anxiety




           Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
           on Marijuana Use. Project 2/1B Report dated July 19, 2023.


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 Figure 17. Risk of Bias Assessment, Observational Studies, Anxiety




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
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                                5.3. Inflammatory Bowel Disease

                               Table 84. Summary of Included Studies for Inflammatory Bowel Disease
                                                                                       Count of
                                Study Type                                         Included Studies Notes
                                Randomized controlled trials (RCTs)                        4        2 RCT were excluded during abstraction due to
                                                                                                    reporting of clinical not relevant outcomes, and
                                                                                                    use of synthetic cannabinoids.
                                Observational studies                                      6        5 OS excluded during abstraction due to unclear
                                                                                                    exposure definition, did not assess safety or
                                                                                                    effectiveness of cannabis products in patients with
                                                                                                    IBD or did not assess clinically relevant outcomes
                                Systematic reviews (SRs)                                  14        ---
                                  Eligible RCTs identified from SRs                        0        Duplicate studies not reported
                                  Eligible observational studies identified from           0        Duplicate studies not reported
                                  SRs
                                  Total non-eligible studies identified from SRs          67        Unique component studies
                                Total studies included in risk of bias assessments        10        SRs not included in quantitative synthesis
                               Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
                               on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                               Table 85. References (Studies Included in Risk of Bias Assessments, Inflammatory Bowel Disease)
                                Randomized Clinical Trials
                                1         (Naftali et al. 2013)
                                2         (Naftali et al. 2021a)
                                3         (Irving et al. 2018)
                                4         (Naftali et al. 2021b)
                                Observational Studies
                                1         (Desai et al. 2020)
                                2         (Desai et al. 2019)
                                3         (Mbachi et al. 2019b)
                                4         (Mbachi et al. 2019a)
                                5         (Choi et al. 2022)
                                6         (Coates et al. 2022)




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 Figure 18. Risk of Bias Assessment, Randomized Clinical Trials, Inflammatory Bowel Disease




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
 on Marijuana Use. Project 2/1B Report dated July 19, 2023.


 Figure 19. Risk of Bias Assessment, Observational Studies, Inflammatory Bowel Disease




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
 on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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                 5.4. Nausea

                Table 86. Summary of Included Studies for Nausea
                                                                                              Count of
                 Study Type                                                               Included Studies          Notes
                 Randomized controlled trials (RCTs)obtained from                                3                  ---
                 literature search
                 Observational studies obtained from literature search                              0               ---
                 Total studies included in risk of bias assessments                                 3               ---
                Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
                on Marijuana Use. Project 2/1B Report dated July 19, 2023.


                Table 87. References (Studies Included in Risk of Bias Assessments, Nausea)
                 Randomized Clinical Trials
                 1        (Grimison et al. 2020)
                 2        (Kleine-Brueggeney et al. 2015)
                 3        (Duran et al. 2010)


                Figure 20. Risk of Bias Assessment, Randomized Clinical Trials, Nausea




                Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
                on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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               5.5. Pain

              Table 88. Summary of Included Studies for Pain
                                                                                        Count of
               Study Type                                                           Included Studies          Notes
               Randomized controlled trials (RCTs)                                         32                 Total RCTs remaining following review of
                                                                                                              exposure criteria
               Observational studies                                                          6               Total Observational studies remaining
                                                                                                              following review of exposure criteria
               Systematic reviews (SRs)                                                       66              ---
                 Eligible RCTs identified from SRs                                            7               Duplicate included studies not reported
                 Eligible observational studies identified from SRs                           2               Duplicate included studies not reported
                 Total non-eligible studies identified from SRs                              313              Unique component studies
               Total studies included in risk of bias assessments                             47              SRs not included in quantitative synthesis
              Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
              on Marijuana Use. Project 2/1B Report dated July 19, 2023.


              Table 89. References (Studies Included in Risk of Bias Assessments, Pain)
               Randomized Clinical Trials
               1        (Corey-Bloom et al. 2012)
               2        (Weizman et al. 2018)
               3        (Abrams et al. 2007)
               4        (Wilsey et al. 2008)
               5        (Wallace et al. 2015)
               6        (Wilsey et al. 2013)
               7        (van de Donk et al. 2019)
               8        (Wallace et al. 2020)
               9        (Conte et al. 2009)
               10       (Notcutt et al. 2004)
               11       (Buggy et al. 2003)
               12       (Selvarajah et al. 2010)
               13       (Zajicek et al. 2012)
               14       (van Amerongen et al. 2018)
               15       (Zubcevic et al. 2023)
               16       (Gilman et al. 2022)
               17       (Lichtman et al. 2018)
               18       (Portenoy et al. 2012)
               19       (Langford et al. 2013)
               20       (Johnson et al. 2010)
               21       (Marinelli et al. 2022)
               22       (Meuth et al. 2020)
               23       (Lynch et al. 2014)
               24       (Nurmikko et al. 2007)
               25       (Wilsey et al. 2016b)
               26       (Wilsey et al. 2016a)
               27       (Zylla et al. 2021)
               28       (Blake et al. 2006)
               29       (Chaves et al. 2020)
               30       (de Vries et al. 2016)
               31       (de Vries et al. 2017)
               32       (Ellis et al. 2009)
               33       (Ware et al. 2010)
               34       (Zajicek et al. 2003)




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                                    35     (Naftali et al. 2013)’
                                    36     (Abrams et al. 2020)
                                    37     (Berman et al. 2004)
                                    38     (Jefferson et al. 2013)
                                    39     (Almog et al. 2020)
                                    Observational Studies
                                    1      (Fiz et al. 2011)
                                    2      (Hjorthoj et al. 2022)
                                    3      (Pawasarat et al. 2020)
                                    4      (Wilson et al. 2020)
                                    5      (Sharma et al. 2022)
                                    6      (Zhang et al. 2018)
                                    7      (Ware et al. 2015)
                                    8      (Habib and Artul 2018)
                                    Background
                                    1      (Soliman et al. 2021)
                                    2      (McDonagh et al. 2022)




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 Figure 21. Risk of Bias Assessment, Randomized Clinical Trials, Pain




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
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 Figure 22. Risk of Bias Assessment, Observational Studies, Pain




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
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                                5.6. Post-Traumatic Stress Disorder

                               Table 90. Summary of Included Studies for Post-Traumatic Stress Disorder
                                                                                         Count of
                                Study Type                                           Included Studies Notes
                                Randomized controlled trials (RCTs)                          1        2 RCTs were excluded during abstraction
                                                                                                      due to incomplete study report (1) and
                                                                                                      synthetic cannabinoid as exposure (1)
                                Observational studies                                        7        9 observational studies were excluded for
                                                                                                      incorrect exposure or had ineligible control
                                                                                                      group
                                Systematic reviews (SRs)                                     7        As reported in attrition deliverables
                                  Eligible RCTs identified from SRs                          0        Duplicate included studies not reported
                                  Eligible observational studies identified from SRs         0        Duplicate included studies not reported
                                  Total non-eligible studies identified from SRs            52        Unique component studies
                                Total studies included in risk of bias assessments           8        SRs are not included in quantitative synthesis
                               Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
                               on Marijuana Use. Project 2/1B Report dated July 19, 2023.
                               Note: Component studies from systematic reviews that were eligible but already represented within the included studies list are not counted.


                               Table 91. References (Studies Included in Risk of Bias Assessments, Post-Traumatic Stress Disorder)
                                Randomized Clinical Trials
                                1        (Bonn-Miller et al. 2021)
                                Observational Studies
                                1        (Wilkinson et al. 2015)
                                2        (Hale et al. 2021)
                                3        (Bonn-Miller et al. 2022)
                                4        (Ruglass et al. 2017)
                                5        (Petersen et al. 2021)
                                6        (Murkar et al. 2022)
                                7        (Johnson et al. 2016)
                                Additional Background
                                1        (Bailey et al. 2013)
                                2        (Berardi et al. 2012)
                                3        (Bitencourt and Takahashi 2018)
                                4        (Ney et al. 2019)
                                5        (Patel et al. 2017)
                                6        (Shishko et al. 2018)




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 Figure 23. Risk of Bias Assessment, Randomized Clinical Trials, Post-Traumatic Stress Disorder




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
 on Marijuana Use. Project 2/1B Report dated July 19, 2023.


 Figure 24. Risk of Bias Assessment, Observational Studies, Post-Traumatic Stress Disorder




 Source: Consortium for Medical Marijuana Clinical Outcomes Research in Partnership with the Sentinel Initiative. Medical Literature and Data
 on Marijuana Use. Project 2/1B Report dated July 19, 2023.




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                         IV. References

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           (Slip Opinion)

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           The approach that the Drug Enforcement Administration currently uses to determine
             whether a drug has a “currently accepted medical use in treatment in the United
             States” under the Controlled Substances Act is impermissibly narrow. An alternative,
             two-part inquiry proposed by the Department of Health and Human Services is suffi-
             cient to establish that a drug has a “currently accepted medical use” even if the drug
             would not satisfy DEA’s current approach.
           Under 21 U.S.C. § 811(b), a recommendation by HHS that a drug has or lacks a “current-
             ly acceptable medical use” does not bind DEA. In contrast, the scientific and medical
             determinations that underlie HHS’s “currently acceptable medical use” recommenda-
             tion are binding on DEA, but only until the initiation of formal rulemaking proceed-
             ings to schedule a drug. Once DEA initiates a formal rulemaking, HHS’s determina-
             tions no longer bind DEA, but DEA must continue to accord HHS’s scientific and
             medical determinations significant deference, and the CSA does not allow DEA to
             undertake a de novo assessment of HHS’s findings at any point in the process.
           Neither the Single Convention on Narcotic Drugs nor the CSA requires marijuana to be
             placed into Schedule I or II of the CSA. Both the Single Convention and the CSA al-
             low DEA to satisfy the United States’ international obligations by supplementing
             scheduling decisions with regulatory action, at least in circumstances where there is a
             modest gap between the Convention’s requirements and the specific restrictions that
             follow from a drug’s placement on a particular schedule. As a result, DEA may satisfy
             the United States’ Single Convention obligations by placing marijuana in Schedule III
             while imposing additional restrictions pursuant to the CSA’s regulatory authorities.

                                                                                      April 11, 2024

                     MEMORANDUM OPINION FOR THE ATTORNEY GENERAL

              The Controlled Substances Act (“CSA”) 1 imposes a unified framework
           for controlling drugs and other substances that are found to pose a risk of
           abuse. 2 In doing so, it seeks to balance several, often competing, interests.
           These interests include ensuring the availability of drugs that “have a

              1 In 1970, Congress enacted the Comprehensive Drug Abuse Prevention and Control

           Act of 1970, Pub. L. No. 91-513, 84 Stat. 1236, the provisions of which are codified at
           Chapter 13 of Title 21 of the U.S. Code. The Act comprised several titles, including
           Title II, which it called the Controlled Substances Act, and Title III, which it called the
           Controlled Substances Import and Export Act. For ease of reference, we refer to the entire
           1970 law as the CSA.
              2
                The CSA applies to both drugs and “other substance[s]” that have been controlled.
           See 21 U.S.C. § 802(6). For ease of reference, we use the term “drug” to refer to both.

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           useful and legitimate medical purpose and are necessary to maintain the
           health and general welfare of the American people”; preventing the “ille-
           gal importation, manufacture, distribution, and possession and improper
           use of controlled substances [that] have a substantial and detrimental
           effect on the health and general welfare of the American people”; and
           ensuring that the United States complies with “international conventions
           designed to establish effective control over international and domestic
           traffic in controlled substances.” 21 U.S.C. § 801(1), (2), (7).
              The CSA balances these purposes by placing each drug warranting con-
           trol into one of five “schedules,” with drugs in Schedule I subject to the
           strictest regulatory and criminal provisions, and drugs in Schedule V
           subject to the least strict. See generally 21 U.S.C. §§ 821–832, 841–865,
           951–971. The CSA further authorizes the Attorney General to add, trans-
           fer, and remove drugs from the schedules using formal rulemaking proce-
           dures, see id. §§ 811, 812, and otherwise grants the Attorney General
           broad authority to take regulatory action consistent with the Act, see, e.g.,
           id. §§ 821, 871(b). The Attorney General has in turn generally delegated
           these functions to the Administrator of the Drug Enforcement Administra-
           tion (“DEA”). 28 C.F.R. § 0.100(b).
              Marijuana has been a Schedule I drug since Congress enacted the CSA.
           See 21 U.S.C. § 812(c). To reschedule marijuana from Schedule I, DEA
           would need to determine, among other things, that the drug has a “current-
           ly accepted medical use in treatment in the United States” (“CAMU”). Id.
           § 812(b). Since 1992, however, DEA has determined that a drug has a
           CAMU only if either the Food and Drug Administration (“FDA”) has
           approved the drug for marketing in interstate commerce under the Food,
           Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 301 et seq., or the drug
           meets a five-part test that tracks the “core standards developed under the
           FDCA.” 57 Fed. Reg. 10,499, 10,503–04, 10,506 (Mar. 26, 1992). And
           because FDA has not approved marijuana and DEA has determined that
           marijuana does not meet its five-part test, DEA has repeatedly rejected
           petitions to move marijuana to a less restrictive schedule.
              On October 6, 2022, President Biden asked the Secretary of Health and
           Human Services (“Secretary”) and the Attorney General to initiate an
           “administrative process to review expeditiously how marijuana is sched-
           uled under federal law.” Statement from President Biden on Marijuana
           Reform (Oct. 6, 2022), https://www.whitehouse.gov/briefing-room/

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           statements-releases/2022/10/06/statement-from-president-biden-on-
           marijuana-reform. The CSA requires the Secretary to provide certain
           recommendations before the initiation of proceedings to schedule or
           reschedule a drug, and the statute provides that the Secretary’s recom-
           mendations “shall be binding” as to certain “scientific and medical mat-
           ters.” 21 U.S.C. § 811(b).
              Consistent with this requirement, in 2023, the Department of Health
           and Human Services (“HHS”) recommended that DEA reschedule mariju-
           ana to Schedule III. See Letter for Anne Milgram, Administrator, DEA,
           from Rachel L. Levine, M.D., Assistant Secretary for Health, HHS
           (Aug. 29, 2023). HHS concluded that, regardless of whether a drug was
           approved by FDA or satisfied DEA’s five-part test, the drug could have a
           CAMU if it satisfied a new, two-part inquiry. Part 1 of that inquiry asks
           whether licensed health care providers have “widespread current experi-
           ence with medical use” of the drug “in accordance with implemented
           state-authorized programs, where the medical use is recognized by entities
           that regulate the practice of medicine.” Memorandum for the Commis-
           sioner, FDA, from the Assistant Secretary for Health, HHS, Re: Part 1
           Analysis at 1 (July 17, 2023) (“HHS Part 1 Analysis Memo”). If so, Part 2
           of the inquiry asks whether there is “some credible scientific support for
           at least one of the medical uses.” Id. at 2.
              Against this backdrop, you have asked us three questions: 3
                 (1) If a drug satisfies the two-part inquiry employed by HHS, does
                 that establish a currently accepted medical use under the statute even
                 if the drug has not been approved by FDA and even if the drug does
                 not satisfy DEA’s five-part test?
                 (2) To what extent do the “scientific and medical matters” referenced
                 in 21 U.S.C. § 811(b), which are binding upon the Attorney General,

              3 This opinion memorializes advice we provided you on February 16, 2024. To aid our

           analysis, we solicited and received written views from HHS and DEA on all three ques-
           tions and from the State Department on the third question. See Memorandum for the
           Office of Legal Counsel from DEA (Jan. 30, 2024) (“DEA Response”); Memorandum for
           Gillian E. Metzger, Deputy Assistant Attorney General, Office of Legal Counsel, from
           Samuel R. Bagenstos, General Counsel, HHS, Re: OLC’s Request for Views on Issues
           Related to the Scheduling of Marijuana Under the Controlled Substances Act (Jan. 29,
           2024) (“HHS Response”); Single Convention Requirements for Cannabis and Scheduling
           Under the Controlled Substances Act (Feb. 12, 2024) (“State Response”).

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                include the Secretary’s evaluation of a drug’s currently accepted
                medical use or any scientific and medical considerations involved in
                that evaluation?
                (3) Does the CSA, including the requirement that the Attorney Gen-
                eral control drugs “under the schedule he deems most appropriate to
                carry out” the United States’ “obligations under international trea-
                ties, conventions, or protocols in effect on October 27, 1970,” id.
                § 811(d)(1), require DEA to place marijuana in either Schedule I or
                Schedule II to comply with the Single Convention on Narcotic
                Drugs, Mar. 30, 1961, 18 U.S.T. 1407 (“Single Convention”)?
              As explained in more detail below, we conclude, first, that DEA’s cur-
           rent approach to determining whether a drug has a CAMU is impermissi-
           bly narrow, and that satisfying HHS’s two-part inquiry is sufficient to
           establish that a drug has a CAMU even if the drug has not been approved
           by FDA and would not satisfy DEA’s five-part test.
              Second, we conclude that HHS’s overall CAMU recommendation is not
           binding on DEA. We also conclude that the scientific and medical deter-
           minations that underlie HHS’s CAMU recommendation are binding, but
           only until the initiation of formal rulemaking proceedings. Once DEA
           initiates formal rulemaking, HHS’s determinations no longer bind DEA,
           but DEA must continue to accord HHS’s scientific and medical determi-
           nations significant deference, and the CSA does not allow DEA to under-
           take a de novo assessment of HHS’s findings at any point in the process.
              Third, we conclude that neither the Single Convention nor the CSA re-
           quires DEA to place marijuana in Schedule I or Schedule II. Both the
           Single Convention and the CSA allow DEA to satisfy the United States’
           international obligations by supplementing scheduling decisions with
           regulatory action, at least in circumstances where there is a modest gap
           between the Convention’s requirements and the specific controls that
           follow from a drug’s placement on a particular schedule. As a result, we
           conclude that DEA may satisfy the United States’ Single Convention
           obligations by placing marijuana in Schedule III while imposing addition-
           al controls pursuant to the CSA’s regulatory authorities.




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                                                  I.

                                                 A.

              Sections 811 and 812 of the CSA set forth the procedures and standards
           the Attorney General (and thus DEA) must follow to add a drug to a
           schedule, transfer a drug between schedules, or remove a drug from the
           schedules of control. Section 811(a) authorizes the Attorney General to
           add or transfer a drug to, or remove a drug from, a schedule by issuing a
           rule “made on the record after opportunity for a hearing” pursuant to the
           formal rulemaking procedures of the Administrative Procedure Act
           (“APA”), 5 U.S.C. §§ 553(c), 556, 557. In promulgating such rules, the
           Attorney General is required to make particular findings, based on sub-
           stantial evidence, that correspond to the schedule in which the drug is to
           be placed. 21 U.S.C. §§ 811(a)(1)(A)–(B), 812(b); see also id. § 811(b);
           5 U.S.C. § 556(d).
              Section 812(b) lists the findings the Attorney General must make to
           place a drug in a particular schedule, with the findings varying by
           schedule. For example, the Attorney General may place a drug in
           Schedule I only if the Attorney General finds that the drug “has a high
           potential for abuse,” 21 U.S.C. § 812(b)(1)(A); “has no currently accepted
           medical use in treatment in the United States,” id. § 812(b)(1)(B); and
           “[t]here is a lack of accepted safety for use” of the drug “under medical
           supervision,” id. § 812(b)(1)(C). To place drugs in other schedules, the
           Attorney General must similarly make three findings, except that drugs on
           the other schedules must have a CAMU (or, in the case of Schedule II
           drugs, a CAMU with “severe restrictions”). Id. § 812(b)(2)(B), (b)(3)(B),
           (b)(4)(B), (b)(5)(B). Drugs are to be placed in less restrictive schedules as
           their potential for abuse and likelihood of leading to physiological or
           physical dependence declines. Id. § 812(b)(2)–(5). In the course of
           making these findings, section 811(c) requires the Attorney General to
           consider eight medical, scientific, and law-enforcement factors regarding
           the drug:
                (1) Its actual or relative potential for abuse.
                (2) Scientific evidence of its pharmacological effect, if known.



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                 (3) The state of current scientific knowledge regarding the drug or
                 other substance.
                 (4) Its history and current pattern of abuse.
                 (5) The scope, duration, and significance of abuse.
                 (6) What, if any, risk there is to the public health.
                 (7) Its psychic or physiological dependence liability.
                 (8) Whether the substance is an immediate precursor of a substance
                 already controlled under this subchapter.
           Id. § 811(c).
              Although section 811 provides that the Attorney General will issue the
           final rule to schedule a drug, see id. § 811(a), the CSA also assigns a
           significant role in scheduling decisions to the Secretary. Section 811(b)
           requires the Attorney General, before initiating a rulemaking proceeding
           to schedule or reschedule a drug, to request both a scientific and medical
           evaluation of the drug from the Secretary and the Secretary’s recommen-
           dation as to the schedule, if any, in which the drug should be placed. The
           Secretary’s recommendations “shall be binding on the Attorney General
           as to such scientific and medical matters” and the Attorney General is
           prohibited from controlling a drug if the Secretary recommends that it not
           be controlled. Id. § 811(b). After receiving the views of the Secretary, the
           Attorney General must initiate rulemaking proceedings if there is suffi-
           cient evidence to do so. See id.
              The legislative history of section 811(b) indicates that its purpose was
           to place scientific and medical judgments in the hands of the Secretary.
           The report of the House Committee on Interstate and Foreign Commerce
           explains that “[c]onsiderable controversy arose” during the drafting pro-
           cess over the scheduling provisions of the bill, in particular “with respect
           to the proper role of the Attorney General and the Secretary of Health,
           Education, and Welfare [(‘HEW’)] 4 in making determinations concerning
           which drugs should be controlled.” H.R. Rep. No. 91-1444, at 22 (1970).

             4
               In 1979, Congress created the Department of Education and changed the name of the
           Department of Health, Education, and Welfare to the Department of Health and Human
           Services. Department of Education Organization Act, Pub. L. No. 96-88, §§ 201, 509,
           93 Stat. 668, 671, 695 (1979).

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              This controversy appears to have stemmed from the fact that the ver-
           sion of the CSA that passed the Senate vested full decisionmaking author-
           ity regarding scheduling in the Attorney General alone and required only
           that the Attorney General obtain the “advice” of the Secretary in connec-
           tion with scheduling decisions. S. 3246, 91st Cong. § 201(a) (1970); see
           116 Cong. Rec. 1671, 1672 (1970). During the House’s consideration of
           the bill, Members of Congress, HEW officials, and scientific and medical
           professionals raised concerns over the dominant role the Senate bill as-
           signed to the Attorney General, arguing that scheduling decisions largely
           require scientific and medical expertise and that HEW, not the Depart-
           ment of Justice, had this expertise. See, e.g., Drug Abuse Control Amend-
           ments—1970: Hearings Before the Subcomm. on Pub. Health & Welfare
           of the H. Comm. on Interstate & Foreign Commerce, 91st Cong. 102–04,
           194–95, 199, 550, 557, 580–81 (1970) (“House Hearing”).
              Reflecting these concerns, the House version of the bill, H.R. 18583,
           91st Cong. (1970), made several changes to what is now 21 U.S.C.
           § 811(b) that expanded the role of the Secretary and eventually became
           law. The requirement that the Attorney General obtain “advice” was
           changed to an obligation to obtain “recommendations” that bound the
           Attorney General with respect to scientific and medical matters. H.R.
           18583, § 201(b). The House bill also added a requirement that the Secre-
           tary give a recommendation regarding the schedule in which the drug
           should be placed and provided that the Attorney General could not control
           a drug that the Secretary recommended not be controlled. Id.

                                                 B.

              As noted above, Congress classified marijuana as a Schedule I drug
           when it enacted the CSA in 1970. See 21 U.S.C. § 812(c). Shortly thereaf-
           ter, several organizations petitioned to move marijuana from Schedule I to
           Schedule V. See 37 Fed. Reg. 18,097 (Sept. 7, 1972). The petition was
           denied three times, but each time on review the United States Court of
           Appeals for the District of Columbia Circuit remanded for further analy-
           sis. See Nat’l Org. for the Reform of Marijuana Laws v. Ingersoll, 497
           F.2d 654, 661 (D.C. Cir. 1974); Nat’l Org. for the Reform of Marijuana
           Laws v. DEA, 559 F.2d 735, 757 (D.C. Cir. 1977) (“NORML II”); Nat’l
           Org. for the Reform of Marijuana Laws v. DEA, No. 79-1660, 1980 U.S.
           App. LEXIS 13099, at *1 (D.C. Cir. Oct. 16, 1980) (per curiam).

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              After the third remand, DEA denied the rescheduling petition once
           more, concluding that marijuana did not have a CAMU. See 54 Fed. Reg.
           53,767, 53,767, 53,783–84 (Dec. 29, 1989). In reaching that conclusion,
           DEA relied on an eight-part test for determining whether a drug had a
           CAMU that included the following three factors: whether the drug was
           generally available; whether its use was generally recognized in various
           medical reference works; and whether its use was recognized by “a sub-
           stantial segment of the medical practitioners in the United States.” Id. at
           53,783. As before, the petitioners sought review and the D.C. Circuit
           remanded the case to DEA, concluding that these three factors were
           arbitrary and capricious because they would be “logically impossible” for
           drugs in Schedule I to satisfy. All. for Cannabis Therapeutics v. DEA, 930
           F.2d 936, 937, 940 (D.C. Cir. 1991) (“ACT I”). But the court held that
           DEA’s interpretation of the statutory phrase “currently accepted medical
           use” was “in the main acceptable,” and rejected petitioners’ principal
           argument that DEA’s interpretation unreasonably relied upon “the ab-
           sence of demonstrated scientific evidence that the drug is medically useful
           and safe.” Id. at 937, 939. In particular, the court noted that the petitioners
           had presented only “anecdotal evidence” that “a number of physicians
           believe marijuana is medically useful.” Id. at 939.
              On remand a fourth time, DEA again denied the petition, again finding
           that marijuana did not have a CAMU. 57 Fed. Reg. at 10,499. DEA stated
           that a drug would have a CAMU if it had been approved by FDA under its
           “New Drug Application” process or if the drug met the criteria to be
           recognized by FDA as “Generally Recognized As Safe and Effective.” Id.
           at 10,503 (citing 21 U.S.C. §§ 321(p), 355). In addition, DEA concluded
           that a drug would have a CAMU if it satisfied a new, five-part test (a
           revised version of DEA’s previous eight-part test that the D.C. Circuit
           considered in ACT I). Id. at 10,504. Under DEA’s new test, a drug has a
           CAMU if the following elements are satisfied:
                (1) the drug’s chemistry is known and reproducible;
                (2) there are adequate safety studies;
                (3) there are adequate and well-controlled studies proving efficacy;
                (4) the drug is accepted by qualified experts; and
                (5) scientific evidence about the drug is widely available.

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           Id. at 10,503–06. All five parts were based on the “core FDCA standards
           for acceptance of drugs for medical use,” and four were expressly derived
           from the FDCA or FDA regulations setting forth requirements that a drug
           must meet before receiving FDA approval. Id. at 10,504–05 (citing
           21 U.S.C. §§ 321(p), (w), 355(d); and 21 C.F.R. §§ 314.103(c)(3),
           314.50(d)(1), 314.125(b), 314.126). DEA concluded that marijuana did
           not meet any of these criteria and accordingly denied the request to re-
           move marijuana from Schedule I. Id. at 10,507–08.
              This time the D.C. Circuit upheld DEA’s decision. See All. for Canna-
           bis Therapeutics v. DEA, 15 F.3d 1131, 1133 (D.C. Cir. 1994) (“ACT II”).
           It rejected the petitioners’ “central claim” that DEA’s order rested on an
           “unreasonable interpretation of the statute.” Id. The court noted that it had
           already concluded in ACT I that DEA’s interpretation of the CSA was
           generally reasonable, and it refused to reconsider that determination. Id. at
           1134. It further reasoned that none of the criteria in DEA’s new five-part
           test were “impossible for a Schedule I drug to meet” and that DEA had
           “corrected the flaws [the court] identified in” ACT I. Id. at 1135.
              Since ACT II, DEA has denied several petitions that sought reschedul-
           ing of marijuana after applying its five-part test and concluding that
           marijuana did not have a CAMU. See, e.g., 66 Fed. Reg. 20,038, 20,038
           (Apr. 18, 2001); 76 Fed. Reg. 40,552, 40,552 (July 8, 2011); 81 Fed. Reg.
           53,688, 53,688 (Aug. 12, 2016); 81 Fed. Reg. 53,767, 53,767 (Aug. 12,
           2016). Efforts to challenge these denials in court have proven unsuccess-
           ful. See Ams. for Safe Access v. DEA, 706 F.3d 438, 450 (D.C. Cir. 2013);
           Krumm v. DEA, 739 F. App’x 655 (D.C. Cir. 2018). In recent years,
           however, several jurists have raised serious concerns about DEA’s con-
           clusion that marijuana does not have a CAMU. See United States v.
           Green, 222 F. Supp. 3d 267, 275 (W.D.N.Y. 2016); United States v.
           Amalfi, 47 F.4th 114, 125 (2d Cir. 2022); Sisley v. DEA, 11 F.4th 1029,
           1036 (9th Cir. 2021) (Watford, J., concurring).

                                                 C.

              Since 1996, 38 States, the District of Columbia, and four federal territo-
           ries have legalized the use of medical marijuana. See HHS Part 1 Analysis
           Memo at 4. These laws typically allow the cultivation, sale, and use of
           marijuana by patients (or their caregivers) whose health care practitioners
           have recommended that they use marijuana to treat certain, specified

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           conditions. See, e.g., Ohio Rev. Code §§ 3796.01(A)(6)(a)–(v),
           3796.08(A); N.Y. Cannabis Law §§ 3(18), 30, 31; N.M. Stat.
           §§ 26-2B-3(F)(1)–(23), 26-2B-3(N), 26-2B-4(A). Conditions can be added
           to, or removed from, the list of illnesses that may be treated with marijua-
           na, often by (or at the recommendation of) a state’s public health authori-
           ties or special boards convened to consider such matters. See, e.g., Conn.
           Gen. Stat. § 21a-408l(a), (c); 410 Ill. Comp. Stat. §§ 130/10(h)(2),
           130/45; Or. Admin. Rule 333-008-0090. In each fiscal year since 2015,
           Congress has also adopted an appropriations rider that prohibits the De-
           partment of Justice from using funds to prevent certain states, territories,
           and the District of Columbia from implementing their own laws with
           respect to medical marijuana. E.g., Consolidated Appropriations Act,
           2024, Pub. L. No. 118-42, § 531, 138 Stat. 25; Consolidated Appropria-
           tions Act, 2023, Pub. L. No. 117-328, § 531, 136 Stat. 4459, 4561 (2022);
           see Cong. Rsch. Serv., R44782, The Evolution of Marijuana as a Con-
           trolled Substance and the Federal-State Policy Gap at 26 & n.159 (updat-
           ed Apr. 7, 2022) (collecting laws).
              On October 6, 2022, as noted above, President Biden asked the Secre-
           tary and the Attorney General to review how marijuana is scheduled under
           federal law. As part of its analysis in response to this request, HHS con-
           sidered whether DEA’s test for determining if a drug has a CAMU was
           consistent with the text of the CSA. HHS Response at 5–6. HHS agreed
           that if a drug met the requirements for FDA approval or DEA’s five-part
           test, the drug would have a CAMU. Id. at 8. But it concluded that it would
           be inconsistent with the text and purpose of the CSA for those standards
           to be the “sole basis for determining whether a substance has a [CAMU].”
           Id. at 7.
              HHS’s analysis instead relied on an additional, two-part inquiry for
           considering whether a drug has a CAMU. Part 1 of HHS’s inquiry focuses
           on the extent and nature of medical use. It asks whether there is “wide-
           spread current experience with medical use of the substance in the United
           States by licensed health care practitioners . . . operating in accordance
           with implemented state-authorized programs, where the medical use is
           recognized by entities that regulate the practice of medicine.” HHS Part 1
           Analysis Memo at 1. HHS further identifies several factors to consider in
           undertaking this analysis, none being dispositive on its own—specifically,
           (1) “[w]hether a substantial number of licensed health care practitioners

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           have gained clinical experience with at least one specific medical use of the
           substance under existing and implemented state-authorized programs,” id.
           at 3; (2) “[w]hether a substantial number of entities that regulate the
           practice of medicine recognize at least one specific medical use of the
           substance,” id.; and (3) “[w]hether licensed health care practitioners’
           clinical experience with the medical use of the substance is of sufficient
           extent and duration to help evaluate potential clinical uses and longer term
           toxicities and potential harms of the substance when used under medical
           supervision,” id. at 5.
              Part 2 of HHS’s test focuses on the scientific basis for any identified
           medical use. It asks whether there is “some credible scientific support for
           at least one medical use of the substance for which Part 1 is met.” Id. at 2.
           According to HHS, although again not dispositive, factors that count in
           favor of the conclusion that some credible scientific support exists include
           (1) whether “favorable clinical studies of the medical use” of the drug,
           although not FDA approval-level studies, “have been published in peer-
           reviewed journals” and (2) whether “[q]ualified expert organizations (e.g.,
           academic or professional societies, government agencies) have opined in
           favor of the medical use or provided guidance to practitioners on the
           medical use.” Ctr. for Drug Evaluation & Rsch., FDA, Considerations for
           Whether Marijuana Has a Currently Accepted Medical Use in the United
           States for Purposes of Section 202(b) of the Controlled Substances Act
           at 4 (Aug. 28, 2023) (“HHS Part 2 Analysis Memo”). By contrast, factors
           weighing against the conclusion that such credible scientific support
           exists include (1) whether “data or information indicates that medical use
           of the substance poses unacceptably high safety risks for the likely patient
           population, e.g., due to toxicity concerns”; (2) whether “clinical studies
           with negative efficacy findings for the medical use have been published in
           peer reviewed journals”; and (3) whether “qualified expert organizations
           (e.g., academic or professional societies, government agencies) have
           recommended against the medical use of the substance.” Id. at 4–5.
              Applying this two-part inquiry, HHS concluded that marijuana has a
           CAMU. Id. It found that Part 1 of its inquiry was satisfied because more
           than 30,000 licensed health care practitioners across 43 jurisdictions are
           authorized to recommend the use of marijuana for more than six million
           registered patients for at least 15 medical conditions. HHS Part 1 Analysis
           Memo at 1. HHS also found that Part 2 of its inquiry was satisfied. See

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           HHS Part 2 Analysis Memo at 7. Although noting that no professional
           medical organization currently recommends use of marijuana (and that
           one recommends against its use), HHS concluded after reviewing several
           studies that there was some credible scientific support that marijuana
           could be used to effectively treat pain, anorexia, and nausea and vomiting
           and that using medical marijuana to treat these conditions did not pose
           “unacceptably high safety risks.” Id. at 7. Consistent with this conclusion,
           and in light of other findings it made, HHS recommended to DEA that
           marijuana be placed in Schedule III of the CSA.

                                                II.

              As discussed above, DEA currently concludes that a drug has a CAMU
           only if FDA has approved the drug under the FDCA or the drug meets
           DEA’s five-part test. 57 Fed. Reg. at 10,505–06. HHS agrees with DEA
           that FDA approval and DEA’s five-part test are sufficient to establish that
           a drug has a CAMU, see HHS Response at 8, and we also agree. To
           receive FDA approval, a drug must satisfy “rigorous testing and safety
           reviews” showing that the drug is “both safe and effective.” Sadoz Inc. v.
           Becerra, 57 F.4th 272, 282 (D.C. Cir. 2023). And the entire purpose of
           FDA’s rigorous approval process is to identify drugs that can be safely
           and effectively used to treat medical conditions. See FDA v. Brown &
           Williamson Tobacco Corp., 529 U.S. 120, 133–34 (2000). It would thus
           make no sense to keep a drug that has met—or could meet—FDA’s stand-
           ards on Schedule I, which would prevent the drug from being used to treat
           medical conditions. See 21 U.S.C. §§ 829, 841–43.
              HHS argues, however, that DEA’s approach to CAMU is impermissi-
           bly narrow and that HHS’s two-part inquiry is a permissible way to estab-
           lish that a drug has a CAMU. You have asked whether, if a drug satisfies
           the two-part inquiry employed by HHS, that establishes that the drug has
           a CAMU regardless of whether the drug has been approved by FDA or
           satisfies DEA’s five-part test. For the reasons that follow, we agree with
           HHS and conclude that limiting the CAMU analysis to whether a drug has
           been approved by FDA or meets DEA’s five-part test is an impermissibly
           narrow interpretation of section 812(b) and that satisfying HHS’s two-part
           inquiry is sufficient to establish that a drug has a CAMU.



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                                                  A.

              Section 812(b) requires the Attorney General (and thus DEA), in mak-
           ing scheduling decisions under the CSA, to determine whether a drug has a
           “currently accepted medical use in treatment in the United States.” It is
           hard to square DEA’s exclusive reliance on FDA approval and its five-part
           test with this language.
              To begin, DEA’s approach conflicts with the text of section 812(b) by ig-
           noring a wide range of activity that is plainly relevant to whether a drug meets
           the statutory standard. At the time the CSA was adopted (and as is still true
           today) the word “accepted” meant “widely used or found” or “generally
           approved.” Accepted, Webster’s Third New International Dictionary 11
           (1971); see also Accepted, The American Heritage Dictionary of the English
           Language 8 (1970) (“Generally approved, believed, or recognized.”); Accept-
           ed, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/
           accepted (last visited Apr. 2, 2024) (defining “accepted” to mean “regard-
           ed favorably” or “generally approved or used”). And the focus on “medi-
           cal use” suggests that the relevant inquiry is whether the medical commu-
           nity has accepted that a drug has a “use in treatment.” 21 U.S.C.
           § 812(b)(1)(B).
              Any examination of whether the medical community “accept[s]” that a
           drug has a “use in treatment,” id., naturally requires an examination of
           what licensed health care practitioners are actually doing. Practitioners
           treat patients, after all, and their treatment decisions and clinical experi-
           ence with a drug (where such experience exists) provide important evi-
           dence in determining whether a medical use is accepted. Moreover, an
           understanding of what the medical community accepts would also natural-
           ly require consideration of the views of the principal regulators of the
           medical profession: state entities that license and police healthcare practi-
           tioners. As the Supreme Court has noted, the CSA “presume[s] and
           rel[ies] upon a functioning medical profession regulated under the States’
           police powers.” Gonzales v. Oregon, 546 U.S. 243, 270 (2006).
              But neither FDA approval nor DEA’s five-part test examines whether
           health care practitioners are actually using a drug to treat a condition or
           whether the entities regulating those practitioners allow the drug to be so
           used. Instead, FDA approval and DEA’s five-part test rely exclusively on
           certain scientific evidence and the views of some experts and FDA. Simp-

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           ly put, ignoring widespread clinical experience with a drug that is sanc-
           tioned by state medical licensing regulators when evaluating whether a
           drug has a CAMU is at odds with the plain meaning of section 812(b). 5
              Limiting the CAMU analysis to whether a drug has been approved by
           FDA or meets DEA’s five-part test also conflicts with the text of section
           812(b) by erroneously equating identification of an “accepted” medical
           use under the CSA with the “approval,” or potential approvability, of the
           drug under the FDCA. Under the CSA, a substance can only be placed on
           Schedule I if it lacks both a “currently accepted medical use in treatment
           in the United States” and an “accepted safety for use . . . under medical
           supervision.” 21 U.S.C. § 812(b)(1)(B), (C). By contrast, “the FDCA does
           not even mention the term ‘medical use,’” Grinspoon v. DEA, 828 F.2d
           881, 887 (1st Cir. 1987), and under the FDCA approval can be denied
           either because the drug is unsafe or because it is ineffective, see 21 U.S.C.
           § 355(d)(2), (5). FDA may also deny approval for several other reasons
           that have nothing to do with medical use, including that the application did
           not contain the necessary patent information, see id. § 355(d)(6), or that
           the methods used to manufacture, process, and pack the drug “are inade-
           quate to preserve its identity, strength, quality, and purity,” id. § 355(d)(3).
              Moreover, other CSA provisions confirm that a drug having a CAMU is
           distinct from it being approved (or approvable) by FDA. Among other
           things, the CSA elsewhere repeatedly refers to, and in some places explicit-
           ly relies on, the FDCA. As an example, 21 U.S.C. § 829 prohibits the
           dispensing of “prescription drug[s] as determined under the [FDCA]” that
           are controlled under Schedules II through IV without a prescription from a
           practitioner, subject to certain exceptions. See also, e.g., id. §§ 811(g)(1),
           825(e). Congress’s decision to explicitly invoke the FDCA’s standards
           with respect to some parts of the CSA, but not with respect to whether a
           drug has a CAMU, strongly suggests that it did not mean to equate CAMU
           with the standards necessary for FDA approval.


               5 The First Circuit’s decision in Grinspoon v. DEA, 828 F.2d 881 (1st Cir. 1987), is not

           to the contrary. Grinspoon rejected the argument that Congress meant to privilege the
           views of “certain members of the medical community” in determining if a drug has a
           CAMU. Id. at 892. The court did not consider, however, the broader understanding of the
           relevant inquiry that we offer here—i.e., whether the medical community as a whole,
           including practitioners and regulators (among others), has “accepted” that a drug has a
           “medical use in treatment.” 21 U.S.C. § 812(b)(1)(B).

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              Amendments to the CSA reinforce this conclusion. Congress added the
           “emergency scheduling” provision to the CSA in 1984. Pub. L. No.
           98-473, § 508, 98 Stat. 1837, 2071–72 (1984) (codified as amended
           at 21 U.S.C. § 811(h)). That provision allows the Attorney General to
           place certain substances in Schedule I on a temporary basis without fol-
           lowing the normal scheduling criteria if “necessary to avoid an imminent
           hazard to the public safety.” 21 U.S.C. § 811(h). But this authority does
           not apply where an “exemption or approval is in effect for the [drug]
           under section 505” of the FDCA—i.e., where FDA allows the drug to be
           marketed in interstate commerce. See id.; see also Controlled Substances
           Analogue Enforcement Act of 1986, Pub. L. No. 99-570, tit. I, subtit. E,
           100 Stat. 3207, 3207-13 to -14 (codified as amended at 21 U.S.C.
           § 801(32)) (exempting drugs that have been approved by FDA from the
           definition of controlled substance analogue). As the First Circuit has
           observed, these provisions demonstrate that “absolute reliance on the
           absence of FDA approval” outside of these limited contexts “would be
           inappropriate and, indeed, contrary to the intent of Congress in enacting
           the CSA.” Grinspoon, 828 F.2d at 890.
              We recognize that our conclusion that DEA cannot rely exclusively on
           FDA approval or its five-part test in determining whether a drug has a
           CAMU is in some tension with the D.C. Circuit’s decisions in ACT I and
           ACT II. The record in those cases, however, was materially different from
           the one contemplated by HHS’s two-part inquiry: the petitioners in ACT I
           and ACT II had shown that, at most, a “number of physicians believe[d]
           that marijuana is medically useful”—evidence that the court twice said
           was “anecdotal.” ACT I, 930 F.2d at 939; see also id. (describing petition-
           er’s evidence as “largely anecdotal”). Indeed, although the court noted
           that it “ha[d] no grounds” on the record before it “to dispute [DEA’s]
           premise that without much more complete scientific data American physi-
           cians will not ‘accept’ marijuana,” it further observed that DEA’s conclu-
           sion would be “more vulnerable” if “virtually all doctors in the United
           States were vociferous in their espousal of marijuana for medical treat-
           ment—notwithstanding scientific uncertainties.” Id.; see also ACT II,
           15 F.3d at 1134–35 (holding that DEA’s interpretation of “currently
           accepted medical use” was reasonable on law of the case grounds).
              In other words, neither ACT I nor ACT II assessed DEA’s approach in
           the circumstance envisioned by HHS’s two-part inquiry—where there is

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           “widespread current experience with medical use of” a Schedule I drug in
           the United States by licensed health care practitioners “operating in ac-
           cordance with implemented state-authorized programs, where the medical
           use is recognized by entities that regulate the practice of medicine.” HHS
           Part 1 Analysis Memo at 1. To the contrary, the D.C. Circuit suggested
           that such circumstances might never occur, as one of its reasons for reject-
           ing DEA’s original eight-part test was that it “appear[ed] impossible” for
           a Schedule I drug to meet the requirement that there be “[r]ecognition and
           use of the [drug] by a substantial segment of the medical practitioners in
           the United States.” ACT I, 930 F.2d at 938, 940. Yet with respect to at
           least one drug—marijuana—subsequent events have shown that a drug
           can be in Schedule I but still be recommended for medical use by a large
           number of medical practitioners in the United States. And for the reasons
           we have explained, when these circumstances exist, the plain text of
           section 812 mandates that they be taken into account when determining
           whether a drug has a CAMU.

                                                B.

             Having explained why DEA’s construction of the phrase “currently ac-
           cepted medical use in treatment in the United States” is impermissibly
           narrow, we turn to why HHS’s two-part inquiry is sufficient to determine
           whether a drug has a CAMU.

                                                1.

              Part II.A explained that, to determine if a drug has a CAMU, section
           812(b) requires an analysis of whether, at the present time, the medical
           community widely understands that a drug has a “use in treatment in the
           United States.” Although there is no single right answer as to how specifi-
           cally DEA should make this determination, the text of the CSA establish-
           es certain basic parameters to guide the inquiry.
              As an initial matter, the definitions discussed above indicate that “ac-
           cepted” means that something is “widely used or found” or “generally
           approved.” Accepted, Webster’s Third New International Dictionary 11
           (emphasis added). It therefore follows from the word’s plain meaning that
           “anecdotal evidence” that a “number of physicians believe that [a drug] is
           medically useful” is not enough to show that the medical community has

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           accepted that a drug has a use in treatment in the United States. ACT I,
           930 F.2d at 939. At the same time, however, “accepted” does not require
           universal consensus. Rather, it is sufficient if there is a widespread under-
           standing in the medical community that a drug has a use in treatment.
              Relatedly, nothing in the text of the CSA suggests that establishing that
           a drug has a CAMU requires the medical community to believe that the
           drug is the best way to treat a condition. So long as there is widespread
           understanding in the medical community that a drug is a permissible and
           reasonable way to treat a condition, it has a CAMU. That reflects a basic
           reality about the medical profession: that “in medicine there is often a
           range of reasonable treatments[.]” Young v. United States, 942 F.3d 349,
           352 (7th Cir. 2019).
              Moreover, the medical community is not a monolith: It contains indi-
           viduals and entities with a range of expertise and experiences, including
           licensed health care practitioners who specialize in certain areas of medi-
           cine, generalists with broader expertise, researchers, and regulators. In
           assessing the views of the medical community, section 812(b)(1)(B)’s
           emphasis on a “medical use in treatment” indicates that the views of all
           these constituencies are not equally important in every case. Instead, to
           determine whether the medical community understands using a particular
           drug to be within the range of reasonable treatment options, it is the views
           and practices of the health care practitioners who actually treat a given
           condition, as well as the regulators charged with enforcing applicable
           norms of practice, that are often especially relevant.
              Finally, we believe a CAMU test must include consideration of the sci-
           entific evidence that supports the relevant medical use. This follows from
           section 811(c)’s requirement that the Attorney General “shall consider”
           eight factors in making the CAMU determination and other findings under
           section 812(b), some number of which inherently require consideration of
           scientific evidence. Although it is unclear exactly how the eight factors
           listed in section 811(c) correlate to the findings required by section
           812(b), it is plain that at least two of those factors—the “scientific evi-
           dence of [the drug’s] pharmacological effect, if known” and the “state of
           current scientific knowledge regarding the drug,” 21 U.S.C. § 811(c)(2),
           (3)—bear on whether a drug has a currently accepted medical use, and
           that those factors necessarily require evaluation of scientific evidence. In
           addition, the requirement to consider “[w]hat, if any, risk there is to the

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           public health” and the drug’s “psychic or physiological dependence liabil-
           ity,” id. § 811(c)(6), (7), further suggests that an assessment of the availa-
           ble science is an integral part of a CAMU determination. Reviewing the
           available scientific evidence as part of the CAMU analysis is also con-
           sistent with the common-sense intuition that there is an inherent connec-
           tion between whether the medical community has “accepted” a drug for
           “use in treatment,” id. § 812(b)(1)(B), and the scientific evidence support-
           ing that conclusion. We generally would not expect the medical communi-
           ty to understand that it is reasonable to use a drug to treat a condition
           unless (as HHS suggests) there is at least some scientific evidence in
           support of that conclusion—evidence demonstrating, for example, that the
           drug was effective in treating the condition or does not create unaccepta-
           bly high safety risks. HHS Part 2 Analysis Memo at 4–5.

                                                2.

              We conclude that HHS’s two-part inquiry falls within the basic parame-
           ters the CSA provides for establishing that a drug has a CAMU.
              Part 1 of HHS’s test requires an assessment of whether health care
           practitioners are recommending that patients use a drug to treat a medical
           condition and whether they are doing so in accordance with guidelines
           issued by entities that regulate the practice of medicine. This approach is
           consistent with our view that determining whether a drug has a CAMU
           requires assessing whether there is a widespread understanding in the
           medical community that using the drug to treat a condition falls within the
           range of reasonable treatment options. In particular, the actual recommen-
           dations of practitioners made under applicable regulatory guidelines
           constitute strong evidence of whether the medical community understands
           a drug to be a reasonable treatment option.
              The three non-dispositive factors HHS includes in its Part 1 analysis
           further demonstrate why its test is sufficient. Two of HHS’s factors look,
           respectively, at whether a “substantial number of licensed health care
           practitioners” have gained clinical experience with a drug under a
           state-authorized program and whether a “substantial number” of entities
           that regulate the practice of medicine have authorized the use of a drug for
           medical purposes. See HHS Part 1 Analysis Memo at 3. In our view, these
           inquiries provide good evidence of whether there is widespread agreement
           within the medical community that using the drug would be a reasonable

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           treatment option. Similarly, it is more likely that the medical community
           would widely understand that a drug represents a reasonable treatment
           option if HHS’s third factor is present—i.e., that practitioners’ clinical
           experience with the drug is of a “sufficient extent and duration” to help
           evaluate whether there are “potential clinical uses,” “longer-term toxici-
           ties,” and “potential harms.” Id. at 5.
              Moreover, Part 2 of HHS’s test adequately takes the available scientific
           evidence into account by asking whether there is some credible scientific
           support for a least one of the medical uses for which the Part 1 test is met
           and then providing guidance as to what counts as “credible” scientific
           support. See HHS Part 2 Analysis Memo at 4 (identifying “favorable
           clinical studies” published in peer-reviewed journals as cutting in favor of
           the conclusion that the drug has a CAMU); id. (identifying data or infor-
           mation that “indicate[s] that medical use of the [drug] is associated with
           unacceptably high safety risks for the likely patient population” because
           of “toxicity concerns” as cutting against the conclusion that the drug has a
           CAMU). Neither section 811(c) nor section 812(b) requires a particular
           threshold of scientific support to conclude that a drug has a CAMU, and
           we believe that Part 2’s requirement of some credible scientific support is
           sufficient in a context where health care practitioners have extensive
           experience with a drug and medical regulators have sanctioned the drug’s
           use. Such clinical experience and regulatory sanction provide alternative
           sources of information about a drug, thereby making it reasonable not to
           require the high level of scientific support that might be demanded before
           a new and untried drug is determined to have a CAMU.
              DEA’s main concern with HHS’s two-part inquiry is that it places too
           much emphasis on state regulatory decisions. Specifically, DEA suggests
           that HHS’s emphasis on states is “misplaced” because, in DEA’s view,
           the processes states follow for enacting legislation “are generally less
           rigorous than the requirements placed on federal agencies when they act
           pursuant to the APA.” DEA Response at 11. But there is nothing in the
           text of the CSA that would warrant categorically discounting state prac-
           tice in this fashion, particularly since doing so would be inconsistent with
           both the role of states as the central regulators of medical practice, see
           Oregon, 546 U.S. at 270, 274–75, and the fact that they are afforded
           “great leeway” in adopting measures to “protect public health and safety,”
           Mackey v. Montrym, 443 U.S. 1, 17 (1979). Indeed, Congress has already

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           recognized the importance of states’ views on whether marijuana in
           particular may be used to treat medical conditions by annually adopting
           an appropriations rider that prohibits the Department of Justice from using
           funds to prevent certain states, territories, and the District of Columbia
           from implementing their own laws with respect to medical marijuana. See
           supra Part I.C.
              In addition, states do often look to scientific and medical judgment in
           regulating medical marijuana. States typically only allow medical practi-
           tioners to recommend medical marijuana to treat specific conditions. See,
           e.g., Ohio Rev. Code § 3796.01(A)(6)(a)–(v); N.Y. Cannabis Law § 3(18).
           In some states, practitioners may only recommend the use of medical
           marijuana after determining that the patient suffers from one of those
           conditions and that the “potential benefits of the palliative use of marijua-
           na would likely outweigh the health risks of such use.” E.g., Conn. Gen.
           Stat. § 21a-408c(a); see also Fla. Stat. § 381.986(4). Several states have
           also established processes through which experts can recommend additions
           to, or removals from, the list of conditions that marijuana may be used to
           treat, see, e.g., Conn. Gen. Stat. § 21a-408l(a), (c)(1), (d); Or. Admin. Rule
           333-008-0090(3)(e), (4)(a)—indeed, HHS has informed us that 17 juris-
           dictions have added conditions that may be treated with marijuana using
           such processes, see HHS Part 1 Analysis Memo at 4. In short, it is simply
           not the case that state practice concerning medical marijuana is complete-
           ly divorced from scientific and medical assessment.

                                                III.

              As discussed above, the CSA authorizes the Attorney General to place
           drugs in particular schedules if, after a formal rulemaking, the Attorney
           General makes certain findings. A particularly important finding is
           whether a drug has a CAMU, as the Attorney General may only keep or
           place a drug in Schedule I if it lacks a CAMU. Before initiating a rule-
           making proceeding to schedule or reschedule a drug, however, the Attor-
           ney General is required to request recommendations from the Secretary
           that must include whether the drug has a CAMU. See 21 U.S.C. § 811(b).
           The CSA further makes these recommendations binding “as to” certain
           “scientific and medical matters.” Id.
              Since HHS has recommended that marijuana has a CAMU, you have
           asked about the extent to which the “scientific and medical matters” that
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           are binding on the Attorney General, and thus DEA, include HHS’s
           CAMU recommendation or any scientific and medical determinations
           underlying that recommendation. For the reasons that follow, we con-
           clude, first, that HHS’s overall CAMU recommendation is not binding on
           DEA. Second, we conclude that the scientific and medical determinations
           that underlie HHS’s CAMU recommendation are binding, but only until
           the initiation of formal rulemaking proceedings. Once DEA initiates
           formal rulemaking, HHS’s determinations no longer bind DEA, but DEA
           must continue to accord HHS’s scientific and medical determinations
           significant deference, and the CSA does not allow DEA to undertake a de
           novo assessment of HHS’s findings at any point in the process.

                                                 A.

              We first explain why HHS’s overall CAMU recommendation does not
           bind DEA, starting with the two CSA provisions that govern the CAMU
           determination. Section 811(a) authorizes the Attorney General to schedule
           or reschedule a drug if the Attorney General makes certain findings “on
           the record after opportunity for a hearing pursuant to the rulemaking
           procedures prescribed by [the APA].” Section 812(b) then lays out the
           relevant findings the Attorney General must make to schedule a drug,
           including whether the drug has a CAMU.
              Taken together, these two provisions commit exclusively to the Attor-
           ney General the ultimate responsibility for making the findings required
           to schedule a drug, including a CAMU finding, and neither mentions the
           Secretary at all. Instead, the role of the Secretary is addressed in a sepa-
           rate provision of the CSA, section 811(b), which reads as follows:
                The Attorney General shall, before initiating proceedings under sub-
                section (a) to control a drug or other substance or to remove a drug
                or other substance entirely from the schedules, and after gathering
                the necessary data, request from the Secretary a scientific and medi-
                cal evaluation, and his recommendations, as to whether such drug or
                other substance should be so controlled or removed as a controlled
                substance. In making such evaluation and recommendations, the
                Secretary shall consider the factors listed in paragraphs (2), (3), (6),
                (7), and (8) of subsection (c) and any scientific or medical considera-
                tions involved in paragraphs (1), (4), and (5) of such subsection. The

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                 recommendations of the Secretary shall include recommendations
                 with respect to the appropriate schedule, if any, under which such
                 drug or other substance should be listed. The evaluation and the rec-
                 ommendations of the Secretary shall be made in writing and submit-
                 ted to the Attorney General within a reasonable time. The recom-
                 mendations of the Secretary to the Attorney General shall be binding
                 on the Attorney General as to such scientific and medical matters,
                 and if the Secretary recommends that a drug or other substance not
                 be controlled, the Attorney General shall not control the drug or oth-
                 er substance. If the Attorney General determines that these facts and
                 all other relevant data constitute substantial evidence of potential for
                 abuse such as to warrant control or substantial evidence that the drug
                 or other substance should be removed entirely from the schedules, he
                 shall initiate proceedings for control or removal, as the case may be,
                 under subsection (a).
              This provision makes clear that the Secretary plays a crucial role in the
           scheduling process. It expressly directs the Attorney General to obtain a
           scheduling recommendation from the Secretary before initiating the sched-
           uling process and to treat as binding certain “scientific or medical mat-
           ters.” Id. 6 But section 811(b) does not so much as mention the Secretary’s



               6 In two recent rulemakings, DEA has stated that HHS’s scientific and medical rec-

           ommendations only bind DEA with respect to factors (1), (4), and (5) of section 811(c).
           See 86 Fed. Reg. 29,506, 29,507–08 (June 2, 2021); 86 Fed. Reg. 27,803, 27,805
           (May 24, 2021). This view appears to be based on a contrast in section 811(b)’s text: it
           directs the Secretary to “consider the factors listed in paragraphs (2), (3), (6), (7), and (8)
           of [section 811(c)],” and “any scientific or medical considerations involved in paragraphs
           (1), (4), and (5) of [section 811(c)],” with the Secretary’s recommendations being “bind-
           ing . . . as to such scientific and medical matters.” But section 811(b) highlights the
           “scientific and medical considerations” in factors (1), (4), and (5) not because HHS
           should consider the science and medicine underlying only those factors, but rather
           because those factors all relate to a drug’s abuse potential, the analysis of which Congress
           understood as resting primarily on law enforcement considerations. See H.R. Rep.
           No. 91-1444, at 33–36; House Hearing at 718. By comparison, there is no need to direct
           HHS to consider the “scientific or medical considerations” involved with factors (2), (3),
           (6), (7), and (8) since those factors involve inquiries that are predominantly, if not entire-
           ly, scientific and medical in nature. We thus think it plain that HHS’s recommendations
           with respect to “scientific and medical matters” are binding for all eight factors listed in
           section 811(c). See H.R. Rep. 91-1444, at 33; see also id. at 22–23 (“[A]ll scientific and

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           CAMU recommendation. Instead, section 811(b) expressly identifies a
           different circumstance in which the Secretary’s recommendation concern-
           ing an ultimate scheduling determination is dispositive: when the Secretary
           recommends against controlling a drug. This fact—that section 811(b)
           identifies a separate scheduling recommendation as binding—makes its
           silence on the Secretary’s CAMU recommendation all the more conspicu-
           ous.
              Moreover, we do not believe the Secretary’s authority to bind the At-
           torney General with respect to “scientific and medical matters” encom-
           passes a CAMU determination, because such a determination involves
           judgments that are neither wholly scientific nor wholly medical. For
           example, as the discussion in Part II indicates, assessing whether a drug
           has a CAMU may involve, in part, determining whether the extent of
           medical use present is sufficient to qualify as “accepted” within the medi-
           cal community. 21 U.S.C. § 812(b)(1)(B). This inquiry is more akin to the
           application of a legal standard to a set of facts than a judgment necessarily
           requiring medical or scientific expertise, as it could turn (at least in part)
           on reasoning or facts that are neither scientific nor medical in nature, such
           as determining how many states have authorized use of a drug in treating
           a medical condition. Cf., e.g., United States v. Garcia, 413 F.3d 201, 215
           (2d Cir. 2005) (conclusions that are the “product of reasoning processes
           familiar to the average person in everyday life” do not require specialized
           expertise); accord United States v. Vega, 813 F.3d 386, 394–95 (1st Cir.
           2016) (conclusions based on “logic and pattern recognition” do not re-
           quire specialized expertise). Because a CAMU determination can include
           elements that fall outside the substantive scope of HHS’s authority to bind
           DEA, HHS’s overall determination that a substance has (or lacks) a
           CAMU cannot be binding.

                                                    B.

              We next explain why the scientific and medical determinations under-
           lying HHS’s overall CAMU recommendations bind DEA, although only
           until the initiation of formal rulemaking, and why DEA is nonetheless
           obligated to accord the findings significant deference thereafter.

           medical determinations [will be] made by the Secretary of Health, Education, and Wel-
           fare[.]” (emphasis added)).

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              As a threshold matter, the text and legislative history of section 811(b)
           demonstrate that the “scientific and medical matters” binding on the
           Attorney General include the scientific and medical determinations that
           underlie the Secretary’s CAMU recommendation. See H.R. Rep. No.
           91-1444, at 33; HHS Response at 10; DEA Response at 16. For example,
           whether some credible scientific support exists for a particular widespread
           clinical use, see supra Part I.C, is undoubtedly relevant to a CAMU
           finding—and undoubtedly a “scientific and medical matter.”
              The more difficult question, however, is whether HHS’s scientific and
           medical determinations remain binding throughout the scheduling pro-
           cess—a question on which DEA and HHS hold sharply different views.
           DEA argues that it “is only bound by HHS’s evaluation as to scientific
           and medical matters . . . at the beginning of the [scheduling] process,” but
           “[o]nce rulemaking has begun, DEA can—and must—consider material
           submitted during the administrative process in reaching a final scheduling
           determination.” DEA Response at 13; see also 76 Fed. Reg. 77,330,
           77,334–36 (Dec. 12, 2011) (adopting this position). HHS takes the oppo-
           site view, arguing that its scientific and medical recommendations bind
           DEA throughout the scheduling process, including the formal rulemaking.
           See HHS Response at 10–11.
              The CSA is unquestionably hard to parse on this issue. It does not ex-
           pressly address for what portion of the administrative proceedings HHS’s
           determinations are binding, nor does it specify how, if at all, such deter-
           minations must be considered during the formal rulemaking proceedings.
           Moreover, what clues the statute does offer point in two opposing direc-
           tions: On the one hand, the statute requires the Attorney General alone to
           make the ultimate findings required for scheduling after an on-the-record
           formal rulemaking, which implies that the Attorney General must consid-
           er contrary scientific or medical evidence submitted during that process.
           See 21 U.S.C. § 811(a). On the other hand, the statute makes the Secre-
           tary’s scientific and medical determinations “binding” on the Attorney
           General without expressly limiting the binding nature of those determina-
           tions to any particular stage of the scheduling process. See id. § 811(b).
              Although a close question, we think Congress’s decision to make
           scheduling decisions subject to a formal rulemaking process ultimately
           provides the answer. Fundamentally, the proposition that HHS’s determi-
           nations bind DEA for the entirety of the scheduling process cannot be

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           squared with the nature of the formal rulemaking that section 811(a)
           requires. Nothing in the CSA limits outside participants to submitting
           only nonscientific and nonmedical evidence at a rulemaking hearing.
           Given the possibility that parties may submit contrary scientific or medi-
           cal evidence, construing section 811(b) to preclude DEA from considering
           such evidence would be inconsistent with the APA’s requirement that
           rules issued via formal rulemaking be based “on consideration of the
           whole record . . . and supported by and in accordance with the reliable,
           probative, and substantial evidence.” 5 U.S.C. § 556(d); see Universal
           Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951) (“The substantiality of
           evidence must take into account whatever in the record fairly detracts
           from its weight. This is clearly the significance of the requirement . . . [to]
           consider the whole record.”). In short, DEA would not be making a deci-
           sion based on the “whole record” and “in accordance with the reliable,
           probative, and substantial evidence,” 5 U.S.C. § 556(d), if HHS’s deter-
           minations barred DEA from considering contrary scientific or medical
           evidence. Two courts of appeals have suggested in dicta that they view
           the issue similarly. See Grinspoon, 828 F.2d at 890; Reckitt & Colman,
           Ltd. v. Administrator, DEA, 788 F.2d 22, 27 n.8 (D.C. Cir. 1986).
              The fact that HHS’s recommendations as to certain “scientific and med-
           ical matters” do not bind DEA for the entire scheduling process does not
           mean, however, that they are without effect. Rather, in order to give force
           to the statutory command that HHS’s recommendations “bind[]” DEA, we
           believe HHS’s scientific and medical determinations must be binding
           until the issuance of a notice of proposed rulemaking (“NPRM”). Up to
           this point, the formal rulemaking procedures required by section 811(a)
           are not yet in effect, see 21 C.F.R. §§ 1308.43(f), 1316.42(g), meaning
           there is no conflict between the statutory commands to consider contrary
           evidence in the record and accord binding effect to HHS’s recommenda-
           tions.
              In addition, DEA may not simply cast aside HHS’s scientific and medi-
           cal recommendations once it initiates formal rulemaking proceedings by
           issuing an NPRM. The categorical use of the word “binding” in section
           811(b) suggests that Congress intended HHS’s scientific and medical
           views to at least be a very significant input in the scheduling process. And
           there would seem to be little reason to make the HHS’s views binding at
           any stage in the process if DEA eventually could discard HHS’s determi-

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           nations and review scientific and medical matters de novo. Cf. Reno v.
           Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 487 (1999) (statutes
           should be read in a manner that “makes sense of the statutory scheme as a
           whole”).
              The legislative history of the CSA supports the view that HHS’s scien-
           tific and medical determinations should remain significant throughout the
           rulemaking process. The House report on the CSA states that Congress
           intended “all scientific and medical determinations” to be “made by the
           Secretary,” rather than the Attorney General, and nothing in the legisla-
           tive history suggests that the Attorney General would be free to make de
           novo scientific and medical judgments once the formal rulemaking is
           underway. H.R. Rep. No. 91-1444, at 22–23. Indeed, the House report
           emphasized that section 811 was “not intended to authorize the Attorney
           General to undertake or support medical and scientific research” for the
           purpose of scheduling, as that research “is within the competence of
           [HHS].” Id. at 33. And considering this same legislative history, the
           Supreme Court noted in Gonzales that the CSA places “medical judg-
           ments” made under the Act in the “hands of the Secretary.” 546 U.S. at
           265.
              We therefore conclude that, to give proper effect to HHS’s scientific
           and medical determinations, DEA must continue to accord significant
           deference to those determinations even once formal rulemaking has com-
           menced and may not undertake a de novo assessment of HHS’s findings at
           any point in the rulemaking process.

                                                      IV.

              The Single Convention requires parties to impose controls on the culti-
           vation, manufacture, and distribution of various drugs, including “canna-
           bis.” 7 Among other things, parties to the Convention generally must

              7 The Convention defines “cannabis” as “the flowering or fruiting tops of the cannabis

           plant (excluding the seeds and leaves when not accompanied by the tops) from which the
           resin has not been extracted, by whatever name they may be designated.” Single Conven-
           tion art. 1(1)(b). We understand the marijuana in use in the United States to fall within
           this definition, although the definition of cannabis under the Single Convention is slightly
           less inclusive than the CSA’s definition of “marihuana,” which includes all parts of the
           Cannabis sativa L. plant with certain exceptions, including mature stalks and sterilized
           seeds that are incapable of germination. See 21 U.S.C. § 802(16).

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           require that manufacturers, distributors, importers, and exporters of can-
           nabis secure a license, Single Convention arts. 29–31; impose quotas on
           the import and manufacture of cannabis, id. art. 21(1); generally prohibit
           the unauthorized possession of cannabis, id. art. 33; and adopt penal
           provisions making violations of the controls required by the Convention
           punishable offenses, id. art. 36.
              Several provisions of the CSA—including sections 801(7), 811(d)(1),
           812(b), 823(a), 953(a), and 958(a)—“reflect Congress’s intent to comply
           with the obligations imposed by the Single Convention.” Control of
           Papaver bracteatum, 1 Op. O.L.C. 93, 95 (1977). Of particular relevance
           here, section 811(d)(1) provides:
                If control is required by United States obligations under international
                treaties, conventions, or protocols in effect on October 27, 1970, the
                Attorney General shall issue an order controlling such drug under the
                schedule he deems most appropriate to carry out such obligations,
                without regard to the findings required by subsection (a) of this sec-
                tion or section 812(b) of this title and without regard to the proce-
                dures described by subsections (a) and (b) of this section.
              The Single Convention entered into force for the United States on June
           24, 1967, and was thus “in effect on October 27, 1970.” Id. Both our
           Office and the D.C. Circuit have interpreted section 811(d)(1) to apply to
           any scheduling action by the Attorney General concerning a drug covered
           by the Single Convention, including actions to transfer a drug between
           schedules. Memorandum for John E. Ingersoll, Director, Bureau of Nar-
           cotics & Dangerous Drugs, from Mary C. Lawton, Deputy Assistant
           Attorney General, Office of Legal Counsel, Re: Petition to Decontrol
           Marihuana; Interpretation of Section 201 of the Controlled Substances
           Act of 1970 at 9 (Aug. 21, 1972) (“Lawton Memo”); NORML II, 559 F.2d
           at 747.
              Given this, your third question asks whether the CSA or the Single
           Convention requires marijuana to be placed in Schedule I or Schedule II.
           This question is one our Office has considered before: in 1972, we con-
           cluded that the Convention requires marijuana to be placed in Schedule I
           or II because placing marijuana in Schedules III, IV, or V would not
           enable the United States to satisfy its Convention obligations. See Lawton
           Memo at 12–13. In particular, we emphasized that the “quotas on manu-

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           facture and importation of a substance required by the Convention could
           not be maintained under existing statutory authority were marihuana listed
           in Schedules III, IV, or V.” Id.; see also NORML II, 559 F.2d at 750–51
           (agreeing with the Lawton Memo that Schedule I or II was necessary to
           meet the United States’ Single Convention obligations). In reaching this
           conclusion, however, we did not address an issue that both HHS and the
           State Department now ask us to consider: whether under the CSA the
           United States can comply with its Single Convention obligations by
           placing marijuana in Schedule III while “adopting such additional regula-
           tions as are necessary for treaty compliance.” HHS Response at 13; State
           Response at 5–7; see also NORML II, 559 F.2d at 752–53 (recognizing
           the possibility of a similar regulatory approach but taking no position on
           its availability).
              We think this question is a close one. For the reasons that follow, how-
           ever, we believe that the Single Convention does not require DEA to
           place marijuana in Schedule I or Schedule II. Both the Single Convention
           and the CSA allow DEA to satisfy the United States’ international obliga-
           tions by supplementing scheduling decisions with regulatory action, at
           least in circumstances where there is a modest gap between the Conven-
           tion’s requirements and the specific controls that follow from a drug’s
           placement on a particular schedule. And consistent with this conclusion,
           we believe DEA may satisfy the United States’ Single Convention obliga-
           tions by placing marijuana in Schedule III while imposing additional
           controls pursuant to the CSA’s regulatory authorities.

                                                A.

              To begin, nothing in the Single Convention requires the United States
           to comply with its international obligations by placing a drug in a statuto-
           ry “schedule” that specifically authorizes all the necessary restrictions. To
           the contrary, the Single Convention states that parties will implement the
           Convention using both “laws and regulations.” Single Convention
           art. 18(1)(b) (emphasis added); see also id. art. 4 (referring to the use of
           “legislative and administrative measures” to carry out the Single Conven-
           tion (emphasis added)). The Single Convention thus appears to explicitly
           contemplate a scenario in which DEA decides to implement the United
           States’ obligations through a combination of scheduling and regulatory
           actions.

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              As a result, any limitation on satisfying the United States’ Single Con-
           vention obligations by supplementing a scheduling decision with regulato-
           ry action would have to come from domestic law. Nothing in the CSA,
           however, states that a drug must be placed into Schedule I or II, or any
           other particular schedule, to comply with the Single Convention. Nor does
           the CSA expressly foreclose DEA from satisfying the United States’
           international obligations with a combination of scheduling and regulatory
           actions. Rather, section 811(d)(1) directs the Attorney General to “con-
           trol[]” a drug “under the schedule [the Attorney General] deems most
           appropriate” (emphasis added)—language that signals a broad grant of
           discretion to the Attorney General (and thus DEA), see Rex Chainbelt,
           Inc. v. Volpe, 486 F.2d 757, 761 (7th Cir. 1973). To be sure, the very
           same language could be read to mean that DEA must select a schedule
           without resort to regulatory supplementation. See 21 U.S.C. § 802(5)
           (defining “control” as “to add a drug . . . to a schedule” (emphasis add-
           ed)). But we are reluctant to adopt a restrictive reading of such broad
           discretionary language, particularly when doing so would preclude DEA
           from relying on regulatory supplementation to close even relatively minor
           gaps between a schedule and the United States’ international obligations.
           Indeed, consistent with this reading, DEA has previously placed a drug
           with the psychoactive chemicals found in cannabis into Schedule V and
           then imposed additional controls through regulation to comply with the
           United States’ international obligations. See 83 Fed. Reg. 48,950, 48,952
           (Sept. 28, 2018). 8
              The CSA’s varied, and potentially conflicting, purposes further show
           why it is appropriate to read section 811(d)(1)’s broad grant of authority
           in this way. Consider a hypothetical case in which the Single Convention
           imposes obligations that DEA determines would, absent regulatory action,

               8 We have taken a similar interpretive approach to section 811(d)(1)’s language speci-

           fying that the Attorney General meet international obligations “without regard” to the
           findings and procedures otherwise required by sections 811(a) through (b) and 812(b).
           Rather than viewing this language as precluding the Attorney General from following
           ordinary scheduling practices when international obligations are involved, both our Office
           and the D.C. Circuit have understood it to allow the Attorney General to identify which
           schedules would satisfy the United States’ international obligations with respect to a
           particular drug, and then—if more than one schedule would do so—select which schedule
           to use through the section 811(a) through (b) and 812(b) procedures. Lawton Memo at 10;
           accord NORML II, 559 F.2d at 747.

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           require placement on Schedule I or Schedule II, but DEA has also deter-
           mined that the same drug’s abuse potential, medical usefulness, and health
           effects warrant placing the drug in Schedule III. See 21 U.S.C. §§ 801(1),
           (2), 812(b)(3). In such a circumstance, reading section 811(d)(1) to allow
           for consideration of regulatory action allows DEA to conclude that
           Schedule III is the “most appropriate” schedule by pairing that choice
           with regulatory actions that ensure compliance with the Single Conven-
           tion. This enables DEA to comply with the United States’ international
           obligations while furthering the CSA’s other purposes, thus fulfilling both
           sets of objectives.
              The broad regulatory authority provided by the CSA further suggests
           that DEA need not rely on scheduling decisions alone to comply with the
           Single Convention. The CSA authorizes the Attorney General (and thus
           DEA) both to “promulgate rules and regulations . . . relating to the regis-
           tration and control of the manufacture, distribution, and dispensing of
           controlled substances,” id. § 821, and to “promulgate and enforce any
           rules, regulations, and procedures which he may deem necessary and ap-
           propriate for the efficient execution of his functions,” id. § 871(b). Courts
           recognize that broad, discretionary language such as this conveys “exten-
           sive” regulatory authority, Volpe, 486 F.2d at 761; see also, e.g., Friends
           of Animals v. Bernhardt, 961 F.3d 1197, 1209 (D.C. Cir. 2020)—and, here,
           the language by its plain terms would seem to encompass regulatory ac-
           tions that DEA may take to satisfy Single Convention obligations not met
           by a drug’s schedule alone.
              Likewise, the CSA provides the Attorney General with a number of
           more specific regulatory authorities that DEA may use to enable compli-
           ance with particular Single Convention obligations, such as the CSA’s
           registration requirements. Subject to certain limited exceptions, section
           822(a) requires “[e]very person who manufactures or distributes” or
           “dispenses” a drug to “obtain annually a registration issued by the Attor-
           ney General in accordance with rules and regulations promulgated by
           him,” and section 822(b) further specifies that “[p]ersons registered by the
           Attorney General under this subchapter to manufacture, distribute, or
           dispense controlled substances . . . are authorized to possess, manufacture,
           distribute, or dispense such substances . . . to the extent authorized by
           their registration.” These provisions give DEA the authority to impose a
           number of controls on a particular drug through registration. Other CSA

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           provisions provide similar regulatory authority that could enable a drug
           on a schedule other than Schedule I or Schedule II to comply with the
           Single Convention. See, e.g., 21 U.S.C. §§ 823(e), (f), 827(e), 952(b)(2),
           953(e)(2), 958(c).
              Finally, past practice also supports our conclusion. Specifically, in ad-
           dition to the example recounted above of DEA imposing additional con-
           trols through regulation to comply with the United States’ international
           obligations, see 83 Fed. Reg. at 48,952, we understand that DEA previ-
           ously has relied on a combination of the Attorney General’s registration
           power and general regulatory authority to promulgate extensive safety and
           security regulations that govern manufacturers and distributors of con-
           trolled substances. See 21 C.F.R. §§ 1301.71–.77. And our Office has
           previously read the Attorney General’s authority to register manufacturers
           broadly to permit the imposition of certain controls that would enable
           compliance with the Single Convention. See Licensing Marijuana Culti-
           vation in Compliance with the Single Convention on Narcotic Drugs,
           42 Op. O.L.C. __, at *24 (June 6, 2018) (“Licensing Marijuana Cultiva-
           tion”). These prior regulatory actions indicate that the broad and varied
           provisions discussed above provide authority that may be used to impose
           additional controls to satisfy the United States’ international obligations.
              We recognize that reading the CSA as allowing DEA to use regulatory
           authorities to close gaps in our compliance with international obligations
           could be viewed as in tension with certain aspects of the CSA’s text and
           structure. As the Lawton Memo noted, several provisions of the CSA
           implementing controls required by the Single Convention draw a distinc-
           tion between Schedules I and II, on the one hand, and Schedules III
           through V, on the other, in a manner that can be read to suggest that
           Congress understood the United States would comply with its Convention
           obligations by placing drugs into Schedules I or II. Lawton Memo at 12;
           see, e.g., 21 U.S.C. §§ 823(a), (d), (e), 826(a), 842(b), 952(a), (b), 958(a),
           (c). Moreover, Congress designed the CSA to include five schedules, each
           with a distinct bundle of requirements and consequences, and allowing
           DEA to add or subtract controls would arguably have the practical effect
           of enabling DEA to create new schedules.
              These arguments have some force, but they do not carry the day. Since
           the CSA’s enactment, Congress has amended the Act in a manner that
           indicates the distinction between Schedules I and II and Schedules III

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           through V may not be as sharp as the argument above suggests. See infra
           Part IV.B (describing how amendments that added sections 952(b)(2),
           953(e)(2), and 827(e) enable the United States to meet certain Single
           Convention obligations while placing nonnarcotic drugs in Schedule III).
           In any event, right alongside the provisions that could impliedly suggest
           Schedules I and II will be used to comply with the United States’ Single
           Convention obligations are provisions that expressly grant the Attorney
           General (and thus DEA) both broad discretion to select the schedule
           “most appropriate” to satisfy the United States’ international obligations,
           see 21 U.S.C. § 811(d)(1), and broad regulatory authority, see, e.g., id.
           §§ 821, 871(b). And given the plain meaning of the CSA’s regulatory
           provisions, we do not believe that the CSA’s five-schedule structure can
           be reasonably understood to preclude DEA from taking at least some
           regulatory actions to comply with the United States’ international obliga-
           tions. Indeed, it would be particularly strange to view DEA as so con-
           strained in the context of treaty compliance, given section 811(d)(1)’s
           express grant of broad discretion to meet international obligations. We
           therefore believe that something more than such textual and structural
           inferences are needed to foreclose use of these broad and express statutory
           grants of regulatory authority to impose additional controls to meet the
           United States’ international obligations.
              Thus, while we take no position on the full extent to which DEA may
           use the CSA’s broad regulatory authority to impose additional controls to
           meet international obligations, we do not read the CSA as precluding
           DEA from ever satisfying the United States’ Single Convention obliga-
           tions by supplementing scheduling decisions with regulatory action.
           Rather, we believe that the CSA provides DEA with the discretion to
           decide, at least in some circumstances, that such a scheduling and regula-
           tory approach is the most appropriate way to strike a balance between the
           CSA’s varied—and potentially conflicting—purposes of curtailing the
           improper use of drugs with abuse potential, complying with the United
           States’ international obligations, and ensuring that medically useful drugs
           remain available for legitimate purposes. See 21 U.S.C. § 801(1), (2), (7).




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                                                 B.

              We next consider the specific question of whether DEA may comply
           with the United States’ obligations under the Single Convention by sup-
           plementing a decision to place marijuana in Schedule III with regulatory
           action.
              As a threshold matter, we understand that, if marijuana were placed on
           Schedule III, the gap that DEA would need to fill would be modest. To be
           sure, the Lawton Memo and the D.C. Circuit expressed concern that
           placing marijuana into Schedule III would create compliance concerns
           with respect to certain Single Convention requirements. In its submission
           to us, however, the State Department observed that, even if marijuana
           were listed in Schedule III, most of the United States’ Single Convention
           obligations would continue to be met. See State Response at 4–7. The
           State Department’s view reflects amendments to the CSA that postdate
           the Lawton Memo (from 1972) and the D.C. Circuit’s consideration of the
           issue (in 1977) and that specifically authorize certain controls required by
           the Single Convention to be placed on drugs outside Schedules I and II.
           Given these amendments, many of the gaps previously identified in Single
           Convention compliance would no longer exist if marijuana were placed in
           Schedule III.
              In particular, the Lawton Memo and D.C. Circuit both pointed to the
           manufacturing and import quotas required by Article 21 of the Single
           Convention as potential gaps, see Lawton Memo at 12–13, while the D.C.
           Circuit also identified the estimates and statistical reports required by
           Articles 19 and 20 and the import and export authorizations required by
           Article 31(4), see NORML II, 559 F.2d at 751 n.71. In 1978, however,
           Congress enacted 21 U.S.C. § 827(e), which specifically authorizes the
           Attorney General, among other things, to prescribe measures necessary to
           comply with the reporting requirements of Articles 19 and 20 of the
           Single Convention for drugs in any schedule, not just those in Schedules I
           and II. See Psychotropic Substances Act of 1978, Pub. L. No. 95-633,
           § 104, 92 Stat. 3768, 3772. In addition, in 1984 Congress amended the
           CSA provisions that implement the import and export permit requirements
           to specifically authorize the use of permits for a nonnarcotic Schedule III
           drug. See 21 U.S.C. §§ 952(b)(2), 953(e) (enacted by the Controlled
           Substances Penalties Amendments Act of 1984, Pub. L. No. 98-473,

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           §§ 521–522, 98 Stat. 1837, 2075–76). If marijuana, a nonnarcotic drug,
           were placed in Schedule III, we believe these statutory provisions would
           ensure compliance with both the import quota obligation of Article 21 and
           the import and export authorization requirements of Article 31(4).
              These subsequent enactments address most of the concerns the Lawton
           Memo and D.C. Circuit identified, with the exception of the manufactur-
           ing quota requirements of Article 21 of the Convention. But we believe
           this remaining gap is addressable using the CSA’s regulatory authorities.
           Several different authorities appear potentially applicable. A regulation
           imposing a manufacturing quota on a drug would fall easily within the
           broad language of section 821, as it would be “relat[ed] to the . . . control
           of the manufacture” of a drug. 21 U.S.C. § 821. DEA likewise could deem
           a regulation imposing a manufacturing quota as “necessary and appropri-
           ate for the efficient execution of” the CSA function of controlling drugs
           to meet the United States’ international obligations. Id. § 871(b); see id.
           § 811(d)(1). By their plain terms, the CSA’s registration authorities would
           also give DEA the authority to impose a manufacturing quota on a partic-
           ular drug through regulation: no person can manufacture a drug (including
           marijuana) without a registration issued by DEA, see id. § 822(a), and in
           that registration DEA can limit the “extent” to which any person is “au-
           thorized to . . . manufacture” marijuana under their registration, id.
           § 822(b). Section 823(e) provides yet another potential source of authority
           for imposing a manufacturing quota on a Schedule III drug, as DEA could
           conclude under section 823(e) that registrations to manufacture marijuana
           would be “inconsistent with the public interest” unless a quota consistent
           with Article 21 of the Single Convention was implemented to maintain
           “effective controls against diversion.” Id. § 823(e); see also Oregon, 546
           U.S. at 260 (identifying similar language in section 823(a) as providing
           regulatory authority). 9


              9 We note that section 823(a) provides that the Attorney General shall register manu-

           facturers of Schedule I and Schedule II drugs upon determining that “such registration is
           consistent with the public interest and with United States obligations under international
           treaties, conventions, or protocols in effect on May 1, 1971.” (Emphasis added.) In
           Licensing Marijuana Cultivation, we emphasized section 823(a)’s invocation of interna-
           tional obligations in concluding that DEA could promulgate regulatory controls necessary
           to meet certain of the United States’ obligations under the Single Convention. See 42 Op.
           O.L.C. __, at *24. Although section 823(e) does not include a similar requirement to

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               In concluding that the CSA provides numerous sources of authority that
           could be used to impose a manufacturing quota, we recognize that section
           826 expressly requires manufacturing quotas for drugs in Schedules I and
           II. 10 But that requirement should not be read as implicitly foreclosing the
           imposition of such quotas for drugs in Schedules III through V. As the
           D.C. Circuit has recognized, “a congressional mandate in one section and
           silence in another often suggests not a prohibition but simply a deci-
           sion . . . to leave the question to agency discretion.” Catawba County v.
           EPA, 571 F.3d 20, 36 (D.C. Cir. 2009) (per curiam) (quotation marks
           omitted).
               We therefore conclude that both the Single Convention and the CSA
           permit DEA to place marijuana in Schedule III while imposing additional
           controls, pursuant to the CSA’s regulatory authorities, to close a modest
           gap between the requirements of the Single Convention and the require-
           ments that follow from placement on Schedule III.

                                                      V.

              For the reasons set forth above, we conclude, first, that DEA’s current
           approach to determining whether a drug has a CAMU is impermissibly
           narrow, and that satisfying HHS’s two-part inquiry is sufficient to estab-
           lish that a drug has a CAMU even if the drug has not been approved by


           consider international obligations, it does require the Attorney General to consider
           whether registration is “inconsistent with the public interest,” 21 U.S.C. § 823(e), and
           complying with the United States’ international obligations is plainly in the public
           interest. Against this backdrop, we do not read Congress’s silence with respect to interna-
           tional obligations in section 823(e) as precluding DEA from relying on that section to
           comply with international obligations. See Catawba County v. EPA, 571 F.3d 20, 36 (D.C.
           Cir. 2009) (per curiam).
               10 Although the CSA refers to quotas on the “production” of drugs and the Single Con-

           vention to quotas on the “manufacture” of drugs, we understand the scope of these terms
           to largely overlap. The CSA defines “production” to include the “manufacture, planting,
           cultivation, growing, or harvesting of a controlled substance,” 21 U.S.C. § 802(22), and,
           in turn, defines “manufacture” to include the “production, preparation, propagation,
           compounding, or processing of a drug,” id. § 802(15). The Single Convention defines
           “manufacture” to mean “all processes . . . by which drugs may be obtained and includes
           refining as well as the transformation of drugs into other drugs,” Single Convention art.
           1(1)(n), but excludes “the separation of . . . cannabis and cannabis resin from the plants
           from which they are obtained,” id. art. 1(1)(t).

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           FDA and would not satisfy DEA’s five-part test. Second, we conclude
           that HHS’s overall CAMU recommendation is not binding on DEA and
           that the scientific and medical determinations that underlie HHS’s CAMU
           recommendation are binding, but only until the initiation of formal rule-
           making proceedings. Once DEA initiates formal rulemaking, HHS’s
           determinations no longer bind DEA, but DEA must continue to accord
           HHS’s scientific and medical determinations significant deference, and
           the CSA does not allow DEA to undertake a de novo assessment of HHS’s
           findings at any point in the process. Finally, we conclude that neither the
           Single Convention nor the CSA requires marijuana to be placed into
           Schedule I or II. Both the Single Convention and the CSA allow DEA to
           satisfy the United States’ international obligations by supplementing
           scheduling decisions with regulatory action, at least in circumstances
           where there is a modest gap between the Convention’s requirements and
           the specific restrictions that follow from a drug’s placement on a particu-
           lar schedule. As a result, DEA may satisfy the United States’ Single
           Convention obligations by placing marijuana in Schedule III while impos-
           ing additional restrictions pursuant to the CSA’s regulatory authorities.

                                            CHRISTOPHER C. FONZONE
                                             Assistant Attorney General
                                              Office of Legal Counsel




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                                                     required by another Federal law or                         (i) Such reliance is reasonable under              DEPARTMENT OF JUSTICE
                                                     regulation or Federal directive issued in               the circumstances;
                                                     connection with the applicable list. The                                                                      Drug Enforcement Administration
                                                                                                                (ii) The other financial institution is
                                                     procedures also must require the                        subject to a rule implementing 31 U.S.C.
                                                     investment adviser to follow all Federal                                                                      21 CFR Part 1308
                                                                                                             5318(h) and regulated by a Federal
                                                     directives issued in connection with                                                                          [Docket No. DEA–1362; A.G. Order No.
                                                                                                             functional regulator; and
                                                     such lists.                                                                                                   5931–2024]
                                                       (5)(i) Customer notice. The CIP must                     (iii) The other financial institution
                                                     include procedures for providing                        enters into a contract with the                       Schedules of Controlled Substances:
                                                     customers with adequate notice that the                 investment adviser requiring it to certify            Rescheduling of Marijuana
                                                     investment adviser is requesting                        annually to the investment adviser that
                                                                                                                                                                   AGENCY: Drug Enforcement
                                                     information to verify their identities.                 it has implemented its anti-money
                                                       (ii) Adequate notice. Notice is                                                                             Administration, Department of Justice.
                                                                                                             laundering/countering the financing of
                                                     adequate if the investment adviser                                                                            ACTION: Notice of proposed rulemaking.
                                                                                                             terrorism program, and that it will
                                                     generally describes the identification                  perform (or its agent will perform)                   SUMMARY: The Department of Justice
                                                     requirements of this section and                        specified requirements of the                         (‘‘DOJ’’) proposes to transfer marijuana
                                                     provides such notice in a manner                        investment adviser’s CIP.                             from schedule I of the Controlled
                                                     reasonably designed to ensure that a                                                                          Substances Act (‘‘CSA’’) to schedule III
                                                     prospective customer is able to view the                   (b) Exemptions. The Commission,
                                                                                                             with the concurrence of the Secretary,                of the CSA, consistent with the view of
                                                     notice, or is otherwise given notice,                                                                         the Department of Health and Human
                                                     before opening an account. For example,                 may by order or regulation exempt any
                                                                                                                                                                   Services (‘‘HHS’’) that marijuana has a
                                                     depending upon the manner in which                      investment adviser or any type of
                                                                                                                                                                   currently accepted medical use as well
                                                     the account is opened, an investment                    account from the requirements of this
                                                                                                                                                                   as HHS’s views about marijuana’s abuse
                                                     adviser may post a notice on its website,               section. The Secretary, with the                      potential and level of physical or
                                                     include the notice in its account                       concurrence of the Commission, may                    psychological dependence. The CSA
                                                     applications, or use any other form of                  exempt any investment adviser or any                  requires that such actions be made
                                                     oral or written notice.                                 type of account from the requirements                 through formal rulemaking on the
                                                       (iii) Sample notice. If appropriate, an               of this section. In issuing such                      record after opportunity for a hearing. If
                                                     investment adviser may use the                          exemptions, the Commission and the                    the transfer to schedule III is finalized,
                                                     following sample language to provide                    Secretary shall consider whether the                  the regulatory controls applicable to
                                                     notice to its customers:                                exemption is consistent with the                      schedule III controlled substances
                                                     IMPORTANT INFORMATION ABOUT                             purposes of the Bank Secrecy Act, and                 would apply, as appropriate, along with
                                                     PROCEDURES FOR OPENING A NEW                            in the public interest, and may consider              existing marijuana-specific
                                                     ACCOUNT                                                 other necessary and appropriate factors.              requirements and any additional
                                                        To help the government fight the funding                                                                   controls that might be implemented,
                                                     of terrorism and money laundering activities,
                                                                                                                (c) Effective date. The effective date is
                                                                                                             [DATE 60 DAYS AFTER DATE OF                           including those that might be
                                                     Federal law requires all financial institutions                                                               implemented to meet U.S. treaty
                                                     to obtain, verify, and record information that          PUBLICATION OF THE FINAL RULE
                                                                                                                                                                   obligations. If marijuana is transferred
                                                     identifies each natural or legal person who             IN THE FEDERAL REGISTER]. An
                                                     opens an account, which may be an                                                                             into schedule III, the manufacture,
                                                                                                             investment adviser must develop and
                                                     individual or a person other than an                                                                          distribution, dispensing, and possession
                                                                                                             implement a CIP that complies with the                of marijuana would remain subject to
                                                     individual (such as a corporation,
                                                     partnership, or trust).
                                                                                                             requirements of this section on or before             the applicable criminal prohibitions of
                                                        What this means for you: When you open               [DATE 6 MONTHS AFTER EFFECTIVE                        the CSA. Any drugs containing a
                                                     an account, we will ask for the name,                   DATE OF FINAL RULE].                                  substance within the CSA’s definition of
                                                     address, date of birth or formation, tax                   (d) Other requirements unaffected.                 ‘‘marijuana’’ would also remain subject
                                                     identification number, and other information                                                                  to the applicable prohibitions in the
                                                                                                             Nothing in this section relieves an
                                                     pertaining to the accountholder. This
                                                     information will help us verify the identity            investment adviser of its obligation to               Federal Food, Drug, and Cosmetic Act
                                                     of the accountholder. We may also ask to see            comply with any other provision of this               (‘‘FDCA’’). DOJ is soliciting comments
                                                     identifying documents pertaining to the                 chapter, including provisions                         on this proposal.
                                                     accountholder, such as a driver’s license (if           concerning information that must be                   DATES: Comments must be submitted
                                                     you are an individual) or a business license,           obtained, verified, or maintained in                  electronically or postmarked on or
                                                     articles of incorporation, or trust instrument          connection with any account or                        before July 22, 2024. Interested persons
                                                     (if the accountholder is not an individual).                                                                  may file a request for a hearing or
                                                                                                             transaction.
                                                        (6) Reliance on another financial                                                                          waiver of an opportunity for a hearing
                                                                                                               Dated: May 10, 2024.
                                                     institution. The CIP may include                                                                              or to participate in a hearing pursuant
                                                     procedures specifying when the                            By the Financial Crimes Enforcement                 to 21 CFR 1308.44 and in accordance
                                                     investment adviser will rely on the                     Network.                                              with 21 CFR 1316.47 or 1316.49, as
                                                     performance by another financial                        Andrea M. Gacki,                                      applicable, which must be received or
                                                     institution (including an affiliate) of any             Director.                                             postmarked on or before June 20, 2024.
ddrumheller on DSK120RN23PROD with PROPOSALS1




                                                     procedures of the investment adviser’s                                                                        ADDRESSES: To ensure proper handling
                                                     CIP with respect to any customer of the                   Dated: May 13, 2024.
                                                                                                                                                                   of comments, please reference ‘‘Docket
                                                     investment adviser that is opening, or                    By the Securities and Exchange                      No. DEA–1362’’ on all correspondence,
                                                     has opened, an account or has                           Commission.                                           including any attachments.
                                                     established an account or similar                       Vanessa A. Countryman,                                   • Electronic comments: DOJ
                                                     business relationship with the other                    Secretary.                                            encourages that all comments be
                                                     financial institution to provide or                     [FR Doc. 2024–10738 Filed 5–17–24; 11:15 am]          submitted through the Federal
                                                     engage in services, dealings, or other                  BILLING CODE 4810–02–P
                                                                                                                                                                   eRulemaking Portal, which provides the
                                                     financial transactions, provided that:                                                                        ability to type short comments directly


                                                VerDate Sep<11>2014   16:01 May 20, 2024   Jkt 262001   PO 00000   Frm 00030   Fmt 4702   Sfmt 4702   E:\FR\FM\21MYP1.SGM   21MYP1




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                                                     into the comment field on the web page                  matter relating to the scheduling of                  proceedings are conducted pursuant to
                                                     or to attach a file for lengthier                       marijuana.                                            the Administrative Procedure Act
                                                     comments. Please go to https://                                                                               (‘‘APA’’), 5 U.S.C. 551–559. See 21 CFR
                                                                                                             I. Posting of Public Comments
                                                     www.regulations.gov and follow the                                                                            1308.41 through 1308.45; id part 1316,
                                                     online instructions at that site for                       Please note that all comments                      subpart D. Interested persons, as defined
                                                     submitting comments. Upon completion                    received in response to this docket are               in 21 CFR 1300.01(b), may file requests
                                                     of your submission, you will receive a                  considered part of the public record.                 for a hearing in conformity with the
                                                     Comment Tracking Number for your                        DOJ will make comments available for                  requirements of 21 CFR 1308.44(a) and
                                                     comment. Please be aware that                           public inspection online at https://                  1316.47(a), and such requests must:
                                                     submitted comments are not                              www.regulations.gov. Such information                    (1) state with particularity the interest
                                                     instantaneously available for public                    includes personal or business identifiers             of the person in the proceeding;
                                                     view on https://www.regulations.gov. If                 (such as name, address, State or Federal                 (2) state with particularity the
                                                     you have received a Comment Tracking                    identifiers, etc.) voluntarily submitted              objections or issues concerning which
                                                     Number, your comment has been                           by the commenter. Generally, all                      the person desires to be heard; and
                                                     successfully submitted and there is no                  information voluntarily submitted by                     (3) state briefly the position of the
                                                     need to resubmit the same comment.                      the commenter, unless clearly marked                  person regarding the objections or
                                                     Commenters should be aware that the                     as ‘‘Confidential Information’’ in the                issues.
                                                                                                             method described below, will be                          All requests for a hearing and waivers
                                                     electronic Federal Docket Management
                                                                                                             publicly posted. Comments may be                      of an opportunity for a hearing or
                                                     System will not accept comments after
                                                                                                             submitted anonymously. The Freedom                    participation, together with a written
                                                     11:59 p.m. Eastern Time on the last day
                                                                                                             of Information Act, 5 U.S.C. 552, applies             statement of position on the matters of
                                                     of the comment period.
                                                                                                             to all comments received.                             fact and law involved in such hearing,
                                                       • Paper comments: Paper comments                         Commenters submitting comments                     must be sent to DEA using the address
                                                     that duplicate electronic submissions                   that include personal identifying                     information provided above.
                                                     are not necessary and are discouraged.                  information (‘‘PII’’) or confidential or                 The decision whether an in-person
                                                     Should you wish to mail a paper                         proprietary business information that                 hearing will be needed to address such
                                                     comment in lieu of submitting a                         the commenter does not want made                      matters of fact and law in the
                                                     comment electronically, it should be                    publicly available should submit two                  rulemaking will be made by the
                                                     sent via regular or express mail to: Drug               copies of the comment. One copy must                  Administrator of DEA. Upon the
                                                     Enforcement Administration, Attn: DEA                   be marked ‘‘CONTAINS                                  Administrator’s determination to grant
                                                     Federal Register Representative/DPW,                    CONFIDENTIAL INFORMATION’’ and                        an in-person hearing, DEA will publish
                                                     8701 Morrissette Drive, Springfield,                    should clearly identify all PII or                    a notice of hearing on the proposed
                                                     Virginia 22152.                                         business information the commenter                    rulemaking in the Federal Register. See
                                                       • Hearing requests: All requests for a                does not want to be made publicly                     21 CFR 1308.44(b), 1316.53.
                                                     hearing and waivers, together with a                    available, including any supplemental                    If the Administrator determines to
                                                     written statement of position on the                    materials. DOJ will review this copy,                 grant an in-person hearing to address
                                                     matters of fact and law asserted in the                 including the claimed PII and                         such matters of fact and law in this
                                                     hearing, must be filed with DEA. Such                   confidential business information, in its             rulemaking, the Administrator will then
                                                     requests must be sent to: Drug                          consideration of comments. The second                 designate an Administrative Law Judge
                                                     Enforcement Administration, Attn:                       copy should be marked ‘‘TO BE                         (‘‘ALJ’’) to preside over the hearing. The
                                                     Administrator, 8701 Morrissette Drive,                  PUBLICLY POSTED’’ and must have all                   ALJ’s functions shall commence upon
                                                     Springfield, Virginia 22152. For                        claimed confidential PII and business                 designation, as provided in 21 CFR
                                                     informational purposes, a courtesy copy                 information already redacted. DOJ will                1316.52. The ALJ will have all powers
                                                     of requests for hearing and waivers                     post only the version of the comment                  necessary to conduct a fair hearing, to
                                                     should also be sent to: (1) Drug                        with redactions on https://                           take all necessary action to avoid delay,
                                                     Enforcement Administration, Attn:                       www.regulations.gov for public                        and to maintain order. Id. The ALJ’s
                                                     Hearing Clerk/OALJ, 8701 Morrissette                    inspection.                                           authorities include the power to hold
                                                     Drive, Springfield, Virginia 22152; and                    An electronic copy of this document                conferences to simplify or determine the
                                                     (2) Drug Enforcement Administration,                    and supplemental information to this                  issues in the hearing or to consider
                                                     Attn: DEA Federal Register                              proposed rule are available at https://               other matters that may aid in the
                                                     Representative/DPW, 8701 Morrissette                    www.regulations.gov for easy reference.               expeditious disposition of the hearing;
                                                     Drive, Springfield, Virginia 22152.                     DOJ specifically solicits written                     require parties to state their position in
                                                                                                             comments regarding the economic                       writing; sign and issue subpoenas to
                                                     FOR FURTHER INFORMATION CONTACT:
                                                                                                             analysis of the impact of these proposed              compel the production of documents
                                                     Drug & Chemical Evaluation Section,
                                                                                                             changes. DOJ requests that commenters                 and materials to the extent necessary to
                                                     Diversion Control Division, Drug
                                                                                                             provide detailed descriptions in their                conduct the hearing; examine witnesses
                                                     Enforcement Administration;
                                                                                                             comments of any expected economic                     and direct witnesses to testify; receive,
                                                     Telephone: (571) 362–3249; Email:
                                                                                                             impacts, especially to small entities.                rule on, exclude, or limit evidence; rule
                                                     nprm@dea.gov.
                                                                                                             Commenters should provide empirical                   on procedural items; and take any
                                                     SUPPLEMENTARY INFORMATION: To be                        data to illustrate the nature and scope of            action permitted by the presiding officer
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                                                     considered as part of this rulemaking,                  such impact.                                          under DEA’s hearing procedures and the
                                                     comments and requests for a hearing                                                                           APA. Id.
                                                     must be submitted in response to this                   II. Request for Hearing, Notice of                       Comments on or objections to the
                                                     proposed rule within the timeframe                      Appearance at, or Waiver of                           proposed rule submitted under 21 CFR
                                                     specified above, regardless of whether                  Participation in Hearing                              1308.43(g) will be offered as evidence at
                                                     the comment, hearing request, or other                     Pursuant to 21 U.S.C. 811(a), this                 the hearing, but the presiding officer
                                                     information was previously submitted                    scheduling action is a formal                         shall admit only evidence that is
                                                     to the Drug Enforcement Administration                  rulemaking ‘‘on the record after                      competent, relevant, material, and not
                                                     (‘‘DEA’’) in connection with any prior                  opportunity for a hearing.’’ Such                     unduly repetitive. 21 CFR 1316.59(a).


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                                                        Any interested person may file a                     (Apr. 11, 2024) (‘‘OLC Op.’’).1 After the                obligations, without regard to the
                                                     waiver of opportunity for a hearing or to               issuance of a notice of rulemaking                       findings’’ required by 21 U.S.C. 811(a)
                                                     participate in a hearing in conformity                  proceedings, HHS’s scientific and                        or 812(b), ‘‘and without regard to the
                                                     with the requirements of 21 CFR                         medical determinations are accorded                      procedures’’ prescribed by 21 U.S.C.
                                                     1308.44(c), together with a written                     ‘‘significant deference’’ through the rest               811(a) and (b). Marijuana is a drug
                                                     statement of position on the matters of                 of the rulemaking process.2 OLC Op. at                   covered by the Single Convention. See
                                                     fact and law involved in any hearing. 21                *26.                                                     Single Convention art. 1(1)(b); OLC Op.
                                                     CFR 1316.49. Such statement, if                            Under the CSA, when recommending                      at *26 & n.7.
                                                     admissible, will be included in the                     or determining that a drug should be                        OLC and the United States Court of
                                                     record and considered as described in                   controlled (and if so, under which                       Appeals for the D.C. Circuit have
                                                     21 CFR 1308.44(c).                                      schedule), the Secretary and the                         explained that section 811(d)(1) does
                                                        In accordance with 21 U.S.C. 811 and                 Attorney General must consider eight                     not supersede the scheduling
                                                     812, the purpose of a hearing would be                  factors set forth in 21 U.S.C. 811(c). The               procedures set forth in sections 811(a)
                                                     to ‘‘receiv[e] factual evidence and expert              eight factors are:                                       through (b) and 812(b), including the
                                                     opinion regarding’’ whether marijuana                      1. The drug’s actual or relative                      requirement to consider the eight factors
                                                     should be transferred to schedule III of                potential for abuse;                                     set forth in section 811(c). Instead,
                                                     the list of controlled substances. 21 CFR                  2. Scientific evidence of its                         section 811(d)(1) allows the Attorney
                                                     1308.42. Concurrent with this                           pharmacological effect, if known;                        General to ‘‘identify which schedules
                                                     rulemaking, DEA will consider the                          3. The state of current scientific                    would satisfy the United States’
                                                     marijuana-specific controls that would                  knowledge regarding the drug or other                    international obligations with respect to
                                                     be necessary to comply with relevant                    substance;                                               a particular drug, and then—if more
                                                     treaty obligations in the event that, after                4. Its history and current pattern of                 than one schedule would do so—select
                                                     the hearing, a final order reschedules                  abuse;                                                   which schedule to use through the
                                                     marijuana, and, to the extent such                         5. The scope, duration, and                           section 811(a) through (b) and 812(b)
                                                     controls are needed if marijuana is                     significance of abuse;                                   procedures.’’ OLC Op. at *29 n.8; accord
                                                                                                                6. What, if any, risk there is to the                 Nat’l Org. for Reform of Marijuana Laws
                                                     rescheduled, will seek to finalize any
                                                                                                             public health;                                           (NORML II) v. DEA, 559 F.2d 735, 747
                                                     such regulations as soon as possible.
                                                                                                                7. Its psychic or physiological                       (D.C. Cir. 1977). HHS performed the
                                                        All requests for hearing and waivers
                                                                                                             dependence liability; and                                eight-factor analysis. See Memorandum
                                                     of an opportunity for a hearing or                         8. Whether the substance is an
                                                     participation must be sent to DEA using                                                                          for DEA, from HHS, Re: Basis for the
                                                                                                             immediate precursor of a substance                       Recommendation to Reschedule
                                                     the address information above, on or                    already controlled.
                                                     before the date specified above.                                                                                 Marijuana to Schedule III of the
                                                                                                             21 U.S.C. 811(c); see also id. 811(b)                    Controlled Substances Act (‘‘HHS Basis
                                                     III. Legal Authority                                    (specifying how HHS should consider                      for Rec.’’). As noted above, HHS’s
                                                                                                             each of the eight factors).                              scientific and medical determinations
                                                        Under the CSA, 21 U.S.C. 801 et seq.,                   The United States is a party to the
                                                     the Attorney General shall, before                                                                               are binding on DOJ until an NPRM is
                                                                                                             1961 United Nations Single Convention                    published, and, in addition, DOJ must
                                                     initiating proceedings to control,                      on Narcotic Drugs, March 30, 1961, 18
                                                     decontrol, or transfer between schedules                                                                         accord ‘‘significant deference’’ to HHS’s
                                                                                                             U.S.T. 1407, 520 U.N.T.S. 151 (‘‘Single                  scientific and medical determinations
                                                     a drug or other substance, request from                 Convention’’), as amended by the 1972
                                                     the Secretary of HHS a scientific and                                                                            throughout the rulemaking process. OLC
                                                                                                             Protocol, March 25, 1972, 26 U.S.T.                      Op. at *25–26.
                                                     medical evaluation, and the Secretary’s                 1439, 976 U.N.T.S. 3. Under 21 U.S.C.                       Once the determination is made that
                                                     recommendations, as to whether such                     811(d)(1), if control of a substance is                  a particular drug or substance must be
                                                     drug or other substance should be so                    required ‘‘by United States obligations                  controlled under the CSA, the Attorney
                                                     controlled or removed as a controlled                   under international treaties,                            General must determine the level of
                                                     substance. 21 U.S.C. 811(b). The                        conventions, or protocols in effect on                   control over the drug or substance under
                                                     recommendations of the Secretary shall                  October 27, 1970,’’ the Attorney General                 the CSA. See 21 U.S.C. 811(a), (b). The
                                                     include recommendations with respect                    must issue an order controlling such                     CSA divides controlled substances into
                                                     to the appropriate schedule, if any,                    drug ‘‘under the schedule he deems                       five levels of control, or ‘‘schedules,’’
                                                     under which such drug or other                          most appropriate to carry out such                       based on (1) a drug’s potential for abuse,
                                                     substance should be listed. Id.                                                                                  (2) whether the drug has a currently
                                                        HHS recommended in August 2023                          1 OLC’s opinion is available in its entirety under
                                                                                                                                                                      accepted medical use in treatment in the
                                                     that marijuana be rescheduled to                        ‘‘Supporting and Related Material’’ of the public        United States (‘‘CAMU’’), and (3)
                                                     schedule III. See Letter for Anne                       docket for this proposed rule at https://
                                                                                                                                                                      whether there is a lack of accepted
                                                     Milgram, Administrator, DEA, from                       www.regulations.gov under docket number DEA–
                                                                                                             1362.                                                    safety for use of the drug under medical
                                                     Rachel L. Levine, M.D., Assistant                          2 The CSA’s reliance on formal rulemaking for         supervision or the level of psychological
                                                     Secretary for Health, HHS (Aug. 29,                     scheduling decisions indicates that HHS’s                or physical dependence that could
                                                     2023) (‘‘August 2023 Letter’’). The                     determinations do not bind DOJ for the entirety of       result from abuse of the drug. See id.
                                                     Attorney General then sought the legal                  the rulemaking process, because outside
                                                                                                             participants may submit additional scientific and        812(b). Schedule I drugs have a high
                                                     advice of the Office of Legal Counsel                   medical evidence during the rulemaking that DOJ          potential for abuse, no CAMU, and a
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                                                     (‘‘OLC’’) at DOJ on questions relevant to               would need to consider. OLC Op. at *25. However,         lack of accepted safety for use under
                                                     this rulemaking proceeding. Among                       DOJ ‘‘may not simply cast aside HHS’s scientific         medical supervision. Id. 812(b)(1).
                                                     other conclusions, OLC concluded that                   and medical recommendations once it initiates
                                                                                                             rulemaking proceedings by issuing an NPRM,’’
                                                                                                                                                                      Schedule II drugs also have a high
                                                     ‘‘HHS’s scientific and medical                          since ‘‘[t]he categorical use of the word ‘binding’ in   potential for abuse but have a CAMU (or
                                                     determinations must be binding until                    section 811(b) suggests that Congress intended           a CAMU with ‘‘severe restrictions’’), and
                                                     issuance of a notice of proposed                        HHS’s scientific and medical views to at least be a      abuse of the drug may lead to severe
                                                     rulemaking [(‘NPRM’)].’’ Questions                      very significant input in the scheduling process,’’
                                                                                                             and the legislative history of the CSA bolsters that
                                                                                                                                                                      psychological or physical dependence.
                                                     Related to the Potential Rescheduling of                conclusion. Id. at 25–26 (citing H.R. Rep. No. 91–       Id. 812(b)(2). Schedule III drugs,
                                                     Marijuana, 45 Op. O.L.C. ll, at *25                     1444, at 22–23 (1970)).                                  meanwhile, have a lower potential for


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                                                     abuse when compared to drugs in                           Remove Marihuana From Control or in                    sativa L., whether growing or not; the
                                                     schedules I and II, have a CAMU, and                      the Alternative To Control Marihuana in                seeds thereof; the resin extracted from
                                                     their abuse may lead to moderate or low                   Schedule V of the Controlled                           any part of such plant; and every
                                                     physical dependence or high                               Substances Act, 37 FR 18097 (Sept. 7,                  compound, manufacture, salt,
                                                     psychological dependence.3 21 U.S.C.                      1972); Notice of Denial of Petition, 66                derivative, mixture, or preparation of
                                                     812(b)(3). The initial schedules of                       FR 20038 (Apr. 18, 2001); Denial of                    such plant, its seeds or resin.’’ 21 U.S.C.
                                                     controlled substances established by                      Petition To Initiate Proceedings To                    802(16)(A). In 2018, Congress amended
                                                     Congress are found at 21 U.S.C. 812(c),                   Reschedule Marijuana, 76 FR 40552                      the CSA to remove ‘‘(i) hemp, as defined
                                                     and the current list of all scheduled                     (July 8, 2011).                                        in section [1639o of title 7 of the U.S.
                                                     substances is published at 21 CFR part                       DEA and HHS last examined the issue                 Code]’’ from the definition of
                                                     1308.                                                     of whether to reschedule marijuana                     marijuana.6 Agricultural Improvement
                                                        Pursuant to 21 U.S.C. 811(a)(1), the                   eight years ago, in 2016, when DEA                     Act of 2018, Public Law 115–334, sec.
                                                     Attorney General may, by rule, add to                     denied two petitions to reschedule                     12619, 132 Stat. 4490, 5018. Section
                                                     such a schedule or transfer between                       marijuana.5 At the time, HHS concurred                 1639o(1) of title 7 in turn defines hemp
                                                     such schedules any drug or other                          that marijuana should remain a                         as ‘‘the plant Cannabis sativa L. and any
                                                     substance if he (A) finds that such drug                  schedule I drug because it met the three               part of that plant, including the seeds
                                                     or other substance has a potential for                    criteria for placement in schedule I. 81               thereof and all derivatives, extracts,
                                                     abuse, and (B) makes with respect to                      FR 53706–07. In accordance with the                    cannabinoids, isomers, acids, salts, and
                                                     such drug or other substance the                          requirements for placement in schedule                 salts of isomers, whether growing or not,
                                                     findings prescribed by 21 U.S.C. 812(b)                   I, HHS found that: (1) marijuana had a                 with a delta-9-tetrahydrocannabinol
                                                     for the schedule in which such drug is                    high potential for abuse; (2) it did not               concentration of not more than 0.3
                                                     to be placed. The CSA provides that                       have a CAMU; and (3) there was a lack                  percent on a dry weight basis.’’ Delta-9-
                                                     proceedings for the issuance,                             of accepted safety for use of marijuana                tetrahydrocannabinol (‘‘D9-THC’’) is the
                                                     amendment, or repeal of the scheduling                    under medical supervision. Id. As                      major psychoactive intoxicating
                                                     of any drug or other substance may be                     discussed in detail below, in 2023, HHS                cannabinoid in marijuana. See HHS
                                                     initiated by the Attorney General on his                  conducted a scientific and medical                     Basis for Rec. at 10. This exclusion of
                                                     own motion, at the request of the                         evaluation of marijuana based on a                     hemp from the definition of marijuana
                                                     Secretary, or on the petition of any                      comprehensive review of available data                 had the effect of removing many
                                                     interested party. Id.                                     at that time and recommended that                      products containing predominantly
                                                                                                               marijuana be transferred to schedule III.              cannabidiol (‘‘CBD’’) derived from hemp
                                                     IV. Background                                               Since 1996, 38 States, the District of              and containing no more than 0.3 percent
                                                       When Congress enacted the CSA in                        Columbia, and 4 Federal Territories                    D9-THC on a dry weight basis from
                                                     1970, it placed marijuana in schedule I.                  have legalized the use of medical                      control as marijuana.
                                                     Comprehensive Drug Abuse Prevention                       marijuana. HHS Basis for Rec. at 30;                      On October 6, 2022, President Biden
                                                     and Control Act of 1970, Public Law 91–                   OLC Op at *9. These laws typically                     requested that the Attorney General and
                                                     513, tit. II, sec. 202(c), 84 Stat. 1236,                 allow the cultivation, sale, and use of                the Secretary of HHS ‘‘initiate the
                                                     1249 (1970); 21 U.S.C. 812(c).4 The                       marijuana by patients (or their                        administrative process to review
                                                     Attorney General is authorized to                         caregivers) whose health care                          expeditiously how marijuana is
                                                     amend this initial placement. 21 U.S.C.                   practitioners have recommended that                    scheduled under federal law.’’ 7 HHS
                                                     812(c); see also id. 811, 812(b). Other                   they use marijuana to treat certain                    thereafter undertook a scientific and
                                                     schedule I substances include heroin,                     health conditions. See, e.g., Ohio Rev.                medical evaluation of marijuana as
                                                     lysergic acid diethylamide (commonly                      Code secs. 3796.01(A)(6)(a)–(v),                       defined under the CSA in accordance
                                                     known as LSD), and 3,4-methylene                          3796.01(A); N.Y. Cannabis Law secs.                    with the President’s request.
                                                     dioxymethamphetamine (ecstasy). See                       3(18), 30, 31; N.M. Stat. secs. 26–2B–                    In a letter dated August 29, 2023,
                                                     21 CFR 1308.11. Drugs controlled under                    3(F)(1)–(23), 26–2B–3(N), 26–2B–4(A).                  Admiral Rachel L. Levine, M.D., HHS’s
                                                     schedule II include cocaine,                              Further, beginning in Fiscal Year 2015,                Assistant Secretary for Health,
                                                     methamphetamine, methadone,                               Congress has adopted an appropriations                 recommended to the Administrator of
                                                     oxycodone, and fentanyl. Id. § 1308.12.                   rider every year that prohibits DOJ from               DEA that marijuana be controlled in
                                                     Drugs controlled under schedule III                       using funds to prevent certain States,                 schedule III of the CSA. August 2023
                                                     include products containing less than                     Territories, and the District of Columbia              Letter. HHS found that marijuana has a
                                                     90 milligrams of codeine per dosage                       from implementing their own laws with                  potential for abuse less than the drugs
                                                     unit, ketamine, and anabolic steroids.                    respect to medical marijuana. E.g.,                    or other substances in schedules I and
                                                     Id. § 1308.13. Petitioners have requested                 Consolidated Appropriations Act, 2024,                 II; that marijuana has a CAMU; and that
                                                     that marijuana be rescheduled several                     Public Law 118–42, sec. 531, 138 Stat.                 the abuse of marijuana may lead to
                                                     times over the years. See, e.g., Schedule                 25; Consolidated Appropriations Act,                   moderate or low physical dependence
                                                     of Controlled Substances: Petition To                     2023, Public Law 117–328, sec. 531, 136                or high psychological dependence. HHS
                                                                                                               Stat. 4459, 4561 (2022); see also Cong.
                                                       3 Schedule IV includes drugs that have a low
                                                                                                               Research Serv., R44782, The Evolution                     6 Marijuana under the CSA also does not include
                                                     potential for abuse relative to those in schedule III,
                                                     that have a CAMU, and for which abuse may lead
                                                                                                               of Marijuana as a Controlled Substance                 ‘‘the mature stalks of [the cannabis] plant, fiber
                                                     to limited physical or psychological dependence           and the Federal-State Policy Gap 26 &                  produced from such stalks, oil or cake made from
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                                                     relative to those in schedule III. 21 U.S.C. 812(b)(4).   n.159 (updated Apr. 7, 2022) (collecting               the seeds of such plant, any other compound,
                                                     Schedule V includes drugs that have a low potential                                                              manufacture, salt, derivative, mixture, or
                                                                                                               additional appropriations riders).                     preparation of such mature stalks (except the resin
                                                     for abuse relative to those in schedule IV, that have        Marijuana is generally defined by
                                                     a CAMU, and for which abuse may lead to limited                                                                  extracted therefrom), fiber, oil, or cake, or the
                                                     physical or psychological dependence relative to          statute to mean ‘‘the plant Cannabis                   sterilized seed of [the cannabis] plant which is
                                                     those in schedule IV. Id. 812(b)(5).                                                                             incapable of germination.’’ 21 U.S.C. 802(16)(B)(ii).
                                                       4 The CSA refers to the drug as ‘‘marijuana’’ and         5 Denial of Petition To Initiate Proceedings To         7 The White House, Statement from President

                                                     ‘‘marihuana’’ interchangeably. See, e.g., 21 U.S.C.       Reschedule Marijuana, 81 FR 53688 (Aug. 12,            Biden on Marijuana Reform (Oct. 6, 2022), https://
                                                     802(16)(A), 812(c). As used in this NPRM,                 2016); Denial of Petition To Initiate Proceedings To   www.whitehouse.gov/briefing-room/statements-
                                                     ‘‘marijuana’’ means the term defined at 21 U.S.C.         Reschedule Marijuana, 81 FR 53767 (Aug. 12,            releases/2022/10/06/statement-from-president-
                                                     802(16).                                                  2016).                                                 biden-on-marijuana-reform/.



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                                                     Basis for Rec. at 62–65. These findings                 medical determinations as binding. See                concluded that although abuse of
                                                     correspond to the criteria for placement                OLC Op. at *4, *25. HHS’s scientific and              marijuana produces clear evidence of
                                                     of a substance in schedule III. See 21                  medical determinations are included                   harmful consequences, these appear to
                                                     U.S.C. 812(b)(3). DEA has not yet made                  below, as well as certain information                 be relatively less common and less
                                                     a determination as to its views of the                  from DEA.                                             severe than the consequences of some
                                                     appropriate schedule for marijuana.                                                                           other comparator substances. HHS Basis
                                                                                                             1. Marijuana’s Actual or Relative
                                                                                                                                                                   for Rec. at 7–8.
                                                     V. Proposal To Reschedule Marijuana                     Potential for Abuse                                      Importantly, these comparisons of the
                                                        The CSA vests the Attorney General                      The first factor that DOJ and HHS                  prevalence of adverse outcomes were
                                                     with the authority to schedule,                         must consider under 21 U.S.C. 811(c) is               from descriptive analyses only,
                                                     reschedule, or decontrol drugs. 21                      the actual or relative potential for abuse            following the established practice in
                                                     U.S.C. 811(a). The Attorney General has                 of marijuana. The term ‘‘abuse’’ is not               previous eight-factor analyses. Thus,
                                                     delegated that authority to the DEA                     defined in the CSA. However, consistent               differences in outcome frequency and
                                                     Administrator, see 28 CFR 0.100, but                    with the legislative history of the CSA,              severity, and the ranked order across
                                                     also retains the authority to schedule                  DEA and HHS have typically weighed                    comparators, may be attributable in part
                                                     drugs under the CSA in the first                        the following factors in determining                  to underlying differences in the
                                                     instance, see 28 U.S.C. 509, 510. The                   whether a particular drug or substance                populations being compared (e.g., age or
                                                     HHS Assistant Secretary for Health has                  has a potential for abuse: 8                          pre-existing medical conditions), among
                                                     provided a recommendation for                              A. Whether there is evidence that                  other things. Despite these limitations,
                                                     transferring marijuana to schedule III. In              individuals are taking the drug or drugs              qualitative synthesis of descriptive
                                                     light of that recommendation, the                       containing such a substance in amounts                analyses is the established practice in
                                                     Attorney General is exercising the                      sufficient to create a hazard to their                previous eight-factor analyses, and HHS
                                                     Attorney General’s authority under 21                   health or to the safety of other                      determined that it is the most
                                                     U.S.C. 811(a) to initiate a rulemaking                  individuals or to the community.                      appropriate approach here. HHS Basis
                                                     that proposes the placement of                             As part of its analysis, HHS                       for Rec. at 7–8.
                                                     marijuana in schedule III.                              concluded that evidence shows that,                      HHS also concluded that the public-
                                                        DEA believes that additional                         although some individuals are taking                  health risks posed by marijuana are
                                                     information arising from this                           marijuana in amounts sufficient to                    lower compared to those posed by other
                                                     rulemaking will further inform the                      create a hazard to their health and to the            drugs of abuse (e.g., heroin, oxycodone,
                                                     findings regarding the appropriate                      safety of other individuals and the                   cocaine), based on HHS’s evaluation of
                                                     schedule for marijuana. DEA has                         community, the vast majority of                       various epidemiological databases for
                                                     maintained an active review of the                      individuals who use marijuana are                     emergency department (‘‘ED’’) visits,
                                                     scientific literature addressing                        doing so in a manner that does not lead               hospitalizations, unintentional
                                                     marijuana with a focus on how it relates                to dangerous outcomes to themselves or                exposures, and most importantly,
                                                     to the scientific and medical evaluation                others. HHS Basis for Rec. at 6–7. The                overdose deaths. The rank order of the
                                                     and informs any updates to the eight-                   data supportive of this conclusion are                comparators in terms of greatest adverse
                                                     factor analysis. In addition to HHS’s                   discussed in detail in HHS’s analysis of              consequences typically ranked heroin,
                                                     scientific and medical determinations,                  Factors 4, 5, and 6. See HHS Basis for                benzodiazepines, and cocaine first or in
                                                     which are binding until the issuance of                 Rec. at 28–57.                                        immediately subsequent positions, with
                                                     this NPRM and which must be accorded                       In particular, HHS emphasized that an              marijuana in a lower place in the
                                                     significant deference throughout the                    evaluation of various epidemiological                 ranking, especially when HHS adjusted
                                                     rulemaking, DEA believes that factual                   databases of adverse outcomes from                    for utilization. For overdose deaths,
                                                     evidence (including scientific data) and                2015 to 2021 involving marijuana or                   marijuana is always in the lowest
                                                     expert opinions, including additional                   comparator drugs that are used                        ranking among comparator drugs. These
                                                     data regarding different forms,                         nonmedically showed that the                          evaluations demonstrate that there is
                                                     formulations, and delivery methods for                  utilization-adjusted rate of adverse                  consistency across databases, across
                                                     marijuana, as well as evidence regarding                outcomes involving marijuana was                      substances, and over time. HHS thus
                                                     the effects of marijuana at various                     consistently lower than the utilization-              concluded that although abuse of
                                                     dosages or concentrations, may be                       adjusted rates of adverse outcomes                    marijuana produces clear evidence of a
                                                     relevant.                                               involving heroin, cocaine, and, for                   risk to public health, that risk is
                                                        The HHS Basis for Recommendation,                    certain outcomes, other comparators,                  relatively lower than that posed by most
                                                     DEA’s analyses explaining its decisions                 including alcohol. Also, alcohol or                   other comparator drugs. HHS Basis for
                                                     to deny the petitions to reschedule                     heroin typically ranked first or in                   Rec. at 7–8.
                                                     marijuana in 2016, and the 2024 OLC                     immediately subsequent positions                         DEA notes that data provided by HHS
                                                     opinion (cited throughout) are available                among the comparators in terms of                     in its recommendation included a 2023
                                                     in their entirety under ‘‘Supporting and                incidence of adverse outcomes, with                   national survey that tracks drug use
                                                     Related Material’’ of the public docket                 marijuana in a lower place in that                    trends among 8th-, 10th-, and 12th-
                                                     for this proposed rule at https://                      ranking. This pattern also was observed               grade students, and showed that by 12th
                                                     www.regulations.gov under docket                        for serious medical outcomes, including               grade, 20.2 percent of students reported
                                                     number DEA–1362.                                        death, observed in Poison Center data,                using marijuana in the past month.9
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                                                                                                             where marijuana was in the lowest                     DEA also notes that the same study
                                                     VI. Eight-Factor Analysis                               ranking group. This suggests                          showed that the prevalence of ingesting
                                                       DOJ has reviewed the scientific and                   consistency across databases, across                  marijuana by vaping is evidenced by
                                                     medical evaluation and scheduling                       drugs, and over time. HHS thus
                                                     recommendation provided by HHS and                                                                              9 See HHS Basis for Rec. at 35 (discussing Richard
                                                                                                               8 See, e.g., 81 FR 53740; see also HHS Basis for    A. Miech et al., Univ. of Mich. Inst. for Soc. Rsch.,
                                                     has conducted a separate review of the
                                                                                                             Rec. at 6 (citing Comprehensive Drug Abuse            Monitoring the Future: National Survey Results on
                                                     eight factors identified in 21 U.S.C.                   Prevention and Control Act of 1970, H.R. Rep. No.     Drug Use, 1975–2022: Secondary School Students
                                                     811(c). At this point in the proceedings,               91–1444 (1970), reprinted in 1970 U.S.C.C.A.N.        71 (2023), https://monitoringthefuture.org/wp-
                                                     DOJ must treat HHS’s scientific and                     4566, 4603).                                          content/uploads/2022/12/mtf2022.pdf).



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                                                     students reporting vaping in the 30 days                    potential for abuse of the drug. DEA                  own initiative for medical as well as
                                                     prior at the following rates: 4.2 percent                   anticipates that additional data on                   nonmedical purposes. HHS Basis for
                                                     for 8th graders, 10.3 percent for 10th                      diversion from State programs and DEA-                Rec. at 8. In 2016, DEA reached a
                                                     graders, and 14.8 percent for 12th                          registered manufacturers may aid in a                 similar conclusion.16 In addition to the
                                                     graders.10 In 2022, the Substance Abuse                     determination of whether diversion is                 data considered in the HHS Basis for
                                                     and Mental Health Services                                  taking place.                                         Recommendation, and by HHS and DEA
                                                     Administration’s (‘‘SAMHSA’’) Drug                             C. Whether individuals are taking the              in their earlier eight-factor analyses,
                                                     Abuse Warning Network (‘‘DAWN’’)                            drug or drugs containing such a                       DEA anticipates that updated
                                                     reported that 11.9 percent of drug-                         substance on their own initiative rather              epidemiological survey data since 2022
                                                     related ED visits nationwide involved                       than on the basis of medical advice from              may be appropriate for consideration.
                                                     cannabis.11 The rate of cannabis-related                    a practitioner licensed by law to                        D. Whether the drug or drugs
                                                     ED visits was highest in these                              administer such drugs in the course of                containing such a substance are new
                                                     demographic groups: 18 to 25 years old,                     their professional practice.                          drugs so related in their action to a drug
                                                     male, Black or African American, and                           As HHS notes, the Food and Drug                    or drugs already listed as having a
                                                     Not Hispanic or Latino.12                                   Administration (‘‘FDA’’) has not                      potential for abuse to make it likely that
                                                       In addition to the data considered by                     approved a New Drug Application                       it will have the same potentiality for
                                                     the HHS Basis for Recommendation, the                       (‘‘NDA’’) for a drug product containing               abuse as such drugs, thus making it
                                                     data considered by HHS and DEA in                           botanical marijuana for any therapeutic               reasonable to assume that there may be
                                                     their 2015 eight-factor analysis, and the                   indication. Thus, the only way an                     significant diversions from legitimate
                                                     additional data discussed above, DEA                        individual can use marijuana on the                   channels, significant use contrary to or
                                                     anticipates that additional data on                         basis of medical advice through                       without medical advice, or that they
                                                     seizures of marijuana by law                                legitimate channels under Federal law is              have a substantial capability of creating
                                                     enforcement, cannabis-related ED visits,                    by participating in research under an                 hazards to the health of the user or to
                                                     as well as updated epidemiological                          IND. However, 38 States and the District              the safety of the community.
                                                     survey data since 2022, may be                              of Columbia have enacted laws allowing                   Marijuana has been a schedule I
                                                     appropriate for consideration.                              individuals to use marijuana under                    substance since the CSA was enacted in
                                                       B. Whether there is significant                           certain circumstances for medical                     1970. See Public Law 91–513, tit. II, sec.
                                                     diversion of the drug or drugs                              purposes. Outside of the Federal- and                 202(c), 84 Stat. 1236, 1249 (1970); 21
                                                     containing such a substance from                            State-sanctioned medical use of                       U.S.C. 812(c); see also 21 CFR
                                                     legitimate drug channels.                                   marijuana, individuals are using                      1308.11(d)(23). The primary compound
                                                       HHS found that there is a lack of                         marijuana on their own initiative for                 in marijuana that is responsible for its
                                                     evidence of significant diversion of                        medical, as well as nonmedical,                       abuse potential is D9-THC (also known
                                                     marijuana from legitimate drug                              purposes. Epidemiological data related                as dronabinol, when specifically
                                                     channels. HHS Basis for Rec. at 8. It                       to nonmedical use of marijuana is                     referring to the (-)-trans-D9-THC
                                                     noted that marijuana is used by                             detailed in HHS’s analysis of Factor 4.               stereoisomer), which has agonist
                                                     researchers for clinical research under                     HHS Basis for Rec. at 8.                              activity at cannabinoid CB1 receptors.
                                                     investigational new drug (‘‘IND’’)                             DEA notes that data is not available to            HHS found that there are extensive
                                                     applications, and that there are multiple                   determine the number of individuals                   nonclinical and clinical studies
                                                     DEA registrants that are approved to                        using marijuana under State law.                      establishing that marijuana, due to the
                                                     produce marijuana and derived                               According to 2022 National Survey on                  CB1 agonist activity of its main
                                                     formulations for use in DEA-authorized                      Drug Use and Health (‘‘NSDUH’’) data                  cannabinoid constituent D9-THC,
                                                     nonclinical and clinical research. HHS                      on people who are 12 and older in the                 produces rewarding effects that would
                                                     observed that these authorizations                          United States, 61.9 million people                    be consistent with observed long-term
                                                     represent the only federally sanctioned                     reported using marijuana in the past                  patterns of nonmedical use and abuse,
                                                     drug channels in the United States, and                     year, and marijuana was the illicit drug              both before and in the years since
                                                     there is a lack of data indicating                          used with the greatest frequency.13                   enactment of the CSA. HHS Basis for
                                                     diversion occurring from these entities                     Specifically, 42.3 million people                     Rec. at 9. For further discussion of these
                                                     or activities. However, there are                           reported use in the past month,                       effects, see HHS Basis for Rec. at 9–18
                                                     significant additional sources of                           including 14.7 million people who                     (Factor 2), 28–37 (Factor 4).
                                                     marijuana in the United States,                             vaped marijuana in that same period,                     Additionally, FDA has approved two
                                                     including from illicit cultivation and                      representing 5.2 percent of the study’s               drug products containing dronabinol:
                                                     production, illicit importation from                        target population.14 Furthermore, as                  Marinol (in 1985; schedule III) and
                                                     other countries, and from State                             reported by NSDUH in 2022, 3.7 million                Syndros (in 2016; schedule II). HHS
                                                     programs that permit dispensing of                          people initiated marijuana use in the                 Basis for Rec. at 9. Marinol was
                                                     marijuana for medical use and, in some                      past year, with more than half (53                    approved by FDA in 1985 for the
                                                     States, recreational adult use. HHS Basis                   percent or 2.0 million people) initiating             treatment of nausea and vomiting
                                                     for Rec. at 8.                                              marijuana use before the age of 21.15                 associated with cancer chemotherapy in
                                                       Given this unique landscape, DEA                          DEA also notes that HHS concluded                     patients who did not respond to
                                                     believes that the lack of data indicating                   that, outside of the Federal- and State-              conventional anti-emetic treatments.
                                                     diversion of marijuana from federally                       sanctioned medical use of marijuana,                  FDA approved Marinol in 1992 for the
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                                                     sanctioned drug channels to the illicit                     individuals are using marijuana on their              treatment of anorexia associated with
                                                     market is not indicative of a lack of                                                                             weight loss in patients with acquired
                                                                                                                   13 Substance Abuse & Mental Health Servs.
                                                       10 Miech et al., supra note 9, at 75.                     Admin., Key Substance Use and Mental Health             16 81 FR 53691 (‘‘Based on the large number of
                                                       11 Drug Abuse Warning Network, Substance                  Indicators in the United States: Results from the     individuals reporting current use of marijuana and
                                                     Abuse & Mental Health Servs. Admin., Findings               2022 National Survey on Drug Use and Health 14        the lack of an FDA-approved drug product in the
                                                     from Drug-Related Emergency Department Visits,              (Nov. 2023), https://www.samhsa.gov/data/sites/       United States, one can assume that it is likely that
                                                     2022, at 1 (2023), https://store.samhsa.gov/sites/          default/files/reports/rpt42731/2022-nsduh-nnr.pdf.    the majority of individuals using marijuana do so
                                                     default/files/pep23-07-03-001.pdf.                            14 Id. at 13.
                                                                                                                                                                       on their own initiative rather than on the basis of
                                                        12 Id.at 27.                                               15 Id. at 27.                                       medical advice from a licensed practitioner.’’).



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                                                     immunodeficiency syndrome (‘‘AIDS’’).                   believes that additional data in this area            turn, prevents the conversion of
                                                     After the first FDA approval, Marinol                   may be appropriate for consideration in               adenosine triphosphate to the second
                                                     was transferred from schedule I to                      assessing marijuana’s actual or relative              messenger, cyclic AMP (‘‘cAMP’’),
                                                     schedule II and was later rescheduled to                potential for abuse.                                  which decreases cAMP levels. As HHS’s
                                                     schedule III. Syndros, a drug product                                                                         analysis described, G proteins also
                                                                                                             2. Scientific Evidence of Marijuana’s
                                                     also containing dronabinol but                                                                                contain beta/gamma G protein units that
                                                                                                             Pharmacological Effects, If Known
                                                     formulated in an oral solution, was                                                                           are also liberated following ligand
                                                     approved by FDA in 2016 for the                            The second factor that DOJ and HHS                 binding, which then bind to and alter
                                                     treatment of anorexia associated with                   must consider under 21 U.S.C. 811(c) is               ion channel function, including
                                                     weight loss in patients with AIDS, as                   the scientific evidence of marijuana’s                inhibition of voltage-gated ion channels
                                                     well as nausea and vomiting associated                  pharmacological effects, if known. In                 and activation of potassium channels.
                                                     with cancer chemotherapy in patients                    making its recommendation, HHS                        Ligand binding can also activate some
                                                     who failed to respond adequately to                     considered the scientific evidence of the             subforms of phospholipase C as well as
                                                     conventional anti-emetic treatments. In                 pharmacological effects of marijuana                  beta-arrestin protein. All of these second
                                                     2017, DEA rescheduled ‘‘FDA-approved                    based on the effects of D9-THC. HHS                   messenger routes amplify the neural
                                                     products containing dronabinol in an                    conducted a scientific evaluation of the              signal following cannabinoid binding at
                                                     oral solution’’ from schedule I into                    neurochemistry, receptor pharmacology,                the CB1 and CB2 receptors. HHS Basis
                                                     schedule II. HHS Basis for Rec. at 4.                   animal abuse-related behavioral effects,              for Rec. at 10.
                                                        When Marinol and Syndros were                        and human behavioral and                                 CB1 receptors are found primarily in
                                                     being developed, they underwent a                       physiological effects of marijuana. HHS               the central nervous system (‘‘CNS’’), but
                                                     systematic evaluation of their abuse                    Basis for Rec. at 9.                                  are also present in peripheral tissues,
                                                     potential based on animal and human                     A. Neurochemistry and Receptor                        such as the liver, heart, and lungs. In the
                                                     behavioral studies, which showed that                   Pharmacology of Marijuana                             brain, CB1 receptors are expressed with
                                                     dronabinol has abuse potential. The                                                                           highest density in the cortical regions,
                                                     abuse-related studies confirmed the                        Cannabis is the genus of a plant that              hippocampus, basal ganglia, and
                                                     abuse potential of D9-THC. HHS has                      contains numerous natural constituents,               cerebellum and with lowest density in
                                                     concluded that these findings suggest                   including cannabinoids. See HHS Basis                 brainstem and hypothalamic areas. The
                                                     that marijuana will continue to be used                 for Rec. at 18–21 (discussing Factor 3).              localization of these receptors may
                                                     nonmedically, diverted from legitimate                  Because cultivated chemovars may vary                 explain cannabinoid effects on
                                                     channels, and trafficked in illicit                     in their composition and concentration                movement coordination, memory, and
                                                     channels as a potential source for                      of various chemical constituents,                     cognition. Additionally, CB1 receptors
                                                     continued nonmedical use in the United                  including with respect to whether they                are found in glial cells as well as in the
                                                     States. HHS Basis for Rec. at 9; see also               contain significant amounts of D9-THC                 immune system. However, the
                                                     HHS Basis for Rec. at 37–45 (Factor 5).                 or other cannabinoids, marijuana                      concentration of CB1 receptors is
                                                                                                             products from different strains will have             considerably lower in peripheral tissues
                                                     HHS Conclusion With Respect to                          differing biological and pharmacological              than in the CNS. CB2 receptors are
                                                     Factor 1                                                profiles. HHS Basis for Rec. at 10.                   found primarily in the immune system,
                                                        HHS determined that epidemiological                     Marijuana contains at least 560                    including in numerous leukocyte cell
                                                     data indicate that marijuana has the                    identified natural constituents,                      types, as well as in activated CNS
                                                     potential for creating hazards to the                   including 125 compounds classified as                 microglia. Additionally, there is some
                                                     health of the user and to the safety of                 cannabinoids. Most major cannabinoid                  evidence that CB2 receptors are
                                                     the community. However, as a relative                   compounds occurring naturally in                      localized in the brain, primarily in the
                                                     finding on abuse liability, when                        cannabis have been identified                         cerebellum and hippocampus. The
                                                     comparing marijuana to heroin,                          chemically, but new and minor                         distribution of CB2 receptors throughout
                                                     oxycodone, hydrocodone, fentanyl,                       compounds are continuously being                      the body is less extensive than the
                                                     cocaine, ketamine, benzodiazepines,                     characterized. HHS Basis for Rec. at 10.              distribution of CB1 receptors. HHS Basis
                                                     zolpidem, tramadol, and alcohol in                         The two most abundant cannabinoids                 for Rec. at 10–11.
                                                     various epidemiological databases that                  present in marijuana are D9-THC and                      There are two endogenous
                                                     allow for some or all of these                          CBD. D9-THC is the major psychoactive                 cannabinoid receptor agonists:
                                                     comparisons, marijuana is not typically                 intoxicating cannabinoid in marijuana                 anandamide and arachidonyl glycerol
                                                     among the substances producing the                      and is the component of marijuana that                (‘‘2–AG’’). At CB1 receptors,
                                                     most frequent incidence of adverse                      is primarily responsible for its abuse                anandamide is a partial agonist with
                                                     outcomes or severity of substance use                   potential. In contrast, CBD has                       low intrinsic efficacy while 2–AG is a
                                                     disorder. HHS Basis for Rec. at 9; see                  negligible abuse potential, as assessed               full agonist with high intrinsic efficacy.
                                                     also HHS Basis for Rec. at 28–57                        by FDA during the NDA review for                      These endogenous cannabinoid ligands
                                                     (Factors 4, 5, and 6). But as noted above,              Epidiolex, an FDA-approved drug                       are present in central as well as
                                                     there are limitations in comparing                      product containing plant derived,                     peripheral tissues. A combination of
                                                     descriptive data on adverse outcomes                    highly purified CBD. HHS Basis for Rec.               uptake and hydrolysis terminates the
                                                     across drugs, although descriptive                      at 10.                                                action of anandamide and 2–AG. The
                                                     analyses of epidemiologic data are an                      There are two cannabinoid receptors:               endogenous cannabinoid system is a
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                                                     established practice in previous eight-                 CB1 and CB2. CB1 and CB2 receptors                    locally active signaling system activated
                                                     factor analyses. HHS Basis for Rec. at 9.               belong to the family of G-protein-                    on demand in response to changes to
                                                        In 2016, DEA found that ‘‘[m]arijuana                coupled receptors and present a typical               the local conditions to help restore
                                                     has a high potential for abuse.                         seven transmembrane-spanning domain                   homeostasis. The endogenous
                                                     Preclinical and clinical data show that                 structure. Cannabinoid receptors                      cannabinoid system, including the
                                                     it has reinforcing effects characteristic of            primarily link to an inhibitory G protein             endogenous cannabinoids and the
                                                     drugs of abuse. . . . Data on marijuana                 (Gi/o), such that adenylate cyclase                   cannabinoid receptors, demonstrates
                                                     seizures show widespread availability                   activity is inhibited when a cannabinoid              substantial plasticity in response to
                                                     and trafficking.’’ 81 FR 53739. DEA                     ligand binds to the receptor. This, in                several physiological and pathological


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                                                     stimuli. This plasticity is particularly                serve as an indicator of the abuse                    tested. However, as with animal self-
                                                     evident in the CNS. HHS Basis for Rec.                  potential of marijuana. HHS Basis for                 administration, the purpose of CPP
                                                     at 11.                                                  Rec. at 12.                                           studies is typically to determine if a
                                                        D9-THC and CBD have varying                            HHS concluded, after weighing the                   new drug produces rewarding
                                                     affinity and effects at the cannabinoid                 relevant scientific evidence, that D9-                sensations, which would suggest that a
                                                     receptors. HHS determined that D9-THC                   THC produces rewarding effects that                   drug has abuse potential in humans.
                                                     is a partial agonist at both CB1 (Ki = 18–              lead an animal to repeatedly seek out                 Since it is clear that humans self-
                                                     218 nM) and CB2 receptors (Ki = 36–309                  the substance. HHS Basis for Rec. at 12.              administer substances that contain D9-
                                                     nM). However, CB1 receptors are the                     Specifically, some studies have                       THC, including botanical marijuana,
                                                     main pharmacological site of action for                 demonstrated successful animal self-                  HHS determined that it was not
                                                     D9-THC, making CB1 receptors the site                   administration of D9-THC following                    necessary to determine which CPP
                                                     that is responsible for the abuse                       intravenous administration,                           methods are optimal for demonstrating
                                                     potential of marijuana. The other CNS                   administration of inhaled vapor, oral                 that D9-THC has rewarding properties in
                                                     site where D9-THC may have activity is                  administration, and                                   animals. HHS Basis for Rec. at 13.
                                                     the 5HT3 receptor, where it functions as                intracerebroventricular administration.
                                                                                                             Other recent animal studies have not                  Drug Discrimination Studies
                                                     an antagonist. In contrast, CBD has low
                                                     affinity for both CB1 and CB2 receptors                 been able to produce D9-THC self-                        Drug discrimination is a method in
                                                     and may act as a negative allosteric                    administration following intravenous                  which animals indicate whether a test
                                                     modulator or weak antagonist at these                   administration and oral administration,               drug produces sensations similar to
                                                     sites. CBD has additional CNS effects as                but HHS concluded that these results                  those produced by a training drug with
                                                     a serotonin 5HT1A agonist and a                         were due to the specific methodology of               a known pharmacological mechanism of
                                                     serotonin 5HT2A weak partial agonist, as                those respective studies, rather than                 action. Drug discrimination is
                                                     well as a serotonin 5HT3A antagonist.                   valid evidence of the rewarding effects               considered to be an abuse-related study
                                                     HHS Basis for Rec. at 11.                               of D9-THC, and thus do not negate                     only when the training drug is a known
                                                        In the past 30 years, the potency of                 HHS’s reliance on studies in which D9-                drug of abuse that is scheduled under
                                                     marijuana with regard to D9-THC has                     THC was actively self-administered by                 the CSA and the test drug may have
                                                     increased dramatically. HHS described                   animals. HHS Basis for Rec. at 12–13.                 abusable effects similar to the training
                                                     one study finding that the concentration                  Furthermore, a comprehensive                        drug based on having a similar
                                                     of D9-THC in marijuana samples in the                   deconstruction of which animal                        mechanism of action to the training
                                                     United States increased from 3 percent                  methodology is optimal for producing                  drug. Because animal drug
                                                     in 1991 to 17.1 percent in 2017. These                  preclinical self-administration of D9-                discrimination studies often use D9-THC
                                                     increases are likely due to an increase                 THC is not necessary for an evaluation                as the standard for establishing if new
                                                     in the number of high potency samples                   of the abuse potential of marijuana in                drugs have classic marijuana-like
                                                     (i.e., sinsemilla) in the overall samples               humans because it is already clear that               pharmacological activity, HHS did not
                                                                                                             humans utilize marijuana for its                      examine whether this method should be
                                                     tested. Based on an evaluation of
                                                                                                             rewarding properties. HHS Basis for                   applied when evaluating the abuse
                                                     marijuana seized by DEA, the majority
                                                                                                             Rec. at 13. Animal self-administration is             potential of D9-THC. HHS Basis for Rec.
                                                     of samples contained high
                                                                                                             used primarily to predict whether a                   at 14.
                                                     concentrations of D9-THC and low
                                                                                                             novel substance is likely to be used by
                                                     concentrations of CBD. HHS Basis for                                                                          C. Human Behavioral and Physiological
                                                                                                             humans for its rewarding properties as
                                                     Rec. at 11–12.                                                                                                Effects
                                                                                                             an indication of its abuse potential.
                                                     B. Animal Abuse-Related Behavioral                      However, epidemiological data already                 Subjective Effects of D9-THC
                                                     Effects                                                 amply demonstrates that humans self-                     The psychological, behavioral, and
                                                     Self-Administration                                     administer substances that contain D9-                subjective responses to marijuana in
                                                                                                             THC, including botanical marijuana, for               humans have been known and
                                                        Self-administration is a method that                 their ability to produce positive                     characterized since antiquity. In the
                                                     assesses the ability of a drug to produce               subjective responses, including                       modern period, data on the
                                                     rewarding effects. The presence of                      euphoria. HHS Basis for Rec. at 13; see               psychological, behavioral, and
                                                     rewarding effects increases the                         also sections VI.4–6 of this preamble                 subjective responses to marijuana are
                                                     likelihood that individuals will try to                 (discussing Factors 4–6).                             available from the drug labels of FDA-
                                                     obtain additional quantities of a drug.                                                                       approved drug products, from
                                                     Animal self-administration of a drug is                 Conditioned Place Preference
                                                                                                                                                                   prospective human abuse potential
                                                     often useful in suggesting whether                         A conditioned place preference                     (‘‘HAP’’) studies, from accounts
                                                     humans will experience a particular                     (‘‘CPP’’) study is another method for                 published in the scientific and medical
                                                     substance as having rewarding effects,                  determining whether drugs have                        literature, and from an evaluation
                                                     which is indicative of abuse potential.                 rewarding properties; a CPP study relies              published in 2017 by the National
                                                     For example, the tendency of rhesus                     on an animal’s decision to spend time                 Academies of Science, Engineering, and
                                                     monkeys to self-administer a drug is                    in a location associated with receiving               Medicine (‘‘NASEM’’). HHS Basis for
                                                     correlated with humans’ propensity to                   a drug. The studies in which D9-THC                   Rec. at 14.
                                                     abuse it. HHS Basis for Rec. at 12.                     successfully produced CPP occurred
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                                                        Since self-administration is a                       under very specific experimental                      FDA-Approved Drug Products
                                                     methodology in which the test drug is                   conditions, similar to the D9-THC self-               Containing D9-THC
                                                     typically administered intravenously to                 administration studies in animals.                      Clinical scientific studies investigated
                                                     rats, it is not possible to evaluate                    Experimental manipulations in CPP                     the effects of D9-THC on humans during
                                                     botanical marijuana through self-                       studies with D9-THC have included                     the development of the FDA-approved
                                                     administration. However, given that D9-                 varying the animal species, sex, dose, or             drug product Marinol, which contains
                                                     THC is the primary substance that                       route of administration; introducing                  2.5, 5, and 10 mg dronabinol ((¥)-trans-
                                                     confers abuse potential to marijuana, its               flavors to obscure unpleasant taste; and              D9-THC of synthetic origin in sesame
                                                     ability to induce self-administration can               varying the drug history of the animals               seed oil). During controlled clinical


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                                                     trials (as reported in section 6.1 of the               route of administration of the study                  impaired perception and motor skills;
                                                     drug labels for Marinol and Syndros                     drug. HHS Basis for Rec. at 15.                       and (4) when very high blood levels of
                                                     (which relied on the safety data from                                                                         D9-THC were attained, persons might
                                                                                                             Common Responses to Marijuana in
                                                     Marinol during drug development)),                                                                            experience panic attacks, paranoid
                                                                                                             Humans Published in Scientific and
                                                     various adverse events (‘‘AEs’’) were                                                                         thoughts, and hallucinations. HHS Basis
                                                                                                             Medical Literature
                                                     observed, including amnesia, anxiety/                                                                         for Rec. at 17–18.
                                                     nervousness, ataxia, confusion,                            HHS concluded that the responses to
                                                                                                             dronabinol reported during                            HHS Conclusion With Respect to
                                                     depersonalization, hallucination,
                                                                                                             development of Marinol and the                        Factor 2
                                                     asthenia, palpitations, tachycardia,
                                                     vasodilation/facial flush, euphoria,                    responses to marijuana and D9-THC                       Based on its analysis of the studies
                                                     paranoid reaction, somnolence,                          reported in HAP studies paralleled the                discussed above, HHS concluded that
                                                     abnormal thinking, dizziness,                           common responses to marijuana that                    D9-THC, the substance largely
                                                     abdominal pain, nausea, and vomiting.                   have been described by other medical                  responsible for the abuse potential of
                                                     HHS Basis for Rec. at 14–15.                            scientists. These responses include                   marijuana, is a partial agonist at the
                                                                                                             positive subjective responses (such as                cannabinoid CB1 receptor. When D9-
                                                     HAP Studies                                             euphoria or happiness), sedative                      THC is administered to animals, it
                                                       HAP studies evaluate whether a test                   responses (such as drowsiness or                      produces rewarding responses, as
                                                     drug produces positive subjective                       changes in sleep), anxiety and negative               evidenced by its ability to induce self-
                                                     responses compared to a placebo and a                   responses (such as panic attacks,                     administration and CPP. This is
                                                     known drug of abuse that is scheduled                   agitation, and paranoia), perceptual                  consistent with the data from human
                                                     under the CSA and serves as the                         changes (such as hallucinations and                   studies and from clinical observations,
                                                     positive control. If the test drug                      changes in perception), psychiatric,                  where administration of D9-THC or use
                                                     produces rewarding effects that are                     social, and cognitive changes (such as                of marijuana produces euphoria and
                                                     statistically significantly greater than                drug abuse, delusions, memory and                     other pleasurable responses, as well as
                                                     the placebo, and beyond the acceptable                  concentration impairment, and                         sedation and anxiety responses.
                                                     placebo range of response, it is an                     impaired judgment), and physiological                 Psychiatric, social, and cognitive
                                                     indication that the drug may have abuse                 responses (such as nausea, tachycardia,               responses, which are often experienced
                                                     potential. The relative abuse potential is              facial flushing, dry mouth, tremor,                   as negative, are also reported, as are
                                                     suggested by the responses from the                     dizziness, ataxia, and hyperemesis). The              physiological responses such as dry
                                                     positive control on these measures in                   literature reviewed by HHS also                       mouth, ataxia, and increased hunger. As
                                                     comparison to the test drug. HHS Basis                  concluded that the positive changes that              described in HHS’s analysis of Factor 4,
                                                     for Rec. at 15.                                         occur following use of marijuana are                  see HHS Basis for Rec. at 32–37, the
                                                       After analyzing a number of HAP                       pleasurable to many humans and are                    rewarding responses observed in
                                                     studies of marijuana and D9-THC, which                  associated with drug-seeking and drug-                humans are consistent with the
                                                     varied in the in dose of D9-THC, the                    taking; and that these effects are                    prevalence of nonmedical use of
                                                     route of administration, or whether the                 typically dose-dependent, with higher                 marijuana, which includes abuse of the
                                                     D9-THC was provided in the form of                      doses and routes of administration that               substance. Abuse of marijuana by
                                                     marijuana or isolated compound, HHS                     produce faster onset producing more                   individuals can lead to other negative
                                                     identified a number of commonalities.                   intense responses and the likelihood of               consequences, including addiction and
                                                     First, following administration of the                  more negative subjective effects. HHS                 the need to seek medical attention
                                                     study drug (i.e., marijuana or D9-THC),                 Basis for Rec. at 16–17.                              through calls to poison centers or visits
                                                     there were increases in positive                                                                              to an ED, as described in Factor 5, see
                                                     subjective responses. Second, the                       National Academies of Science,
                                                                                                             Engineering, and Medicine (NASEM)                     HHS Basis for Rec. at 38–39, 42. HHS
                                                     studies demonstrated increases on the                                                                         Basis for Rec. at 18.
                                                     Addiction Research Center Inventory                        HHS also reviewed a book-length                      DEA believes that additional data on
                                                     scales for the morphine benzedrine                      evaluation of marijuana by NASEM                      marijuana’s pharmacological effects may
                                                     group (euphoria), marijuana, and                        entitled The Health Effects of Cannabis               be appropriate for consideration in
                                                     amphetamine. HHS concluded that                         and Cannabinoids: The Current State of                assessing this factor.
                                                     these data consistently demonstrated                    Evidence and Recommendations for
                                                     that D9-THC, in the form of marijuana                   Research.17 According to HHS, in this                 3. The State of Current Scientific
                                                     or as an isolated compound, produces                    evaluation, NASEM provided a brief                    Knowledge Regarding Marijuana
                                                     rewarding effects that are indicative of                summary of the clinical features of                      The third factor that DOJ and HHS
                                                     abuse potential when it is administered                 marijuana intoxication and found that                 must consider under 21 U.S.C. 811(c) is
                                                     under controlled experimental                           (1) during acute cannabis intoxication,               the state of current scientific knowledge
                                                     conditions. Third, and in contrast to the               the user’s sociability and sensitivity to             regarding marijuana. In considering this
                                                     prior findings, the data also                           certain stimuli (e.g., colors, music) may             factor and making its recommendation,
                                                     demonstrated that the administration of                 be enhanced, the perception of time is                HHS examined the chemistry of
                                                     marijuana or D9-THC may result in                       altered, and the appetite for sweet and               marijuana and the human
                                                     negative subjective responses reflecting                fatty foods is heightened; (2) some users             pharmacokinetics of marijuana. HHS
                                                     negative drug effects and sedation; these               report feeling relaxed or experiencing a              Basis for Rec. at 18–24.
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                                                     are often delayed in onset from when                    pleasurable rush or buzz after smoking
                                                     the positive subjective effects begin.                  cannabis; (3) these subjective effects                Chemistry
                                                     HHS noted that the positive and                         were often associated with decreased                     Cannabis is a genus of annual
                                                     negative subjective responses following                 short-term memory, dry mouth, and                     flowering plant with digitate leaves in
                                                     administration of marijuana or D9-THC                                                                         the family Cannabaceae Martinov that
                                                                                                               17 National Academies of Science, Engineering, &
                                                     were often dose-dependent. It also noted                                                                      likely originated in Central or Southeast
                                                                                                             Medicine, The Health Effects of Cannabis &
                                                     that there were typically few differences               Cannabinoids: The Current State of Evidence &
                                                                                                                                                                   Asia over 10,000 years ago and was first
                                                     between responses to marijuana and D9-                  Recommendations for Research (2017), https://         cultivated in China for fiber and seed
                                                     THC, or between responses based on                      nap.nationalacademies.org/read/24625/chapter/1.       production. Cultivation eventually


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                                                     spread across Asia, Africa, and Europe                  fatty acids, sugars, hydrocarbons, amino              hemp marketplace exists, containing a
                                                     and then to the Americas. A                             acids, and proteins. Cannabinoids are                 wide variety of products. In addition,
                                                     longstanding and significant historical                 mainly found in living Cannabis sativa                the public has access to cannabis
                                                     debate by botanists and taxonomists                     L. plants in their non-psychoactive                   products within the CSA definition of
                                                     continues today regarding the number of                 carboxylated forms (i.e., acid form),                 marijuana through State-authorized
                                                     species in the Cannabis genus, but it is                which require drying, heating,                        adult-use (i.e., nonmedical use) and
                                                     generally treated as a single, highly                   combustion, or aging to decarboxylate to              medical-use programs, as well as via the
                                                     polymorphic species known as                            their neutral forms, and are primarily                illicit marketplace. See HHS Basis for
                                                     Cannabis sativa L., with the other two                  composed of C21 terpenophenolic                       Rec. at 28–37 (Factor 4). Because of
                                                     previously reported species listed as                   compounds. The most abundant neutral                  these diverse sources of marijuana, there
                                                     Cannabis indica Lam. and Cannabis                       form cannabinoids are D9-THC and                      is a lack of unified controls on
                                                     ruderalis Janisch. Plants previously                    CBD, but nearly 200 have been                         cultivation and manufacturing, which
                                                     believed to be part of the latter two                   identified in the plant and are divided               raises concerns related to the safety,
                                                     species are generally recognized as                     into subclasses: cannabigerols,                       quality, and consistency of botanical
                                                     varieties (or subspecies) of Cannabis                   cannabichromenes, CBDs, D9-THCs, (-)-                 substances (e.g., botanical raw materials,
                                                     sativa L., which are commonly referred                  D8-trans-tetrahydrocannabinols (‘‘D8-                 extracts, and intermediates) and final
                                                     to as sativa var. indica and sativa var.                THCs’’), cannabicyclols, cannabielsoins,              product formulations that are currently
                                                     ruderalis. Cannabis sativa and sativa                   cannabinols, cannabinodiols,                          accessed for medical and nonmedical
                                                     var. indica plants are widely cultivated                cannabitriols, and the miscellaneous                  use. Products sourced from State-
                                                     for their size, branching, and                          cannabinoids. HHS Basis for Rec. at 19.               authorized adult-use and medical-use
                                                     cannabinoid content, while sativa var.                     Like any other botanical substance,                programs are subject to a patchwork of
                                                     ruderalis is rarely cultivated alone                    marijuana plants are heterogeneous in                 inconsistent product standards and
                                                     because it is shorter, is often                         nature and contain a complex chemical                 safety requirements. Although some
                                                     unbranched, and has very low                            profile. Moreover, variable organic plant             State programs have a set of standards
                                                     cannabinoid content. Worldwide                          material, as well as manufactured                     (for example, on manufacturing, testing,
                                                     Cannabis varieties are separated into                   preparations, result in a variety of                  labeling, and packaging), each program’s
                                                     hundreds of different cultivars and                     product forms that dictate different                  controls are different, leading to a wide
                                                     strains. Plants selected for cultivation                routes of administration, associated                  variation of products across State-
                                                     are known as cultivated varieties or                    risks, and differences in quality of the              authorized programs. And the illicit
                                                     cultivars, whereas plants reproduced                    product used, which may also influence                marketplace is not subject to any
                                                     asexually from a cultivar through clonal                risk for users. Among other things, these             standards or oversight. As a result, the
                                                     propagation are known as strains. These                 differences can result from differences               range of products within the CSA’s
                                                     practices have resulted in significantly                in harvest location, growing conditions,              definition of marijuana encompasses a
                                                     different chemical profiles for Cannabis                the season in which the marijuana is                  large degree of variation in forms for
                                                     cultivars, and the classification term to               harvested, and the manner in which the                consumption, composition of
                                                     account for these chemical profile                      marijuana is processed, handled,                      biologically relevant constituents,
                                                     differences has evolved. The term                       transported, and tested. The potential                potency, and contaminants. HHS Basis
                                                     ‘‘chemovar’’ accounts for the plant’s                   for high variability of marijuana and                 for Rec. at 21.
                                                     chemical profile and is a more                          marijuana-derived products, both in                      In short, marijuana has hundreds of
                                                     meaningful classification for clinical                  product composition and impurity                      chemovars containing variable
                                                     researchers studying the plant’s                        profile, is a major consideration for the             concentrations of D9-THC,
                                                     potential drug effects. Marijuana                       potential variability of drug effects and             cannabinoids, and other compounds. As
                                                     products developed from diverse                         safety. HHS Basis for Rec. at 19–20.                  a result, in evaluating whether to
                                                     chemovars will have different safety,                      Processing of marijuana and its use in             recommend that marijuana be
                                                     biological, pharmacological, and                        further manufacturing can lead to a                   rescheduled, HHS focused to the
                                                     toxicological profiles. HHS Basis for                   range of forms that individuals may use               greatest extent possible on wide-ranging
                                                     Rec. at 18–19.                                          or consume, including crude mixtures                  substances derived from cannabis plants
                                                        Cannabis is a dioecious plant,                       and highly purified substances of                     that are vehicles for the self-
                                                     meaning female and male flowers occur                   botanical origin, many of which may be                administration of D9-THC as the key
                                                     on separate plants, and rarely occurs as                cannabinoid compounds. Among                          biologically active substance on which
                                                     a monoecious plant (i.e., single plant                  known cannabinoids in the Cannabis                    the CSA’s current definition of
                                                     containing male and female flowers).                    plant, both D9-THC and D8-THC                         marijuana is based. HHS Basis for Rec.
                                                     The glandular trichomes found on the                    produce marijuana’s psychoactive                      at 21.
                                                     female plant’s unfertilized flower heads                effects. Because D9-THC is significantly
                                                     and bracts contain the highest                          more abundant than D8-THC,                            Human Pharmacokinetics of D9-THC
                                                     concentrations of cannabinoids. For this                marijuana’s intoxicating effects are                    HHS reported that the
                                                     reason, unfertilized female chemovars                   largely attributed to the former. Only                pharmacokinetics of D9-THC in
                                                     are favored to harvest large                            small quantities of D8-THC acid and D8-               humans—i.e., the study of how the body
                                                     inflorescences (i.e., complete flower                   THC have been identified in plants.                   interacts with D9-THC—have been
                                                     head) for their rich cannabinoid and                    HHS Basis for Rec. at 20.                             evaluated following inhaled
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                                                     terpene content. HHS Basis for Rec. at                     As noted above, the 2018                           administration of marijuana and oral
                                                     19.                                                     amendments to the CSA removed hemp                    administration of marijuana. These are
                                                        The Cannabis sativa L. plant naturally               from the definition of marijuana.                     the most frequently used routes of
                                                     contains many different compounds,                      However, the term ‘‘cannabis’’ is still               administration for marijuana or isolated
                                                     and more than 550 have been identified,                 often broadly used to refer to a wide                 D9-THC. HHS Basis for Rec. at 21.
                                                     such as cannabinoids, terpenoids,                       variety of products manufactured from                   Marijuana is commonly administered
                                                     flavonoids, stilbenoids, steroids,                      the Cannabis sativa L. plant, regardless              by humans via inhalation through
                                                     polysaccharides, benzoquinone,                          of their control status. As a result of the           smoking and, more recently, through
                                                     phenanthrenes, spiroindans, lignans,                    2018 amendments to the CSA, a large                   vaping (e.g., heating and inhalation of


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                                                     botanical matter or other volatile                      other tissues in the body. Metabolism of              Pharmacopoeia 18 as early as 1850.
                                                     substances containing D9-THC).                          D9-THC in most tissues is relatively                  Around the time that Congress passed
                                                     Generally, inhalation of a drug is the                  slow or absent. The majority of the                   the Pure Food and Drug Act of 1906,
                                                     route that produces the fastest rate of                 absorbed D9-THC dose is eliminated in                 Public Law 59–384, 34 Stat. 768, drugs
                                                     drug absorption. Once marijuana is                      feces, and about 33 percent in urine.                 such as marijuana, alcohol, heroin,
                                                     inhaled, D9-THC is absorbed through                     HHS Basis for Rec. at 23.                             morphine, and cocaine began to be
                                                     the lungs in the form of an aerosol                                                                           characterized by the Federal
                                                     within seconds. Peak plasma levels of                   HHS Conclusion With Respect to
                                                                                                                                                                   Government as addictive and
                                                     D9-THC following inhalation occur very                  Factor 3
                                                                                                                                                                   dangerous. These drugs were frequently
                                                     quickly, within 6 to 10 minutes.                           In conclusion, HHS found that the                  included in patent medicines, often
                                                     Psychoactive effects begin immediately                  pharmacokinetic profile of marijuana                  without the consumer’s knowledge. The
                                                     following absorption, although peak                     varies greatly depending on route of                  1906 law required accurate drug
                                                     subjective effects do not coincide with                 administration. Inhalation of marijuana               labeling with respect to ingredients and
                                                     peak plasma D9-THC levels and are                       produces a rapid increase in plasma                   dosage. But it did not prohibit the sale
                                                     often delayed. Following administration                 levels of D9-THC and an immediate                     or possession of drugs characterized as
                                                     of marijuana through inhalation, the                    onset of psychological effects. In                    addictive and dangerous drugs,
                                                     bioavailability of D9-THC is 10 percent                 comparison, oral administration of                    including marijuana. As nonmedical use
                                                     to 35 percent. That bioavailability is                  marijuana produces a much slower                      of marijuana and opioids became more
                                                     relatively low and varies widely due to                 increase in plasma levels of D9-THC and               popular in the United States, Congress
                                                     several factors. An individual’s                        onset of psychological effects. Once D9-              provided funding in 1929 for two
                                                     experience and technique with smoking                   THC has been absorbed, however, the                   ‘‘narcotic farms’’ in Lexington,
                                                     marijuana also determines the dose                      metabolism and excretion of D9-THC                    Kentucky, and Fort Worth, Texas, which
                                                     absorbed. HHS Basis for Rec. at 22.                     follows a standard path. HHS Basis for                were medical treatment centers run by
                                                        When marijuana or D9-THC is                          Rec. at 24.                                           the Public Health Service for federal
                                                     administered orally (such as by eating                     DEA likewise notes that there is                   prisoners who were ‘‘habitual users of
                                                     marijuana-infused foods), the effects                   considerable variability in the                       narcotics,’’ including marijuana-derived
                                                     start within 30 to 90 minutes, reach                    cannabinoid concentrations and                        products. HHS Basis for Rec. at 28–29.
                                                     their peak at 1.5 to 3 hours, and remain                chemical constituency among marijuana                    In the first half of the twentieth
                                                     measurable for 4 to 12 hours. Oral                      samples and that the interpretation of                century, marijuana use was curbed by
                                                     bioavailability of D9-THC, following                    clinical data related to marijuana is                 several Federal laws. In 1931, the
                                                     ingestion of an edible containing                       complicated. A primary issue is the lack              importation of marijuana into the
                                                     marijuana or isolated D9-THC, ranges                    of consistent concentrations of D9-THC                United States began to be restricted
                                                     from 5 to 20 percent. The low and                       and other substances in marijuana,                    under regulations under the Pure Food
                                                     variable bioavailability of D9-THC from                                                                       and Drug Act, except for medicinal
                                                                                                             which complicates the interpretation of
                                                     oral ingestion is a consequence of its                                                                        purposes. The Marihuana Tax Act of
                                                                                                             the effects of different marijuana
                                                     first-pass hepatic elimination from                                                                           1937, Public Law 75–238, 50 Stat. 551,
                                                                                                             constituents. Additionally, the non-
                                                     blood and erratic absorption from                                                                             imposed taxes that effectively
                                                                                                             cannabinoid components in marijuana
                                                     stomach and bowel. Ingestion of                                                                               prohibited marijuana use for medical,
                                                                                                             may potentially modify the overall
                                                     brownies containing marijuana also                                                                            nonmedical, scientific, or industrial
                                                                                                             pharmacological and toxicological
                                                     results in lower D9-THC plasma levels                                                                         purposes. Five years later, in 1942,
                                                                                                             properties of various marijuana strains
                                                     relative to inhalation of marijuana. HHS                                                                      marijuana was removed from the United
                                                                                                             and products. DEA anticipates that
                                                     Basis for Rec. at 22–23.                                                                                      States Pharmacopoeia. Through the
                                                        Although there are differences in                    additional data on other marijuana
                                                                                                             constituents, routes of administration of             imposition of mandatory minimums, the
                                                     absorption of D9-THC depending on
                                                     route of administration, the distribution,              marijuana, and the impact on D9-THC                   Boggs Act of 1951, Public Law 82–255,
                                                                                                             potency may be appropriate for                        65 Stat. 767, lengthened the average
                                                     metabolism, and excretion of D9-THC is
                                                                                                             consideration.                                        sentence for first time marijuana
                                                     similar regardless of how the drug is
                                                                                                                                                                   offenders to 2 to 5 years, similar to that
                                                     administered. Plasma concentrations of                  4. Marijuana’s History and Current                    for opioid offenses, regardless of
                                                     D9-THC decrease quickly after                           Pattern of Abuse                                      whether the individual was a
                                                     absorption through rapid distribution
                                                     into tissues and through liver                            The fourth factor that DOJ and HHS                  nonmedical user or a trafficker. The
                                                     metabolism. Because D9-THC has high                     must consider under 21 U.S.C. 811(c) is               Narcotic Control Act of 1956, Public
                                                     lipophilicity, the apparent volume of                   marijuana’s history and current pattern               Law 84–728, 70 Stat. 567, increased the
                                                     distribution of D9-THC is high (10 L/kg)                of abuse, which can include its abuse                 minimum sentence for a first offender
                                                     as it is distributed initially into organs              relative to relevant comparator                       for marijuana to 2 to 10 years. HHS
                                                     such as lung, heart, brain, and liver that              substances that are abused. See HHS                   Basis for Rec. at 29.
                                                                                                             Basis for Rec. at 28–37. HHS concluded                   Despite the legal consequences,
                                                     are highly perfused. Over time with
                                                     regular exposure to marijuana, D9-THC                   that it is appropriate to consider the                nonmedical marijuana use increased
                                                     will concentrate and be retained in fat.                Federal- and State-level history of                   dramatically in the 1960s, especially
                                                     HHS Basis for Rec. at 23.                               marijuana control, marijuana sources for              among youth. Congress passed the CSA
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                                                        Metabolism of D9-THC occurs                          nonmedical and medical use, marijuana                 in 1970. The CSA effectively repealed
                                                     primarily via cytochrome P450                           use in the United States since passage
                                                                                                                                                                      18 The United States Pharmacopoeia was formed
                                                     isozymes (CYP2C9, CYP2C19, and                          of the CSA, and current patterns of use
                                                                                                                                                                   as an ‘‘independent, scientific, non-profit
                                                     CYP3A4) via microsomal hydroxylation                    and abuse of marijuana. HHS Basis for                 organization dedicated to public health’’ that
                                                     to both active and inactive metabolites.                Rec. at 28.                                           published ‘‘a national, uniform set of guidelines for
                                                     The primary active metabolite of D9-                    Federal History of Marijuana Control
                                                                                                                                                                   the best understood medicinal substances and
                                                                                                                                                                   preparations of the day.’’ Building Trust for Over
                                                     THC is 11-hydroxy-D9-THC. D9-THC                                                                              200 Years: A Timeline of USP, U.S. Pharmacopoeia,
                                                     clears from the blood relatively rapidly,                 According to HHS, marijuana was                     https://www.usp.org/200-anniversary/usp-timeline
                                                     largely because it is redistributed to                  described in the United States                        (last visited May 11, 2024).



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                                                     all previous Federal drug laws,                         Montana, Nevada, New Jersey, New                      percent to 16 percent), benzodiazepines
                                                     including the Marihuana Tax Act, and                    Mexico, New York, Oregon, Rhode                       (12 percent to 11 percent, 2017 to 2019
                                                     provided a unified framework for                        Island, Vermont, Virginia, and                        only), oxycodone (11 percent to 9
                                                     control of drugs with abuse potential.                  Washington. Nonmedical use of                         percent), tramadol (7 percent to 6
                                                     When the CSA was enacted, marijuana                     marijuana was legalized by ballot                     percent), zolpidem (4 percent to 3
                                                     was placed into schedule I, which                       initiatives in 13 States and by State                 percent), and ketamine (less than 1
                                                     prohibited use of marijuana for                         legislatures in 9 States. HHS Basis for               percent). Although there were trend
                                                     medicinal or nonmedical purposes other                  Rec. at 30.                                           breaks for the years 2020 and 2021,20
                                                     than legitimate scientific research and                                                                       marijuana past-year use continued to
                                                                                                             Marijuana Use in the United States
                                                     analysis. This placement was consistent                                                                       increase during these two years. HHS
                                                                                                             Since Passage of the CSA
                                                     with the criteria established by the CSA                                                                      Basis for Rec. at 32–33.
                                                     under 21 U.S.C. 812. HHS Basis for Rec.                    Marijuana use has varied since the                    Based on NSDUH data, HHS
                                                     at 29–30.                                               CSA was passed in 1970. Gallup Poll                   concluded that from 2015 to 2019, the
                                                                                                             data from 1969 to 2013 show a steady                  prevalence of past-year nonmedical use
                                                     Marijuana Control at the State Level                    increase over time in affirmative                     of marijuana (i.e., use without a health
                                                       According to HHS, changes in State-                   responses to whether the respondent                   care provider (‘‘HCP’’) recommendation)
                                                     level marijuana laws in the United                      had personally tried marijuana, with                  among people ages 12 years and older
                                                     States in the modern era began in 1996                  only 4 percent of people saying they had              also increased. HHS’s finding was based
                                                     with the approval of Proposition 215,                   tried marijuana in 1969 compared to 38                on an increase in the prevalence of
                                                     the Compassionate Use Act, by voters in                 percent in 2013. As HHS observed, the                 overall nonmedical use of marijuana
                                                     California. This law legalized the use,                 2017 NASEM report stated that the                     from 12 percent to 15 percent and on an
                                                     possession, and cultivation of marijuana                prevalence of marijuana use peaked in                 increase in nonmedical use of marijuana
                                                     for treatment of patients with cancer,                  the late 1970s, declined through the                  only, without nonmedical use of other
                                                     anorexia, AIDS, chronic pain, spasticity,               1980s, and then increased again in the                drugs that are abused, from 8 percent to
                                                     glaucoma, arthritis, migraine, or any                   mid-1990s. From 2007 to 2017, there                   11 percent during this period. There
                                                     other illness for which marijuana                       were steady year-over-year increases in               was a slight decrease in both categories
                                                     provides relief, when recommended by                    the share of the general population that              in 2020, but the prevalence of both
                                                     a physician. Under the law, marijuana                   used marijuana in the past month,                     kinds of uses increased again in 2021 (to
                                                     could also be cultivated by patient                     although there is no clear explanation                16 percent and 11 percent, respectively)
                                                     caregivers. HHS Basis for Rec. at 30.                   for the post-2007 increase in use rates.              to levels that were higher than those
                                                       As of August 2023, when HHS                           HHS Basis for Rec. at 31–32.                          reported in 2019. In contrast, the
                                                     submitted its Basis for Recommendation                                                                        prevalence of past-year nonmedical use
                                                                                                             Current Patterns of Use and Abuse of
                                                     to DEA, State-level laws allowing                                                                             of comparator drugs was less than 3
                                                                                                             Marijuana
                                                     medicinal use of marijuana had been                                                                           percent for heroin, cocaine, oxycodone,
                                                     passed in a total of 38 States, plus the                   In considering current patterns of use
                                                                                                                                                                   hydrocodone, tramadol,
                                                     District of Columbia: Alabama, Alaska,                  and abuse of marijuana and marijuana-
                                                                                                                                                                   benzodiazepines, and zolpidem, which
                                                     Arizona, Arkansas, California, Colorado,                derived products, HHS analyzed
                                                                                                                                                                   is much less than that for marijuana,
                                                     Connecticut, Delaware, District of                      epidemiological databases from 2015 to
                                                                                                                                                                   either alone or with other drugs. Over
                                                     Columbia, Florida, Hawaii, Illinois,                    the most recent years of available data
                                                                                                                                                                   the 2015 to 2021 reporting period, the
                                                     Kentucky, Louisiana, Maine, Maryland,                   (which vary among data sources). A
                                                                                                                                                                   overall use of these comparator drugs
                                                     Massachusetts, Michigan, Minnesota,                     wide variety of epidemiological
                                                                                                                                                                   declined slightly or remained fairly
                                                     Mississippi, Missouri, Montana,                         databases provide necessary data for
                                                                                                                                                                   stable. Notably, the majority of
                                                     Nevada, New Hampshire, New Jersey,                      HHS’s analyses. These include the
                                                                                                                                                                   individuals who reported nonmedical
                                                     New Mexico, New York, North Dakota,                     NSDUH; Behavioral Risk Factor
                                                                                                                                                                   use of marijuana did not report
                                                     Ohio, Oklahoma, Oregon, Pennsylvania,                   Surveillance System (‘‘BRFSS’’);
                                                                                                                                                                   nonmedical use of the comparator
                                                     Rhode Island, South Dakota, Utah,                       Research Abuse, Diversion and
                                                                                                                                                                   drugs. And over the same reporting
                                                     Vermont, Virginia, Washington, and                      Addiction-Related Surveillance
                                                                                                                                                                   period of 2015 to 2021, the prevalence
                                                     West Virginia. Medical use of marijuana                 (‘‘RADARS’’); Nonmedical Use of
                                                                                                                                                                   of past-year use of alcohol ranged from
                                                     was legalized through the action of 20                  Prescription Drugs (‘‘NMURx’’);
                                                                                                                                                                   62 percent to 65 percent for individuals
                                                     State legislatures and by 18 ballot                     Monitoring the Future (‘‘MTF’’); Youth
                                                                                                                                                                   ages 12 years and older, far exceeding
                                                     measures.19 HHS Basis for Rec. at 30.                   Risk Behavioral Surveillance System
                                                                                                                                                                   the prevalence for marijuana or other
                                                       In 2012, Colorado and Washington                      (‘‘YRBSS’’); and International Cannabis
                                                                                                                                                                   comparator drugs. These data
                                                     became the first States to legalize the                 Policy Study (‘‘ICPS’’). HHS Basis for
                                                                                                                                                                   demonstrate that alcohol has the highest
                                                     nonmedical use of marijuana. As of                      Rec. at 32.
                                                                                                                                                                   prevalence of past-year-only use,
                                                     August 2023, State-level legalization of                National Survey on Drug Use and                       followed by nonmedical use of
                                                     the nonmedical use of marijuana has                     Health                                                marijuana. The prevalence of the other
                                                     occurred in a total of 23 States and the
                                                                                                               Based on NSDUH data, HHS                            comparators is far below that of alcohol
                                                     District of Columbia: Alaska, Arizona,
                                                                                                             concluded that from 2015 to 2019 the                  and marijuana. HHS Basis for Rec. at 33.
                                                     California, Colorado, Connecticut,                                                                               HHS also concluded that the NSDUH
                                                     Delaware, District of Columbia, Illinois,               past-year use of marijuana for any
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                                                                                                             reason (nonmedical and medical) among                 data show that most individuals who
                                                     Maine, Maryland, Massachusetts,                                                                               used marijuana in the past year did not
                                                     Michigan, Minnesota, Missouri,                          people ages 12 years and older
                                                                                                             increased from 14 percent to 18 percent.              do so based on a recommendation from
                                                        19 Data on the number of patients who participate    By contrast, past-year (nonmedical and                an HCP, but marijuana use was more
                                                     in State-sanctioned medical cannabis use is             medical) use of comparator drugs that                 frequent among users with an HCP
                                                     available here: Medical Cannabis Patient Numbers,       have FDA-approved therapeutic
                                                     Marijuana Pol’y Project, https://www.mpp.org/                                                                   20 HHS noted that NSDUH data collection was

                                                     issues/medical-marijuana/state-by-state-medical-
                                                                                                             indications declined or remained                      disrupted in 2020 and 2021 due to the COVID–19
                                                     marijuana-laws/medical-marijuana-patient-               relatively stable over the same                       pandemic, leading to trend breaks in these years.
                                                     numbers (last visited May 13, 2024).                    timeframe, including hydrocodone (22                  HHS Basis for Rec. at 32.



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                                                     recommendation. The yearly percentage                   only, and 25 percent for those who                    2012 to 2022, the illicit drug most
                                                     of individuals who used marijuana but                   reported use for medical reasons only.                frequently used by 12th-grade students
                                                     did not have an HCP recommendation                      Those individuals who reported past-                  who reported past-year drug use was
                                                     ranged between 84 and 89 percent                        month use of marijuana for medical                    marijuana/hashish (approximately 35
                                                     between 2015 and 2021; by comparison,                   reasons were more likely to be adults 55              percent per year from 2012 to 2020,
                                                     exclusive medical use of marijuana that                 years and older, while individuals who                with a reduction to 30 percent per year
                                                     was recommended by an HCP ranged                        reported past-month marijuana use for                 in 2021 and 2022). In contrast, in 2022,
                                                     between 7 and 10 percent of marijuana                   nonmedical reasons only were more                     alcohol was used by 52 percent of 12th-
                                                     users in the same period. According to                  likely to be younger adults aged 18 to                grade students within the last 12
                                                     HHS, approximately 50 percent of those                  24 years. HHS Basis for Rec. at 34.                   months, similar to percentages in 2019
                                                     individuals without an HCP                                 Individuals who reported using                     and 2020 (52 percent and 55 percent,
                                                     recommendation used marijuana for 60                    marijuana in the past 30 days for both                respectively), but higher than the 2021
                                                     or fewer days in the year, while 29                     nonmedical and medical reasons were                   level of 47 percent. All other comparator
                                                     percent used marijuana for more than                    more likely (62 percent) to report                    drugs (hydrocodone, heroin, tramadol,
                                                     241 days in the year. In contrast, for                  marijuana use near daily (20 to 30 days               cocaine, ketamine, and zolpidem) were
                                                     those individuals whose use of                          per month) than individuals who                       each used in the past year by fewer than
                                                     marijuana was sometimes or always                       reported marijuana use for nonmedical                 5 percent of 12th graders from 2012 to
                                                     recommended by an HCP, 51 percent                       reasons only (34 percent). Similarly,                 2022. HHS Basis for Rec. at 35.
                                                     and 55 percent (respectively) used                      individuals who used marijuana for                       MTF data for past-month use showed
                                                     marijuana at least 241 days in the year.                medical reasons only were also more                   a similar pattern. During the years 2012
                                                     HHS Basis for Rec. at 33–34.                            likely (57 percent) to report near daily              to 2022, the illicit drug most frequently
                                                       The NSDUH data from 2021 showed                       use than those who used it for                        used by 12th-grade students who
                                                     that among individuals who used any                     nonmedical reasons only. HHS Basis for                reported past-month drug use was
                                                     marijuana in the past year, 69 percent                  Rec. at 34.                                           marijuana/hashish (approximately 20 to
                                                     used marijuana in the prior month. For                                                                        22 percent per year) compared to past-
                                                     comparator drugs, the percentage of                     Researched Abuse, Diversion and                       month use of cocaine (approximately 1
                                                     individuals with past-year use who used                 Addiction-Related Surveillance System                 percent per year) or heroin (less than 0.5
                                                     each substance nonmedically in the past                 Survey of Nonmedical Use of                           percent per year). However, past-month
                                                     month was 76 percent for alcohol, 49                    Prescription Drugs                                    alcohol use by 12th-grade students (28
                                                     percent for heroin, 38 percent for                         The RADARS System conducts the                     percent) exceeded that of marijuana in
                                                     cocaine, and 28 percent for ketamine.                   NMURx Program, a serial, cross-                       2022. For those who used marijuana in
                                                     HHS Basis for Rec. at 34.                               sectional, online survey of the general               the past month, 6 to 7 percent used it
                                                                                                             adult population (18 years and older) to              daily. By comparison, for those who
                                                     Behavioral Risk Factor Surveillance
                                                                                                             elicit information on the nonmedical                  used cocaine and heroin in the last
                                                     System
                                                                                                             use of drugs (prescription,                           month, less than one percent used it
                                                       BRFSS is a national, State-based,                     nonprescription, unapproved, and                      daily. MTF does not provide past-month
                                                     cross-sectional telephone survey                        illicit). The NMURx Program estimates                 use data for hydrocodone, heroin,
                                                     conducted by the Centers for Disease                    represent measures of past-year drug use              tramadol, ketamine, or zolpidem. HHS
                                                     Control and Prevention (‘‘CDC’’). The                   in an enriched sample of United States                Basis for Rec. at 35.
                                                     participants in the 2021 BRFSS module                   adults with higher-than-average
                                                     for marijuana included approximately                                                                          Youth Risk Behavior Surveillance
                                                                                                             nonmedical use of prescription pain                   System
                                                     68 million individuals 18 years and                     relievers and illicit drugs. NMURx
                                                     older, residing in 24 States and                                                                                YRBSS was established by the CDC
                                                                                                             program data demonstrated that past-
                                                     Territories: Alaska, Connecticut,                                                                             and conducts school-based surveys
                                                                                                             year use of marijuana was reported by
                                                     Delaware, Hawaii, Idaho, Illinois,                                                                            every 2 years, in partnership with State,
                                                                                                             21 percent of individuals, while past-
                                                     Indiana, Kentucky, Maine, Maryland,                                                                           local, Territorial, and Tribal
                                                                                                             year use of comparator substances was
                                                     Minnesota, Montana, Nebraska, Nevada,                                                                         governments, with a focus on youth
                                                                                                             substantially lower: benzodiazepines (4
                                                     New Hampshire, New York, North                                                                                health behavior in the United States.
                                                                                                             percent), hydrocodone, oxycodone,
                                                     Dakota, Ohio, Oklahoma, Rhode Island,                                                                         The YRBSS high school component, the
                                                                                                             tramadol (2 percent), cocaine or crack
                                                     Utah, Vermont, Wyoming, and Guam.                                                                             Youth Risk Behavior Survey, includes a
                                                                                                             (less than 2 percent), and illicit fentanyl,
                                                     HHS Basis for Rec. at 34.                                                                                     nationally representative survey of 9th-
                                                                                                             heroin, and ketamine (less than 1
                                                       For the 2021 survey year, the                                                                               through 12th-grade students. YRBSS
                                                                                                             percent). This pattern of much greater                data showed that from 2009 to 2019,
                                                     estimated prevalence of past-month
                                                                                                             marijuana use compared to other drugs                 approximately 20 percent of students in
                                                     marijuana use for any reason in the
                                                                                                             is consistent with the patterns reported              9th through 12th grade reported using
                                                     BRFSS survey was 12 percent, with 88
                                                                                                             in NSDUH and BRFSS. HHS Basis for                     marijuana at least once in the past
                                                     percent reporting no marijuana use.
                                                                                                             Rec. at 35.                                           month during each year evaluated.
                                                     Among those with past-month
                                                     marijuana use, the mean frequency of                    Monitoring the Future                                 When students 17 years and older were
                                                     use was 17 days per month, with half of                   MTF collects information on the use                 asked how old they were when they first
                                                     respondents reporting that they used                    of selected prescription and illicit drugs            used marijuana, 43 percent reported
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                                                     marijuana 20 to 30 days per month. This                 and alcohol by conducting an annual,                  they initiated use between the ages of 15
                                                     pattern was consistent across all age and               nationally representative, cross-                     to 16 years, 25 percent initiated use
                                                     sex categories. HHS Basis for Rec. at 34.               sectional survey of 8th, 10th, and 12th               between the ages of 13 to 14 years, and
                                                       When the reason for use was                           graders in public and private schools.21              13 percent initiated use at 12 years of
                                                     evaluated, the percentage of individuals                                                                      age and younger. YRBSS data also
                                                                                                             MTF data showed that during the years
                                                     who reported use for both medical and                                                                         showed, however, that past-month
                                                     nonmedical reasons was 39 percent,                         21 As a result of the COVID–19 pandemic, there     alcohol use by high school students (29
                                                     compared to 36 percent for those who                    is a potential trend break in the 2020 MTF data.      percent) in 2019 was greater than that of
                                                     reported use for nonmedical reasons                     HHS Basis for Rec. at 35.                             marijuana use, while past month


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                                                     prescription opioid misuse (including                   HHS Conclusion With Respect to                        users.24 By 2020, approximately 59.3
                                                     codeine, hydrocodone, or oxycodone) (7                  Factor 4                                              million individuals age 12 or older
                                                     percent) in 2019 was much lower than                                                                          reported using an illicit drug within the
                                                     that of both alcohol and marijuana use.                    In light of the evidence cited above,              past year; 83.6 percent (49.6 million) of
                                                     HHS Basis for Rec. at 36.                               HHS determined that certain                           those past-year illicit drug users
                                                                                                             conclusions could be drawn about                      reported using marijuana.25 In 2022, the
                                                     International Cannabis Policy Study                     marijuana’s current pattern of abuse.                 Domestic Cannabis Eradication and
                                                        ICPS conducted serial, cross-sectional               HHS concluded that the use of                         Suppression Program was responsible
                                                     surveys from 2019 to 2021 of                            marijuana for medical and nonmedical                  for the eradication of 4,435,859 illegally
                                                     individuals ages 16 to 65 years living in               purposes is extensive in the United                   cultivated outdoor cannabis plants and
                                                     the United States to understand the                     States. HHS also concluded that the                   1,245,980 illegally cultivated indoor
                                                     public health impact of marijuana                       prevalence of marijuana use is less than              plants for a total of 5,681,839 illegally
                                                     legalization. HHS’s evaluation of that                  that of alcohol and significantly more                cultivated marijuana plants.26 DEA
                                                     survey data focused on respondents                      than that of other drugs of abuse that are            believes that additional data on
                                                     who reported at least some past-year                    scheduled under the CSA. Specifically,                marijuana’s pattern of abuse may be
                                                     marijuana nonmedical use (by                            HHS noted that NSDUH data from 2015                   appropriate for consideration in
                                                     indicating that they were not a medical                 to 2019 showed that the prevalence of                 assessing this factor.
                                                     marijuana user, defined as someone                      past-year use of alcohol was five to six
                                                                                                                                                                   5. The Scope, Duration, and
                                                     who uses marijuana only to treat a                      times greater than that of nonmedical
                                                                                                                                                                   Significance of Abuse
                                                     medical condition). HHS Basis for Rec.                  use of marijuana. In contrast, the
                                                     at 36.                                                  prevalence of past-year nonmedical use                   The fifth factor that DOJ and HHS
                                                        According to HHS, ICPS data showed                   of heroin, cocaine, oxycodone,                        must consider under 21 U.S.C. 811(c) is
                                                     that the prevalence of past-year                        hydrocodone, tramadol,                                the scope, duration, and significance of
                                                     nonmedical use of marijuana ranged                      benzodiazepines, and zolpidem was                     marijuana abuse. In conducting its
                                                     from 18 percent to 22 percent of                        four to five times less than that of                  analysis, HHS analyzed the
                                                     individuals surveyed from 2019 to 2021,                 marijuana nonmedical use. Similar past-               consequences over time of marijuana
                                                     while the prevalence of past-month                      year comparative drug use data were                   abuse compared to the abuse of other
                                                     nonmedical use was lower, ranging from                  reported in RADARS–NMURx, MTF,                        substances based on data from the
                                                     12 percent to 14 percent of individuals                 and ICPS. HHS Basis for Rec. at 37. In                United States Poison Centers National
                                                     surveyed. Individuals aged 26 to 34                     2016, DEA found that marijuana                        Poison Data System (‘‘NPDS’’), NSDUH,
                                                     years had the highest relative                          continues to be the most widely used                  the Treatment Episode Data Set
                                                     prevalence of nonmedical marijuana                      illicit drug. It noted that in 2014, there            (‘‘TEDS’’), the National Addictions
                                                     use, with 26 percent reporting past-year                                                                      Vigilance Intervention and Prevention
                                                                                                             were 22.2 million current users; that
                                                     use and 18 percent reporting past-month                                                                       Program (‘‘NAVIPPRO’’), the National
                                                                                                             there were also 2.6 million new users,
                                                     use. When those individuals who                                                                               Emergency Department Sample
                                                                                                             most of whom were less than 18 years
                                                     reported past-year marijuana use in                                                                           (‘‘NEDS’’), the National Inpatient
                                                                                                             of age; and that marijuana was the most
                                                     2021 were asked why they used the                                                                             Sample (‘‘NIS’’), and the National
                                                                                                             frequently identified drug identified in
                                                     drug, 33 percent reported use for                                                                             Forensic Laboratory Information System
                                                                                                             Federal, State, and local forensic
                                                     medical reasons, while 61 percent were                                                                        (‘‘NFLIS’’). HHS Basis for Rec. at 37–45.
                                                                                                             laboratories. 81 FR 53739. In addition to
                                                     classified as using marijuana for                       the data provided in the HHS Basis for                Epidemiological Data on Consequences
                                                     nonmedical reasons only. (The other 6                   Recommendation and the data                           of Marijuana Abuse
                                                     percent did not respond.) HHS Basis for                 considered by HHS and DEA in their
                                                     Rec. at 36.                                                                                                   National Poison Data System
                                                                                                             2015 eight-factor analyses, DEA
                                                        When frequency of nonmedical use of                  anticipates that additional information                 Data from NPDS provide information
                                                     marijuana was evaluated in ICPS for                     arising from this rulemaking will further             on the scope of contacts with a poison
                                                     those individuals who used marijuana                    inform the findings that must be made                 center (‘‘PC’’) following marijuana abuse
                                                     nonmedically at least once a year,                      to reschedule marijuana, including with               relative to abuse of selected
                                                     individuals aged 16 to 17 years had the                 respect to this factor. DEA also notes                comparators. HHS Basis for Rec. at 38.
                                                     highest percentage of use less than once                that, according to the World Health                     The number of PC abuse cases for a
                                                     a month (approximately 40 percent,                      Organization, cannabis is globally the                substance (either alone or in
                                                     compared to approximately 25 to 31                                                                            combination with another substance) for
                                                                                                             most commonly used psychoactive
                                                     percent for other age cohorts); while                                                                         the period of 2015 to 2021 showed that
                                                                                                             substance under international control.22
                                                     individuals aged 26 to 34 years had the                                                                       the highest number of PC abuse cases
                                                                                                             Accounting for half of all drug seizures
                                                     highest percentage of daily use                                                                               was for alcohol, followed by heroin and
                                                                                                             worldwide, the global annual
                                                     (approximately 43 percent, compared to                  prevalence of cannabis consumption is                    24 Substance Abuse & Mental Health Servs.
                                                     approximately 34 to 37 percent for                      2.5 percent or about 147 million                      Admin., Key Substance Use and Mental Health
                                                     individuals in other adult cohorts and                  people.23 In 2016, an estimated 28.6                  Indicators in the United States: Results from the
                                                     approximately 24 percent among                          million individuals age 12 or older were              2016 National Survey on Drug Use and Health 1
                                                     individuals 16 and 17 years). Among                     current (in the past month) illicit drug              (2017), https://www.samhsa.gov/data/sites/default/
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                                                     individuals who used marijuana for                                                                            files/NSDUH-FFR1-2016/NSDUH-FFR1-2016.pdf.
                                                                                                                                                                      25 Substance Abuse & Mental Health Servs.
                                                     nonmedical reasons in the past year, 49                   22 World Health Org., The Health and Social         Admin, Key Substance Use and Mental Health
                                                     percent reported never using alcohol                    Effects of Nonmedical Cannabis Use, at v (2016),      Indicators in the United States: Results from the
                                                     and marijuana at the same time, while                   https://iris.who.int/bitstream/handle/10665/          2020 National Survey on Drug Use and Health 2
                                                     35 percent sometimes used the two                       251056/9789241510240-eng.pdf.                         (2021), https://www.samhsa.gov/data/sites/default/
                                                     substances together, 9 percent often                      23 Alcohol, Drugs & Addictive Behaviours Unit,      files/reports/rpt35325/NSDUHFFRPDFWHTML
                                                                                                             Cannabis, World Health Org., https://www.who.int/     Files2020/2020NSDUHFFR1PDFW102121.pdf.
                                                     used them together, and 5 percent used                  teams/mental-health-and-substance-use/alcohol-           26 Domestic Cannabis Suppression/Eradication
                                                     alcohol every time they used marijuana.                 drugs-and-addictive-behaviours/drugs-psycho           Program, DEA, https://www.dea.gov/operations/
                                                     HHS Basis for Rec. at 36–37.                            active/cannabis (last visited May 13, 2024).          eradication-program (last visited May 13, 2024).



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                                                     then benzodiazepines. The fourth                        were similar, as were the rates for                   did not use other drugs illicitly, there
                                                     highest number of PC abuse cases was                    alcohol, zolpidem, tramadol, and                      was a slightly lower prevalence (24
                                                     for marijuana, with all other                           hydrocodone; all these rates were                     percent) of meeting the criteria for SUD
                                                     comparators showing fewer PC abuse                      considerably lower than the rates for                 (15 percent mild, 6 percent moderate,
                                                     cases. When the PC abuse cases for 2015                 ketamine, cocaine, and                                and 3 percent severe). For cocaine, 30
                                                     to 2021 were analyzed for cases                         benzodiazepines. A similar pattern of                 percent of individuals who used cocaine
                                                     involving a single substance only, the                  utilization-adjusted abuse rates was                  in the past year met criteria for cocaine
                                                     rank order of PC abuse cases by number                  seen among cases involving a single                   SUD (13 percent mild, 5 percent
                                                     was the same as the order from all PC                   substance only during the same time                   moderate, and 12 percent severe). For
                                                     abuse cases for substances used alone or                period. HHS Basis for Rec. at 39.                     individuals who used alcohol in the
                                                     in combination with another substance,                     An analysis of medical outcomes                    past year, the prevalence of alcohol SUD
                                                     meaning that marijuana accounted for                    related to exposure based on severity,                was 17 percent (10 percent mild, 4
                                                     the fourth highest number of PC abuse                   timing, and assessment of clinical                    percent moderate, and 3 percent severe).
                                                     cases for a single substance. HHS Basis                 effects for all single-substance PC abuse             HHS Basis for Rec. at 40.
                                                     for Rec. at 38.                                         cases involving marijuana or comparator                 Although the 2021 NSDUH data
                                                        HHS’s analysis of the data from 2015                 drugs showed that serious medical                     showed that the likelihood of meeting
                                                     to 2021 showed cases resulting from                     outcomes (moderate effect, major effect,              the criteria for a SUD was highest for
                                                     abuse (as opposed to those resulting                    or death) were greatest for illicit                   heroin, followed by marijuana, cocaine,
                                                     from other causes, such as accidental                   fentanyl (81 percent) and heroin (79                  and alcohol, the absolute number of
                                                     ingestion) made up the largest                          percent), followed by oxycodone (70                   individuals who met the criteria had a
                                                     proportion of PC cases for illicit                      percent), ketamine (64 percent),                      different order. Alcohol had the highest
                                                     fentanyl (72 percent), heroin (65                       tramadol (62 percent), cocaine (59                    number of such individuals
                                                     percent), cocaine (41 percent) and                      percent), hydrocodone (44 percent),                   (approximately 29,544,000), followed by
                                                     ketamine (40 percent). The fifth highest                marijuana (41 percent), benzodiazepines               marijuana (approximately 13,078,000
                                                     percentage was for cases involving                      (32 percent), alcohol (31 percent), and               people with marijuana nonmedical-only
                                                     marijuana (36 percent), followed by                     zolpidem (27 percent). HHS noted that                 use, and approximately 7,454,000 with
                                                     alcohol (15 percent), oxycodone (13                     death rates are underreported in NPDS,                nonmedical-only use and no
                                                     percent), benzodiazepines (8 percent),                  but HHS observed that the highest death               nonmedical use of other drugs), cocaine
                                                     hydrocodone (5 percent), tramadol (4                    rate was for fentanyl (25 percent);                   (approximately 1,408,000), and heroin
                                                     percent), and zolpidem (3 percent). A                   cocaine, heroin, and alcohol had                      (approximately 894,000). HHS Basis for
                                                     similar analysis for single-substance-                  comparatively very low death rates (3                 Rec. at 40.
                                                     only abuse for the same period showed                   percent, 2 percent, and 2 percent,
                                                                                                                                                                   Treatment Episode Data Set
                                                     that the three substances most likely to                respectively), with all other comparators
                                                     lead to a PC call following abuse were                  reporting death rates of less than 1                     TEDS is a database run by SAMHSA
                                                     heroin (65 percent), oxycodone (47                      percent. HHS Basis for Rec. at 39–40.                 within HHS that presents information
                                                     percent), and tramadol (47 percent). The                                                                      on the demographic and substance use
                                                                                                             National Survey on Drug Use and                       characteristics of annual admissions for
                                                     fourth highest percentage was for
                                                                                                             Health                                                treatment for alcohol and drug abuse in
                                                     marijuana and ketamine (46 percent),
                                                     followed by alcohol (43 percent),                          Data from NSDUH provide nationally                 State-approved facilities that are
                                                     zolpidem (40 percent), hydrocodone (37                  representative information on the                     required by the States to provide TEDS
                                                     percent), illicit fentanyl (34 percent),                prevalence of substance use disorder                  client-level data. Because TEDS is based
                                                     benzodiazepines (32 percent), and                       (‘‘SUD’’) in 2021 among individuals                   only on reports from these facilities,
                                                     cocaine (28 percent). HHS Basis for Rec.                aged 12 years or older who reported                   TEDS data do not represent the total
                                                     at 38.                                                  nonmedical use of marijuana in past                   national demand for substance abuse
                                                        Annual utilization-adjusted abuse                    year in comparison to heroin, cocaine,                treatment or the prevalence of substance
                                                     case rates were calculated by dividing                  or alcohol use in the past year. A                    abuse in the general population. HHS
                                                     the number of PC abuse case counts by                   diagnosis of SUD is made when an                      Basis for Rec. at 40–41.
                                                     the prevalence of past-year use based on                individual endorses at least 2 of the 11                 Out of 1.4 million admissions
                                                     NSDUH estimates from people aged 12                     criteria for SUD according to the                     documented in the 2020 TEDS dataset,
                                                     years and older, for the period 2015 to                 Diagnostic and Statistical Manual of                  the most frequently reported primary
                                                     2019, for both (1) any past-year use of                 Mental Disorders, Fifth Edition (‘‘DSM–               drug of admission was alcohol (31
                                                     the substance and (2) past-year                         V’’). Individuals are classified with a               percent, or 442,014 admissions),
                                                     nonmedical use of the substance. These                  mild SUD if they meet two to three of                 followed by heroin (21 percent, or
                                                     utilization-adjusted rates convey the                   the criteria, a moderate SUD if they                  292,126 admissions), marijuana (10
                                                     likelihood that use of a drug will result               meet four to five of the criteria, and a              percent, or 139,481 admissions), and
                                                     in PC abuse cases when considering                      severe SUD if they meet six or more of                cocaine (5 percent, or 71,725
                                                     how many people use the drug for either                 the criteria. HHS Basis for Rec. at 40.               admissions). Other comparator drugs
                                                     (1) any reason or (2) nonmedical                           NSDUH data showed that, among                      were each reported as the primary drug
                                                     reasons. The utilization-adjusted abuse                 individuals with past-year heroin use in              in less than 2 percent of admissions.
                                                     rates for any past-year use of a substance              2021, there was an 81 percent                         Over the reporting period of 2015 to
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                                                     showed the highest rate for heroin                      prevalence of meeting the criteria for a              2020, the proportion of admissions each
                                                     (increasing from 4,038 to 7,201 cases per               heroin SUD. In comparison, there was a                year ranged from 30 to 33 percent for
                                                     one million people). The next highest                   30 percent prevalence of meeting the                  alcohol; from 21 to 26 percent for
                                                     rates were for ketamine, cocaine, and                   criteria for marijuana SUD among                      heroin; from 10 to 14 percent for
                                                     benzodiazepines; all these rates were                   individuals who used marijuana for                    marijuana; and from 5 to 6 percent for
                                                     considerably lower than the rate for                    nonmedical reasons only (17 percent                   cocaine. The proportion of admissions
                                                     heroin. The rates for marijuana                         mild, 8 percent moderate, and 5 percent               with marijuana as the primary drug
                                                     (relatively stable at 75 to 70 cases per                severe). For individuals who used                     declined each year from 14 percent in
                                                     one million people) and oxycodone                       marijuana for nonmedical purposes and                 2015 to a low of 10 percent in 2020,


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                                                     while the proportion of admissions with                 Department Databases, which capture                   unweighted inpatient stays annually,
                                                     cocaine as the primary drug increased                   discharge information on all ED visits                accounting for weighted annual
                                                     slightly during this time from 5 percent                that do not result in hospital admission,             estimates of 35 million hospitalizations.
                                                     in 2015 to 6 percent in 2019. During this               and the State Inpatient Databases, which              HHS used NIS data to compare alcohol,
                                                     reporting period, other comparator                      contain information on patients first                 marijuana, and cocaine. HHS Basis for
                                                     drugs were each reported as the primary                 seen in the ED and then admitted. The                 Rec. at 43.
                                                     drug in less than 2 percent of                          2020 ED sample covered 995 hospital                     From 2016 to 2020, alcohol-related
                                                     admissions each year. HHS Basis for                     EDs and 41 States; the unweighted 2020                disorder had the highest estimated
                                                     Rec. at 41.                                             sample contained data from over 28                    annual number of hospitalizations, at
                                                        In 2020, marijuana and cocaine were                  million ED visits, which resulted in a                approximately 1.8 million each year, of
                                                     most likely to be reported as the                       weighted estimate of 123 million ED                   which approximately 1.2 to 1.25 million
                                                     secondary drug at admission (25 percent                 visits. HHS compared ED visits that                   involved single-substance alcohol-
                                                     and 24 percent, respectively), followed                 noted an alcohol, marijuana, or cocaine-              related disorder. Marijuana-related
                                                     by alcohol (15 percent), heroin (8                      related disorder; this comparison                     disorder had the second-highest
                                                     percent), and benzodiazepines (6                        included ED visits not directly due to a              estimated annual number of
                                                     percent), with all other comparators                    specific substance-related disorder, but              hospitalizations, increasing from
                                                     reported as less than 2 percent. For                    in which the patient was recorded as                  795,140 in 2016 to 914,810 in 2020, of
                                                     tertiary drugs at admission, marijuana                  having had an alcohol, marijuana, or                  which 373,160 to 452,985 were for
                                                     (29 percent) was reported most                          cocaine-related disorder in the                       single-substance marijuana-related
                                                     frequently, followed by cocaine (18                     administrative claim associated with the              disorder. Cocaine had the lowest
                                                     percent), alcohol (16 percent), and                     visit. HHS Basis for Rec. at 42.                      estimated annual number of
                                                     heroin (5 percent), with all other                        Based on NEDS data, from 2016 to                    hospitalizations, ranging from 387,385
                                                     comparators reported as less than 2                     2020, the highest estimated number of                 to 453,955, of which 94,695 to 112,725
                                                     percent. HHS Basis for Rec. at 41.                      annual ED visits was for an alcohol-                  were for single-substance cocaine-
                                                                                                             related disorder, with between 4 million              related disorder. HHS Basis for Rec. at
                                                     National Addictions Vigilance
                                                                                                             and 4.1 million visits each year, 3.2                 43.
                                                     Intervention and Prevention Program                                                                             HHS then calculated a utilization-
                                                                                                             million of which involved alcohol as a
                                                        NAVIPPRO is a surveillance system                    single substance. Over the same                       adjusted rate of estimated
                                                     for substance use and nonmedical use of                 timeframe, estimated annual ED visits                 hospitalizations, and the highest rate
                                                     prescription medication in a                            involving a marijuana-related disorder                was for cocaine-related disorder, which
                                                     convenience sample of adults seeking                    ranged from approximately 1.3 million                 ranged from 7,185 to 8,211
                                                     treatment or being assessed for SUD                     to over 1.7 million, with the estimated               hospitalizations per 100,000 individuals
                                                     treatment at participating facilities                   annual ED visits for single-substance                 with any past-year use, of which 1,796
                                                     across the United States. NAVIPPRO                      marijuana disorder ranging from                       to 2,039 were single-substance
                                                     Addiction Severity Index-Multimedia                     757,731 to 1.08 million. For cocaine, the             hospitalizations. Marijuana-related
                                                     Version (‘‘ASI–MV’’) is a clinical                      estimated annual ED visits involving a                disorder had the second-highest rate of
                                                     assessment tool that collects data on                   related disorder were between 559,165                 estimated hospitalizations, ranging from
                                                     recent drug use behaviors for evaluation                and 774,737, with annual visits for                   1,850 to 2,117 per 100,000 individuals,
                                                     and treatment planning at intake. From                  single-substance cocaine-related                      of which 906 to 1,026 were single-
                                                     2020 through 2021, there were a total of                disorder ranging from 204,257 to                      substance hospitalizations. Alcohol had
                                                     76,249 NAVIPPRO ASI–MV assessments                      266,614. HHS Basis for Rec. at 42.                    the lowest rate, ranging from 987 to
                                                     in individuals entering or being                          HHS calculated a utilization-adjusted               1,039 per 100,000 individuals, of which
                                                     assessed for SUD treatment at a center                  rate of estimated ED visits, and the                  675 to 715 were single-substance
                                                     participating in the NAVIPPRO                           highest rate was for cocaine-related                  hospitalizations. HHS Basis for Rec. at
                                                     network. The drug most frequently                       disorder, which ranged from 11,765 to                 43.
                                                     endorsed for past-month use was                         14,014 visits per 100,000 individuals, of
                                                                                                                                                                   National Forensic Laboratory
                                                     marijuana (20,458 individuals, or 27                    which 4,011 to 4,952 were single-
                                                                                                                                                                   Information System
                                                     percent), followed by alcohol (5 or more                substance visits. Marijuana had the
                                                     alcoholic drinks per day, 16,388                        second-highest utilization-adjusted rate                 NFLIS is a program of the Diversion
                                                     individuals, or 22 percent), heroin                     of estimated ED visits, ranging from                  Control Division of DEA. The NFLIS-
                                                     (9,078 individuals, or 16 percent),                     3,472 to 3,940 per 100,000 individuals                Drug system is a component of the
                                                     fentanyl (6,186 individuals, or 8                       2,017 to 2,413 of which were single-                  NFLIS that contains data that serve as a
                                                     percent), hydrocodone (3,448                            substance visits. The utilization-                    surveillance resource to monitor drug
                                                     individuals, or 5 percent), oxycodone                   adjusted rate of visits involving an                  encounters by law enforcement across
                                                     (3,186 individuals, or 4 percent),                      alcohol disorder, the lowest of the three             the United States, including data on
                                                     cocaine or crack (5,417 individuals, or                 substances, ranged from 2,225 to 2,327                drugs seized by law enforcement and
                                                     7 percent), tramadol (543 individuals, or               per 100,000 individuals, of which 1,775               submitted to Federal, State, and local
                                                     1 percent), and ketamine (169                           to 1,843 were single-substance ED visits.             forensic laboratories for analysis. In
                                                     individuals, or less than 1 percent).                   HHS Basis for Rec. at 42–43.                          NFLIS, a law enforcement investigation
                                                     HHS Basis for Rec. at 41.                                                                                     (‘‘case’’) may result in one or more
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                                                                                                             National Inpatient Sample                             ‘‘reports’’ or ‘‘exhibits’’ of drug
                                                     Nationwide Emergency Department                            NIS is the largest publicly available              evidence, and each report or exhibit
                                                     Sample                                                  all-payer inpatient administrative health             may contain one drug or multiple drugs.
                                                        NEDS is the largest all-payer ED                     care database in the United States, and               However, NFLIS-Drug data has
                                                     database in the United States, as                       it is sponsored by AHRQ. It is a sample               limitations because not all drugs
                                                     developed for HHS’s Agency for                          of discharges from participating                      encountered by law enforcement are
                                                     Healthcare Research and Quality                         community hospitals from 46 to 48                     sent for analysis and not all drugs sent
                                                     (‘‘AHRQ’’). NEDS is a sample of records                 States and the District of Columbia each              to reporting forensic laboratories are
                                                     from ED visits from the State Emergency                 year, with approximately 7 million                    tested. To account for nonreporting


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                                                     laboratories, among other things, DEA                   where marijuana was in the lowest                      also notes that TEDS data for 2021
                                                     publishes NFLIS-Drug national report                    ranking group. HHS determined that                     reported that marijuana/hashish was the
                                                     estimates annually and semiannually.                    this demonstrated that there is                        primary substance of abuse in 10.2
                                                     Analyzing national estimates data                       consistency across databases, across                   percent of all admissions to substance
                                                     allows for a comparison of the number                   substances, and over time, and that                    abuse treatment among patients aged 12
                                                     of reports by year and reporting trends.                although abuse of marijuana produces                   and older.29 The 2021 TEDS data further
                                                     In calculating national and regional                    clear evidence of harmful consequences,                reported that New York, California,
                                                     estimates, DEA uses all NFLIS-Drug                      including SUD, the consequences are                    Georgia, North Carolina, New Jersey,
                                                     reporting laboratories. HHS Basis for                   relatively less common and less harmful                Texas, Minnesota, South Carolina,
                                                     Rec. at 43–44.                                          than some other comparator drugs.                      Florida, and Connecticut accounted for
                                                        In 2021, there were 1,326,205 drug                   Additionally, HHS concluded, the                       55.9 percent of admissions to substance
                                                     reports from State and local forensic                   number of law enforcement encounters                   use treatments services where
                                                     laboratories in the United States, an                   with marijuana decreased from 2020 to                  marijuana/hashish was listed as the
                                                     increase of 3 percent from 2020.                        2021, at a time when law enforcement                   primary substance.30 DEA also believes
                                                     Nationally, 61 percent of all drug                      encounters were increasing for other                   that additional information regarding
                                                     reports in NFLIS were identified as                     scheduled drugs of abuse. However, as                  the scope, duration, and significance of
                                                     involving methamphetamine (406,200                      it noted with respect to Factor 1.A, HHS               marijuana abuse may be appropriate for
                                                     reports or 31 percent), cannabis/THC                    emphasized that there are limitations in               consideration in assessing this factor.
                                                     (167,669 reports or 13 percent), cocaine                comparing descriptive data on adverse
                                                     (165,162 reports or 12 percent), or                                                                            6. What, if Any, Risk There Is to the
                                                                                                             outcomes across drugs, although                        Public Health
                                                     heroin (72,315 reports or 5 percent).                   descriptive analyses of epidemiologic
                                                     HHS Basis for Rec. at 44–45.                            data are an established practice in                       The sixth factor that DOJ and HHS
                                                        In 2021, there were 1,027,219 drug-                  previous eight-factor analyses. HHS                    must consider under 21 U.S.C. 811(c) is
                                                     specific cases submitted to and analyzed                Basis for Rec. at 45.                                  the risk posed to the public health by
                                                     by State and local laboratories, a 2                       In 2016, DEA found that abuse of                    marijuana. In analyzing this factor, HHS
                                                     percent increase from 2020. Although                    marijuana is widespread and significant.               examined NSDUH data related to the
                                                     the total NFLIS-Drug number of drug                     81 FR 53739. In addition, DEA found in                 demographics of U.S. individuals
                                                     reports increased in 2021 from 2020, the                2016 that a significant proportion of all              meeting criteria for marijuana use
                                                     total number of cases and drugs                         admissions for substance abuse                         disorder, TEDS data related to the
                                                     reported continues to be noticeably                     treatment are for marijuana/hashish as                 demographics of admission to treatment
                                                     lower than the numbers reported for the                 the primary drug of abuse. Id. DEA                     centers for marijuana use disorder,
                                                     years before the COVID–19 pandemic.                     notes that national data demonstrate                   NEDS and NIS data on admissions to
                                                     Nationally, in 2021, 45 percent of all                                                                         EDs and hospitals related to marijuana
                                                                                                             that marijuana is one of the most widely
                                                     drug cases contained one or more                                                                               poisoning, ToxIC Core Registry data on
                                                                                                             used federally illicit substances in the
                                                     reports of methamphetamine, followed                                                                           intentional and unintentional exposure,
                                                                                                             United States, consistent with findings
                                                     by cocaine (18 percent), cannabis/THC                                                                          and NPDS data describing the risks to
                                                                                                             from the HHS Basis for
                                                     (17 percent), and heroin (8 percent).                                                                          youth of unintentional exposure to
                                                                                                             Recommendation. According to the
                                                     Nationally, the number of cannabis/THC                                                                         marijuana. HHS also assessed the risks
                                                                                                             NSDUH, in 2022, among people aged 12
                                                     reports as well as the number of cases                                                                         to the public health through NSDUH
                                                                                                             or older in the United States, an
                                                     in which cannabis/THC was identified                                                                           data on driving under the influence of
                                                                                                             estimated 61.9 million people (22
                                                     decreased from 2015 through 2021,                                                                              marijuana in adults and high school
                                                                                                             percent) had used marijuana in the past
                                                     including a decrease from 188,735 to                                                                           students. Finally, HHS reported data
                                                     167,669 from 2020 to 2021. HHS noted                    year, and 42.3 million (15.0 percent)
                                                                                                             had used it in the past month. DEA                     regarding the risk of serious AEs and
                                                     that this could mean there was a                                                                               death associated with nonmedical use/
                                                     decrease in the number of cannabis/                     notes that, according to one National
                                                                                                             Institutes of Health-supported study, the              use of uncertain intent of marijuana as
                                                     THC encounters, but it could also mean                                                                         reported to the FDA Adverse Event
                                                     that there was a decrease in the number                 prevalence of daily marijuana use
                                                                                                             reached its highest level reported in                  Reporting System, Center for Food
                                                     of exhibits submitted by law                                                                                   Safety and Applied Nutrition Adverse
                                                     enforcement for analysis or a decrease                  2021, at 11 percent of Americans aged
                                                                                                             12 or older, a 3 percent increase from                 Event Reporting System, National Vital
                                                     in the number of exhibits processed                                                                            Statistics System-Mortality (‘‘NVSS–
                                                     (analyzed) by forensic laboratories. HHS                2017 and a 5 percent increase from
                                                                                                             2012.27 It also notes that the average                 M’’), DAWN, FDA’s Sentinel Distributed
                                                     Basis for Rec. at 45.                                                                                          Database System, and Centers for
                                                                                                             percentage of D9-THC in seized
                                                     HHS Conclusion With Respect to                          marijuana has increased over time.28                   Medicare and Medicaid Services, and as
                                                     Factor 5                                                Also, TEDS data showed that, in 2020,                  reflected in the Drug-Involved Mortality
                                                                                                             marijuana was the primary drug of                      data linking NVSS–M to death
                                                       In HHS’s view, the most notable
                                                                                                             admission in approximately 10 percent                  certificates. HHS Basis for Rec. at 46.
                                                     conclusion from its evaluation of
                                                     epidemiological databases related to the                of all admissions to substance abuse                   HHS Conclusion With Respect to
                                                     medical outcomes from drug abuse is                     treatment among patients aged 12 and                   Factor 6
                                                     that, for all evaluated measures from                   older. HHS Basis for Rec. at 41, 46. DEA
                                                                                                                                                                      HHS’s detailed analysis of the risks
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                                                     2015 to 2020, the rank order of                                                                                posed by marijuana to the public health
                                                                                                               27 Marijuana and hallucinogen use among young
                                                     comparators in terms of greatest adverse
                                                                                                             adults reached all time-high in 2021, Nat’l Inst. on
                                                     consequences typically placed alcohol                   Drug Abuse (Aug. 22, 2022), https://nida.nih.gov/         29 Substance Abuse & Mental Health Servs.
                                                     (unscheduled), heroin (schedule I), and                 news-events/news-releases/2022/08/marijuana-and-       Admin., Treatment Episode Data Set (TEDS) 2021:
                                                     cocaine (schedule II) in the first or                   hallucinogen-use-among-young-adults-reached-all-       Admissions to and Discharges from Substance Use
                                                     immediately subsequent position, with                   time-high-in-2021.                                     Treatment Services Reported by Single State
                                                                                                               28 Cannabis Potency Data, Nat’l Inst. on Drug        Agencies 10 (2023), https://www.samhsa.gov/data/
                                                     marijuana in a lower position. This                     Abuse (Nov. 23, 2022), https://nida.nih.gov/           sites/default/files/reports/rpt42794/2021-teds-
                                                     pattern also held for PC data for serious               research/research-data-measures-resources/             annual-report.pdf (Figure 3.A.9).
                                                     medical outcomes, including death,                      cannabis-potency-data.                                    30 Id. at 29 (Figure 6.B.4).




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                                                     can be found at pages 46–57 of the HHS                  although other evidence in the same                      in individuals who regularly use
                                                     Basis for Recommendation. In summary,                   report suggests that driving under the                   marijuana vary and range from about 10
                                                     HHS found that the risks to the public                  influence citations involving marijuana                  to 20 percent. These estimates are
                                                     health posed by marijuana are low                       have grown at a rate similar to the rate                 similar to data from the United States
                                                     compared to other drugs of abuse (e.g.,                 for citations involving other drugs.31                   National Comorbidity Study, which
                                                     heroin (schedule I), cocaine (schedule                  DEA also identified some evidence                        showed that 9 percent of lifetime
                                                     II)), based on its evaluation of various                suggesting that, among drivers who test                  cannabis users met the criteria for
                                                     epidemiological databases for ED visits,                positive for at least one drug in a traffic              dependence outlined in the DSM’s
                                                     hospitalizations, unintentional                         stop, a growing share test positive for                  revised Third Edition at some time in
                                                     exposures, and, most importantly, for                   cannabis.32                                              their life, compared to 32 percent of
                                                     overdose deaths. The rank order of                                                                               tobacco users, 23 percent of opiate
                                                                                                             7. Marijuana’s Psychic or Physiological
                                                     comparator drugs in terms of greatest                                                                            users, and 15 percent of alcohol users.
                                                                                                             Dependence Liability
                                                     adverse consequences typically places                                                                            The National Epidemiologic Survey on
                                                     heroin, benzodiazepines, or cocaine in                     The seventh factor that DOJ and HHS                   Alcohol and Related Conditions also
                                                     the first or immediately subsequent                     are required to consider under 21 U.S.C.                 reported a nine percent lifetime
                                                     positions, with marijuana in a lower                    811(c) is the psychic or physiologic                     cumulative probability of transitioning
                                                     place in the ranking, especially when                   dependence liability of marijuana.                       from marijuana use to dependence, with
                                                     comparing among individuals who                         A. Psychic Dependence                                    a higher risk of dependence in
                                                     reported using the respective drugs at                                                                           individuals with a history of psychiatric
                                                     least once in the prior year. For                          The term ‘‘psychic or psychological                   or other substance dependence
                                                     overdose deaths, marijuana is always                    dependence’’ has been used to refer to                   comorbidity. In the United States, data
                                                     ranked the lowest among comparator                      a state similar to addiction. For                        from the 2020 NSDUH show that
                                                     drugs. HHS interpreted these                            diagnosis purposes, the DSM–V has                        approximately 14 million individuals
                                                     evaluations to demonstrate that there is                combined the diagnoses ‘‘abuse’’ and                     aged 12 or older who use marijuana or
                                                     consistent evidence across databases,                   ‘‘drug dependence’’ (i.e., addiction),                   other cannabinoid preparations met
                                                     across substances, and over time that,                  which the DSM’s Fourth Edition                           criteria for CUD, representing 5.1
                                                     although the abuse of marijuana poses a                 specified separately, into a single                      percent of all individuals aged 12 or
                                                     risk to public health, the risk is                      ‘‘substance use disorder,’’ which may                    older meeting the NSDUH survey
                                                     relatively lower than that posed by most                occur in a broad range of severity, from                 inclusion criteria. HHS Basis for Rec. at
                                                     other comparator drugs. However, as                     mild to severe. HHS Basis for Rec. at 57.                58.
                                                     HHS noted in its discussion of Factor 1,                   The abuse potential of a drug can be                    Individuals who develop a SUD,
                                                     see HHS Basis for Rec. at 7–8, there are                assessed, in part, by evaluating the                     including CUD, may seek treatment.
                                                     limitations in comparing descriptive                    rewarding effects produced by that drug                  From 2015 to 2020, TEDS documented
                                                     data on adverse outcomes across drugs.                  in humans and animals. As HHS                            approximately 10.8 million treatment
                                                     HHS Basis for Rec. at 57.                               described in its analysis of Factor 2, see               episode admissions reported by
                                                        In 2016, DEA found that, ‘‘[t]ogether                HHS Basis for Rec. at 12–13, rodent                      individuals treated at publicly funded
                                                     with the health risks outlined in terms                 behavioral studies show that D9-THC                      substance use treatment programs. Out
                                                     of pharmacological effects above, public                produces both self-administration and                    of 1.4 million treatment admissions
                                                     health risks from acute use of marijuana                CPP. HHS determined that these results                   documented by TEDS in 2020,
                                                     include impaired psychomotor                            demonstrate that D9-THC has rewarding                    marijuana was reported as the primary
                                                     performance, impaired driving, and                      properties that are indicative of abuse                  substance of abuse in approximately 10
                                                     impaired performance on tests of                        potential. Further, as HHS described in                  percent of admissions, making it the
                                                     learning and associative processes.                     its analysis of Factor 4, see HHS Basis                  third most frequently reported primary
                                                     Chronic use of marijuana poses a                        for Rec. at 32–37, there is ample                        substance of abuse, after alcohol (31.2
                                                     number of other risks to the public                     epidemiological evidence that                            percent) and heroin (20.6 percent). A
                                                     health including physical as well as                    marijuana is self-administered by                        similar pattern was seen from 2015 to
                                                     psychological dependence.’’ 81 FR                       humans, which may result from its                        2019. HHS Basis for Rec. at 58.
                                                     53739–40. In addition to the data                       ability to produce rewarding                               HHS concluded that the animal
                                                     provided in the HHS Basis for                           psychological effects, such as euphoria,                 behavioral data show that D9-THC
                                                     Recommendation and the data                             see HHS Basis for Rec. at 15. HHS Basis                  produces rewarding properties that
                                                     considered by HHS and DEA in their                      for Rec. at 58.                                          underlie the abuse potential of
                                                     prior eight-factor analyses, DEA                           In some individuals, extensive use of                 marijuana. Epidemiological data
                                                     anticipates that additional data on                     marijuana can lead to SUD. HHS noted                     demonstrate that some individuals who
                                                     public safety risks, risks from acute and               that, in general, SUDs listed in the                     use marijuana for its rewarding
                                                     chronic marijuana use via oral and                      DSM–V are defined by an inability to                     properties go on to develop CUD, which
                                                     inhaled administration routes, and the                  cease drug use despite harmful                           shows that marijuana can produce
                                                     impact of D9-THC potency may be                         consequences; Cannabis Use Disorder                      psychological dependence. Among
                                                     appropriate for consideration.                          (‘‘CUD’’) shares this and other                          those individuals who seek admission
                                                        As discussed in the HHS Basis for                    diagnostic criteria common to SUDs for                   for treatment for SUD associated with a
                                                     Recommendation, DEA notes that                          other drugs of abuse. Estimates of CUD                   drug of abuse, marijuana was the third
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                                                     studies have examined the risk                             31 See 8 Rocky Mountain High Intensity Drug
                                                                                                                                                                      most frequently reported primary
                                                     associated with marijuana use and                       Trafficking Area, The Legalization of Marijuana in       substance of abuse. Thus, marijuana can
                                                     driving. HHS Basis for Rec. at 50. The                  Colorado: The Impact 8, 13 (2021), https://              produce psychic dependence in some
                                                     Rocky Mountain High Intensity Drug                      www.rmhidta.org/_files/ugd/4a67c3_                       individuals who use the drug. HHS
                                                     Trafficking Area reported in a                          b391ac360f974a8bbf868d2e3e25df3d.pdf. Note that          Basis for Rec. at 58–59.
                                                     publication that traffic deaths in                      the publication did not address the timing of
                                                                                                             marijuana use associated with fatal traffic accidents.   B. Physical Dependence
                                                     Colorado in which drivers tested                           32 See Fernando A. Wilson et al., Fatal Crashes
                                                     positive for marijuana more than                        from Drivers Testing Positive for Drugs, 1993–2010,        Physical dependence is a state of
                                                     doubled from 55 in 2013 to 131 in 2020,                 129 Public Health Reports 342, 347–348 (2014).           adaptation manifested by a drug-class


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                                                     specific withdrawal syndrome produced                   fever, chills, and headache. HHS Basis                following discontinuation, as well as
                                                     by abrupt cessation, rapid dose                         for Rec. at 59–60.                                    psychic or psychological dependence.’’
                                                     reduction, decreasing blood level of the                   HHS reported that up to 40 to 50                   81 FR 53740. DEA notes that some
                                                     drug, or administration of an antagonist.               percent of individuals who use                        physicians have argued that CUD is
                                                     Although physical dependence is often                   marijuana on a regular basis may                      underdiagnosed and undertreated in the
                                                     associated with addiction, it can be                    experience physical dependence. A                     medical setting,33 and that other
                                                     produced by repeated administration of                  meta-analysis of 23,518 individuals who               medical professionals have noted that
                                                     drugs both with and without abuse                       frequently used marijuana showed that                 CUD needs to be better understood and
                                                     potential. HHS Basis for Rec. at 59.                    47 percent of subjects reported                       characterized to better inform users and
                                                        As HHS discussed in its analysis of                  symptoms of marijuana withdrawal. The                 treatment professionals.34 DEA
                                                     Factor 2, see HHS Basis for Rec. at 11,                 prevalence of physical dependence was                 anticipates that additional psychic or
                                                     D9-THC is a partial agonist at CB1                      54 percent in outpatient samples, 17                  physiological dependence liability may
                                                     receptors. When marijuana (or isolated                  percent in community samples, and 87                  be appropriate for consideration.
                                                     D9-THC) is administered chronically,                    percent among inpatients in drug abuse
                                                                                                             treatment centers. This is consistent                 8. Whether Marijuana Is an Immediate
                                                     there is a down-regulation of CB1                                                                             Precursor of a Substance Already
                                                     receptors, which leads to behavioral                    with data showing that 90 percent of
                                                                                                             individuals who were diagnosed with                   Controlled Under the CSA
                                                     tolerance. The underlying mechanism
                                                     for marijuana withdrawal appears to be                  CUD also reported physical                               The eighth factor that DOJ and HHS
                                                     the uncoupling or desensitization of CB1                dependence. Further, individuals                      are required to consider under 21 U.S.C.
                                                     receptors that precedes receptor down-                  diagnosed with CUD experience more                    811(c) is whether marijuana is an
                                                     regulation. Abrupt discontinuation of                   severe and longer lasting withdrawal                  immediate precursor of a substance
                                                     marijuana after prolonged                               symptoms when discontinuing                           already controlled under the CSA. HHS
                                                     administration produces withdrawal                      marijuana than individuals who do not                 concluded that marijuana is not an
                                                     symptoms in rats and in humans that                     have a diagnosis of CUD. This may be                  immediate precursor of another
                                                     are typically opposite to those that                    because individuals with CUD have                     controlled substance. HHS Basis for Rec.
                                                     occur with activation of the CB1                        greater exposure to marijuana. HHS                    at 61. This finding is consistent with
                                                     receptor. Precipitated withdrawal can                   Basis for Rec. at 60.                                 DEA’s finding in 2016. 81 FR 53740.
                                                                                                                Symptoms associated with marijuana                 DEA welcomes additional information
                                                     also be induced with administration of
                                                                                                             withdrawal appear to be relatively mild               on this factor.
                                                     CB1 antagonists following chronic
                                                                                                             compared to those associated with
                                                     administration, while administration of                                                                       VII. Determination of Appropriate
                                                                                                             alcohol withdrawal, which can include
                                                     CB1 agonists can attenuate some                                                                               Schedule for Marijuana
                                                                                                             agitation, paranoia, seizures, and even
                                                     withdrawal symptoms associated with
                                                                                                             death. Multiple studies comparing the                   After conducting the eight-factor
                                                     marijuana discontinuation. These data
                                                                                                             withdrawal symptoms associated with                   analysis in 2023, HHS has
                                                     confirm the importance of the CB1                       tobacco (not scheduled in the CSA) and
                                                     receptor in marijuana physical                                                                                recommended three findings regarding
                                                                                                             marijuana demonstrate that the                        the appropriate schedule in which to
                                                     dependence. HHS Basis for Rec. at 59.                   magnitude and time course of the two
                                                        HHS noted that research has not yet                                                                        place marijuana. The three findings
                                                                                                             withdrawal syndromes are similar.                     relate to: (1) a substance’s abuse
                                                     documented the occurrence of                            Animal studies have shown that after
                                                     withdrawal symptoms in individuals                                                                            potential; (2) whether the substance has
                                                                                                             short-term administration of                          a CAMU; and (3) the safety or
                                                     who use marijuana only occasionally.                    equianalgesic doses of heroin and D9-
                                                     However, in individuals who use                                                                               dependence potential of the substance.
                                                                                                             THC to monkeys, withdrawal signs were                 21 U.S.C. 812(b); HHS Basis for Rec. at
                                                     marijuana heavily and chronically, drug                 observed after heroin administration but
                                                     discontinuation can lead to a                                                                                 62–65.
                                                                                                             not after D9-THC administration, further
                                                     withdrawal syndrome. Most marijuana                     demonstrating that withdrawal from                    1. Potential for Abuse
                                                     withdrawal symptoms begin within 24                     marijuana is associated with less severe
                                                     to 48 hours of drug discontinuation,                                                                             In 2016, HHS found that many factors
                                                                                                             symptoms than withdrawal from other                   indicated marijuana’s high abuse
                                                     peak within two to six days, and reduce                 drug classes. HHS Basis for Rec. at 60.
                                                     over one to two weeks as D9-THC levels                                                                        potential, ‘‘including the large number
                                                     decline. HHS Basis for Rec. at 59.                      HHS Conclusion With Respect to                        of individuals regularly using
                                                        The most commonly reported                           Factor 7                                              marijuana, marijuana’s widespread use,
                                                     withdrawal symptoms from clinical                                                                             and the vast amount of marijuana
                                                                                                               In conclusion, HHS found
                                                     investigations are sleep difficulties,                                                                        available for illicit use.’’ 81 FR 53688 at
                                                                                                             experimental and clinical evidence that
                                                     decreased appetite and weight loss,                                                                           53706. As a result of its most recent
                                                                                                             chronic, but not acute, use of marijuana
                                                     craving, irritability, anger, anxiety or                                                                      evaluation, which incorporates post-
                                                                                                             can produce both psychic and physical
                                                     nervousness, and restlessness. Less                                                                           2016 data into its analysis, HHS has
                                                                                                             dependence in humans.
                                                     commonly reported withdrawal                                                                                  recommended a finding that marijuana
                                                                                                             Epidemiological data, discussed in
                                                     symptoms include depressed mood,                                                                              has a potential for abuse less than the
                                                                                                             greater detail in the sections describing
                                                     sweating, shakiness, physical                                                                                 drugs or other substances in schedules
                                                                                                             Factors 4 and 5 in sections VI.4 and VI.5
                                                     discomfort, and chills. HHS described                                                                         I and II.
                                                                                                             of this preamble, provide additional
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                                                     the symptoms of ‘‘cannabis withdrawal’’                 evidence of psychic dependence. The                      33 See, e.g., Theresa A. Matson et al., Association
                                                     listed in the DSM–V as being similar to                 symptoms associated with both kinds of                Between Cannabis Use Disorder Symptom Severity
                                                     those reported in the experimental                      dependence are relatively mild for most               and Probability of Clinically-Documented Diagnosis
                                                     studies, including nervousness or                       individuals, although their severity may              and Treatment in a Primary Care Sample, 251 Drug
                                                     anxiety, irritability or aggression,                    be greater with increased exposure to                 & Alcohol Dependence, no. 110946, 2023.
                                                                                                                                                                      34 See, e.g., Gwen T. Lapham et al., Prevalence of
                                                     insomnia or unpleasant dreams,                          marijuana. HHS Basis for Rec. at 61.
                                                                                                                                                                   Cannabis Use Disorder and Reasons for Use Among
                                                     depressed mood, decreased appetite or                     In 2016, DEA found that ‘‘[l]ong-term,              Adults in a U.S. State Where Recreational Cannabis
                                                     weight loss, restlessness, abdominal                    heavy use of marijuana can lead to                    Use is Legal, 6 JAMA Open no. e2328934, 2023, at
                                                     pain, shakiness or tremors, sweating,                   physical dependence and withdrawal                    7.



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                                                        Marijuana contains D9-THC (also                      and hospitalizations, likelihood of being             n.6 (‘‘HHS’s recommendations with
                                                     known as dronabinol when specifically                   diagnosed with a serious SUD, deaths                  respect to ‘scientific and medical
                                                     referring to (-)-trans-D9-THC                           reported to PCs, and overdose deaths                  matters’ are binding for all eight factors
                                                     stereoisomer), the substance responsible                when used with other drugs or as a                    listed in section 811(c).’’). The Attorney
                                                     for the abuse potential of marijuana. D9-               single substance (as total numbers and                General concurs with HHS’s
                                                     THC has agonist properties at CB1                       when utilization-adjusted). In contrast,              recommendation, for purposes of
                                                     cannabinoid receptors and produces                      comparators such as heroin (schedule I),              initiation of these rulemaking
                                                     rewarding responses in animals, as                      oxycodone (schedule II), and cocaine                  proceedings, that marijuana has a
                                                     evidenced by its ability to produce self-               (schedule II) typically were in the                   potential for abuse less than the drugs
                                                     administration and CPP. When                            highest rank ordering on these                        or other substances in schedules I and
                                                     marijuana is administered to humans                     measures. HHS Basis for Rec. at 62.                   II.
                                                     under experimental conditions, it                          For the various epidemiological
                                                     produces a wide range of positive                       measures evaluated above, HHS noted                   2. Currently Accepted Medical Use in
                                                     subjective responses in addition to                     that marijuana was also compared to                   Treatment in the United States
                                                     certain negative subjective responses.                  controlled substances in schedule III                    In 2016, HHS recommended a finding
                                                     Common responses to marijuana when                      (ketamine) and schedule IV                            that marijuana had no CAMU due in
                                                     it is used by individuals for nonmedical                (benzodiazepines, zolpidem, and                       part to a lack of adequate safety studies
                                                     purposes include euphoria and other                     tramadol), as well as to other schedule               or evidence that qualified experts
                                                     positive subjective responses, as well as               II substances (fentanyl and                           accepted marijuana for use in treating a
                                                     perceptual changes, sedative responses,                 hydrocodone). The analyses were                       specific, recognized disorder. 81 FR
                                                     anxiety responses, psychiatric, social,                 conducted in this manner to provide a                 53688 at 53707. As a result of its most
                                                     and cognitive changes, and                              comprehensive assessment of the                       recent evaluation, which incorporates
                                                     physiological changes. HHS Basis for                    relative abuse potential of marijuana.                post-2016 data into its analysis, HHS
                                                     Rec. at 62.                                             However, the rank order of these                      recommends a finding that marijuana
                                                        HHS noted that epidemiological data                  substances regarding harms does not                   has a CAMU.
                                                     from NSDUH show that marijuana is the                   consistently align with the relative                     In making that recommendation, HHS
                                                     most frequently used federally illicit                  scheduling placement of these drugs in                analyzed whether there is (1)
                                                     drug in the United States on a past-year                the CSA due to the pharmacological                    widespread current experience with
                                                     and past-month basis among the illicit                  differences between various classes of                medical use of the substance in the
                                                     comparator drugs considered. Although                   drugs. HHS Basis for Rec. at 63.
                                                                                                                                                                   United States by licensed health care
                                                     50 percent of respondents in NSDUH                         There are a number of confounding
                                                                                                                                                                   practitioners operating in accordance
                                                     reported using marijuana nonmedically                   factors that likely influence the adverse
                                                                                                             outcomes measured in various                          with implemented State-authorized
                                                     fewer than 5 days per month, another 30
                                                                                                             epidemiological databases and account                 programs, where the medical use is
                                                     percent reported using it nonmedically
                                                                                                             for the rank ordering of the drugs                    recognized by entities that regulate the
                                                     for 20 days or more per month. HHS
                                                                                                             evaluated on these measures. For                      practice of medicine; and (2) some
                                                     Basis for Rec. at 62.
                                                        Despite the high prevalence of                       example, a different population abuses                credible scientific support for a least
                                                     nonmedical use of marijuana, HHS                        each substance, and each substance has                one of those medical uses. Applying this
                                                     observed that an overall evaluation of                  a different prevalence of abuse and a                 test, HHS recommended a finding that
                                                     epidemiological indicators suggests that                different profile of severe adverse                   marijuana has a currently accepted
                                                     it does not produce serious outcomes                    outcomes in a setting of nonmedical use               medical use in the United States,
                                                     compared to drugs in schedules I or II.                 and abuse. Thus, it is challenging to                 specifically for the treatment of anorexia
                                                     HHS found this especially notable given                 reconcile the ranking of relative harms               related to a medical condition, nausea
                                                     the availability of marijuana and                       associated with the comparators used in               and vomiting (e.g., chemotherapy-
                                                     marijuana-derived products that contain                 this evaluation when the rankings differ              induced), and pain. According to HHS,
                                                     extremely high levels of D9-THC. Due to                 across various epidemiological                        its evaluation also supported a finding
                                                     such availability, the epidemiological                  databases and when these rankings                     that there is accepted safety for the use
                                                     data described in HHS’s evaluation                      often do not align with the scheduling                of marijuana under medical supervision
                                                     inherently include the outcomes from                    placement of these comparators under                  for the treatment of anorexia related to
                                                     individuals who use marijuana and                       the CSA. HHS Basis for Rec. at 63.                    a medical condition, nausea and
                                                     marijuana-derived products that have                       To address these challenges, HHS                   vomiting (e.g., chemotherapy-induced),
                                                     doses of D9-THC that range from low to                  evaluated the totality of the available               and pain. HHS Basis for Rec. at 63–64.
                                                     very high, and yet the data demonstrate                 data and has concluded that it supports                  In the past, DEA has concluded that
                                                     that these products overall are                         the placement of marijuana in schedule                a substance has a CAMU under the CSA
                                                     producing fewer negative outcomes than                  III. Overall, these data demonstrate that,            only if one of two tests is satisfied. First,
                                                     drugs in schedules I or II. HHS Basis for               although marijuana is associated with a               DEA has determined that a substance
                                                     Rec. at 62.                                             high prevalence of abuse, the profile of              has a CAMU if the substance has been
                                                        HHS compared the rank ordering of                    and propensity for serious outcomes                   approved by FDA for marketing under
                                                     selected drugs that are abused for                      related to that abuse lead to a                       the FDCA, either through the NDA
                                                     various epidemiological measures and                    conclusion that marijuana is most                     process or by meeting the criteria to be
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                                                     observed that marijuana was among the                   appropriately controlled in schedule III              recognized as a ‘‘Generally Recognized
                                                     drugs at the very lowest ranking for a                  under the CSA. HHS Basis for Rec. at                  As Safe and Effective’’ (‘‘GRASE’’) drug.
                                                     number of measures, including PC                        63.                                                   57 FR 10499, 10503 (March 26, 1992).
                                                     abuse cases, likelihood that any use                       The Attorney General has considered                Second, DEA has determined a
                                                     would lead to a PC call, accidental or                  HHS’s recommendations and                             substance has a CAMU if the substance
                                                     unintentional poisoning, utilization-                   conclusions and accords HHS’s                         satisfies a five-part test established by
                                                     adjusted rates of unintentional                         scientific and medical determinations                 DEA in 1992 that was based on the
                                                     exposure, utilization-adjusted and                      binding weight at this stage of the                   ‘‘core FDCA standards for acceptance of
                                                     population-adjusted rates for ED visits                 scheduling process. See OLC Op. at *22                drugs for medical use’’:


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                                                        1. There must be adequate safety                     Health (‘‘OASH’’) considered whether                  analysis of the landscape in which
                                                     studies;                                                there is widespread current experience                marijuana is currently used medically,
                                                        2. The drug’s chemistry must be                      with medical use of marijuana in the                  including information from State-
                                                     known and reproducible;                                 United States by licensed HCPs                        authorized programs on how and to
                                                        3. There must be adequate and well-                  operating in accordance with                          what extent marijuana is being utilized
                                                     controlled studies proving efficacy;                    implemented State-authorized                          for medical purposes. The seven
                                                        4. The drug must be accepted by                      programs, where such medical use is                   indications are: (1) anorexia; 36 (2)
                                                     qualified experts; and                                  recognized by entities that regulate the              anxiety; 37 (3) epilepsy; (4) inflammatory
                                                        5. The scientific evidence must be                   practice of medicine under these State                bowel disease (‘‘IBD’’); (5) nausea and
                                                     widely available.                                       jurisdictions. Part 2 of the CAMU test                vomiting; (6) pain; and (7) post-
                                                     57 FR 10499, 10503–06 (1992); see also                  evaluated whether there exists some                   traumatic stress disorder (‘‘PTSD’’).
                                                     All. for Cannabis Therapeutics v. DEA,                  credible scientific support for at least              FDA’s evaluation under Part 2 of the
                                                     15 F.3d 1131, 1135 (D.C. Cir. 1994).                    one of the medical conditions for which               CAMU test was based on systematic
                                                        In its most recent evaluation, HHS                   the Part 1 test is satisfied. The                     reviews of studies investigating the
                                                     informed DEA of its view that DEA’s                     evaluation in Part 2, undertaken by                   safety and effectiveness of marijuana,
                                                     previous approach to determining                        FDA, was not meant to be, nor is it, a                relevant professional societies’ position
                                                     whether a drug has a CAMU does not                      determination of safety and efficacy                  statements, data from State medical
                                                     adequately account for certain indicia of               under the Federal Food, Drug, and                     marijuana programs and United States
                                                     medical use that, where present, are                    Cosmetic Act’s drug approval standard                 national surveys, and the labeling of
                                                     relevant to determining whether a                       for new human or animal drugs. Rather,                FDA-approved products relevant to the
                                                     substance has a CAMU for purposes of                    HHS’s two-part test is designed to                    analysis. HHS Basis for Rec. at 25.
                                                     scheduling under the CSA. Specifically,                 evaluate whether a substance, in this                    In evaluating whether there exists
                                                     HHS observed that DEA’s tests left no                   case marijuana, has a CAMU for                        some credible scientific support under
                                                     room for an evaluation of (1) whether                   purposes of drug scheduling                           Part 2 of the CAMU test for a particular
                                                     there is widespread medical use of a                    recommendations and placement in a                    use, factors in favor of a positive finding
                                                     drug under the supervision of licensed                  drug schedule consistent with criteria                included whether: (1) favorable clinical
                                                     health care practitioners under State-                  set forth in 21 U.S.C. 812(b). HHS Basis              studies of the medical use of marijuana,
                                                     authorized programs and, (2) if so,                     for Rec. at 24.                                       although not necessarily adequate and
                                                     whether there is credible scientific                       In the evaluation and assessment                   well-controlled clinical studies that
                                                     evidence supporting such medical use.                   under Part 1 of the CAMU test, OASH                   would support approval of an NDA,
                                                     HHS therefore developed an alternative                  found that more than 30,000 HCPs are                  have been published in peer-reviewed
                                                     test composed of those two inquiries as                 authorized to recommend the use of                    journals or (2) qualified expert
                                                     a third, independently sufficient                       marijuana for more than six million                   organizations (e.g., academic groups,
                                                     approach for determining whether a                      registered patients, constituting                     professional societies, or government
                                                     substance has a CAMU under the CSA.                     widespread clinical experience                        agencies) have opined in favor of the
                                                     HHS applied this two-part test to                       associated with various medical                       medical use or provided guidance to
                                                     marijuana and recommended a finding                     conditions recognized by a substantial                HCPs on the medical use. Factors that
                                                     that marijuana has a CAMU under the                     number of jurisdictions across the                    weigh against a finding that Part 2 of the
                                                     CSA. HHS Basis for Rec. at 24–28.                       United States. For several jurisdictions,             CAMU test is met included whether: (1)
                                                        Upon receiving HHS’s                                 these programs have been in place for                 data or information indicate that
                                                     recommendation, the Attorney General                                                                          medical use of the substance is
                                                                                                             several years, and include features that
                                                     requested that OLC advise on whether                                                                          associated with unacceptably high
                                                                                                             actively monitor medical use and
                                                     HHS’s test, if satisfied, established a
                                                                                                             product quality characteristics of
                                                     CAMU ‘‘even if the drug has not been                                                                          operating in accordance with implemented State-
                                                                                                             marijuana dispensed. HHS Basis for                    authorized programs, where the medical use is
                                                     approved by FDA and even if the drug
                                                                                                             Rec. at 24.                                           recognized by entities that regulate the practice of
                                                     does not satisfy DEA’s five-part test.’’
                                                                                                                Based on OASH’s findings in Part 1 of              medicine. These conditions include amyotrophic
                                                     OLC Op. at *3. OLC determined that                                                                            lateral sclerosis (commonly known as ALSI),
                                                                                                             the CAMU test, the Assistant Secretary
                                                     DEA’s current approach to determining                                                                         autism, cachexia, cancer, chronic pain, Crohn’s
                                                                                                             for Health concluded that an FDA                      disease, epilepsy or condition causing seizures,
                                                     whether a drug has a CAMU is
                                                                                                             assessment under Part 2 of the CAMU                   glaucoma, HIV/AIDS, multiple sclerosis,
                                                     impermissibly narrow, because it                                                                              Parkinson’s disease, persistent/severe muscle
                                                                                                             test was warranted to determine if
                                                     ‘‘ignor[es] widespread clinical                                                                               spasm, persistent/severe nausea, PTSD, and
                                                                                                             credible scientific support exists for the
                                                     experience with a drug that is                                                                                spasticity. FDA conducted Part 2 of the analysis for
                                                                                                             use of marijuana to treat at least one of             the medical conditions identified by OASH that
                                                     sanctioned by state medical licensing
                                                     regulators.’’ Id. at *13–14; see also id. at            the medical conditions identified by                  were likely to have the most robust evidence
                                                                                                             OASH under Part 1. HHS Basis for Rec.                 available for review; because the analysis
                                                     *12. OLC further opined that satisfying                                                                       concluded that the Part 2 test has been met for at
                                                     HHS’s two-part inquiry is sufficient to                 at 24.                                                least one of the conditions identified in Part 1, there
                                                     establish that a drug has a CAMU. Id. at                   At this stage of initiating a                      was no need to analyze all of them. HHS Basis for
                                                     *4, *16–20. And OLC concluded that,                     rulemaking, the Attorney General agrees               Rec. at 25 n.9.

                                                     while HHS’s CAMU recommendation is                      with OASH that there is widespread                       36 The anorexia indication reflects anorexia due to

                                                                                                             clinical experience with marijuana for at             a medical condition (e.g., HIV/AIDS) and does not
                                                     not binding on DEA, the medical and                                                                           represent anorexia nervosa. HHS Basis for Rec. at
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                                                     scientific determinations that underlie                 least one medical condition.                          25 n.10.
                                                     its recommendation are binding until                       FDA conducted Part 2 of the CAMU                      37 While anxiety was not one of the specific


                                                     the initiation of formal rulemaking                     test for seven indications, based in part             medical conditions identified by OASH, it is
                                                                                                             on OASH’s findings under Part 1 of the                included herein because anxiety was identified by
                                                     proceedings, and that DEA must accord                                                                         the FDA during the Part 2 review of State-level
                                                     those determinations ‘‘significant                      CAMU test 35 and in part on FDA’s own                 usage data. FDA considered the medical use of
                                                     deference’’ throughout the rulemaking                                                                         marijuana for the treatment of anxiety of
                                                                                                                35 In Part 1 of the CAMU test, OASH identified     importance to evaluate given the reported
                                                     process. Id. at *4, *20–26.                             at least 15 medical conditions for which there is     prevalence of marijuana use for the treatment of
                                                        Under Part 1 of the HHS CAMU test,                   widespread current experience with medical use of     anxiety regardless of the legal status of such use in
                                                     the Office of the Assistant Secretary for               marijuana in the United States by licensed HCPs       a given jurisdiction. HHS Basis for Rec. at 25 n.11.



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                                                     safety risks for the likely patient                     indications. In particular, FDA found                    As of August 2023, FDA reported that
                                                     population, e.g., due to toxicity                       that the potential for psychiatric adverse            the real-world data sources available to
                                                     concerns; (2) clinical studies with                     events associated with treating PTSD                  FDA, in general, lack the necessary
                                                     negative efficacy findings for the                      with marijuana may be more substantial                elements to identify the exposure (i.e.,
                                                     medical use of marijuana have been                      than any limited benefit in                           to marijuana), to distinguish the reason
                                                     published in peer reviewed journals; or                 observational studies. Although UF did                for use (medical vs. recreational) and, if
                                                     (3) qualified expert organizations (e.g.,               not conclude that there was evidence in               applicable, the condition that prompted
                                                     academic or professional societies,                     support of the effectiveness of marijuana             its medical use, and to permit sound
                                                     government agencies) recommend                          in IBD, both their review and other                   inferential analyses. Therefore, they
                                                     against the medical use of marijuana                    systematic reviews found some benefit                 were not included in HHS’s review.
                                                     based on the available data at the time                 with respect to subjective symptoms in                HHS Basis for Rec. at 27.
                                                     of their position statement. HHS Basis                  this condition. With regard to epilepsy                  According to FDA, data from United
                                                     for Rec. at 25.                                         and anxiety, both UF’s review and                     States national surveys, in general,
                                                        FDA’s review of the available                        FDA’s review of other systematic                      lacked details on patient characteristics
                                                     information identified mixed findings of                reviews did not find support for                      and factors that prompted the use of
                                                     effectiveness across indications, ranging               marijuana providing benefit in the                    marijuana for medical purposes, and
                                                     from data showing inconclusive                          treatment of these conditions. Where                  data collection for these surveys was
                                                     findings to considerable evidence in                    positive results on effectiveness                     impacted by the COVID–19 pandemic.
                                                     favor of effectiveness, depending on the                outcome measures were found, the                      FDA observed that, despite these
                                                     source. The largest evidence base for                   effects and the quality of evidence were              limitations, the data suggested that
                                                     effectiveness exists for marijuana use                  generally in the low-to-moderate range.               medical use of marijuana increases as
                                                     within the pain indication (in                          UF did not find high quality evidence                 age increases. Only data from one
                                                     particular, neuropathic pain). Numerous                 supporting worsening of outcomes in                   survey provided information on the
                                                     systematic reviews concluded that there                 any indication. HHS Basis for Rec. at 26.             intended indication for use, suggesting
                                                     exists some level of evidence supporting                   FDA concluded that none of the                     that individuals often use marijuana to
                                                     the use of marijuana for chronic pain.                  evidence from the systematic reviews                  improve or manage conditions such as
                                                     The 2017 NASEM report concluded                         included in the CAMU test Part 2                      depression, anxiety, PTSD, pain,
                                                     there was ‘‘substantial evidence’’ 38                   analysis identified any safety concerns               headaches or migraines, sleep disorders,
                                                     supporting the use of cannabis products                 that would preclude the use of                        nausea and vomiting, lack of appetite,
                                                     relevant to this review for pain, as have               marijuana in the indications for which                and muscle spasms, but only
                                                     other reviews. The AHRQ living                          there exists some credible scientific                 approximately half of them reportedly
                                                     systematic review has concluded that                    support for its therapeutic benefit. FDA              had ever asked a health care
                                                     there is some support for the use of                    assessed the clinical safety data                     professional for a recommendation to
                                                     marijuana-related products in the                       identified in the literature from                     use medical marijuana. HHS Basis for
                                                     treatment of chronic pain, but overall                  controlled trials as generally consistent             Rec. at 27.
                                                     concluded these effects were small and                  between sources but limited in the rigor                 Additionally, although the safety data
                                                     the increased risk of dizziness, nausea,                of safety reporting. FDA also explained               obtained from use in a medical context
                                                     and sedation may limit the benefit. A                   that the vast majority of the                         are considered to be the most relevant
                                                     systematic review of scientific and                     observational studies evaluated in the                for the CAMU analysis, FDA evaluated
                                                     medical literature was conducted in                     context of medical use were excluded                  the safety of marijuana in the
                                                     2023 by the University of Florida (‘‘UF’’)              from the final synthesis of evidence due              nonmedical setting to inform the
                                                     under contract with FDA. UF                             to concerns regarding their quality (e.g.,            potential for more severe outcomes.
                                                     epidemiologists identified some data                    only one observational study for the                  Specifically, FDA evaluated safety
                                                     supporting effectiveness of marijuana,                  anxiety indication and one for the PTSD               outcomes related to marijuana use in the
                                                     including some within their own meta-                   indication were included). According to               setting of nonmedical use, use of
                                                     analysis; however, they ultimately                      FDA, data on safety from both clinical                uncertain intent, and unintentional
                                                     concluded the results are inconclusive                  trials and observational studies were                 exposure through a variety of
                                                     or mixed. FDA also conducted a                          generally scarce, but the literature                  epidemiological data sources and in
                                                     separate analysis of published scientific               shows that marijuana has more AEs                     relation to several comparator
                                                     reviews, several of which drew                          when compared to a placebo or active                  substances controlled under the CSA,
                                                     conclusions similar to those of UF. HHS                 control group, however, typically in the              including drugs in schedule I: heroin
                                                     Basis for Rec. at 25–26.                                mild to moderate severity range. HHS                  (an illicit opioid drug); schedule II:
                                                        UF evaluated other therapeutic                       Basis for Rec. at 26.                                 hydrocodone and oxycodone (approved
                                                     conditions mentioned above, i.e.,                          FDA also reviewed results from State               opioid prescription drug products),
                                                     anorexia, anxiety, epilepsy, IBD, nausea,               reporting data from 37 States with                    cocaine and fentanyl (largely illicitly
                                                     and PTSD, employing a similar                           medical marijuana programs and                        produced drugs in the nonmedical use
                                                     systematic review of scientific and                     surveys of patients using marijuana in                setting, although there are approved
                                                     medical literature. UF found that there                 Maryland and Minnesota, which had                     prescription drugs); schedule III:
                                                     is low- to moderate-quality evidence                    data available for review. Surveys of                 ketamine (an approved prescription
                                                     supporting the use of marijuana as                      patients using marijuana in these two                 drug); and schedule IV: zolpidem,
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                                                     medical treatment for outcomes in                       States found most patients did not                    benzodiazepines, and tramadol
                                                     anorexia, nausea and vomiting, and                      report any side effects and those that                (approved prescription drugs).
                                                     PTSD. FDA’s review of systematic                        did report side effects mostly described              According to FDA, the comparative data
                                                     reviews showed mixed results for these                  them as mild. Neither State’s databases               demonstrate that, even in the context of
                                                                                                             included patients who chose to stop                   nonmedical use, marijuana has a less
                                                        38 The term ‘‘substantial evidence’’ refers to
                                                                                                             using marijuana, which FDA noted                      concerning overall safety profile relative
                                                     language used within the 2017 NASEM report and
                                                     is not meant to represent ‘‘substantial evidence’’ as
                                                                                                             might result in an overestimation of                  to the comparators for a number of
                                                     defined in 21 U.S.C. 355(d). HHS Basis for Rec. at      positive experiences. HHS Basis for Rec.              important outcomes (e.g., single
                                                     26 n.12.                                                at 27.                                                substance use overdose death,


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                                                     hospitalizations). However, FDA                         the Part 1 test, and FDA’s evaluation of              withdrawal syndrome appears to be
                                                     observed that in young children,                        available credible scientific support                 relatively mild compared to the
                                                     population-adjusted rates of ED visits                  described herein for at least some                    withdrawal syndrome associated with
                                                     and hospitalizations involving                          therapeutic uses identified in the Part 1             alcohol, which can include more serious
                                                     marijuana poisoning were higher than                    test, HHS recommended a finding that,                 symptoms such as agitation, paranoia,
                                                     heroin, cocaine, and benzodiazepines                    for purposes of the drug scheduling                   seizures and even death. Multiple
                                                     for the periods studied. Of note, some of               criteria in 21 U.S.C. 812(b), marijuana               studies comparing the withdrawal
                                                     the comparator substances are approved                  has a CAMU for: anorexia related to a                 symptoms associated with marijuana
                                                     for use in conditions similar to the                    medical condition; nausea and vomiting                and tobacco demonstrate that the
                                                     indications for which marijuana was                     (e.g., chemotherapy-induced); and pain.               magnitude and time course of the two
                                                     evaluated in the CAMU analysis (e.g.,                   HHS Basis for Rec. at 28.                             withdrawal syndromes are similar. HHS
                                                     opioids for pain, benzodiazepines for                      The Attorney General has considered                Basis for Rec. at 64.
                                                     anxiety-related conditions). HHS Basis                  HHS’s recommendations and                               HHS also notes that the ability of
                                                     for Rec. at 27.                                         conclusions and accords HHS’s                         marijuana to produce psychic
                                                        FDA also considered position                         scientific and medical determinations                 dependence is shown through its ability
                                                     statements from professional                            binding weight until the initiation of the            to produce rewarding effects that
                                                     organizations relevant to the indications               formal rulemaking process. See OLC Op.                underlie its nonmedical use and
                                                     discussed. The vast majority of                         at *24. Applying HHS’s two-part test,                 epidemiological outcomes related to
                                                     professional organizations did not                      and in light of OLC’s legal opinion that              abuse, as detailed in the first finding on
                                                     recommend the use of marijuana in                       the HHS’s test is sufficient under the                abuse potential. HHS Basis for Rec. at
                                                     their respective specialties; however,                  CSA, the Attorney General concurs with                64–65.
                                                     none specifically recommended against                   HHS’s conclusion, for purposes of the                   Based on the evidence, HHS
                                                     it, with the exception of the American                  initiation of these rulemaking                        determined that the abuse of marijuana
                                                     Psychiatric Association, which stated                   proceedings, that there is a CAMU for                 may lead to moderate or low physical
                                                     that marijuana is known to worsen                       marijuana.                                            dependence, depending on frequency
                                                     certain psychiatric conditions. HHS                                                                           and degree of marijuana exposure. HHS
                                                                                                             3. Level of Physical or Psychological                 further concluded that marijuana can
                                                     Basis for Rec. at 27–28.
                                                        On balance, FDA found the available                  Dependence                                            produce psychic dependence in some
                                                     data indicated that there is some                          As a result of its most recent                     individuals, but that the likelihood of
                                                     credible scientific support for the use of              evaluation, which incorporates post-                  serious outcomes is low, suggesting that
                                                     marijuana in the treatment of chronic                   2016 data into its analysis, HHS has                  high psychological dependence does not
                                                     pain, anorexia related to a medical                     recommended a finding that abuse of                   occur in most individuals who use
                                                     condition, and nausea and vomiting,                     marijuana may lead to moderate or low                 marijuana. HHS Basis for Rec. at 65.
                                                     with varying degrees of support and                     physical dependence or high                             The Attorney General has considered
                                                     consistency of findings. Additionally,                  psychological dependence. HHS Basis                   HHS’s recommendations and
                                                     no safety concerns were identified in                   for Rec. at 65.                                       conclusions and accords HHS’s
                                                     FDA’s review that would indicate that                      According to HHS, clinical studies                 scientific and medical determinations
                                                     medical use of marijuana poses                          have demonstrated that marijuana                      binding weight at this stage of the
                                                     unacceptably high safety risks for the                  produces physical and psychological                   scheduling process. See OLC Op. at *22
                                                     indications where there is some credible                dependence. Regarding physical                        n.6. For purposes of the initiation of
                                                     scientific evidence supporting its                      dependence, as evidenced by its                       these rulemaking proceedings, the
                                                     therapeutic use. HHS Basis for Rec. at                  associated withdrawal symptomology                    Attorney General concurs with HHS’s
                                                     28.                                                     upon abrupt discontinuation of use, the               conclusion that the abuse of marijuana
                                                        Based on the totality of the available               most commonly reported marijuana                      may lead to moderate or low physical
                                                     data, FDA concluded that there exists                   withdrawal symptoms in clinical                       dependence, depending on frequency
                                                     some credible scientific support for the                investigations are sleep difficulties,                and degree of marijuana exposure.
                                                     medical use of marijuana in at least one                decreased appetite and weight loss,
                                                     of the indications for which there is                   craving, irritability, anger, anxiety or              Determination To Propose Rescheduling
                                                     widespread current experience in the                    nervousness, and restlessness.                        Marijuana to Schedule III
                                                     United States, as identified by OASH                    Marijuana withdrawal symptoms                            HHS has recommended a finding that
                                                     under Part 1 of the CAMU test. The                      typically peak within two to six days                 marijuana has a CAMU. HHS Basis for
                                                     indications evaluated were anorexia                     and decline over one to two weeks as                  Rec. at 63–64. After considering the
                                                     related to a medical condition, anxiety,                D9-THC is eliminated. Similarly, the                  foregoing facts and data and the
                                                     epilepsy, IBD, nausea and vomiting                      drug labels for the FDA-approved drug                 recommendation of HHS, and after
                                                     (e.g., chemotherapy-induced), pain, and                 products Marinol and Syndros state                    according binding weight to HHS’s
                                                     PTSD. FDA clarified that the analysis                   that, following chronic administration                scientific and medical determinations,
                                                     and conclusions on the available data                   of dronabinol, drug discontinuation                   the Attorney General concludes that
                                                     are not meant to imply that safety and                  leads to irritability, insomnia, and                  there is, at present, substantial evidence
                                                     effectiveness have been established for                 restlessness at 12 hours, and by 24                   that marijuana does not warrant control
                                                     marijuana that would support FDA                        hours the withdrawal symptoms can                     under schedule I of the CSA.
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                                                     approval of a marijuana drug product                    include hot flashes, sweating,                        Accordingly, the Attorney General is
                                                     for a particular indication. However,                   rhinorrhea, diarrhea, and anorexia. HHS               issuing this notice of proposed
                                                     FDA determined that the available data                  Basis for Rec. at 64.                                 rulemaking to initiate rulemaking
                                                     do provide some level of support for the                   HHS observes that marijuana                        proceedings to reschedule marijuana. 21
                                                     way marijuana is being recommended                      withdrawal syndrome has been reported                 U.S.C. 811(b).
                                                     by health care practitioners in clinical                in individuals with heavy, chronic                       HHS has recommended that
                                                     practice. Thus, based on the widespread                 marijuana use, but its occurrence in                  marijuana be transferred from schedule
                                                     HCP experience and the extent of                        occasional users of marijuana has not                 I to schedule III rather than from
                                                     medical use evaluated by OASH under                     been established. The marijuana                       schedule I to schedule II based on its


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                                                     evaluation that the drug has a relatively               of any previously scheduled synthetic                   Director, Bureau of Narcotics and
                                                     lower level of abuse compared to drugs                  cannabinoids.                                           Dangerous Drugs, from Mary C. Lawton,
                                                     currently scheduled in schedules I and                                                                          Deputy Assistant Attorney General,
                                                                                                             VIII. International Treaty Obligations
                                                     II and its evaluation that marijuana may                                                                        Office of Legal Counsel, Re: Petition to
                                                     lead to moderate or low physical                           In proposing an appropriate schedule                 Decontrol Marihuana; Interpretation of
                                                     dependence and has a low likelihood of                  for marijuana, the Attorney General                     Section 201 of the Controlled
                                                     psychic dependence. Consistent with                     must also consider compliance with the                  Substances Act of 1970 at 12–13 (Aug.
                                                     HHS’s analysis, the Attorney General                    treaty obligations of the United States.                21, 1972). However, OLC has
                                                     has determined at this initial stage that               As the CSA recognizes, the United                       reexamined the conclusion of its 1972
                                                     marijuana does not appear to meet the                   States is a party to the Single                         memorandum, taking into account
                                                     elements of a schedule II drug, which                   Convention. 21 U.S.C. 801(7). Parties to                statutory amendments since 1972 and a
                                                     include a high potential for abuse and                  the Single Convention are obligated to                  possibility it did not consider in 1972:
                                                     a likelihood of severe physiological or                 maintain various control provisions                     placing marijuana into schedule III
                                                     physical dependence from such abuse.                    related to the drugs that are covered by                while issuing regulations that would
                                                     21 U.S.C. 812(b)(3). Rather, marijuana’s                the treaty. See, e.g., Single Convention                enable the United States to comply with
                                                     profile as a drug with a lower degree of                arts. 2, 4. Congress enacted many of the                its international obligations. OLC Op. at
                                                     abuse potential than schedule I (e.g.,                  CSA’s provisions for the specific                       *4, 26–35. OLC has concluded that both
                                                     heroin) and schedule II (e.g., fentanyl,                purpose of ensuring U.S. compliance                     the Single Convention and the CSA
                                                     cocaine) drugs and a moderate to low                    with the treaty. See OLC Op. at *27.                    allow the Attorney General to satisfy the
                                                     level of physical dependence militates                  Among these is a scheduling provision,                  treaty obligations of the United States
                                                     in favor of rescheduling it in schedule                 21 U.S.C. 811(d)(1). Section 811(d)(1)                  with respect to marijuana by
                                                     III. Accordingly, in this notice of                     provides that, where a drug is subject to               supplementing scheduling decisions
                                                     proposed rulemaking, the Attorney                       control under the Single Convention,                    with additional controls under the CSA.
                                                     General is proposing to reschedule                      the Attorney General must ‘‘issue an                    Id.
                                                     marijuana in schedule III and solicits                  order controlling such drug under the                      If marijuana were listed in schedule
                                                     comments on these preliminary                           schedule he deems most appropriate to                   III, most of the Single Convention’s
                                                     findings.                                               carry out such [treaty] obligations,                    obligations would continue to be met by
                                                                                                             without regard to the findings required                 CSA statutory authorities and associated
                                                     Types of Marijuana To Be Rescheduled                                                                            regulations. See OLC Op. at *33–34.
                                                                                                             by [21 U.S.C. 811(a) or 812(b)] and
                                                        This rescheduling of marijuana would                 without regard to the procedures                        One potential gap concerns the quota on
                                                     apply to marijuana as listed in 21 CFR                  prescribed by [21 U.S.C. 811(a) and                     manufacturing cannabis required by
                                                     1308.11(d)(23). The rescheduling also                   (b)].’’ 39                                              Article 21 of the Convention, but that
                                                     would apply to marijuana extracts as                       Marijuana is a drug covered in the                   gap can be filled using the CSA’s
                                                     defined in 21 CFR 1308.11(d)(58)                        Single Convention under the term                        regulatory authorities. See id. at *34; see
                                                     because they meet the statutory                         ‘‘cannabis.’’ 40 OLC initially advised in               also, e.g., 21 U.S.C. 821 (authorizing the
                                                     definition of marijuana and, prior to                   1972 that controls under Article 21 of                  Attorney General to impose restrictions
                                                     2017, were included in 21 CFR                           the Single Convention would not be                      ‘‘relate[ed] to the . . . control of the
                                                     1308.11(d)(23). See Establishment of a                  satisfied if marijuana were listed in                   manufacture’’ of a drug); id. 871(b)
                                                     New Drug Code for Marihuana Extract,                    schedule III, IV, or V of the CSA.                      (authorizing the Attorney General to
                                                     81 FR 90194 (Dec. 14, 2016). In                         Memorandum for John E. Ingersoll,                       issue regulations ‘‘necessary and
                                                     addition, this proposal would apply to                                                                          appropriate for the efficient execution of
                                                     D9-THC derived from the marijuana                          39 As noted above, OLC and the D.C. Circuit do       his functions under this subchapter’’);
                                                     plant (other than the mature stalks and                 not understand the ‘‘without regard’’ clause in         id. 822(b) (allowing the Attorney
                                                     seeds) that falls outside the definition of             section 811(d)(1) as prohibiting the Attorney           General to regulate ‘‘the extent’’ of
                                                     hemp, because it meets the statutory                    General from following the normal scheduling
                                                                                                             practices when international obligations are
                                                                                                                                                                     manufacture of a drug through
                                                     definition of marijuana.                                involved. Instead, they have interpreted it as          registration); id. 823(e) (requiring the
                                                        This proposal would not apply to                     requiring the Attorney General to identify which        Attorney General to register an
                                                     synthetically derived THC, which is                     schedules would satisfy the international               applicant to manufacture a schedule III
                                                     outside the CSA’s definition of                         obligations of the United States with respect to a
                                                                                                             particular drug and, if more than one schedule
                                                                                                                                                                     drug ‘‘unless he determines that the
                                                     marijuana. Those tetrahydrocannabinols                  would do so, to select among schedules using the        issuance of such registration is
                                                     that can be derived only through a                      procedures set forth in sections 811(a), 811(b), and    inconsistent with the public interest’’).
                                                     process of artificial synthesis (e.g., delta-           812(b). See OLC Op. at *29 n.8; NORML II, 559 F.2d         In addition, if marijuana is transferred
                                                     10-tetrahydrocannabinol) are excluded.                  at 747.                                                 into schedule III, DEA will continue to
                                                                                                                40 Under the Single Convention, ‘‘‘[c]annabis
                                                     HHS provided a recommendation only                                                                              have authority to maintain its existing
                                                                                                             plant’ means any plant of the genus Cannabis.’’
                                                     relating to ‘‘marijuana’’ as defined in the             Single Convention art. 1(1)(c). The Single              regulatory scheme, located at 21 CFR
                                                     CSA. That definition is limited to the                  Convention defines ‘‘cannabis’’ to mean ‘‘the           part 1318, governing the registration of
                                                     plant (other than the mature stalks and                 flowering or fruiting tops of the cannabis plant        manufacturers seeking to plant, grow,
                                                     seeds) and derivatives of the plant.                    (excluding the seeds and leaves when not                cultivate, or harvest marijuana, as
                                                                                                             accompanied by the tops) from which the resin has
                                                     Therefore, synthetic THC will remain in                 not been extracted, by whatever name they may be        required to comply with Articles 23 and
                                                     schedule I. This rulemaking would not                   designated.’’ Id. art. 1(1)(b). This definition of      28 of the Single Convention. Authority
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                                                     affect the status of hemp (as defined in                ‘‘cannabis’’ under the Single Convention is slightly    for those regulations currently flows
                                                     7 U.S.C. 1639o), because hemp is                        less inclusive in certain respects than the CSA         from 21 U.S.C. 823(a), which is
                                                                                                             definition of ‘‘marijuana,’’ which includes all parts
                                                     excluded from the definition of                         of the cannabis plant except for the mature stalks,
                                                                                                                                                                     applicable to drugs in schedules I and
                                                     marijuana. This rulemaking is not                       sterilized seeds, oil from the seeds, and certain       II. OLC has concluded, however, that 21
                                                     proposing to reschedule any drug                        derivatives thereof. See 21 U.S.C. 802(16). Cannabis    U.S.C. 823(e), which is applicable to
                                                     product containing marijuana or THC                     and cannabis resin are included in the list of drugs    drugs in schedules III, IV, and V,
                                                                                                             in Schedule I of the Single Convention, and
                                                     that previously has been rescheduled                    cannabis is subject to the same controls as Schedule
                                                                                                                                                                     provides an alternative source of
                                                     out of schedule I (e.g., Marinol and                    I drugs as well as additional controls. See Single      authority for complying with Articles 23
                                                     Syndros). Nor does it impact the status                 Convention art. 2(6); id. art. 28.                      and 28 of the Single Convention. See


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                                                     OLC Op. at *34 n.9. The CSA also                        schedule III controlled substances                    a multibillion dollar industry to
                                                     recognizes that the United States is also               would apply, as appropriate, along with               develop. DOJ acknowledges that there
                                                     a party to the Convention on                            existing marijuana-specific                           may be large impacts related to Federal
                                                     Psychotropic Substances, Feb. 21, 1971,                 requirements and any additional                       taxes and research and development
                                                     32 U.S.T. 543, 1019 U.N.T.S. 175                        controls that might be implemented,                   investment for the pharmaceutical
                                                     (‘‘Convention on Psychotropic                           including those that might be                         industry, among other things. DOJ is
                                                     Substances’’). See also 21 U.S.C.                       implemented to meet U.S. treaty                       specifically soliciting comments on the
                                                     801a(2). As with the Single Convention,                 obligations. The manufacture,                         economic impact of this proposed rule.
                                                     parties to the Convention on                            distribution, dispensing, and possession              DOJ will revise this section at the final
                                                     Psychotropic Substances are obligated                   of marijuana would also remain subject                rule stage if warranted after
                                                     to take various control measures related                to applicable criminal prohibitions                   consideration of any comments
                                                     to the drugs that are covered by the                    under the CSA. 21 U.S.C. 841–844.                     received.
                                                     treaty. Id. Congress implemented the                       In addition, marijuana would remain
                                                     additional authority necessary to                                                                             2. Executive Order 12988 (Civil Justice
                                                                                                             subject to applicable provisions of the
                                                     comply with the Convention on                                                                                 Reform)
                                                                                                             FDCA. For example, under the FDCA, a
                                                     Psychotropic Substances through                         drug containing a substance within the                   This proposed regulation meets the
                                                     various amendments to the CSA. Id.                      CSA’s definition of ‘‘marijuana’’ would               applicable standards set forth in
                                                     801a(2)–(3).                                            need FDA approval to be lawfully                      sections 3(a) and 3(b)(2) of Executive
                                                        D9-THC is a substance covered by                     ‘‘introduce[d] or deliver[ed] for                     Order 12988 to eliminate drafting errors
                                                     schedule II of the Convention on                        introduction into interstate commerce,’’              and ambiguity, minimize litigation,
                                                     Psychotropic Substances. In this rule,                  unless an IND is in effect for that drug.             provide a clear legal standard for
                                                     DOJ proposes to reschedule D9-THC that                  See 21 U.S.C. 355(a), 355(i), 331(d). To              affected conduct, and promote
                                                     falls within the CSA’s definition of                    date, although there have been INDs for               simplification and burden reduction.
                                                     marijuana into CSA schedule III. As is                  drugs containing a substance within the
                                                     the case for marijuana under the Single                                                                       3. Executive Order 13132 (Federalism)
                                                                                                             CSA’s definition of ‘‘marijuana,’’ no
                                                     Convention, the controls available                      such drugs have been approved by FDA.                    This rulemaking does not have
                                                     under CSA schedule III are sufficient to                   DOJ is seeking comment on the                      federalism implications warranting the
                                                     comply with the requirements of the                     practical consequences of rescheduling                application of Executive Order 13132.
                                                     Convention on Psychotropic Substances                   marijuana into schedule III under the                 The rule does not have substantial
                                                     with respect to D9-THC, although                        relevant statutory frameworks.                        direct effects on the States, on the
                                                     additional regulatory action may be                                                                           relationship between the Federal
                                                     necessary to implement certain                          Conclusion                                            Government and the States, or the
                                                     Convention requirements, such as the                      Based on the legal opinion of OLC                   distribution of power and
                                                     export and import authorizations                        and consideration of the scientific and               responsibilities among the various
                                                     required by Article 12. See, e.g.,                      medical evaluation and accompanying                   levels of government.
                                                     Schedules of Controlled Substances:                     recommendation of HHS, the Attorney                   4. Executive Order 13175 (Consultation
                                                     Rescheduling of the Food and Drug                       General is initiating a rulemaking that               and Coordination With Indian Tribal
                                                     Administration Approved Product                         proposes the placement of marijuana in                Governments)
                                                     Containing Synthetic Dronabinol [(-)-D 9                schedule III of the CSA. DOJ is soliciting
                                                     -(trans)-Tetrahydrocannabinol] in                       comments on this proposal.                               This proposed rule does not have
                                                     Sesame Oil and Encapsulated in Soft                                                                           Tribal implications warranting the
                                                     Gelatin Capsules From Schedule II to                    X. Regulatory Analyses                                application of Executive Order 13175.
                                                     Schedule III, 64 FR 35928, 35928 (July                  1. Executive Orders 12866 (Regulatory                 This rule does not have substantial
                                                     2, 1999). Compare, e.g., Convention on                  Planning and Review), 13563                           direct effects on one or more Indian
                                                     Psychotropic Substances art. 12(1)                      (Improving Regulation and Regulatory                  Tribes, on the relationship between the
                                                     (requiring export and import                            Review) and 14094 (Modernizing                        Federal Government and Indian Tribes,
                                                     authorizations for substances in                        Regulatory Review)                                    or on the distribution of power and
                                                     Convention Schedule II), with 21 U.S.C.                                                                       responsibilities between the Federal
                                                     952(b)(2) (authorizing import permits                     In accordance with 21 U.S.C. 811(a),                Government and Indian Tribes.
                                                     for CSA schedule III substances), and id.               this scheduling action is subject to
                                                                                                             formal rulemaking procedures done ‘‘on                5. Regulatory Flexibility Act
                                                     953(e)(2) (authorizing export permits for
                                                     CSA schedule III substances).                           the record after opportunity for a                       DOJ has concluded that this action
                                                        Accordingly, concurrent with this                    hearing,’’ which are conducted pursuant               may have a significant economic impact
                                                     rulemaking, DEA will consider the                       to the provisions of 5 U.S.C. 556 and                 on a substantial number of small entities
                                                     marijuana-specific controls that would                  557. The CSA sets forth the criteria for              under the Regulatory Flexibility Act, 5
                                                     be necessary to meet U.S. obligations                   removing a drug or other substance from               U.S.C. 601 et seq. For example, section
                                                     under the Single Convention and the                     the list of controlled substances. Such               280E of the Internal Revenue Code bars
                                                     Convention on Psychotropic Substances                   actions are exempt from review by the                 businesses from claiming tax deductions
                                                     in the event that marijuana is                          Office of Management and Budget                       for otherwise allowable expenses where
                                                     rescheduled to schedule III, and, to the                pursuant to section 3(d)(1) of Executive              the business ‘‘consists of trafficking in
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                                                     extent they are needed if marijuana is                  Order 12866 and the principles                        controlled substances (within the
                                                     rescheduled, will seek to finalize any                  reaffirmed in Executive Order 13563                   meaning of schedule I and II of the
                                                     such regulations as soon as possible.                   and 14094.                                            Controlled Substances Act).’’ 26 U.S.C.
                                                                                                               While this scheduling action is                     280E. If marijuana is ultimately
                                                     IX. Requirements for Handling                           exempt from review under Executive                    transferred to schedule III, section 280E
                                                     Marijuana and Other Applicable                          Order 12866, DOJ recognizes this action               would no longer serve as a statutory bar
                                                     Controls                                                may have unique economic impacts. As                  to claiming deductions for those
                                                        If marijuana is transferred to schedule              stated above, marijuana is subject to a               expenses. In addition, small entities
                                                     III, the regulatory controls applicable to              number of State laws that have allowed                engaged in research on marijuana may


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                                                     be subject to different research protocols                  (30) Tetrahydrocannabinols—7370                    DEPARTMENT OF HOMELAND
                                                     set by DEA if the research is conducted                     (i) Meaning tetrahydrocannabinols,                 SECURITY
                                                     on a schedule III substance rather than                  except as in paragraphs (d)(30)(ii) and
                                                     a schedule I substance.41 However, DOJ                   (iii) of this section, naturally contained            Coast Guard
                                                     is currently not in a position to estimate               in a plant of the genus Cannabis
                                                     the number of small entities affected by                                                                       33 CFR Part 165
                                                                                                              (cannabis plant), as well as synthetic
                                                     these or other potential effects of this                 equivalents of the substances contained
                                                     action. DOJ seeks comment and                                                                                  [Docket Number USCG–2024–0393]
                                                                                                              in the cannabis plant, or in the resinous
                                                     additional information to inform its                     extracts of such plant, or synthetic                  RIN 1625–AA11
                                                     analysis.                                                substances, derivatives, and their
                                                     6. Unfunded Mandates Reform Act of                       isomers with similar chemical structure               Regulated Navigation Area; Cuyahoga
                                                     1995                                                     and pharmacological activity to those                 River, Cleveland, OH
                                                        In accordance with the Unfunded                       substances contained in the plant.
                                                                                                                                                                    AGENCY: Coast Guard, DHS.
                                                     Mandates Reform Act of 1995                                 (ii) Tetrahydrocannabinols does not                ACTION: Notice of proposed rulemaking.
                                                     (‘‘UMRA’’), 2 U.S.C. 1501 et seq., DOJ                   include any material, compound,
                                                     has determined that this action would                    mixture, or preparation that falls within             SUMMARY: The Coast Guard is proposing
                                                     not result in any Federal mandate that                   the definition of hemp set forth in 7                 to establish a temporary Regulated
                                                     may result ‘‘in the expenditure by State,                U.S.C. 1639o.                                         Navigation Area for certain waters of the
                                                     local, and Tribal governments, in the                       (iii) Tetrahydrocannabinols does not               Cuyahoga River. This action is
                                                     aggregate, or by the private sector, of                  include any substance that falls within               necessary to provide for the safety of life
                                                     $100,000,000 or more (adjusted                           the definition of marijuana set forth in              on these navigable waters near the
                                                     annually for inflation) in any 1 year.’’                 21 U.S.C. 802(16).                                    ‘‘Irishtown Bend’’ in Cleveland, Ohio,
                                                     See 2 U.S.C. 1532(a). Therefore, neither                                                                       during a bank stabilization construction
                                                                                                              *       *     *     *    *
                                                     a Small Government Agency Plan nor                                                                             project from August 15, 2024, through
                                                     any other action is required under                       ■ 3. Amend § 1308.13 by adding                        November 30, 2025. This proposed
                                                     UMRA.                                                    paragraphs (h) through (j) to read as                 rulemaking would limit vessel speeds
                                                                                                              follows:                                              near the area and prohibit vessels from
                                                     7. Paperwork Reduction Act of 1995
                                                                                                                                                                    being inside the Regulated Navigation
                                                        This action does not impose any new                   § 1308.13    Schedule III.
                                                                                                                                                                    Area during construction hours unless
                                                     or revised ‘‘collection[s] of information’’              *      *     *    *     *                             authorized by the Captain of the Port
                                                     as defined by the Paperwork Reduction                      (h) Marijuana. Marijuana, as defined                Sector Eastern Great Lakes or a
                                                     Act of 1995, 44 U.S.C. 3502(3).                          in 21 U.S.C. 802(16).                                 designated representative. We invite
                                                     List of Subjects in 21 CFR Part 1308                        (i) Marijuana extract. Marijuana                   your comments on this proposed
                                                                                                              extract, meaning an extract containing                rulemaking.
                                                       Administrative practice and
                                                     procedure, Drug traffic control,                         one or more cannabinoids that has been                DATES: Comments and related material
                                                     Reporting and recordkeeping                              derived from any plant of the genus                   must be received by the Coast Guard on
                                                     requirements.                                            Cannabis, containing greater than 0.3                 or before June 20, 2024.
                                                       For the reasons set out above, 21 CFR                  percent delta-9-tetrahydrocannabinol on               ADDRESSES: You may submit comments
                                                     part 1308 is proposed to be amended as                   a dry weight basis, other than the                    identified by docket number USCG–
                                                     follows:                                                 separated resin (whether crude or                     2024–0393 using the Federal Decision-
                                                                                                              purified) obtained from the plant.                    Making Portal at https://
                                                     PART 1308—SCHEDULES OF                                      (j) Naturally derived delta-9-                     www.regulations.gov. See the ‘‘Public
                                                     CONTROLLED SUBSTANCES                                    tetrahydrocannabinols. (1) Meaning                    Participation and Request for
                                                                                                              those delta-9-tetrahydrocannabinols,                  Comments’’ portion of the
                                                     ■ 1. The authority citation for 21 CFR                                                                         SUPPLEMENTARY INFORMATION section for
                                                                                                              except as in paragraphs (j)(2) and (3) of
                                                     part 1308 continues to read as follows:                  this section, that are naturally contained            further instructions on submitting
                                                       Authority: 21 U.S.C. 811, 812, 871(b),                 in a plant of the genus Cannabis                      comments. This notice of proposed
                                                     956(b), unless otherwise noted.                          (cannabis plant).                                     rulemaking with its plain-language, 100-
                                                     ■ 2. Amend § 1308.11 by:                                                                                       word-or-less proposed rule summary
                                                                                                                 (2) Naturally derived delta-9-
                                                     ■ a. Removing paragraphs (d)(23) and                                                                           will be available in this same docket.
                                                                                                              tetrahydrocannabinols do not include
                                                     (58).                                                    any material, compound, mixture, or                   FOR FURTHER INFORMATION CONTACT: If
                                                     ■ b. Redesignating paragraphs (d)(24)                                                                          you have questions about this proposed
                                                                                                              preparation that falls within the
                                                     through (57) and (59) through (104) as                   definition of hemp set forth in 7 U.S.C.              rulemaking, call or email Cody Mayrer
                                                     paragraphs (d)(23) through (102),                        1639o.                                                at Marine Safety Unit Cleveland’s
                                                     respectively.                                                                                                  Waterways Management Division, U.S.
                                                     ■ c. Revising newly redesignated                            (3) Naturally derived delta-9-                     Coast Guard; telephone 216–937–0111,
                                                     paragraph (d)(30).                                       tetrahydrocannabinols do not include                  email D09-SMB-MSUCLEVELAND-
                                                       The revision reads as follows:                         any delta-9-tetrahydrocannabinols                     WWM@uscg.mil.
ddrumheller on DSK120RN23PROD with PROPOSALS1




                                                                                                              contained in substances excluded from
                                                     § 1308.11     Schedule I.                                                                                      SUPPLEMENTARY INFORMATION:
                                                                                                              the definition of marijuana as set forth
                                                     *       *    *        *      *                           in 21 U.S.C. 802(16)(B)(ii).                          I. Table of Abbreviations
                                                         (d) * * *
                                                                                                                Dated: May 16, 2024.                                CFR Code of Federal Regulations
                                                         41 See Drug Enforcement Admin., Researcher’s         Merrick B. Garland,                                   DHS Department of Homeland Security
                                                     Manual 18–21 (2022), https://                                                                                  FR Federal Register
                                                                                                              Attorney General.
                                                     www.deadiversion.usdoj.gov/GDP/(DEA-DC-                                                                        NPRM Notice of Proposed Rulemaking
                                                                                                              [FR Doc. 2024–11137 Filed 5–17–24; 11:15 am]          § Section
                                                     057)(E.O.-DEA217)_Researchers_Manual_Final_
                                                     signed.pdf.                                              BILLING CODE 4410–09–P                                U.S.C. United States Code



                                                VerDate Sep<11>2014    16:01 May 20, 2024   Jkt 262001   PO 00000   Frm 00055   Fmt 4702   Sfmt 4702   E:\FR\FM\21MYP1.SGM   21MYP1




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                                                  (e) TVA’s issuance of a permit does                     advance of proposed rebuilding of an                  violation is not corrected as specified by
                                                not mean that TVA has determined a                        entire or significant portion of a floating           the regulatory agency in accordance
                                                facility or obstruction is safe for any                   cabin (monolithic frame or attached                   with the agency’s requirements or if
                                                purpose or that TVA has any duty to                       structures). The owner shall not begin                satisfactory evidence of compliance is
                                                make such a determination. In issuing a                   construction until prior written                      not provided to TVA.
                                                permit, TVA assumes no liability to the                   acknowledgment from TVA is received.                  *      *     *    *     *
                                                applicant or to any third party for any                   Plans for removal of the existing floating              (d) Electrical. Floating cabins shall
                                                damages to property or personal injuries                  cabin or portions to be rebuilt shall be              comply with all applicable federal,
                                                arising out of or in any way connected                    acknowledged in writing by TVA before                 state, and local laws and regulations
                                                with applicant’s construction,                            removal occurs, and the removal shall                 regarding electrical wiring and
                                                operation, or maintenance of the                          be at the owner’s expense before                      equipment (satisfactory evidence of
                                                permitted facility.                                       construction of the rebuild may begin.                compliance to be provided to TVA upon
                                                ■ 3. Amend § 1304.100 by:                                 The owner shall provide evidence of                   request). Upon receipt of documentation
                                                ■ a. Revising the seventh sentence; and                   approval from the marina operator to                  that a floating cabin is in violation of
                                                ■ b. Adding a sentence after the seventh                  rebuild within the approved harbor                    any federal, state, or local electrical
                                                sentence.                                                 limits of a commercial marina. TVA                    standard or regulation by the respective
                                                  The revision and addition read as                       may require a new permit for the                      regulatory agency or upon failure to
                                                follows:                                                  proposed rebuilding. Construction of                  provide satisfactory evidence of
                                                                                                          the rebuilt floating cabin must be                    compliance at TVA’s request, TVA is
                                                § 1304.100       Scope and intent.
                                                                                                          completed within 18 months. The                       authorized to revoke the permit and
                                                  * * * Existing floating cabins may                      rebuilt monolithic frame of the floating
                                                remain moored on the Tennessee River                                                                            require removal of the floating cabin
                                                                                                          cabin shall match the exact                           from the Tennessee River System if the
                                                System provided they remain in                            configuration and dimensions (length,
                                                compliance with the rules in this part                                                                          violation is not corrected as specified by
                                                                                                          width, and height) of both the total                  the regulatory agency in accordance
                                                and obtain a section 26a permit from                      monolithic frame and the enclosed and
                                                TVA issued after October 12, 2021.                                                                              with the agency’s requirements or if
                                                                                                          open space as approved by TVA;                        satisfactory evidence of compliance is
                                                Existing floating cabins that do not                      attached structures are subject to
                                                apply for a permit by the deadline in                                                                           not provided to TVA. Floating cabins
                                                                                                          § 1304.101(i). The footprint of the                   shall comply with § 1304.209(c)(2).
                                                this part or do not remain in compliance                  attached structures shall not be
                                                with the rules in this part are subject to                incorporated into the footprint of the                Michael McCall,
                                                the removal provisions of this part and                   monolithic frame of the floating cabin.               Vice President, Environment and
                                                section 9b of the TVA Act.* * *                                                                                 Sustainability.
                                                                                                          *      *     *     *    *
                                                ■ 4. Amend § 1304.101 by:
                                                                                                             (i) * * *                                          [FR Doc. 2024–19373 Filed 8–28–24; 8:45 am]
                                                ■ a. Revising paragraph (c);
                                                                                                             (3) Attached structures shall not                  BILLING CODE 8120–08–P
                                                ■ b. Revising paragraph (h)(2)
                                                                                                          exceed 14 feet in height from the lowest
                                                introductory text;
                                                                                                          floor level, shall not be enclosed, shall
                                                ■ c. Revising paragraph (h)(3); and
                                                ■ d. Revising paragraph (i)(3).
                                                                                                          not be connected to the monolithic                    DEPARTMENT OF JUSTICE
                                                  The revisions read as follows:                          frame by a single roofline, and shall
                                                                                                          comply with § 1304.204(p).                            Drug Enforcement Administration
                                                § 1304.101       Floating cabins                          *      *     *     *    *
                                                *      *     *     *     *                                ■ 5. Amend § 1304.103 by:                             21 CFR Part 1301
                                                   (c) All floating cabins shall comply                   ■ a. Revising paragraph (a);
                                                                                                                                                                [Docket No. DEA–1362]
                                                with the rules contained in this part and                 ■ b. Revising paragraph (d); and
                                                make application for a section 26a                        ■ c. Removing paragraph (e).                          RIN 1117–AB77
                                                permit by October 1, 2029. TVA may, at                       The revisions read as follows:
                                                                                                                                                                Schedules of Controlled Substances:
                                                its sole discretion, deny an initial                      § 1304.103 Health, safety, and                        Rescheduling of Marijuana
                                                application for a floating cabin                          environmental standards
                                                submitted after this date. Unpermitted                       (a) Wastewater. Floating cabins shall              AGENCY: Drug Enforcement
                                                structures are subject to the removal                     comply with § 1304.2(d) with regard to                Administration, Department of Justice.
                                                provisions of this part and Section 9b of                 discharges into navigable waters of the               ACTION: Notice of hearing on proposed
                                                the TVA Act.                                              United States. All discharges, sewage,                rulemaking.
                                                *      *     *     *     *                                and wastewater, and the pumping,
                                                   (h) * * *                                              collection, storage, transport, and                   SUMMARY: This is notice that the Drug
                                                   (2) Any alterations to the dimensions                  treatment of sewage and wastewater                    Enforcement Administration will hold a
                                                or approved plans for an existing                         shall be managed in accordance with all               hearing with respect to the proposed
                                                floating cabin (monolithic frame or                       applicable federal, state, and local laws             rescheduling of marijuana into schedule
                                                attached structure) shall be deemed a                     and regulations (satisfactory evidence of             III of the Controlled Substances Act. The
                                                structural modification and shall require                 compliance to be provided to TVA upon                 proposed rescheduling of marijuana was
                                                prior written approval from TVA. All                      request). Upon receipt of documentation               initially proposed in a Notice of
                                                expansions in length, width, or height                    that a floating cabin is in violation of              Proposed Rulemaking published in the
                                                are prohibited, except under the                          any federal, state, or local discharge or             Federal Register on May 21, 2024.
lotter on DSK11XQN23PROD with PROPOSALS1




                                                following circumstances if approved in                    water quality regulation by the                       DATES: Interested persons desiring to
                                                writing in advance by TVA. Structural                     respective regulatory agency or upon                  participate in this hearing must provide
                                                modifications to attached structures are                  failure to provide satisfactory evidence              written notice of desired participation
                                                subject to § 1304.101(i).                                 of compliance at TVA’s request, TVA is                as set out below, on or before September
                                                *      *     *     *     *                                authorized to revoke the permit and                   30, 2024.
                                                   (3) Owners must submit an                              require removal of the floating cabin                    The hearing will commence on
                                                application to TVA sixty (60) days in                     from the Tennessee River System if the                December 2, 2024, at 9 a.m. ET at 700


                                           VerDate Sep<11>2014     18:36 Aug 28, 2024   Jkt 262001   PO 00000   Frm 00022   Fmt 4702   Sfmt 4702   E:\FR\FM\29AUP1.SGM   29AUP1




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                                                Army Navy Drive, Arlington, VA 22202.                   Federal Food, Drug, and Cosmetic Act                     (3) State briefly the position of the
                                                The hearing may be moved to a different                 (FDCA).                                               person regarding the objections or
                                                place and may be continued from day to                    The NPRM invited interested parties                 issues.
                                                day or recessed to a later date without                 to submit requests for hearing on or                     Any person who has previously filed
                                                notice other than announcement thereof                  before June 20, 2024. DEA received                    a request for hearing or to participate in
                                                by the presiding officer at the hearing.                numerous requests for a hearing in                    a hearing need not file another request;
                                                21 CFR 1316.53.                                         response to the NPRM.                                 the request for hearing is deemed to be
                                                ADDRESSES: To ensure proper handling                      Upon review of the requests for a                   a notice of appearance under 21 CFR
                                                of notification, please reference ‘‘Docket              hearing, I am authorizing a hearing to be             1308.44(b).
                                                No. DEA–1362’’ on all correspondence.                   conducted in accordance with the                         After the deadline to request to
                                                  • Electronic notification should be                   Administrative Procedure Act (5 U.S.C.                participate in the hearing, I will assess
                                                sent to nprm@dea.gov.                                   551–559), the CSA (21 U.S.C. 811, et                  the notices submitted and make a
                                                  • Paper notification sent via regular                 seq.) and the DEA regulations.                        determination of participants. Following
                                                or express mail should be sent to Drug                                                                        that assessment, I will designate a
                                                Enforcement Administration, Attn:                       Hearing Notification                                  presiding officer to preside over the
                                                Administrator, 8701 Morrissette Drive,                     Pursuant to 21 U.S.C. 811(a) and 21                hearing. The presiding officer’s
                                                Springfield, Virginia 22152.                            CFR 1308.41, DEA will convene a                       functions shall commence upon
                                                FOR FURTHER INFORMATION CONTACT:                        hearing on the NPRM. The hearing will                 designation, as provided in 21 CFR
                                                Drug and Chemical Evaluation Section,                   commence on December 2, 2024, at 9                    1316.52. The presiding officer will have
                                                Diversion Control Division, Drug                        a.m. ET at the DEA Hearing Facility, 700              all powers necessary to conduct a fair
                                                Enforcement Administration;                             Army Navy Drive, Arlington, VA 22202.                 hearing, to take all necessary action to
                                                Telephone: (571) 362–3249. Email:                       The hearing will be conducted pursuant                avoid delay, and to maintain order. Id.
                                                nprm@dea.gov.                                           to the provisions of 5 U.S.C. 556 and                 The presiding officer’s authorities
                                                                                                        557, and 21 CFR 1308.41–1308.45, and                  include the power to hold conferences
                                                SUPPLEMENTARY INFORMATION:
                                                                                                        1316.41–1316.68. DEA is committed to                  to simplify or determine the issues in
                                                Background                                              conducting a transparent proceeding.                  the hearing or to consider other matters
                                                                                                        Regarding the methods of public access,               that may aid in the expeditious
                                                  On May 21, 2024, the Department of
                                                                                                        DEA will provide updates on the DEA                   disposition of the hearing; require
                                                Justice published a notice of proposed
                                                                                                        website, https://www.dea.gov.                         parties to state their position in writing;
                                                rulemaking (NPRM) to transfer
                                                                                                                                                              sign and issue subpoenas to compel the
                                                marijuana from schedule I of the                           In accordance with 21 U.S.C. 811 and               production of documents and materials
                                                Controlled Substances Act (CSA) to                      812, the purpose of the hearing is to                 to the extent necessary to conduct the
                                                schedule III of the CSA, consistent with                ‘‘receiv[e] factual evidence and expert               hearing; examine witnesses and direct
                                                the view of the Department of Health                    opinion regarding’’ whether marijuana                 witnesses to testify; receive, rule on,
                                                and Human Services (HHS) that                           should be transferred to schedule III of              exclude, or limit evidence; rule on
                                                marijuana has a currently accepted                      the list of controlled substances. 21 CFR             procedural items; and take any action
                                                medical use, has a potential for abuse                  1308.42.                                              permitted by the presiding officer under
                                                less than the drugs or other substances                    Every interested person (defined in 21             DEA’s hearing procedures and the APA.
                                                in schedules I and II, and that its abuse               CFR 1300.01(b) as ‘‘any person                        Id.
                                                may lead to moderate or low physical                    adversely affected or aggrieved by any                   Comments on or objections to the
                                                dependence or high psychological                        rule or proposed rule issuable’’ under 21             proposed rule submitted under 21 CFR
                                                dependence.1 The CSA requires that                      U.S.C. 811), who wishes to participate                1308.43(g) will be offered as evidence at
                                                such actions be made through formal                     in the hearing shall file a written notice            the hearing, but the presiding officer
                                                rulemaking on the record after                          of intention to participate for review by             shall admit only evidence that is
                                                opportunity for a hearing. 21 U.S.C.                    the Agency. Electronic filing may be                  competent, relevant, material, and not
                                                811(a).                                                 made as a PDF attachment via email to                 unduly repetitive. 21 CFR 1316.59(a).
                                                  The NPRM stated that if the transfer                  the Drug Enforcement Administration,
                                                to schedule III is finalized, the                       Attn: Administrator at nprm@dea.gov,                  Anne Milgram,
                                                regulatory controls applicable to                       on or before 11:59 p.m. Eastern Time on               Administrator.
                                                schedule III controlled substances                      September 30, 2024. If filing by mail,                [FR Doc. 2024–19370 Filed 8–26–24; 4:45 pm]
                                                would apply, as appropriate, along with                 written notice must be filed with the                 BILLING CODE 4410–09–P
                                                existing marijuana-specific                             Drug Enforcement Administration, Attn:
                                                requirements and any additional                         Administrator, 8701 Morrissette Drive,
                                                controls that might be implemented,                     Springfield, VA 22152, and must be                    DEPARTMENT OF THE TREASURY
                                                including those that might be                           postmarked on or before September 30,
                                                implemented to meet U.S. treaty                         2024. Paper requests that duplicate                   Alcohol and Tobacco Tax and Trade
                                                obligations. If marijuana is transferred                electronic submissions are not necessary              Bureau
                                                into schedule III, the manufacture,                     and are discouraged.
                                                distribution, dispensing, and possession                   Each notice of intention to participate            27 CFR Part 9
                                                of marijuana would remain subject to                    must conform to 21 CFR 1308.44(b) and
                                                the applicable criminal prohibitions of                                                                       [Docket No. TTB–2024–0004; Notice No.
                                                                                                        in the form prescribed in 21 CFR
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                                                the CSA. Any drugs containing a                                                                               233]
                                                                                                        1316.48. Among those requirements,
                                                substance within the CSA’s definition of                such requests must:                                   RIN 1513–AC98
                                                ‘‘marijuana’’ would also remain subject
                                                                                                           (1) State with particularity the interest
                                                to the applicable prohibition in the                                                                          Proposed Establishment of the Rancho
                                                                                                        of the person in the proceeding;
                                                                                                                                                              Guejito Viticultural Area
                                                  1 Schedules of Controlled Substances:                    (2) State with particularity the
                                                Rescheduling of Marijuana, 89 FR 44597 (May 21,         objections or issues concerning which                 AGENCY: Alcohol and Tobacco Tax and
                                                2024).                                                  the person desires to be heard; and                   Trade Bureau, Treasury.


                                           VerDate Sep<11>2014   18:36 Aug 28, 2024   Jkt 262001   PO 00000   Frm 00023   Fmt 4702   Sfmt 4702   E:\FR\FM\29AUP1.SGM   29AUP1




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Drug Enforcement Administration
Attn: Hearing Clerk/OALJ
8701 Morrissette Drive
Springfield, VA 22152.
Subject: Docket No. DEA-1362, Request for Participation

Dear Sir or Madam:

      Doctors for Drug Policy Reform (the “Organization”) and the undersigned, Bryon Adinoff,
M.D., hereby requests to participate in the matter of “Schedules of Controlled Substances:
Rescheduling of Marijuana” (89 Fed. Reg. 44597).1

    I.     Introduction
        Doctors for Drug Policy Reform, or D4DPR (formerly known as Doctors for Cannabis
Regulation) supports removing cannabis in all its forms from the Controlled Substances Act. In
the context of the proposed rule, however, it is the Organization’s position that the medical,
scientific, and other evidence supports a Schedule V (alternatively, schedule IV) classification for
“marijuana,” “marijuana extract,” and “naturally derived delta-9-tetrohydrocannabinols” and
requests to participate in same in support of its position.

        First, the Organization agrees that marijuana has a currently accepted medical use in
treatment in the United States and should be removed from Schedule I. As the premier organization
of health professionals and scientists specifically organized to provide expert evidence related to
the responsible regulation of cannabis, the Organization is best positioned to present additional
evidence to support that assessment and to contextualize evidence and argument to the contrary.

       Second, while the Organization agrees with HHS that marijuana should be removed from
Schedule I, it contends that the evidence, properly considered, supports a classification below
Schedule III. Relative to substances in Schedule III and Schedule IV, marijuana has a low potential
for abuse and lower psychological/physical dependence. 2 In support of its position, the
Organization intends to present fact and expert testimony/opinion from two of its members with
relevant expertise, Drs. Bryon Adinoff and David Nathan, and whose CVs/bios are attached. The
HHS analysis failed to fully and properly evaluate the relative abuse potential and
psychological/physical dependence of marijuana abuse compared to Schedule III, IV, and V drugs,
even though the statute requires this analysis and prior scheduling actions involving other drugs

1
        The Organization previously submitted a request for hearing. For good measure, it also
offers this submission.
2
       The Organization notes that “abuse,” “dependence,” and marijuana are terms in the statute.
The use of statutory terms herein indicates no agreement on the propriety of their use in other
contexts. For example, “drug abuse” is no longer a diagnosis in DSM-V and therefore, abuse
should not be used by medical professionals.


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have done it too. At the requested hearing, the Organization intends to provide testimony and
evidence on this matter to assist the agency in its final determination.

        The Organization also seeks to offer testimony on the issue of the meaning and application
of the statutory term “abuse,” particularly as it relates to cannabis use. Both FDA and DEA in the
past have applied a definition of “drug abuse” as the intentional, non-therapeutic use of a drug
product or substance, even once, to achieve a desired psychological or physiological effect.”3
Accordingly, “abuse potential” abuse potential refers to “the likelihood that abuse will occur with
a particular drug product or substance with CNS activity.”

         These definitions, however, are not generally accepted by the medical profession. Rather,
drug or substance abuse, as used in the statute, should be understood to capture use or excessive
use of a drug in a way that is harmful or detrimental to self, society, or both. 4 This difference is
particularly important in assessing the research and epidemiological evidence. A drug like cannabis
that is widely available is often used without a prescription but not in a way that is harmful. Indeed,
there is currently no way to “prescribe” cannabis, so all cannabis use is used without a prescription.

         The Administrative Procedure Act provides “as the orderly conduct of public business
permits, an interested person may appear before an agency or its responsible employees for the
presentation, adjustment, or determination of an issue, request, or controversy in a proceeding,
whether interlocutory, summary, or otherwise, or in connection with an agency function.” 5 U.S.C.
§ 555(b). It similarly provides that the “agency as a matter of policy shall provide for the exclusion
of irrelevant, immaterial, or unduly repetitious evidence.” 5 U.S.C. § 556.

         Because the Organization would adversely affected by the proposed rule, has interests that
differ from other potential participants, intends to provide non-cumulative evidence to assist the
agency’s final determination, and is well-suited to cross-examine evidence put forward by industry
and rescheduling opponents alike, it requests a rulemaking hearing or to participate in same in
support of its position.5



3
       See, for example, https://www.fda.gov/media/116739/download.
4
        The legislative history and agency precedent indicates that a determination that “potential
for abuse” should not “be determined on the basis of isolated or occasional nontherapeutic
purposes,” but rather “there must exist a substantial potential for the occurrence of significant
diversions from legitimate channels, significant use by individuals contrary to professional advice,
or substantial capability of creating hazards to the health of the user or the safety of the
community.” 76 Fed. Reg. 77330 at 336. Based on this definition, not all cannabis use, whether
medicinal or recreational, would constitute abuse.
5
        See Animal Legal Defense Fund, Inc. v. Vilsack, 237 F. Supp. 3d 15, 22-23 (D.D.C. 2017)
(citing Nichols v. Bd. of Trustees of Asbestos Workers Local 24 Pension Plan, 835 F.2d 881, 896-
97 (D.C. Cir. 1987)).


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    II.    Interests of the person in the proceeding.

        The Organization is a 501(c)(3) non-profit organization that serves as a global voice for
licensed health professionals and scientists advocating for evidence-based drug policies and best
practices that advance public health, reduce stigma, and minimize harm. Its website is located at
https://www.d4dpr.org/.

        In 2015, Dr. David Nathan founded the Organization as Doctors for Cannabis Regulation
to bridge the gap between the policy of prohibition and the unregulated legalization of cannabis.
The Organization has been dedicated to that mission ever since. Since that time, it has served as
the premier national physicians’ association committed to the responsible regulation of cannabis
in the United States and abroad, a global advocate, and represents the voices of over 400 physicians
and licensed medical practitioners, in support of evidence-based cannabis regulation and
legalization. The Organization is comprised of doctors, nurses, pharmacists—many if not nearly
all of whom are registrants.

        The Organization is frequently called upon to provide expert testimony in significant
legislative and administrative contexts unaffiliated with the cannabis industry. It provided
testimony for the first-ever Congressional subcommittee hearing on cannabis legalization and on
dozens state-level initiatives and bills pertaining to medical and adult-use cannabis. The
Organization frequently collaborates with other advocacy groups to educate the public, including
on rescheduling. The Organization is not affiliated with the cannabis industry.
       As noted on its website, the Organization also offers curriculums on cannabis education,
each of which has been carefully vetted by our D4DPR Board and Experts.
        The Organization and its members not only have a particularized interest and are affected
by the proposed rule, but are in the best position to provide relevant, material, and not unduly
repetitious evidence sought by the agency. 6

    III.   Objections or issues concerning which the person desires to be heard.

       As an organization of health care professionals and scientists formed years ago to bridge
the gap between the policy of prohibition and the unregulated legalization of cannabis, the
Organization is generally interested in participating a hearing central to its longstanding mission.


6
        The Organization and its members are also interested parties considering the differences
between Schedule III and Schedule V substances, for example, in dispensing limits for
prescriptions. 21 U.S.C. § 829. These differences directly members of the Organization. The
Organization further notes that rescheduling (even from I to III) could adversely impact its
members because it may affect how medical marijuana is recommended/prescribed or dispensed,
which at present, is done based on recommendations and not prescriptions due to its Schedule I
status.



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The Organization’s participation will ensure that the evidence presented by both industry and
rescheduling opponents alike are placed in the proper medical and scientific context.

       In addition to general participation, as to specific and particularized issues of interest to the
Organization, the Organization wishes to be heard on the following two issues.

          a. Physical and psychological dependence relative to Schedule III, IV, and V
             compounds and relative potential for abuse. The HHS recommendation states that
             marijuana was compared to controlled substances in schedule III (ketamine) and
             schedule IV (benzodiazepines, zolpidem, and tramadol), as well as to other schedule II
             substances (fentanyl and hydrocodone). Without much additional explanation, the
             recommendation states that it “evaluated the totality of the available data and have
             concluded that it supports the placement of marijuana in Schedule III.” It is unclear,
             however, whether and how HHS performed a relative potential for abuse and
             dependence analysis compared to Schedule III and IV substances.

          b. The meaning of “abuse” / “abuse potential” and its application to marijuana.
             Historically, FDA and/or DEA has defined “drug abuse” as the intentional, non-
             therapeutic use of a drug product or substance, even once, to achieve a desired
             psychological or physiological effect.” But this definition or concept is not generally
             accepted in the medical community, and what constitutes abuse with a culturally
             available and sanctioned substance cannot be based on whether, on occasion, an
             individual consumes the substance on their own initiative rather than based on medical
             advice. Just like few would consider having a glass of wine with dinner to be alcohol
             abuse, few medical professionals would seriously consider smoking marijuana once a
             week on Friday to relax after work to be “abuse.” The definition of “abuse” and “abuse
             potential” is important because it undergirds the HHS findings with respect to
             marijuana’s “potential for abuse.” Properly considered, marijuana does not have a
             “potential for abuse” any greater than drugs in the benzodiazepine class (Schedule IV).

    IV.      Brief Statement on the Issues.

          a. Physical and psychological dependence relative to Schedule III, IV, and V
             compounds and relative potential for abuse. The HHS recommendation does not
             appear to do a meaningful comparative analysis in assessing scheduling factor three,
             even though the statute demands that in determining a final scheduling placement
             among Schedules III, IV, or V, the agency must compare physical and psychological
             dependence among them.7 Notably, both agencies have done this analysis in the past.

7
       For example, Schedule III, factor 3 (21 U.S.C. § 812(b)(3)(C)) is “Abuse of the drug or
other substance may lead to moderate or low physical dependence or high psychological
dependence,” while Schedule IV, factor 4 (21 U.S.C. § 812(b)(4)(C)) is “Abuse of the drug or other


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           For example, the agency concluded in 2013 that Lorcaserin should be placed in
           Schedule IV (78 Fed. Reg. 26701), based on an abuse potential study comparing
           lorcaserin to zolpidem (Schedule IV) and ketamine (Schedule III). The agency
           concluded in 2005 that pregabalin warranted Schedule V placement because
           “withdrawal effects of pregabalin are less severe than with other substances currently
           controlled in Schedule IV.” (70 Fed. Reg. 43633.)

           The HHS analysis on relative abuse potential, reproduced below, is hard to understand:

               [T]he rank order of these substances regarding harms does not consistently align
               with the relative scheduling placement of these drugs in the CSA due to the
               pharmacological differences between various classes of drugs.

               There are a number of confounding factors that likely influence the adverse
               outcomes measured in various epidemiological databases and account for the rank
               ordering of the drugs evaluated on these measures. For example, each substance
               has associated with it a different population that abuse that substance, a different
               prevalence of abuse, and a different profile of severe adverse outcomes in a setting
               of nonmedical use and abuse. Thus, it is challenging to reconcile the ranking of
               relative harms associated with the comparators used in this evaluation when the
               rankings differ across various epidemiological databases, and when these rankings
               often do not align with the scheduling placement of these comparators under the
               CSA. To address these challenges, we evaluated the totality of the available data
               and have concluded that it supports the placement of marijuana in Schedule III.

           The Organization does not believe this analysis is sufficient, and it intends to provide
           detailed testimony from two witnesses on the low physical and psychological
           dependence of cannabis relative to Schedule III and IV substances. 8 In particular, the
           analysis does not properly compare cannabis to the benzodiazepine class in Schedule
           IV, and it is well documented that benzodiazepine abuse results in significant
           physiological and psychological dependence. The proposed rule similarly recognizes
           that the public health risk of benzodiazepines is substantially greater than the risk
           presented by cannabis. The evidence will show that compared to benzodiazepines,
           abuse of marijuana leads to limited physical dependence or psychological dependence
           relative to the drugs or other substances in schedule IV.

substance may lead to limited physical dependence or psychological dependence relative to the
drugs or other substances in schedule III.” To determine whether a drug properly is placed in
Schedule III or IV, it is therefore necessary to consider the relative dependence of the substance
compared to other substances in Schedule III. The same can be said of Schedules IV and V.
8
       One witness has recognized expertise in addiction and substance use disorders. The other
has expertise in cannabis policy and psychiatry.


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       b. The meaning of “abuse” / “abuse potential” and its application to marijuana.
          Marijuana, like most drugs, can be “abused.” But what constitutes “abuse” in the
          context of a culturally available and state-regulated substance cannot be based simply
          on whether, on occasion, an individual consumes the substance on their own initiative
          rather than based on medical advice, without any harm to the individual. Few would
          consider a glass of wine with dinner to be alcohol “abuse.” Likewise, occasional
          marijuana consumption that presents no individual or societal harm is not “abuse.” The
          proposed rule recognizes that “the vast majority of individuals who use marijuana are
          doing so in a manner that does not lead to dangerous outcomes to themselves or others.”
          None of that is “abuse,” and in assessing prevalence as part of a potential for abuse
          assessment, DEA should neither include medical uses of marijuana nor non-
          problematic non-medical uses.

All notices to be sent pursuant to the proceeding should be addressed to:

Bryon Adinoff
812 S Gaylord St
Denver, CO 80209

David L. Nathan, MD, DFAPA
Princeton Psychiatry & Consulting, LLC
601 Ewing Street, Suite C-10
Princeton, NJ 08540

and

Matthew C. Zorn
Yetter Coleman LLP
811 Main Street, Ste. 4100
Houston, TX 77002


                                                    Respectfully yours,




                                                    Bryon Adinoff, M.D.
                                                    President, Doctors for Drug Policy Reform


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                      UNITED STATES DEPARTMENT OF JUSTICE

                              Drug Enforcement Administration



  In the Matter of

  Schedules of Controlled Substances:                       DEA Docket No. 1362
  Proposed Rescheduling of Marijuana                        Hearing Docket No. 24-44



                                   PRELIMINARY ORDER
       I am the Administrative Law Judge (ALJ) designated by the Administrator of the Drug
Enforcement Administration (DEA or Agency) to hear this case.
       On May 21, 2024, the United States Department of Justice (DOJ) through the DEA
issued a notice of proposed rulemaking (NPRM) proposing to transfer marijuana from Schedule I
of the Controlled Substances Act (CSA) to Schedule III. Schedules of Controlled Substances:
Rescheduling of Marijuana, 89 Fed. Reg. 44597, 44597 (2024). In an order dated August 29,
2024 (General Notice of Hearing or GNoH), the DEA Administrator determined that in-person
hearing proceedings are appropriate and fixed a December 2, 2024 commencement date at the
DEA Hearing Facility. Schedules of Controlled Substances: Rescheduling of Marijuana, 89 Fed.
Reg. 70148, 70148-49 (2024).
       The NPRM directed, inter alia, that “[a]ll requests for a hearing and waivers, together
with a written statement of position on the matters of fact and law asserted in the hearing, must
be filed with DEA.” 89 Fed. Reg. at 44598. The General Notice of Hearing acknowledged the
regulatory requirement that under the DEA regulations, an “interested person” is “any person
adversely affected or aggrieved by any rule or proposed rule issuable under 21 U.S.C. § 811.”
89 Fed. Reg. at 70149. The GNoH instructed any person seeking to participate in the
rescheduling hearing to submit a filing:
       (1) Stat[ing] with particularity with interest of the person in the proceeding;
       (2) Stat[ing] with particularity the objections or issues concerning which the
       person desires to be heard; and
       (3) Stat[ing] briefly the position of the person regarding the objections or issues.
Id.




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         On October 29, 2024, two letters from the DEA Administrator were hand-carried to the
DEA Office of Administrative Law Judges. Attachments 1, 2. One letter (the Participant Letter
or PL)1 designated a list of twenty-five “participants” (Designated Participants or DPs), and the
other, by its terms, directed the utilization of livestreaming throughout the hearing proceedings
(the Livestream Letter or LSL).2 The PL and LSL have been attached to this order as the record
has no indication as to whether either or both documents were served on the Designated
Participants or any of those who sought to be DPs.
         Although the Participant Letter designated a list of enumerated entities and individuals as
DPs, there is no indication in the four corners of the document as to whether the “participants”
support or oppose the NPRM or how the “participants” satisfy the “interested person” definition
set forth in the regulations. 21 C.F.R. §§ 1300.01(b), 1308.44(a)-(b). Indeed, the PL contains
only a list of persons and organizations accompanied by one or more email addresses, without
the benefit of notices of appearance, addresses, or even phone numbers. While the NPRM
directed that the Office of Administrative Law Judges be served with a courtesy copy of any
hearing request filing(s),3 the GNoH contained no such requirement. Thus, this tribunal is not in
possession of documentation related to whether/how the Designated Participants would be
“adversely affected or aggrieved” by the proposed regulation change in the NPRM,4 or any other
particularly helpful information. The regulatory language regarding the requirement that only
“interested person[s]” may request (and by implication be designated with) hearing participant
status is not permissive in nature. 21 C.F.R. § 1308.44. Equally directive is the language in the
regulations that requires that an “interested person” demonstrate that he/she/it would be
“adversely affected or aggrieved” by the proposed scheduling action. 21 C.F.R. § 1300.01(b).
         In granting the Attorney General (and by delegation the DEA Administrator5) authority to
schedule or reschedule any substance, Congress required that such an action “shall be made on
the record after [an] opportunity for a hearing pursuant to the rulemaking procedures prescribed
by the [Administrative Procedure Act (APA)].” 21 U.S.C. § 811(a). Under the APA, “the



1
  Attachment 1.
2
  Attachment 2.
3
  89 Fed. Reg. at 44598.
4
  Indeed, the Agency has furnished this tribunal with no correspondence from itself or the Designated Participants
that was generated in response to the GNoH.
5
  28 C.F.R. § 0.100.

                                                         2



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proponent of a[n] . . . order has the burden of proof.”6 5 U.S.C. § 556(d); see also 21 C.F.R. §
1316.56 (“[a]t any hearing, the proponent for the issuance, amendment, or repeal of any rule
shall have the burden of proof.”). Thus, just as the Agency carries the burden of proof to prevail
on its proposed rulemaking, those among the Designated Participants seeking active participation
in this hearing must establish that they have made timely application and are eligible as an
“interested person.” To the extent that any of this has been done or adjudicated, it is not
transparent in the present record. The record currently contains no hearing requests, notices of
appearance, or correspondence between the Agency and the Designated Participants or those
who sought that status. As the record currently stands, although the Agency has fixed a
December 2, 2024 hearing date, there is no way to discern from the present record which DPs
support or oppose the NPRM. To effectively preside over this hearing, additional information
must be furnished to the tribunal forthwith.
        Accordingly, it is herein ORDERED that any Designated Participant listed in the
Participant Letter who seeks active participation in these hearing proceedings shall, no later than
2:00 P.M. Eastern Time (ET) on November 12, 2024, file with this tribunal a brief notice
which will include the following information/document(s): (1) the name, address, phone number,
and general nature/principal mission of the DP’s practice, profession, or business; (2) a notice of
appearance for the counsel(s) of record that will be representing the DP at the hearing; (3) the
date that a request for hearing and/or participation was properly filed by the DP with the DEA;
(4) why/how the DP would be sufficiently “adversely affected or aggrieved” by the proposed
scheduling action to qualify as an “interested person” under the regulations;7 (5) whether the DP
supports or opposes the rescheduling action the DEA seeks in its NPRM; and (6) any known
conflicts of interest with DEA or DOJ leadership or personnel that may require disclosure.8
        It is further ORDERED that the Government, shall, no later than 2:00 P.M. ET on
November 12, 2024, file with this tribunal a notice of appearance for its counsel(s) of record


6
  The APA definition of “order” includes “the whole or part of a final disposition . . . .” 5 U.S.C. § 551(6)
(emphasis supplied).
7
  21 C.F.R. §§ 1300.01(b), 1308.44(a)-(b).
8
  In this regard, the PL identifies the International Association of Chiefs of Police (IACP) as a Designated
Participant. My spouse is currently an administrative employee of that organization who has no management
responsibilities. She has had no role in any IACP discussions regarding the issues to be adjudicated in these
proceedings. That my spouse is an IACP employee will not affect my consideration of any evidence presented by or
against IACP, nor will it influence in any way the ultimate recommendation that I make in this case to the DEA
Administrator.

                                                       3



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 who will be appearing in these proceedings, as well as any known conflicts of interest that may
 require disclosure.
          It is further ORDERED, that pursuant to the Administrator’s General Notice of Hearing,
 preliminary hearing proceedings will commence at 9:30 ET on December 2, 2024 at the DEA
 Hearing Facility, North Courtroom, 700 Army Navy Drive, Arlington, Virginia, 22202. No
 testimony or other evidence will be received at this preliminary hearing, but those Designated
 Participants who will participate will come prepared with January-February 2025 availability
 dates regarding their counsel and any witness9 such DP will seek to present at the hearing on the
 merits. Dates for the hearing on the merits and other deadlines will be fixed in a prehearing
 ruling,10 which will be issued after the preliminary hearing where the parties have been afforded
 the opportunity to supply logistical and availability input.11
          It is further ORDERED that all proceedings will be governed by the provisions of 21
 C.F.R. §§ 1316.41-1316.68.12 Your attention is specifically directed to 21 C.F.R. § 1316.45,
 which provides, inter alia, that “[d]ocuments shall be dated and deemed filed upon receipt by the
 Hearing Clerk.” Documents (other than proposed exhibits13) will be filed electronically or by
 hardcopy. Only one method of document filing may be utilized.
          Electronic Filing: The preferred method of filing correspondence in these proceedings is
 as a PDF attachment via email to the DEA Judicial Mailbox (ECF-DEA@dea.gov). The
 forwarding email on all electronically filed correspondence must indicate that it was
 simultaneously served on the Government and all DPs via email. The DPs must ensure that all

 9
   Given the potential number of anticipated participants, each participant, other than the Government (the burdened
 party in these proceedings), can generally expect to present the testimony of no more than one witness, with the
 opportunity to file written briefs at the conclusion of the hearing.
 10
    21 C.F.R. § 1316.55.
 11
    The courtrooms at the DEA Hearing Facility are spacious and modern, but not unlimited. Accordingly, in view of
 the potentially high number of hearing participants, it is anticipated that admission to the preliminary hearing will be
 limited to representatives (no more than two, preferably one) and credentialled media as designated by the Agency.
 See Attachment 2 at 1. The Administrator’s directive in the LSL regarding livestreaming will afford those
 physically outside the courtroom an opportunity to observe the proceedings. Id. Naturally, witnesses will be
 admitted to the courtroom to testify at the merits hearings at times where their testimony is scheduled. No cell
 phone use by anyone will be permitted in the courtroom at any hearing conducted in this matter. The highest level
 of decorum will be maintained at all times during all hearings, and court attire is required for anyone participating in
 any capacity. All representative appearances will be live (not virtual) throughout, and all representatives must plan
 to arrive sufficiently early to allow security processing through the DEA Visitor Center, which is collocated with the
 DEA Hearing Facility at 700 Army Navy Drive, Arlington, Virginia, 22202.
 12
    Additional helpful information regarding DEA administrative proceedings may be found at the OALJ website,
 https://www.dea.gov/administrative-law-judges.
 13
    The prehearing ruling issued after the preliminary hearing will supply direction on the manner in which exhibits
 may be filed with the tribunal.

                                                            4



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documents filed with the DEA Judicial Mailbox are simultaneously served on the Government
Mailbox at (dea.registration.litigation@dea.gov) and all other DPs. Any request(s) to modify
email addresses of a party or counsel must be made on notice to this tribunal and all other
parties. The email receipt date reflected by the DEA Judicial Mailbox server shall conclusively
control all issues related to the date of service of all filed correspondence, provided however, that
correspondence received after 5:00 p.m., local Washington, D.C. time, will be deemed to have
been received on the following business day.
          Hardcopy: Alternatively, correspondence may be filed in hardcopy form. Hardcopy
filings must be served in triplicate and addressed to my attention at: The DEA Office of
Administrative Law Judges, 8701 Morrissette Drive, Springfield, Virginia 22152. Because
the DEA Hearing Facility is not physically collocated with the DEA mailing address, hardcopy
filings must be posted sufficiently in advance of the due date to assure timely receipt by this
office.
          It is further ORDERED that any request for a continuance or for an extension of time to
file a document must be made by written motion sufficiently in advance of scheduled deadline(s)
to be considered and ruled upon.
Dated: October 31, 2024                                                        Digitally signed by
                                                        JOHN      JOHN MULROONEY
                                                        MULROONEY Date: 2024.10.31
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                                                        __________________________
                                                        JOHN J. MULROONEY, II
                                                        Chief Administrative Law Judge




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                               CERTIFICATE OF SERVICE
        This is to certify that the undersigned, on October 31, 2024, caused a copy of the
foregoing to be delivered to the following recipients: (1) James Schwartz, Esq., Counsel for the
Government, via email at james.j.schwartz@dea.gov; (2) the DEA Government Mailbox, via
email at dea.registration.litigation@dea.gov; (3) Shane Pennington for Village Farms
International, via email at spennington@porterwright.com; (4) Aaron Smith for National
Cannabis Industry Association, via email at aaron@thecannabisindustry.org and
michelle@thecannabisindustry.org; (5) Chad Kollas for American Academy of Hospice and
Palliative Medicine, via email at wchill@aahpm.org; (6) John Jones for Cannabis Bioscience
International Holdings, via email at ir@cbih.net; (7) Robert Head for Hemp for Victory, via
email at robert@bluecordfarms.com; (8) Erin Gorman Kirk for the State of Connecticut, via
email at erin.kirk@ct.gov; (9) Ellen Brown for Massachusetts Cannabis Advisory Board, via
email at ellen@greenpathtraining.com; (10) Shanetha Lewis for Veterans Initiative 22, via email
at info@veteransinitiative22.com; (11) Jason Castro for The Doc App. Dba, My Florida Green,
via email at jasoncastro@myfloridagreen.com; (12) Katy Green for The Commonwealth Project,
via email at kag@platinumadvisors.com; (13) Ari Kirshenbaum for Saint Michael’s College, via
email at mslade@cannabispublicpolicyconsulting.com; (14) Jo McGuire for National Drug and
Alcohol Screening Association, via email at jomcguire@ndasa.com; (15) Patrick Philbin for
Smart Approaches to Marijuana, via email at pphilbin@torridonlaw.com; (16) Roneet Lev for
International Academy on the Science and Impact of Cannabis, via email at
roneetlev@gmail.com; (17) David Evans for Cannabis Industry Victims Educating Litigators,
via email at thinkon908@aol.com; (18) Kenneth Finn, via email at kfinn@springsrehab.net; (19)
Jennifer Homendy for National Transportation Safety Board, via email at
executivesecretariat@ntsb.gov and correspondence@ntsb.gov; (20) Phillip Drum, via email at
phillipdrum@comcast.net; (21) Attorney General Mike Hilgers for the State of Nebraska, via
email at zachary.viglianco@nebraska.gov; (22) International Association of Chiefs of Police, via
email at voegtlin@theiacp.org; (23) Drug Enforcement Association of Federal Narcotics Agents,
via email at marshallfisher@rocketmail.com; (24) Natalie P. Hartenbaum for American College
of Occupational and Environmental Medicine, via email at occumedix@comcast.net and
craig@acoem.org; (25) Sue Thau for Community Anti-Drug Coalitions of America, via email at
cdoarn@cadca.org; (26) Tennessee Bureau of Investigation, via email at kim.litman@tbi.tn.gov;
and (27) National Sheriff’s Association, via email at sheriffskinner@collincountytx.gov and
ykaraman@sheriffs.org.



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                                                           Staff Assistant to the Chief Judge
                                                           Office of Administrative Law Judges




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                                                                US. Department of Justice
                                                                0mg Enforcement Administration




        Office of the Administrator                             Springfield. VA 22152


                                                             October 28, 2024

        Hon. John J. Mulrooney, II
        Chief Administrative Law Judge
        Office of Administrative Law Judges
        8701 Morrissette Drive
        Springfield, VA 22152

        Dear Chief Judge Mulrooney,

               On May 21, 2024, the Department of Justice published a notice of proposed rulemaking
        (NPRM) to transfer marijuana from schedule I of the Controlled Substances Act (CSA) to
        schedule III of the CSA. See Schedules of Controlled Substances: Rescheduling o(Mariiuana,
        89 FR 44597 (May 21, 2024). Upon review of the requests for hearing on the NPRM, I
        authorized a hearing to be conducted in accordance with the Administrative Procedure Act
        (AP A), the CSA, and the Drug Enforcement Administration (DEA) regulations. See Schedules
        of Controlled Substances: Rescheduling o(Mariiuana. 89 FR 70148 (Aug. 29, 2024).

                Pursuant to my authority under the CSA and DEA regulations, I reviewed the requests
        for a hearing under 21 CFR 1308.44(a) and 1316.47, and the requests to participate under 21
        CFR 1308.44{b) and 1316.48, and I have determined that the following will be participants at the
        hearing:

                   1. Village Farms International Inc.
                      Shane Pennington of Porter Wright, spennington@porterwright.com

                   2. National Cannabis Industry Association
                      Aaron Smith, CEO and Co-Founder, and Michelle Rutter Friberg, Director of
                      Government Relations, aaron@thecannabisindustry.org and
                      michelle@thecannabisindustry.org

                   3. American Academy of Hospice and Palliative Medicine
                      Dr. Chad Kollas, MD, wchill@aahpm.org                                            r- ; .
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                   4. Cannabis Bioscience International Holdings
                      John Jones, Treasurer and Director, ir@cbih.net




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             5. Hemp for Victory
                Robert Head, Dr. Corey Burchman, Dr. Darinia Douchi, and Victor Bohm,
                robert@b luecordfarms. com

             6. Cannabis Ombudsman, State of Connecticut
                Erin Gorman Kirk, Erin.Kirk@ct.gov

             7. Massachusetts Cannabis Advisory Board
                Ellen Brown, Research Subcommittee Chair, ellen@greenpathtraining.com

             8. Veterans Initiative 22
                Shanetha Lewis, Executive Director, info@veteransinitiative22.com

             9. The Doc App. Dba, My Florida Green
                Nicholas Garulay, President and CEO, and Jason Castro, Inhouse Counsel,
                jasoncastro@myfloridagreen.com

             I 0. The Commonwealth Project
                  Katy Green, kag@platinumadvisors.com

             11. Saint Michael's College
                 Ari Kirshenbaum, PhD, Professor of Psychology,
                 mslade@cannabispublicpolicyconsulting.com

             12. National Drug and Alcohol Screening Association (NDASA)
                 Jo McGuire, jomcguire@ndasa.com

             13. Smart approaches to Marijuana (SAM)
                 Patrick Philbin, pphilbin@torridonlaw.com

             14. International Academy on the Science and Impact of Cannabis
                 Roneet Lev, roneetlev@gmail.com

             15. Cannabis Industry Victims Educating Litigators
                 David Evans, Sr. Counsel, thinkon908@aol.com

             16. Kenneth Finn, MD, kfinn@springsrehab.net

             17. National Transportation Safety Board (NTSB)
                 Jennifer Homendy, Chair, ExecutiveSecretariat@ntsb.gov and
                 correspondence@ntsb .gov

             18. Phillip Drum, Phann D, phillipdrum@comcast.net




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               19. State of Nebraska
                   Attorney General Mike Hilgers, zachary.viglianco@nebraska.gov

               20. International Association of Chiefs of Police (IACP)
                   voegtlin@theiacp.org

               21. Drug Enforcement Association of Federal Narcotics Agents (DEAFNA)
                   marshallfisher@rocketmail.com

               22. American College of Occupational and Environmental Medicine (ACOEM)
                   Natalie P. Hartenbaum, occumedix@comcast.net cc: craig@acoem.org

               23. Community Anti-Drug Coalitions of America (CADCA)
                   Sue Thau, cdoarn@cadca.org

               24. Tennessee Bureau of Investigation (TBI)
                   kim.litman@tbi.tn. gov

               25. National Sheriffs Association
                   sheri ffskinner@co llincountytx. gov and ykaraman@sheriffs.org


                Further, an Administrative Law Judge (ALJ) is now designated to preside over the
        hearing. The ALJ's functions commence upon this designation. See 21 CFR 1316.52. The
        designated ALJ will have powers necessary to conduct a fair hearing, to take all necessary action
        to avoid delay, and to maintain order. Id. The ALJ's authorities include the power to hold
        conferences to simplify or determine the issues in the hearing or to consider other matters that
        may aid in the expeditious disposition of the hearing; require parties to state their position in
        writing; sign and issue subpoenas to compel the production of documents and materials to the
        extent necessary to conduct the hearing; examine witnesses and direct witnesses to testify;
        receive, rule on, exclude, or limit evidence; rule on procedural items; and take any action
        permitted by the presiding officer under DEA's hearing procedures and the AP A. Id.




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                                                             Administrator




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                         UNITED STATES DEPARTMENT OF JUSTICE

                                   Drug Enforcement Administration



    In the Matter of

    Schedules of Controlled Substances:                              DEA Docket No. 1362
    Proposed Rescheduling of Marijuana                               Hearing Docket No. 24-44



    ORDER REGARDING STANDING, SCOPE, AND PREHEARING PROCEDURES
On Standing
         The United States Department of Justice (DOJ) through the Drug Enforcement
Administration (DEA or Agency) has initiated rulemaking proceedings to reschedule marijuana
from Schedule I of the Controlled Substances Act (CSA) to Schedule III. Schedules of
Controlled Substances: Rescheduling of Marijuana, 89 Fed. Reg. 44597, 44597 (2024). In
another order (General Notice of Hearing or GNoH) published in the Federal Register, the DEA
Administrator (the Administrator) subsequently determined that hearing procedures are
appropriate and fixed a December 2, 2024 hearing commencement date. Schedules of Controlled
Substances: Rescheduling of Marijuana, 89 Fed. Reg. 70148, 70148-49. Subsequent
correspondence by the Administrator listed twenty-five (25) designated participants (Designated
Participants or DPs).1 Concluding that more information about the DPs was a necessary
prerequisite to competently conducting a fair hearing,2 I tasked the Government and the DPs
with furnishing additional information by November 12, 2024 in an order dated October 31,
2024 (Preliminary Order or Prelim. Ord.). Prelim. Ord. at 3. Most of the DPs timely complied
with this directive,3 including the instruction to supply information related to their respective

1
  The American Academy of Hospice and Palliative Medicine withdrew its request to participate in a document filed
on November 8, 2024, as did the American College of Occupational and Environmental Medicine on November 12,
2024. Similarly, the National Sheriffs’ Association has signaled its intent to submit a hearing waiver. These DPs
are no longer parties to this proceeding and no standing recommendations have been made regarding them.
2
  5 U.S.C. § 556(c)(5); 21 C.F.R. § 1316.52(c), (g), (h).
3
  The International Academy on the Science and Impact of Cannabis (IASIC) and Saint Michael’s College (SMC)
did not respond to the Preliminary Order. However, Ari Kirshenbaum, PhD is affiliated with SMC, and Kenneth
Finn, M.D. is affiliated with IASIC. Neither of these DPs sought to either speak on behalf of these institutions or
made any assertions relative to associational standing based on their respective affiliations. IASIC and SMC are no
longer parties to this proceeding and this order contains no standing recommendations with respect to them.




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arguments for standing under the Administrative Procedure Act (APA) and CSA and its
implementing regulations.
        The non-legislative transfer of controlled substances from one schedule to another by the
DEA4 is authorized only “after opportunity for a hearing pursuant to the rulemaking procedures”
set forth in the Administrative Procedure Act. 21 U.S.C. § 811(a). Both the Agency’s NPRM
and the GNoH expressly invited “interested persons” seeking participation in this potential
scheduling action to file applicable requests within specified deadlines. 89 Fed. Reg. at 44598;
89 Fed. Reg. at 70148-79; 21 U.S.C. § 811(a); 21 C.F.R. § 1308.44(a), (b).
        The APA provides that “[s]o far as the orderly conduct of public business permits, an
interested person may appear before an agency or [one of its ALJs]5 for the presentation,
adjustment, or determination of an issue, request, or controversy in a proceeding. . . in
connection with an agency function.”6 5 U.S.C. § 555(b). When agencies are “charged with
administering congressional statutes[, b]oth their power to act and how they are to act is
authoritatively prescribed by Congress[.]” City of Arlington, Tex. v. FCC, 569 U.S. 290, 297
(2013); see American Trucking Associations, Inc. v. United States, 627 F.2d 1313, 1320 (D.C.
Cir. 1980) (“When an agency exercises authority expressly delegated to it by Congress it is at the
zenith of its powers.”). However, even when operating “at the zenith of its powers,”7 the agency
is constrained to act within the parameters of the APA, the CSA, and any related regulations, and
must refrain from actions which are arbitrary, capricious, and demonstrate an abuse of its
Congressionally-authorized discretion. American Trucking, 627 F.2d at 1316, 1320-21.
        Prior to the commencement of a hearing on the rescheduling of a controlled substance, a
threshold determination must be made regarding the proper cadre of hearing participants.
Standing to appear in an APA agency proceeding can differ markedly from the rigid standing


4
  The Attorney General’s CSA authority has been delegated to the DEA Administrator by regulation. 28 C.F.R. §
0.100.
5
  5 U.S.C. § 556(b)(3). The APA prescribes only three types of officials that may preside over an agency’s
evidentiary hearing: the agency head; one or more members of a body that comprises the agency; or an ALJ
appointed in accordance with 5 U.S.C. § 3105. Id. at § 556(b). In the Department of Justice, the DEA is
organizationally structured to exclusively utilize the third option. The same is true of the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (ATF) and the Bureau of Prisons (BOP). Neither the Attorney General nor the
DEA Administrator preside over hearings, and neither agency has been equipped by Congress with a body such as
the National Labor Relations Board, the Securities and Exchange Commission, or the National Transportation
Safety Board to adjudicate factually contested cases.
6
  It is beyond argument that the scheduling, rescheduling, and descheduling of controlled substances is an agency
function assigned to the DEA and specifically authorized by Congress. 21 U.S.C. § 811(a).
7
  American Trucking, 627 F.2d at 1320.

                                                         2



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requirements incumbent on those seeking relief in the federal courts. Fund Democracy, LLC v.
SEC, 278 F.3d 21, 27 (D.C. Cir. 2002) (“Because agencies are not constrained by Article III,
they may permit persons to intervene in the agency proceedings who would not have standing to
seek judicial review.”). To ensure proper separation of powers from the political branches,
Article III, section 2 of the Constitution cabins the jurisdiction of the federal courts to cases and
controversies. As such, those appearing before the courts must possess the requisite elements of
Article III standing, to wit, a demonstration of a particularized injury that is: (1) actual or
imminent; (2) caused by, or fairly traceable to an act that the litigant challenges in the litigation;
and (3) redressable by the court. FDA v. Alliance for Hippocratic Medicine¸ 602 U.S. 367, 380-
81 (2024); Gettman v. DEA, 290 F.3d 430, 432-33 (D.C. Cir. 2002). While this Article III
standing threshold is present for a party seeking to challenge an action in the courts (even a
person challenging an agency action under the APA),8 it is not perforce coextensive with the
relaxed level of standing required to appear in an agency administrative proceeding. Gettman,
290 F.3d at 433-34. The constraints of Article III standing rest “on considerations about the
proper—and properly limited—role of the courts in a democratic society,” Envirocare of Utah,
Inc. v. NRC, 194 F.3d 72, 75 (D.C. Cir. 1999) (quoting Warth v. Seldin, 422 U.S. 490, 498
(1975)), whereas federal administrative agencies are not likewise restricted. See, e.g., New
World Radio, Inc. v. FCC¸ 294 F.3d 164, 172 (D.C. Cir. 2002); Envirocare¸ 194 F.3d at 74.
           A lower standing threshold is often sensible in view of the potential public policy
implications of many agency actions, and the application of this less rigorous procedural bar has
been recognized, reviewed, and affirmed by the courts. See, e.g., Gettman, 290 F.3d at 433-34;
Animal Legal Defense Fund, Inc. v. Vilsack, 237 F.Supp.3d 15, 21-22 (D.D.C. 2017). Further, as
discussed, supra, because agencies are not limited in this way by Article III, they may, in their
discretion, permit persons to intervene in their proceedings who would not otherwise have
standing to seek judicial review of the agency action ultimately taken. See, e.g., Fund
Democracy, 278 F.3d at 27. However, this is not to say that everyone must be inexorably
welcomed to appear before every agency on every issue that touches widely on society or tugs at
the heartstrings. The APA limits the ability to appear before an agency to “interested persons,”
which Congress further qualified by the phrase “[s]o far as the orderly conduct of public business
permits . . . .” 5 U.S.C. § 555(b). Regrettably, the legislative histories of the APA and the CSA

8
    5 U.S.C. § 702.

                                                    3



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 are of negligible assistance when narrowing the definition of who properly rests within the
 parameters of an “interested person” as it pertains to an administrative scheduling hearing before
 the DEA.
        To be sure, agency adjudications (including DEA adjudications) can and do have their
 own standing requirements that are baked into the process by the APA, their enabling statutes,
 and their implementing regulations. It follows then, that leave to appear before an agency in its
 APA adjudications, that is, discernment of who is an “interested person” takes on a different
 form based on the fixed navigation points, including (and especially) the agency’s regulations.
        “[T]he starting point for an APA standing determination for a litigant before an
 administrative agency is not Article III, but is the statute that confers standing before that
 agency.” Ritchie v. Simpson, 170 F.3d 1092, 1095 (Fed. Cir. 1999). The courts will generally
 examine an agency’s enabling statute and implementing regulations to discern the intended,
 reasonable breadth of those with APA standing. See, e.g., Ritchie, 170 F.3d at 1095 (The court
 interpreted the standing language in the Lanham Act more broadly than did the agency.); Koniag,
 Inc. v. Andrus, 580 F.2d 601, 607-88 (D.C. Cir. 1978) (The court held that Alaska Statehood
 Act’s attendant regulations indicated a broader class of interested parties than had been
 interpreted by the Secretary of the Interior.). Thus, the proper inquiry is centered around an
 interpretation of the statute(s) the agency administers. This analysis involves an examination of
 existing agency precedent, the legislative history of the statute(s), and/or subsequent regulations
 which the agencies have sought to carve out the proper scope of the relevant statute(s). Ritchie,
 170 F.3d at 1095.
        Turing to the present case, the Supreme Court has characterized the primary objectives of
 the CSA as aiming “to conquer drug abuse and to control the legitimate and illegitimate traffic in
 controlled substances” by protecting against the diversion of drugs from legitimate channels.
 Gonzales v. Raich, 545 U.S. 1, 12-13 (2005). Further, the ultimate goal of protecting the public
 is served by the CSA’s creation of “a comprehensive, closed regulatory regime criminalizing the
 unauthorized manufacture, distribution, dispensing, and possession of substances in any of the
 Act’s five schedules.” Gonzales v. Oregon, 546 U.S. 243, 250 (2006). In promulgating controls
 against diversion through the passage of the CSA, Congress manifested its intent to protect the
 public from the siphoning of dangerous and fungible controlled substances from the “closed
 regulatory” system. Id.

                                                   4



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          In delimiting the correct scope of public participation in agency proceedings, the courts
 have acknowledged that agencies possess broad discretion to limit the participation of interested
 individuals and organizations. Nichols v. Board of Trustees of the Asbestos Workers Local 24
 Pension Plan, 835 F.2d 881, 897-99 (D.C. Cir. 1987); Vilsack, 237 F.Supp.3d at 21-22. Those
 who qualify as “interested persons” are entitled to participate in the hearing process9 so long as
 their involvement does not compromise the “orderly conduct of public business.” 21 C.F.R. §
 1316.52; 5 U.S.C. § 555(b). This right to participate in the hearing process is not “blindly
 absolute” and considerations regarding the logistics of the hearing must be factored into the
 conferral of standing.10 Easton Utilities, 424 F.2d at 852. However, in an agency’s exercise of
 that discretion to limit participation, the courts will not countenance participation denial policies
 that are unreasonably overbroad or otherwise arbitrary, or merely based on assertions that
 interventions are generally burdensome or dilatory.11 Nichols, 835 F.2d at 897.
          Regrettably, the CSA, its legislative history, and its attendant regulations offer little in
 terms of guidance on the issue of who is an “interested party” in the context of controlled
 substance scheduling proceedings. The CSA regulations define the term “interested person” as
 “mean[ing] any person adversely affected or aggrieved by any rule or proposed rule issuable
 pursuant to [the scheduling provisions set forth in] 21 U.S.C. § 811.” 21 C.F.R. § 1300.01(b);
 see, e.g., Schedules of Controlled Substances: Placement of Lorcaserin into Schedule IV, 78 Fed.
 Reg. 26701, 26703 (2013). It is noteworthy that, “[t]he phrase ‘person adversely affected or
 aggrieved’ is a term of art used in many statutes to designate those who have standing to
 challenge or appeal an agency decision, within the agency or before the courts.” Dir., Office of
 Workers’ Comp. Programs, Dep’t of Labor v. Newport News Shipbuilding & Dry Dock

 9
   The APA intervention right as set forth in 5 U.S.C. § 555(b) “is universally understood to establish” participation
 rights for interested persons in “on-going agency proceeding[s].” Block v. SEC, 50 F.3d 1078, 1085 (D.C. Cir.
 1995).
 10
    Specifically, the “time of appearance, the status of the proceedings, [and] the administrative avenues established
 by other statutes and agency rules for participation” should be afforded consideration when fashioning rules of
 procedure and participation standards in agency proceedings. Easton Utilities Commission v. Atomic Energy
 Commission, 424 F.2d 847, 852 (D.C. Cir. 1970). Further, if the parties participating in an agency proceeding
 adequately represent the public interest and the interests of the petitioners, limiting the number of parties otherwise
 entitled to participate may be appropriate to avoid duplicative presentations. See, e.g., City of San Antonio v. Civil
 Aeronautics Board, 374 F.2d 326, 332-333 (D.C. Cir. 1967).
 11
    A reviewing court’s confidence in an agency’s decision to limit public participation may be further bolstered by
 an agency’s efforts to adhere to its own rules and procedures as set forth in their governing statutes and
 implementing regulations. See, e.g., Easton Utilities, 424 F.2d at 851 (“We find nothing whatsoever in the record
 which in any way challenges the reasonableness, the necessity for, or the propriety of this Commission rule. We are
 confronted only with the Commission’s utilization of this rule under the factual situation of this case.”).

                                                            5



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Company, 514 U.S. 122, 126 (1995) (“person adversely affected or aggrieved” interpreted as
sufficient to fulfill Article III standing requirements under the APA). By cabining its own scope
of the term “interested persons” to include only “person[s] adversely affected or aggrieved by
any rule or proposed rule” it is reasonable to conclude that the Agency regulation drafters
intended a narrow, somewhat heightened interpretation of those permitted to appear in
scheduling actions. 21 C.F.R. § 1300.01(b). There can be little doubt that the stewards of the
Agency, at the time the regulation was promulgated, elected to seek input from a potential rules
detractors/critics/opponents; in short, those who could demonstrate that they would be “adversely
affected or aggrieved”12 should the proposed rule become law. Stated differently, the Agency
was not keen on producing an echo chamber of supportive comments to reinforce its intended
result, but focused on hearing from those who feared the consequences of the proposed rule. A
restricted standing interpretation is further buttressed by the highly technical nature of the facts
to be adduced and analysis employed at a scheduling hearing. 21 U.S.C. § 811(b)-(f). Further,
the NPRM, citing 21 C.F.R. § 1308.42, dictates that “the purpose of a hearing would be to
receive factual evidence and expert opinion regarding whether marijuana should be transferred to
schedule III of the list of controlled substances.” 89 Fed. Reg. at 44599 (cleaned up).
        Beyond the stark definition of “interested party”13 employed in its regulations, the DEA
has not promulgated additional regulations regarding the parameters that could assist in
delineating the boundaries of who may appear at its internal proceedings. It is axiomatic that an
ALJ may not entertain a challenge to its agency’s regulations,14 and the DEA has certainly not
been bashful about reminding its judges that “[o]nce the [A]gency has ruled on a given matter …
it is not open to reargument by the [ALJ].” Clair L. Pettinger, M.D., 78 Fed. Reg. 61592, 61600
n.13 (2013). Among its published precedential decisions, the Agency has insisted that those
seeking APA standing as an “interested person” must, in the hearing request, sufficiently
articulate a persuasive basis for their standing. See, e.g., Schedules of Controlled Substances:
Placement of Lorcaserin into Schedule IV, 78 Fed. Reg. at 26703 (The Agency denied a hearing
request filed by a commenter “[b]ecause the commenter failed to provide sufficient information

12
   21 C.F.R. § 1300.01(b).
13
   Id.
14
   CropLife America v. EPA, 329 F.3d 876, 882 (D.C. Cir. 2003); Iran Air v. Kugelman, 996 F.2d 1253, 1260 (D.C.
Cir. 1993) (“It is commonly recognized that ALJs are entirely subject to the agency on matters of law.”) (internal
quotation marks omitted); Oestereich v. Selective Service System Local Bd. No. 11, 393 U.S. 233, 242 (1968)
(Harlan, J., concurring).

                                                         6



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to demonstrate that he meets the definition of “interested person” as set forth in the regulations
….”).
         Relaxed is not synonymous with nonexistent, and an interesting person (someone the
ALJ—or the Administrator—may subjectively believe possesses the potential for objectively
meaningful and insightful input) is likewise not synonymous with an “interested person” (a
person entitled to request and participate in an APA hearing before DEA involving the
scheduling of controlled substances). The potentially relaxed requirements of APA standing
notwithstanding, the Agency has a right to exercise some level of control over those who appear
in its proceedings,15 and a concomitant right to expect its ALJs to adhere to its regulations and its
precedents.16 Contrariwise, that the regulations authorize a narrow segment of the population to
request and participate in a scheduling hearing (in the case of the CSA regulations, a very narrow
segment) does not perforce preclude the Agency (or this tribunal) from hearing and considering
viewpoints from those unable to shoulder the burden of establishing standing. Stated differently,
the Agency may be at liberty to conclude that its proposed action could benefit somewhat by
listening to at least some of those who might support is proposed rule (i.e., the echo chamber).
Logically, however, the applicable CSA regulations were clearly drafted in a manner that the
views of those participants who demonstrate APA standing (within the bounds of reasonable
discretion) should be afforded a stronger voice or more weight in the ultimate decision. A
contrary conclusion would arguably eviscerate the purpose for the regulation’s standing
standards.
         With those parameters in mind, a review of available precedent, in the courts and inside
the Agency, reveals some considerations that can inform an equitable determination here on the
issue of APA standing in scheduling matters before the DEA.17 Several of the Agency’s



15
   City of San Antonio, 374 F.2d at 329 (“No principle [of] administrative law is more firmly established than that of
agency control of its own calendar.”).
16
   Pettinger, 78 Fed. Reg. at 61600 n.13.
17
   Agencies, including the DEA, are empowered to issue “interpretative rules, general statements of policy, or rules
of agency organization, procedure, or practice” without engaging in the formal notice and comment or hearing
procedures set elsewhere in the APA. 5 U.S.C. § 553. It is worth noting, that when presented with the opportunity
to adjust its stance on the definition of “interested persons,” the Agency has declined to do so and has demonstrated
some level of consistency (albeit sparse in analysis) in fashioning its own view of who is “adversely affected or
aggrieved.” See Consolidation, Elimination, and Clarification of Various Regulations¸ 62 Fed. Reg. 13938, 13942
(1997); Consolidation, Elimination, and Clarification of Various Regulations, 61 Fed. Reg. 8503, 8508 (1996). In
its response to a commenter who sought to amend the definition of “interested person” in proceedings involving the
importation of controlled substances, DEA concluded that the definition of “interested person” was “sufficiently

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 previous scheduling endeavors pursuant to 21 U.S.C. § 811 failed to garner hearing requests,18
 however, there are some analytical navigation points, including measures some other federal
 agencies have taken (with varying levels of success on review in the courts) to assist in shaping
 the appropriate contours of APA standing in scheduling actions at DEA. To that end, the issue
 of whether the DPs have alleged sufficient APA standing to participate in this rescheduling
 hearing should be assessed by balancing the following four considerations (the Standing
 Considerations or SCs): (1) whether the requestor possesses a substantial interest in the
 proceedings (to wit, would be adversely affected or aggrieved if the proposed rule were
 promulgated) and/or otherwise satisfies the requirements of Article III standing; (2) whether the
 request complies with clear, reasonable procedural agency directives; (3) whether the request
 exceeds the scope of the NPRM; and (4) whether, in the discretion of the Agency, the
 participation of a particular requestor would meaningfully assist the decisionmaking and/or
 whether the interests of multiple requestors are amenable to consolidation or exclusion to
 accommodate orderly proceedings.


         APA Standing Consideration One: Whether the DP/Requestor Possesses a Substantial
         Interest in the Outcome of the Proceedings (to wit, would be adversely affected or
         aggrieved if the proposed rule were promulgated) and/or Otherwise Satisfies the
         Requirements of Article III Standing. Beyond a doubt, by the plain language of the CSA
         and its implementing regulations, this is the most powerful and issue-dispositive factor.
         Ritchie, 170 F.3d at 1095; Koniag, 580 F.2d at 608 Where a requestor demonstrates a
         substantial interest in the outcome of an administrative proceeding (to wit, aggrievement
         or adverse affect from promulgation of the NPRM), that requestor should ordinarily have
         a right to participate. See BPI v. Atomic Energy Commission, 502 F.2d 424, 427 (D.C.
         Cir. 1974). Likewise, a demonstration that a requestor would be entitled, when the
         adjudication is final, to judicial review of an agency action (i.e., the requestor has
         proffered enough to satisfy the requirements of Article III standing) will ordinarily


 precise to fulfill [its] intended purpose.” Consolidation, Elimination, and Clarification of Various Regulations, 62
 Fed. Reg. at 13938.
 18
    See, e.g., Schedules of Controlled Substances: Removal of Naloxegal from Control¸ 80 Fed. Reg. 3468, 3469
 (2015); Schedules of Controlled Substances: Placement of Brivaracetam into Schedule V, 82 Fed. Reg. 13067,
 13067 (2017); Schedules of Controlled Substances: Placement of Solriamfetol in Schedule IV, 85 Fed. Reg. 643, 643
 (2020).

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          qualify that person as an “interested person” who normally should be permitted to be
          heard in an administrative proceeding. Nichols, 835 F.2d at 896; Vilsack, 237 F.Supp.3d
          at 21; but see Envirocare, 194 F.3d at 75.19 Envirocare notwithstanding, granting APA
          standing to a requestor who, in its request and attendant filings, has averred sufficient
          facts to demonstrate that it would have Article III standing to challenge a DEA
          scheduling action on appeal in federal court is the analytically superior option. Further,
          the legislative history of the Controlled Substances Act illuminates that requestors that
          possess sufficient interest in engaging with the dual goals of the Act (to protect the
          public’s health and ensure the closed regulatory system of controlled substances) will
          likely have a strong case for establishing their participation rights.20 In view of the
          DEA’s narrow definition of “interested person” under its regulations,21 this aspect of
          Standing Consideration One, must generally be afforded controlling weight. That is to
          say, the Agency’s insistence that some demonstration that the person seeking a ticket to
          appear in its proceedings articulate a demonstration that the interested person will be
          “adversely affected or aggrieved by any … proposed rule,” constitutes a condition
          precedent for APA standing is not unreasonable. Others who are interested, but do not
          qualify as “interested persons” under the regulations, may not necessarily be foreclosed
          from a voice in the process, and had the opportunity to file written comments. 5 U.S.C. §
          553(c); 21 C.F.R. § 1308.44(g); 89 Fed. Reg. at 44598. That said, a rational, supported
          application of the APA qualifier language that interested persons may appear “[s]o far as
          the orderly conduct of public business permits” can trump standing in APA proceedings.
          5 U.S.C. § 555(b); Vilsack, 237 F.Supp.3d at 22.


          APA Standing Consideration Two: Whether the Request Complies with Clear,
          Reasonable Procedural Agency Directives. While the Consideration One requirements

 19
    The Envirocare court relied liberally on Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467
 U.S. 837, 84-42 (1984), which has been subsequently reversed by Loper Bright Enterprises v. Raimondo, 144 S.Ct.
 2244, 2273 (2024).
 20
    The text and legislative history of the CSA appears bereft of any indication that it was promulgated to protect the
 employment interests of a registrant. See, e.g., Bonds v. Tandy, 457 F.3d 409, 415-16 (5th Cir. 2006) (“a
 pharmacist’s interest in employment is not arguably within the zone of interests protected by the statute.
 Accordingly, [the pharmacist] is not a ‘person aggrieved’ under [the CSA]”). See also, Alliance for Hippocratic
 Medicine, 602 U.S. at 385-87 (finding that doctors lacked Article III standing when attempting to challenge the
 regulation of a drug they did not prescribe or use themselves).
 21
    21 C.F.R. § 1300.01(b).

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      are of paramount importance, there are also factors that can potentially further narrow
      participation, and satisfaction of Consideration One is by no means a carte blanche to
      entry into the proceedings. The courts have upheld an agency’s requestor denials based
      on the failure of the requestor to abide the agency’s reasonable procedural requirements.
      BPI, 502 F.2d at 427-29 (Participation denial upheld where requestor failed to fulfill
      agency requirement to specify the basis for the requested participation.); Easton Utilities,
      424 F.2d at 850 (Participation denial upheld where requestor submitted petition beyond
      regulatory deadlines and after hearings had been conducted.). In Easton Utilities the
      court held:
             We do not believe that the affirmative grant of a right to appear is blindly
             absolute, without regard to time of appearance, the status of the
             proceedings, the administrative avenues established by other statutes and
             agency rules for participation, or most importantly, as ‘the orderly conduct
             of public business permits.’
      424 F.2d at 852. As discussed, supra, the DEA currently has no regulations specifically
      directed towards hearing requestor requirements beyond the bare “interested person”
      limitation and definition in the CSA and its implementing regulations. Accordingly,
      resort must be had to the relatively sparse collection of (analytically barren) final orders
      addressing participation requests, the APA and its interpretive precedent, and the terms of
      the NPRM. Hearing requests have been rejected by DEA in the face of an individual’s
      failure to comply with procedural directives. See Placement of Controlled Substances:
      Placement of Cathinone and 2,5-Dimethoxy-4-ethylamphetamine Into Schedule I, 58 Fed.
      Reg. 4316, 4316 (1993) (denying a request for hearing because it was not filed in
      accordance with the directives as established by the regulation); Schedules of Controlled
      Substances: Placement of ()cis-4-methylaminorex into Schedule I¸ 54 Fed. Reg. 14799,
      14799 (1989) (same). The Agency has held that a requestor must supply some specific
      information regarding his/her/its theory of standing under the “interested person”
      standard. See Schedules of Controlled Substances: Placement of Lacosamide into
      Schedule V, 74 Fed. Reg. 23789, 23789 (2009). Similarly, the Agency has interpreted its
      regulations as requiring that “any person requesting a hearing must state with
      particularity his interest in the proceeding.” Id. (internal quotations omitted) (emphasis
      supplied). Inasmuch as the Agency has historically demanded a narrow, individualized,


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      statement of a requestor’s adverse outcome or aggrievance to merit participation in the
      scheduling hearing process, the failure to provide one militates against participation.
             The NPRM in this case has similarly required that hearing requests in this
      rescheduling action must: “(1) state with particularity the interest of the person in the
      proceeding; (2) state with particularity the objections or issues concerning which the
      person desires to be heard; and (3) state briefly the position of the person regarding the
      objections or issues.” 89 Fed. Reg. at 44598. In this regard, it is not the place of the ALJ
      to conduct extra-record research or engage in broad conjecture about the potential
      benefits of each requestor. These hearing request requirements are not optional, and the
      evaluation can only be made on the four corners of the Designated Participants’
      responses to the Preliminary Order (Preliminary Order Responses or PORs).


      APA Standing Consideration Three: Whether the Request Exceeds the Scope of the
      NPRM. Consideration Three presents an additional limitation. As discussed, supra, the
      Agency is authorized to act within the parameters set forth by Congress. In Olsen v.
      DEA, 776 F.2d 267, 267 (11th Cir. 1985), the court upheld a participation denial by
      members of the Ethiopian Zion Coptic Church (the Church) in pursuit the Church’s
      efforts to acquire a religious exemption for its members to use marijuana. The Church
      petitioned for rescheduling under 21 U.S.C. § 811, and the court held that an effort to
      seek a religious exemption fell outside the (scheduling) scope of § 811. Id. Thus, a
      requestor who seeks participation to acquire relief that is outside the scope of
      rescheduling (e.g., descheduling, decriminalization, etc.) can properly be denied on that
      basis alone.


      APA Standing Consideration Four: Whether, in the Discretion of the Agency, the
      Participation of a Particular Requestor Would Meaningfully Assist the Decisionmaking
      and/or Whether the Interests of Multiple Requestors are Amenable to Consolidation or
      Exclusion to Accommodate Orderly Proceedings. The DEA Administrator has been
      charged by Congress in exercising discretion in assigning schedule placement for a
      plethora of potentially dangerous, addictive medications. 28 C.F.R. § 0.100; 21 U.S.C. §
      811. It is imperative that she and her Agency possess the latitude to regulate participation

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          to include requestors who can render meaningful assistance to her determination, and to
          exclude those who are not objectively in a position to do so. Cf., Nichols, 835 F.2d at
          897 (agencies should have discretion to exclude requestors who would fail to assist the
          agency’s decisionmaking); Cities of Statesville v. Atomic Energy Commission, 441 F.2d
          962, 977 (D.C. Cir. 1969) (agencies should have broad discretion to determine the
          sources reasonably required to supply the assistance it needs in vindicating the public
          interest). Thus, if there is a requestor who possesses information that the DEA
          Administrator deems keenly important to rendering a scheduling determination that is
          legally correct and consistent with public interest within the meaning of the CSA, she
          must be afforded a healthy level of discretion to grant participation. This Consideration
          by no means creates APA standing, but on a pragmatic level, the Administrator, through
          her Government counsel, are permitted to call witnesses at a contested hearing, and her
          inclination to hear from a wider spectrum of society is entitled to a level of deference.
                   Reasonable, pragmatic considerations on the part of the agency are also valid.
          Even parties with a solid, substantial interest in the proceedings (Consideration One) are
          not immune from logistical concerns. In upholding the authority of an agency to limit
          and consolidate an unwieldy number of requestors, the D.C. Circuit rendered the
          following holding:
                   Practical problems of calendar administration confront an agency whenever
                   related applications are pending at the same time. Consolidation, scope of
                   the inquiry, and similar questions are housekeeping details addressed to the
                   discretion of the agency and, due process or statutory considerations aside,
                   are no concern of the courts.
          City of San Antonio, 374 F.2d at 329. An agency may take reasonable steps to avoid
          obstructing or overburdening the proceedings, or to avoid unduly broadening the issues
          considered. Nichols, 835 F.2d at 897. Thus, the DEA is not required to accommodate a
          cast of thousands in conducting its scheduling hearings, and may, where appropriate,
          prescribe reasonable limits based on size and common interests of the requestors.22 As


 22
   The court went on to explain in City of San Antonio that while true “that a party with a substantial interest in the
 proceeding has a right to intervene . . . But a finding of substantial interest must be related to a particular proceeding.
 And a proceeding must be manageable if it is going to be conducted in such a manner as will be conducive to the
 proper dispatch of business and to the ends of justice.” Id. at 332 (internal citation and punctuation omitted); see
 also, Cities of Statesville, 441 F.2d at 977 (en banc) (Even in the face of a substantial interest on the part of a
 requestor “an agency should be accorded broad discretion in establishing and applying rules for public participation,

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         discussed, supra, the APA qualifies the appearance rights of participants with the
         language “[s]o far as the orderly conduct of business permits,”23 so long as the discretion
         is exercised rationally. Vilsack, 237 F.Supp.3d at 24. As a result, the consolidation of
         parties may be a necessary function of the administrative hearing process. When
         resolving procedural issues, such as consolidation, that are not specifically addressed by
         the relevant authorities (the APA, the CSA, and their implementing regulations), the
         Federal Rules of Civil Procedure provide useful guidance.24 Rule 42(a) of the Federal
         Rules of Civil Procedure authorizes the consolidation of actions that “involve a common
         question of law or fact” by permitting the judge to “join for hearing . . . any or all matters
         at issue in the actions;” “consolidate the actions; or” “issue any other orders to avoid
         unnecessary cost or delay.” The trial judge25 is afforded “large discretion in the matter [of
         consolidation] which will not be interfered with except in a clear case of abuse ….” Davis
         v. Yellow Cab Co., 220 F.2d 790, 791 (5th Cir. 1955). There is no magic quantum of
         common facts (or law) and likewise no disparity as to which party’s evidence should
         weigh in (or be omitted from) the analysis. Under the like considerations that support case
         consolidation, when requestors present overlapping or duplicative interests and proposed
         testimony, this may pose a powerful and persuasive reason to “avoid unnecessary cost or
         delay” through either limitation of viewpoints, or even consolidation of parties. Fed. R.
         Civ. P. 42(a). “Participation in agency [APA rulemaking] proceedings does not
         necessarily entail full-fledged party intervention. Rather, agencies have ample authority to
         shape the manner in which intervenors will participate.” Vilsack, 237 F.Supp.3d at 24
         (quotation marks and internal citation omitted).

         As discussed, supra, this tribunal has not been furnished with copies of the responses
filed by the DPs with the Administrator. Accordingly, the APA standing determinations set forth


including how many are reasonably required to give the agency the assistance it needs in vindicating the public
interest”) (internal punctuation and quotation marks omitted).
23
   5 U.S.C. § 555(b).
24
   But see, Roy E. Berkowitz, M.D., 74 Fed. Reg. 36758, 36759 (2009) (noting that DEA administrative hearings are
not bound by the Federal Rules of Civil Procedure); Kamir Garces-Mejias, M.D., 72 Fed. Reg. 54931, 54932 (2007)
(same).
25
   The Supreme Court, in reviewing the boundaries of immunity relative to an agency ALJ, has held that “[t]here can
be little doubt that the role of the modern federal . . . administrative law judge within [the framework of the APA] is
‘functionally comparable’ to that of a [U.S. District Court] judge.” Butz v. Economou, 438 U.S. 478, 513 (1978).
While the scope of this functional equivalence is not without limitations, it is correctly applied to the issuance of
procedural rulings within the context of an APA administrative hearing.

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herein are rendered based exclusively on an evaluation of the Preliminary Order Responses
provided by the Designated Participants. The respective determinations have been made light of
the Four APA Standing Considerations (SCs One-Four) discussed above, and (in no particular
order) will be herein evaluated in seriatim.


Cannabis Bioscience International Holdings (CBIH)

       In its POR, CBIH describes itself as “a corporation devoted to research and development
in healthcare, particularly in cannabinoid-based formulations aimed at advancing medical
treatment options for serious diseases.” CBIH POR at 1. This requestor elaborates that its
“mission centers on leveraging the therapeutic potential of cannabis-derived compounds to
enhance patient care and broaden the scientific understanding of cannabis in medical
applications.” Id.
       As its basis for APA standing, CBIH represents that it anticipates that the placement of
marijuana in Schedule III will “facilitate significant advancements in medical research, patient
care, and regulatory clarity, directly impacting [CBIH’s] ability to conduct cannabinoid-based
research” and that the proposed rescheduling would be “integral to CBIH’s mission to provide
safe, accessible, and evidence-based cannabis-derived treatments, which would be otherwise
constrained under the existing Schedule I classification.” Id. at 2. Further, CBIH represents that
rescheduling would advance its intellectual property goals, and specifically catalogues a list of
recently-filed patent applications. Id.
       The POR regarding this requestor does not specify how it would be “adversely affected
or aggrieved” by the promulgation of the proposed rescheduling rule, but rather, explains that its
research and pecuniary interests would be advanced by rescheduling. This is a requestor who
aspires to pursue the purported benefits of marijuana for commercial use. Thus, this requestor
has not demonstrated that it would be adversely affected or aggrieved by promulgation of the
NPRM, and instead avers that it will not accrue the benefits it aspires to in the event marijuana is
not rescheduled into Schedule III. Rescheduling presents a potential benefit to this requestor, but
declining to do so will not adversely affect its interests beyond the status quo. Accordingly,
consideration of SC One (aggrievement, adverse impact or Article III standing) does not inure to
this requestor’s benefit.



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       Under SC Two (compliance with procedural directives), the RFH was apparently timely,
and the POR is clear in its support of the proposed rescheduling, discusses the issues upon which
it desires to be heard, and adequately outlines its position. On the whole, this requestor has
complied with the relevant Preliminary Order and the procedural directives of the Agency in the
NPRM. Thus, SC Two does not disfavor APA standing.
       Similarly, inasmuch as the POR is laser focused on the rescheduling depicted in the
NPRM and its potential impact on CBIH, SC Three (within the scope of the NPRM) militates in
favor a grant of APA standing for this requestor.
       Regarding SC Four (Meaningful Assistance/Consolidation Potential), a company
dedicated to developing new, medically significant formulations of marijuana products with
shared scientific and commercial objectives could potentially have expertise and access to
relevant information that could potentially be helpful to the Agency in deciding whether to
proceed with its proposed rescheduling rule. Beyond that, the Administrator has identified this
requestor as a DP, which is entitled to significant deference. Inasmuch as CBIH shares a
pecuniary/commercial concern with other requestors, it may by prudent to consider a
consolidation of presentations with other DPs who also favor the proposed rescheduling.
       Upon a thoughtful balance of the four SC Factors, CBIH has certainly not demonstrated
that promulgation of the NPRM will adversely affect or aggrieve its interests within the
unambiguous, directive terms of the regulations. Upon consideration of the powerful Factor
One, this requestor has NOT DEMONSTRATED STANDING BUT MAY CONTINUE TO
PARTICIPATE IN THESE PROCEEDINGS. Analyzing the other SC Factors (in particular,
SC Four, as evidenced by the Administrator’s designation) militate in favor of CBIH’s
participation in these proceedings, but the issue of standing may properly be factored into the
weight accorded to its presentation in this recommended decision.


International Association of Chiefs of Police (IACP)

       In its POR, the IACP describes itself as “the world’s largest and most influential
professional association for police leaders … committed to advancing safer communities through
thoughtful, progressive police leadership.” IACP POR at 1. This requestor claims to “speak[]
out on behalf of law enforcement.” Id.



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        IACP’s POR opposes the NPRM because, in its view, the proposed rescheduling change
 would present “a significant shift in federal drug policy with significant implications for public
 safety, public health and the ability of police agencies to protect the public,” presumably all of
 which would negatively impact on, inter alia: policing, firearms regulations, public and
 workplace safety, impaired driving, impairment standards, and firearms regulation. Id. at 2.
        In this regard, IACP’s assertion of standing under SC One (aggrievement, adverse impact
 or Article III standing) depends entirely upon its ability to demonstrate associational standing.
        An association only has standing to bring suit on behalf of its members when its
        members would otherwise have standing to sue in their own right, the interests [the
        association] seeks to protect are germane to the organization’s purpose, and neither
        the claim asserted nor the relief requested requires the participation of individual
        members in the lawsuit.
 Fund Democracy, 278 F.3d at 25 (citing Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.
 (TOC), Inc., 528 U.S. 167, 181 (2000)). Here, the interests cited by IACP, at least as articulated
 as adverse (that is, the potentially adverse impact rescheduling could have on the law
 enforcement efforts to enforce driving and other impairment-related and fit-for-duty laws
 regularly enforced by many of its members), could conceivably be adversely impacted by
 promulgation of the NPRM. Accordingly, SC One favors standing in this case.
        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
 was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
 the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
 within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
 Assistance/Consolidation Potential), the POR posits a wide reservoir of access to members with
 the potential to speak authoritatively on the listed issues of concern, a law enforcement
 perspective is quite valuable, and even beyond all that, that the Administrator approved IACP’s
 status as a DP is entitled to significant deference. The law enforcement focus expressed by this
 requestor may well be best served by consideration of consolidation with other like-minded
 requestors.
        Accordingly, inasmuch as all four of the SCs favor standing, this DP has
 ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
 PROCEEDINGS. This requestor may wish to give serious consideration to presentation
 consolidation with other enforcement-motivated requestors who are unsupportive of the
 proposed rescheduling.
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Veterans Initiative 22 (VI-22)

       In its POR, VI-22 defines itself as “a non-profit organization whose mission is veteran
suicide prevention” and that its focus is helping veterans, their families and first responders “by
providing resources, employment opportunities, and … advocating for safe access to affordable
cannabis ….” VI-22 POR at 2. The POR does not reference any specific or estimated number of
veteran members or beneficiaries or how its services are designed to assist those veterans, but it
does posit that the NPRM would facilitate cannabis research, improve veterans’ access to
marijuana as an alternative treatment option, and reduce legal barriers to veterans who seek to
use marijuana as medicine. Id. at 5.
       It is not necessary to reach the issue of associational standing. Irrespective of the size of
its membership or the scope of its beneficiaries, VI-22’s POR does not specify how it or its
beneficiaries would be “adversely affected or aggrieved” by the promulgation of the proposed
rescheduling rule. It is VI-22’s stated position that those it helps would markedly benefit by
DEA’s embracement of the NPRM and rescheduling of marijuana to Schedule III. Specifically,
the POR argues that promulgation of the NPRM will encourage research into the substance’s
benefits, make it more accessible to veterans, and diminish some legal barriers that affect the
organization’s beneficiaries. Thus, this requestor has not demonstrated that it or those it assists
would be adversely affected or aggrieved by promulgation of the NPRM. Rescheduling presents
a potential benefit to this requestor and its veterans, and will not adversely affect any of its
espoused causes related to marijuana. Accordingly, consideration of SC One (aggrievement,
adverse impact or Article III standing) does not inure to this requestor’s benefit.
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
within the proper scope of the NPRM (SC Three). The POR’s demonstration under SC Four
(Meaningful Assistance/Consolidation Potential) is stronger on its commitment to its positions
than it is on access to a wide range of relevant experts, but that the Administrator approved VI-
22’s status as a DP is entitled to significant deference.
       Upon a thoughtful balance of the four SC Factors, VI-22 has not demonstrated that
promulgation of the NPRM will adversely affect or aggrieve its own interests or the interests of
those on whose behalf it advocates. Placing appropriate regulatory emphasis on the powerful

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Factor One, this requestor has NOT DEMONSTRATED STANDING BUT MAY
CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS. Consideration of the other
SC Factors (in particular, SC Four, as evidenced by the Administrator’s designation) lend some
support to allowing this requestor’s participation in these proceedings, but the issue of standing
may properly be factored into the weight accorded to its presentation in this recommended
decision. The veteran-focused concerns of this requestor may lend itself well to consolidating its
presentation with other veteran-focused DPs who also favor promulgation of the NPRM.



Kenneth Finn, M.D.

            Dr. Finn’s POR lists his extensive medical qualifications and his considerable experience
writing, lecturing, and testifying on the issue of marijuana use. Finn POR at 1. Although
affiliated with numerous organizations, including the International Academy on the Science and
Impact of Cannabis,26 the POR identifies his interest in the NPRM exclusively as a physician,
and not on behalf of IASIC or any other organization, thereby precluding consideration of
associational standing. According to the POR, this requestor has multiple relevant board
certifications and practices pain medicine. Id. Dr. Finn alleges that as a physician, the
promulgation of the NPRM would adversely affect him because the lack of satisfactory research
into cannabis and the absence of any dosing guidelines or care standards from the Food and Drug
Administration (FDA) would render him unable to competently prescribe or administer the
substance as a drug for his patients. Id. at 1-3.
            In FDA v. Alliance for Hippocratic Medicine, the Supreme Court held that a group of
physicians challenging FDA regulations lacked standing to do so based on anticipated hurdles in
patient treatment. 602 U.S. at 380-81. The Court specifically declined to create a “doctor
standing” doctrine,27 but was equally unambiguous in holding that the plaintiff-doctors “may
present their concerns and objections to the President and FDA in the regulatory process ….” Id.
at 397. Which segues nicely to the subject of APA standing. As discussed, supra, the
requirements of APA standing are not coextensive with standing under Article III, and are
principally driven by the applicable agency regulations. Ritchie, 170 F.3d at 1095. Here, Dr.



26
     Supra note 3.
27
     Id. at 391-92.

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 Finn has raised issues related to his pain management practice where he claims that he will be
 adversely affected by the promulgation of the NPRM. Without reaching the issue as to whether
 any of his anticipated difficulties have merit, this type of allegation clearly sounds within the
 reach of the APA and CSA’s standing requirements under the regulations, and militate in favor
 of standing under SC One (aggrievement, adverse impact or Article III standing).
        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
 was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
 the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
 within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
 Assistance/Consolidation Potential), the POR essentially offers the potential testimony of Dr.
 Finn, whose credentials arguably represent a considerable array of subject matter experience and
 knowledge on subjects relevant to the NPRM determination. Furthermore, the Administrator
 approval of Dr. Finn’s status as a DP is entitled to significant deference.
        Accordingly, inasmuch as all four of the SCs favor standing, this DP has
 ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
 PROCEEDINGS. The medical practitioner-focused interests of this requestor may render it
 sensible for him to consider presentation consolidation with other, medical practitioner DPs who
 also disfavor the proposed rescheduling action.


 Phillip Drum, PharmD

        Dr. Drum’s POR lists his extensive qualifications as a pharmacist and his considerable
 experience writing, lecturing, and testifying on the issue of marijuana use and impairment.
 Drum POR at 1-2. Dr. Drum alleges that as a pharmacist, the promulgation of the NPRM would
 adversely affect him because, at least in his view, the FDA did not perform the functions that
 pharmacists depend upon for the safe, effective, and professional exercise of pharmacy. Id.
 Specifically, the lack of the package inserts required to accompany all medications will, at least
 in his view, result in an inability to comply with the standards of his profession. Id. According
 to Dr. Drum’s POR:

        As a [Schedule III] product, marijuana products need an approved package insert
        listing medical indication for use, scientific evidence of the benefits exceeding the
        risks, use in the approved indication, the appropriate dosage for various patient
        populations (age, pregnancy status, metabolic and clearance status, etc.), potential
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       adverse effects along with the incidence of occurrence, standard concentrations of
       active ingredients (there are over 100+ cannabinoids in marijuana), storage
       requirements and clinically relevant drug interactions. Dispensing these products
       without such information pose[s] a safety risk and inability of a pharmacist to
       provide required patient education about the safe use of their medicine. None of
       this information for marijuana has been performed [sic] by the FDA, unlike the
       package insert currently available for the single [sic] cannabinoid products –
       dronabinol and cannabidiol.
Id. at 1-2. Thus, by Dr. Drum’s reckoning, without research and action by FDA, he cannot do
his job and serve his pharmacy patients within the standards of his profession.
       As discussed, supra, inasmuch as in Alliance for Hippocratic Medicine, the Supreme
Court declined to create standing for physicians, it is beyond doubt that a similar logic precludes
Article III standing for Dr. Drum based exclusively on his status as a pharmacist. 602 U.S. at
396. As has been discussed extensively, elsewhere in this order, the requirements of APA
standing are not coextensive with standing under Article III, and are principally driven by the
applicable agency regulations. Ritchie, 170 F.3d at 1095. Here, Dr. Drum has raised issues
related to pharmacy practice, and claims that he and his patients stand to be adversely affected by
the promulgation of the NPRM. Without reaching the issue as to whether any of his anticipated
difficulties have merit, this type of allegation clearly sounds within the reach of APA/CSA
standing under the regulations, and militate in favor of standing under SC One (aggrievement,
adverse impact or Article III standing).
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
Assistance/Consolidation Potential), Dr. Drum’s POR exclusively offers his own potential
testimony, which arguably appears to reflect a considerable breadth of subject matter experience
and knowledge on subjects relevant to the NPRM determination. Furthermore, the Administrator
approval of Dr. Drum’s status as DP’s is entitled to significant deference.
       Accordingly, inasmuch as all four of the SCs favor standing, this DP has
ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
PROCEEDINGS. The medical practitioner-focused interests of this requestor may render it




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sensible to consider presentation consolidation with other, medical-practitioner DPs who also
disfavor the NPRM.


Community Anti-Drug Coalitions of America (CADCA)

       CADCA’s POR states that it represents “over 7,000 substance use prevention coalitions
that involve multiple sectors of a community including schools, law enforcement, youth, parents,
healthcare, media, tribal communities and others who are involved in comprehensively
addressing locally identified substance use issues, including marijuana.” CADCA POR at 2.
According to this DP, the mission of its members “is to keep communities safe, healthy and drug
free by stopping, delaying and mitigating initiation into substance use ….” Id. CADCA asserts
that promulgation of NPRM would greatly increase funding sources of pro-marijuana entities,
and thereby render it more difficult to achieve mission goals within its budget, thereby greatly
reducing the support it will be able to render to its coalition members. Id. at 6.
       SC One (aggrievement, adverse impact or Article III standing) consideration is dependent
upon a determination that CADCA has associational standing. That is, that CADCA’s “members
would otherwise have standing to sue in their own right, the interests [the association] seeks to
protect are germane to the organization’s purpose, and neither the claim asserted nor the relief
requested requires the participation of individual members in the lawsuit.” Fund Democracy,
278 F.3d at 25 (citing Friends of the Earth, 528 U.S. at 181). Assuming (as proffered) that its
substance abuse coalitions are uniformly dedicated to the local and national reduction of
marijuana use, each one would be adversely affected by a regulatory action that would
potentially disproportionately fund pro-marijuana advertising and advocacy efforts.
Accordingly, CADCA has demonstrated sufficient associational standing to have that factor
militate in favor of standing under SC One.
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
within the proper scope of the NPRM (SC Three). On the issue of SC Four, as described in the
POR, CADCA’s seven-thousand-member-coalition breadth would apparently make a potentially
large number of experts with knowledge available to contribute to potentially add meaningful



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 input to the Agency’s NPRM determination. Furthermore, that the Administrator approved
 CADCA’s status as a DP is entitled to significant deference.
         Accordingly, inasmuch as all four of the SCs favor standing, CADCA has
 ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
 PROCEEDINGS. The substance-abuse-prevention focus of this requestor may be best served
 by considering consolidation of its presentation with other abuse-prevention-motivated DPs who
 also are unsupportive of the proposed rescheduling.


 Cannabis Industry Victims Educating Litigators (CIVEL)

         In its POR, CIVEL describes itself as “a marijuana industry victims’ advocacy
 organization” and alleges that its “victims of the marijuana industry … have been, are being, or
 will actually be harmed by [promulgation of the NPRM because it] will increase the use of
 marijuana, reduce the perception of its dangerousness and lower medical standards for deciding
 what is a medicine ….”28 CIVEL POR at 4. While not altogether clear from the POR, CIVEL is
 apparently engaged in the active representation of individuals who claim/have claimed harmful
 effects from marijuana, and equips trial attorneys and the public with legal citations and tactical
 approaches for engaging in anti-marijuana litigation. Id. at 3-4.
         Reviewing its POR under SC One (aggrievement, adverse impact or Article III standing)
 CIVEL’s APA standing is dependent on whether it has made a persuasive case for associational
 standing. That is, that CIVEL’s “victims” “would otherwise have standing to sue in their own
 right, the interests [the association] seeks to protect are germane to the organization’s purpose,
 and neither the claim asserted nor the relief requested requires the participation of individual
 members in the lawsuit.” Fund Democracy, 278 F.3d at 25 (citing Friends of the Earth, 528
 U.S. at 181). Assuming (as proffered) that the “victims” it advocates and litigates for allege they
 have each been harmed by marijuana and an NPRM that could potentially increase its societal
 prevalence exponentially, each of the “victims” could allege sufficient harm to justify



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   The POR purports to contain citations for two cases where state courts have granted associational standing for
 CIVEL under state law. CIVEL POR at 4. While a limited, excerpted portion of an unreported New York trial
 court decision that was supplied by CIVEL appears to find associational standing by placing reliance on an affidavit
 executed by one of the plaintiffs (Cannabis Impact Prevention Coalition and Cannabis Industry Victims Seeking
 Justice, et al v. Hochul, et al, Albany County, NY, Index No. 905386-23), the other case (Botteon and CIVEL, et.
 al., MID-L-001241-24) is arguably less helpful in this regard.

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 associational standing for this DP. Accordingly, CIVEL has demonstrated sufficient
 associational standing to have that factor militate in favor of standing under SC One.
        Regarding SC Two (compliance with procedural directives), as proffered, the RFH was
 apparently timely, and the POR is responsive, and consistent with the Preliminary Order and the
 procedural directives of the Agency. Likewise, the subject matter of the POR is entirely within
 the proper scope of the NPRM (SC Three). On the issue of SC Four, as described in the POR,
 CIVIL’s active litigation and litigation support missions provide a sufficient basis to conclude
 that it would possess knowledge that could be instrumental in an accurate disposition of this
 NPRM determination. Furthermore, that the Administrator approved CIVEL’s status as a DP is
 entitled to significant deference.
        Accordingly, inasmuch as all four of the SCs favor standing, CIVEL has
 ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
 PROCEEDINGS. The substance-abuse-prevention/victim focus of this requestor may be best
 served by considering consolidation of its presentation with other, abuse/prevention requestors
 who also oppose the NPRM.


 Hemp for Victory (HFV)

        In its POR, HFV defines itself as “a non-profit organization dedicated to educating the
 public about why veterans are using medical cannabis over prescription pharmaceuticals,
 including dangerous and addictive opioids and other controlled substances.” HFV POR at 1.
 The POR explains the organization’s mission as “educat[ing] and bring[ing] awareness to the
 natural solution of cannabis as a way for veterans to manage the mental and physical challenges
 that often result from military service and to ensure that veterans face neither discrimination nor
 penalty for their use of medical marijuana.” Id. The POR does not reference any specific or
 estimated number of veteran members or beneficiaries, but outlines its education and advocacy
 mission, and asserts that:
        Because of marijuana’s [S]chedule I status under federal law, [HFV’s] veteran
        [b]oard members and the veterans for whom they advocate currently face both
        discrimination and liability if they use medical marijuana. As a result, they cannot
        obtain access to medicine that they need from the Department of Veterans Affairs
        and are, in many cases, forced to rely instead on the harmful
        pharmaceutical drugs that are driving much of our veteran suicide epidemic.


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Id. at 4.
        It is not necessary to reach the issue of associational standing here. Irrespective of the
size of its membership or the sincerity of the organization’s commitment, HFV’s POR does not
specify how it or its beneficiaries would be “adversely affected or aggrieved” by the
promulgation of the proposed rescheduling rule. HFV’s POR is not shy about stating that its
goal is the descheduling of marijuana altogether (not part of this NPRM in any way). However,
it is HFV’s stated position that the placement of cannabis into Schedule III would present “an
incremental step toward its ultimate goal” of removing marijuana from the list of scheduled
drugs entirely. Id. at 5. Thus, this requestor has not demonstrated that it or those it advocates on
behalf of would be adversely affected or aggrieved by promulgation of the NPRM. Actually, as
conceded by its POR, rescheduling presents a potential benefit to this requestor and its veterans,
and will not adversely affect any of its espoused educational and advocacy causes related to
marijuana. Accordingly, consideration of SC One (aggrievement, adverse impact or Article III
standing) does not inure to this requestor’s benefit.29
        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is generally
within the proper scope of the NPRM (SC Three). The POR’s demonstration under SC Four
(Meaningful Assistance/Consolidation Potential) names a single witness, but that witness
certainly presents as a potential source of authoritative information that could prove helpful in
the decision the Agency must make. Additionally, the Administrator’s approval of HFV as a DP
warrants significant deference.
        Upon a thoughtful balance of the four SC Factors, HFV has not demonstrated that
promulgation of the NPRM will adversely affect or aggrieve its own interests or the interests of
those on whose behalf it advocates. Placing appropriate weight on Factor One, this requestor has
NOT DEMONSTRATED STANDING BUT MAY CONTINUE TO PARTICIPATE IN


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   The balance of this requestor’s arguments in favor of standing are wholly unpersuasive. To argue, at this
procedural juncture, that the DEA is an improper advocate or sponsor of its own NPRM adds nothing to the standing
equation and (at least on the present record) presents little more than an ad hominem distraction from the important
advocacy and adjudicative work to be accomplished in these proceedings. A separate motion has been filed on this
issue and it will be addressed in a separate order. Further, that HFV has been accorded associational standing in
unrelated proceedings where a member had the ability to demonstrate Article III standing does not advance its
argument in these proceedings regarding its APA standing.

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THESE PROCEEDINGS. Consideration of the other SC Factors (in particular, SC Four, as
evidenced by the Administrator’s designation) lend some support to allowing this requestor’s
participation in these proceedings, but the issue of standing may properly be factored into the
weight accorded to its presentation in this recommended decision. This requestor remains a DP,
and may be well served by considering a consolidation of presentation with other veteran-access-
focused participants who also favor the proposed rescheduling action.


National Drug & Alcohol Screening Association (NDASA)

       In its POR, NDASA identifies itself as “a non-profit professional association representing
more than 5,000 private and public sector employers and service agents, domestically and
internationally, who administer and manage workplace drug and alcohol testing programs.”
NDASA POR at 1. Drug testing by NDASA members is carried on in the private and public
sectors and regulated by various government standards. In addition to a high level of private-
sector testing, the government testing includes the Nuclear Regulatory Commission (NRC) and
the U.S. Department of Transportation (DOT). Id. at 1-2. The DOT testing is carried out in
accordance with mandatory statutory and regulatory requirements. Because, according to
NDASA, the authority of the U.S. Department of Health and Human Services (HHS) to test only
extends to controlled substances in Schedules I and II (not III), promulgation of the NPRM
would cause a cessation of marijuana drug testing in key transportation safety positions, to
include the following: “airline pilots, air traffic controllers, school bus drivers, subway and train
operators, ferry operators, pipeline operators, and truck drivers.” Id. at 3. At least in the view of
the requestor, this feature of the NPRM would cause its membership to suffer profound and
detrimental financial and professional consequences. For these reasons, and reasons of public
safety, NDASA opposes the NPRM.
       As its POR is structured, standing under SC One (aggrievement, adverse impact or
Article III standing) is dependent upon a determination that NDASA has associational standing.
That is, that NDASA’s “members would otherwise have standing to sue in their own right, the
interests [the association] seeks to protect are germane to the organization’s purpose, and neither
the claim asserted nor the relief requested requires the participation of individual members in the
lawsuit.” Fund Democracy, 278 F.3d at 25 (citing Friends of the Earth, 528 U.S. at 181).
Assuming (as proffered) that rescheduling marijuana to Schedule III would inflict financial and

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professional harm on its members, NDASA has demonstrated sufficient associational standing to
have this critical factor militate in favor of standing under SC One.
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
Assistance/Consolidation Potential) NDASA’s POR references the organization’s executive
director, but in view of the size and specialization of this requestor, it would seem that it would
have no shortage of qualified witnesses among its five-thousand-strong membership that could
prove helpful in the decision the Agency must make. Additionally, the Administrator’s approval
of NDASA as a DP warrants significant deference.
       Accordingly, inasmuch as all four of the SCs favor standing, NDASA has
ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
PROCEEDINGS. This requestor could potentially benefit by considering consolidation with
another requestor whose focus is founded in concerns over the potential limitations the NPRM
may inflict upon testing for public safety.


The Commonwealth Project (TCP)

       In its POR, TCP defines itself as an entity “committed to advocating on behalf of and
prioritizing the 65+ population and integrating medical cannabis into mainstream health care for
seniors.” TCP POR at 1. This requestor appears to be an advocacy group focused on senior
citizens and claims to be “rooted in the belief that medical cannabis could be harnessed to not
only provide older Americans with an alternative to traditional prescription medications,
including opioids, but to reduce soaring health care costs saddling millions of seniors.” Id. at 2.
       On the issue of SC One (aggrievement, adverse impact or Article III standing), the POR’s
description of TCP renders it unnecessary to reach the issue of associational standing. The POR
does not specify how it or its senior-beneficiaries would be “adversely affected or aggrieved” by
the promulgation of the proposed rescheduling rule. In fact, according to its POR, the only
potential aggrievement to this requestor and those seniors it advocates for would be “if
rescheduling is rejected or unduly delayed.” Id. at 3. Not only would the proposed rescheduling
not adversely affect or aggrieve this organization, but it has posited that it cannot happen fast

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enough for its liking. Accordingly, consideration of SC One does not inure to this requestor’s
benefit.
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR (while perhaps not altogether clear as to how the requestor
executes its objectives) is generally responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is within the
scope of the NPRM (SC Three). The POR’s demonstration under SC Four (Meaningful
Assistance/Consolidation Potential) does not identify a particular witness or source of expertise
that would be particularly knowledgeable, but a source of the perspective of senior citizens
added to the decisional equation would be important and potentially helpful to a resolution of the
NPRM. Additionally, the Administrator’s approval of TCP as a DP warrants significant
deference.
       Upon a thoughtful balance of the four SC Factors, TCP has not demonstrated that
promulgation of the NPRM will adversely affect or aggrieve its own interests or the interests of
those on whose behalf it advocates (just the opposite in fact). Placing appropriate weight on
Factor One, this requestor has NOT DEMONSTRATED STANDING BUT MAY
CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS. Consideration of the other
SC Factors (in particular, SC Four, as evidenced by the Administrator’s designation) lend some
support to allowing this requestor’s participation in these proceedings, but the issue of standing
may properly be factored into the weight accorded to its presentation in this recommended
decision. This requestor’s access-for-seniors focus may by enhanced by consideration of
presentation consolidation with other requestors focused on seeking marijuana access for specific
groups (e.g., veterans).


The National Transportation Safety Board (NTSB)
       The POR filed by the NTSB provides the following account of its background, status, and
mission:
       The NTSB is an independent federal agency charged by Congress with
       investigating every civil aviation accident in the United States and significant
       events in the other modes of transportation—railroad, transit, highway, marine,
       pipeline, and commercial space.



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NTSB POR at 1. According to NTSB, under current law, rescheduling marijuana to Schedule III
would place it outside the parameters of authorized drug testing, “prevent[ing] testing for
marijuana use by safety-sensitive employees in commercial transportation operations, such as
truck drivers, rail conductors, pipeline/hazardous materials operators, air traffic controllers, flight
attendants, and airline pilots, among many others.” Id. at 2. In NTSB’s view, this result would
“create a safety blind spot that could endanger the public, contrary to NTSB’s public safety
mission.” Id. at 3. NTSB’s POR expresses additional concerns related to the effect of increasing
marijuana use in public, due to what it characterizes as “performance-impairing effects” on
humans who operate by, with, and in the public transportation sphere. Id.
       Inasmuch as its representations depict the potential for (in its view) a profound impact on
its mission and its ability to safeguard the public in the transportation space, this requestor has
established standing under Article III, and its position militates strongly in favor of standing
under SC One (aggrievement, adverse impact or Article III standing).
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is squarely
within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
Assistance/Consolidation Potential) as the lead agency in evaluating major traffic incidents and
the relevance and extent of any attendant impairment issues, it is likely that this requestor has
access to experts in the field that could meaningfully assist in the adjudication of this NPRM.
Additionally, the Administrator's approval of NTSB as a DP warrants significant deference.
       Accordingly, inasmuch as all four of the SCs favor standing, NTSB has ESTABLISHED
STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS.
This requestor could potentially benefit by considering consolidation with another requestor
whose focus is concerns over the potential limitations the NPRM may inflict upon testing for
public safety.


The Doc App, Inc., d/b/a My Florida Green (DocApp)

       In its POR, DocApp describes itself as “a company that supports over 43,000 medical
marijuana patients in Florida [which] provides a HIPAA-compliant platform offering real-time
analytics, data-driven insights, and treatment support for marijuana patients.” DocApp POR at 2.

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        Even a cursory reading of this Designated Participant’s POR reveals that the DocApp’s
 primary interest in these proceedings’ rests solely on the utilization of its platform in future
 actions involving the possible rescheduling of marijuana to Schedule III. To be sure, input into
 the process is only enhanced by entities with a potential commercial perspective in the proposed
 rescheduling action. Here, however, in place of expressing a position on the NPRM, the POR
 characterizes the NPRM as a “positive step,” and emphasizes that it is essential that marijuana
 patients maintain “flexibility to select what best meets their needs, guided by real-time data on
 strain options, effects, and availability.” Id. at 3. This emphasis stands in some tension with the
 CSA’s implementing regulations, which unambiguously provide that “[t]he responsibility for the
 proper prescribing and dispensing of controlled substances is upon the prescribing practitioner,
 but a corresponding responsibility rests with the pharmacist who fills the prescription.” 21
 C.F.R. § 1306.04(a). Furthermore, the Supreme Court has made clear that medical standards are
 a function of a state’s police powers, not the DEA. Gonzales, 546 U.S. at 274. Patient control
 (as contrasted with input to his/her prescriber/pharmacist) is inconsistent with the regulatory
 dynamic of prescribing controlled substances, and setting a federal standard for the dispensing
 and prescribing of controlled substances is well beyond the CSA’s statutory mandate. Id. at 272,
 274-75.
        A reading of this DP’s POR reflects, at best, mild positivity regarding the NPRM and
 does not indicate any manner in which it, its customers, or its business interests would be even
 marginally affected by the proposed rescheduling. Accordingly, consideration of SC One
 (aggrievement, adverse impact or Article III standing) does not inure to this requestor’s benefit
 in any perceivable way.
        Under SC Two (compliance with procedural directives), the RFH was apparently timely,
 and POR provided identifying and mission information. Beyond that, this DP did not comply
 with the DEA Administrator’s directives to state with particularity its interest in the proceeding,
 state with particularity the objections or issues concerning which it desires to be heard, and state
 its position regarding objections or issues. 89 Fed. Reg. at 70149. Likewise although
 responding to the Preliminary Order, the POR did not state “why/how the DP would be
 sufficiently ‘adversely affected or aggrieved’ by the proposed scheduling action to qualify as an
 ‘interested person’ under the regulations.” Prelim. Ord. at 3. Thus, SC Two does not militate in
 favor of APA standing.

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       With respect to SC Three (within the scope of the NPRM), as discussed, supra, inasmuch
as this POR seeks relief that is beyond the NPRM (to wit, the adoption of regulations focused on
the inclusion of its software or something like it), and even beyond the regulations and the proper
scope of the CSA as determined by the Supreme Court, consideration of this factor does not at all
support APA Standing.
       Regarding SC Four (Meaningful Assistance/Consolidation Potential), as also discussed,
supra, input from commercial interests are a proper and valuable area of consideration in
deciding whether to reschedule marijuana or any other drug, but this DP is not raising a single
issue that could or should be addressed by the NPRM. To be sure, the Administrator has
identified this requestor as a DP, but the POR filed is so bereft of any demonstration of standing
(or even relevance) has NOT DEMONSTRATED STANDING AND MAY NOT
INDEPENDENTLY CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS. This
requestor should expeditiously consider potential consolidation with another, similarly aligned,
commercially-motivated requestor. The Administrator’s designation is an essential element to be
afforded (as evident in the balance of this order) to powerful (and generally controlling)
deference regarding participation. But the Administrator did not have the benefit of the POR
filed by this DP, and deserves, at a minimum, the analysis offered here. To be clear, based on
the content of its POR, this DP has not demonstrated a sufficient (standing or evidentiary) basis
to participate in this hearing in the absence of sponsorship by or consolidation with a DP who
has demonstrated at least sufficient grounds to be heard.


The State of Nebraska (Nebraska)

       In its POR, pertinent to SC One (aggrievement, adverse impact or Article III standing)
Nebraska asserts that because under state law, marijuana is “illegal in all circumstances,”
rescheduling to Schedule III will “supercharge the marijuana industry” and “will increase the
many costs and expenditures by Nebraska’s law enforcement agencies, its judiciary, and its penal
system directly related to or arising from marijuana industry.” Neb. POR at 1-2. Inasmuch as its
representations depict the potential for pecuniary costs and (in its view) public safety challenges,




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this requestor has established standing under Article III, and this militates strongly in favor of
standing under SC One.30

         With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is entirely
within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
Assistance/Consolidation Potential) it is self-evident that the official view of a state regarding the
impact of the NPRM on its pecuniary and enforcement issues is a vital consideration that could
benefit the NPRM process. Additionally, the Administrator’s approval of Nebraska as a DP
warrants significant deference.

         Accordingly, inasmuch as all four of the SCs favor standing, Nebraska has
ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
PROCEEDINGS. This requestor’s enforcement-related interests may by best served by
considering presentation consolidation with other enforcement-motivated requestors.



Ari Kirshenbaum, PhD

         In his POR, Dr. Kirshenbaum identifies himself as a PhD researcher and Psychology
professor emeritus who is presently engaged in “research related to cannabis-related impairment
of the skills needed for motor vehicle operation.” Kirshenbaum POR at 1. The requestor
indicates that the current placement of marijuana in Schedule I presents mandatory procedural
steps that can result in delays in conducting research. Id. at 2. Dr. Kirshenbaum’s POR states
that he is currently “co-leading a research study out of the University of California San Francisco
(Medical School) that has been delayed for over a year due to the regulatory hurdles necessitated
by [marijuana’s] Schedule I designation.” Id.

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   Nebraska’s alternative argument that standing under the APA, the CSA, and the CSA’s implementing regulations
is satisfied exclusively by virtue of the fact that the Administrator designated it as a participant misperceives the
recommended decision hearing structure. Analogously, although all DEA immediate suspension enforcement
hearings commence with the issuance of a charging document by the Administrator, assigning controlling weight to
that preliminary decision and binding the ALJ thereby would render the hearing process under the APA as illusory.
21 U.S.C. § 811(a). That cannot be the intent of Congress. To be sure, decisions regarding standing (like all rulings
and decisions made by an ALJ) are subject to the Administrator’s review, but a final order that is consistent with the
recommended decision is stronger than when the contrary occurs. See generally, Morall v. DEA, 412 F.3d 165, 177
(D.C. Cir. 2005) (“The Agency’s departures from the ALJ’s findings are vulnerable if they fail to reflect attentive
consideration to the ALJ’s decision.”).

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       Dr. Kirshenbaum supports the rescheduling of marijuana into Schedule III so that his
studies can be conducted more expeditiously. On the issue of SC One (aggrievement, adverse
impact or Article III standing), Dr. Kirshenbaum does not specify how he would be “adversely
affected or aggrieved” by the promulgation of the proposed rescheduling rule. Not only would
the proposed rescheduling not adversely affect or aggrieve this requestor, but he wants it to
happen quickly. Accordingly, consideration of SC One does not inure to this requestor’s benefit.
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is within the
scope of the NPRM (SC Three). Under SC Four (Meaningful Assistance/Consolidation
Potential) Dr. Kirshenbaum offers his own testimony, which could potentially bring a
knowledgeable and relevant perspective from academia. Additionally, the Administrator’s
approval of Dr. Kirshenbaum as a DP warrants significant deference.
       Upon a thoughtful balance of the four SC Factors, Dr. Kirshenbaum has not demonstrated
that promulgation of the NPRM will adversely affect or aggrieve him. Placing appropriate
weight on Factor One, this requestor has NOT DEMONSTRATED STANDING BUT MAY
CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS. Consideration of the other
SC Factors (in particular, SC Four, in light of the Administrator’s designation) lend some support
to allowing this requestor’s participation in these proceedings, but the issue of standing may
properly be factored into the weight accorded to his presentation in this recommended decision.
Dr. Kirshenbaum may wish to consider the prospect of presentation consolidation with other
academic/medical professional requestors who are supportive of the NPRM.


Office of Cannabis Ombudsman, State of Connecticut (OCO)

       In its POR, OCO defines itself as “the first-in-the-nation independent state agency
with a mission to protect and preserve the needs of medical cannabis patients.” OCO POR
at 1-2. The POR explains that OCO is statutorily created and its focus is to provide
assistance to

       Connecticut residents [as] they navigate the [m]edical cannabis system through
       direct assistance; outreach and educational activities; meetings, facility visits and
       continuous communication with current and future suppliers; assessing and
       implementing needed improvements; and working with research centers,
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         universities and advocates to monitor and improve [the state] system and bring best-
         in-class standards to [Connecticut].
Id. at 2. OCO represents that it “generally supports the [NPRM] and removing marijuana from
[S]chedule I” due to criminal and other consequences that stem from that designation. But it also
says that it “has concerns with a [S]chedule III placement” because state residents seeking
medical marijuana could be “confused if cannabis becomes akin to Tylenol 3 and other
pharmaceuticals in [S]chedule III.” Id. at 3. Confusingly, OCO also expresses additional
“concerns” that existing regulations (which apply to all Schedules) “could increase the price and
decrease the availability of medicinal cannabis if enforced by DEA, which is currently not the
case.”31 Id. Lastly, OCO is apparently also opposed to quotas and other controls that could be
required to bring a Schedule III-marijuana in line with the terms of the Single Convention. Id.
Thus, OCO is apparently “generally” supportive of rescheduling marijuana, but not supportive of
controls that could be required to comply with U.S. treaty obligations.
         While Connecticut is doubtless a relatively populous state, the true number of OCO’s
beneficiaries cannot be readily ascertained from its POR. Consequently, OCO’s position on the
NPRM renders the issue of associational standing irrelevant. The POR does not specify how
OCO or any of the state residents that utilize its services would be “adversely affected or
aggrieved” by the promulgation of the proposed rescheduling rule. In fact, although OCO has
taken an arguably nuanced view of the NPRM, it has made it clear that it is “generally”
supportive. Accordingly, consideration of SC One (aggrievement, adverse impact or Article III
standing) does not inure to this requestor’s benefit.
         With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is generally
within the proper scope of the NPRM (SC Three). The POR’s demonstration under SC Four
(Meaningful Assistance/Consolidation Potential) supplies little insight into whether it has
sources of authoritative information at its disposal that could prove helpful in the decision the
Agency must make beyond the perspective of this independent agency within the State of
Connecticut,32 but as an independent agency with a mission that is so closely aligned with the


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   Enforcement (or past/future Congressional riders precluding enforcement) is not an issue within the scope of the
NPRM.
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   It is unclear as to whether OCO is authorized to speak on behalf of the State of Connecticut.

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subject of the NPRM, its input certainly carries with it the potential to render a valuable
contribution. Beyond all that, the Administrator’s approval of OCO as a DP warrants significant
deference.

       Upon a thoughtful balance of the four SC Factors, OCO has not demonstrated that
promulgation of the NPRM will adversely affect or aggrieve its own interests or the interests of
those on whose behalf it advocates. Placing appropriate weight on Factor One, this requestor has
NOT DEMONSTRATED STANDING BUT MAY CONTINUE TO PARTICIPATE IN
THESE PROCEEDINGS. Consideration of the other SC Factors (in particular, SC Four, as
evidenced by the Administrator’s designation) lend some support to allowing this requestor’s
participation in these proceedings, but the issue of standing may properly be factored into the
weight accorded to its presentation in this recommended decision. This requestor may wish to
consider presentation consolidation with other DPs focused on enhancing marijuana access to
specific groups and who support promulgation of the NPRM.



Tennessee Bureau of Investigation (TBI)

       TBI’s POR provides the following account of its duties and mission:
       The [TBI] is Tennessee’s lead investigative agency with original jurisdiction over
       drug enforcement and the primary agency for forensic science services for law
       enforcement in the State. This includes operating the Tennessee Dangerous Drugs
       Task Force, which collaborates with federal agencies (including the DEA) to
       combat drug crimes across the State. TBI both investigates and enforces
       federal and state drug-related offenses, including marijuana offenses.
TBI POR at 1. Additionally, TBI represents that its forensic crime labs process over 30,000 drug
submissions annually, many of which involve marijuana. Id. at 2. TBI posits that the proposed
rescheduling would increase the prevalence of marijuana, would strain its drug-enforcement
activities, and result in an immediate and adverse impact on TBI’s mission. More specifically,
according to TBI, the promulgation of the NPRM would result in “significant time and resources
to reassess enforcement priorities, personnel assignments, and adjust asset allocations ….” Id. at 3.
       Inasmuch as its representations depict the potential for pecuniary costs and (in its view)
public safety challenges, this requestor has established standing under Article III, and its position
militates strongly in favor of standing under SC One (aggrievement, adverse impact or Article III
standing).

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        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
 was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
 the procedural directives of the Agency. Likewise, the subject matter of the POR is squarely
 within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
 Assistance/Consolidation Potential) it is self-evident that the official view of the primary drug
 law enforcement entity in a state regarding the impact of the NPRM on its pecuniary, training
 and enforcement issues is a vital consideration that could benefit the NPRM process.
 Additionally, the Administrator’s approval of TBI as a DP warrants significant deference.
        Accordingly, inasmuch as all four of the SCs favor standing, TBI has ESTABLISHED
 STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS.
 This requestor may be well served to consider presentation consolidation with other enforcement
 focused DPs who oppose the proposed rescheduling.


 Village Farms International (VFI)

        According to its POR, VFI is a large-scale supplier of products who either is or seeks to
 be a supplier of marijuana. The requestor broadly describes its mission as seeking “to improve
 life’s journey for the wellbeing of humankind and the earth on which we live.” VFI POR at 1.
 Very broad, to be sure. As its basis for APA standing, VFI represents that it intends to enter the
 U.S. marijuana market and that the proposed rescheduling of marijuana to Schedule III would
 “facilitate its goals of researching, manufacturing, importing, and exporting marijuana for
 scientific and medical purposes consistent with state and federal law …” and that those goals are
 hindered by the current Schedule I placement. Id. at 4. In VFI’s view, numerous, specific
 regulatory barriers would soften if the NPRM succeeds, and those barriers would include easier
 access to research, gentler requirements for inventory, export, and ordering. Id. at 4-5. These
 ameliorations, in this requestor’s opinion, would result in higher profits and more efficiencies.
        The POR has convincingly outlined how placing marijuana in Schedule III would be
 helpful to its commercial interests, and is likewise clear that its ultimate objective is
 descheduling or scheduling to an even less restrictive level than Schedule III. The requestor
 views the NPRM as “an incremental step toward optimizing the U.S.’s legal approach to
 marijuana” (read: legalization). Id. at 6. None of VFI’s expanded objectives are contemplated
 by the present NPRM. The POR regarding this requestor does not specify how it would be

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“adversely affected or aggrieved” by the promulgation of the proposed rescheduling rule, but
rather, outlines how its research and pecuniary interests would be advanced by rescheduling.
This is a requestor who aspires to pursue the purported benefits of marijuana for commercial use.
Thus, this requestor has not demonstrated that it would be adversely affected or aggrieved by
promulgation of the NPRM, but that it will not accrue the potential benefits it aspires to upon the
failure of the NPRM. Rescheduling presents a potential benefit to this requestor, but declining to
do so will not adversely affect its interests beyond the status quo. Accordingly, consideration of
SC One (aggrievement, adverse impact or Article III standing) does not inure to this requestor’s
benefit.
        Under SC Two (compliance with procedural directives), the RFH was apparently timely,
and the POR is clear in its support of the proposed rescheduling (albeit as an incremental
measure), discusses the issues upon which it desires to be heard, and adequately outlines its
position. On the whole, this requestor has complied with the relevant Preliminary Order and the
procedural directives of the Agency in the NPRM. Thus, SC Two does not disfavor APA
standing. Similarly, inasmuch as the POR is mostly focused on the rescheduling depicted in the
NPRM and its potential impact on its commercial interests, SC Three (within the scope of the
NPRM) militates in favor a grant of APA standing for this requestor.
        Regarding SC Four (Meaningful Assistance/Consolidation Potential), a reasonable
reading of the POR depicts an enterprise with considerable experience in supplying agricultural
products on a large scale, a likely result of rescheduling marijuana into medicine. Such input has
the potential to bring valuable perspectives to the rescheduling equation. Beyond that, the
Administrator has identified this requestor as a DP.
        Upon a thoughtful balance of the four SC Factors, VFI has certainly not adequately
demonstrated that promulgation of the NPRM will adversely affect or aggrieve its interests
within the unambiguous, directive terms of the regulations. Upon consideration of the powerful
Factor One, this requestor has NOT DEMONSTRATED STANDING BUT MAY
CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS.33 Analyzing the other SC
Factors (in particular, SC Four, as evidenced by the nature and scale of this requestor’s business,


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  VFI’s unsupported accusation that the DEA is an improper advocate or sponsor of its own NPRM adds nothing to
the standing equation (at least on the present record and at this procedural juncture). The issues at stake in these
proceedings are too important to devote time and attention to ad hominem distractions. This accusation has also
been set forth in a separate motion, which will be addressed in a separate order.

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as well as the Administrator’s designation) militate in favor of VFI’s participation in these
proceedings, but the issue of standing may properly be factored into the weight accorded to its
presentation in this recommended decision. Inasmuch as VFI shares a pecuniary and commercial
concerns with other requestors, it may be prudent for this requestor to a consolidation of
presentations with other commercially-motivated DPs who also support the NPRM.


Smart Approaches to Marijuana (SAM)

         SAM’s POR describes the organization as “a bipartisan alliance of organizations and
individuals dedicated to a health-first approach to marijuana … comprised of medial doctors,
lawmakers, treatment providers, preventionists, teachers, law enforcement officers who seek a
middle road between incarceration and legalization.” SAM POR at 1. It defines its mission as
“equip[ing] policymakers with commonsense proposals, based in reputable science, to promote
public health and decrease marijuana use and its consequences.” Id.
         By the terms of its POR, SAM presents itself as an advocacy organization. The POR
references “organizations,” but has made no representations that would sustain associational
standing. Thus, the standing justification of this requestor are exclusively founded in its claim
that it would be aggrieved and adversely affected by the potential affect rescheduling would have
on its training and advocacy expenditures as a marijuana-skeptical material and lecturing
source.34 Inasmuch as this requestor has adequately demonstrated that promulgation of this



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   SAM’s alternate theory, to wit, that it is somehow magically endowed with APA standing by virtue of the fact that
the Administrator sent a DP letter is singularly unpersuasive. SAM POR at 2. First, the regulations apply to DEA –
all of DEA. While it is possible to apply to the Administrator “for an exception to the application of any
[regulation] by filing a written request . . . stating the reasons for such an exception,” no such written request granted
by the Administrator is part of the present record. 21 C.F.R. § 1307.03. Beyond that, SAM’s theory misperceives
the structure of adjudications under the APA, the CSA, and the CSA’s implementing regulations. As discussed
elsewhere in this order, Congress was crystal clear in placing APA proceedings as a condition precedent to
rescheduling by the Agency. 21 U.S.C. § 811(a). Determinations as to standing fixed by the Administrator at the
outset of the hearing would obstruct the ALJ’s authority to issue a report including a statement of all “findings and
conclusions, and the reasons or basis therefor, on all the material issues of fact, law, or discretion as presented on the
record [and] the appropriate rule ….” 5 U.S.C. § 557(c). Analogously, although all DEA immediate suspension
enforcement hearings commence with the issuance of a charging document by the Administrator, assigning
controlling weight to that preliminary decision and binding the ALJ thereby would render the hearing process under
the APA as illusory. 21 U.S.C. § 811(a). That cannot be the intent of Congress. To be sure, decisions regarding
standing (like all rulings and decisions made by an ALJ) are subject to the Administrator’s review, but a final order
that is consistent with the recommended decision is stronger than when the contrary occurs. See generally, Morall v.
DEA, 412 F.3d 165, 177 (D.C. Cir. 2005) (“The Agency’s departures from the ALJ’s findings are vulnerable if they
fail to reflect attentive consideration to the ALJ’s decision.”).

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 NPRM would adversely affect its budget and mission, SC One (aggrievement, adverse impact or
 Article III standing) militates in favor of APA standing.
        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
 was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
 the procedural directives of the Agency. Likewise, the subject matter of the POR is within the
 proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
 Assistance/Consolidation Potential) it is self-evident that the official view of an advocacy entity
 that purports to have wide-ranging, bipartisan support and can show adverse impact as a direct
 result of the proposed rescheduling action has the potential for significant, relevant input here.
 Further, the Administrator’s approval of SAM as a DP (while not necessarily controlling)
 warrants significant deference.
        Accordingly, inasmuch as all four of the SCs favor standing, SAM has ESTABLISHED
 STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS.
 This requestor may wish to consider the option of presentation consolidation with other DP
 advocacy groups who do not favor the proposed rescheduling.



 National Cannabis Industry Association (NCIA)

        The POR filed by NCIA describes itself as “the oldest, largest, and most inclusive [tax-
 exempt non-profit] trade association representing the legal cannabis industry.” NCIA POR at 2.
 The POR further represents that NCIA’s “membership is composed of hundred of businesses
 from all sectors of the industry—from state-licensed cannabis businesses to legal hemp product
 manufacturers to the wide range of ancillary businesses serving the industry” and styles itself as
 “the voice of Main Street Cannabis.” Id.
        NCIA has put forward its APA standing argument in essentially two prongs. The first is
 not persuasive, but much of the second prong is. Both prongs are underpinned by an
 associational standing theory. That is, that its standing derives from its theory that one or more
 of its members would have standing to sue in their own right, the interests to be protected are
 germane to the organization’s purpose, and the result the organization is pursing requires the
 participation of individual members in the lawsuit. Fund Democracy, 278 F.3d at 25 (citing
 Friends of the Earth, 528 U.S. at 181).


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        The first prong is that it (and presumably its members) support rescheduling into
Schedule III because that action “would both lessen criminal penalties and preclude the
application of [Internal Revenue Code § 280E] … to marijuana businesses” that are not currently
operating in violation of applicable state laws. NCIA POR at 6. Inasmuch as this prong supports
the proposed rescheduling action, it would not, at least in this regard adversely affect or aggrieve
its membership, and does not further its standing argument under SC One (aggrievement,
adverse impact or Article III standing).
        The other theory of standing is both more nuanced and more persuasive. NCIA posits
that a number of its members would be adversely affected by a new definition of
tetrahydrocannabinol which is incorporated into the NPRM. Without engaging in a deep dive
into the merits of this issue, NCIA argues that the NPRM definition “could cause currently
unscheduled [n]on-[i]ntoxicating [c]annabinoids to be designated as prohibited Scheduled I
controlled substances without [additional] scheduling actions” on the part of DEA. NCIA POR
at 4. A significant weakness in this position is that NCIA has not specifically alleged that any of
its members are currently utilizing any particular substances that would be affected (a deficit that
could conceivably undermine its standing argument in this regard). However, NCIA’s POR
contains the following representation:

        NCIA is adversely affected or aggrieved by the [NPRM] because the simultaneous
        scheduling of certain [n]on-intoxicating [c]annabinoids as Schedule I substances
        through the [NPRM’s] proposed revisions to the definition of THC would make
        one or more NCIA members’ businesses federally illegal for the first
        time.
Id. at 3 (internal quotation marks omitted). Thus, based on the fact that this requestor has alleged
that it is properly in a position to exercise associational standing with several of its members who
could potentially have their present business enterprises rendered illegal by promulgation of the
NPRM, SC One favors standing on this narrow issue.35
        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is responsive, and consistent with the Preliminary Order and
the procedural directives of the Agency. Likewise, the subject matter of the POR is somewhat
within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful

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  Contrariwise, NCIA’s more speculative arguments regarding what the Agency may do in the future, based on its
pronouncements in the past and other interpretations, are unpersuasive and beyond the scope of the NPRM. See
e.g., Id. at 5.

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Assistance/Consolidation Potential), as described in its POR, it seems that NCIA would have the
means at its disposal to provide qualified witnesses among its large and diverse membership, and
that the commercial perspective available to it would be helpful to the adjudication of this
NPRM. That said, its commercial perspective may lend itself readily and effectively to a
consolidation with other DPs. Additionally, the Administrator’s approval of NCIA as a DP
warrants significant deference.
        Accordingly, inasmuch as all four of the SCs favor standing, NCIA has ESTABLISHED
STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE PROCEEDINGS.
Inasmuch as this requestor shares a pecuniary and commercial concerns with other requestors, it
may by prudent to a consolidation of presentations with other commercially-motivated DPs who
also support the NPRM.


Ellen Brown

        While Ellen Brown’s POR references her position as Research Subcommittee Chair of
the Massachusetts Cannabis Advisory Board (MCAB), there is no indication therein that she is
authorized (or seeking) to speak for that body.36 Indeed, the POR is written in the first person,
and focuses, not on the MCAB, but on her own experiences. Ms. Brown indicates that her
position on the MCAB Research Subcommittee has provided her with some exposure to
veterans, but evidently, she is not in a group authorized to speak on any behalf beyond her own.
Ms. Brown further provides that she is a veteran, and as one under the care of the Veteran’s
Administration (the VA), she has “personally been aggrieved” by marijuana’s current Schedule I
placement and is in favor of the proposed rescheduling action set forth in the NPRM. Brown
POR at 2.
        Ms. Brown’s POR does not specify how she would be “adversely affected or aggrieved”
by the promulgation of the proposed rescheduling rule. It is her stated position that she and other
veterans would markedly benefit by DEA’s embracement of the NPRM and rescheduling of
marijuana to Schedule III, thereby opening marijuana treatment avenues. Id. Thus, this
requestor has not demonstrated that she would be adversely affected or aggrieved by


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  To the extent this conclusion is incorrect and Ms. Brown is indeed authorized to speak for MCAB, that body or
Ms. Brown may file a clarification within five (5) business days from the receipt of this order with a request to
reconsider.

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promulgation of the NPRM. Rescheduling presents a potential benefit to this requestor and (at
least in her view) other veterans. Accordingly, consideration of SC One (aggrievement, adverse
impact or Article III standing) does not inure to this requestor’s benefit.
       With respect to SC Two (compliance with procedural directives), as proffered, the RFH
was apparently timely, and the POR is generally responsive, and in some respects consistent with
the Preliminary Order as well as the procedural directives of the Agency. Likewise, the subject
matter of the POR is within the proper scope of the NPRM to some extent (SC Three). The
POR’s demonstration under SC Four (Meaningful Assistance/Consolidation Potential) is difficult
to gauge. Although Ms. Brown represents that she has spoken to some veterans interested in
exploring the benefits of marijuana as medicine, there is no indication about the number of
veterans or anything beyond some limited anecdotal, generalized representations. That the
Administrator approved Ms. Brown status as DP’s is entitled to significant deference, but
balancing the powerful SC One and the other SC Factors, Ms. Brown has not made a sufficient
(standing or evidentiary) presentation to warrant her participation in these proceedings.
       Upon a thoughtful balance of the four SC Factors Ms. Brown has not demonstrated that
promulgation of the NPRM will adversely affect or aggrieve her own interests and has noticed
little beyond her own experience and expectations about the potential benefits of rescheduling
marijuana as sought by the DEA. Placing appropriate regulatory emphasis on the powerful
Factor One, this requestor has NOT DEMONSTRATED STANDING AND MAY NOT
INDEPENDENTLY CONTINUE TO PARTICIPATE IN THESE PROCEEDNGS. Ms.
Brown’s POR efforts and input may be better suited to consolidation with another DP who has
presented a sufficient showing to warrant participation.


Drug Enforcement Association of Federal Narcotics Agents (DEAFNA)

       The POR filed on behalf of DEAFNA describes the association as a “[l]aw [e]nforcement
[f]raternal [o]rganization representing active and retired DEA Special Agents, Diversion
Investigators, Intelligence Research Specialists, and other DEA [p]ersonnel.” DEAFNA POR at 2.
       DEAFNA’s basis for standing is that the rescheduling “has a direct impact on [its]
members’ ability to implement the necessary regulatory controls which will take years to
implement and will come at an unreasonable financial cost.” Id. This requestor is against the
proposed rescheduling because it would present “a significant shift in federal drug policy with

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 significant implications for … the ability of law enforcement agencies to protect the public.” Id.
 at 3. As noted supra, “[a]n association only has standing to bring suit on behalf of its members
 when its members would otherwise have standing to sue in their own right, the interests [the
 association] seeks to protect are germane to the organization’s purpose, and neither the claim
 asserted nor the relief requested requires the participation of individual members in the lawsuit.”
 Fund Democracy, 278 F.3d at 25 (citing Friends of the Earth, 528 U.S. at 181). Here, inasmuch
 as DEAFNA’s members, as specialized public servants engaged in the regulation and
 enforcement actions under the CSA, could potentially demonstrate adverse effect from the
 promulgation of the NPRM, the action is clearly germane to DEAFNA’s purpose, and the
 members of the organization are not required participants in the action. Here, the interests cited
 by DEAFNA, at least as articulated as adverse (that is—at least in its view—the potentially
 adverse impact rescheduling could have on the law enforcement efforts to enforce driving and
 other impairment-related and fit-for-duty laws regularly enforced by many of its members),
 could conceivably be adversely impacted by promulgation of the NPRM. Accordingly, SC One
 favors standing in this case.
        With respect to SC Two (compliance with procedural directives), as proffered, the RFH
 was apparently timely, and the POR is responsive, and consistent with the Preliminary Order as
 well as the procedural directives of the Agency. Likewise, the subject matter of the POR is
 within the proper scope of the NPRM (SC Three). On the issue of SC Four (Meaningful
 Assistance/Consolidation Potential), this requestor organization (at least as noticed in its POR)
 specializes in law enforcement in the field of controlled substances. It would be reasonable to
 assume that this requestor has access to members with the potential to speak authoritatively on
 the listed issues of concern, a law enforcement perspective (particularly this highly-specialized
 law enforcement perspective) is quite valuable, and even beyond all that, that the Administrator
 approved DEAFNA’s status as DP’s is entitled to significant deference.
        Accordingly, inasmuch as all four of the SCs favor standing, this DP has
 ESTABLISHED STANDING AND MAY CONTINUE TO PARTICIPATE IN THESE
 PROCEEDINGS. This requestor should strongly consider the option of presentation
 consolidation with other enforcement-motivated DPs who also disfavor the NPRM.




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On Procedure
         In accordance with my authority to regulate the course of the hearing,37 the following
procedures are herein implemented to ensure fair and orderly proceedings. While the
Government, as the burdened party, may present multiple witnesses, each of the remaining DPs
(absent leave to the contrary granted by this tribunal) may present the testimony of a single
witness. Documentary evidence and proposed witnesses from all the Parties must be disclosed in
advance in a written disclosure (Prehearing Statement) as outlined below. No evidence will be
admitted to the record without a proper foundation presented at the hearing on the merits.
         Within the discretion of the tribunal, and to the extent practicable, each of the Parties will
present testimonial and documentary evidence as set forth below.
         The Government, as the burdened party, will present its evidence first. Those DPs who
support the NPRM (Pro-Rescheduling DPs) will present evidence following the conclusion of
the Government’s case. The DPs who oppose the NPRM (Anti-Rescheduling DPs) will present
evidence following the conclusion of the Pro-Rescheduling DPs’ presentations. All DPs (Pro
and Anti) will be limited to a single witness each, with direct examination limited to no more
than approximately ninety (90) minutes (excluding cross-examination). Anti-Rescheduling DPs
may cross-examine all Government witnesses and all Pro-Rescheduling witnesses. Witnesses
presented by the Anti-Rescheduling DPs may be cross-examined by the Government and Pro-
Rescheduling DPs. In all cases, cross-examination will be limited to approximately twenty (20)
minutes per witness for each authorized cross-examiner. Within the further discretion of the
tribunal, presentations may be grouped (or even consolidated) by the tribunal in accordance with
commonly-expressed viewpoints as set forth in the Parties’ respective PORs.
         Any Party (to include the Government) who is unprepared to proceed on the date(s)
scheduled at the preliminary hearing (with the input of that Party) may forfeit his/her/its ability
to present the scheduled evidence or examination.
         It is herein ORDERED that the Parties, no later than 2:00 p.m. Eastern Time (ET) on
November 26, 2024, shall electronically file with this tribunal and serve on each other, a
Prehearing Statement38 containing the following sections:


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  5 U.S.C. § 556(c)(5); 21 C.F.R. § 1316.52.
38
  Absent advance leave by this tribunal on a motion supported by good cause, all filed documents (other than
noticed proposed exhibits offered by either party on the merits) shall be limited to fifty (50) pages (utilizing 12-point
characters and 1-inch margins).

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        1. Witnesses. Names, curriculum vitae, and current addresses of all witnesses whose
           testimony is sought to be presented by each of the Parties.
        2. Summary of Testimony. Brief summary of the testimony of each witness. The
           summaries are to state what the testimony will be, rather than merely list the areas to
           be covered. Testimony not disclosed may be subject to exclusion.
        3. Documents. A list noticing all documentary evidence, including affidavits and other
           proposed exhibits, intended to be offered into evidence, specifying the number of
           pages in each. Each proposed exhibit is to be marked for identification and numbered
           as follows: (“[name of Party]-Exh. No. ## (ID)”).
        4. Hearing Date Availability. The NPRM and GNoH in this matter fixes the place of
           hearing as the DEA Hearing Facility in Arlington, Virginia. The Government and the
           Parties are expected to provide their representatives’ and their witnesses’ availability
           for the months of January through February 202539 at the Preliminary Hearing.
        5. District Court Intervention. To the extent practicable, each Party should indicate
           whether he/she/it presently intends to seek the intervention of a U.S. District Court in
           accordance with Axon Enterprise, Inc. v. FTC, 598 U.S. 175 (2023).


        It is further ORDERED that, in accordance with 21 C.F.R. § 1316.64, a Preliminary
Hearing40 in this matter will be conducted on December 2, 2024, at 9:30 a.m. ET in the
North Courtroom41 at the DEA Hearing Facility, at 700 Army Navy Drive, Arlington,
Virginia, 22202.42
        It is further ORDERED that all proceedings will be governed by the provisions of 21
C.F.R. §§ 1316.41-1316.68.43 Your attention is specifically directed to 21 C.F.R. § 1316.45,
which provides, inter alia, that “[d]ocuments shall be dated and deemed filed upon receipt by the


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   21 C.F.R. § 1301.45.
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   21 C.F.R. § 1316.
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   As set forth in the Preliminary Order, the courtrooms at the DEA Hearing Facility are spacious and modern, but
not unlimited. Accordingly, in view of the potentially high number of hearing participants, it is anticipated that
admission to the preliminary hearing will be limited to representatives (no more than two, preferably one) and
credentialled media as designated by the Agency. The Administrator has directed the proceedings will be
livestreamed to afford those physically outside the courtroom an opportunity to observe the proceedings. Naturally,
witnesses will be admitted to the courtroom to testify at the merits hearings at times where their testimony is
scheduled. No cell phone use by anyone will be permitted in the courtroom at any hearing conducted in this matter.
The highest level of decorum will be maintained at all times during all hearings, and court attire is required for
anyone participating in any capacity. All representative appearances will be live (not virtual) throughout, and all
representatives must plan to arrive sufficiently early to allow security processing through the DEA Visitor Center,
which is collocated with the DEA Hearing Facility at 700 Army Navy Drive, Arlington, Virginia, 22202.
42
   Logistical issues will be coordinated by Law Clerk Laila Mogharabi, Esq., who can be contacted at (202) 307-
8188 and at ECF-DEA@dea.gov.
43
   Additional helpful information regarding DEA administrative proceedings may be found at the OALJ website,
https://www.dea.gov/administrative-law-judges.

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Hearing Clerk.” Documents (other than proposed exhibits) may be filed electronically or by
hard copy. Only one method of document filing may be utilized.
           Electronic Filing: The strongly preferred method of filing correspondence in these
proceedings is as a PDF attachment via email to the DEA Judicial Mailbox (ECF-
DEA@dea.gov). The forwarding email on all electronically filed correspondence must indicate
that it was simultaneously served on the opposing party via email. The Respondent must ensure
that all documents filed with the DEA Judicial Mailbox are simultaneously served on the
Government Mailbox at (dea.registration.litigation@dea.gov). Any request(s) to modify email
addresses of a party or counsel must be made on notice to this tribunal and the opposing
party. The email receipt date reflected by the DEA Judicial Mailbox server shall conclusively
control all issues related to the date of service of all filed correspondence, provided however, that
correspondence received after 5:00 p.m., local Washington, D.C. time, will be deemed to have
been received on the following business day. Note: While email is utilized as the method to
forward documents for filing—as attachments—no substantive matter communicated through the
body of a forwarding email will be considered. The parties are directed to refrain from including
social security numbers or personally identifiable information in electronically-filed
documents. Proposed evidentiary exhibits will not be accepted via electronic filing. Details
regarding evidentiary exhibit filing will be the subject of a subsequent order.
           Hard Copy Filing: Alternatively, correspondence may be filed in hard-copy form. Hard-
copy filings must be served in triplicate and addressed to my attention at: The DEA Office of
Administrative Law Judges, 8701 Morrissette Drive, Springfield, Virginia 22152. Because
the DEA Hearing Facility is not physically collocated with the DEA mailing address, hard copy
filings must be posted sufficiently in advance of the due date to assure timely receipt by this
office.
           Failure to timely file a prehearing statement that complies with the directions provided
above may result in a sanction, including (but not limited to) a waiver of hearing and an implied
withdrawal of a request for participation. Prehearing statements should not include motions,
which should be filed separately.44




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     A prehearing ruling setting deadlines will be issued after the prehearing conference.

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        It is further ORDERED that any requests for extension of time to file must be made by
 written motion sufficiently in advance of scheduled deadlines to be considered and ruled upon.
 Dated: November 19, 2024                                                      Digitally signed by
                                                            JOHN      JOHN MULROONEY
                                                            MULROONEY Date: 2024.11.19
                                                                      17:25:51 -05'00'
                                                            __________________________
                                                            JOHN J. MULROONEY, II
                                                            Chief Administrative Law Judge



                                CERTIFICATE OF SERVICE
          This is to certify that the undersigned, on November 19, 2024 caused a copy of the
 foregoing to be delivered to the following recipients: (1) James J. Schwartz, Esq., Counsel for
 the Government, via email at james.j.schwartz@dea.gov; Jarrett T. Lonich, Esq., Counsel for the
 Government, via email at jarrett.t.lonich@dea.gov; and S. Taylor Johnston, Esq., Counsel for the
 Government, via email at stephen.t.johnston@dea.gov; (2) the DEA Government Mailbox, via
 email at dea.registration.litigation@dea.gov; (3) Shane Pennington, Esq., Counsel for Village
 Farms International, via email at spennington@porterwright.com; and Tristan Cavanaugh, Esq.,
 Counsel for Village Farms International, via email at tcavanaugh@porterwright.com; (4) Nikolas
 S. Komyati, Esq., Counsel for National Cannabis Industry Association, via email at
 nkomyati@foxrothschild.com; William Bogot, Esq., Counsel for National Cannabis Industry
 Association, via email at wbogot@foxrothschild.com; and Khurshid Khoja, Esq., Counsel for
 National Cannabis Industry Association, via email at khurshid@greenbridgelaw.com; (5) John
 Jones and Dante Picazo for Cannabis Bioscience International Holdings, via email at
 ir@cbih.net; (6) Andrew J. Kline, Esq., Counsel for Hemp for Victory,
 AKline@perkinscoie.com; and Abdul Kallon, Esq., Counsel for Hemp for Victory, via email at
 and AKallon@perkinscoie.com; (7) Erin Gorman Kirk for the State of Connecticut, via email at
 erin.kirk@ct.gov; (8) Ellen Brown for Massachusetts Cannabis Advisory Board, via email at
 ellen@greenpathtraining.com; (9) Shanetha Lewis for Veterans Initiative 22, via email at
 info@veteransinitiative22.com; (10) Jason Castro, Esq., Counsel for The Doc App., Inc. d/b/a
 My Florida Green, via email at jasoncastro@myfloridagreen.com; (11) Kelly Fair, Esq., Counsel
 for The Commonwealth Project, via email at Kelly.Fair@dentons.com; (12) Rafe Petersen, Esq.,
 Counsel for Ari Kirshenbaum, via email at Rafe.Petersen@hklaw.com; (13) David G. Evans,
 Esq., Counsel for Cannabis Industry Victims Educating Litigators, Community Anti-Drug
 Coalitions of America, Phillip Drum, Kenneth Finn, International Academy on the Science and
 Impacts of Cannabis, and National Drug and Alcohol Screening Association, via email at
 thinkon908@aol.com; (14) Patrick Philbin, Esq., Counsel for Smart Approaches to Marijuana,
 via email at pphilbin@torridonlaw.com; and Chase Harrington, Esq., Counsel for Smart
 Approaches to Marijuana, via email at charrington@torridonlaw.com; (15) Stephanie E. Masker,
 Esq., Counsel for National Transportation Safety Board, via email at
 stephanie.masker@ntsb.gov; (16) Eric Hamilton, Esq., Counsel for the State of Nebraska, via
 email at eric.hamilton@nebraska.gov; and Zachary Viglianco, Esq., for the State of Nebraska,
 via email at zachary.viglianco@nebraska.gov; (17) Gene Voegtlin for International Association
 of Chiefs of Police, via email at voegtlin@theiacp.org; (18) Gregory J. Cherundolo for Drug

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Enforcement Association of Federal Narcotics Agents, via email at executive.director@afna.org;
(19) Reed N. Smith, Esq., Counsel for the Tennessee Bureau of Investigation, via email at
Reed.Smith@ag.tn.gov; and Jacob Durst, Esq., Counsel for Tennessee Bureau of Investigation,
via email at Jacob.Durst@ag.tn.gov; and (20) Jim Skinner for National Sheriff’s Association, via
email at sheriffskinner@collincountytx.gov and ykaraman@sheriffs.org.
                                                                          Digitally signed by
                                                            QUINN         QUINN FOX
                                                                          Date: 2024.11.19
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                                                           Quinn Fox
                                                           Staff Assistant to the Chief Judge
                                                           Office of Administrative Law Judges




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                           UNITED STATES DEPARTMENT OF JUSTICE

                                 Drug Enforcement Administration



     In the Matter of

     Schedules of Controlled Substances:                     DEA Docket No. 1362
     Proposed Rescheduling of Marijuana                      Hearing Docket No. 24-44



                       ORDER DENYING MOTION TO INTERVENE (DDPR)
           On May 21, 2024, the United States Department of Justice through the Drug Enforcement
Administration (DEA or Agency) issued a notice of proposed rulemaking (NPRM) proposing to
transfer marijuana from Schedule I of the Controlled Substances Act (CSA) to Schedule III.
Schedules of Controlled Substances: Rescheduling of Marijuana, 89 Fed. Reg. 44597, 44597
(2024). Following the publication of the NPRM, the DEA Administrator determined that in-
person hearing proceedings would be appropriate, and in an order dated August 29, 2024, fixed a
December 2, 2024 commencement date. Schedules of Controlled Substances: Rescheduling of
Marijuana, 89 Fed. Reg. 70148, 70148-49 (2024). Subsequently, the Administrator designated a
subset of twenty-five (25) individuals and organizations (evidently culled from a larger group of
requestors) to participate in the hearing (Designated Participants or DPs). The DPs were
evidently each notified of their participation status by a separate email.
           I was designated by the Administrator1 to preside over the hearing proceedings, but was
not involved in or apprised of the process utilized to select the DPs. In an order dated November
19, 2024 (the Standing Order), based on submissions by the DPs, I made determinations
regarding standing and inclusion in these proceedings by applying the statutory and regulatory
guideposts supplied by Congress and the CSA and its implementing regulations. In the Standing
Order, the overwhelming majority of DPs maintained their status as participants, but standing
assessments were reached regarding a future discretionary decision as to the potential weight to
be assigned in the recommended decision.




1
    21 C.F.R. § 1316.52.




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         On November 13, 2024, Doctors for Drug Policy Reform and Bryon Adinoff
(collectively, DDPR), a filed a thoughtful motion bearing the caption “Non-Party D4DPR’s
Motion to Intervene and Request for Final Appealable Determination” (Motion to Intervene or
MTI) seeking a final order memorializing the decision that caused its lack of its own invitational
email from the Administrator, as well as an order from this tribunal authorizing its inclusion
among the DPs notwithstanding her decision.
         In its MTI, DDPR expends much effort into extolling its virtues (of which there are
undoubtedly many) and pointing out how any marijuana rescheduling hearing would
exponentially benefit from its participation. However, as explained in more detail in the
Standing Order issued by this tribunal, that is not the full extent of the inquiry. City of San
Antonio v. Civil Aeronautics Board, 374 F.2d 326, 329 (D.C. Cir. 1967) (“No principle [of]
administrative law is more firmly established than that of agency control of its own calendar.”).
The Agency is endowed with the right to place reasonable limits on the number of participants in
a given APA hearing. Id. Which is, when reduced to its essence, precisely what the
Administrator did in exercising her discretion in determining the number and nature of
participants. To be sure, thousands upon thousands of individuals and entities across the country
could add value to the issues to be decided here, but they cannot all be included.
         Regarding the issuance of a final, appealable order from the Administrator, it is useful to
view the current dynamic in the backdrop of the Administrative Procedure Act (APA) and the
CSA’s implementing regulations. The Administrative Law Judge (ALJ) is appointed by the
DEA Administrator. 21 C.F.R. § 1316.52. The ALJ’s “functions … commence upon his
designation and terminate upon the certification of the record to the Administrator.” Id. Thus,
the time the DPs were selected preceded my authority to act on the case. Even more importantly,
in the APA, Congress decreed that “[o]n appeal from or review of the [ALJ’s recommended
decision] the agency has all the powers which it would have in making the [recommended
decision] … except as it may limit the issues on notice or by rule.” 5 U.S.C. § 557(b). Appeals
flow from the ALJ to the Administrator, not the other way around. I have not been designated to
review the Administrator’s prehearing actions on this matter or the manner in which her DP
decisions were reached, issued, or not issued.2 The Administrator exercised her discretion to fix


2
  See SEC v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The grounds upon which an administrative order must be
judged are those upon which the record discloses that its action was based.”). As I have discussed in other orders,

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the number of DPs to be included, and to expand that number would effectively overrule her
decision and exceed the proper and logical role of the ALJ under the APA and the CSA.3
Accordingly, no action can or will be taken on DDPR’s Motion to Intervene.
Dated: November 21, 2024
                                                                                               Digitally signed by
                                                                 JOHN                JOHN MULROONEY
                                                                                     Date: 2024.11.21
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                                                                __________________________
                                                                JOHN J. MULROONEY, II
                                                                Chief Administrative Law Judge



                                     CERTIFICATE OF SERVICE
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Victims Educating Litigators, Community Anti-Drug Coalitions of America, Phillip Drum,
Kenneth Finn, International Academy on the Science and Impacts of Cannabis, and National
Drug and Alcohol Screening Association, via email at thinkon908@aol.com; (11) Patrick
Philbin, Esq., Counsel for Smart Approaches to Marijuana, via email at

while the decision to include or exclude a party arguably bears the hallmarks of a final agency action (5 U.S.C. §
702; 21 U.S.C. § 877), at least one Circuit Court is not altogether convinced that anything is really final and
reviewable until the whole adjudication has run its course. Miami-Luken, Inc. v. DEA, 900 F.3d 738, 743 (6th Cir.
2018) (The court held that a subpoena decision is not rendered final merely because the agency’s highest authority
issued the decision prior to an ultimate disposition of the case.).
3
  Admittedly, had the standing determination been deferred to await the action of the ALJ, matters would have been
procedurally different and the Administrator could have exercised her unquestioned authority to review my ruling on
the matter. But that is not the way the matter progressed.

                                                        3



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pphilbin@torridonlaw.com; and Chase Harrington, Esq., Counsel for Smart Approaches to
Marijuana, via email at charrington@torridonlaw.com; (12) Stephanie E. Masker, Esq., Counsel
for National Transportation Safety Board, via email at stephanie.masker@ntsb.gov; (13) Eric
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Association of Federal Narcotics Agents, via email at executive.director@afna.org; (16) Reed N.
Smith, Esq., Counsel for the Tennessee Bureau of Investigation, via email at
Reed.Smith@ag.tn.gov; and Jacob Durst, Esq., Counsel for Tennessee Bureau of Investigation,
via email at Jacob.Durst@ag.tn.gov; and (17) Matthew Zorn, Esq., Counsel for Erin Gorman
Kirk for the State of Connecticut, Counsel for Ellen Brown, and Counsel for Doctors for Drug
Policy Reform and Bryon Adinoff, via email at mzorn@yettercoleman.com.


                                                           QUINN Digitally
                                                                         QUINN FOX
                                                                                  signed by

                                                                         Date: 2024.11.21
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                                                          Quinn Fox
                                                          Staff Assistant to the Chief Judge
                                                          Office of Administrative Law Judges




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                         UNITED STATES DEPARTMENT OF JUSTICE

                                   Drug Enforcement Administration



     In the Matter of

     Schedules of Controlled Substances:                            DEA Docket No. 1362
     Proposed Rescheduling of Marijuana                             Hearing Docket No. 24-44




                                        PREHEARING RULING
          On December 2, 2024, a preliminary hearing (the Preliminary Hearing) was conducted in
the above-captioned matter at the Drug Enforcement Administration (DEA or Agency) Hearing
Facility in Arlington, Virginia. 21 C.F.R. § 1316.54. The Preliminary Hearing was held as part
of ongoing hearing proceedings being conducted in connection with the publication of a notice of
proposed rulemaking (NPRM) issued by the Department of Justice. Schedules of Controlled
Substances: Rescheduling of Marijuana, 89 Fed. Reg. 44597 (2024). The NPRM seeks to move
marijuana from Schedule I of the Controlled Substances Act (CSA) to Schedule III. Id. The
DEA Administrator subsequently determined that a hearing was appropriate and published her
own order (General Notice of Hearing or GNoH) stating as much. Schedules of Controlled
Substances: Rescheduling of Marijuana, 89 Fed. Reg. 70148, 70148-49. The General Notice of
Hearing fixed a December 2, 2024 commencement date. Id.
          There has been a considerable level of spirited motion practice by the Designated
Participants (and even numerous attempts from some outside that group). This Prehearing
Ruling is issued pursuant to 21 C.F.R. § 1316.55.1


I.        Purpose
          The NPRM and GNoH state that the purpose of this hearing is to receive factual evidence
and expert opinion testimony regarding whether marijuana should be transferred to Schedule III

1
  The following cases were mentioned during the Preliminary Hearing: Ester Mark, M.D., 86 Fed. Reg. 16760
(2021); Gregg & Son Distributors, 74 Fed. Reg. 17517 (2009); Nicholas A. Sychak, d/b/a Medicap Pharmacy, 65
Fed. Reg. 75959 (2000); Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244 (2024); Axon Enter., Inc. v. FTC, 598
U.S. 175 (2023); Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999); Miami-Luken, Inc. v. DEA, 900 F.3d 738
(6th Cir. 2018); and McClelland v. Andrus, 606 F.2d 1278 (D.C. Cir. 1979).




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under the CSA in accordance with 21 U.S.C. §§ 811, 812. 89 Fed. Reg. at 44599; 89 Fed. Reg.
at 70149.


II.    Witnesses
       All of the parties have noticed their intention to present testimony at the hearing. The
parties are reminded that testimony not summarized in prehearing statements may (and likely
will) be excluded at the hearing on the merits. All parties should endeavor to ensure that their
witnesses do not stray outside their areas of expertise. Witnesses may be afforded the
opportunity to provide video teleconference (VTC) testimony should a request be filed with this
tribunal no later than 2:00 p.m. Eastern Time (ET) on December 13, 2024 (The Homework
Date). Irrespective of whether a party has been granted leave to utilize VTC or will be present in
court, any attorney/representative directing or cross-examining a witness must be physically
present in the courtroom at the time of the examination.
       The order of the parties’ presentations is outlined infra and the following guidelines will
apply to all parties, with the potential for some additional latitude afforded to the Government as
the burdened party. Each party will have ninety (90) minutes to present the testimony of
their witness. Before offering their witness, counsel may present a two (2) minute opening
statement about their witness and any proposed exhibits to be sponsored through the witness.
The parties are encouraged to consider whether there is merit in consolidation with other
participants that have similar (or complimentary) litigation objectives, witnesses, and/or areas of
interest. Consolidated parties will be afforded the opportunity to present the testimony of up to
two (2) witnesses during the hearing, for a presentation not to exceed one hundred and twenty
(120) minutes, should they avail themselves of the opportunity to consolidate.
       At the conclusion of a party’s presentation, counsel or the designated representative for
that party may be afforded either a ten (10) minute closing argument or the opportunity to
submit a brief, not to exceed twenty-five (25) pages within five (5) business days of their
witness’s presentation. This binary argument option will apply to all parties, regardless of the
number of witnesses testifying.
       The cross-examination of witnesses will generally be limited to matters covered on direct
examination; however, if a party submits an affidavit or letter into evidence from a witness who
also testifies in person, cross-examination as to matters referenced in the document may be

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 permitted, even if the witness does not refer to them in their direct testimony. As explained
 during the Preliminary Hearing, cross-examination will be limited to twenty (20) minutes for
 each party on the opposing side of the issue.


 III.    Documents
         The parties have noticed their respective intentions to offer into evidence documents
 identified in their prehearing statements.2 Further, all of the parties must serve each other with a
 copy (electronic or hardcopy) of the documents noticed in their respective prehearing statements
 no later than January 3, 2025. The parties are reminded that documents not timely supplied to
 the other Designated Participants or the tribunal, may (and likely will) be excluded at the
 hearing. The parties are further reminded that inasmuch as these are formal rulemaking
 proceedings, a foundation must be laid for recognition as an expert as well as for each and every
 proposed exhibit as a condition precedent for inclusion in the record. 21 C.F.R. § 1316.59. A
 limited number of affidavits3 may be received into the record, subject to the evidentiary weight


 2
   For reasons that are not altogether apparent, although directed to do so in the November 19, 2024 Standing Order,
 the Government did not supply the complete list of documentary evidence it intended to offer into the record.
 Instead, the Government noticed a few documents and indicated below the line that notice of more documents could
 be forthcoming upon a supplemental filing date. In fairness to the Government’s position, a supplemental
 prehearing statement date is not an uncommon feature of DEA administrative enforcement proceedings. There will
 be no supplemental prehearing statements in this formal rulemaking proceeding, and the Government is herein
 DIRECTED to furnish a complete list no later than The Homework Date. Further, as discussed at the Preliminary
 Hearing, the tribunal received several copies of proposed exhibits attached to the filings submitted in prehearing
 motion practice and none of those documents will be considered as part of the record. The process for submitting
 proposed exhibits for admission into the record is outlined later in this order.
 3
   During the Preliminary Hearing, the Government was granted leave to substitute an affidavit for the live testimony
 of one of its noticed witnesses, Heather Achbach, the Acting Section Chief of the DEA’s Regulatory Drafting and
 Policy Support Section. This witness had been noticed to lay a foundation for comments (the Comments) filed by
 the American public in response to the NPRM. Mindful that this proposed exhibit has not yet been offered, for the
 planning purposes of all, as alluded to during the course of the Preliminary Hearing, it is quite unlikely that the
 Comments, which number well in excess of 43k, will be received into the hearing record. To be sure, NPRM
 comments play a vital role in the Administrative Procedure Act (APA) rulemaking process. They must be carefully
 analyzed by the proponent agency and responded to in detail in the final rule published in the Federal Register, but
 they are not admissible evidence at a hearing under the APA. 5 U.S.C. § 556(d)(“A party is entitled to present his
 case … by documentary evidence … and to conduct such cross-examination as may be required for a full and true
 disclosure of the facts.”); see also Attorney General’s Manual on the APA § 7(c) (The admission of evidence at an
 APA hearing “does not extend to presenting evidence in affidavit or other written form so as to deprive the agency
 or opposing parties of opportunity for cross-examination, nor so as to force them to assume the expense of calling
 the affiants for cross-examination.”); Basco v. Machin, 514 F.3d 1177, 1182 (11th Cir. 2008); J.A.M. Builders v.
 Herman, 233 F.3d 1350, 1354 (11th Cir. 2000); Keller v. Sullivan, 928 F.2d 227, 230 (7th Cir. 1991); Hoska v.
 Dep’t of the Army, 677 F.2d 131 (D.C. Cir. 1982); Calhoun v. Bailar, 626 F.2d 145, 149 (9th Cir. 1980). Neither
 are the Comments admissible evidence under the DEA’s own regulations. 21 C.F.R. § 1316.59(a) (“The [ALJ] shall
 admit only evidence that is competent, relevant, material and not unduly repetitious.”). The Comments were never
 intended by Congress to be part of the APA hearing process. The APA unequivocally directs that a “rule [may not

                                                          3



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adjustment specified in the regulations. 21 C.F.R. § 1316.58(b) (“Affidavits admitted into
evidence shall be considered in light of the lack of opportunity for cross-examination. . . .”).
         No later than the date fixed elsewhere in this order for the exchange of documents, each
party is to file its noticed and proposed exhibits in the following manner: (1) each party will
receive an email invitation to join the Department of Justice Enterprise File Sharing (JEFS)
system, a secure commercial platform maintained by Box.com; (2) a party seeking to offer
evidentiary exhibits must obtain a (free-of-charge) Box.com/JEFS account and must timely
upload all proposed exhibits there; and (3) in addition to the electronic evidentiary submission on
JEFS, each party must also timely provide three (3) complete sets of hard copies of all proposed
exhibits to the Hearing Clerk.4 The submitted proposed exhibits (both hardcopy and electronic)
must conform to the following specifications:
              x   Proposed exhibits must be pre-marked for identification with a docket number
                  (e.g., Dkt. No. 23-42) and an exhibit number (e.g., [DP Name/Abbreviation] Ex.
                  1(ID) or Gov’t Ex. 1 (ID)).5
              x   The pages of each proposed exhibit must be numbered. In addition, the first page
                  of each proposed exhibit must state the total number of pages contained therein.

be] issued except on consideration of the whole record or those parts thereof cited by a party and supported by and
in accordance with the reliable, probative, and substantial evidence.” 5 U.S.C. § 556(d). The 43k+ comments are
not evidence, they cannot be. Congress understood that when it drafted the APA, as did the Agency when it drafted
its regulations. If the Comments are not admissible evidence they cannot be considered in the recommended
decision. Admitting the Comments into to a hearing record where they cannot be considered would indeed be a
pointless exercise. On a more pragmatic level, to attempt to foist a gargantuan mass of inadmissible comments on
the tribunal risks the appearance (even if subjectively unwarranted) of a dilatory tactic inflicted on the trier of fact by
the agency that represents itself as the proponent of the rule. There is an additional dynamic that may bear some
reflection. The DEA regulations require that in addition to the forwarding of evidence received into the record,
where evidence is excluded, “if the excluded evidence consists of evidence in documentary or written form, a copy
of such evidence shall be marked for identification and shall accompany the records as the offer of proof.” 21
C.F.R. § 1316.60 (emphasis supplied). Thus, as directed elsewhere in this order, by regulation, three (3) complete
hardcopies of the Comments would have to be supplied to the tribunal at the time they are offered, and forwarded to
the Administrator for her review, even if rejected here. Some additional reflection upon this strategy on the part of
the Government may be prudent.
4
  Due to DEA email capacity limitations, unless otherwise directed by the tribunal, proposed evidentiary exhibits
will not be accepted through ECF. Proposed exhibits should be provided in hard copy format, as well as through
JEFS as described, supra. The parties are reminded that, because the mailing address is not the physical address of
this office, some additional screening time is baked into the process. That said, any evidentiary exhibits timely
received electronically will be considered timely. The evidentiary exhibits should be mailed to the Hearing Clerk’s
address, as follows:
          DEA Headquarters
          Attn: Hearing Clerk, Office of Administrative Law Judges
          8701 Morrissette Drive
          Springfield, Virginia 22152
5
  Exclusive of audio/video recordings, exhibits provided in the form of compact disc (CD), PowerPoints, or other
electronic versions will not be accepted, unless otherwise stated in this order or a subsequent one issued by the
tribunal.

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             x   All proposed hardcopy documentary exhibits must be supplied in a single-sided
                 format and in an appropriately-sized three-ring binder.
             x   The electronic version of submitted evidentiary exhibits and the hardcopy binder
                 must also include a Table of Contents listing the number of each proposed exhibit,
                 a brief description of each proposed exhibit, and the number of pages in the
                 proposed exhibit.
        Proposed exhibits received after the January 3, 2025 date fixed in this order for the
service and exchange of documents (excluding exhibits to be utilized for cross-examination,
rebuttal, and surrebuttal) may not (and likely will not) be admitted into evidence, absent a
showing of good cause.
        Each party should ensure that it has its own copy of all proposed exhibits for its own use
during the hearing.6 Further, the parties must ensure that prior to any approved video
teleconference testimony, each witness has been furnished with a useable copy (hard copy or
otherwise) of any and all proposed exhibits (appropriately marked for identification) that may
pertain to that witness’s testimony.


IV.     Hearing
        Under the regulations,7 the notice of hearing fixes the place and time for hearing
commencement.8 In this matter, the GNoH fixed the place of hearing at the DEA Hearing
Facility in Arlington, Virginia. 89 Fed. Reg. at 70148-49. As discussed, supra, the DEA
Hearing Facility will remain the venue throughout the hearing proceedings.9
        In accordance with 5 U.S.C. § 554(b), the parties were consulted to ascertain the
availability of their respective representatives and witnesses. Any party scheduled to present a
witness must be present in the courtroom on that date, even if his/her/its witness will be
appearing via VTC. Similarly, any representative seeking to cross-examine an opposing witness
must likewise be present in the courtroom. Failure to appear, in the absence of good cause and
granted by the tribunal in advance, will result in forfeiture of the opportunity to present a witness
as well as the opportunity to cross.


6
  The copies of the documents and/or affidavits exchanged by the parties ahead of the hearing are to serve as
opposing parties’ working copy during the hearing.
7
  21 C.F.R. § 1316.53.
8
  As directed by the GNoH, the Preliminary Hearing commenced hearing proceedings on December 2, 2024. 89
Fed. Reg. at 70148-49.
9
  As a reminder, no cell phone use in the courtroom will be permitted throughout the proceedings. No exceptions.

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        Accordingly, the hearing will commence on January 21, 2025 at the DEA Hearing
 Facility. Proceedings will begin at 9:30 a.m. ET each day and continue through 5:00 p.m. ET
 daily from Tuesday through Thursday of each week. There will be a week-long recess from
 February 11, 2025 through February 13, 2025. The table infra outlines the duration of the
 hearing on the merits in this case:
            Week                                             Activity
   1/21/2025—1/23/2025                                       Hearing
   1/28/2025—1/30/2025                                       Hearing
     2/4/2025—2/6/2025                                       Hearing
   2/11/2025—2/13/2025                           Break—No Hearing Proceedings
   2/18/2025—2/20/2025                                       Hearing
   2/25/2025—2/27/2025                                       Hearing
     3/4/2025—3/6/2025                                       Hearing


        Based on the representations of the parties regarding their representative and witness
 availability during the Preliminary Hearing, the parties will present their cases in the following
 order and on the following days:
 Presentation Date                                       Party Name
     1/21/2025                                           Government

     1/22/2025                                     Hemp for Victory (HFV)

     1/23/2025                         Cannabis Bioscience International Holdings (CBIH)

     1/28/2025          Connecticut Office of the Cannabis Ombudsman (OCO); Ellen Brown; and
                                         The DocApp (collectively, OCO. et al.)
     1/29/2025                          National Cannabis Industry Association (NCIA)

     1/30/2025                                 Village Farms International (VFI)

      2/4/2025                                 The Commonwealth Project (TCP)

      2/5/2025                                   Veterans Initiative 22 (VI22)



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      2/6/2025                                               Dr. Ari Kirshenbaum

     2/18/2025                                 Tennessee Bureau of Investigation (TBI)

     2/19/2025                          International Association of Chiefs of Police (IACP)

     2/20/2025               Drug Enforcement Association of Federal Narcotics Agents (DEAFNA)

     2/25/2025                 Smart Approaches to Marijuana (SAM) and State of Nebraska (NE)
                                                  (collectively, SAM, et al.)
     2/26/2025                        Community Anti-Drug Coalitions of America (CADCA)

     2/27/2025                        Cannabis Industry Victims Educating Litigators (CIVEL)

      3/4/2025                                                Dr. Kenneth Finn

      3/5/2025                     National Drug and Alcohol Screening Association (NDASA)

      3/6/2025                                                Dr. Phillip Drum



         Pursuant to 21 C.F.R. § 1316.44 and 21 C.F.R. § 1316.53, regulatory provisions requiring
publication of the time and place of the hearing in the Federal Register are waived.


V.       Subpoenas
         The parties are advised that any requests for subpoenas10 are to be filed no later than The
Homework Date. Each subpoena shall be completed in advance by the party seeking it, and the
completed subpoena shall be filed with this tribunal with a request for issuance.11 As explained
during the Preliminary Hearing, the authority of a DEA ALJ’s subpoena authority extends only




10
  21 C.F.R. § 1316.52(d).
11
  To the extent that either party seeks to present witness testimony through VTC, the following language should be
utilized to compel testimony by virtual attendance in a subpoena: “At the Drug Enforcement Administration Hearing
Facility, located at 700 Army Navy Drive, 2nd Floor, Arlington, Virginia, 22202, by VIRTUAL APPEARANCE
through a link to be furnished by the requesting party n/l/t one (1) day prior to the date and time of your scheduled
appearance and testimony. The testimony will be recorded verbatim through a reporting company under contract
with the United States Government.”

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as far as “to the extent necessary to conduct [the] administrative hearing[] pending before him.”
21 C.F.R. § 1316.52(d).
        The subpoena template may be found on the Office of Administrative Law Judges’
website at https://www.dea.gov/administrative-law-judges. Subpoena requests that do not
comply with these instructions will be returned to the requestor without further action. The party
seeking to secure evidence through the use of a subpoena will be responsible for ensuring proper
service.


VI.     Motions
           In view of the robust level of motion practice that has accompanied prehearing
proceedings, as announced at the Preliminary Hearing, the time for seeking relief through motion
practice has reasonably passed. The time has come to receive evidence and proceed with the
hearing. Any further motions must be accompanied by a request to file out of time and
supported by a demonstration of good cause that is likely to be narrowly construed.


VII.    E-Filing
        All proceedings will be governed by the provisions of 21 C.F.R. §§ 1316.41-1316.68.12
The parties’ attention is specifically directed to 21 C.F.R. § 1316.45, which provides, inter alia,
that “[d]ocuments shall be dated and deemed filed upon receipt by the Hearing Clerk.” In these
formal rulemaking proceedings, documents (other than proposed evidentiary exhibits) must be
filed electronically. The exclusive method of filing correspondence in these proceedings is as a
PDF attachment via email to the DEA Judicial Mailbox (ECF-DEA@dea.gov). The forwarding
email on all electronically-filed correspondence must indicate that it was simultaneously served
on the opposing parties via email. The Designated Participants must ensure that all documents
filed with the DEA Judicial Mailbox are simultaneously served on the Government Mailbox
at (dea.registration.litigation@dea.gov). Any request(s) to modify email addresses of a party or
counsel must be made on notice to this tribunal and the parties. The email receipt date reflected
by the DEA Judicial Mailbox server shall conclusively control all issues related to the date of
service of all filed correspondence, provided however, that correspondence received after 5:00


12
   Additional helpful information regarding DEA administrative proceedings may be found at the OALJ website,
https://www.dea.gov/administrative-law-judges.

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p.m., local Washington, D.C. time, will be deemed to have been received on the following
business day. Note: While email is utilized as the method to forward documents for filing—as
attachments—no substantive matter communicated through the body of a forwarding email
will be considered. The parties are directed to refrain from including social security numbers or
personally identifiable information in electronically-filed documents. Proposed exhibits will not
be accepted via electronic filing, but must be filed in hard copy and through JEFS as detailed,
supra.
Dated: December 4, 2024                                                            Digitally signed by
                                                             JOHN      JOHN MULROONEY
                                                             MULROONEY Date: 2024.12.04
                                                                                  10:17:49 -05'00'
                                                             _________________________
                                                             JOHN J. MULROONEY, II
                                                             Chief Administrative Law Judge




                                CERTIFICATE OF SERVICE
       This is to certify that the undersigned, on December 4, 2024, caused a copy of the
foregoing to be delivered to the following recipients: (1) Julie L. Hamilton, Esq., Counsel for the
Government, via email at julie.l.hamilton@dea.gov; James J. Schwartz, Esq., Counsel for the
Government, via email at james.j.schwartz@dea.gov; Jarrett T. Lonich, Esq., Counsel for the
Government, via email at jarrett.t.lonich@dea.gov; and S. Taylor Johnston, Esq., Counsel for the
Government, via email at stephen.t.johnston@dea.gov; (2) the DEA Government Mailbox, via
email at dea.registration.litigation@dea.gov; (3) Shane Pennington, Esq., Counsel for Village
Farms International, via email at spennington@porterwright.com; and Tristan Cavanaugh, Esq.,
Counsel for Village Farms International, via email at tcavanaugh@porterwright.com; (4) Nikolas
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National Cannabis Industry Association, via email at khurshid@greenbridgelaw.com; (5) Dante
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Kallon, Esq., Counsel for Hemp for Victory, via email at and AKallon@perkinscoie.com; (7)
Timothy Swain, Esq., Counsel for Veterans Initiative 22, via email at t.swain@vicentellp.com;
Shawn Hauser, Esq., Counsel for Veterans Initiative 22, via email at s.hauser@vicentellp.com;
and Scheril Murray Powell, Esq., Counsel for Veteran’s Initiative 22, via email at
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email at Rafe.Petersen@hklaw.com; (10) David G. Evans, Esq., Counsel for Cannabis Industry
Victims Educating Litigators, Community Anti-Drug Coalitions of America, Phillip Drum,

                                                9



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Drug and Alcohol Screening Association, via email at thinkon908@aol.com; (11) Patrick
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Cherundolo for Drug Enforcement Association of Federal Narcotics Agents, via email at
executive.director@afna.org and afna.org@gmail.com; (15) Reed N. Smith, Esq., Counsel for
the Tennessee Bureau of Investigation, via email at Reed.Smith@ag.tn.gov; and Jacob Durst,
Esq., Counsel for Tennessee Bureau of Investigation, via email at Jacob.Durst@ag.tn.gov; and
(16) Matthew Zorn, Esq., Counsel for OCO et al, via email at mzorn@yettercoleman.com.
                                                                          Digitally signed by
                                                                          QUINN FOX
                                                             QUINN FOX    Date: 2024.12.04
                                                           _____________________________
                                                                          10:20:30 -05'00'
                                                            Quinn Fox
                                                            Staff Assistant to the Chief Judge
                                                            Office of Administrative Law Judges




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                           UNITED STATES DEPARTMENT OF JUSTICE

                                     Drug Enforcement Administration



    In the Matter of

    Schedules of Controlled Substances:                                  DEA Docket No. 1362
    Proposed Rescheduling of Marijuana                                   Hearing Docket No. 24-44




            ORDER REGARDING VILLAGE FARMS INTERNATIONAL,
         HEMP FOR VICTORY, AND OCO, ET AL.’S MOTION TO RECONSIDER
         On January 6, 2025, Village Farms International, Hemp for Victory, and OCO, et al.
(collectively, the Movants), filed a motion (Motion to Reconsider or MTR) seeking, inter alia,
reconsideration of tribunal’s November 27, 2024 order (Ex Parte Order or EPO) regarding
alleged ex parte communications related to the above-captioned matter.1 MTR at 5-7, 40-43.
The Government timely filed its opposition (Opposition).
         When assessing a motion to reconsider interlocutory decisions that are not case
dispositive, a trier of fact must assess whether there has been a clear error of law, newly
discovered evidence,2 or a need to prevent manifest injustice. Intera Corp. v. Henderson, 428
F.3d 605, 620 (6th Cir. 2005), cert. denied, 547 U.S. 1070 (2006); Firestone v. Firestone, 76
F.3d 1205, 1208 (D.C. Cir. 1996); EEOC v. Lockheed Martin Corp., 116 F.3d 110, 112 (4th Cir.
1997); Virgin Atlantic Airways, Ltd. v. National Mediation Board, 956 F.2d 1245, 1255 (2d Cir.
1992), cert. denied, 506 U.S. 820 (1992).
         Accordingly, inasmuch as the Movants’ Motion to Reconsider sufficiently establishes
none of these regulatory prerequisites, it is herein DENIED.
         In its MTR, the Movants have requested that in the event the relief they seek is denied,
that they be granted leave to file an interlocutory appeal. MTR at 43. Under the DEA


1
  The MTR also seeks preemptive summary exclusion of one of the Government’s proposed exhibits. MTR at 27.
This issue will be reserved if/until the document is offered into the record.
2
  Any evidence purported to be newly discovered, even to the extent conceded as accurate, would not change the
analysis or result in the EPO. That said, I will assume without deciding that the discovery of these new factual bases
upon which to seek relief constitute at least sufficient cause to support the Movants’ petition to file out of time based
on new evidence. Accordingly, that aspect of the Movants’ motion is herein GRANTED.




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 regulations, in most circumstances, an interlocutory appeal requires the consent of the presiding
 administrative law judge. 21 C.F.R. § 1316.62. Specifically, consent requires my certification
 that such an interlocutory review “is clearly necessary to prevent exceptional delay, expense or
 prejudice to any party, or substantial detriment to the public interest.”3 Id. As discussed in the
 EPO, the Movants have not met their burden on the issue of whether an ex parte hearing should
 be conducted,4 and to the extent that they seek an order from me relieving the Administrator
 from her proper procedural role as the proponent of the notice of proposed rulemaking (NPRM),




 3
   There is no specific regulatory requirement that I find that the attendant legal issues are not specious, or that they
 constitute a sound litigation strategy.
 4
   Inasmuch as the factual underpinnings of the EPM and the MTR have been assumed as accurate for the purposes
 of a disposition of this issue, an extensive hearing on the issue would serve no purpose. Further, the cases the
 Movants principally rely upon involve inapplicable facts. In Professional Air Traffic Controllers Organization
 (PATCO) v. Federal Labor Relations Authority (FLRA), 672 F.2d 109, 110-11 (D.C. Cir. 1982) (PATCO I) and
 PATCO v. FLRA, 685 F.2d 547, 574-75 (D.C. Cir. 1982) (PATCO II), the court addressed allegations that actual
 decisionmakers in the process had participated in ex parte communications. There are no like allegations in the
 attendant proceedings. In PATCO II, the court held that no disturbance of the agency’s decision was warranted
 because no taint to the ultimate decision was demonstrated. PATCO II, 685 F.2d at 575. The PATCO II court
 conceded that the agency’s “handling of the case has [not] been a paragon of administrative procedure,” but
 affirmed the decision notwithstanding. Id. at 574. The provision of the Administrative Procedure Act (APA) (5
 U.S.C. § 556(b)) relied upon by the Movants pertains to challenges raising “personal bias or other disqualification of
 a[n ALJ] or participating employee.” MTR at 4-5. There has been no allegation related to me or to any employee to
 be tasked with deciding the case or participating in that decision. Accordingly, this provision appears to be
 inapposite. Further, in contrast to ex parte communication claims, any claims founded exclusively on the DEA’s
 continuing work with advocacy groups, such as the Community Anti-Drug Coalitions of America (CADCA) or
 Smart Approaches to Marijuana (SAM), whether recently or in the past, are wholly unpersuasive. The DEA has
 worked with a multitude of citizens groups over the years in furtherance of its public safety mission, and to
 disqualify any of these groups would be as ill-advised as precluding participation by those who have advocated
 before the Agency (formally and/or informally) for a change in marijuana laws.

                                                            2



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 they have requested relief well beyond my authority to grant.5 The original Ex Parte Motion (Ex
 Parte Motion or EPM) allegations (as well as some new ones raised in the MTR), even if

 5
   These issues were exhaustively addressed in the Ex Parte Order. While the APA and the implementing regulations
 to the Controlled Substances Act (CSA) supply adequate authority to manage active litigation and prehearing
 proceedings, an administrative law judge’s authority is not inherent, not unlimited, and must be strictly cabined by
 the parameters of those sources. In their Motion to Reconsider, the Movants argue the issue of ALJ authority on two
 planes. The first, is purportedly to enlighten the tribunal that it has (and always had) authority to conduct an inquiry
 on alleged ex parte communications. MTR at 26. This argument would possess increased gravitas had it not been
 the case that the EPO, citing the relevant provisions of the APA, actively analyzed and considered the allegations in
 full. The (still correct) EPO held that even if these communications were assumed as true, they would have no
 impact on how the case will be decided. EPO at 7 (citing Raz Inland Navigation Co., Inc. v. ICC, 625 F.2d 258,
 260-62 (9th Cir. 1980)). Ex parte communications do not void an agency decision, but make it voidable if the
 “agency’s decisionmaking process [is] irrevocably tainted so as to make the ultimate judgment of the agency unfair,
 either to an innocent party or to the public interest that the agency [is] obliged to protect.” PATCO II, 685 F.2d at
 564. The MTR raises additional (admittedly equally appalling) allegations of ex parte communication to one side of
 the litigation equation by at least one high-level Agency official to an anti-NPRM entity, in an apparent effort by the
 former to enhance to latter’s chance of selection as a designated participant above others who applied. This
 arguably disturbing and embarrassing revelation, even credited, still does not demonstrate an “irrevocable taint” that
 will affect the ultimate outcome of the proceedings. This is keenly so where the Movants have alleged that the DEA
 came to the table possessed of an “unalterably closed mind.” MTR at 4, 40. If the Agency’s mind was indeed
 “unalterably closed,” it is difficult to imagine that any of the comments of Dr. Sabet would have changed that, or
 that the Agency would not have included the Tennessee Bureau of Investigation (TBI), even without revisions to its
 application. Foolishness does not always result in cognizable prejudice, and it has not done (and will not do) so
 here. I stand unaffected (and certainly unimpressed) by the Agency’s actions in this regard, and in light of the
 results of the recent presidential election and the imminent replacement of the current Administrator (see n.5, infra),
 these developments (whether newly-discovered or otherwise) are unlikely to affect the outcome of these
 proceedings. The second plane persists in its insistence that the tribunal possesses the authority to remove the DEA
 Administrator (that is, the DEA Administrator who is soon to be replaced by the new administration and who
 assigned the ALJ to adjudicate this matter) from her role as the proponent of (and presumably in adjudicating) the
 NPRM. MTR at 39-41. This theory stands as unsupported and strange now as it did when first proposed in the
 EPM. I can no more remove or re-designate the Administrator than I can hold parties in contempt and fine them.
 The strangeness of this unsupported approach is amplified by the fact that the appointment of a new DEA
 Administrator by a different political party is imminent. Similarly, the concept that the Movants are somehow
 entitled to an agency head who is steadfastly convinced of the correctness of their position before the first witness
 has been sworn, is as peculiar as their insistence that the ALJ assigned to the case has some bizarre, inherent
 authority to remove the head of the Agency from its place as the proponent of the NPRM. In this regard, the MTR
 speaks without authority or common sense. If this aspect of the relief it seeks were to be (erroneously) granted, the
 results would be: (1) certain (correct), swift reversal by the Agency or the courts; and (2) a conversion of the
 proceedings from a timely, legally-correct hearing to a circus that would add nothing to the rescheduling cause the
 Movants purportedly espouse. The Movants are not entitled to a perpetual cheerleader-proponent who is forbidden
 from maintaining or evolving her position, and the public would arguably be ill-served by having one. Even to the
 extent that the (current) Administrator holds some reservations as to whether the proposed rescheduling adequately
 discharges her responsibilities under the CSA, the APA is unequivocal that “the proponent of a rule … has the
 burden of proof.” 5 U.S.C. § 556(d). The Movants can (and should) avail themselves of the opportunity to present
 their best case to shoulder that burden. Even if the Agency has not noticed (and does not present) the quality and
 quantum of evidence the Movants subjectively believe it should, there is nothing preventing the Movants from doing
 so, compiling an unimpeachable record of proceedings, and prevailing. It is not the number of Designated
 Participants (DPs) that will carry the day, but the strength of the arguments and evidence presented. A contrary
 result could engender a perpetual evaluation of the strength and precision of the Agency’s case throughout the
 proceedings, with the potential for reconsideration motions at every turn where the Movants find the skill of the
 Government’s counsel wanting. Opposing sides of a litigation equation do not stand in the position of evaluating
 and critiquing the quality of the other side’s case. That is my function and the function of those in the Agency and
 the courts who review my recommended decision. An evidentiary hearing does not lend itself well to an academic

                                                            3



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conceded as having some factual basis, while unseemly and troubling,6 would not (and will not)
affect the outcome of this action. 7

          Notwithstanding the pleas of the Designated Participants that they are anxious for action
on the proposed rescheduling of marijuana, the Movants (a subset of the pro-rescheduling DPs)
are apparently eager to trade a timely disposition and recommended decision8 for the dubious
advantage of piling on more DPs.



experiment where intellectually novel and curious issues are created and tested, just for the sake of doing so. This is
particularly true here, where the American public and the true proponents and antagonists have waited so long,
prepared their cases, and cleared their calendars.
6
  To be sure, the specter of officials at the highest level of Agency management selectively assisting and granting
access to individuals and groups standing in opposition to the NPRM it purportedly supports as the proponent,
carries no small measure of discomfiture. If true, viewed in the best light, these allegations demonstrate a puzzling
and grotesque lack of understanding and poor judgment from high-level officials at a major federal agency with a
wealth of prior experience with the APA. And that is a charitable perspective. But as discussed in the EPO, the true
issue is not discomfiture, but whether the quality of the prior conduct of one or more of the Agency’s functionaries
will affect the outcome of the proceedings. I am certainly not influenced in any way helpful to the Government by
these allegations, and the DPs have not been inhibited in their ability to produce the most persuasive evidence at
their disposal (even including written materials or testimony from those whom the Administrator did not designate).
Even beyond that, as discussed, infra, the appointment of a new DEA Administrator is imminent. In short, there is
practically zero chance that the allegations, even if established by the requisite standard, would affect the fairness of
the adjudication of the NPRM (whether that decision is ultimately for or against its promulgation). That is not to say
that continued misadventures will come without consequences (now or on review by the courts), but on the present
record, I have determined that the outcome of the proceedings will not be adversely affected by the facts as alleged
in the EPM or the MTR. Stated differently, nothing in this order or the EPO should be read to countenance
continued unwise, risky, or careless behavior on the part of the Government. Similarly, the Government should take
heed that, to the extent that it becomes apparent that the actions of the Agency have “irrevocably tainted” the
proceedings, this tribunal is not without viable options that actually are authorized under the law. PATCO II, 685
F.2d at 564-65. For example, there is nothing in the CSA, the APA, or the regulations that would preclude this
tribunal from terminating hearing proceedings and transmitting a decision recommending a restart to the entire
process and the issuance of a new NPRM. There are other draconian procedural options available as well. Stated
differently, the conclusion that an irrevocable taint has not been demonstrated by the Movants is not coextensive
with the conclusion that a duly-appointed ALJ is relegated to standing by as a passive observer without the ability to
act. The Movants here have neither established the requisite level of cognizable prejudice to the ultimate outcome,
nor sought a realistic remedy. By the same token, the Government’s failure to acknowledge in any way the gravity
of the highest levels of its organization allegedly reaching out to help one of the potential DPs fortify its application
to ease the task of justifying its apparently pre-made determination for appeal (Opp. at 8) demonstrates an arrogant
overconfidence that may not serve it well in the future. Likewise, the Government’s dismissive assertion that all
procedural anomalies, irrespective of severity or collective impact, should be directed to the appellate courts (Opp.
at 10) suffers from the same defect. These are formal hearing proceedings, not a deposition.
7
  The Administrative Procedure Act and the DEA regulations authorize the identification, recognition and inclusion
of material facts in the administrative record by the taking of official notice. 5 U.S.C. § 556(e); Attorney General’s
Manual on the Administrative Procedure Act 80 (1947); 21 C.F.R. § 1316.59(e). Accordingly, official notice is
herein taken that in November 2024, a new president from a different political party was elected, and the new
president is scheduled to be inaugurated on January 20, 2025. Official notice is also taken that the current
Administrator has publicly signaled her intention to depart the Agency prior to the inauguration of the new
president. To the extent either party seeks to challenge the factual predicate of the official notice taken in this matter
it may file an appropriate motion no later than fifteen (15) days from the issuance of this order.
8
  Even an adverse decision efficiently rendered would move the ball forward.

                                                            4



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         Even factoring in the reality that sometimes litigants and their representatives should be
mindful of what they wish for,9 to the extent my analysis is found to be in error on review, I am
willing to certify that the allowance of this interlocutory appeal could potentially avoid
exceptional delay, expense or prejudice to the DPs and the Government by injecting appellate
certainty into the equation at this stage of proceedings. Were my analysis to be reviewed on
appeal and determined to constitute prejudicial error, a remand would clearly result in significant
delay and expense to the Designated Participants and the process.
         Accordingly, that aspect of the Movants’ Motion to Reconsider that seeks leave to file an
interlocutory appeal is GRANTED, the hearing on the merits that was scheduled to commence
on January 21, 2025 is CANCELLED, and proceedings in this matter are STAYED, pending a
resolution of the interlocutory appeal to the DEA Administrator.10
         It is further ORDERED that the Movants and the Government provide this tribunal with
a joint status update ninety (90) days from the issuance of this order, and every ninety (90) days
thereafter. Either the Movants or the Government may file the status update, but one party must
file one.
         It is further ORDERED that a briefing schedule will be fixed by the Office of the
Administrator, but all correspondence related to the interlocutory appeal will travel through the


9
  As must have been anticipated by the Movants, an interlocutory appeal returns jurisdiction of the matter to the full
control of DEA Agency leadership in all respects. 21 C.F.R. § 1316.62. The matter is on stay here, and the
Administrator will issue a briefing schedule, entertain oral argument if he/she desires, and issue a binding, written
decision on this tribunal. Id. It may be worth considering, however, that in this case, notwithstanding the plain
language of the regulations, that the definition of an “interested person” includes only “any person adversely
affected or aggrieved by any rule or proposed rule issuable pursuant to [21 U.S.C. § 811]” (21 C.F.R. § 1300.01
(emphasis supplied)), the Standing Order (currently law of the case) balanced a significant level of federal precedent
to render a more nuanced, four-factor view that included persons who actually support the NPRM. That is, persons
are currently included in the litigation that have alleged neither adverse affect nor aggrievement by NPRM. Stated
differently, an interpretation that applies the plain language of the regulation and excludes supporters of the
proposed rescheduling is certainly a perfectly defensible (and some might argue, advisable) legal position for the
Agency to embrace or evolve to. Even now. Naturally, this would be likewise true about an Agency decision to
restart or even withdraw the NPRM. Ironically, had the Administrator elected at the outset to narrow the scope of
participants within the strict parameters of the regulations (that is, to limit inclusion to only those adversely affected
or aggrieved), without any of the unpalatable noise associated with the alleged ex parte communications, it is likely
that such decision would have been easily sustained on review and the Movants would not have the voice they
currently enjoy in these proceedings. Thus, the Administrator’s election to extend a participation invitation beyond
the parameters of the regulation (a decision which is not subject to my review) could conceivably be viewed as an
act of administrative grace aimed at an increased level of inclusivity, but hardly an irreversible one.
10
   While the Movants contemplate that an affidavit they intend to file will be reviewed by both the DEA and the
DOJ (MTR at 5, 41, 44) they have supplied no authority or mechanism that would authorize any action beyond a
review by the DEA Administrator. 21 C.F.R. § 1316.62. In short, there is no indication of how the Movants expect
any affidavit or review would ever be tendered to the Attorney General.

                                                            5



                                                                                                           App.408
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DEA Judicial Mailbox to be forwarded to that office.
Dated: January 13, 2025                                                          Digitally signed by
                                                             JOHN            JOHN MULROONEY
                                                             MULROONEY Date:       2025.01.13
                                                             _________________________
                                                                             16:39:55 -05'00'
                                                             JOHN J. MULROONEY, II
                                                             Chief Administrative Law Judge




                                CERTIFICATE OF SERVICE
        This is to certify that the undersigned, on January 13, 2025, caused a copy of the
foregoing to be delivered to the following recipients: (1) Julie L. Hamilton, Esq., Counsel for the
Government, via email at julie.l.hamilton@dea.gov; James J. Schwartz, Esq., Counsel for the
Government, via email at james.j.schwartz@dea.gov; Jarrett T. Lonich, Esq., Counsel for the
Government, via email at jarrett.t.lonich@dea.gov; and S. Taylor Johnston, Esq., Counsel for the
Government, via email at stephen.t.johnston@dea.gov; (2) the DEA Government Mailbox, via
email at dea.registration.litigation@dea.gov; (3) Shane Pennington, Esq., Counsel for Village
Farms International, via email at spennington@porterwright.com; and Tristan Cavanaugh, Esq.,
Counsel for Village Farms International, via email at tcavanaugh@porterwright.com; (4) Nikolas
S. Komyati, Esq., Counsel for National Cannabis Industry Association, via email at
nkomyati@foxrothschild.com; William Bogot, Esq., Counsel for National Cannabis Industry
Association, via email at wbogot@foxrothschild.com; and Khurshid Khoja, Esq., Counsel for
National Cannabis Industry Association, via email at khurshid@greenbridgelaw.com; (5) Dante
Picazo for Cannabis Bioscience International Holdings, via email at ir@cbih.net; (6) Andrew J.
Kline, Esq., Counsel for Hemp for Victory, via email at AKline@perkinscoie.com; and Abdul
Kallon, Esq., Counsel for Hemp for Victory, via email at and AKallon@perkinscoie.com; (7)
Timothy Swain, Esq., Counsel for Veterans Initiative 22, via email at t.swain@vicentellp.com;
Shawn Hauser, Esq., Counsel for Veterans Initiative 22, via email at s.hauser@vicentellp.com;
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The Commonwealth Project, via email at lauren.estevez@dentons.com; (9) Rafe Petersen, Esq.,
Counsel for Ari Kirshenbaum, via email at Rafe.Petersen@hklaw.com; (10) David G. Evans,
Esq., Counsel for Cannabis Industry Victims Educating Litigators, Community Anti-Drug
Coalitions of America, Kenneth Finn, International Academy on the Science and Impacts of
Cannabis, and National Drug and Alcohol Screening Association, via email at
thinkon908@aol.com; (11) Patrick Philbin, Esq., Counsel for Smart Approaches to Marijuana,
via email at pphilbin@torridonlaw.com; and Chase Harrington, Esq., Counsel for Smart
Approaches to Marijuana, via email at charrington@torridonlaw.com; (12) Eric Hamilton, Esq.,
Counsel for the State of Nebraska, via email at eric.hamilton@nebraska.gov; and Zachary
Viglianco, Esq., for the State of Nebraska, via email at zachary.viglianco@nebraska.gov; (13)
Gene Voegtlin for International Association of Chiefs of Police, via email at
voegtlin@theiacp.org; (14) Patrick Kenneally, Esq. Counsel for Drug Enforcement Association

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of Federal Narcotics Agents, via email at pdkenneally78@gmail.com; (15) Reed N. Smith, Esq.,
Counsel for the Tennessee Bureau of Investigation, via email at Reed.Smith@ag.tn.gov; and
Jacob Durst, Esq., Counsel for Tennessee Bureau of Investigation, via email at
Jacob.Durst@ag.tn.gov; and (16) Matthew Zorn, Esq., Counsel for OCO et al., via email at
mzorn@yettercoleman.com.
                                                                                  Digitally signed by TAYONNA
                                                         TAYONNA             EUBANKS (Affiliate)
                                                         EUBANKS (Affiliate) Date: 2025.01.13 16:48:58
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                                                        Tayonna Eubanks
                                                        Secretary (CTR)
                                                        Office of Administrative Law Judges




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                                                         AFNA
                                         Associa tion of Federal Narcotics Agen ts
                                                          www.afna.org
  Drug Enforcement Adm in istration
  Attn: Honorable A nne Milgram
  870 I M orrissette Dri ve
  Springfi eld, VA 22 152
                                                                                                      February 28, 2024

  Honorable A nne Milgram-

  A s President of the DEAFNA (Drug Enforcement Association of Federal Narcotics Agents), I am writing to urge the
  current Administration not to knowingly fail this country's youth by rescheduling marijuana from the current and justified
  Schedule I classi fication.

  Recent comm unication from the A ssistant Secretary for Health and Human Services ( HHS) in support o r reschedul ing
  marijuana is unfounded and iu direct co11trndictio11 w ith its own SAM HSA (Substance Abuse and Mental Health Services
  Adm in istration) evidence-based l iterature, NSDUH (National Survey on Drug Use and Health) reports, and grantee
  marijuana attestation requ irements.

  N umerous independent studies exist which quantify the steep ri se in incidence of addiction, psychosis and mental illness
  directly resulting from increased marijuana use, especially among adolescents. The nexus between chronic use and mental
  illness is proven to increase homelessness effecting children and veterans the most. Related increases have been well-
  documented in marij uana-im pai red dri v ing incidents, emergency room visits, and hospitalizations. T he negative impact of
  marijuana is undeniable and, in many cases, perma11e11t. Even H HS's own N IDA (National Institute on Drug Abu se)
  continues to publ ish studies warn ing about the significant harmful effects or teen marijuana use including permanent IQ
  reduction and schizophrenia. A dministration support of marijuana rescheduling sends a clear message to our country's
  youth that ri sky behavior is condoned, and mental wellness is di sregarded.

  Lastly, there has been no scienti fic evidence brought forward to support a new ruling for marij uana based on the eight
  factors determinative of control or removal from schedules contained in 21 U.S. Code§ 8 1l (c) or 2 1 U.S. Code §
  812(b)( I ).

  DEA FNA is comprised of retired and acti ve DEA agents, who unquestionably understand th is issue from every
  perspective. In fact, DEA agents are the only federal employees whose sole mission since 1973 has been to enforce the
  controlled substances laws and regulations of the United States.

  We are adamantly opposed to any intentional move that we predict wi ll have such a drastically negative and permanent
  impact on public safety and hea lth. I am attaching a position paper authored by two of our members that addresses our
  concerns in greater detai I.

  Thank you for your consideration or our request.

  Sincerely,


  nt~~F
  Marshall Fisher
  President
  Drug Enforcement Association of Federa l Narcotics Agents ( DEA FNA)
  marshal I fisher@rocketmai I.com




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For the first time in history, to our recollection, the Regulatory and Scientific process has been subverted
by the political process in scheduling of a controlled substance and the integrity of the U.S. prescription
drug market is at substantial risk. The Biden administration and the members of congress believe
rescheduling marijuana will draw votes and lead to a miracle cures. In fact, this movement is driven by a
well-funded lobby effort which is putting dollars and revenue above public health and safety. This is the
same playbook used by special interest groups with tobacco and many of the same special interest groups
involved with tobacco are now involved with the marijuana lobby.

Science and evidence – not public opinion or ideology – should drive public health and policy in America.
In many States that voted for medical and recreational marijuana legalization, we are now seeing evidence
of regret after the increase of marijuana shops and advertising in communities. The promises of a huge
financial windfall and the crippling of the underground economy for marijuana have not manifested,
instead, the black market for marijuana is proliferating. In Colorado, California, and Oregon, most towns,
when given a choice, have rejected having “pot” shops in their communities at the polls.

In our opinion, HHS made the political decision to only focus on data which supports the rescheduling of
marijuana; thereby, making a disingenuous argument the Federal government should consider this effort
due to a political promises; most of the public would not agree with unless the survey questioning was
loaded to answer in the affirmative. The FDA threw out the scientific five fact analysis to determine if
marijuana has any currently accepted medical use. In order to reach their predetermined outcome HHS
changed the criteria at the detriment of the future of our citizens and their health and safety. Why would
FDA now deviate from using this five-factor test and rely on state ballot votes in the determination that
marijuana has accepted medical use? This standard has never before been used to determine if a so-called
medicine is safe for the public.

In our analysis we found, none of the studies used by FDA justify the claim that marijuana is medicine.
One study results indicated mixed or inconclusive results to what it claimed to cure. Another study had
results which were not statistically significant. Yet another study resulted in findings which were
insignificant, and also showed increased risks; thereby, limiting the effectiveness of marijuana.

The Five Part Test which FDA ignored consider:

    •   The drug’s chemistry must be known and reproducible – which marijuana is not unlike other
        pharmaceutical prescription drugs.
    •   There must be adequate safety studies – which a recent following of the medical reporting of the
        link between marijuana use and psychosis and mental illness supports the concept FDA did not
        fully consider safety.
    •   There must be adequate and well-controlled studies proving efficacy – which the above three
        studies used by FDA cut against their own flawed justification.
    •   The drug must be accepted by qualified experts – the American Psychiatric Association stated –
        “marijuana is known to worsen certain psychiatric conditions.
    •   The scientific evidence must be widely available – as stated above we are not sure you can find
        this type of evidence and you will certainly not have medical experts agree on sufficient data
        which concludes marijuana is medicine.

The 2016 scheduling review of marijuana concluded that “Marijuana does not meet ANY of the five
elements necessary for a drug to have a currently accepted medical use”……so FDA developed a “two-
part” test which is reduced down to the fact that if a doctor or health care practitioner prescribes
marijuana under state passage of well-funded industry ballot measures it must have medical use. Nothing
has changed since 2016, except marijuana and marijuana products are more widely available due to well-




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               funded ballot initiatives. The potency and negative impacts upon the U. S. continue to increase and take
               us further away from being close to being able to meet any of the five elements the FDA must consider.

               Consider this https://www.youtube.com/watch?v=KYsWZCf_YMw – we now know this clip to be less
               than accurately shared information. In 2016 DEA justifications addressed the reasons why medical
               practitioners were not qualified to evaluate safety and effectiveness of drugs and that health care
               practitioners did not meet the definition of qualified experts to determine the safety and effectiveness of a
               drug. We can only deduce that FDA clearly knew they could not pass the five-factor test so it appears the
               political leadership of the organizations rather than the career professionals who have experience with
               this, and other drug scheduling efforts developed a modified “two-part” test which would provide FDA
               with the answer they were seeking. This “two-part” test was created to avoid the standards other drug are
               held to, due to the insufficient amount of existing research into the safely and efficacy of marijuana as a
               medicine. Furthermore, a 2023 study indicated that only 10% of physicians who can prescribe medical
               cannabis authorization forms for their patients authorize and prescribe the use of cannabis products.

               As is often cited by the organization Smart Approaches to Marijuana (SAM), scheduling of drugs is not
               directly used to determine criminal penalties for drugs and scheduling is not synonymous with the danger
               of a drug. Rather, it is a technical legal term that categorizes drugs according to their potential for abuse
               and accepted medical value. Marijuana meets the technical definition of Schedule I because it has a high
               potential for abuse and has no FDA-approval for use in medical treatment in the U.S.

               Rescheduling is also a source of major confusion. Rescheduling marijuana – while symbolically
               important for special interest groups – would not have much of a real-world consequence in terms of
               reducing criminal penalties. Recreational use of Schedule II drugs is still illegal and can come with
               significant criminal liability.

               SAM published a six-point plan in 2015 that called for changes such as allowing more licensees to grow
               marijuana for research purposes and establishing compassionate research programs for the seriously ill
               and DEA has made efforts to do exactly that so there can be real Scientific case studies to support such a
               move and “legalize” marijuana, however the special interests group realize that given more time the
               argument for this move will disappear especially given the overwhelming and increasing evidence of the
               link between marijuana use and mental illness. Within the last several weeks there has been more
               reporting on the troubling finding link marijuana use to mental illness.
               https://www.wsj.com/articles/marijuana-is-more-dangerous-than-bidens-hhs-lets-on-psychosis-heart-
               pregnancy-fe409dba

               Also, as pointed out by SAM, there is support to e fast-track the FDA process to extract non-smoked
               medications from the cannabis plant. In the meantime, before we have more cannabis-based FDA-
               approved medications, FDA and HHS should administer a program whereby the truly sick and dying can
               receive yet-to-be approved, non-psychoactive, non-smoked components of marijuana under a special
               research program. However, rescheduling marijuana is neither necessary nor desirable for those actions to
               happen. Rescheduling marijuana would do nothing to allow for more cannabis-based medicines. In fact,
               cocaine is Schedule II today and is not allowed in a widespread fashion. Rescheduling would simply be a
               symbolic victory for advocates who want to legalize marijuana. If legalization is the end game for this
               administration, the more appropriate action would be to clearly state their goal to Congress. This current
               attempt to reschedule marijuana outside the normal protections afforded the public threatens to destroy
               the process by which all drugs are evaluated for medical use in this country. This would have extreme and
               potentially deadly consequences to the American public. Also this would action would be to the detriment
               and integrity of our widely accepted and respected pharmaceutical approval process in the United States,
               as opposed to putting pressure on the Federal Agency who is empowered with scheduling controlled
               substances and following the process congress intended for them to follow rather than the one set forward




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 by this or any administration’s political decision making process within HHS, which is in our opinion to
 the detriment of the United States and its citizens.

 While there are many other factors to consider around this decision and the “legalization” and
 rescheduling of marijuana (safety, health, increases in crime, increases in instances of mental
 illness/addiction and violations of U.S. international treaties and agreements), as it is a very complex
 issue, we wanted to focus on why DEA should reject this recommendation from HHS and FDA on the
 rescheduling of marijuana to Schedule III. The examination and research and scientific case to support
 the HHS recommendation is just not credible. The Drug Enforcement Association of Federal Narcotics
 Agents do not support such a blatant and obvious attempt at circumventing the tried-and-true process of
 approving drugs for the American public.




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                           INTERNATIONAL ACADEMY ON 1"HE SCIENCE ANO IMPACT O F CANNABIS
                                         Doctors Educating on Cannabis


        IASIC
        PO Box 4187
        Burlington, VT 05406-4187

        Drug Enforcement Administration
        Attention: Administrator                                         June 1, 2024
        The Honorable Anne Milgram
        U.S. Department of Justice
        8701 Morrissette Drive
        Springfield, VA 22152

        Dear Administrator Milgram:

        On behalf of the International Academy on the Science and Impact of Cannabis (IASIC), we hereby request a
        hearing regarding Docket No. DEA-1362, A.G. Order No. 5931-2024, the proposed rescheduling of Cannabis from
        Schedule I to Schedule III of the Controlled Substances Act. IASIC is a physician-driven organization of
        international experts on cannabis who are guided by science to provide accurate information to educate the public
        and guide policy making. The co-signatories of this request constitute the leadership of IASIC-all recognized
        experts in the United States and internationally.

        We have an interest in the proceeding as physicians and concerned citizens of the United States of America who
        believe that re-scheduling will have immediate and irreparable harm to the public health.

        We oppose the removal of cannabis from Schedule 1. Our specific objections are:

            1) The Department of Health and Human Services (HHS) wrongly changed the definition of currently
               acceptable medical use (CAMU)
            2) Even under the new definition, cannabis still does not meet the requirements for CAMU
            3) Proper regulation of cannabis as a schedule 3 drug cannot be achieved while non-medical cannabis
               commerce is allowed.

        Attached is a brief discussion of our objections.

        Respectfully Submitted,

         Eric A. Voth, l\ID, FACP                                                      Roneet Lev, MD, FACEP
         Internal Medicine, Pain, Addiction Medicine                                   Drug Policy and Emergency Medicine
         President and Chairman of the Board -IASIC                                    Vice-President of !ASIC & Former Chief
         eavmdtop@aol.com                                                              Medical Officer of the White House ONDCP
         785-272-5872         Cell upon request

         Ken Finn, MD                                                                  Catherine Antley, MD
         Pain Medicine and Drug Policy                                                 Treasurer oflASIC
         Vice-President ofIASIC Past-President of the                                  Board certified in Anatomic and Clinical
         American Board of Pain Medicine                                               Pathology and Dermatopathology




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            Elizabeth Stuyt, MD                                       Russell Kamer, M.D.
            Board-certified Addiction Psychiatrist                    Clinical Associate Professor of Medicine
            Secretary of IASIC                                        New York Medical College




        Statement of Position
        In a letter dated August 29, 2023, the Assistant Secretary of Health recommended that "marijuana,
        referring to botanical cannabis" be moved to schedule 3. Although there are federally regulated
        cannabinoid products that are medicine, 1 botanical cannabis is not. The crude cannabis products that are
        sold in state-legal medical dispensaries, and the way they are distributed based on a licensed health care
        practitioner (LHCP) 'recommendation' rather than prescription, bear little resemblance to modern
        accepted medical practice that requires prescription of specified doses of a purified product of known and
        standardized composition. 2


        Since botanical cannabis did not meet previous criteria for currently accepted medical use
        (CAMU), HHS pretextually changed the definition of CAMU from requiring FDA-approval-or
        meeting FDA's core standards-to (1) "widespread current experience with medical use" of the substance
        in the United States by LHCPs operating in accordance with implemented State-authorized programs; and
        (2) "some" credible scientific support for a least one of those medical uses.


        Even using this broader definition, botanical cannabis fails to meet CAMU criteria.
               (1) "Widespread" implies that the drug is broadly accepted and utilized within the medical
                    community. Nothing can be further from the truth. The HHS argument that 30,000 LHCPs are
                    authorized to recommend the use of marijuana sounds impressive until one considers that this



        1
          Cannabinoid products approved for medicinal use: (1) a synthetic THC (dronabinol) and (2) synthetic
        cannabinoid, nabilone, for treating chemotherapy-associated nausea and vomiting and for stimulating
        appetite in patients with HIV; (3) cannabidiol for treating 2 rare forms of seizures; (4) cannabidiol plus THC in a
        1:1 ratio in 28 countries (not in the US) for treating multiple sclerosis-associated spasticity and neuropathic
        pain. Potenza MN, Bunt G, Khalsa JH. Addiction Medicine Physicians and Medicinal Cannabinoids. JAMA
        Psychiatry. 2023;80(7):659-660. doi:10.1001 /jamapsychiatry.2023.0731
        2
          The world-renowned Cleveland Clinic explained, "Medications are tested for safety and efficacy. They are
        closely regulated, from production to distribution. They are accurately dosed, down to the milligram. Medical
        marijuana is none of those things ... Products such as vaporizers, edibles, oils, tinctures and patches all lack
        uniform dosing specificity. The levels of THC or CBD can differ greatly from one dispensary to another or one
        batch to another." https://newsroorn.clevelandclinic.org/2019/01/10/why-cleveland-clinic-wont-
        recornmend-rnedical-marijuana-for-patients




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               number represents fewer than 3% of LHCPs with prescriptive authority. Further attesting to the
               fact that only a small minority of LHCPs recommend botanical cannabis, data from Colorado
               showed that, in 2022, 0.1 % of LHCPs were responsible for about 73% of the medical
                marijuana certifications. Meanwhile, 98% of eligible LHCP wrote no marijuana
                certifications. 3 Only a fringe minority of LHCPs believe smoking cannabis is medical treatment.
            (2) "Some" scientific support for one medical use is a low bar to clear, but even here the HHS
                analysis fails. They opine that science supports using botanical cannabis for "anorexia related to a
                medical condition; nausea and vomiting (e.g., chemotherapy-induced); and pain." The problem is
                that HHS conflates isolated cannabinoids and crude cannabis products. The scientific evidence
                for these 3 medical uses comes from rigorous studies of the approved cannabinoid medications
                previously listed. 1 It does not follow that botanical cannabis-with multiple active chemicals-
                smoked ad libitum will have the same effect as medications with small specified doses of a single
                active chemical. A case in point is that of nausea and vomiting. While dronabinol has been shown
                to alleviate symptoms of nausea and vomiting, botanical cannabis can lead to intractable
                vomiting--Cannabis Hyperemesis Syndrome. 4 Moreover, safety is a major concern as traffic
                fatalities, psychosis, suicide, violence, depression, mania, maternal-fetal harms, and addiction
                have been associated with use of botanical cannabis. 5
        The DEA states it will consider the marijuana-specific controls that would be necessary to meet U.S.
        obligations under the Single Convention, but ignores the issue of state-legal sales of recreational
        cannabis. Schedule 3 drugs can only be distributed by prescription by DEA registered practitioners. It
        follows that recreational cannabis stores would have to be shuttered and procedures for medical
        dispensaries revamped. These issues need to be addressed prior to a final rule.




        3
          In Colorado, physicians, dentists and advanced practice providers with prescriptive authority may certif_
                                                                                                                  ya
        patient for marijuana. By statute, the Department of Public Health & Environment must report annually the
        number of providers who made medical marijuana recommendations and the number each provider made.
        Colorado Medical Marijuana Registry 2022 Annual Report. https://cdphe.colorado.gov/medical-marijuana-
        registry-data
        4
          Riha R, Winchell R, Safo D, Gentges J. Cannabinoid Hyperemesis Encounters After Medical Legalization in
        Oklahoma. Cureus. 2023;15(1 0):e46465. Published 2023 Oct 4. doi:10.7759/cureus.46465
        5
          Mohiuddin M, Blyth FM, Degenhardt L, et al. General risks of harm with cannabinoids, cannabis, and
        cannabis-based medicine possibly relevant to patients receiving these for pain management: an overview of
        systematic reviews. Pain. 2021 Jul 1;162:S80-96.




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                                                                     Greenbridge Corporate Counsel, P.C.
                                                                                       500 Capitol Mall
                                                                                             Suite 2350
                                                                                  Sacramento, CA 95814
     Khurshid Khoja
     Principal                                                                        greenbridgelaw.com



    June 4, 2024

    Drug Enforcement Administration             Drug Enforcement Administration
    Attn: Hearing Clerk/OALJ                    Attn: DEA Federal Register Representative/DPW
    8701 Morrissette Drive                      8701 Morrissette Drive
    Springfield, VA 22152                       Springfield, Virginia 22152

    Subject: Request for Hearing and Public Comment in Support of Same

    Dear DEA staff:

            The undersigned individual Khurshid Khoja hereby requests a hearing in the matter of Docket
    No. DEA-1362, the DEA’s Proposed Rule re Schedules of Controlled Substances: Rescheduling of
    Marijuana (“Proposed Rule”). As explained further in the comment attached hereto as Attachment
    A, I would be adversely affected or aggrieved by the Proposed Rule, and specifically the Drug
    Enforcement Administration’s proposed definition of “Tetrahydrocannabinol” under 21 CFR
    § 1308.11 offered in the Proposed Rule, which would sweep currently non-scheduled cannabinoids
    without a formal scheduling action as required under the Controlled Substances Act (“CSA”) at 21
    USC §811(a). This would potentially contradict the advice that I, other legal counsel and other
    legally-compliant operators throughout the cannabinoid industries have relied upon in good faith
    for over two decades. Please note that the attached comment is also intended to satisfy the
    requirements of 21 CFR § 1316.47, as it states with particularity the objections and issues on which
    I desire to be heard, and offers a brief summary of my position regarding same.

            Thank you for considering my request for a hearing on the subjects covered herein, and
    in the attached written comment submitted in support of this request. All notices to be sent
    pursuant to the proceeding should be addressed to:

    Khurshid Khoja
    c/o Greenbridge Corporate Counsel, P.C.
    500 Capitol Mall, Suite 2350
    Sacramento, CA 95814


                                                                       Respectfully yours,



                                                                       Khurshid Khoja




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     Request for Hearing in Docket No. DEA-1362 and
     comment to same
     June 4, 2024

                                              Attachment A

    Comment in the matter of Docket No. DEA-1362, the DEA’s Proposed Rule re Schedules of
    Controlled Substances: Rescheduling of Marijuana (“Proposed Rule”) submitted by Khurshid
    Khoja

            I write in my personal capacity as Principal CEO of Greenbridge Corporate Counsel, P.C.,
    as an attorney working in the legal and regulated cannabinoids industry since 2011,
    representing numerous clients in California’s state-licensed marijuana industry, in the federally-
    legal hemp industry, as well as clients and advocacy groups engaged in scientific and medical
    research and development. I am also the former Chair of the National Cannabis Industry
    Association Board of Directors and its current Cochair for Policy, but my comments should not
    be taken to represent the views of NCIA (which may or may not submit a similar comment).

             I strongly oppose any misapplication of the proposed definition to place all non-
    scheduled synthetic cannabinoids under tetrahydrocannabinols (including, but not limited to,
    therapeutically beneficial and non-intoxicating cannabinoids like CBD, THCV and THCA). As
    such, I respectfully ask the DEA to revise the proposed definition of “Tetrahydrocannabinol”
    under 21 CFR § 1308.11 offered in the Proposed Rule to address any potential confusion over
    the definition, and its application to other non-scheduled cannabinoids without a formal
    scheduling action required under the Controlled Substances Act at 21 USC §811(a). I propose
    the following clarifications:

           (30) Tetrahydrocannabinols—7370

           (i) Meaning synthetic equivalents of tetrahydrocannabinols (C21H30O2), except as in
           paragraphs (d)(30)(ii) and (iii) of this section, naturally contained in a plant of the genus
           Cannabis (cannabis plant), as well as synthetic equivalents of the substances contained
           in the cannabis plant, or in the resinous extracts of such plant, or synthetic
           substances,any derivatives, and their isomers with similar chemical structurean identical
           molecular formula and pharmacological activity to that mimics those substances
           tetrahydrocannabinols contained in the plant.

           (ii) Tetrahydrocannabinols do not include any substance, material, compound, mixture,
           or preparation that falls within the definition of hemp set forth in 7 U.S.C. 1639o.



           (iii) Tetrahydrocannabinols do not include any substance, material, compound, mixture,
           or preparation that falls within the definition of marijuana set forth in 21 U.S.C. 802(16).




                                                                                                      2




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        Request for Hearing in Docket No. DEA-1362 and
        comment to same
        June 4, 2024

               (iv) For the sake of clarity, tetrahydrocannabinols do not include cannabidiol,
               tetrahydrocannabinolic acid, tetrahydrocannabivarin or any other synthetic substance
               with a different molecular formula and/or exhibiting different pharmacological activity.

               *****

            My concern is prompted by the DEA’s recent pronouncements, which suggest that the
    DEA may well apply its proposed regulation to lawful non-scheduled synthetically-derived non-
    intoxicating cannabinoids. In a letter from Terry Boos, Chief of the Drug & Chemical Evaluation
    Section of Diversion Control Division of the DEA, dated May 13, 2024 Dr. Boos communicated
    the DEA’s statutory interpretation of both 21 U.S.C. § 812, Schedule I(c)(17) of the CSA and
    Section 7 U.S.C. 1639o of the Agriculture Improvement Act of 2018, Public Law 115–334 (the
    “2018 Farm Bill”), concluding that “cannabis-derived THCA does not meet the definition of
    [federally legal] hemp under the CSA because upon conversion for identification purposes as
    required by Congress, it is equivalent to delta-9-THC,” and “[t]he CSA classifies
    tetrahydrocannabinols (such as THCA) as controlled in schedule I” (emphasis added).
    Respectfully, this would be contrary to Congress’ intent in scheduling THC, and settled law per
    valid federal Circuit Court precedents.

             Federal appellate precedents established prior to the 2018 Farm Bill are instructive on
    this point as they have addressed previous attempts by the DEA to expand the definition of
    “tetrahydrocannabinol,” and are still valid law1 notwithstanding the passage of the 2018 Farm
    Bill. In Hemp Industries Association v. DEA, a trade association representing numerous
    manufacturers and importers of non-psychoactive hemp foodstuffs challenged DEA Final Rules
    which sought to expand the definition of “Tetrahydrocannabinols” to include any naturally
    occurring THC regardless of whether such THC is derived from marihuana or hemp (which was
    more narrowly defined at the time to exclude the flowering tops and resin derived therefrom,
    but still federally lawful if cultivated outside the United States) and would have effectively
    prohibited the theretofore lawful importation and sale of such non-psychoactive hemp
    foodstuffs with even trace amounts of THC.2 In its ruling in Hemp Industries Assoc. v. DEA, the
    Ninth Circuit permanently enjoined the DEA from enforcing the CSA against manufacturers and
    importers of such products. The court held that the DEA could:

               regulate foodstuffs containing natural THC if it is contained within marijuana, and
               can regulate synthetic THC of any kind. But they cannot regulate naturally-

    1
        This holding is still the current law, as the DEA did not appeal the Ninth Circuit’s decision to the U.S. Supreme Court.
    2
      See Clariﬁca+on of Lis+ng of “Tetrahydrocannabinols” in Schedule I, DEA 205-F (published March 21, 2003), 68 Fed.
    Reg. 14114-01, and Exemp+on From Control of Certain Industrial Products and Materials Derived From the Cannabis
    Plant, DEA 206-F (published March 21, 2003), 68 Fed. Reg. 14119-01.


                                                                                                                              3




                                                                                                                    App.420
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        Request for Hearing in Docket No. DEA-1362 and
        comment to same
        June 4, 2024

               occurring THC not contained within or derived from marijuana—i.e., non-
               psychoactive hemp products—because non-psychoactive hemp is not included in
               Schedule I. The DEA has no authority to regulate drugs that are not scheduled, and
               it has not followed procedures required to schedule a substance.3

    While it is absolutely true that THCA has the potential to convert to THC, this was already
    contemplated by Congress in its approach to defining “hemp”. Just as the DEA and federal
    courts acknowledge that Congress did not intend the threshold defined for Delta-9 THC to apply
    to Delta-8 THC, Congress could not have intended for the threshold defined for Delta-9 THC to
    apply to THCA.4 Congress was abundantly clear when it defined federally lawful hemp to
    include

               “all derivatives, extracts, cannabinoids, isomers, acids, salts, and salts of isomers,
               whether growing or not, with a delta-9 tetrahydrocannabinol concentration of not more
               than 0.3 percent on a dry weight basis.”

    Additionally, the USDA already counts the THCA content in pre-harvested hemp toward the
    total THC concentration, so it serves no purpose for the DEA to attempt to classify THCA as
    “equivalent to THC” in contravention of Congress’ intent in both the CSA and 2018 Farm Bill.

            Finally, as a matter of law THCA is currently not a scheduled controlled substance unless
    it’s specifically marijuana-derived. THCA (C22H30O4) has a different chemical structure and
    molecular formula from THC (C21H30O2), is not a “derivative” or “isomer” of THC (nor is it an
    analogue) and being non-intoxicating it does not display the same pharmacological activity as
    THC. Thus, as a different cannabinoid from THC, THCA would need to be scheduled before it
    could be legally deemed the functional equivalent of a Schedule I controlled substance.
    However, THCA has never been through formal scheduling by the DEA, as an examination of the
    Federal Register proves.

            Even as an immediate precursor of THC (per 21 USC §802(23)), THCA still can’t be
    deemed a Schedule I-equivalent based on the DEA’s response to individual correspondence
    (creating an “underground regulation”)—at a minimum, the DEA would need to first issue a
    formal order and publish it to the Federal Register (per 21 USC §811(e) and 21 CFR §1308.47).

               Thank you for considering my comment on the subjects covered therein.

    3
        Hemp Indus. Ass’n v. DEA, 357 F.3d 1012, 1018 (9th Cir. 2004) (emphasis added).
    4
     See AK Futures LLC v. Boyd St. Distro, LLC, 35 F.4th 682 (9th Cir. 2022); see also LeQer from Terrence L. Boos, Chief,
    Drug & Chem. EvaluaVon SecVon, Diversion Control Div., U.S. Dep't of Just. Drug Enf't Admin., to Donna C. Yeatman,
    Exec. Sec'y, Ala. Bd. of Pharmacy (Sept. 15, 2021), hQps://hempindustrydaily.com/wp-
    content/uploads/2021/11/DEA-leQer-to-AL-BOP.pdf.


                                                                                                                         4




                                                                                                               App.421
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     Request for Hearing in Docket No. DEA-1362 and
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     June 4, 2024

                                                            Respectfully yours,




                                                            Khurshid Khoja




                                                                                     5




                                                                                  App.422
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  21 CFR 1316.47 (up to date as of 6/11/2024)
                                                                      21 CFR 1316.47 (June 11, 2024)
  Request for hearing; answer.




  21 CFR 1316.47 (June 11, 2024) (enhanced display)                                      page1of3




                                                                                  App.423
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  21 CFR 1316.47 (up to date as of 6/11/2024)
                                                                                                         21 CFR 1316.47 (June 11, 2024)
  Request for hearing; answer.


  This content is from the eCFR and is authoritative but unofficial.



  Title 21-Food and Drugs
  Chapter II - Drug Enforcement Administration, Department of Justice
  Part 1316 -Administrative Functions, Practices, and Procedures
  Subpart D -Administrative Hearings
        Authority: 21 U.S:C. 811, 812, 871 (b), 875, 958(d), 965.
        Source: ~6 FR,?~?O, Apr. 24, 1971, unless otherwise noted. Redesignated at 3.8.FR 26()09, Sept. 24, 1973.


   § 1316.47 Request for hearing; answer.
             Any person entitled to a hearing and desiring a hearing shall, within the period permitted for filing, file a
             request for a hearing that complies with the following format (see the Table of DEA Mailing Addresses in
             § 1}21.01 of this c::t1a,pt~r for the current mailing address):

       (Date)
                - - 06/12/2024
                    ----------------
       Drug Enforcement Administration, Attn: Hearing Clerk/OALJ Attn: Administrator.
                                                                                   Attn: DEA Federal
                                                               Register Representative/DPW
       (Mailing Address) 8701 Morrissette Drive, Springfield, Virginia 22152


       Subject: Request for Hearing

       Dear Sir:
                           Sage Endoom Cannablisshum                                                       Docket No. DEA-1362
       The undersigned_ (Name of the Person) hereby requests a hearing in the matter of:_ (Identification of the
       proceeding).

       (State with particularity the interest of the person in the proceeding.)            See Next Page

       All notices to be sent pursuant to the proceeding should be addressed to:

       (Name) Sage Endoom Cannablisshum

       (Street Address) 1304 Wilkshire Circle SW

       (City and State) North Canton Ohio 44720


        Respectfully yours,

       (Signature of Person)#                   £,t-:f.5 ~"(,
              A party shall file an answer as required under§§ 1}91 }?(cl) or 1?99.:4§(cl)qftt1i~ c::t1a,p1~r, as applicable.
              The presiding officer, upon request and a showing of good cause, may grant a reasonable extension of the
              time allowed for filing the answer.

  [B]ER 6?Q4§, Nov. 14, 2022]

  21 CFR 1316.47(b) (enhanced display)                                                                                      page2of3




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  21 CFR 1316.47 (up to date as of 6/11/2024)                                              21 CFR 1316.47(b)
  Request for hearing; answer.

      1) state with particularity the interest of the person in the proceeding;
      (2) state with particularity the objections or issues concerning which the person
      desires to be heard; and
      (3) state briefly the position of the person regarding the objections or issues.

      1) I have personally experienced the harms of the drug war on Cannabis within
      the VA Healthcare system causing a missed diagnosis, neglect, abuse,
      poisoning, and attempted murder to cover it up by our government. In addition to
      their plans of entrapment for me, and extensive hacking as well as interference
      with my small business I have been developing based on Vedic, Ayurvedic, and
      Yogic roots and other Ancient alternative healing modalities such as sound
      therapy and education on incorporating Cannabis use into these modalities for
      the entourage effects to be applied and directed effectively from my healing
      protocols as a Disabled Veteran dealing with PTSD and Neurotoxins among
      other Toxic elements from Jet Fuel exposure and a poisonous spider bite under
      my jaw from USMC barracks (I was one to pass the white glove test) and
      multiple serious adverse reactions to VA Pharmaceuticals and Vitamins,
      Treatments, Misdiagnosis's such as (Dissociative Identity Disorder), including
      multiple additional attempts on my life including with mold toxin exposure. I can
      no longer even eat conventional foods or at restaurants. There has also been
      substantial tampering of my food beverages as well as supplements with
      chemicals related to my detoxification process to include people involved in DEA
      operations placing themselves outside my door of my business and chain
      smoking to fill my business with the toxins as their front Food For Lane County
      creates a neighborhood drug den for DEA research and training this is bad for
      Local Businesses as well it is creating a false narrative when it comes to the use
      of substances including Cannabis.
      2) Schedule Three is not good enough, we need full legalization. Our
      Government needs to face the facts. Schedule Ill will only create more problems
      and that is a Vastly understood and completely predictable situation.
      3) my position for is for Full Legalization. I also have complete plans for a
      system that benefits everyone specifically our government financially.




  21 CFR 1316A7(b) (enhanced display)                                                            page3of3




                                                                                            App.425
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  21 CFR 1316.47 (up to date as of 6/11/2024)
                                                                     21 CFR 1316.47 (June 11, 2024)
  Request for hearing; answer.




  21 CFR 1316.47 {June 11, 2024) (enhanced display)                                     page1of3




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   21 CFR 1316.47 (up to date as of 6/11/2024)
                                                                                                         21 CFR 1316.47 (June 11, 2024)
   Request for hearing; answer.

   This content is from the eCFR and is authoritative but unofficial.



   Title 21-Food and Drugs
   Chapter II - Drug Enforcement Administration, Department of Justice
   Part 1316 -Administrative Functions, Practices, and Procedures
   Subpart D -Administrative Hearings
         Authority: 21 U.S.C. 811,812, 871(b), 875, 958(d), 965.
         Source: ~6 FFQS,2,0, Apr. 24, 1971, unless otherwise noted. Redesignated at ~?ER 2.?~9~, Sept. 24, 1973.

   § 1316.47 Request for hearing; answer.
              Any person entitled to a hearing and desiring a hearing shall, within the period permitted for filing, file a
              request for a hearing that complies with the following format (see the Table of DEA Mailing Addresses in
              §}3,?1 :91 gf this, ~h,a,pt~r for the current mailing address):

        (Date)          06/12/2024
                 _ _....;;:;._;;;;..c...._....;;;=--=....;;;;..___;__ _ _ _ _ _ _ _ __




                                                                Attn: Administrator. Attn: DEA Federal
        Drug Enforcement Administration, Attn: Hearing Clerk/OALJ
                                                                Register Representative/DPW
        (Mailing Address) 8701 Morrissette Drive, Springfield, Virginia 22152


        Subject: Request for Hearing

        Dear Sir:
                              Sage Endoom Cannablisshum                                                    Docket No. DEA-1362
        The undersigned_ (Name of the Person) hereby requests a hearing in the matter of:_ (Identification of the
        proceeding).

        (State with particularity the interest of the person in the proceeding.)              See Next Page

        All notices to be sent pursuant to the proceeding should be addressed to:

        (Name) Sage Endoom Cannablisshum

        (Street Address) 1304 Wilkshire Circle SW

        (City and State) North Canton Ohio 44 720


        Respectfully yours,              ()

                                      Jo/ U J'f ~1,
                                                         11




        (Signature of Person)

              A party shall file an answer as required under§§ 1}Q1}?(~) or 1?Q9,:4§(c:i}gfth,is, ~h, 9pt~r, as applicable.
              The presiding officer, upon request and a showing of good cause, may grant a reasonable extension of the
              time allowed for filing the answer.

  [?? FR68045, Nov. 14, 2022]
  21 CFR 1316.47(b) (enhanced display)                                                                                     page2of3




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  21 CFR 1316.47 (up to date as of 6/11/2024)
                                                                                           21 CFR 1316.47(b)
  Request for hearing; answer.

      1) state with particularity the interest of the person in the proceeding;
      (2) state with particularity the objections or issues concerning which the person
      desires to be heard; and
      (3) state briefly the position of the person regarding the objections or issues.

      1) I have personally experienced the harms of the drug war on Cannabis within
      the VA Healthcare system causing a missed diagnosis, neglect, abuse,
      poisoning, and attempted murder to cover it up by our government. In addition to
      their plans of entrapment for me, and extensive hacking as well as interference
      with my small business I have been developing based on Vedic, Ayurvedic, and
      Yogic roots and other Ancient alternative healing modalities such as sound
      therapy and education on incorporating Cannabis use into these modalities for
      the entourage effects to be applied and directed effectively from my healing
      protocols as a Disabled Veteran dealing with PTSD and Neurotoxins among
      other Toxic elements from Jet Fuel exposure and a poisonous spider bite under
      my jaw from USMC barracks (I was one to pass the white glove test) and
      multiple serious adverse reactions to VA Pharmaceuticals and Vitamins,
      Treatments, Misdiagnosis's such as (Dissociative Identity Disorder), including
      multiple additional attempts on my life including with mold toxin exposure. I can
      no longer even eat conventional foods or at restaurants. There has also been
      substantial tampering of my food beverages as well as supplements with
      chemicals related to my detoxification process to include people involved in DEA
      operations placing themselves outside my door of my business and chain
      smoking to fill my business with the toxins as their front Food For Lane County
      creates a neighborhood drug den for DEA research and training this is bad for
      Local Businesses as well it is creating a false narrative when it comes to the use
      of substances including Cannabis.
      2) Schedule Three is not good enough, we need full legalization. Our
      Government needs to face the facts. Schedule Ill will only create more problems
      and that is a Vastly understood and completely predictable situation.
      3) my position for is for Full Legalization. I also have complete plans for a
      system that benefits everyone specifically our government financially.




  21 CFR l316A7(b) (enhanced display)                                                            page3of3




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                                                                                      Aubree Adams
          EVER Y .
          BRAIN                                                                            +719-250-5740 ©
          MATTERS                                                           aubree@everybrainmatters.org e)
                                                                               www.everybrainmatters.org •


    6.13.2024

    Drug Enforcement Administration, Attn: DEA Federal Register Representative/DPW
    8701 Morrissette Drive
    Springfield, Virginia 22152

    Subject: Request for Hearing

    Dear Sir:

    The undersigned, Aubree Adams, hereby requests a hearing in the matter of: Docket No. DEA-136.
    Transferring marijuana from Schedule I of the Controlled Substances Act ("CSA"} to Schedule Ill of the
    CSA.

    My name is Aubree Adams, and I have a particular interest in rescheduling marijuana because of the
    harm it has caused my family and my community in Pueblo, Colorado. I am the founder and director of
    Every Brain Matters, a non-profit community formed by families who have experienced the detrimental
    effects of industrialized marijuana.

    At Every Brain Matters, we challenge the misleading narrative that marijuana is a harmless exercise of
    personal freedom. Through scientific evidence and compelling personal stories, we highlight the reality
    that marijuana is a potent and addictive substance with the potential to cause significant harm. Like
    other addictive drugs, marijuana can and is devastating lives.

     I object to lowering the schedule on marijuana because our communities are ill-equipped to prevent,
     manage, or aid recovery for individuals suffering from cannabis use disorder, cannabis-induced
     psychosis, or cannabinoid hyperemesis syndrome. The marijuana industry, driven by profit and
     predatory practices, spreads misinformation, targets vulnerable populations, and promotes addictive
     products disguised as sugary treats or medicine.

     It is imperative that the voices of American families harmed by marijuana, including my own, are heard
     in the critical discussions around the rescheduling of this drug. Offering tax benefits and regulatory
     approvals for cannabis while families endure the loss of their financial stability and watch the health of
     loved ones deteriorate due to marijuana's effects is a profound social injustice.

     Policy reforms must recognize that marijuana contributes significantly to the rise in addiction, mental
     health issues, homelessness, and violence. My goal is to advocate for policies that expose these truths
     and protect our communities from the predatory marijuana industry.

     All notices to be sent pursuant to the proceeding should be addressed to:
     Aubree Adams
     1909 N. Elizabeth Street
     Pueblo, CO 81003

     Respectfully yours,
     Aubree Adams




     Director, Parent, Advocate




                                                                                                        App.431
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       6.15.2024

       Drug Enforcement Administration, Attn: Administrator
       8701 Morrissette Drive
       Springfield, Virginia 22152




       Subject: Request for Hearing

       Dear Sir:

       The undersigned, Heidi Anderson-Swan, hereby requests a hearing in the matter of Docket No. DEA-136.
       Transferring marijuana from Schedule I of the Controlled Substaces Act ("CSA") to Schedule Ill of the
       CSA.

       I am currently working with Bryn Spejcher. Ms. Spejcher was recently convicted of involuntary
       manslaughter while she was in an acute state of cannabis-induced psychosis. Although she was
       convicted by a jury of her peers, the judge said there was no way Ms. Spejcher could have known that
       using cannabis could make her psychotic or become violent. Part of Ms. Spejcher's sentencing is to
       educate the public about cannabis-induced psychosis.

       I attended every day of the trial. I had particular interest in this trial, in part, because I work with a
       nonprofit that educates about the harms of marijuana, Every Brain Matters (EBM). Since the trial ended,
       EBM has been approved by Ms. Spejcher's probation officers to be the one and only nonprofit to help Ms.
       Spejcher fulfill her community service hours to educate about what marijuana can do to some people.
       This is a dire need in our country today. Most Americans have never heard marijuana can cause a person
       to lose touch with reality, have visual and audible hallucinations and then act out violently based on them.
       I am a speaker and have done presentations on these topics. I am told frequently that I am the first
       person to tell them about the harms. This is inexcusable. If people can be convicted of their actions while
       in cannabis-induced psychosis, they should have informed consent about all of the risks before they
       choose to use it. As it is, the marijuana industry is withholding the growing science about the mental
       health harms of their products which gives the impression their products are benign.

       If marijuana is rescheduled, then the perception of safety will only increase. AJthough what happened with
       Ms. Spejcher is uncommon, EBM has independently researched and found over a dozen cases from
       around the world where the perpetrator was convicted of violence while in cannabis-induced psychosis.
       See document.

       More: The killing occurred on May 28, 2018 in Thousand Oaks, California. This was only months after
       legalization was implemented. There were no warnings about the mental health harms of marijuana, nor
       are there any today. It's a subject I am well-versed in because I have been trying to educate the public
       about it since 2017 when I published the first fictional story to illustrate cannabis-induced psychosis. It's
       called A Night In Jail. Using the book as a platform, I have reached out to public health organizations,
       educational systems, mental health organization and the media. The overwhelming response I have
       received has been that they ignore the studies showing the risks. They also refuse to pass the information
       along to the public.

       Additionally, I volunteered with two bills in the California Legislature to put basic protections on high THC
       products. One to provide mental health warnings, not dissimilar to what we have on cigarettes, and the
       other was to provide protections so that toddlers would not mistake highly psychoactive candies as
       something they would eat. Both of these commonsense bills failed due to pressure from the industry. So
       we have no consumer protections in California.




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       This sets the stage for what happened to Ms. Spejcher and the friend she tragically killed, Chad O'Melia.
       They are both victims of the misinformation provided by this addiction industry, the California Legislature,
       the media and public health organizations. Originally from Illinois, Ms. Spejcher is a Doctor of Audiology.
       She was newly employed with UCLA to set up their satellite office in Thousand Oaks. She has never
       used drugs illegally. She has only used marijuana less than ten times in her life. She met Chad O'Melia at
       a dog park. He was a daily user. This did not raise a red flag to her because she had heard: it's legal, it's
       safer than alcohol, you can't overdose on it. Mr. O'Melia gave Ms. Spejcher a massive amount of THC all
       at one time. Being a na'ive user, she believed the industry's messaging and assumed all marijuana was
       mild with no negative consequences. After ingestion, she lost touch with reality and lost control of her
       body. In and out of consciousness, she watched her own actions as she stabbed Mr. O'Melia to death.
       She then stabbed herself in her own neck. When the officers broke in, they had to tase her and beat her
       with a baton to get her to stop stabbing herself. Had they not intervened, she would not have survived.

       The public is uninformed. Marijuana should stay in Schedule I.

       All notices to be sent pursuant to the proceeding should be addressed to:

       Heidi Anderson-Swan
       736 Gould Ave '#6
       Hermosa Beach, California 90254




       Speaker, writer, advocate, producer




                                                                                                                 App.433
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                 EVERY.
                 BRAIN
                 MATTERS


                            THC-Psychosis and Violence
     The following is a list of violent incidents in which cannabis use or cannabis-induced
     psychosis played a role in the criminal charges and sentences. The attacks took place in
     several different countries, and the attackers were of varied races and ethnicities. Several
     perpetrators regained lucidity after stopping cannabis use. The sentences vary wildly from
     no jail time to 50 years in prison, but none were convicted of first-degree murder.

     The incidents have several similarities:

      •   Most had a sudden onset of violent behavior.
      •   Knives or other sharp objects were used as the weapon.
      •   The perpetrator had no motive.
      •   Violence incidents were against family or friends with whom the perpetrator had no
          animosity.
      •   Violent acts were brutal.
      •   The perpetrator did not plan or try to conceal the crime.
      •   The perpetrator did not seem to feel pain when police used physical force to stop the
          assault.
      •   The age of the perpetrators was mainly in their twenties or early thirties, with some
          older.
      •   Gender was overwhelmingly male.


     2024-Rockford, Illinois-Christian Soto, 22, is facing four counts of first-degree murder
     after he stabbed and killed four people after using marijuana supplied by his friend whom
     he killed. He claims the marijuana was laced, and he became psychotic and grabbed a knife
     from the kitchen. (Ongoing).

     2024 - Dublin - Diego Costa Silva was found not guilty by reason of insanity due to
     cannabis-induced psychosis when he killed and decapitated his wife. Both psychiatrists
     agreed that the psychosis was not due to acute intoxication of the drug but a more
     persistent illness of cannabis-induced psychosis, with the court hearing that the accused
     persisted in displaying psychotic symptoms eleven days after he was arrested and
     detained. Silva believed his wife was a serpent, and he had to cut off her head after
     strangling and stabbing her to make sure she was dead.

     2024 - California - B._ry.!l..S~j~ killed O'Melia in Thousand Oaks, California, when she was
     28. The charge was reduced from 2nd-degree murder when the prosecution expert




                                                                                            App.434
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     determined she had an episode of cannabis-induced psychosis after being given cannabis
     in a bong by O'Melia. She stabbed O'Melia 108 times and then stabbed herself. Police tased
     her and used their baton nine times before she dropped the knife.

     2023 -Pennsylvania - Babysitter Lavrius Watson, 28, was sentenced to 15-40 years after
     pleading guilty to 3rd-degree murder. He stabbed and killed a 41-year-old mom of kids he
     was babysitting with a kitchen knife after they shared marijuana cookies, and he had an
     adverse reaction.

     2021- Iowa - Paul Belk, 32, was sentenced to 50 years in prison for stabbing his mother 16
     times with a knife and scissors in 2020. He must serve 35 years before being eligible for
     parole. The defense said he was insane at the time; the judge said his marijuana use kept
     him from forming intent, so the judge convicted him of 2nd degree instead of first-degree
     murder.

     2021- UK Jacob Notman, 28, pied guilty to manslaughter for stabbing his girlfriend 30 times
     after eating a marijuana brownie. He was cleared of murder due to lack of intent after the
     crown heard evidence that he was having a psychotic break due to the "bad cannabis trip."
     The phone video recorded the horrific attack. The judge said cannabis can be very
     dangerous. "It is an illegal drug for good reason."

     2021-France-Kobili Traore, France's highest court, ruled that Traore would not have to
     stand trial for the 2017 killing of a Jewish woman by throwing her over a balcony. Traore was
     a heavy cannabis smoker who was found to have been "delirious" at the time and, therefore,
     not responsible. He had been in psychiatric care since the event. The ruling drew
     widespread protests.

     2021-Seattle-BuckeyWolfe, 26, was charged with 2nd-degree murder for killing his
     brother with a 4-foot-long sword in 2018; Wolfe was under the delusion that his brother was
     a lizard. His social media posts, which were taken down, show psychotic posts and cannabis
     use. Some family members said Buckey should "smoke more pot to calm himself down."

     2020- Edmonton, Canada - Jason Dickout pied guilty to manslaughter after being charged
     with 2nd-degree murder and was sentenced to 3 years and nine months for stabbing and
     killing his mother in 2017 when he was 30. He had used marijuana with his sister, and the
     court determined he had an episode of extreme but "transient cannabis-induced
     psychosis." And the court concluded that without cannabis, the incident would not have
     occurred. He was also sentenced to treatment and three years probation.

     2020-Japan - Satoshi Uematsu, 29, was found guilty of 2016 stabbing and killing 19
     people and injuring 26 in a care facility where he had worked and sentenced to death. His
     defense had been planning to argue that he had had cannabis-induced psychosis at the
     time (which had been previously diagnosed.) He was found competent to stand trial. As of
     2022, he was appealing his sentence.




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     2019 - British Columbia - Adam Kehl, 30, pied guilty to manslaughter and was sentenced to
     5 years less time served for stabbing and beheading his father in 2018. He was judged to
     have been suffering from "cannabis-induced psychosis." A heavy cannabis user became
     psychotic after using during a gathering of 14 people. He was heard howling like a wolf and
     was seen stabbing at his father's body. He seemed oblivious when police shot him with
     rubber bullets. He had no psychotic episodes since the attack. "Adam said he was unaware
     cannabis could lead to such a thing and, had he known, he would never have started."

     2018-Ontario, Canada-Mark Philljp_s, 36, a lawyer, pied guilty to one count of assault
     reduced from aggravated assault when he attacked an immigrant family with a baseball bat
     in 2017. He was given no jail time. He claimed to be suffering from cannabis-induced
     psychosis. He had smoked several joints on the day of the attack. After stopping the use of
     cannabis in jail, he became clear-headed.

     2017-Colorado-Richard Kirk, 50, pied guilty to 2nd-degree murder for killing his wife in
     2014 with a gun after eating a marijuana edible and was sentenced to 30 years. Kirk had
     initially pied not guilty because of insanity but changed his plea to avoid a trial for 1st-
     degree murder and life in prison. The defense had been planning to say he was suffering
     from psychosis after eating the marijuana; only THC was found in his system.

     2015 - Melbourne, Australia - Easton Woodhead, 20, was found not guilty of murder for the
     stabbing death of a homeless man due to "mental impairment." He had been smoking
     cannabis daily and believed he was the son of a werewolf. The defense asserted he was
     suffering acute psychosis and pointed out he turned the knife on himself at some point.

     2007 - Thousand Oaks, California - Calvin Sharg was sentenced to life without parole for
     stabbing a 6-year-old boy to death with a meat cleaver and injuring two others. The defense
     argued he was a paranoid schizophrenic, but the prosecution said he was in a marijuana-
     induced and "fluctuating" psychosis. The judge did not accept that Sharp was insane at the
     time of the crime.

     1983-British Columbia-Bruce Blackman, 22, was found incompetent to stand trial after
     being accused of first-degree murder for the killing of 6 family members. Blackman was a
     heavy user of cannabis and used cannabis prior to the murders. He had been experiencing
     psychotic symptoms for some weeks and paranoid delusions.




                                        EveryBrainMatters.org




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      June 16, 2024

      Drug Enforcement Administration,

      Attn: Administrator- DEA Federal Register Representative/DPW-Hearing Clerk/OALJ

      8701 Morrissette Drive, Springfield, Virginia 22152.

                                           Subject: Request for Hearing

      Dear Sir:

      The undersigned David Heldreth hereby requests a hearing in the matter of: DEA rule proposal:
      Schedules of Controlled Substances: Rescheduling of Marijuana also identified as Docket No.
      DEA-1362 and A.G. Order No. 5931-2024.

      (1) state with particularity the interest of the person in the proceeding; (2) state with particularity
      the objections or issues concerning which the person desires to be heard; and (3) state briefly the
      position of the person with regard to the objections or issues.

      I would like to verify standing in the rule-making by asserting that:
          1.) David Heldreth is currently not licensed by the DEA.
          2.) David Heldreth uses cannabis for nerve pain and related issues. Moving marijuana and
               related items to schedule 3 will not increase my access to the use of THC/marijuana and
               related items for medical use. Rather the government/HHS/FDA/DEA should have, based
               on the evidence found it should be de-scheduled.
          3 .) David Heldreth has research, IP and patent filings that incorporate marijuana, cannabis,
               THC and related items.
          4.) David Heldreth will be harmed if marijuana is moved into Schedule 3 instead of being de-
               scheduled and will be disadvantaged compared to those people and entities that have
               schedule 3 licensing. Rather than schedule 3, marijuana should be de-scheduled.
      Now in regards to the current rule-making, let us begin:
          A) To start there are apparent errors in the rulemaking process, in that the DEA did not
             consult with tribal governments as required under Executive Order 13175.
       The rulemaking references active Executive Order 13175 - Consultation and Coordination with
       Indian Tribal Governments -however, it asserts that no such consultation with tribal
       governments is necessary, or as stated directly below:
       "This proposed rule does not have tribal implications warranting the application ofE. 0. 13175.
       It does not have substantial direct effects on one or more Indian tribes, on the relationship
       between the Federal Government and Indian tribes, or on the distribution ofpower and
       responsibilities between the Federal Government and Indian tribes. "

       This statement is incorrect as this rulemaking will change the status of a substance under federal
       law from Schedule 1 to Schedule 3 it will then as such require changes to tribal law enforcement,
       tribal health care via independent or Indian Health Services, and other programs. Reservations are




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      regulated as federal lands and many tribal law codes reference federal law and the Controlled
      Substances Act. As such the current rulemaking will create a situation in which tribal
      governments and law enforcement will be required to train law enforcement on the new laws and
      this alone will impose direct costs on tribal entities and governments. Additionally, the costs of
      any enforcement of these new laws incurred from arrests, testing, jailing, etc. which falls on tribal
      governments again represent burdens and reasons for the DEA/Department of Justice to conduct
      a tribal consultation prior to rulemaking as is required under EO 13175. From the text:
      "To the extent practicable and permitted by law, no agency shall promulgate any regulation that
      has tribal implications, that imposes substantial direct compliance costs on Indian tribal
      governments, and that is not required by statute, unless:
      (1) funds necessary to pay the direct costs incurred by the Indian tribal government or the tribe
          in complying with the regulation are provided by the Federal Government; or
      (2) the agency, prior to the formal promulgation of the regulation,
      (A) consulted with tribal officials early in the process ofdeveloping the proposed regulation;
      (B) in a separately identified portion of the preamble to the regulation as it is to be issued in the
          Federal Register, provides to the Director of 0MB a tribal summary impact statement,
          which consists ofa description of the extent of the agency's prior consultation with tribal
          officials, a summary ofthe nature oftheir concerns and the agency's position supporting
          the need to issue the regulation, and a statement of the extent to which the concerns of
          tribal officials have been met; and
      (C) makes available to the Director of 0MB any written communications submitted to the
          agency by tribal officials. "

      Additionally, under the current DOJ tribal consultation policy, the DEA and DOJ are tasked to
      not narrowly define when it is necessary to consult tribal governments, but to do so in a way that
      is widely encompassing and to err on the side of consulting, rather than not. From the DOJ' s
      own tribal consultation policy:

       "The requirements ofExecutive Order 13175 and this Policy Statement generally will be
      construed liberally infavor ofConsultation on any given policy as defined above with
      Tribal implications. Consultations may be organized in a variety of ways, from a single
      group discussion to a more iterative process involving a series ofdiscussions. All
      decisions regarding whether and how to conduct a Consultation, or whether a given
      policy or topic has Tribal implications, will be coordinated with the Department's Office
      of Tribal Justice. "

      There are 574 federally recognized tribes and around 258 tribal law enforcement agencies.
      That is a large amount of affected tribal entities and a large impact. As such I ask that the DEA
      withdraw the current rulemaking and begin the mandated tribal consultation process under EO
      13175 and DOJ's own policy. The DOJ policy also requires notice at least 30 days before the
      date of consultation.

      As such David Heldreth requests the rulemaking at hand be:




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          1. Withdrawn; and conduct tribal consultation which begins with a publication of notice
             seeking tribal input before rulemaking. The rule can be re-submitted for public comment
             and hearings after this is done.
          B) The next issue at hand that must be dealt with is, the DEA's current rulemaking
              references the Regulatmy Flexibility Act
      David Heldreth is a shareholder in Panacea Plant Sciences, itself is a small business that qualifies
      under the Regulatory Flexibility Act to have consultation. PPS researches cannabis, does not
      have a DEA license, and has had to keep focus on hemp due to federal law, except when
      working with groups in other countries. Moving marijuana into schedule 3 from schedule 1,
      instead of de-scheduling will hurt PPS and give preferential treatment to those with DEA
      schedule 3 or other licenses.
       There are hundreds to thousands of hemp farms that would qualify under similar circumstances.
       There are also universities and other entities which would qualify. As such there is ample reason
       to follow the Regulatory Flexibility Act.
       From the Regulatory Flexibility Act:
       "§ 602. Regulatory agenda


       (a) During the months of October and April of each year, each agency shall publish in the
           Federal Register a regulatory flexibility agenda which shall contain -

       (1) a brief description of the subject area of any rule which the agency expects to propose or
           promulgate which is likely to have a significant economic impact on a substantial number
           of small entities;                                                 •

       (2) a summary of the nature of any such rule under consideration for each subject area listed in
           the agenda pursuant to paragraph (1), the objectives and legal basis for the issuance of the
           rule, and an approximate schedule for completing action on any rule for which the agency
           has issued a general notice ofproposed rulemaking, and

      (3) the name and telephone number ofan agency official knowledgeable concerning the items
          listed in paragraph(]).

      (b) Each regulatory flexibility agenda shall be transmitted to the Chief Counsel for Advocacy
          of the Small Business Administration for comment, if any.

      (c) Each agency shall endeavor to provide notice of each regulatoryjlexibility agenda to small
          entities or their representatives through direct notification or publication ofthe agenda in
          publications likely to be obtained by such small entities and shall invite comments upon
          each subject area on the agenda.

      (d) Nothing in this section precludes an agency from considering or acting on any matter not
          included in a regulatory flexibility agenda, or requires an agency to consider or act on
          any matter listed in such agenda;   J)




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       We would like to let it be known that this rulemaking was not included on the DOJ or DEA
       Regulatory Flexibility Agenda. We would like the rulemaking withdrawn until this can be
       done.
       As such David Heldreth requests the rulemaking at hand be:
               Withdrawn; and hold a small business and entity consultation which begins with a
               publication to that end prior to rulemaking in 2024 and potential final rulemaking in
               2025.

           C) David Heldreth disagrees with the proposed placement of marijuana in Schedule 3, and
              instead finds that it should rather be removed from control completely and de-
              scheduled.
           Although, international treaties may tie the United States to controlling marijuana, THC
               and other compounds; it is unlikely that this treaty violation will lead to any negative
              outcome. Canada has similarly moved to make marijuana a medicine and even went
               further to make it a regulated recreational item. There has been no backlash to this
               move and no consequences for them. As such the UN and the treaty parties are in
               effect silently complicit.
           If marijuana is placed into a schedule, it should rather than schedule 3, be placed into
               schedule 5 due to its relative safety.
           Additionally, cocaine was allowed as an unapproved by the FDA drug for medical use
              until 2019, when it was approved under branded formulations by several companies.
           https://wwvv.fda.gov/drugs/unapproved-drugs/fda-notification-regarding-cocaine-
               hydrochloride-solution-products
            However, the allowance as an unapproved drug use, was via grandfathering, but that was
              on the principal that the cocaine was pure and always an exact item in the
              grandfathered drug formulations from prior to 193 8. Cocaine is and was derived from
              a plant source, Erythroxylaceae coca, which produces several tropane alkaloids and
              other compounds. In fact, most cocaine is not pure cocaine, but rather a mixture of
              compounds extracted from the plant, unless chemically purified in a modem lab. This
              is important because there have been attempts to have marijuana allowed as a drug for
              medical use via the same grandfathering mechanism that allowed cocaine as an FDA-
              unapproved drug to be used for medical use. However, the DEA/HHS/FDA denied that
              petition saying that they cannot verify the contents of the pre-193 8 drug compounds as
              they are only labeled as marijuana flower or extract and not by compound (ie THC,
              CBD) However, again cocaine was allowed with unknown variation, but due to this
              same type of variation, this medical marijuana grandfather petition was denied.
           https://www.regulations.gov/document/FDA-2011-P-0671-0001




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         This and the move to block wider access to cocaine for medical use, but instead only allow
            phannaceutical branded approved versions, appear to be a move to consolidate the
            wider industry and supply of medicines into a small group of companies and people.
         I make these points to argue that raw dried marijuana flower and marijuana/marijuana
            extract and/or tinctures should be allowed to be manufactured by DEA-licensed
            marijuana cultivators, manufacturers and compound phannacies. Marijuana should
            then be allowed to be prescribed by doctors nationwide and filled by pharmacies.
         Grandfathering (exempting from DEA/FDA regulation) state medical cannabis producers
            would also be a potential option.
         Additionally, patients should be allowed to seek a prescription and if granted to seek a
            DEA license as a manufacturer and distributor/dispensary to cultivate/dispense their
            own medical cannabis, or to do so in a collective with other patients. Patients could
            also import from Canada if allowed. The DEA is currently entering into agreements
            with religious organizations and churches to allow for their cultivation/importation and
            use of schedule 1 substances. If these smaller, non-commercial organizations are being
            allowed to have DEA licenses, then there is no reason why such a similar scheme
            could not be developed to provide access to the medical patients in the United States
            that wish to have immediate access, and to control their own supply of medication.
         https://www.marijuanamoment.net/federal-settlement-will-allow-arizona-church-to-
             import-process-and-use-ayahuasca-as-religious-sacrament/
         If the DEA, FDA, HHS and related agencies do not either, approve raw
              cannabis/extracts/tinctures as a FDA approved medication, provide a grandfather
              option via FDA/DEA as unapproved, but allowed medications, or allow state medical
              cannabis to be federally legal, then this rule-making does nothing to provide access to
              patients, and is effectively worthless except that providing 280E tax relief for federally
              illegal state medical cannabis businesses. There will be no reduction in costs or
              difficulty for research by this rule-making either, the only effective difference for
              research in schedule 1-3 is which box is checked on forms.
         However, although marijuana as a botanical product and medicine may be safe, there are
           risks from marijuana and cannabis derivatives and products which has been seen in the
           public via the EVali, lung injury vaping outbreak in 2020, 2,800 people were hanned
           and 68 died.
         https://www.yalemedicine.org/conditions/evali
         This outbreak primruily affected cannabis and hemp markets. One of the problems is the
            lack of regulations and the often lax regulations at the state levels. This leads to
            unregulated flavors/terpenes/cutting agents, from non-cannabis sources being added.
            For example vitamin e acetate, creating issues in the lungs with Evali was cited
            primarily via the acetate. However, companies in the hemp industry are now creating
            products with THC-O-Acetate that are inhaled, creating similar dangers.




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           https://www.ncbi.nlm.nih.gov/pmc/articles/PMC98 l 3278/
           Squalane was another large problem in Oregon, and other states. Squalane was sold by
              companies as a diluent.
           https://mj bizdaily .com/oregon-cannabis-regulators-ban-additives-first-seen-in-vaping-
               crisis/
           Mold and pesticides are also common in the state marijuana industry, and often under or
             un-reported. Testing is not done at the appropriate frequency and intensity for product
              safety. For example, Washington State only does pesticide testing of marijuana on
              random testing that takes years for every company to be tested. As such it took years
              for the state's marijuana regulator to find out that DDT derivative DDE had been
             identified in marijuana products, likely due to the farmland being used for other crops
              previously. A bulletin from the regulator on the issue can be found here:
              https://content.govdelivery .com/accounts/WALCB/bulletins/3 64 73ba.
           As such, David Heldreth asks the government to regulate cannabis, hemp and marijuana
              products for safety, and use this rule-making to also apply the deeming rule under
              tobacco inhalation product rules to require the products to be held to the same
              standards of safety at a minimum if unscheduled.
           However, if placed into Schedule 3, 4 or 5, due to the myriad problems with essentially,
             every state medical or recreational marijuana and hemp programs, David Heldreth asks
             the government to regulate medical marijuana standards at a federal level so that the
             country has a consistent, fair, safe market for patients and business.
           D) The DEA ALJ we believe is unconstitutional as similar ALJ schemes have been found
              so by the Supreme Court. As such I believe that this rule-making should if hearings
              are held, be heard instead of the ALJ in federal court. Also there are Chevron
              deference issues. These all likely are being addressed, while indirectly, in the Supreme
              Court via the Jarkesy v SEC lawsuit. As such I hold that the currently rule-making
              should be stayed until the Jarkesy ruling is final.


       Further evidence and information will be presented in the future.

       All notices to be sent pursuant to the proceeding should be addressed to:

       David Heldreth

       14321 Se 49 th St

       Bellevue WA 98006

       Respectfully yours,




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Drug Enforcement Administration
Attn: The Honorable Anne Milgram, Administrator
8701 Morrissette Drive
Springfield, Virginia 22152

Drug Enforcement Administration
Attn: Hearing Clerk/OALJ
8701 Morrissette Drive
Springfield, Virginia 22152

Drug Enforcement Administration
Attn: DEA Federal Register Representative/DPW
8701 Morrissette Drive
Springfield, Virginia 22152
                                                                     June 16th, 2024

                                    Re: Request for Hearing
                                        Docket No. DEA–1362

Dear Administrator Milgram,

       The undersigned, National Drug and Alcohol Screening Association (NDASA)

hereby requests a hearing in the matter of: Docket No. DEA-1362; A.G. Order No. 5931-

2024, “Schedules of Controlled Substances: rescheduling of Marijuana”. In accordance

with 21 U.S.C. 811 and 812, the purpose of this requested hearing would be to ‘‘receiv[e]

factual evidence and expert opinion regarding’’ whether marijuana should be transferred

to schedule III of the list of controlled substances.

       The Notice of Proposed Rulemaking (NPRM) issued in this matter contains a

significant number of factual inaccuracies.        In accordance with 21 CFR sections

1308.44(a) and 1316.47(a), we respectfully request that you grant a hearing on the record

to consider the factual documentary evidence and expert witness testimony we would

proffer to prove factual inaccuracies submitted by the Department of Health and Human

Services (HHS) and upon which the Drug Enforcement Administration (DEA) and the


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Attorney General are expected to rely for the decision about rescheduling marijuana from

Schedule I to Schedule III under the Controlled Substances Act (CSA).

        In accordance with 21 U.S.C. 811 and 812, the purpose of a hearing would be to

‘‘receiv[e] factual evidence and expert opinion regarding’’ whether marijuana should be

transferred to schedule III of the list of controlled substances. We recognize the HHS’s

scientific and medical determinations are accorded ‘‘significant deference’’ through the

rest of the rulemaking process. However, scientific and medical determination based on

flawed factual assumptions and incorrect data should not be afforded such deference.

We respectfully submit that flaws in reasoning and incorrect factual assertions should be

addressed by an administrative law judge, as the decider of fact, in this formal rulemaking

process.

        Before a final decision is reached on rescheduling, we respectfully request a

hearing on the factually incorrect assertions of HHS, upon which the DEA and the

Attorney General are relying in the proposal to make marijuana a Schedule III drug under

the Controlled Substances Act. It is essential that the final rule rests upon solid reasoning

and reliable facts.



Statements required per 21 CFR 1308.44(a) and 1316.47(a)

   I.      State with particularity the interest of the person in the proceeding.

        NDASA’s interest in this matter is to continue protecting commercial and public

transportation safety. Our non-profit association, NDASA, represents a diverse coalition

of employers and contractors, including medical professionals, substance abuse

professionals, laboratory and toxicological experts, certified drug and alcohol collections



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professionals, designated employer representatives, major transportation industry

employers and their professional associations, large and small business owners, who are

on the front lines of protecting the traveling public via safe operations of commercial and

public transportation in our nation.    Our membership reaches tens of thousands of

employers and millions of American workers nationally.

       NDASA and its membership are extremely concerned about the unintended

consequences of rescheduling marijuana from Schedule I to Schedule III of the CSA.

Specifically, such rescheduling would end the United States Department of

Transportation’s (DOT) ability to test safety-sensitive transportation employees for

marijuana drug testing and effect deterrence for commercial transportation safety-

sensitive employees across the nation.        Transportation safety sensitive employees

include, but are not limited to: airline pilots, air traffic controllers, school bus drivers,

subway and train operators, ferry operators, pipeline operators and truck drivers. These

safety-sensitive employees have been subject to testing for marijuana and other drugs

since shortly after catastrophic accidents caused by marijuana use occurred in the mid

and late 1980s.

       Rescheduling marijuana to Schedule III would abruptly end DOT-regulated testing

for marijuana would have a profoundly detrimental impact on transportation safety in the

United States, potentially endangering American citizens. As mentioned above, our

members are on the front lines of protecting the safety of commercial and public

transportation nationwide. We are deeply invested in maintaining effective measures to

prevent needless accidents caused by those under the influence of marijuana and other

impairing substances.



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       The connection between the rescheduling of marijuana and the impact on

commercial transportation safety was never discussed in the NPRM in this docket, so it

is fair to conclude that there is a significant and dangerous blindside in this rulemaking.

On the Federal side, air traffic controllers employed by the Federal Aviation Administration

(FAA) would also no longer be subject to the deterrence and detection ensured by Federal

marijuana testing. It is in NDASA’s interest to raise these issues to the attention of the

DEA and the Attorney General – to prevent potentially catastrophic accidents and loss of

life as a result of the rescheduling of marijuana.

       This important connection to the rescheduling of marijuana and transportation

safety that was not addressed in the NPRM was created through the Omnibus

Transportation Employees Testing Act of 1991 (OTETA), codified at 49 U.S.C. 45102 and

45104 (aviation industry testing), 49 U.S.C. 20140 (rail), 49 U.S.C. 31306 (motor carrier),

and 49 U.S.C. 5331 (transit). OTETA requires the DOT to follow the Substance Abuse

and Mental Health Services Administration of HHS for the science of drug testing,

including the drugs and cutoffs, which are set forth in the HHS Mandatory Guidelines.

OTETA also requires DOT to use only HHS-certified laboratories for all drug testing

required by DOT.

       However, HHS does not have authority to test for Schedule III drugs. The authority

of HHS to test for and to certify laboratories for testing is provided by Executive Order

12564– Drug-free Federal Workplace of Sept. 15, 1986 (E.O. 12564). Under E.O. 12564.

HHS is only authorized to test for drugs and certify laboratories to test for drugs that are

in Schedule I or II for the CSA. Specifically, E.O. 12564, Section 7(c) states: “For

purposes of this Order, the term ‘illegal drugs’ means a controlled substance included in



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     Schedule I or II, as defined by section 802(6) of Title 21 of the United States Code”. 1

     Sections 3.2 (a) of both the HHS Mandatory Guidelines for Urine and the HHS Mandatory

     Guidelines for Oral Fluid state that an employee may be tested for “any drugs listed in

     Schedule I or II of the Controlled Substances Act.”2

               If marijuana becomes a Schedule III substance, HHS would no longer be able to

     test for or certify laboratories to test for marijuana. As a result, DOT immediately would

     no longer be able to test for marijuana because OTETA requires DOT to rely on HHS for

     the science of drug testing (the drug cutoffs and scientific protocols), as well as conducting

     all DOT-regulated testing through HHS certified laboratories.

               Hence, the rescheduling of marijuana to Schedule III would stop all DOT-regulated

     testing for marijuana, which we believe is a profound unintended consequence.                             If

     marijuana becomes a Schedule III substance, safety-sensitive transportation employees,

     including airline pilots, air traffic controllers, school bus drivers, subway and train

     operators, ferry operators, pipeline operators and truck drivers, will no longer be subject

     to Federally regulated marijuana testing and would be able to use it. In addition, FAA’s

     air traffic controllers would be able to use marijuana and would not be subject to testing

     for it.    The absence of marijuana testing for these safety-sensitive transportation

     employees poses a significant risk to the safety of our roads, skies, waterways, pipelines

     and rails.




     1
      Executive Order. Federal Register. [Online] [Cited: September 25, 2019.] https://www.archives.gov/federal-
     register/codification/executive-order/12564.html .
     2
       HHS Mandatory Guidelines for Federal Workplace Drug Testing Programs using Urine. 82 Fed. Reg. 7920 (Jan.
     23, 2017) https://www.govinfo.gov/content/pkg/FR-2017-01-23/pdf/2017-00979.pdf ;HHS Mandatory Guidelines
     for Federal Workplace Drugtesting Programs using Oral Fluid. 84 Fed. Reg. 57554 (Oct. 25, 2019)
     https://www.govinfo.gov/content/pkg/FR-2019-10-25/pdf/2019-22684.pdf

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       Federally regulated drug testing for transportation safety-sensitive employees has

long been integral to maintaining safety standards within the domestic transportation

sector since several marijuana-related train and subway accidents took place in the

1980s.   For more than three decades, these protocols have effectively prevented

marijuana-related accidents in commercial transportation. In the more than 35 years of

federally regulated drug testing, the National Transportation Safety Board has not found

a single commercial transportation accident to have been caused by marijuana. Thus,

the prevention resulting from DOT-regulated testing has created an outstanding record of

safety that is at risk of being shattered by the rescheduling of marijuana.

       NDASA believes the marijuana rescheduling proposal in the NPRM, which is

based on many incomplete and erroneous factual evidence, would produce unintended

and potentially catastrophic consequences. The proposal needs to be set aside or there

would need to first be “Safety Carve-Out” to ensure that transportation safety-sensitive

employees, including Federal air traffic controllers, would continue to be deterred from

marijuana use. Such a Safety Carve-Out must ensure that HHS would continue to certify

laboratories for substances below Schedules I and II of the CSA. A Safety Carve-Out

could be accomplished through an Executive Order, legislation, or another definitive

source to provide HHS with the authority to continue to set the testing procedures for

marijuana and to certify laboratories to test for it – for the purposes of transportation

safety. If this is not addressed through an Executive Order, then NDASA has an interest

in seeing this debate moved to the U.S. Congress and, respectfully, not attempted to be

resolved by the Executive Branch of the U.S. Government.




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   II.      State with particularity the objections or issues concerning which the

            person desires to be heard.

         NDASA will explain and provide evidence, including expert testimony at the

hearing, as to why many of the HHS assertions set forth as foundational reasoning for

rescheduling marijuana are incorrect. The impact of rescheduling marijuana based on

faulty assumptions is potentially catastrophic to transportation safety in the United States.

         We will present documentary evidence and expert testimony to correct the

inaccuracies HHS has provided to the DEA under the eight factors set forth in 21 U.S.C.

811(c) the Attorney General must consider for rescheduling:

         1. The drug’s actual or relative potential for abuse.

         “A. Whether there is evidence that individuals are taking the drug or drugs
         containing such a substance in amounts sufficient to create a hazard to their health
         or to the safety of other individuals or to the community.” 99 FR 44597, 44601 (May
         21, 2024)


         In its analysis, HHS concluded “the vast majority of individuals who use marijuana

are doing so in a manner that does not lead to dangerous outcomes to themselves or

others.” Id. NDASA will offer information and studies to show the dangerous outcomes

to individuals using marijuana are not so limited and, contradictory to the conclusions of

HHS, “that the public-health risks posed by marijuana are lower compared to those posed

by other drugs of abuse (e.g., heroin, oxycodone, cocaine), based on HHS’s evaluation

of various epidemiological databases for emergency department (‘‘ED’’) visits,

hospitalizations, unintentional exposures, and most importantly, overdose deaths.” Id.




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      NDASA would submit for consideration, as DEA anticipates, “additional data on

seizures of marijuana by law enforcement, cannabis-related ED visits, as well as updated

epidemiological survey data since 2022.” Id. at 44602



      “B. Whether there is significant diversion of the drug or drugs containing such a
      substance from legitimate drug channels.” – Id. at 44602


      NDASA will offer documentary evidence, as well as expert testimony, that

contradicts the HHS finding “that there is a lack of evidence of significant diversion of

marijuana from legitimate drug channels.” Id. at 44602 In fact, NDASA questions whether

it is possible to create a presumption that there are currently “legitimate drug channels”

for this Schedule I drug. In addition, in May of 2024, the DEA’s National Drug Threat

Assessment 2024. We think DEA made valid points that we would like to address at a

hearing on the following:

      Given this unique landscape, DEA believes that the lack of data indicating
      diversion of marijuana from federally sanctioned drug channels to the illicit market
      is not indicative of a lack of potential for abuse of the drug. DEA anticipates that
      additional data on diversion from State programs and DEA-registered
      manufacturers may aid in a determination of whether diversion is taking place. Id.
      at 44602


      “C. Whether individuals are taking the drug or drugs containing such a substance
      on their own initiative rather than on the basis of medical advice from a practitioner
      licensed by law to administer such drugs in the course of their professional
      practice.” – Id. at 44602


      HHS admits that “[o]utside of the Federal- and State-sanctioned medical use of

marijuana, individuals are using marijuana on their own initiative for medical, as well as

nonmedical, purposes.” Id. at 44602. In addition, HHS cites 2022 data from the National



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Survey on Drug Use and Health (NSDUH) that found 61.9 million people used marijuana

in the last year. We will offer expert testimony to support that it is an erroneous conclusion

to determine that it is acceptable within the criteria for Schedule III of the CSA to move

marijuana in light of this data.



        “D. Whether the drug or drugs containing such a substance are new drugs so
related in their action to a drug or drugs already listed as having a potential for abuse to
make it likely that it will have the same potentiality for abuse as such drugs, thus making
it reasonable to assume that there may be significant diversions from legitimate channels,
significant use contrary to or without medical advice, or that they have a substantial
capability of creating hazards to the health of the user or to the safety of the community.”
– Id. at 44602.


       Marijuana is not a new drug and it has a potential for abuse proven by its current

prevalent use and its supply chain through illegal sources, including drug cartels. The

medical and recreational use of marijuana in the US at levels of potency from 5%

tetrahydrocannabinol (THC) to 90% THC. NDASA will offer expert testimony to show

HHS has understated its conclusion that marijuana “has the potential for creating hazards

to the health of the user and to the safety of the community” Id. at 44603. In addition, we

will provide expert testimony to contradict the HHS statement that “marijuana is not

typically among the substances producing the most frequent incidence of adverse

outcomes or severity of substance use disorder.” Id. at 44603

       In response to the 2016 petition for rescheduling marijuana to Schedule III (81 FR

53688, Aug. 12, 2016) DEA and HHS both found that marijuana had a high potential for

abuse. In response to DEA’s request in the NPRM, NDASA would like the opportunity to

provide sources of additional data to assess marijuana’s actual or relative potential for

abuse.

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      2. Scientific evidence of its pharmacological effect, if known;

      There is an extensive discussion on pages 44603- 44606 about studies HHS

conducted through SAMHSA and FDA. In the information provided, SAMHSA admits

marijuana is addictive. We will provide evidence to underscore data on addiction that

would merit keeping marijuana as Schedule I substance. We will also provide evidence

to address the following concern: “DEA believes that additional data on marijuana’s

pharmacological effects may be appropriate for consideration in assessing this factor.” –

Id. at 44606



      3. The state of current scientific knowledge regarding the drug or other
         substance;


      We will offer expert testimony and documentary evidence lacking in the docket to

address the state of current scientific knowledge about marijuana. Incidentally, we would

provide expert testimony to substantiate that there are a broad range of products within

the CSA’s definition of marijuana.

      Also, it is important to note that HHS made the following statement, with which we

agree and would discuss further at the hearing. This statement is actually contradictory

to making a finding in support of rescheduling:

      Products sourced from State-authorized adult-use and medical-use programs are
      subject to a patchwork of inconsistent product standards and safety requirements.
      Although some State programs have a set of standards (for example, on
      manufacturing, testing, labeling, and packaging), each program’s controls are
      different, leading to a wide variation of products across State-authorized programs.
      And the illicit marketplace is not subject to any standards or oversight. As a result,
      the range of products within the CSA’s definition of marijuana encompasses a
      large degree of variation in forms for consumption, composition of biologically
      relevant constituents, potency, and contaminants.” – Id. at 44606



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      As the DEA noted in the NPRM, “there is considerable variability in the cannabinoid

concentrations and chemical constituency among marijuana samples and that the

interpretation of clinical data related to marijuana is complicated.” Id. at 44607. Our

expert testimony would address the following statement: “DEA anticipates that additional

data on other marijuana constituents, routes of administration of marijuana, and the

impact on D9-THC potency may be appropriate for consideration.” Id. at 44607 Since

there are vast differences in the effects of marijuana based on THC levels and different

methods of administration (e.g., smoking, vaping, dabbing, wax, edibles, etc.), our expert

testimony and documentary evidence would provide further information on these points.



      4. Its history and current pattern of abuse;

      Consistent with the National Survey on Drug Use and Health (NSDUH) results from

2022, which were cited by HHS on page 44608 of the NPRM, we would provide expert

testimony and documentary evidence to show the extensive and significantly increasing

“use of marijuana for medical and nonmedical purposes”, admitted by HHS at page

44610.

      With the DEA’s information from the World Health Organization (WHO) that

“cannabis is globally the most commonly used psychoactive substance under

international control …[with] the global annual prevalence of cannabis consumption is 2.5

percent or about 147 million people” Id. at 44610, NDASA is concerned that the wrong

conclusions are being drawn to permit rescheduling of marijuana. We would submit data

and expert testimony to support the increasing trends referenced by DEA, when they

quoted the WHO for date from the year 2016, when “an estimated 28.6 million individuals



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age 12 or older were current (in the past month) illicit drug users.24 By 2020,

approximately 59.3 million individuals age 12 or older reported using an illicit drug within

the past year; 83.6 percent (49.6 million) of those past-year illicit drug users reported

using marijuana.”       Id, at 44610.     With the Domestic Cannabis Eradication and

Suppression Program eradicating 4,435,859 illegally cultivated outdoor cannabis plants

and 1,245,980 illegally cultivated indoor plants, totaling 5,681,839 illegally cultivated

marijuana plants (Id. at 44610), NDASA remains concerned that the depth and breadth

of the growth of illicit marijuana growing and production will not increased and not slowed

by making marijuana a Schedule III drug.

          As the DEA has requested, we would like to provide “additional data on marijuana’s

pattern of abuse… appropriate for consideration in assessing this factor.“ Id. 44610.

NDASA would also like an opportunity to address the contradictory interpretation of the

data by HHS in this, factor #4.



          5. The scope, duration, and significance of abuse;

   To address this, factor #5, “HHS analyzed the consequences over time of marijuana

abuse compared to the abuse of other substances…“ Id. at 44610. Their data actually

indicates that the criteria for this factor was not met because the data provided in the

NPRM showed marijuana is highly addictive, causes Substance Abuse Disorder (SUD),

and that marijuana is the first or second most common drug for which people are admitted

for in-patient treatment. Their facts simply do not support HHS’s conclusions on this

factor.




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   Instead, in response to HHS’s conclusions that other drugs were greater in the “scope,

duration, and significance of abuse”, DEA countered with their reasoning from their 2016

denial of a petition to reschedule marijuana to a Schedule III drug. “In 2016, DEA found

that abuse of marijuana is widespread and significant. 81 FR 53739….DEA notes that

national data demonstrate that marijuana is one of the most widely used federally illicit

substances in the United States…” 89 FR 44613. As DEA requested, NDASA would like

to provide expert testimony and documentary evidence to show “additional information

regarding the scope, duration, and significance of marijuana abuse [that] may be

appropriate for consideration in assessing this factor.” Id.



       6. What, if any, risk there is to the public health;

       NDASA would like to provide evidence to contradict HHS’s conclusion “that the

risks to the public health posed by marijuana are low compared to other drugs of abuse

(e.g., heroin (schedule I), cocaine (schedule II)), based on its evaluation of various

epidemiological databases for ED visits, hospitalizations, unintentional exposures, and,

most importantly, for overdose deaths.” Id.at 44614

       In apparent contradiction of the HHS’s current conclusion on this factor, DEA noted

its findings with HHS in 2016, when it was determined that:

   [t]ogether with the health risks outlined in terms of pharmacological effects above,
   public health risks from acute use of marijuana include impaired psychomotor
   performance, impaired driving, and impaired performance on tests of learning and
   associative processes. Chronic use of marijuana poses a number of other risks to the
   public health including physical as well as psychological dependence.’’ 81 FR 53739–
   40. (as noted at 99 FR 44614).




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      In response to this contradiction, NDASA would like to provide the expert testimony

and documentary evidence requested by DEA in the form of “additional data on public

safety risks, risks from acute and chronic marijuana use via oral and inhaled

administration routes, and the impact of D9-THC potency may be appropriate for

consideration.” 99 FR 44614.

      The DEA correctly notes that studies have “examined the risk associated with

marijuana use and driving”. Id. at 44614. NDASA would like to provide more insight into

such data, including information from The Rocky Mountain High Intensity Drug Trafficking

Area analyses and reports, which the DEA has cited. Id. at 44614. There are more studies

and more information that should be analyzed before this factor can be decided in this

rescheduling rulemaking.



      7. Its psychic or physiological dependence liability;

      Despite multiple sources of information showing psychic dependence and that

marijuana was “the third most frequently reported primary substance of abuse, after

alcohol (31.2 percent) and heroin (20.6 percent)”, Id. at 44614, HHS made a finding that

this was not a sufficient concern to maintain the substance in Schedule I of the CSA. Id.

at 44614. Similarly, with respect to psychological dependence, “HHS reported that up to

40 to 50 percent of individuals who use marijuana on a regular basis may experience

physical dependence.” Id. at 44615. In fact, HHS concluded that it “found experimental

and clinical evidence that chronic, but not acute, use of marijuana can produce both

psychic and physical dependence in humans.” Id. at 44615




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        DEA referred back to its 2016 findings regarding long-term heavy use of marijuana

as being likely to lead to physical and psychological dependence and that this

dependence is underdiagnosed and undertreated in the medical setting. 81 FR 53740

and 99 FR 44615. NDASA would provide expert testimony and documentary evidence

of additional information appropriate for consideration.



        8. Whether the substance is an immediate precursor of a substance already
        controlled.


        NDASA has nothing further to add on this point since “HHS concluded that

marijuana is not an immediate precursor of another controlled substance. HHS Basis for

Rec. at 61. This finding is consistent with DEA’s finding in 2016. 81 FR 53740.” 99 FR

44615.



VII. Determination of Appropriate Schedule for Marijuana

        NDASA respectfully disagrees with the three findings HHS has made after

conducting the eight-factor analysis above.

        Specifically, we would offer expert testimony and documentary evidence to show

marijuana continues to maintain the high potential for abuse that HHS and DEA found in

2016.    Also, that the availability of marijuana and marijuana-derived products with

extremely high levels of THC produce higher degrees of negative outcomes for the health

of the individuals using marijuana and the safety of those around them.

        NDASA would offer evidence to contradict the finding “that marijuana has a

currently accepted medical use in the United States, specifically for the treatment of



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anorexia related to a medical condition, nausea and vomiting (e.g., chemotherapy

induced), and pain.” 99 FR at 44616. Pharmaceutically produced products (i.e., Marinol,

Dronabinol) currently in Schedule III of the CSA meet this need. Yet, it is NDASA’s

understanding that marijuana would not be dosed and dispensed by licensed pharmacists

in the United States. In addition, NDASA would offer evidence into the record that both

the WHO and the American Medical Association support research into determining

whether marijuana has a legitimate medical purpose. For example, the AMA supports

research in the area of using cannabis for medical purposes, but also has posted cautions

for providers regarding encouraging the use of cannabis because of risks and the lack of

research available. Based on the findings of one study, FDA has “found the available

data indicated that there is some credible scientific support for the use of marijuana in the

treatment of chronic pain, anorexia related to a medical condition, and nausea and

vomiting, with varying degrees of support and consistency of findings. Additionally, no

safety concerns were identified in FDA’s review that would indicate that medical use of

marijuana poses unacceptably high safety risks…” Id. at 44619. NDASA would like the

opportunity to offer evidence to the contrary.



   III.      State briefly the position of the person regarding the objections or issues.

          Please see NDASA’s statements above regarding the matters upon which we

would provide expert testimony and/or documentary evidence.

          On a final but very important note, NDASA would like to provide expert testimony

regarding reasonable alternatives to moving marijuana to Schedule III of the CSA. There

are multiple options that are more factually supportable.



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      Assuming arguendo that the Attorney General and DEA would proceed with

changing marijuana to Schedule III, NDASA would provide expert testimony as to the

unintended and potentially catastrophic consequences to transportation safety and the

need for a Safety Carve-Out through a simple but needed Executive Order.



All notices to be sent pursuant to the proceeding should be addressed to:

Jo McGuire, Executive Director
National Drug & Alcohol Screening Association
1629 K Street NW, Suite 300
Washington, DC 20006
Via email to: jomcguire@ndasa.com




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     June 16, 2024

     Drug Enforcement Administration,

     Attn: Administrator- DEA Federal Register Representative/DPW- Hearing Clerk/OALJ

     8701 Morrissette Drive, Springfield, Virginia 22152.

                                          Subject: Request for Hearing

     Dear Sir:

     The undersigned Panacea Plant Sciences C/0 David Heldreth hereby requests a hearing in the matter of:
     DEA rule proposal: Schedules of Controlled Substances: Rescheduling of Marijuana also
     identified as Docket No. DEA-1362 and A.G. Order No. 5931-2024. (Previous hearing request mailed
     6/14/2024 mislabeled the rule-making name/docket/order).

     ( 1) state with particularity the interest of the person in the proceeding; (2) state with particularity
     the objections or issues concerning which the person desires to be heard; and (3) state briefly the
     position of the person with regard to the objections or issues.

     Panacea Plant Sciences would like to verify standing in the rule-making by asserting that our
     company:
         1.) is currently not licensed by the DEA.
         2.) has research, IP and patent filings that incorporate marijuana, cannabis, THC and related
             items.
         3.) PPS will be harmed if marijuana is moved into Schedule 3 instead of being de-scheduled
             and will be disadvantaged compared to those companies and businesses that have schedule
             3 licensing. Rather than schedule 3, marijuana should be de-scheduled, in order to give PPS
             access.
     Now in regards to the current rule-making, let us begin:
         A) To start there are apparent errors in the rulemaking process, in that the DEA did not
            consult with tribal governments as required under Executive Order 13175.
      The rulemaking references active Executive Order 13175 - Consultation and Coordination with
      Indian Tribal Governments - however, it asserts that no such consultation with tribal
      governments is necessary, or as stated directly below:
      "This proposed rule does not have tribal implications warranting the application ofE. 0. 13175.
      It does not have substantial direct effects on one or more Indian tribes, on the relationship
      between the Federal Government and Indian tribes, or on the distribution ofpower and
      responsibilities between the Federal Government and Indian tribes."

      This statement is incorrect as this rulemalting will change the status of a substance under federal
      law from Schedule I to Schedule 3 it will then as such require changes to tribal law enforcement,
      tribal health care via independent or Indian Health Services, and other programs. Reservations are
      regulated as federal lands and many tribal law codes reference federal law and the Controlled




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       Substances Act. As such the current rulemaking will create a situation in which tribal
       governments and law enforcement will be required to train law enforcement on the new laws and
       this alone will impose direct costs on tribal entities and governments. Additionally, the costs of
       any enforcement of these new laws incurred from arrests, testing, jailing, etc. which falls on tribal
       governments again represent burdens and reasons for the DEA/Department of Justice to conduct
     • a tribal consultation prior to rulemaking as is required under EO 13175. From the text:
      "To the extent practicable and permitted by law, no agency shall promulgate any regulation that
      has tribal implications, that imposes substantial direct compliance costs on Indian tribal
      governments, and that is not required by statute, unless:
      (1) funds necessary to pay the direct costs incurred by the Indian tribal government or the tribe
          in complying with the regulation are provided by the Federal Government; or
      (2) the agency, prior to the formal promulgation ofthe regulation,
      (A) consulted with tribal officials early in the process of developing the proposed regulation;
       (B) in a separately identified portion of the preamble to the regulation as it is to be issued in the
           Federal Register, provides to the Director ofOMB a tribal summary impact statement,
           which consists ofa description of the extent ofthe agency's prior consultation with tribal
           officials, a summary of the nature oftheir concerns and the agency's position supporting
           the need to issue the regulation, and a statement ofthe extent to which the concerns ~f
           tribal officials have been met; and
       (CJ makes available to the Director of0MB any written communications submitted to the
           agency by tribal officials."

      Additionally, under the current DOJ tribal consultation policy, the DEA and DOJ are tasked to
      not narrowly define when it is necessary to consult tribal governments, but to do so in a way that
      is widely encompassing and to err on the side of consulting, rather than not. From the DOJ' s
      own tribal consultation policy:

       "The requirements of Executive Order 13175 and this Policy Statement generally will be
      construed liberally in favor of Consultation on any given policy as defined above with
      Tribal implications. Consultations may be organized in a variety ofways, from a single
      group discussion to a more iterative process involving a series of discussions. All
      decisions regarding whether and how to conduct a Consultation, or whether a given
      policy or topic has Tribal implications, will be coordinated with the Department's Office
      of Tribal Justice."

      There are 574 federally recognized tribes and around 258 tribal law enforcement agencies.
      That is a large amount of affected tribal entities and a large impact. As such I ask that the DEA
      withdraw the current rulemaking and begin the mandated tribal consultation process under EO
      13175 and DOJ's own policy. The DOJ policy also requires notice at least 30 days before the
      date of consultation.

      As such Panacea Plant Sciences requests the rulemaking at hand be:
         1. Withdrawn; and conduct tribal consultation which begins with a publication of notice
             seeking tribal input before rulemaking. The rule can be re-submitted for public comment
             and hearings after this is done.




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          B) The next issue at hand that must be dealt with is, the DEA's current rulemaking
             references the Regulatory Flexibility Act

      Panacea Plant Sciences itself is a small business that qualifies under the Regulatory Flexibility
      Act to have consultation. PPS researches cannabis, does not have a DEA license, and has had to
      keep focus on hemp due to federal law, except when working with groups in other countries.
      Moving marijuana into schedule 3 from schedule 1, instead of de-scheduling will hurt PPS and
      give preferential treatment to those with DEA schedule 3 or other licenses.

      There are hundreds to thousands of hemp farms that would qualify under similar circumstances.
      There are also universities and other entities which would qualify. As such there is ample reason
      to follow the Regulatory Flexibility Act.
      From the Regulatory Flexibility Act:
      "§ 602. Regulatory agenda


      (a) During the months of October and April of each year, each agency shall publish in the
          }ederal Register a regulatory flexibility agenda which shall contain -

      (1) a briefdescription ofthe subject area ofany rule which the agency expects to propose or
          promulgate which is likely to have a significant economic impact on a substantial number
          ofsmall entities;

      (2) a summary ofthe nature of any such rule under consideration for each subject area listed in
          the agenda pursuant to paragraph (1), the objectives and legal basis for the issuance of the
          rule, and an approximate schedule for completing action on any rule for which the agency
          has issued a general notice ofproposed rulemaking, and

      (3) the name and telephone number ofan agency official knowledgeable concerning the items
          listed in paragraph (1).

      (b) Each regulatory flexibility agenda shall be transmitted to the Chief Counsel for Advocacy
          of the Small Business Administration for comment, if any.

      (c) Each agency shall endeavor to provide notice of each regulatory flexibility agenda to small
          entities or their representatives through direct notification or publication ofthe agenda in
          publications likely to be obtained by such small entities and shall invite comments upon
          each subject area on the agenda.

      (d) Nothing in this section precludes an agency from considering or acting on any matter not
          included in a regulatory flexibility agenda, or requires an agency to consider or act on
          any matter listed in such agenda. "




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       We would like to let it be known that this rulemaking was not included on the DOJ or DEA
       Regulatory Flexibility Agenda. We would like the rulemaking withdrawn until this can be
       done.
       As such Panacea Plant Sciences requests the rulemaking at hand be:
               Withdrawn; and hold a small business and entity consultation which begins with a
               publication to that end prior to rulemaking in 2024 and potential final rulemaking in
               2025.

           C) Panacea Plant Sciences disagrees with the proposed placement of marijuana in
               Schedule 3, and instead finds that it should rather be removed from control completely
              and de-scheduled.
           Although, international treaties may tie the United States to controlling marijuana, THC
              and other compounds; it is unlikely that this treaty violation will lead to any negative
              outcome. Canada has similarly moved to make marijuana a medicine and even went
              further to make it a regulated recreational item. There has been no backlash to this
               move and no consequences for them. As such the UN and the treaty parties are in
               effect silently complicit.
           If marijuana is placed into a schedule, it should rather than schedule 3, be placed into
               schedule 5 due to its relative safety.
           Additionally, cocaine was allowed as an unapproved by the FDA drug for medical use
              until 2019, when it was approved under branded formulations by several companies.
           https://www.fda.gov/drugs/unapproved-drugs/fda-notification-regarding-cocaine-
               hydrochloride-solution-products
            However, the allowance as an unapproved drug use, was via grandfathering, but that was
              on the principal that the cocaine was pure and always an exact item in the
              grandfathered drug formulations from prior to 1938. Cocaine is and was derived from
              a plant source, Erythroxylaceae coca, which produces several tropane alkaloids and
              other compounds. In fact, most cocaine is not pure cocaine, but rather a mixture of
              compounds extracted from the plant, unless chemically purified in a modern lab. This
              is important because there have been attempts to have marijuana allowed as a drug for
              medical use via the same grandfathering mechanism that allowed cocaine as an FDA
              unapproved drug to be used for medical use. However, the DEA/IIlIS/FDA denied that
              petition saying that they cannot verify the contents of the pre-1938 drug compounds as
              they are only labeled as marijuana flower or extract and not by compound (ie THC,
              CBD) However, again cocaine was allowed with unknown variation, but due to this
              same type of variation, this medical marijuana grandfather petition was denied.
           https://www.regulations.gov/document/FDA-2011-P-0671-0001




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         This and the move to block wider access to cocaine for medical use, but instead only allow
            pharmaceutical branded approved versions, appear to be a move to consolidate the
            wider industry and supply of medicines into a small group of companies and people.
          We make these points to argue that raw dried marijuana flower and marijuana/marijuana
             extract and/or tinctures should be allowed to be manufactured by DEA-licensed
             marijuana cultivators, manufacturers and compound pharmacies. Marijuana should
             then be allowed to be prescribed by doctors nationwide and filled by pharmacies.
          Grandfathering (exempting from DEA/FDA regulation) state medical cannabis producers
             would also be a potential option.
          Additionally, patients should be allowed to seek a prescription and if granted to seek a
             DEA license as a manufacturer and distributor/dispensary to cultivate/dispense their
             own medical cannabis, or to do so in a collective with other patients. Patients could
             also import from Canada if allowed.
          The DEA is currently entering into agreements with religious organizations and churches
             to allow for their cultivation/importation and use of schedule 1 substances. If these
             smaller, non-commercial organizations are being allowed to have DEA licenses, then
             there is no reason why such a similar scheme could not be developed to provide access
             to the medical patients in the United States that wish to have immediate access, and to
             control their own supply of medication.
          https://www.marijuanamoment.net/federal-settlement-will-allow-arizona-church-to-
              import-process-and-use-ayahuasca-as-religious-sacrament/
          If the DEA, FDA, HHS and related agencies do not either, approve raw
               cannabis/extracts/tinctures as a FDA approved medication, provide a grandfather
               option via FDA/DEA as unapproved, but allowed medications, or allow state medical
               cannabis to be federally legal, then this rule-making does nothing to provide access to
               patients, and is effectively worthless except that providing 280E tax relief for federally
               illegal state medical cannabis businesses. There will be no reduction in costs or
               difficulty for research by this rule-making either, the only effective difference for
               research in schedule 1-3 is which box is checked on forms.
          However, although marijuana as a botanical product and medicine may be safe, there are
            risks from marijuana and cannabis derivatives and products which has been seen in the
            public via the EVali, lung injury vaping outbreak in 2020, 2,800 people were harmed
            and 68 died.
          https://www.yalemedicine.org/conditions/evali
          This outbreak primarily affected cannabis and hemp markets. One of the problems is the
             lack of regulations and the often lax regulations at the state levels. This leads to
             unregulated flavors/terpenes/cutting agents, from non-cannabis sources being added.
             For example vitamin e acetate, creating issues in the lungs with Evali was cited




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               primarily via the acetate. However, companies in the hemp industry are now creating
               products with THC-O-Acetate that are inhaled, creating similar dangers.
           https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9813278/
           Squalane was another large problem in Orego~ and other states. Squalane was sold by
              companies as a diluent.
           https ://mjbizdaily .com/oregon-cannabis-regulators-ban-additives-first-seen-in-vaping-
               crisis/
           Mold and pesticides are also common in the state marijuana industry, and often under or
             un-reported. Testing is not done at the appropriate frequency and intensity for product
             safety. For example, Washington State only does pesticide testing of marijuana on
             random testing that takes years for every company to be tested. As such it took years
              for the state's marijuana regulator to find out that DDT derivative DDE had been
              identified in marijuana products, likely due to the farmland being used for other crops
              previously. A bulletin from the regulator on the issue can be found here:
             https://content.govdelivery .com/accounts/WALCB/bulletins/36473 ba.
            As such, PPS asks the government to regulate cannabis, hemp and marijuana products for
               safety, and use this rule-making to also apply the deeming rule under tobacco
               inhalation product rules to require the products to be held to the same standards of
               safety at a minimum if unscheduled.
            However, if placed into Schedule 3, 4 or 5, due to the myriad problems with essentially,
              every state medical or recreational marijuana and hemp programs, PPS asks the
              government to regulate medical marijuana standards at a federal level so that the
              country has a consistent, fair, safe market for patients and business.
           D) The DEA ALJ we believe is unconstitutional as similar ALJ schemes have been found
              so by the supreme court. As such we believe that this rule-making should if hearings
              are held, be heard instead of the ALJ in federal court. Also there are Chevron
              deference issues. These all likely are being addressed, while indirectly, in the Supreme
              Court via the Jarkesy v SEC lawsuit. As such we hold that the currently rule-making
              should be stayed until the Jarkesy ruling is final.

       Further evidence and information will be presented in the future.

       All notices to be sent pursuant to the proceeding should be addressed to:

       Panacea Plant Sciences C/O David Heldreth

       14321 Se 49th St

       Bellevue WA 98006

       Respectfully yours,




                                                                                                  App.465
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     June 17, 2024

     Drug Enforcement Administration, Attn: Administrator
     8701 Morrissette Drive
     Springfield, Virginia 22152

     Subject: Request for Hearing

     Dear Sir:

     The undersigned, Bryn Spejcher, hereby requests a hearing in the matter of: Docket No. DEA-136.
     Transferring marijuana from Schedule I of the Controlled Substances Act ("CSA") to Schedule III
     of the CSA.

     My name is Bryn Spejcher and I am a doctor of Audiology.

     In December of 2023, I was convicted of involuntary manslaughter due to a tragic incident
     involving cannabis-induced psychosis which happened during Memorial Day weekend in 2018.
     The judge later sentenced me to three years' probation, with a condition to educate the public about
     the mental health harms and the dangerous risks of THC.

     On behalf of Every Brain Matters, a nonprofit organization that is helping me fulfill my probation
     and public education outreach, I believe it is imperative for my voice to be heard in the critical
     discussions around the rescheduling of marijuana I want to protect others from what happened to
     me and my late, deceased friend. Just like the majority of the population, I thought there were no
     harms in using marijuana I was wrong.

     As a novice user, my psychosis was purely the result of cannabis given to me by a regular,
     experienced user in the state of California, where marijuana is legal. During my criminal trial, the
     prosecutor's experts and my defense experts agreed this resulted in a cannabis-induced psychosis,
     and that I had no prior or post-incident mental health issues. This substance produced a severe
     psychotic reaction, something that is being seen more frequently around the world. My reaction
     produced a state of dissociation and detachment from the reality of my surroundings and cognitive
     processes, to the extreme, resulting in a tragic death and self-inflicting, permanent wounds.

     I regret ingesting cannabis of any kind, now that I know the potential and serious risks of THC.
     Please consider my unforeseen, life-altering example.

     All notices to be sent pursuant to the proceeding should be addressed to:
     Bryn Spejcher
     217 Edgebrook Drive
     Bloomingdale, Illinois 60108




     Bryn Spejcher, Au.D., CCC-A, F-AAA                                                                 Date
     E: BSpejcher12@gmail.com




                                                                                                     App.466
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          -
      ~ DUID
                                                                       7133 West Artington Way
                                                                       Littleton, CO 80123


        ~~ Victim Voices
                                                                       (303) 478-7636
                                                                       edwood27@icloud.com
                                                                       www.duidvictimvoices.org



            Education and promoting effective laws to reduce Driving Under the Influence of
             Drugs (DU/D)- We provide a science-based perspective from DU/D Victims.


      June 17, 2024


      DEA Administrator
      Drug Enforcement Administration
      8707 Morrissette Drive
      Springfield, VA
      22151

      Re: Docket No. DEA-1362

       Dear DEA Administrator:

      I request permission to testify at a hearing in opposition to the NPRM to downclassify marijuana

      There are many reasons the DOJ reclassification of marijuana to Schedule III should be rejected.
      The attached analyzes only one reason - the effects marijuana now has and its downclassification
      would have on the preventable tragedy of drugged driving deaths.


       Attached is our position statement
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       Sincerely,                                                                                  .J::-          ·-
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       Ed Wood
       President, DUID Victim Voices
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       Enc: Traffic Safety Analysis of NPRM to Downclassify Marijuana




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      Traffic Safety Analysis of NPRM to Downclassify Marijuana

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            Government regulators have abdicated their responsibility to consider~
            ~ in their zeal to loosen the current barely existent restrictions on the
            commercialization of marijuana.

            In making the case to deny the government proposal, DUID Victim Voices
            describes why the current preyentahle tra&edx of dru&&ed drivin& will only
            e;et worse if the om proposal is accepted.
            UNTIL AN OBJECTIVE THC DRIVING IMPAIRMENT ASSESSMENT TOOL IS
            AVAILABLE, IT IS IRRESPONSIBLE TO DOWNSCHEDULE MARIJUANA. The
            danger to public safety of further support to the marijuana industry is too
            high without such a safety net in place.


            Ed Wood
            President, DUID Victim Voices
            June, 2024



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      Summary
      The DOJ/DEA/HHS analysis of the effect of marijuana's THC (69-tetrahydrocannabinol) on
      driving safety is incomplete. It is shallow. It shows a complete lack of understanding of
      the data, the issues and the science of drugged driving. It is insulting to victims. It is
      incompetent. It would be a compliment to call it sophomoric.

      DOJ, DEA and HHS have abandoned their responsibility to adequately assess the dangers to
      road safety ofloosening restrictions on marijuana as proposed in the DOJ NPRM. It is
      irresponsible to even consider loosening restrictions without first understanding,
      communicating and dealing with the following issues of driving impairment caused by
      marijuana's THC:
          1 The evidence of the dangers of THC-impaired driving to the public,
          2 The ability (or lack thereof) of law enforcement agencies to enforce drugged driving
             laws, and
          3 The impact of marijuana's downclassification on drugged driving dangers.
      Regulatory agencies made no attempt to even acknowledge the above issues in the NPRM
      process.

      Drugged driving, including THC-impaired driving is a deadly and growing problem.
      Whereas impaired driving was once just about alcohol, today only about half of DUI cases
      are due to just alcohol. The other half involve drugs. After alcohol, the primary drug
      causing DUI arrest and convictions is marijuana's THC. See page 16.

      It was once difficult to prove that a driver was drunk and unsafe to drive, even in cases of
      crashes involving injury or death. Defense attorneys could plausibly claim, "It was an
      accident. It could have happened to anyone." The 1964 Grand Rapids Study demonstrated
      the correlation between blood alcohol content (BAC) and crashes 1. That study has been
      replicated with similar results many times by others 2 3 4. That quickly led countries around
      the world to adopt DUI per se laws that enable DUI convictions without proving
      impairment.

      The effects of BAC per se laws have been impressive. DOT reported in 1968 that nearly one-
      half of traffic fatalities were due to alcohol. That percentage rose to 60% by the 1970s. Due
      to the adoption of BAC per se laws in the 1960s and the relentless campaigning by Mothers
      Against Drunk Driving founded by Candace Lightner, that percentage dropped to the 30%
      range by 1999 where it has hovered ever since. The drop is even more impressive when
      one realizes that the base number of traffic fatalities dropped at the same time, likely due to
      improvements in automobile and highway design.

       There is no THC analog to alcohol's ubiquitous BAC per se level. Some jurisdictions have
       adopted THC per se or permissible inference laws, but none of those laws are based on
       scientific evidence as alcohol legal limits are. There is no scientific evidence supporting
       THC per se levels. It is not because we haven't found the proper level yet, it is because the
       "right" level does not exist. It can't. The chemistry and pharmacokinetics of THC prohibit
       the correlation between blood THC levels and crash risk that exists for alcohol.


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      Law enforcement agencies struggle with drugged driving, as they did with alcohol prior to
      the implementation of per se laws. Families of drugged driving victims pay the price of this
      problem every day. Perhaps someday technology will be developed akin to a Star Trek
      Tricorder that can determine if someone is impaired. But that technology will not be based
      on blood THC levels because we know that will not work.

      UNTIL AN OBJECTIVE THC DRIVING IMPAIRMENT ASSESSMENT TOOL IS
      AVAILABLE, IT IS IRRESPONSIBLE TO DOWNSCHEDULE MARIJUANA. The danger to
      public safety of further support to the marijuana industry is too high without such a
      safety net in place.

      The proposed downclassification of marijuana would encourage more use of marijuana
      which will pose a danger to both users and to the non-using public, as past drug
      liberalization policies have. The result will be more auto crashes, many fatal. Lacking a
      valid THC driving impairment assessment technology, legislatures will continue to adopt
      flawed THC per se or permissible inference limits that will make it even more difficult to
      convict THC-impaired drivers who test below the limit. Colorado's experience proves that
      to be the case5.
      Major policy decisions should not be made lightly. They should be based on rigorous data
      analysis and an understanding of the relevant science and data. Efforts should be made to
      fill in known knowledge gaps before making major policy decisions, especially decisions
      that that could make matters worse. One reason for DOJ's specious arguments in favor of
      rescheduling is a lack of readily available and reliable data on the actual causes and
      consequences of impaired driving.

      STATES SHOULD BE INCENTIVIZED TO COLLECT AND PUBLISH DATA ON THE CAUSES
      AND CONSEQUENCES OF IMPAIRED DRIVING. Colorado's effort described on pages 16-19
      is by no means perfect, but it is a model upon which other states can begin to build.


      Failings of HHS/DEA/DO) analyses
       Both HHS and DEA recognized that traffic safety is a legitimate concern when considering
       marijuana policies by the fact they mentioned it in their analyses. But that's all they did.

       HHS didn't even try to deal with the drugged driving issue. HHS devoted three paragraphs
       to drugged driving in its 252-page letter to the DEA6 • They simply reported results of two
       surveys on the self-reported prevalence of drugged driving. One from NSDUH - the National
       Survey on Drug Use and Health, and the other from YRBSS - the Youth Risk Behavior
       Surveillance System. That was their entire analysis.

       DEA did a little bit better. Its single paragraph on drugged driving in the NPRM 7
       inaccurately reported two largely irrelevant epidemiological studies purporting to show the
       growing threat of fatalities from THC-impaired driving.



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      The first report was the Volume 8 study of The Effects of Marijuana Legalization from the
      Rocky Mountain High Intensity Drug Trafficking Area (RMHIDTA) 8 . The report showed that
      Colorado fatal crashes where the driver tested positive for marijuana more than doubled
      between 2013 and 2020, from 55 to 131, based on data from coroners statewide. The
      report did not differentiate in its "tested positive for marijuana" category, the difference
      between psychoactive THC and its inactive metabolite 11-nor-9 Carboxy-THC. Early data
      included cases positive for the inactive metabolite only. Therefore, the number of crashes
      where the driver was positive for psychoactive THC in 2013 was likely lower than 55. By
      2020, the data sources had improved to report only the psychoactive drug. The increase in
      fatalities was therefore even worse than shown.
      DEA cautioned however, that "other evidence in the same report suggests that DUI citations
      involving marijuana have grown at a rate similar to the rate for citations involving other
      drugs." Whereas the first RMHIDTA claim was backed by toxicology reports from
      statewide coroners, the second claim was only from the Colorado State Patrol, based on
      opinions of arresting officers, with no toxicology confirmation. While State Patrol evidence
      is of interest, the two evidence measures are hardly comparable.

      The second report was the Public Health report from Wilson in 20149 showing, according
      to the DEA, that "among drivers who test positive for at least one drug in a traffic stop, a
      growing share test positive for cannabis." The DEA report is incorrect Forensic toxicology
      laboratories do not and cannot test for cannabis or marijuana. They test for the impairing
      chemical delta 9-tetrahydrocannabinol, aka THC. Wilson's data came not from traffic
      stops, but from the Fatality Analysis Reporting System (FARS), sponsored by the National
      Highway Traffic Safety Administration (NHTSA).

       The biggest problem with the Public Health report is that FARS was designed to capture
       data on drunk driving, not drugged driving. FARS does an excellent job reporting drunk
       driving data, but a poor job in collecting drugged driving data. There is no standardization
       of drug testing and reporting from state to state or even from year to year within a state as
       there is with alcohol testing and reporting. Because of that, in 2014 NHTSA advised against
       using FARS data to infer anything about drugged driving comparisons from state to state or
       from year to year10.

       Even more fundamentally, both reports suffer from the same major flaw that render their
       conclusions somewhat irrelevant. Both reports are based on measurements of drug
       presence. not of drug impairment. If there were a strong proven correlation between drug
       presence and drug impairment, the reports would have more value. But lacking such a
       correlation, the reports are largely irrelevant There are studies that are much more
       relevant. See Pages 10-19.

       During the time windows of the two DEA-covered reports, the number of Daily and Near
       Daily (DND) marijuana users rose dramatically11 . In 1971, the federal government
       established the White House Drug Office in response to an increase in illicit drug use
       nationally, adding new demand reduction efforts to the long-established supply reduction
       policies. DND marijuana use was increasing, peaking in the late 1970s. See Figure 1. The


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      Atlanta-based Parent Movement focused on reducing youth marijuana use and
      subsequently led Nancy Reagan to introduce the "Just Say No" slogan nationally in
      1981. Youth marijuana use declined to a low in the early 1990s, and nationally, DND
      marijuana use declined by about 75%. Then in 1996, California legalized the medical use of
      marijuana. The Federal Government's lack of response to California's ignoring Federal law
      was an effective surrender in the War on Drugs. After the federal surrender in the 1990s,
      DND use rose dramatically, first accelerated with the 2009 Ogden Memo 12, and then even
      more as recreational marijuana shops began opening in 2014. Between 1992 and 2022 the
      number of self-reported DND marijuana users grew twentyfold from 0.9 million to 17.7
      million. Policies have an impact.

      Since DND users may test positive for THC long after consumption (See #4 on page 9), the
      findings of both studies reported by DEA/DOJ could have occurred even if THC had no
      effect whatsoever on driving skills.

       Figure 1 - Changes in self-reported marijuana use in the United States from 1979 to 2022
                     18                                                                                By 2022 there were ____. -
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                          1975      1980      1985       1990        1995     2000            2005       2010      2015      2020
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                                 Addiction, First published: 22 May 2024, DOI: (10.1111/add.16519)

       None of the agencies wrote about the abundant experimental or epidemiological evidence
       proving that THC can and does impair driving skills, leading to crashes, some of which are
       fatal. None talked about the magnitute of the danger to the public. Victims were neither
       mentioned nor recognized. There was no discussion of how prohibitions on drugged
       driving are enforced in DUI laws from state to state, or why the primary tool used to enforce
       drunk driving laws (Blood Alcohol Level) does not have an analog that could be used to
       enforce drugged driving laws. The possible effects on highway safety of downclassifying
       marijuana was ignored.


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      Why do blood THC levels and THC impairment levels not correlate?
      Why should anyone expect them to correlate? THC does not impair a person's blood.
      Neither does alcohol. Neither drug impairs human hl.,QQ.d. Both drugs impair the human
      brain, not the blood. But since alcohol is water-soluble and THC is fat soluble, that's where
      the similarity ends1 3.
      1      THC blood levels do not represent levels of THC in the impaired brain.
      Being a water-soluble molecule, alcohol quickly establishes a uniform concentration across
      highly perfused organs and tissues. That means that what's in the brain is in the blood and
      vice versa. We can test the alcohol content in a subject's blood as a surrogate to make a
      very good estimate of what's in the subject's brain.

      That cannot happen with THC. THC is a fat-soluble molecule that is insoluble in blood,
      although it can be entrained in blood like sand in a muddy river. Instead of remaining
      dissolved in blood, THC is quickly absorbed by the brain and other fatty tissues. The
      maximum blood level of THC drops an average of 79% within the first 25 minutes after
      beginning to smoke a joint14.
      A user's blood THC level rises very rapidly upon initiation of smoking, peaking in typically
      less than eight minutes. Then the THC level drops almost as rapidly while the brain and
      other highly perfused fatty tissues and organs clear the THC from the blood. Both a
      subjective sense of being high and impairment begin to rise as the brain absorbs THC-
      even while the THC level in the blood is dropping! See Figure 2. There is a brief period
      during the first hour after beginning to smoke a joint when the blood THC level
      approximates the brain THC level. Otherwise, sometimes one is going up while the other is
      going down.
               Figure 2 Blood levels of alcohol and THC compared with subjective effects
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                                                     Time (minutes)

                                        Source: American Journal of Addiction (2009) 15




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      After a user's smoking session has ended, THC continues its redistribution from the blood
      to fatty tissues and organs. THC is slowly metabolized to the psychoactive 11-Hydroxy-THC
      which in turn is quickly metabolized to the non-psychoactive secondary metabolite 11-nor-
      9-Carboxy-THC. Carboxy-THC is water soluble, so it will remain in the blood until it is
      metabolized and excreted, long after psychoactive THC can no longer be detected. The
      typical THC concentration is shown in the solid red line in Figure 3. Carboxy-THC is shown
      in the dashed red line in the same figure. The solid blue line showing blood THC levels for
      orally consumed marijuana shows that THC consumed orally behaves far differently than
      smoked or vaped marijuana [See more on page 9]. THC from marijuana consumed orally
      does not create a high level in blood as inhaled THC does, blood levels peak later than
      inhaled THC, and its effects start much later and last much longer than inhaled THC.
             Figure 3                           Blood Levels of THC and Carboxy-THC
                                                           Blood Levels of THC • Metabollte

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                                     Source: Drawn from data in Huestis et al. 1992 16

       The THC concentrations shown on Figure 3 represent averages of a group of subjects. The
       actual number varies widely by individual and by user experience. Figure 4 shows the THC
       clearance from blood from two groups of users-chronic users and occasional users 17 . Two
       different y-axes are used to normalize scaling, showing equal height for both chronic and
       occasional users. Chronic users consume a much higher dose than occasional users,
       resulting in a higher maximum blood THC level. But the clearance profile from blood is
       identical in both groups.




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                                                 Figure 4 Toenness redistribution curve
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                                                       Source: JAnalytical Toxicology, Sept 2008

      The average time between an arrest and the time a blood sample is collected for testing is
      about an hour 18, two hours if there is a death or injury crash involved, and three hours if a
      warrant is required to obtain a blood sample19. Because of these normal delays in time to
      collect a blood sample, in some cases, the blood THC level can be below laboratory
      detectable levels even if the driver was smoking marijuana at the time of DUI arrest or a
      crash.
      Figure 520 shows data from Figures 3 and 4 on a single y-axis, rescaled to show
      concentration of THC in nanograms per milliliter (ng/mL) of blood, rather than in serum or
      plasma. It also shows times from a crash until blood was collected in cases of vehicular
      homicide or assault, by quintiles. The mean of the 3rd quintile of 2.1 hours shows that for a
      driver smoking a joint at the time of a crash, the blood THC level would be between 2 and 5
      ng/mL of blood, depending on the user's experience with THC use.
                  Figure 5 - Test delay quintiles overlaid on THC redistribution curves
                                                                             Blood THC over Tl""'
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                                                       Source: Traffic Injury Prevention, May 2015


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      The terminal half-life of THC in the human body is about 4 days 21 . THC remains in the body,
      either bound to CB1 or CB2 receptors, or dissolved in interstitial fat and other fat reserves
      long after THC can no longer be detected in blood. In a series of autopsy studies, Mura
      found that the concentration of THC was higher in 100% of his subjects' brains than in their
      blood. In some cases, he found high levels of THC in brain tissue when none could be
      detected in blood 22•


      2      THC in edibles behaves differently that inhaled THC.
      THC edibles do not generate the high blood THC levels that inhaled THC products do. This
      is because orally consumed THC undergoes hepatic metabolization before entering the
      bloodstream. Smoking or vaping marijuana injects a huge bolus of THC directly into the
      bloodstream via the lungs. This was shown on Figure 3, but the detail for the THC
      concentration from orally consumed marijuana could not be readily quantified due to the
      graph scaling. That detail can be seen more clearly from Vandry's multicenter study23 of
      the pharmacokinetics and pharmacodynamics of orally consumed THC. See Figure 6. For a
      normal 10 mg dose, the maximum THC concentration in blood was less than 1 ng/mL.
      That level can be measured in some research laboratories, but 1 ng/mL is the lowest
      reporting level (Limit of Quantification) for most forensic toxicology laboratories. The
      maximum THC concentration was less than 3 ng/mL for subjects consuming five times the
      normal 10 mg dose.

                        Figure 6 Blood THC level vs time since oral consumption
                                          4               Blood THC
                                                                            _...,.SOmg
                                          3
                                 ...E                                       -o- 25 mg
                                 13,      2                                 -+-10 mg
                                 C

                                          1



                                        Source: JAnalytical toxicology, March 2017

       3       Chronic users can he less affected by THC than novice or occasional users.
       To maintain homeostasis, the body of a chronic marijuana user downregulates the quantity
       of CB1 receptors in the brain24 25. This provides a level of tolerance to some, but not all of
       the impairing effects of THC. Early studies 26 found that chronic marijuana users had a
       partial tolerance to the psychomotor impairment of THC. Later studies27 28 have modified
       those conclusions somewhat, finding that a chronic user exhibits some tolerance for
       cognitive impairment, but less so for other impairment domains.

       4       Chronic users can have high blood THC when not acutely impaired,
       Chronic users claim that they may have elevated THC blood levels even when they are not
       acutely impaired. There is a good reason for this. Fat cells in the body are not an infinite


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      sink for THC. As fat stores become saturated with THC, some THC is released back into the
      bloodstream. Consequently, chronic users can maintain a measurable level of THC in their
      blood long after acute impairment has subsided 29•

      s      Epidemiological evidence confirms the lack of correlation.
      As noted above, several researchers have studied the effect of BAC on crash risk. But the
      lack of correlation between crash risk and THC blood levels is well known. Therefore,
      analogous THC studies of crash risk have typically analyzed crash risk as a function of a
      dichotomous variable - the presence or absence of THC - rather than as a function of THC
      blood levels. An exception is the multi-country European DRUID study30 which mimicked
      the crash risk correlation for drunk driving, but ended up confirming that there was no
      correlation between blood THC levels and crash risk. See Figure 7.

                         Fig 7 - Crash risk of alcohol vs THC impaired drivers

                                       DRUID Culpability Study (N = 7455)
                                       Alcohol Odds Ratios                      THC Odds Ratios
                           20                                  19.3 20          95% Cl all >1.0

                           15


                           10


                            5                                          s
                                                                                                2.8

                            0                                          0
                                0.01      0.05   0.08   0.12   >0.12       Sl      1-3          3-5   >5
                                                                                         µs/L
                                                 "
                                Source: DRUID overview, Brisbane, August 2013



      Evidence that THC impairs driving
      The weakness of evidence in the HHS/DEA/DOJ analyses does not mean the evidence is
      weak for TH C's role in causing driving impairment. Some evidence was given in the
      NPRM's 8-factor analysis - Pharmacological effects. More evidence specifically relevant to
      safe driving is abundant and falls into the following categories:

              Experimental evidence
                 1. Laboratory experiments
                 2. On-road driving studies
                 3. Driving simulator studies
              Epidemiological evidence
                 4. Case control studies
                 5. Culpability studies
                 6. Observational studies


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             1    Laboratory experiments
      These are the most rigorous types of experiments to prove impairment. They are
      comparatively easy and inexpensive to perform. They are highly controlled and have
      reproducible results. Because of the nature of laboratory experiments, they cannot fully
      represent the many marijuana cultivars, THC concentrations or modes of administration
      used in the real world. They conclusively prove that THC can cause impairment of driving
      skills but have been criticized by those who claim that proof of laboratory impairment does
      not prove that THC impairment causes danger to highway users.

      Sewell's 2009 review of cognitive studies31 of the effects of marijuana noted impairment of
      attentiveness, vigilance, perception of time and speed, and executive function. Impairment
      is prominently found in tasks requiring divided attention. When used together with
      alcohol, the impairing effects of the two drugs are at least additive and possibly
      multiplicative, which may depend upon the impairment dimension being assessed.

      The National Safety Council concluded32 that acute THC intoxication produces dose-related
      impairment in cognitive and psychomotor functions as well as risk-taking behavior. THC
      also alters reaction time, short-term memory and attention, motor skills and tracking, all of
      which can impair driving skills.

      A most helpful report on this topic is Solowij's systematic review of 105 experimental
      studies of the effect of THC on cognition33. Results were summarized by primary cognitive
      domain in order of evidential strength for both acute and chronic exposure. Where data
      were available, the persistence of impairment of chronic users after abstinence was
      reported.

      Solowij found strong and largely consistent evidence that THC impaired focused, divided
      and sustained attention for both chronic and occasional users regardless of sex. After an
      acute impairment episode, residual chronic impairment in chronic users gradually
      subsided over a period of several weeks of abstinence. There was also strong and largely
      consistent evidence that THC impaired psychomotor function acutely, but the evidence was
      weaker for similar impairment of chronic users of marijuana. Impairment likely persists
      during abstinence after chronic use, but the data are mixed. Executive function impairment
      studies produced mixed results with a tendency to see greater impairment in older subjects
      with a long history of chronic THC use, indicating a perturbed development of the frontal
      lobes.

              2   On-road drivim~ studies
       There are few studies of this type due to their danger, expense, and difficulty in ensuring
       rigor. For safety considerations, doses of THC have been relatively low in this type of study.

       Huestis reviewed three Dutch studies, all on young occasional cannabis users 34. Two of the
       studies demonstrated a strong dose-response effect of THC consumption on SDLP
       (Standard Deviation of Linear Positioning). The third study used a low 100 µgm/Kg dose of
       THC (approximately 7 mg, or one-third of a joint made with 5% THC marijuana) and found

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      no effect on outcome measures. Other than journalistic publicity stunts, there have been no
      other recently published on-road driving experiments.

             3   Driving simulator studies
      These studies can be well-controlled and result in highly credible results. This is the best
      way to deal with the fact that laboratory experiments do not directly measure the effect of
      THC on traffic safety. Expense and logistical considerations confine these studies to a
      limited number of participants compared with epidemiological studies. Simulator studies
      measure fewer dimensions of impairment than are possible with laboratory studies. An
      unverified concern with driving simulator studies is that the drivers are fully aware that
      they are being monitored. Therefore, the tests may simply assess how subjects Qil drive
      rather than how they rui drive.

      Huestis noted 35 that simulators permit measurement of driving performance aspects that
      cannot be achieved with actual road-driving experiments. Her research team reviewed
      nine simulator studies, two of which studied the effects of THC and alcohol. None
      evaluated chronic marijuana users. Study designs varied, with reaction time, tracking,
      speed and speed variation being the most commonly measured of the ten domains
      reported in the review. There were inconsistent results in half of the domains tested but
      eight of the nine studies reported impairment in at least one domain. SDLP, a measure of
      weaving in the lane, was the most sensitive road-tracking measure with two of four studies
      showing a THC-associated impairment

      After reviewing prior work, the Huestis team studied the impact of THC concentrations
      with and without alcohol using a highly instrumented simulator on 18 occasional
      marijuana users using vaporized marijuana36. That study found that 8.2 ng/ml of THC in
      whole blood provided a similar SDLP to an alcohol level of .05 gm/dL. Huestis cautioned
      that her interpolated THC concentrations at the time of impairment measurement were not
      representative of forensically determined THC levels due to the rapid redistribution of THC
      from the blood immediately post-dosing. The study found that the effects of THC and
      alcohol on SDLP were additive, rather than synergistic.

       Brooks-Russell compared simulator performance of occasional and daily marijuana users
       who smoked their chosen THC product at their chosen dose 37. Daily users consumed a
       higher THC dose than occasional users, as similar studies have found. Occasional users had
       higher impairment levels than daily users as measured by SDLP. Daily users had a higher
       decrement in speed than occasional users.

       Marcotte 38 found that regular users had much lower Composite Drive Scores (CDS) at ½ hr
       and 1½ hr post smoking, and moderately lower CDS at 3 ½ hrs. Most CDS decrements were
       fully resolved at 4½ hrs post smoking. Most subjects felt unsafe to drive immediately after
       dosing. Most felt safe to drive at 1½ hrs even though their CDSs had not improved since
       their immediate post-dosing assessment.




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      Although Marcotte found that most CDS decrements were fully resolved at 4½ hours after
      smoking, others have reported chronic impairment continues for chronic users well after
      acute impairment has subsided39 40 41_

      The effect of chronic impairment (as opposed to acute impairment) on driving safety has
      not been determined, but an Australian study found impairment on an aviation simulator
      24 hours after consumption42.

             4. Case control studies
      These epidemiological studies compare drivers in crashes with similar drivers who were
      not involved in crashes. It is essential to establish a valid control group for these studies to
      have high value. Outcomes of these studies are typically Odds Ratios (ORs), or crash risks
      relative to sober drivers. There have been literally thousands of such study reports of
      varying quality. Fortunately, several meta-analyses ease navigation through these
      numerous, often conflicting studies.

      Li's 2011 meta-analysis43 selected 9 studies out of a total surveyed population of 2,960
      published reports. The nine were selected based on quality and sufficient comparability to
      enable a high-quality meta-analysis. His meta-analysis totaled 4,236 cases and 88,993
      controls and focused on marijuana use rather than THC presence. The most common
      source of exposure data were self-reports or urine tests, followed by blood tests. All but
      one study reported a significant risk to driving safety with marijuana use. The estimated
      summary OR was 2.66 (2.07, 3.41) for a fatal crash from marijuana use.

      Asbridge's similar meta-analysis44 published a few months later had similar results,
      yielding an OR of 1.92 (1.35, 2.73). His most common source of THC exposure in studies
      selected for analysis was blood or serum assays rather than self-reports or urine analysis.

      These studies led to a commonly accepted view that the OR of a fatal crash from marijuana
      use was about 2. Five years later Rogeberg critiqued and re-evaluated both studies and
      then performed his own meta-analysis, finding ORs to be 1.36 or 1.22, depending on the
      analytical technique used.

      One dilemma with the above case control studies is their reliance on THC presence or use,
      rather than THC impairment to assess the crash risk. As noted above, THC presence bears
      little relevance to THC impairment.

       Some falsely claim that the 2016 NHTSA-sponsored Virginia Beach case control study
       found that there is no link between marijuana use and crash risk. The truth is that the
       authors did not find there was no link; they failed to find a link. Absence of proof is not
       proof of absence. They also failed to find a link between crashes and any other drug or
       drug combination other than alcohol. The link found between alcohol use and crash risk
       was about half what legacy studies from Borkenstein, Kruger, Zador and Blomberg found.
       NHTSA's study design was badly flawed. Not all study subjects were included in the
       analysis; only those who volunteered were included. The sample size was too small to find
       a statistically significant link for any drug other than alcohol. At least 413 of the 3,095

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      subjects tested were not the crash initiator, but innocent victims who were involved in a
      crash. The study consisted of mostly "fender bender" crashes. There were only 15 fatal
      crashes out of the 2,682 studied. The study was conducted on secondary streets. High
      speed highways were excluded. The study site had a lower drug use (14.4%) than the
      national average (19-22%). The study concluded, "This study should not be interpreted to
      mean that it is safe for individuals who have used substances to operate a vehicle."

              5. Culpability studies
      These studies examine drug presence in fatal and/ or crash cases, comparing data from
      culpable drivers and non-culpable drivers. Outcomes of these studies are typically Odds
      Ratios, or risk relative to sober drivers.

      Culpability studies of large populations have not unequivocally answered the question of
      the role of marijuana in traffic crashes, in part due to the wide variations in study design.
      Below we discuss only studies using blood testing and with two exceptions, those that
      distinguished THC from its inactive metabolite Carboxy-THC. All studies found an effect of
      marijuana on crash risk.

      Longo's 2000 study45 involved 2,500 injured and deceased drivers tested for alcohol, THC,
      benzodiazepines and stimulants. Drivers were determined to be either culpable or non-
      culpable. The 6.2% whose culpability was only contributory were not included in the
      study. Drug- and alcohol-free drivers were culpable in 52.5% of the cases, THC-positive
      drivers were culpable 4 7.5% of the cases indicating no significant marijuana involvement
      However, there were only 44 drivers found with THC only and those with a THC level at or
      above 2 ng/ml were culpable 66.7% of the time, indicating significant marijuana
      involvement The time interval between crash and taking of a blood sample was not
      reported.

      Drummer's 2004 study46 involved 3,398 fatal crashes, including 59 whose drivers tested
      positive for THC only. Drummer excluded drivers from his study whose culpability was
      only contributory. He found an odds ratio (OR) of 2. 7 for being involved in a fatal crash if
      the driver was positive for THC, and 6.6 if the driver had a blood THC level above 5 ng/ml.
      In comparison, the OR for alcohol-positive drivers was 6.0 and 17.4 if both alcohol and THC
      were present. This is one of the few published studies showing different ORs at different
      blood THC levels. This may be due to the source of the data (shock trauma setting rather
      than law enforcement arrests), or due to the low number of cases positive for THC only.

      Similar studies by Laumon47, Bedard 48, and Li49 resulted in OR findings between 1.39 and
      1.82 for THC-positive drivers.

        These culpability epidemiological studies show, albeit inconsistently, that drivers positive
       for THC were more likely to cause fatal crashes than drivers not positive for THC. The
       increased risk to the driving public caused by marijuana-using drivers is measurable, but
       less than the risk caused by drunk drivers. However, when the two substances are
       combined, the risk is greater than the risk caused by either drug alone. In studies that



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      evaluated drivers' use of alcohol and marijuana, more drivers were found using both drugs
      than were found using marijuana alone.

             6. Observational studies
      The two reports described by the DEA are examples of observational reports and suffer
      from the criticisms described above: use of a flawed FARS data source, and reliance on drug
      presence rather than drug impairment. Outcomes of these studies are typically trend
      graphs and comparative ratio reports. Generally, they are helpful but not often dispositive.

      Here is another observational study that may be more instructive than those cited by
      DEA/DOJ. The state of Washington opened its first retail marijuana sales store in July 2014.
      The state has had a fairly stable 60% testing rate for both drugs and alcohol of drivers in
      fatal crashes from 2008 to 2016. The Washington Traffic Safety Commission has an
      excellent record of reporting toxicology results of drivers involved in fatal crashes using
      data from the Washington State Patrol Crime Laboratory Division. Some results are shown
      in Figures 8. Although toxicology tests indicated an increase in THC-positive drivers like
      the cannabinoid-positive drivers from the Colorado report below, the more significant
      concern in Washington was polydrug-positive drivers, most of which were cannabinoid
      and alcohol positive50.

                            Figure 8 - Washington State crash fatalities 2008-2016
                                            Rising Frequency of Poly-Drug Drivers in Fatal Crashes
                                                                                                                                  137


                        115




                         94



                                                                    67
                                                                                                                     38           37
                                                                                          H
                          19            19                                 18


                          ..
                        2008
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                                      2009
                                             -      2010
                                                                     1 ___.___


                                                                    2011
                                                                            H
                                                                           2012
                                                                                           7
                                                                                        _,,-

                                                                                        2013
                                                                                                ~
                                                                                                       19

                                                                                                      2014
                                                                                                                     24



                                                                                                                   2015          2016
                          THC Only                                              ...,_Akohol Only
                     -o,.,, One Orug Only ( not A cohol or 1HC. )               -    Poly-Drug (J\ny comb ination of the other calego n es.)




                               Source: Grondel, Washington Traffic Safety Commission Apr 2018

       Several other observational studies compared traffic deaths per billion vehicle miles
       traveled (BVMT) in states that have commercialized the sale of recreational marijuana with
       those that have not. It appears that the problem may be getting worse.

             Aydelotte's 2019 study51 found that states with commercial marijuana sales had 1.9
             more deaths per BVMT than states that did not.


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                   Kamer's 2020 study52 found that states with commercial marijuana sales had 2.1
                   more deaths per BVMT than states that did not.

                  Adikari's 2023 study53 found that states with commercial marijuana sales had 2.22
                  more deaths per BVMT than states that did not.

      These studies translate into a projected 6,000 additional annual deaths if all states were to
      commercialize marijuana. None of the above studies relied on drug test results from FARS.
      The reported increased death rates are consistent with the overall traffic death rate
      increase during the last decade published by the Department ofTransportation54.


      Unique Colorado observational studies
      In 2007 Colorado enacted C.R.S 24-33.5-520, a law requiring the Office of Research and
      Statistics (ORS) in the Division of Criminal Justice of the Division of Public Safety to
      annually publish a report on the causes and judicial consequences of DUI in the state. The
      analysis authorized ORS to combine the data of toxicology laboratories and evidentiary
      breath testing with the data of state judicial to determine which drug or drugs were
      responsible for each DUI offense.

      The effect of the law was to provide the state with data on not just drug presence. but on
      court-determined drug impairment. We can now provide a reliable estimate on the
      prevalence of drugs in DUI case filings, shown in Figure 9.

                                                   Figure 9. Estimate of the causes of DUI case filings
                                           Other Single Drug: 4.0% ,



        Palydrug, not Alcohol or THC: 3.0%


        Alcohol+TitC+Other Drug: 5.0% ...............



              THC.other Drug: S.0%
                                                                                    Alcohol only: 50.0%


                                                                                                    Colorado 2020 DUI cases
            Alcohol+Other Drug: 9.0% _ - -
                                                                                                     50% Alcohol only
                                                                                                     38% Polydrug (5 variants shown)
                                                                                                      8% THC only (cannabis)
                                                                                                      4% Other single drug
                                    Alcotlof+THC: 15.0%   /


                                  Source: https: //www.duidvictimvoices.org/how-common-is-drugged-driving/

      We also now know that driving under the influence of THC only was about 42% as
      dangerous as driving under the influence of alcohol only as shown in Figure 10, which
      shows crashes in those convicted of DUI in various drug categories. Driving under the
      influence of both THC and alcohol was 27% more dangerous than driving under the
      influence of alcohol only.


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                    Figure 10 - Crash involvement of convicted drivers in Colorado




        -COLORADO

                              Source: Rosenthal, Lifesavers Conference April 2024

      For context, it should be noted that the average BAC for alcohol only drivers during 2017-
      2021 was 0.16. That corresponds with a crash risk 29.48 times higher than a sober driver,
      according to Blomberg's crash risk analysis 55 .

      We can now estimate that the crash risk of drivers convicted of driving under the influence
      of THC only was about 12 times that of a sober driver (29.48 x 42%) and that a driver
      convicted of driving under the influence of both THC and alcohol had a crash risk over 37
      times that of a sober driver. These estimates should stand on their own, and not be
      compared with the crash risk results of the epidemiological studies described above.
      Earlier studies measured crash risk as a function of THC presence. The above shows crash
      risk as a function of THC impairment.

      C.R.S. 24-33.5-520 also provides the state with an understanding of how effectively it is
      enforcing DUI laws as a function of the substance causing the impairment. All data here are
      from the August 2023 Colorado report56.

                  Alcohol only        94%
                  Polydrug            87%
                  Other single drug   79%
                  THC only            75%
             These are three-year averages for 2018-2020
             This includes findings of Guilty, Deferred and Deferred/Dismissed
             This combines convictions for DUI and DWAI

      The comparatively low conviction rate for drivers impaired by single drugs other than
      alcohol is despite Colorado have a highly capable and dedicated Colorado Transportation
      Safety Resource Prosecutor and a 5 ng/mL THC permissible inference law that was
      intended to improve THC impairment convictions.




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      Colorado has several unique features of its DUI law:
         1. There are two offenses. The higher offense is DUI. The lower offense is DWAI
             (Driving While Ability Impaired).
         2. DUI is defined as incapable of safe driving. DWAI is defined as impaired to the
             slightest degree so the person is less able to drive safely.
         3. The 5 ng/mL THC permissible inference law applies to DUI, but not to DWAI.
         4. Administrative sanctions are lower for DWAI, but both offenses have identical
             criminal sanctions (except lower sanctions for the first DWAI offense).

      Although THC only convictions for THC only are 75%, the convictions vary by offense and
      THC blood level. THC only convictions for DUI were 46% and convictions for DWAI were
      99%, both irrespective of the blood THC level.

      Further analysis reveals:
                                                                   DUI          DWAI
                     Alcohol onlv
                                        BAC.08+                    92%          100%
                                        BAC<.08                    28%          84%
                     THConlv
                                        THCSng/mL+                 65%          99%
                                        THC<Sng/mL                  9%          94%

      The 94% DWAI conviction rate for drivers who test below 5 ng/mL is convincing evidence
      that a 5 ng/mL level can prevent guilty drivers from conviction as shown by the 9% DUI
      conviction rate.

      It turns out that most THC positive drivers arrested for DUI test below 5 ng/mL as shown
      by Figure 11 (Pennsylvania's NMS Labs). Unpublished data from other forensic
      laboratories in Colorado and Washington confirm that most THC positive drivers arrested
      for DUI in those states also test below 5 ng/mL.

                    Figure 11 Histogram of THC laboratory results from DUI arrests
                            Impact of Sng/ml THC per se Law

                               10,144 Marijuana DUID /DRE cases testing positive for THC and/or Dlltib,



                                                                    70.4% below Sng/ml



                                                                                ■ Relative Frequency 'II,




                                                                               15
                                                                                                6NMS
                            Source: Barry Logan, NMS Labs




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      Prosecutors should not and generally do not file a DUI case if they find the evidence is too
      weak to support a conviction. So, even though most THC positive arrests test~ 5
      ng/mL, most cases that are filed test above 5 ng/mL as shown in Figure 12.

                           THC levels of case filings




                                                                          1.0-4.9
                                                                           ng/ml
                                                                           34.n




                                       Data Sources: State Judicial Department, Denver County Court, CBI, CDPHE, ChemaTox and
                    ficoLORADO         Denver Crtme Lab at Denver Police Department. Analyzed by the Office of R~
                                       Statlstta, Division of Criminal Justice, Colorado Department of Public Safety.




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      It's not just data - it's people

      When the marijuana lobby says, "Marijuana hasn't killed anyone:• they're talking about
      overdoses. They speak for their clients, not their victims. Marijuana does kill. Only the
      families of drugged driving victims can speak for them. Some do. Others mourn in silence.

      Tanya and Adrian Guevarra
                              Tanya Guevarra, 25, and her 5-week-old son Adrian were driving to
                              pick up a prescription in their hometown of Dacono, Colorado.
                              Steven Ryan hit them head-on, killing Tanya instantly, but Adrian
                              suffered several days before dying. Four hours elapsed before a
                              blood sample was taken from Ryan. The blood was tested and
                              confirmed at 4 ng/mL /l9-THC.

                              Fortunately, this crash occurred before Colorado passed its S ng
                              THC permissible limit law in 2013. Ryan accepted a plea agreement
                              for one count of vehicular homicide due to DUI, saving him from the
                              likelihood of being found guilty of two counts. Ryan's attorney
      argued during the sentencing hearing that the judge should be lenient, because Ryan wasn't
      even driving under the influence. After all, he was below the 5 ng THC limit that was then
      being considered by the legislature. The judge was having none of it, saying he could only
      enforce the laws that had been passed and signed into law.

      Tanya's family and DUID Victim Voices testified very effectively at the sentencing hearing,
      which convinced the judge to levy a sentence of 10 years for the single count of vehicular
      homicide due to DUI (Class 3 felony). Ryan was released to community corrections shortly
      after Colorado's 5 ng law was passed.


                                Rosemary Tempel, RN, BSN, BC, CQIA was 56 years old at the time
                                she was driving to work at Virginia Mason Hospital in downtown
                                Seattle, WA. Speeding in the center turn lane, traveling in the
                                opposite direction while under the influence of marijuana,
                                Timothy Durden directed his Jeep directly into Rosemary's
                                car. Durden's car catapulted over Rosemary's car - crushing her
                                and breaking her neck, then lost the two front wheels and tumbled
                                down the busy road resulting in an 8-car pileup. Upon uprighting
                                Durden's vehicle, a Seattle police detective saw marijuana and
                                multiple business cards to Seattle's Herbal Health Care
                                Center marijuana dispensary fall from Durden's vehicle.

                                Durden volunteered to have his blood drawn 3 hours and 13
       minutes after the incident. It was found to have 3.2 ng/ml THC.

       During a pre-trial hearing, Judge Monica Benton threw out the marijuana blood evidence
       and thus the vehicular homicide (DUI) charge, stating she did not believe the Seattle PD

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      Drug Recognition Expert's (DRE) testimony. Benton also suppressed evidence of Durden's
      two previous DUI charges which were both plea bargained to reckless driving - citing them
      as not relevant and prejudicial. Durden's driving without auto insurance at the time of the
      incident, previous possession of controlled substances, and selling cocaine and
      marijuana to an undercover officer were all withheld from the jury. Judge Benton had
      previously permitted Durden to continue his use of marijuana while on probation for a
      domestic violence charge.

      Durden was sentenced to 4.5 years following a jury conviction of vehicular homicide
      (reckless) + vehicular assault He was released from prison more than 1.5 years early.

      Rosemary's brother has become an effective advocate against drugged driving.


                                        Kyle Couch's blood was drawn 2 hours after the crash
                                        that killed Peyton. Officers at the scene, found signs of
                                        impairment and cited Couch for DUI vehicular
                                        homicide. A DRE performed a complete DECP
                                        assessment, finding that Couch was incapable of safe
                                        driving, likely due to impairment by THC. The blood
                                        test revealed 1.5 ng/ml THC and an alcohol level below
                                        Colorado's legal limit The THC level is what one would
      expect from a THC edible that Couch admitted to consuming earlier in the day.

      The Class 3 felony charge was dropped when Couch pied guilty to careless driving resulting
      in death (a T1 traffic offense) which resulted in a 60-day jail sentence. He also pied guilty to
      using a false identity for purchase of alcohol and marijuana, resulting in an additional
      sequential 90-day sentence. That makes a total of 150 days in jail for killing an 8-year-old
      girl who just celebrated her 2nd grade graduation. Upon appeal, the jail sentence was
      dropped.

                                               Brian and Erin Wood were driving to a vacation
                                               home owned by Erin's parents on Whidbey Island, in
                                               Washington's Puget Sound.

                                               Also on the road that evening were Jordyn Weichert
                                            ,. and Samantha Bowling, driving an SUV with their
                                               boyfriends in the back seat Weichert wanted to
                                               change her sweater and turned the wheel over to
                                               Bowling. Both women were at the wheel of the SUV
                                               when it crossed the center divider, flipped upside
                                               down, and was airborne as it went through Brian's
                                               windshield, killing him instantly. In the last seconds
       of his life, Brian braked and swerved, in a futile attempt to avoid the collision. In so doing,
       he placed himself between the oncoming SUV and his wife, pregnant with their first child.


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      Investigators at the scene say that, had he not done so, Erin too would have been killed,
      along with their daughter. Erin was severely injured. Both men in the SUV's back seat, Jacob
      Quistorf and Fran Malloy were killed. Bowling broke her hip. Weichert was not injured.

      As the SUV bounced down the highway, it disgorged clothing, un-belted passengers, and
      personal belongings, including heroin, methamphetamine, a drug weighing scale and
      packaging supplies, syringes, cooking foil, smoking pipes, and a 25-caliber automatic pistol.
      Responding paramedics strapped both women from the SUV onto backboards for transport
      to a local hospital. That prevented the responding Drug Recognition Expert from
      completing his assessment of their drug impairment. Nevertheless, the investigation
      concluded that both women were operating the SUV simultaneously, and both women were
      charged with three counts of vehicular homicide and one count of vehicular assault due to
      driving under the influence of drugs.

      Subsequent lab tests confirmed methamphetamine and Carboxy-THC in both women as
      well as morphine (a heroin metabolite) in Weichert. Bowling pied guilty to three counts of
      vehicular homicide due to driving with disregard for the safety of others and agreed to a
      sentence of 61 months.

      A jury trial found Weichert guilty of vehicular homicide and vehicular assault due to driving
      with disregard for the safety of others. The judge sentenced her to 96 months in prison -
      32 months per homicide. Neither defendant was found guilty of DUI, despite the judge's
      comments during sentencing, "Drugs were a factor in this case. The fact that the
      defendants ingested drugs has increased the risk that they would engage in this reckless
      behavior that resulted in these deaths or injuries." Bowling was paroled after three years,
      Weichert after five years.

      Victimized twice
      All the above people were victimized twice. First, by a drugged driver. Second, by a justice
      system that is ill-equipped to deal with drugged driving.

      Which leads us to the next section -


       Enforcing drugged driving laws
       All states prohibit not only drunk driving, but also drug-impaired driving. They do so in
       different ways. The most common offense is entitled Driving Under the Influence (DUI).
       Other terms may be used, including DWI (Driving While Impaired), DWAI (Driving While
       Ability Impaired), QUI (Operating Under the Influence), OWi (Operating While Intoxicated),
       OVI (Operating a Vehicle Under the Influence) or DUii (Driving Under the Influence of
       Intoxicants).

       More important that the acronyms are the definitions of what DUI means. "Incapable of
       safe driving" is still used in some states but has gradually given way to definitions that may
       be easier to prosecute, like "Impaired to the slightest degree," or "less safe to drive:' Most,


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      but not all states define their offenses statutorily. A few have one definition for drunk
      driving, and another for drugged driving. Several states statutorily do not define drunk
      driving DUI but do define drugged driving DUI.

      All states prohibit both DUI and DUI per se. To convict of DUI, the state must prove that the
      driver was impaired to the level defined in statute or regulation. To convict of DUI per se,
      the state must merely prove that the driver had a BAC of at least .08 gm/dL (.05 in Utah).
      DUI per se is easier to prove than DUI.

      Although politically determined DUI per se levels for alcohol are supported by scientific
      evidence such as Blomberg's graph in Figure 13 57, there are no drug per se levels that are
      supported by similar scientific evidence.

                     Figure 13 Crash risk as a function of BAC levels
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                                   Source: Evaluation of Utah's .05 Law, Blomberg et al.

      Do not infer from Figure 13 that the crash risk curve represents all drivers. It does not, as
      shown by Zador's 58 finding in Figure 14.

                     Table 14. Relative risk as a function of BAC levels by age and sex
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                                                                           BAC
                     Source: DOT HS 809 050


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      The lack of correlation between crash risk and THC blood levels has not stopped states
      from establishing politically determined drug per se levels. The most common statute of
      this sort is the zero-tolerance statute that prohibits anx level of illegal or intoxicating drugs
      in the blood of a driver. While not scientifically supportable, zero-tolerance statutes enjoy
      public support because they are sound public policy for illegal drugs, and there are
      exemptions granted for legal intoxicating drugs that are used according to a doctor's
      prescription.

      Non-zero drug per se levels cannot reasonably be applied to all known intoxicating drugs
      even if they were supported by scientific research. Moreover, they would most likely be
      irrelevant in the more common cases of polydrug impairment since multiple drugs
      compound the driving impairment symptoms.

      Without objective measures of impairment like evidentiary breath and/or blood tests for
      alcohol, proving drug impairment is a challenge. Determining whether a driver is impaired
      is similar in some ways to how a physician diagnoses an illness. A physician studies both
      symptoms and laboratory tests in making a diagnosis and determining a treatment plan.
      Police also rely upon symptoms and chemical tests to determine impairment and to prove
      impairment in court. Just as some disease diagnoses are straightforward and others are
      more challenging, effectiveness of impairment assessments vary depending upon the
      subject, impairing substance(s) and dose, symptoms, and of course, the diagnostician.

      Symptoms of alcohol impairment are overt, and the chemical assays are definitive. Odor,
      bloodshot eyes, speech, behavior and balance are readily detected by even untrained
      observers. Horizontal Gaze Nystagmus is a validated59 tool used by officers trained in
      Standardized Field Sobriety Tests to confirm alcohol impairment above 0.08 BAC. There is
      a very high correlation between BAC and levels of impairment6°. For THC, symptoms are
      much more subtle and chemical assays play more of a supporting role than a definitive role.

      The most common tools used by police to document and prosecute impaired driving is the
      set of Standardized Field Sobriety Tests (SFSTs). They have been unofficially modified by
      some agencies to be more sensitive to THC impairment:61. Yet, as Marcotte pointed out6 2,
      even modified SFSTs may be insufficient by themselves to denote THC impairment in
      drivers. Interviews with the offender and observations of both personal and driving
      behavior are critical additional parts of the evidence package.

      The best tool we have now to confirm drug impairment is DECP, the Drug Evaluation and
      Classification Program administered by the International Association of Chiefs of Police
      (IACP). More than 8,000 DREs (Drug Recognition Experts) in the US are currently trained
      in DECP protocols. They are an excellent tool, but they are inadequate in terms of number,
      capability, legal support and public acceptance to equal the power of a scientifically
      supported drug per se law.

       The DECP protocol has been validated in the laboratory63 and in two field studies64 65. The
       validation studies found that trained officers correctly identified the drug classes causing

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      impairment observations 80-90% of the time and rarely claimed that a study subject was
      impaired by a drug when no drug was found by laboratory assessment In a Los Angeles
      field study66 in only one of the 173 cases did an officer identify a subject as impaired when
      no drug or alcohol could be confirmed in the laboratory. The DRE protocol includes a
      laboratory assessment as step number 12 to prevent false positives from proceeding to
      conviction.

      The three referenced DECP validation studies were performed before the program's
      parameters were formalized and subjected to oversight by the IACP. Some validation
      studies used urine rather than blood for confirmation, all drug classes were not studied in
      all validation studies, and neither field validation study performed laboratory tests on
      subjects considered by officers to be unimpaired (controls), which is necessary to identify
      false negatives. For these and other reasons, the validation studies themselves have been
      called into question67. Nevertheless, the DECP program has been accepted by law
      enforcement in all 50 states, several other countries, and results have been determined to
      be admissible as valid scientific evidence in multiple court hearings.

      DECP divided attention tests of walk and turn, one leg stand, modified Romberg balance,
      finger-to-nose as well as the eye tests for lack of convergence and rebound pupillary
      dilation are particularly sensitive to identify THC impairment68 69 70•

      Determining drug impairment, whether by use of interviews, observations, SFSTs and/ or
      the DECP protocols is more difficult and less certain than determining guilt of DUI per se by
      laboratory data alone. Few symptomatic impairment assays can be performed on a driver
      injured in a drugged driving crash. A driver strapped onto a backboard awaiting transport
      to a hospital is unable to be assessed by any of the SFSTs or most of the DRE protocol steps.
      In those cases, law enforcement officials must rely principally upon interviews and an
      examination of driving behavior that caused the crash. In Washington state a DRE officer is
      precluded by the state Supreme Court from rendering an expert opinion in court unless all
      twelve DRE steps were followed, and in the order specified by the IACP, making expert
      opinions unavailable if the driver is injured. Other states have various other limitations on
      use of DRE opinions.

       Nevertheless, relying upon our law enforcement professionals is all we have to enforce
       drugged driving laws. Unfortunately, all too often, that just isn't enough.

       Incidentally, as difficult as it is for highly trained officers to identify drug impaired drivers,
       how can employers be expected to identify drug impaired employees? How about servers
       in "cannabis lounges?"


       Conclusions
       THC impairs drivers, causes crashes and kills people. The fact that the average driver
       impaired by THC is less dangerous than the average drunk driver is slight consolation -




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      they are still dangerous. Being less dangerous than the average drunk driver is a very low
      bar.

      The universal alcohol DUI per se law provides a societal safety net. There is a very high
      probability that drunk drivers will be convicted. Drivers know that, which acts as a
      deterrent to drunk driving. True, it's proven to be an inadequate deterrent, but a deterrent,
      nonetheless.

      There is no marijuana analog to alcohol's DUI per se limit. And there never will be. We have
      no technology to provide the safety net that we have for drunk drivers. Drivers know that
      fact. Alcohol's DUI deterrent does not exist for marijuana.

      In Colorado, drugged driving is now half of DUI arrests, and most (-68%) drugged driving
      involves THC.

      Even though marijuana is only quasi-legal (illegal at the Federal level, legal in most states in
      one form or another), we still have more chronic THC users than we have chronic alcohol
      users. And the difference between the two is growing rapidly.

      Like other liberalization policies discussed relative to Figure 1, downclassification of
      marijuana would serve to accelerate that difference, creating more marijuana users, many
      of whom would contribute to an already untenable drugged driving problem.

      We have no accepted objective measure of THC impairment or of impairment by polydrugs.

      The poor conviction rate for marijuana-impaired drivers is not well known because
      Colorado is the only state that measures conviction rates by substance causing the DUI
      arrest. Colorado has not yet acted on the data available to it.

      UNTIL AN OBJECTIVE THC DRIVING IMPAIRMENT ASSESSMENT TOOL IS
      AVAILABLE, IT IS IRRESPONSIBLE TO DOWNSCHEDULE MARIJUANA. The danger to
      public safety of further support to the marijuana industry is too high without such a
      safety net in place.

      About the author;
          Ed Wood, president of DUID Victim Voices has a B.S. degree in chemistry from Harvey Mudd College
          and an M.BA from the University of Colorado, Boulder. He retired as CEO of medical device company,
          COBE BCT, Inc., now Terumo BCT, Inc. His son Brian was killed by two drug-impaired drivers at the
          wheel of one vehicle ( see page 21 ). After a disappointing and puzzling jury trial of one of the drivers,
          he spent years working with and learning from victims, prosecutors, defense attorneys, judges,
          toxicologists, legislators, state officials, and an international list of researchers and other specialists
          in his quest to learn the causes of this miscarriage of justice. He has published several peer-reviewed
          publications on the issue of drugged driving and has been a frequent speaker on the topic. Prompted
          by a recommendation from the Governors Highway Safety Association, he wrote the 2017 law
          requiring Colorado to begin collecting and reporting data on drug-impaired driving.




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 filing system, on the 17th day of February, 2025, and an electronic copy was served

 on all counsel of record via the CM/ECF system on the same date. I further certify

 that I have mailed the foregoing document via first class mail, postage paid, to those

 parties or their counsel who are not registered through the CM/ECF system.



                                            /s/Austin T. Brumbaugh
                                            Austin T. Brumbaugh
